Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 1 of 763 PageID #: 1783




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

    TRIDINETWORKS, LTD.,
                                            C.A. No. 19-1062-CFC-CJB
     Plaintiff,
    v.
    NXP-USA, INC. and NXP B.V.,
     Defendants.

    TRIDINETWORKS, LTD.,
                                            C.A. No. 19-1063-CFC-CJB
     Plaintiff,
    v.
    SIGNIFY NORTH AMERICA
    CORPORATION and SIGNIFY
    NETHERLANDS B.V.,
     Defendants.

    TRIDINETWORKS, LTD.,
                                            C.A. No. 19-1064-CFC-CJB
     Plaintiff,
    v.
    STMICROELECTRONICS, INC.,
    STMICROELECTRONICS
    INTERNATIONAL N.V.,
    and DOE-1 d/b/a
    “STMICROELECTRONICS”,
     Defendants.


                       DECLARATION OF RONALD ABRAMSON


         RONALD ABRAMSON declares as follows under penalty of perjury:

         1.    I am one of the attorneys for plaintiff TridiNetworks Ltd.

   “TriDiNetworks”).
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 2 of 763 PageID #: 1784




         2.    I am over eighteen years of age and am fully competent to make

   this declaration. I make this declaration in support of Plaintiff’s Statement of

   Disputed Facts in Opposition to the Defendants’ Motions for Summary

   Judgment.

         3.    Attached hereto as Exhibit 1 is a true and correct copy of U.S.

   Patent No. 8,437,276, with relevant portions highlighted.

         4.    Attached hereto as Exhibit 2 is a true and correct copy of the

   Declaration of Anthony G. Rowe, dated December 4, 2020, including Exhibits

   A–H, with relevant portions highlighted.

         5.    Attached hereto as Exhibit 3 is a true and correct copy of the

   Declaration of Anthony G. Rowe, dated January 28, 2021, with relevant

   portions highlighted.

         I declare under penalty of perjury under the laws of the United States of

   America that the foregoing is true and correct.




                                          -2-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 3 of 763 PageID #: 1785




    Dated: March 12, 2021                 /Ronald Abramson/
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                                          Ltd.




                                        -3-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 4 of 763 PageID #: 1786




                    Exhibit 1
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 5 of 763 PageID #: 1787

                                                                                                    USOO8437276B2


    (12) United States Patent                                                    (10) Patent No.:     US 8,437.276 B2
           Dinur                                                                 (45) Date of Patent:      May 7, 2013
    (54) CONTROL SYSTEMS, COMMISSIONING                                                       FOREIGN PATENT DOCUMENTS
            TOOLS, CONFIGURATION ADAPTERS AND                               EP                  1 009 139      6, 2000
            METHOD FOR WIRELESS AND WIRED                                   EP                  1521 401       4/2005
            NETWORKS DESIGN, INSTALLATION AND                                                           (Continued)
            AUTOMATIC FORMATION
                                                                                                 OTHER PUBLICATIONS
    (75) Inventor: Jehuda Julian Dinur, Haifa (IL)
    (73) Assignee: Tridinetworks Ltd., Nesber (IL)                          Knauth et al., “SARBAU—An IP-Fieldbus Based Building Automa
    (*) Notice: Subject to any disclaimer, the term of this                 tion Network”. Emerging Technologies and Factory Automation,
                    patent is extended or adjusted under 35                 2008, ETFA 2008, IEEE International Conference on, IEEE,
                    U.S.C. 154(b) by 119 days.                              Piscataway, NJ. USA, Sep. 15, 2008, pp. 13-16.
    (21) Appl. No.:      12/680,383                                                                 (Continued)
    (22) PCT Filed:      Nov. 19, 2008
    (86). PCT No.:           PCT/IL2008/OO1517                              Primary Examiner — Man Phan
         S371 (c)(1),                                                       (74) Attorney, Agent, or Firm — Pearl Cohen Zedek Latzer,
                                                                            LLP
         (2), (4) Date: Mar. 26, 2010
    (87) PCT Pub. No.: WO2009/069118                                        (57)                        ABSTRACT
            PCT Pub. Date: Jun. 4, 2009                                     Design and control systems, commissioning tools, configu
    (65)                   Prior Publication Data                           ration adapters and a method for wireless and wired networks
            US 2011 FOOO7665 A1        Jan. 13, 2011
                                                                            design, installation and automatic formation, including bind
                                                                            ing of the networks devices are provided. In the design system
                                                                            a scheme that uniquely identifies each network device by its
                Related U.S. Application Data                               type and its physical location is created and information for
    (60) Provisional application No. 61/004,794, filed on Nov.              logical binding between the devices is prepared. In the design
            29, 2007.                                                       system is also created a device mapping that maps between
                                                                            the devices on the scheme and their network configuration
    (51) Int. Cl.                                                           data Such as, radio IDS and startup attribute sets and wired
            H04B 700                (2006.01)                               communication link address. The data prepared in the design
            H04740/00               (2009.01)                               system is transferred to or accessed by a master controller and
            G06F 5/73               (2006.01)                               dedicated commissioning tools in the control system.
                                                                            According to devices physical locations, appropriate con
    (52) U.S. Cl.                                                           figuration data is loaded from the commissioning tools into
            USPC ............ 370/254; 370/310; 455/446; 709/223            the devices through dedicated configuration adapters. The
    (58) Field of Classification Search .......... 370/252-254,             devices and their configuration adapters not necessarily have
                  370/310 343; 455/352–423: 340/517-541;                    to be powered-up during configuration data loading. After
                                                       709f223 229          power-up, the devices automatically update themselves with
            See application file for complete search history.               the loaded configuration data and the control system may
                                                                            initialize itself and identifies all the devices. The master con
    (56)                  References Cited                                  troller in the control system uses the design system defined
                    U.S. PATENT DOCUMENTS                                   binding information and transmits binding commands for
                                                                            creating logical links between the devices and so networks
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           6,831,569 B2   12/2004 Wang et al.
                             (Continued)                                                       25 Claims, 15 Drawing Sheets

                                                         to
                                                                                   BACKBONE
                                                                                   NEWORK

                                                                   102 sy
                                                                                 control
                                                                                  syst
                                                       101-,
                                                                                    NAser
                                                                                   contRLR

                                                          Design
                                                          SYS

                                                                            CMMISSIONMG
                                                                                TCL



                                                                       OS
                                                                             WWIRELESS
                                                                             NETWORK
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 6 of 763 PageID #: 1788


                                                                    US 8,437.276 B2
                                                                               Page 2

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     2005/0201393  A1        9/2005     Hatayama et al.                             ration), Rev. 3.3, Jun. 13, 2007, pp. 1-23.
     2005/0249169  A1       1 1/2005    Fong                                        P531X072/P531x036 (VOP/VOQ) JCOP31 V2.3.1 on Secure Dual
     2006, OO44152 A1        3/2006 Wang                                            Interface PKI Smart Card Controller (Manufactured by NXP Corpo
     2006/0250980 A1        11/2006 Pereira et al.                                  ration), Rev. 2.0, Aug. 28, 2007, pp. 1-25.
     2006/0282885 A1        12/2006 Combs et al.                                    International Search Report and Written Opinion for International
     2007.0054616 A1         3, 2007 Culbert                                        Application No. PCT/IL08/01517 mailed Mar. 25, 2009.
     2007/0232288 A1* 10, 2007 McFarland et al. ........... 455,423
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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 7 of 763 PageID #: 1789


    U.S. Patent          May 7, 2013    Sheet 1 of 15            US 8,437.276 B2




                   1OO



                                         107      N BACKBONE
                                                        NETWORK



                                                        CONTROL
                101 Y                                   SYSTEM
                                                          MASTER
                                                        CONTROLLER

                    DESIGN
                    SYSTEM




                                               N WRELESS  WIRED
                                                 NETWORK NETWORK




                                         Fig. 1
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 8 of 763 PageID #: 1790


    U.S. Patent           May 7, 2013          Sheet 2 of 15             US 8,437.276 B2




            Y RF TRANSCEIVER
            AY WIRELES COMMUNICATIONLINK
                                                                           1 O2
            1 CONFIGURATION LINK                                  v?.
           --> WIRED COMMUNICATION LINK

                                              103            MASTER
                                                           CONTROLLER



                                                               CONFIGURATIO
                                                                  ADAPTER




             WRED CONFIGURATION
             DEVICE  ADAPTER             a




                                                                2O3
                    2O3

                     205 204                 2O7                                  2O7

          WIRELESS
           DEVICE
                   CONFIGURATION
                      ADAPTER    2
                                   l WRELESS
                                      DEVICE
                                             conFIGURATION
                                                ADAPTER
                      2O6                                         2O3
                     204 207 104 Y. 204 207
          E-----------/-ij-N----------.S.-É.
          WIRED CONFIGURATION            COMMISSIONING CONFIGURATION :
          DEVICE     ADAPTER                        TOOL              ADAPTER     2




                                        Fig. 2
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 9 of 763 PageID #: 1791


    U.S. Patent          May 7, 2013        Sheet 3 of 15           US 8,437.276 B2




                                                                   101




                                       DATABASE




                                  DESIGN SYSTEM
                                   CONTROLLER
                                       WITH
                                      DESGN
                                   APPLICATION




                                 DESIGN SYSTEM
                                 COMMUNICATION              L.    MASTER
             TOOL                                                CONTROLLER
                                   INTERFACE




                                   Fig. 3
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 10 of 763 PageID #:
                                    1792

  U.S. Patent                                      May 7, 2013              Sheet 4 of 15               US 8,437.276 B2




                                                                                                    -te
                                                                 DESIGN/CONTROL
                                                                     SYSTEM
                                                                    INTERFACE
                              2O3
           105
            l                                      RF                         CT              CONFIGURATION
          --- -- -                          TRANSCEIVER |        | CONTROLLER                    ADAPTER
          WIRELESS
          NET
      .NETWORK                                           402 N.              CT
                                                                            USER
                                                                          INTERFACE


                                                              Fig. 4
                                      2O6                         9                                 - 202


                 wiRED
                                                        a                 WRED
           NEWork
           L --- ----                         v
                                                         - COMMUNICATION
                                                             INTERFACE
                                                                                                          2O7
                              203                       500
                                             205
          105
                                                                                            CONFIGURATION
                                                                          DEVICE               ADAPTER
      wRELEss
      P    m WH          - m r    r     TRANSCEIVE

                                                                 conTROLLER
                                                                      Y




      .NETwork
      Wu   wa-   -   -    -   -   -
                                             5O2                                                  503
                                            WRELESS DEVICE                          SENSOR
                                            USER INTERFACE                         INTERFACE


                                                                 Fig. 5
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 11 of 763 PageID #:
                                    1793

  U.S. Patent                May 7, 2013        Sheet 5 Of 15         US 8,437.276 B2




                                                                         2OO


                                           DESIGN/CONTROL
                                               SYSTEM
                                              INTERFACE                   2O7
        105     203
       --
       WRELESS
                                                     AP
                                             CONTROLLER
                                                                conFIGURA16N
                                                                   ADAPTER
       NETWORK
       ------ - l

        WIRED                                   WRED
      iNETWORK                             COMMUNICATION
       ---                                     NTERFACE
                              \
              106            2O6



                                            Fig. 6
                                                                        204




          701 Y                    700 N.
                    DEVICE           CONTROL &
                    CONTACT
                INTERFACE
                                      MEMORY
                                      MODULE
                                             - ONEON

                                           Fig. 7
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 12 of 763 PageID #:
                                    1794

  U.S. Patent          May 7, 2013      Sheet 6 of 15       US 8,437.276 B2




       811




                                     Fig. 8
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 13 of 763 PageID #:
                                    1795

  U.S. Patent          May 7, 2013       Sheet 7 Of 15      US 8,437.276 B2




                                                               901
                USE THE MASTER CONTROLLERTO
               AUTOMATICALLY INSERT THE WIRED
              LOGICALD OF EACH WIRED DEVICE TO
                        DEVICE MAPPNG
                                                              902

                 USE THE MASTER CONTROLLERTO
                    AUTOMATICALLY ALLOCATE
                 ADDRESSES FOR WIRED DEVICES




                                Fig. 9
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 14 of 763 PageID #:
                                    1796

  U.S. Patent          May 7, 2013      Sheet 8 of 15       US 8,437.276 B2




                                               -1000

                                                                 1001

              DEFINE THE SAS (STARTUPATTRIBUTE SET)FOR
                EACH WIRELESS DEVICE ON THE NETWORKS
                               SCHEME
                                                                 1 OO2

        USE THE MASTER CONTTROLLER TO AUTOMATICALLY START
           TO CREATE A DEVICE MAPPING FROM THE WIRELESS
           LOGICAL ID OF EACH WIRELESS DEVICE AND ITS SAS
                                                                  1 OO3

                     USE THE MASTER CONTROLLERTO
                       NTATE RADO D ALLOCATION
                                                                  1004

             THE MASTER CONTROLLER ALLOCATES ARADO D
                    FOREACH WIRELESS LOGICAL ID
                                                                  1005

       AN ADDITIONAL ADDRESS TRANSLATION SUB-TABLE IS FORMED.
           THE ADDRESS TRANSLATION SUB-TABLE SPECIFIES THE
          ATTACED WIRED DEVICES' WIRED COMMUNICATION LINK
           ADDRESS AND ENDPOINT FOREACH WIRELESS DEVICE
                                                 1006

                                      END



                                     Fig. 10
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 15 of 763 PageID #:
                                    1797

  U.S. Patent          May 7, 2013    Sheet 9 of 15          US 8,437.276 B2




                                                      1100



                                                                  1101
                                                             u
           USE THE MASTER CONTROLLER TO INITIATE ADDRESS
                 TRANSLATION SUB-TABLE CALCULATION
                                                                  1102

         FOREACH WIRELESS DEVICE, THE MASTER CONTROLLER
         AUTOMATICALLY TAKES THE WIRED LOGICAL SUB-ID AND
         WIRED COMMUNICATIONLINKADDRESS FOREACH WIRED
          DEVICE ATTACHED TO THE WIRELESS DEVICE FROM THE
        WIRED DEVICE MAPPING AND FILLS THEM IN THE ADDRESS
                          TRANSLATION SUB-TABLE


                FOREACH WIRED DEVICE, THE ENDPOINT IS
                    EITHER MANUALLY ENTERED, OR
                   AUTOMATICALLY CALCULATED BY THE
                         MASTER CONTROLLER




                                     Fig.11
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 16 of 763 PageID #:
                                    1798

  U.S. Patent          May 7, 2013       Sheet 10 of 15     US 8,437.276 B2




                                                 1200




            PHYSICALLY INSTALWRELESS DEVICE ACCORDING
             TOTYPE AND LOCATION TAKEN FROM NETWORKS
             SCHEMEAS IT APPEARS ON THE COMMISSIONING
                                       OOL


               MARK THE PHYSICALLY INSTALLED WIRELESS
                 DEVICE ON THE COMMISSIONING TOOL

                                                             1203

                ATTACH/BRING INTO PROXIMITY (OR CONTACT)
                     THE COMMISSIONING TOOL WITH THE
                   PHYSICALLY INSTALLED CONFIGURATION
                     ADAPTER OF THE WIRELESS DEVICE


           NITATE DATADOWNLOAD FROM THE COMMISSIONNG
          TOOL (CT) TO THE CONFIGURATION ADAPTER OF THE
         WIRELESS DEVICE USING THE CT'S USER INTERFACE (NO
          NEED TO POWER-UP THE CONFIGURATION ADAPTER OF
            THE WIRELESS DEVICE AND THE WIRELESS DEVICE)
                                                 1205




                                     Fig. 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 17 of 763 PageID #:
                                    1799

  U.S. Patent          May 7, 2013      Sheet 11 of 15      US 8,437.276 B2




                                                 1300

                                     START
                                                             1301

           PHYSICALLY INSTALL WIRED DEVICE ACCORDING TO TYPE
            AND LOCATION TAKEN FROM NETWORKS SCHEMEAS IT
                  APPEARS ON THE COMMISSIONING TOOL
                                                             1302

                     MARK THE INSTALLED DEVICE ON THE
                           COMMISSIONING TOOL
                                                             1303

              ATTACH/BRING INTO PROXIMITY (OR CONTACT) THE
          COMMISSIONING TOOL WITH THE INSTALLED CONFIGURATION
                     ADAPTER OF THE WIRED DEVICE



                NITIATE DATADOWNLOAD/SETTING FROM THE
           COMMISSIONING TOOL TO THE CONFIGURATION ADAPTOR
           OF WIRED DEVICE USING THE TOOL'S USER INTERFACE (NO
             NEED TO POWER-UP THE CONFIGURATION ADAPTOR OF
                  THE WIRED DEVICE AND THE WIRED DEVICE)
                                                  1305

                                      END



                                     Fig. 13
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 18 of 763 PageID #:
                                    1800

  U.S. Patent          May 7, 2013      Sheet 12 of 15      US 8,437.276 B2




                                               1400


                                     START

                                                               1401
                              POWER UP
                           WIRELESS DEVICE
                                                               1402


          THE WIRELESS DEVICE READS RADIO ID, SAS AND
            ADDRESS TRANSLATION SUB-TABLE ENTRIES
               FROM ITS CONFIGURATION ADAPTER
          (DOWNLOADED FROM THE COMMISSIONING TOOL)


       THE WIRELESS DEVICE USES THE RADIO ID AND SAS TO
            JOIN THE DESIGNATED WIRELESS NETWORK
       ACCORDINGLY AND USES THE ADDRESS TRANSLATION
        SUB-TABLE ENTRIES TO LOCATE AND COMMUNICATE
               WITH EACHATTACHED WIRED DEVICE




                                     Fig. 14
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 19 of 763 PageID #:
                                    1801

  U.S. Patent          May 7, 2013      Sheet 13 of 15      US 8,437.276 B2




                                                   15OO

                                      START

                                                              15O1

                              POWER UP WRED
                                  DEVICE



              THE WIRED DEVICE READS DATA (WRITTEN BY
               THE COMMISSIONING TOOL) AND USES THE
            WIRED COMMUNICATIONLINKADDRESS FOR THE
             SPECIFC WIRED COMMUNICATION PROTOCOL.




                                     Fig. 15
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 20 of 763 PageID #:
                                    1802

  U.S. Patent          May 7, 2013      Sheet 14 of 15      US 8,437.276 B2




                                                   1600




                     USE THE MATER CONTROLLERTO
                        NITATE BINDING PROCESS



              THE MASTER CONTOLLER READS THE BINDING
             INFORMATION, AND USES THE WIRELESS DEVICE
           MAPPING AND ADDRESS TRANS ATION SUB-TABLE IN
              THE WIRELESS DEVICE MAPPING IN ORDER TO
          TRANSLATE THE WIRED LOGICAL IDS OF THE DEVICES
            FOUND IN THE BINDING INFORMATION TO RADIO IDS
                           AND END PONTS


                  THE MASTER CONTROLLERTRANSMTS
                         BNDING COMMANDS




                                     Fig. 16
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 21 of 763 PageID #:
                                    1803

  U.S. Patent            May 7, 2013          Sheet 15 of 15            US 8,437.276 B2



                                                                              1800
          Starting the networks design, installation, and automatic formation

           Designing the networks
                    Defining device type and physical location
                                                                             1702
                     Defining the binding links between devices
                                                                             1703
                         Defining the wired device mapping
                                                                        - 1704
                        Defining the Wireless device mapping
                                                                             1705
            Defining an address translation sub-table for wireless devices


           installing the networks


                               Installing wired devices

           Automatically forming the networks
                             Initializing wireless devices

                               Initializing wired devices

                                 Bindings formation
                                                                             1804
           Ending the networks design, installation, and automatic formation
                                       Fig. 17
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 22 of 763 PageID #:
                                    1804

                                                        US 8,437,276 B2
                                 1.                                                                     2
       CONTROL SYSTEMS, COMMISSIONING                                        There have been several attempts to solve these problems
      TOOLS, CONFIGURATION ADAPTERS AND                                    which are described in the following paragraphs. Most of
         METHOD FOR WIRELESS AND WIRED                                     them are time consuming and require expensive equipment
       NETWORKS DESIGN, INSTALLATION AND                                   and highly qualified personnel.
                 AUTOMATIC FORMATION                                         Culbert describes a RFID network arrangement, which is a
                                                                           system for automatic configuration and authentication of net
             CROSS-REFERENCE TO RELATED                                    work devices in U.S. patent application Ser. No. 1 1/220.205
                    APPLICATIONS                                           (2005), whose disclosures are incorporated herein by refer
                                                                           CCC.

     This application is a National Phase Application of PCT          10      Culbert does not solve the problem of locating wireless
  International Application No. PCT/IL2008/001517, Interna                 devices and performing post installation configuration tasks.
  tional Filing Date Nov. 19, 2008, claiming priority of U.S.              At installation time the devices are given “various communi
                                                                           cation setup and security parameters' from the base station.
  Provisional Patent Application, 61/004,794, filed Nov. 29,               These parameters are configured by the user or by the factory.
  2007, which is incorporated herein by reference.                    15      Culbert does not specify how this information is stored in
             REFERENCE TO CROSS-RELATED                                    the base station, and specifically does not mention how
                    APPLICATION
                                                                           devices are distinguished from one another.
                                                                              Wang describes an initialization of wireless-controlled
                                                                           lighting systems in U.S. Pat. No. 6,859,644 (2005).
    This application claims priority from U.S. Provisional                    Device initialization according to Wang is a complex post
  Application No. 61/004,794, filed on Nov. 29, 2007, herein               installation process. After devices are installed, there is a
  incorporated by reference in its entirety.                               complex phase of initialization in which each device trans
                                                                           mits a request for initialization and a local control master
                 FIELD OF THE INVENTION                                    responds and Verifies initialization. This process requires
                                                                      25   devices to be turned on, which consumes energy (critical for
    The present invention relates to a new and improved                    battery operated devices). In addition, in case there are many
  method for wireless and wired networks design, installation              devices in the network, the process of initializing all the
  and automatic formation including binding of the networks                devices is time consuming.
  devices by creating logical links between two or more                       Pereira describes a method and system for automated dis
  devices.                                                            30   tributed pairing of wireless nodes of a communication net
                                                                           work in U.S. patent application Ser. No. 11/120,799 (2005),
             BACKGROUND OF THE INVENTION                                   whose disclosures are incorporated herein by reference.
                                                                              Pereira uses a context manager node to determine location
    Wireless control of networks provides the capability of                of devices and enable automated distributed pairing.
  remotely controlling and monitoring devices in many areas           35      The technology used to determine location of devices is
  Such as home and commercial automation, industrial automa                expensive and the algorithms are complex for a network
  tion, lighting, and heating, ventilation and air conditioning            where devices are mostly static. Furthermore, the user usually
  (HVAC) control.                                                          determines which nodes should be paired. The process of
     Wireless control networks are attractive for deployment of            determining which nodes should be paired cannot be auto
  advanced control systems because they save the cost of              40   mated.
  cabling, labor, materials, testing and verification of the wiring          Combs describes a method to wirelessly configure a wire
  and installation. However the installation, configuration of             less device for wireless communication over a secure wireless
  parameters forbinding of the wireless devices requires highly            network in U.S. patent application Ser. No. 1 1/150,376
  skilled professionals, special equipment and complicated                 (2005), whose disclosures are incorporated herein by refer
  manual procedures.                                                  45 CCC.
     As an example, the standard manual pairing/binding pro                   The method according to Combs contains two phases of
  cedure of a light Switch and a lamp (after the devices are               configuration. In the first phase devices are configured so they
  installed and the network parameters are loaded) is:                     can communicate securely with the administrator. This phase
     Entering the Switch's set up mode by pressing a specific              can either be done by the manufacturer, or at the customer's
  pushbutton and having a set amount of time to connect a lamp        50   site. The second phase takes place over a secure channel and
  by pressing and holding an activation button on the lamp. This           configures devices so they can join the secure network. The
  is a time consuming procedure that is prone to errors and is             method according to Combs requires pre-configuring the
  Suitable only for Small-scale installations.                             devices and bringing them close to an administrator (Such as
     Installing a wireless control network requires several main           PC), requires Software manipulation, is time consuming and
  procedures to be performed on each wireless device after the        55   is suitable only for small networks (such as networks of
  network Scheme, parameters, and activation are defined.                  printers).
  These main procedures are:                                                  Kruse describes an independent radio frequency program
     1. Entering a unique ID (UID) Such as a unique radio ID.              ming device and method for the automation of the setup
     2. Entering a startup attribute set (SAS) Such as a personal          process for a lighting system with lighting control devices and
        area network (PAN) ID of the network.                         60   master controllers in U.S. Pat. No. 7,126,291 B2, whose
     3. Identifying (connecting) the physical location of the              disclosures are incorporated herein by reference.
        device with its UID and its logical location and function             In the method, according to Kruse, it is assumed that before
       on the network Scheme.                                              the setup programming the system is powered-up and the
     4. Pairing/binding of controlling devices and sensors.                devices are identified by the master controller. The program
     This installation challenge is increased when a large quan       65   ming device eavesdrops on the messaging traffic between the
  tity of sensing devices needs to be paired to corresponding              master controller and each device and is capable of automati
  controlling devices.                                                     cally programming each one of the devices. Kruse doesn’t
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 23 of 763 PageID #:
                                    1805

                                                       US 8,437,276 B2
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  mention how the devices are identified by the master control           system. The mappings may also be used in order to locate
  ler. The pairing/binding and device locations are not men              each logical device described by the predefined scheme on the
  tioned.                                                                actual networks to be formed. Locating each device in the
     There is a need for a simple automated method and system            network allows to access, bind and reconfigure it using its
  for initialization, location and binding of devices in large           valid configuration data. The wireless device mapping table
  wireless networks.                                                     may also contain an address translation Sub-table. For each
                                                                         wireless device, the address translation sub-table maps the
              SUMMARY OF THE INVENTION                                   wired communication link address of each connected wired
                                                                         device to its endpoint (addressable component in a wireless
     The prior arts do not teach or Suggest a simple automated      10   device) used by the wireless protocols. The address transla
  method and system for initialization, location and binding of          tion sub-table allows each wireless device to locate and com
  wireless and wired devices in large communication networks.            municate with each attached wired device, providing an indi
     Design and control systems, commissioning tools, con                rect communication link between the wireless and wired
  figuration adapters and a method according to the present              networks.
  invention, allow for large wireless and wired networks            15      The data prepared in the design system may be transferred
  design, installation and automatic formation including bind            to or accessed by a master controller in the control system and
  ing of networks devices.                                               may be transferred to or accessed by dedicated commission
     Wireless network devices are devices interconnected by              ing tools.
  wireless communication links. Wired network devices are                   The next stage after the networks design, according to the
  devices interconnected by wired communication links. For               present invention, may be the networks installation. The
  illustrative purposes, consider an example of a wireless light         installers may locate each device in the mapping table in the
  ing control system for networks that include devices such as           commissioning tools according to its physical location and
  wired network lamp ballasts connected to a wireless device,            type as defined in the networks scheme. The data from the
  wireless sensors (such as light intensity and presence), wire          commissioning tools may be downloaded into the wireless
  less switches, a master controller that wirelessly controls the   25   devices through their dedicated configuration adapters. The
  networks through a wireless access point and a commission              download may be carried out by contactless technologies
  ing tool (used for operations such as the configuration of             (such as RFID/NFC) or by contact technologies (such as
  devices).                                                              1-Wire). The data may be downloaded into the wired network
     In the design system the networks may be designed,                  devices through their dedicated configuration adapters. The
  according to the present invention, in two main stages, the       30   download can be carried out in the same way as for the
  architectural and the electrical design stages.                        wireless devices or for simple cases, manually (for example,
     In the architectural design stage, according to the present         by setting switches). After the device is loaded it is mounted
  invention, networks scheme may be created and logical bind             in its physical location as defined in the networks scheme. The
  ing information (logical links) between the devices may be             devices and the configuration adapters do not necessarily
  prepared. The scheme and the binding information may be           35   have to be powered-up during configuration data loading.
  created by the architectural designer and may be stored in a              During the initialization stage, according to the present
  standard storage means (such as a database or CD). The                 invention, the networks may be powered-up and initialized.
  networks scheme describes the networks in a human-friendly             The wireless devices update themselves with the downloaded
  way and allows to easily locate devices on it. For example, the        configuration data. For each wireless device, part of this data
  networks Scheme may be a diagram which represents a floor         40   may be the address translation sub-table entries, which
  in a building, the rooms on the floor and the physical location        include the wired communication link address and endpoint
  of the lamp ballasts and the lighting switches. The networks           (addressable component in a wireless device) of each wired
  scheme uniquely identifies each device by its type and its             device connected to its wired communication link. The wired
  physical location parameters, and combines both sets of                communication link address of each wired device is updated
  parameters to a unique (wired or wireless) logical ID. The        45   according to the address loaded in its configuration adapter.
  type will later be used by the networks installers to select a           After the networks are initialized, all the devices are rec
  device from the set of available devices to be physically              ognized by the master controller. The master controller uses
  installed in the location specified by the networks scheme.            the wireless device mapping and the address translation Sub
  For example, the type of a device can represent the serial ID          table in the wireless device mapping to translate the design
  of its version that is written on a tag of each device, the       50   system prepared binding information to valid binding com
  location of a device can be in the form of building name, floor        mands containing valid configuration data: Radio IDs, end
  number, room number. Binding information contains infor                points, and additional data as required by wireless protocols.
  mation that will later be used to link devices. It may be              The binding commands are transmitted to the wireless
  prepared using the networks scheme to create logical links             devices for creating logical links between different devices
  between devices. The information contains pairs of devices as     55   and the bindings are automatically formed. The binding infor
  identified by the networks scheme. For example, the logical            mation may be downloaded into devices together with the
  bindings can indicate which Switch controls which lamp bal             other configuration data if the memory/storage in the configu
  last.                                                                  ration adapter is large enough.
     In the electrical design stage, according to the present               According to the present invention there is provided a
  invention, two device mapping tables that contain configura       60   method of networks design, installation, and formation, the
  tion data may be formed: wired device mapping for wired                method including the main stages of: (a) starting the net
  devices, and wireless device mapping for wireless devices.             works, design, installation and formation; and (b) designing
  The device mappings map between the devices on the net                 the networks.
  works Scheme and their valid configuration data Such as radio            According to further features of the method there is the
  IDs and startup attribute sets for wireless devices, and wired    65   main stage of (c) installing the networks.
  communication link addresses for wired devices. The map                  According to further features of the method there is the
  pings may be used to correctly initialize the devices in the           main stage of (d) forming the networks.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 24 of 763 PageID #:
                                    1806

                                                          US 8,437,276 B2
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    According to other further features of the method there is               Sub-ID and wired communication linkaddress for each wired
  the main stage of (d) automatically forming the networks.                  device from the wired device mapping and fill it in the address
    According to still further features of the method there is the           translation Sub-table; and (C) entering an endpoint identifier.
  main stage of: (e) ending the networks design, installation,                  According to other features of the method the stage of
  and formation.                                                             installing at least one wireless devices includes the Sub-stages
     According to further features of the method the main stage              of: (A) physically installing the at least one wireless device
  of starting the networks design, installation, and formation               according to type and location taken from a networks Scheme
  includes the stage of: (i) providing a design system.                      as it appears on a commissioning tool; (B) marking the physi
     According to further features of the method the main stage              cally installed at least one wireless device on the commis
  of designing the networks includes the stages of: (i) defining        10   Sioning tool; (C) bringing the commissioning tool into at least
  at least two devices type and physical locations of the at least           proximity of a physically installed configuration adapter of
  two devices; (ii) defining binding links between the at least              wireless device; and (D) initiating data download from the
  two devices; (iii) defining a wired device mapping; (iv) defin             commissioning tool to the configuration adapter of wireless
  ing wireless device mapping; and (V) defining an address                   device using a tools user interface, wherein there is no need
  translation sub-table for wireless devices.                           15   to power-up configuration adapter of the wireless device.
     According to further features of the method the main stage                 According to other features of the method the stage of
  of starting the networks design, installation, and formation               installing at least one wired device includes the Sub-stages of
  includes the stage of: (i) providing a design system.                      (A) physically installing the at least one wired device accord
     According to still further features of the method—the main              ing to type and location taken from a networks Scheme as it
  stage of installing the networks includes the stage of: (i)                appears on a commissioning tool; (B) marking the physically
  installing at least one wireless device.                                   installed at least one wired device on the commissioning tool;
     According to still further features of the main stage of                (C) bringing into at least proximity the commissioning tool
  installing the networks further includes the stages of: (ii)               with the at least one installed wired device; and (D) initiating
  installing at least one wired device.                                      data download from the commissioning tool to the at least one
     According to still further features of the method the main         25   wired device using a tools user interface, wherein there is no
  stage of automatically forming the networks includes the                   need to power-up the wired device.
  stages of: (i) initializing the at least one wireless device; (ii)            According to other features of the method the stage of
  initializing the at least one wired device; and (iii) bindings             initializing at least one wireless device including the Sub
  formation.                                                                 stages of (A) powering up the at least one wireless device; (B)
     According to other further features of the method the              30   reading an ID, which is downloaded from a commissioning
  main stage of installing the networks includes the stage of: (i)           tool into a configuration adapter of the at least one wireless
  forming at least one wireless network.                                     device: (C) reading address translation sub-table entries, and
     According to still further features of the method the main              using the entries to locate and communicate with each
  stage of forming the networks further includes the stages of               attached wired device; (D) providing an indirect communi
  (i) initializing at least one wired device; and (ii) bindings         35   cation link between the wireless and wired networks; (E)
  formation.                                                                 using the ID as its radio ID; and (F) reading a SAS, which is
    According to the present invention there is provided a                   downloaded from the commissioning tool into the configura
  method of networks installation and formation, the method                  tion adapter of wireless device, and using the SAS and radio
  including the stages of: (i) installing at least one wireless              ID to join a designated wireless network.
  device.                                                               40      According to another feature of the method the stage of
     According to further features of the method further includ              initializing at least one wired device includes the Sub-stages
  ing the stages of: (ii) installing at least one wired device; (iii)        of: (A) powering up the at least one wired device; and (B)
  initializing the at least one wireless device; (iv) initializing           reading data, which is downloaded from a commissioning
  the at least one wired device; and (v) bindings formation.                 tool into the configuration adapter of the wired device, and
     According to other features of the method the stage of             45   using an address for the specific wired communication pro
  defining a wired device mapping includes the Sub-stages of                 tocol.
  (A) using a master controller to automatically insert a wired                 According to another feature of the method the stage of
  logical ID of at least one wired device to a device mapping;               bindings formation includes the Sub-stages of: (A) using a
  and (B) using the master controller to automatically allocate              master controller to initiate a binding process; (B) reading
  addresses for the at least one wired device.                          50   binding information by the master controller, and using a
     According to other features of the method the stage of                  wireless device mapping and an address translation Sub-table
  defining a wireless device mapping includes the Sub-stages                 in a wireless device mapping in order to translate wired logi
  of: (A) defining a SAS for each of the wireless devices on a               cal IDs of wired devices found in the binding information to
  networks scheme; (B) using a master controller to automati                 radio IDS and endpoints; and (C) transmitting binding com
  cally start to create a device mapping from a wireless logical        55   mands by the master controller.
  ID of each of the wireless devices and its the SAS; (C) using                 According to the present invention there is provided a
  a master controller to initiate a radio ID allocation; (D) using           control system for controlling of wireless and wired net
  the master controller to allocate a radio ID for each of the               works, the control system including: (a) a wired network,
  wireless logical IDs; and (E) forming an additional address                wherein the wired network includes at least one wired device;
  translation sub-table which specifies wired communication             60   and (b) a wired communication link, wherein the wired com
  link addresses and an endpoint for each of the wired devices               munication link is connecting the at least one wired device in
  attached to each one of the wireless devices.                              the wired network.
     According to other features of the method the stage of                    According to further features of the control system, the
  defining an address translation sub-table for wireless devices             control system further includes: (c) a wireless device,
  includes the Sub-stages of: (A) using a master controller to          65   wherein the wireless device has a wired communication inter
  initiate address translation Sub-table calculation; (B) using              face for communicating with the wired network through the
  the master controller to automatically take a wired logical                wired communication link; (d) a wireless network, the wire
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 25 of 763 PageID #:
                                    1807

                                                        US 8,437,276 B2
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  less network including at least one wireless device; and (e) a              FIG. 12 is a flowchart of a process of wireless device
  wireless communication link, wherein the wireless commu                  installation, according to a method of the present invention.
  nication link is interconnecting the at least one wireless                  FIG. 13 is a flowchart of a process of wired device instal
  devices in the wireless network.                                         lation, according to a method of the present invention.
     According to further features of the control system, the                 FIG. 14 is a flowchart of a process of wireless device
  control system further includes: (f) at least one access point,          initialization, according to a method of the present invention.
  the access point is connected to at least one network wherein               FIG. 15 is a flowchart of a process of wired device initial
  the network is selected from a group consisting of the wired             ization, according to a method of the present invention.
  network and the wireless network; (g) a master controller                   FIG. 16 is a flowchart of a process of bindings formation,
  with access to a networks scheme; and (h) at least one con          10
                                                                           according to a method of the present invention.
  figuration adapter with a configuration interface and a device              FIG. 17 is a flowchart of a process of networks design,
  contact interface.                                                       installation and automatic formation, according to a method
     According to further features of the control system, at least         of the present invention.
  one wired device, at least one commissioning tool, the wire
  less device, and the at least one access point has a configura      15       DETAILED DESCRIPTION OF EMBODIMENTS
  tion adapter for a complementary configuration link, wherein
  only the configuration adapter of the commissioning tool                    The present invention is of design and control systems,
  must be powered-up during a configuration data loading.                  commissioning tools, configuration adapters and a method
     According to further features of the control system, the              for wireless and wired networks design, installation and auto
  control system further including: (g) a configuration link for           matic formation including binding of networks devices.
  downloading configuration data: (h) at least one device con                 The principles and operation of the design and control
  tact interface for connecting to each of the at least one wired          systems, commissioning tools, configuration adapters and a
  devices device for reading configuration data: (i) at least one          method for design, installation and automatic networks for
  contact device interface for connecting to each of the at least          mation including binding of networks devices according to
  one wireless devices for reading configuration data; () a           25   the present invention may be better understood with reference
  configuration link operating powerless; (k) at least one com             to the drawings and the accompanying description.
  missioning tool for downloading configuration data into the                 Before explaining at least one embodiment of the invention
  configuration adapter of wired devices, into the configuration           in detail, it is to be understood that the invention is not limited
  adapter of access point and into the configuration adapter of            in its application to the details of construction and the
  wireless devices: (i) at least one device contact interface for     30   arrangement of the components set forth in the following
  connecting to each of the at least one commissioning tools for           description or illustrated in the drawings.
  writing configuration data; and () at least one device contact              Unless otherwise defined, all technical and scientific terms
  interface for connecting to each of the at least one access point        used herein have the same meaning as commonly understood
  for reading configuration data.                                          by one of ordinary skill in the art to which this invention
     According to further features of the control system at least     35   belongs. The materials, dimensions, methods, and examples
  one configuration adapter includes binding information.                  provided herein are illustrative only and are not intended to be
                                                                           limiting.
          BRIEF DESCRIPTION OF THE DRAWINGS                                   The following list is a legend of the numbering of the
                                                                           application illustrations:
    The invention is herein described, by way of example only,        40
  with reference to the accompanying drawings, wherein:
    FIG. 1 is a schematic diagram of an embodiment of a
  design and control systems according to the present inven                       1OO       design and control systems
  tion.                                                                           101       design system
                                                                                  102       control system
     FIG. 2 is a schematic diagram of an embodiment of a              45          103       master controller
  control system, according to the present invention.                             104       commissioning tool
                                                                                  105       wireless network
     FIG. 3 is a schematic diagram of an embodiment of a                          106       wired network
  design system, according to the present invention.                              107       backbone network
     FIG. 4 is a schematic block diagram of a commissioning                       2OO       access point
  tool, according to the present invention.                           50          2O1       wired device
                                                                                  2O2       wireless device
     FIG. 5 is a schematic block diagram of a wireless device,                    2O3       wireless communication link
  according to the present invention.                                             204       configuration adapter
     FIG. 6 is a schematic block diagram of an access point,                      205       RF (radio frequency) transceiver
  according to the present invention.                                             2O6       wired communication link
     FIG. 7 is a schematic block diagram of a configuration           55          2O7       configuration link
  adapter, according to the present invention.                                    3OO       design system controller with design application
                                                                                  301       database
     FIG. 8 is an example of a networks scheme, installed on a                    3O2       design system communication interface
  floor of a building, according to the present invention.                        400       CT (commissioning tool) controller
     FIG. 9 is a flow chart of a process of defining the wired                    4O1       (design control) system interface
  device mapping, according to a method of the present inven          60          4O2       CT (commissioning tool) user interface
                                                                                  500       wireless device controller
  tion.                                                                           5O1       wired communication interface
    FIG. 10 is a flowchart of a process of defining the wireless                  502       wireless device user interface
  device mapping, according to a method of the present inven                      503       sensor interface
  tion.                                                                           600       AP (access point) controller
                                                                                  700       control and memory module
     FIG. 11 is a flowchart of a process of defining an address       65          701       device contact interface
  translation table for wireless devices, according to a method                   702       configuration interface
  of the present invention.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 26 of 763 PageID #:
                                    1808

                                                                 US 8,437,276 B2
                                      9                                                                          10
                                -continued                                    The term “IC” and the like, substantially refer to an inter
        800       networks scheme
                                                                            integrated circuit bus.
        8O1       wireless large fluorescent                                   The term “network” and the like substantially refer to a
        802       wireless standard device                                  series of devices interconnected by communication links.
        803       wired standard fluorescent in the left wing                  The term “NFC and the like substantially refer to a near
        804       wired Standard fluorescent in the right wing              field communication.
        805       wireless 1 - gang Switch
        806       wireless 3-gang Switch                                       The term “master controller and the like, substantially
        807       left Switch                                               refer to a component responsible for the control system man
        808       middle Switch                                             agement.
        809       rightSwitch                                          10
        810       floor #2                                                    The term “PAN and the like, substantially refer to a per
        811       hallway                                                   Sonal area network.
        812       room #1
        813       room #2
                                                                              The term “RFID and the like substantially refer to radio
        814       single Switch                                             frequency identification.
        815       large fluorescent                                    15     The term “router and the like substantially refer to a
                                                                            device providing routing/relay services to the network/sys
                                                                            tem.
     As used herein in the specification and in the claim section              The term “system’’ and the like substantially refer to a
  that follows, the terms: access point, address translation Sub
  table, binding, cluster, coordinator, commissioning tool, con             collection of elements (hardware & Software) that are orga
  figuration adapter, configuration data, (communication) link,             nized for a common purpose.
  device, end device, end point, HVAC, IC, network, NFC,                       The term “networks scheme' and the like substantially
  master controller, PAN, RFID, router, system, networks                    refer to a diagram of the installation site that uniquely iden
  scheme, SAS, SPI, USB, wired device, wireless device, wire                tifies each device by its type and its physical location (e.g. a
  less logical ID, wired logical sub-ID, wired logical ID, wire             map, or a table on which every device is located by coordi
                                                                       25   nates).
  less device mapping, and wired device mapping, are as speci
  fied in the following list:                                                  The term "SAS and the like, substantially refer to a Star
     The term “access point' and the like substantially refer to            tup Attribute Set.
  a device that connects (directly or through communication                    The term "SPI and the like substantially refer to a serial
  adapters such as Switches) the master controller to the wire         30
                                                                            peripheral interface bus.
  less and wired networks.                                                     The term “USB and the like, substantially refer to a uni
     The term "address translation sub-table' and the like Sub              versal serial bus.
  stantially refer to a translation of the wireless device endpoint           The term “wired device' and the like substantially refer to
                                                                            a device without a wireless transceiver.
  identifiers of attached wired devices to their wired commu
  nication link address.                                               35
                                                                              The term “wireless device' and the like substantially refer
                                                                            to a device with a wireless transceiver.
     The term “binding and the like substantially refer to a                  The term "wireless logical ID' and the like substantially
  unidirectional logical link between a source endpoint and a               refer to an identifier that identifies each wireless device on the
  destination endpoint that run the same application.                       networks scheme by the wireless device location and the
     The term “cluster” and the like substantially refer to a               wireless device type.
  collection of commands and attributes/states.                        40
                                                                              The term "wired logical sub-ID' and the like substantially
     The term “coordinator' and the like substantially refer to a           refer to an identifier that identifies each wired device attached
  wireless device responsible for starting and maintaining a                to each wireless device on the networks scheme by the wired
  wireless network.                                                         device location and the wired device type.
     The term “commissioning tool and the like substantially           45
                                                                               The term "wired logical ID' and the like substantially refer
  refer to a (usually portable) unit used to deploy and configure           to an identifier that identifies each wired device on the net
  devices.                                                                  works scheme by the wireless logical ID to which it is
     The term “configuration adapter and the like substantially             attached and its own wired logical sub-ID.
  refer to a component in a device or connected to a device                    The term “wireless device mapping and the like substan
  which receives and stores configuration data.                        50
                                                                            tially refer to a table which maps the wireless logical ID of
     The term “configuration data” and the like substantially               each wireless device to its radio ID, SAS and address trans
                                                                            lation sub-table entries.
  refer to a set of attributes (such as radio ID and startup                   The term "wired device mapping and the like substan
  attribute set) that determines the initial behavior of the wire           tially refer to a table which maps the wired logical ID of each
  less device.
                                                                            wired device to its wired network address.
     The term “(communication) link’ and the like substantially        55
                                                                               Detailed System Description
  refer to a means of connecting one device to another for the                 A method for wireless and wired networks design, instal
  purpose of transmitting and receiving data.                               lation and automatic formation, according to the present
     The term “device' and the like substantially refer to a                invention, is shown in Table 1.
  system/network component (either a wired device or a wire
  less device).                                                        60
                                                                                                          TABLE 1
     The term “end device' and the like substantially refer to a
  device that can only communicate with the routers and the                  No Stage Name Output                     Process
  coordinator (can't relay messages).                                         A Architectural Networks scheme Define device type and physical
     The term “end point' and the like substantially refer to an                   design        and                  location A1
  addressable component in a wireless device.                          65                        binding table        Define binding links between
     The term “HVAC and the like substantially refer to heat                                                          devices A2
  ing, ventilation and air conditioning.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 27 of 763 PageID #:
                                    1809

                                                                    US 8,437,276 B2
                                       11                                                                           12
                          TABLE 1-continued                                             During the bindings formation stage E. data created in the
                                                                                     design stages A and B may be accessed by the master con
   No Stage Name Output                     Process                                  troller E1, the master controller may send binding commands
    B   Electrical     Devices mapping Allocate SAS (Startup Attribute               to the wireless devices to form logical links between network
        design         tables          Set) for each device B1                       devices E2. The output of the bindings formation stage E may
                                            Allocate radio IDB2                      be binding links between the network devices.
                                            Allocate endpoints B3                       Referring now to the drawings, FIG. 1 is a general sche
                                            Allocate wired link addresses B4
                                            Address translation table sub            matic diagram of an embodiment of a design and control
                                            table created B5                         systems 100, according to the present invention.
    C   Networks       Configured and       Remotely access or download the     10      The design data created in the architectural and electrical
        installation   physically           data created in the design stages        design stages and stored in a design system 101 may be
                       installed            into the commissioning tool C1
                       devices              Download configuration data into         downloaded into or accessed and used by a master controller
                                            the configuration adapter of each        103 of a control system 102 to control wireless networks 105
                                            wired device C2
                                            Download configuration data into
                                                                                     and wired networks 106. The design data may also be down
                                            the configuration adapter of each
                                                                                15   loaded into or accessed and used by commission tools 104 for
                                            wireless device C3                       the wireless networks 105 and wired networks 106 installa
                                            Physically install each device           tion and formation, as explained in the following.
                                            according to its location in the            The master controller 103 may have a provision to connect
                                            networks scheme C4
    D   Networks       Powered-up and       Wireless devices read the                to a backbone network 107, a higher level network (such as of
        initialization initialized          downloaded data and join a               a BMS building management system).
                       networks             wireless network D1                        The continuous line with arrows indicates that the commu
                                            Wired devices read the
                                            downloaded data and a wired
                                                                                     nication between the connected units is continuous during the
                                            network is formed D2
                                                                                     systems operation.
    E Bindings         Binding links        Master controller accesses the             The dotted lines with arrows indicate that the communica
        formation      between devices      data created in the design          25   tion between the connected units may be temporary for spe
                                            stages E1                                cific purposes, as explained in the following.
                                            Master controller sends
                                            binding commands to the                     FIG. 2 is a schematic diagram of an embodiment of a
                                            wireless devices E2                      control system 102 according to the present invention.
                                                                                        The control system’s 102 main components include wired
                                                                                30   devices 201, wireless devices 202, a master controller 103,
     The method for wireless and wired networks design, instal                       configuration adapters 204, access points 200 and commis
  lation and automatic formation includes the follows stages:                        sioning tools 104.
  A) architectural design; B) electrical design; C) networks                           Wired devices 201 are connected through a wired commu
  installation; D) networks initialization and E) bindings for                       nication link 206. Such as digital addressable lighting inter
  mation.
     During the architectural design stage A, the device types                  35   face (DALI) to wireless devices 202 or to the access points
  and physical location A1 and the binding links A2 may be                           200. Wireless devices 202 and access points 200 may have 0.
  defined. The output of architectural design A may be the                           1, or more attached wired communication links 206. The total
  networks scheme and the binding table.                                             number of wired devices 201 connected to the wireless device
     During the electrical design stage B startup attribute set B1,                  202 is limited by the maximum number of endpoints available
  radio IDB2, endpoints B3 and wired (communication) link                       40   in the wireless device 202, as defined by the specific wireless
  addresses B4 may be allocated to each device and an address                        protocol. Wireless devices 202 with attached wired devices
  translation sub-table may be created B5. The address trans                         201 transfer the network control functions to the wired
  lation sub-table allows the wireless devices to locate and                         devices 201 via the wired communication link 206 using a
  communicate with each attached wired device, providing an                          wired communication protocol (such as DALI). The wireless
  indirect communication link between the wireless and wired                    45   devices 202 include a RF transceiver 205 for the wireless
  networks. The output of the electrical design stage B may be                       communication link 203, (Such as ZigBee) and a configura
  the device mapping tables for the wired and the wireless                           tion adapter 204 for a complementary contactless or contact
  devices. The device mapping tables map between the devices                         configuration link 207 (such as contactless RFID or wired
  on the networks scheme and their allocated parameters.                             1-Wire). The configuration adapter 204 is used for transfer
     During the networks installation stage C the data created in               50   ring the configuration data that determines the initial behavior
  the design stages A and B may be remotely accessed or                              of the device, (wire devices 201 or wireless devices 202) or
  downloaded into the commissioning tool C1, configuration                           access points 200. Each wired device 201 has a configuration
  data from the commissioning tool may be downloaded/set                             adapter 204 for receiving the configuration data required for
  into the configuration adapter of each wired device C2, con                        the initial operation of it. In some networks the configuration
  figuration data from the commissioning tool may be down                       55   adaptor 204 may be implemented internally in the wired
  loaded into the configuration adapter of each wireless device                      devices 201 or wireless devices 202, and in other networks,
  C3 and each device is physically installed according to its                        the configuration adapter 204 may be an external component.
  location in the networks scheme C4. The output of the net                            A master controller 103 (such as a PC), controls groups of
  works installation C may be configured and physically                              wireless devices 202, called wireless networks (105) and
  installed devices.                                                            60   groups of wired devices 201 called wired networks (106).
     During the networks initialization stage D, the devices are                       The networks control functions from the master controller
  powered-up, the wireless devices may read the downloaded                           103 are transferred through the access point 200 through the
  data initialize themselves and join a wireless network D1 and                      wireless communication link 203 or through the wired com
  the wired devices may read the downloaded/set data, initialize                     munication link 206.
  themselves and a wired network is formed. The output of the                   65      The master controller 103 may control a plurality of wire
  networks initialization D may be the powered-up and initial                        less networks (105) and wired networks (106) through differ
  ized networks.                                                                     ent access points 200.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 28 of 763 PageID #:
                                    1810

                                                        US 8,437,276 B2
                              13                                                                        14
     Commissioning tools 104 (such as a PDA) may access/                  1-Wire). The RF transceiver 205 may be used to connect to
  download and use the design data created in the design system           the wireless network (105) through the wireless communica
  101 to download configuration data through the configuration            tion link 203. It may be implemented by a low-rate, low
  link 207 of the configuration adapter 204 into the wireless             power wireless standard protocol (Such as ZigBee). The sen
  devices 202 into the wired devices 201 and into the access              sor interface 503 connects the wireless device (202), not
  points 200.                                                             shown in the present illustration, to different types of sensors
     The master controller 103 may use the access points 200              (such as presence, temperature and lighting intensity)
  with configuration adapters 204 as commissioning tools 104.             through a standard sensor interface bus (such as IC or
     FIG. 3 is a schematic diagram of an embodiment of the                1-Wire). The wireless device controller 500 coordinates the
  design system 101 according to the present invention.              10
                                                                          functioning of the device and may be implemented by a
     The design system’s 101 main components include data                 standard microcontroller. The wireless device user interface
  base 301, design system controller with design application              502 allows the user to perform operations such as to manually
  300 and design system communication interface 302.                      control the wired devices (201), set parameters for interaction
     The design data created by the design system controller
  with the design application 301 (such as a PC) may be stored       15   with sensors, not shown in the present illustration, etc. The
  in the database 301. The database 301 stores the networks               wireless device user interface 502 may be implemented by
  scheme, device mapping tables and binding information. The              standard interface technologies (such as touch screen and
  database 301 may be accessed by downloaded into or the                  push buttons).
  master controller 103 and by the commissioning tools 104                   FIG. 6 is a schematic block diagram of AP (access point)
  through the design system communication interface 302.                  200, according to the present invention.
     Detailed Devices Description                                            The design/control system interface 401 may be a standard
     FIG. 4 is a schematic block diagram of a CT (commission              communication interface (such as USB, Ethernet or Wi-Fi)
  ing tool) 104, according to the present invention.                      and is used to connect the access point (200), not shown in the
     The control/design system interface 401 may be a standard            present illustration, (directly or through an interface gateway)
  serial communication interface (such as USB or Ethernet),          25   to the master controller (103), not shown in the present illus
  wireless interface (such as Wi-Fi) or a cellular interface (such        tration. The wired communication interface 501 may be a
  as GSM) and is used to connect the commissioning tool 104,              standard communication interface for control (such as DALI)
  to the master controller (103), not shown in the present illus          and is used to connect the access point 200 to wired networks
  tration, to a local storage media (Such as a CD) not shown in           106 through the wired communication link 206. The access
  the present illustration, or to the design system (101), not       30   point (200), not shown in the present illustration, allows the
  shown in the present illustration, and to remotely access or            master controller (103), not shown in the present illustration,
  load the design data. The configuration adapter 204 is used to          to control the wireless networks 105, through the wireless
  download the configuration data, through the configuration              communications link (203), or to control the wired networks
  link 207, into the configuration adapter 204 in the devices.            106 through the wired communications link (206). The con
     The download can be carried out by contactless technolo         35   figuration adapter 204 is used to receive the configuration
  gies (such as RFID/NFC) or by contact technologies (such as             data, through the configuration link 207, downloaded from
  1-Wire). The RF transceiver 205 is used to connect to the               the commissioning tool (104), and not shown in the present
  wireless network 105 through the wireless communication                 illustration. The download may be carried out by contactless
  link 203 for purposes Such as testing and maintenance.                  technologies (such as RFID/NFC) or by contact technologies
     The wireless network 105 may be implemented by a low            40   (such as 1-Wire). The RF transceiver 205 may be used to
  rate, low-power wireless standard protocol (such as ZigBee).            connect to the wireless network (105) through the wireless
  The CT controller 400 coordinates the functioning of the                communication link 203. The wireless network (105) may be
  device and may be implemented by a standard microcontrol                implemented by a low-rate, low-power wireless standard pro
  ler. The CT user interface 402 allows the user to perform               tocol (such as ZigBee). The AP controller 600 coordinates the
  operations such as to browse through the networks Scheme or        45   functioning of the device and may be implemented by a
  device mapping tables, to select the appropriate download               standard microcontroller.
  able data and to initiate operations such as download data,                FIG. 7 is a schematic block diagram of a configuration
  read back, etc. The CT user interface 402 may be imple                  adapter 204, according to the present invention.
  mented by standard interface technologies (such as touch                   The configuration interface 702 is used to load the configu
  screen and push buttons).                                          50   ration data downloaded from the commissioning tool (104),
     FIG. 5 is a schematic block diagram of a wireless device             not shown in the present illustration, through the configura
  202, according to the present invention.                                tion link 207.
     The wired communication interface 501 may be a standard                 The configuration adapter 204 may be differently imple
  communication interface for control (Such as DALI) and is               mented in hardware in the CT (commissioning tool), AP
  used to connect the wireless device 202 to the wired network       55   (access point) and in the wired and wireless devices, but the
  106, through the wired communication link 206. The con                  configuration interface 702 implements identical configura
  figuration adapter 204 is used to receive the configuration             tion link communication protocols (such as ISO 14443).
  data, through the configuration link 207, downloaded from                  The data load may be carried out by contactless technolo
  the commissioning tool (104), and not shown in the present              gies (such as RFID/NFC) or by contact technologies (such as
  illustration. In case that the master controller (103), not        60   1-Wire). The control and memory module 700 may be used to
  shown in the present illustration, is used as a commissioning           store the loaded configuration data and to control the adapter.
  tool (104), not shown in the present illustration, the configu          The configuration adapter 204 in the wireless devices (202),
  ration adapter (of access point) 204 is used to download the            wired devices (201) and access points (202) (not shown in the
  configuration data into the configuration adapter 204 of the            present illustration), may not necessarily be powered-up dur
  devices, through the configuration link 207.                       65   ing the configuration data load. The configuration data may
     The download may be carried out by contactless technolo              be read by the devices through the device contact interface
  gies (such as RFID/NFC) or by contact technologies (such as             701. The device contact interface 701 may be a standard
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 29 of 763 PageID #:
                                    1811

                                                             US 8,437,276 B2
                                 15                                                                                16
  communication interface (such as SPI or 1-Wire) or a stan                                             TABLE 2-continued
  dard control interface (such as DALI).
     Detailed Method Description                                               Entry Output Wired Logical ID Input Wired Logical ID            Cluster IDs
     Architectural Design (No. A of Table 1)                                          switch, floorii.2, hallway) fluorescent,
     A networks scheme of the system 102 to be installed may                                                       floorii.2, room#1)
  be defined, where each wireless and wired device has a (wired                  22   (wireless 3-gang Switch, (wireless standard device,      ID1, ID2
  or wireless) logical ID that specifies its type and a physical                       floorif2, hallway, middle floorii.2, hallway,
                                                                                      switch, floorii.2, hallway) wired standar
  location. The type of the device may be later used by the                                                       fluorescent, floorii.2,
  networks installers to install the correct type of device in the                                                hallway, right wing)
  specified physical location.                                            10     23   (wireless 3-gang Switch, (wireless standard device,      ID1, ID2
     FIG. 8 is an example of a networks scheme 800, installed                          floorii.2 hallway,          floorii.2, hallway, wired
                                                                                      left switch,                standard fluorescent,
  on a storey of a building, according to the present invention.                       floorif2, hallway)          floorii.2,
  The system includes the following components: master con                                                        hallway, left wing)
  troller 103, access point 200, a wireless large fluorescent 801,               24   (wireless 1-gang Switch, (wireless standard device,
                                                                                       floorif2, hallway, single floorif2., roomfi1, large
                                                                                                                                               ID1, ID2
  a wireless standard device 802 connected to wired standard              15
                                                                                      switch, floorii.2, hallway) fluorescent, floorii.2,
  fluorescents in the left wing 803 and to wired standard fluo                                                    room#1)
  rescents in the right wing 804, a wireless 1-gang switch 805                   25   (wireless 1-gang Switch, (wireless standard device,      ID1, ID2
  and a wireless 3-gang switch 806.                                                    floorif2, hallway, single floorif2, hallway, wired
     The networks scheme 800 is a map of the installation site,                       Switch, floorif2, hallway) standard fluorescent,
                                                                                                                   floorii.2,
  and the physical location for each device may be its coordi                                                  hallway, right wing)
  nates on the map. In the example a physical location of the                    26 (wireless 1-gang Switch, (wireless standard device,        ID1, ID2
  wireless 3-gang switch 806 may be floor #2810, hallway                             floorif2, hallway, single floorif2, hallway, wired
  811. The physical location may contain additional param                           Switch, floorif2, hallway) standard fluorescent,
                                                                                                                   floorii.2,
  eters such as building number, wall or ceiling, etc. The type of                                                hallway, left wing)
  the switch wireless device is wireless 3-gang switch 806. The           25
  pair (type, physical location) is referred to as wireless logical
  ID and uniquely identifies each device (i.e. no two devices                    In the example of Table 2, which refers to the example
  have the same logical ID). In the example, the wireless logical              networks scheme shown in FIG. 8, the right switch 809 is
  ID for the device is (wireless 3-gang switch 806, floor #2                   bound to the large fluorescent 815 in room #1812, the middle
  810, hallway 811). The type may further include more                    30   switch 808 is bound to the wired standard fluorescent in the
  parameters such as manufacturer name, production date, ver                   right wing 804 of the hallway 811, the left switch 807 is bound
  sion number, etc.                                                            to the wired standard fluorescent in the left wing 803 of the
     For wired devices 201, the device wired logical ID may be                 hallway 811, and the single switch 814 is bound to the large
  comprised of its wireless devices wireless logical ID and the                fluorescent 815 in room #1812, to the wired standard fluo
  wired devices own wired logical sub-ID. In the example, a               35   rescent in the right wing 804 of the hallway 811 and to the
  wired logical ID of a wired device 201 may be: (wireless                     wired standard fluorescent in the left wing 803 of the hallway
  3-gang switch, 806 floor #2810, hallway 811, left switch                     811.
  807, floor #2 810, hallway 811). In this case the wired                         The binding information is organized in the table as fol
  logical sub-ID of the switch is (left switch 807, floor #2810,               lows: Entry 21 contains the wired logical ID of the right
  hallway 811).                                                           40
                                                                               switch device 809 (comprised of the wireless device's wire
     Binding information may be defined. A binding is a unidi                  less logical ID and its own wired logical Sub-ID within the
  rectional logical link between a source endpoint (which ini                  context of the wireless device, wireless 3-gang switch 806),
  tiate an operation) and a destination endpoint (which is des                 and the wired logical ID of the large fluorescent 815 in room
  ignated to perform the operation) that run the same
  application. Bindings allow connections between different               45   #1812. Entry 22 contains the wired logical ID of the middle
  devices running a similar application. For example a Switch                  switch device 808, and the wired logical ID of the wired
  and ballast that run a home automation application. The bind                 standard fluorescent 804 in the right wing of the hallway 811.
  ing information is a set of entries. Each entry contains a pair              Entry 23 contains the wired logical ID of the left switch
  of wired logical IDs of the bound devices. A binding entry                   device 807, and the wired logical ID of the wired standard
  may also contain other data needed to bind the devices. This            50   fluorescent 803 in the left wing of the hallway 811.
  information may vary according to the communication pro                         Entry 24 contains the wired logical ID of the single switch
  tocol. An example of other data contained in each binding                    device 814 (comprised of the wireless device's wireless logi
  entry, (in case ZigBee is used as the communication proto                    cal ID and its own wired logical sub-ID within the context of
  col), is a list of cluster IDs. A cluster ID identifies a cluster and        the wireless device, wireless 1-gang switch 805), and the
  is associated with data flowing out of, or into the device.             55   wired logical ID of the large fluorescent 815 in room #1812.
  Cluster IDs are unique within the scope of a specific applica                Entry 25 contains the wired logical ID of the same single
  tion. For example, a cluster may be associated with turning a                switch device 814, and the wired logical ID of the wired
  device on/offin a home automation application.                               standard fluorescent in the right wing 804 of the hallway 811.
     An example of binding information entries is shown in                     Entry 26 contains the wired logical ID of the single switch
  Table 2.                                                                60   device 814, and the wired logical ID of the wired standard
                                                                               fluorescent in the left wing 803 of the hallway 811.
                               TABLE 2                                            In this example (where ZigBee is used as the communica
                                                                               tion protocol and the devices are running a home automation
   Entry Output Wired Logical ID Input Wired Logical ID     Cluster IDs        application), each entry also contains a list of cluster IDs
    21 (wireless 3-gang Switch, (wireless large fluorescent, ID1, ID2     65   associated with lighting control (last column in the Table 2).
        floorif2, hallway, right floorif2., roomfi1, large                        An illustration of a wired devices mapping table is shown
                                                                               in Table 3.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 30 of 763 PageID #:
                                    1812

                                                                   US 8,437,276 B2
                                      17                                                                         18
                                 TABLE 3                                           36 of the wired devices 201 mapping table example (Table 3)
                                                                                   specifies that the single switch 814 (in the hallway 811 of
                                                                  Wired
                                                              Communication        floor #2810) that is connected to the wireless 1-gang switch
   Entry Wired Logical ID                                      Link Address        805 (in the hallway 811 of floor #2810) has an address of 34
                                                                                   (arbitrary number) in the single switch 814 wired communi
     31   (wireless 3-gang Switch, floorif2, hallway,               11             cation link, not shown in this example. The entry 37 of the
          right Switch, floorif2, hallway)
     32   (wireless 3-gang Switch, floorif2 hallway,                12             wired devices mapping table example (Table 3) specifies that
          middle Switch, floorh2, hallway)                                         the large fluorescent 815 (in the room #1812 of floor #2810)
     33   (wireless 3-gang Switch, floorif2, hallway,               13             that is connected to the wireless large fluorescent 801 (in the
          left Switch, floorii.2, hallway)                                    10
     34   (wireless standard device, floorii.2, hallway,            11             room #1812 of floor #2810) has an address of 46 (arbitrary
          wired standard fluorescent, floorif2, hallway,
          right wing)
                                                                                   number) in the large fluorescent wired communication link,
     35   (wireless standard device, floorii.2, hallway,            12
                                                                                   not shown in this example.
          wired standard fluorescent, floorif2, hallway,                              FIG. 9 is a flowchart of a process of defining the wired
          left wing)                                                          15   device mapping, according to a method of the present inven
     36   (wireless 1-gang Switch, floorif2, hallway,              34              tion.
          single switch, floorif2, hallway)
     37   (wireless large fluorescent, floorii.2, roomfi1),        46                The process of defining the wired device mapping includ
          large fluorescent, floorii 2, roomfi1)                                   ing the Sub-stages of
                                                                                     starting the process of defining the wired device mapping
     Electrical Design (No. B of Table 1)                                                  900;
     A wired device mapping may be created for the wired                             using the master controller to automatically insert the
  devices 201. For example, Table 3 illustrates the wired                              wired logical ID of each wired device to wired device
  devices mapping table for the example control system                                 mapping 901;
  scheme shown in FIG. 8, according to the method of the                             using the master controller to automatically allocate
                                                                              25           addresses for wired devices 902; and
  present invention. For each wired device 201 on the networks                       ending the process of defining the wired device mapping
  scheme of FIG. 8, the wired device 201 mapping maps the                                  903.
  wired logical ID of the wired device 201 to its wired commu                        FIG. 10 is a flowchart of a process of defining the wireless
  nication link 206 address used by the implemented wired                          device mapping, according to a method of the present inven
  communication protocol. The wired communication link 206                    30   tion.
  address for each wired device 201 may be automatically                             A wireless device mapping is created for wireless devices.
  allocated by the master controller 103, (stage 902 of the                        For each wireless device (202) on the networks scheme, the
  process of defining the wired device mapping, according to a                     wireless device mapping maps the wireless logical ID of the
  method of the present invention, shown as a flowchart in FIG.                    device to a unique radio ID (wireless communication link
  9).                                                                         35   address) and startup attribute set (SAS).
     This address may be later loaded into or accessed by the                        The SAS of a wireless device is a set of attributes that
  commissioning tool 104 and downloaded into the wired                             determines the initial behavior of the device. Such a set may
  device 201. The entry 31 of the wired devices mapping (Table                     include:
  3) specifies that the right switch 809 (in the hallway 811 of                      Startup parameters which determine how the device should
  floor #2810) that is connected to the wireless 3-gang Switch                40       join a network.
  806 (in the hallway 811 of floor #2810) has an address of 11                         The PAN (personal area network) ID of the network.
  (arbitrary number) in the wireless 3-gang switch 806 wired                         The channel mask which determines the channels that the
  communication link, not shown in this example. The entry 32                            device should scan to find a network to join.
  of the wired devices mapping table example of table 3 speci                         Security data e.g. network key.
  fies that the middle switch 808 (in the hallway 811 of floor #2             45      Additional parameters (such as operation mode).
  810) that is connected to the wireless 3-gang switch 806 (in                        The SAS for each wireless device may be defined, (stage
  the hallway 811 of floor #2810) has an address of 12 (arbi                       1001), after a study at the installation site to determine desired
  trary number) in the wireless 3-gang switch 806 wired com                        parameters (e.g. available PAN IDs, available channels).
  munication link, not shown in this example. The entry 33 of                         The unique radio ID, (stage 1004), for each wireless device
  the wired devices mapping table example (Table 3) specifies                 50   is automatically defined by the master controller (103).
  that the left switch 807 (in the hallway 811 of floor #2810)                        The process of defining the wireless device mapping
  that is connected to the wireless 3-gang switch 806 (in the                      including the stages of:
  hallway 811 of floor #2810) has an address of 13 (arbitrary                         starting the process of defining the wireless device map
  number) in the wireless 3-gang switch 806 wired communi                                ping 1000;
  cation link, not shown in this example. The entry 34 of the                 55      defining the SAS for each wireless device on the networks
  wired devices mapping table example (Table 3) specifies that                             scheme 1001;
  the wired standard fluorescent in the right wing 804 (in the                       using the master controller to start creating a device map
  hallway 811 of floor #2810) that is connected to the wireless                        ping from the wireless logical ID of each wireless device
  standard device 802 (in the hallway 811 of floor #2810) has                              and its SAS 1002;
  an address of 11 (arbitrary number) in the standard fluores                 60     using the master controller to initiate radio ID allocation
  cent wired communication link. The entry 35 of the wired                                 1003:
  devices mapping table example (Table 3) specifies that the                         using the master controller to allocate radio ID for each
  wired standard fluorescent in the left wing 803 (in the hallway                      wireless logical ID 1004;
  811 of floor #2810) that is connected to the wireless standard                     forming an additional address translation Sub-table which
  device 802 (in the hallway 811 offloor #2810) has an address                65       specifies, for each wireless device, the attached wired
  of 12 (arbitrary number) in the standard fluorescent wired                               devices wired communication link address and end
  communication link (not shown in this example). The entry                                point 1005; and
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 31 of 763 PageID #:
                                    1813

                                                                 US 8,437,276 B2
                                  19                                                                              20
       ending the process of defining the wireless device mapping                       The address translation sub-table (in Table 4), of the wire
         1006.                                                                       less device mapping (Table 4) translates endpoint identifiers
       An illustration of a wireless devices mapping table is                        (used in the implemented wireless protocol) of wired devices,
  shown in Table 4.                                                                  attached to each wireless device, to their wired communica
                                                                TABLE 4
                       Radio ID                 SAS (Startup Attribute Set                         Address Translation Sub-Table
  Wireless              (Wireless                                             Max                                     Wired
  Logical ID         communication     Join      PAN Channel Network          End-         Wired Logical          communication End
                      link address)   Mode        ID     Mask      Key       Devices           Sub-ID              link address   point Entry
  (Access Point,           16         Coor-       2      Ox18     0x4278       6                                                         41
   Floorii.2,                         dinator
  Roomfi1)
  A.
  (Wireless 3-gang         13          End-       2      Ox18     0x4278                   (Right Switch,              11          1     42
  Switch, Floorh2,                    Device                                             Floorii.2, Hallway)
  Hallway)                                                                                 (Middle Switch,             12          2     43
  B                                                                                      Floorii.2, Hallway)
                                                                                       (Left Switch, Floorii.2,        13          3     44
                                                                                             Hallway)
  (Wireless                24         Router      2      Ox18     0x4278       4          (Wired Standard              11          1     45
  Standard Device,                                                                     Fluorescent, Floorii.2,
   Floorii.2,                                                                          Hallway, Right Wing)
  Hallway)                                                                                (Wired Standard              12          2     46
  C                                                                                    Fluorescent, Floorii.2,
                                                                                       Hallway, Left Wing)
  (Wireless Large          25         Router      2      Ox18     0x4278       4        (Large Fluorescent,            46          5     47
  Fluorescent,                                                                           Floorii.2, Room#1)
   Floorii.2,
  Roomfi1)
  D
  (Wireless 1-gang         18          End-       2      Ox18     0x4278                   (Single Switch,             34          4     48
  Switch, Floorh2,                    Device                                             Floorii.2, Hallway)
  Hallway)
  E



     The entry (A) of the wireless device mapping table 35 tion link address used by the implemented wired communi
  example (Table 4) specifies that the access point device (200) cation protocol. The address translation sub-table (in Table 4)
  (in the room #1 (812) of floor #2 (810)) is assigned a radio ID allows the wireless device (202) to address wired devices 201
  (wireless communication link address) of 16 (arbitrary num- in the wired network (105).
  ber), and is also assigned a startup attribute set (SAS) which    The wired logical sub-ID and wired communication link
  includes its join mode (as a coordinator) and other startup 40 address parameter of each wired device (201) in the address
  attributes.                                                                        translation sub-table (in Table 4) is calculated by the master
     The second entry (B) of the wireless device mapping table                       controller (103), by reading the wired logical IDs and wired
  example (Table 4) specifies that the wireless 3-gang Switch                        communication link addresses of attached wired devices
  (806) (in the hallway (811) of floor #2 (810)) is assigned a from the wired device mapping 1102.
  radio ID of 13 (arbitrary number), and is also assigned a 45 The endpoint parameter of each wired device in the address
  startup attribute set (SAS) which includes its join mode (as an translation sub-table (in Table 4) may be either manually
  end device) and other startup attributes.                          entered or automatically calculated by the master controller
     FIG. 11 is a flowchart of a process of defining an address 1103.
  translation sub-table for a wireless device (202), according to       In the example of Table 4, consider the three entries of the
  a method of the present invention.                              50 address translation Sub-table that correspond to the second
     The process of defining an address translation sub-table for entry (B) of the wireless device mapping table example (en
  wireless devices including the stages of                           tries 42, 43. 44). These address translation sub-table entries
     starting the process of defining an address translation Sub contain the address translation data of the wired devices
        table for wireless devices 1100:                             attached to the wireless 3-gang switch (806) in the hallway
     using the master controller to initiate address translation 55 (811) of floor #2810. The first entry (entry 42), specifies that
        sub-table calculation 1101;                                  the wired right switch device (809) connected to the wireless
     using the master controller to automatically take for each 3-gang Switch (806) is assigned an endpoint of 1 (arbitrary
        wireless device, the wired logical sub-ID and wired number) and a wired communication link address of 11 (as
        communication link address for each wired device             specified in entry 31 of the wired device mapping in Table 3).
        attached to the wireless device from the wired device 60 The second entry, (entry 43), specifies that the middle switch
        mapping and fill them in the address translation Sub (808) is assigned an endpoint of 2 (arbitrary number) and a
        table 1102:                                                  wired communication link address of 12 (as specified in entry
     entering for each wired device its endpoint manually, or 32 of the wired device mapping in Table 3). The third entry
        automatically after calculating it by the master control (entry 44), specifies that the left switch 807 is assigned an
        ler 1103; and                                             65 endpoint of 3 (arbitrary number) and a wired communication
     ending the process of defining an address translation Sub link address of 13 (as specified in entry 33 of the wired device
        table for wireless devices 1104.                             mapping in Table 3).
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 32 of 763 PageID #:
                                    1814

                                                        US 8,437,276 B2
                                21                                                                     22
     The entry (C) of the wireless device mapping table                     attaching/bringing into proximity (or contact) the commis
  example (Table 4) specifies that the wireless standard device                sioning tool with the physically installed configuration
  (802) (in the hallway (811) of floor #2 (810)) is assigned a                 adapter of wireless device 1203;
  radio ID of 24 (arbitrary number), and is also assigned a                 initiating data download from the commissioning tool to
  startup attribute set (SAS) which includes its join mode (as a     5         the configuration adapter 204 of the wireless device
  router) and other startup attributes.                                        using the tools user interface (no need to power-up the
    Consider the two entries of the address translation sub                    configuration adapter 204 of the wireless device and the
  table that correspond to the entry (C) of the wireless device                wireless device) 1204; and
  mapping table example (entries 45, 46). These address trans               ending the process of defining a wireless device installation
  lation Sub-table entries contain the address translation data of   10        12O5.
  the wired devices attached to the wireless standard device                 The commissioning tool (104) is attached or brought into
  (802) in the hallway (811) of floor #2810. The first entry              proximity or contact with the configuration adapter 204 of
                                                                          wireless device (202), (stage 1203). Configuration data taken
  (entry 45), specifies that the wired standard fluorescent in the        from the wireless device mapping is downloaded from the
  right wing device (804) connected to the wireless standard         15   commissioning tool into the configuration adapter 204 of
  device (802) is assigned an endpoint of 1 (arbitrary number)            wireless device (202), (stage 1204). For each wireless device,
  and a wired communication linkaddress of 11 (as specified in            the configuration data includes its radio ID, SAS (Startup
  entry 34 of the wired device mapping in Table 3). The second            Attribute Set) and its address translation sub-table entries.
  entry (entry 46), specifies that the wired standard fluorescent            The configuration data may also include the binding infor
  in the left wing (803) is assigned an endpoint of 2 (arbitrary          mation if the memory size in the configuration adapter is large
  number) and a wired communication link address of 12 (as                enough. The order of the stages 1203/1204 and 1201 can be
  specified in entry 35 of the wired device mapping in Table 3).          interchanged for the convenience of the installer.
     The entry (D) of the wireless device mapping table                      FIG. 13 is a flowchart of a process of wired device (201)
  example (Table 4) specifies that the wireless large fluorescent         installation, according to a method of the present invention.
  (801) (in the room #1 (812) of floor #2 (810)) is assigned a       25      The process of defining a wired device (201) installation
  radio ID of 25 (arbitrary number), and is also assigned a                     including the stages of:
  startup attribute set (SAS) which includes its join mode (as a             starting the process of defining a wired device installation
  router) and other startup attributes.                                        1300;
     Consider the entry of the address translation sub-table that           physically installing a wired device according to type and
  corresponds to entry (D) of the wireless device mapping table      30        location taken from the networks Scheme as it appears on
  example (entry 47). This entry specifies that the large fluo                 the commissioning tool (104) 1301;
  rescent device (815) in the room #1 (812) of floor #2 (810),              marking the physically installed wired device on the com
  (connected to the wireless large fluorescent device (801), is                missioning tool (104) 1302;
  assigned an endpoint of 5 (arbitrary number) and a wired                  attaching/bringing into proximity (or contact) the commis
  communication linkaddress of 46 (as specified in entry 37 of       35        sioning tool (104) with the physically installed configu
  the wired device mapping in Table 3).                                        ration adapter 204 of the wired device (201) 1303:
     The entry (E) of the wireless device mapping table example             initiating data download from the commissioning tool
  (Table 4) specifies that the wireless 1-gang switch (805) (in                (104) to the configuration adapter 204 of the wired
  the hallway (811) of floor #2 (810)) is assigned a radio ID of               device (201) using the tools user interface (no need to
  18 (arbitrary number), and is also assigned a startup attribute    40        power-up the configuration adapter 204 of the wired
  set (SAS) which includes its join mode (as an end-device) and                device and the wired device) 1304; and
  other startup attributes.                                                 ending the process of defining a wired device installation
     Consider the entry of the address translation sub-table that              1305.
  corresponds to entry (E) of the wireless device mapping table             For the wired devices (201), the configuration data taken
  example (entry 48). This entry specifies that the single switch    45   from the wired device mapping that was downloaded to the
  device (814) in the hallway (811) of floor #2 (810), (con               commissioning tool (104) includes the wired communication
  nected to the wireless 1-gang switch device (805), is assigned          link address of each wired device. This data is downloaded
  an endpoint of 4 (arbitrary number) and a wired communica               into the configuration adapter 204 of wired devices (202).
  tion link address of 34 (as specified in entry 36 of the wired             The order of the stages 1303/1304 and 1301 can be inter
  device mapping in Table 3).                                        50   changed for the convenience of the installer.
     The master controller (103) has access to the device map                The configuration adapter 204 of wireless devices (201)
  pings. Access may either be local (e.g. CD), or remote access           and the wired devices (202) don’t need to be powered up
  (e.g. a remote database (301)).                                         during this stage.
     Networks Installation (Item C of Table 1)                               Networks Initialization (Item D of Table 1)
     In this stage the wireless devices and wired devices are        55      The wireless devices (202) and wired devices (201) may be
  installed.                                                              powered up and automatically initialize themselves.
     FIG. 12 is a flowchart of a process of wireless device (202)            FIG. 14 is a flowchart of a process of wireless device (202)
  installation, according to a method of the present invention.           initialization, according to a method of the present invention.
     The process of defining a wireless device installation                  The process of defining wireless device initialization
  including the stages of:                                           60   including the stages of:
     starting the process of defining a wireless device installa             starting the process of defining wireless device initializa
       tion 1200:                                                              tion 1400;
    physically installing a wireless device (202) according to              powering up wireless device (202) 1401;
      type and location taken from the networks scheme as it                reading the radio ID, SAS and address translation sub-table
      appears on the commissioning tool 1201;                        65       entries (downloaded from the commissioning tool
    marking the physically installed wireless device (202) on                 (104)) from the configuration adapter 204 of the wireless
      the commissioning tool 1202;                                            device (202) 1402;
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 33 of 763 PageID #:
                                    1815

                                                       US 8,437,276 B2
                             23                                                                     24
    using the radio ID and SAS to join the designated wireless             Attaching Devices to the System after the Networks For
      network accordingly, and using the address translation             mation
       Sub-table entries to locate and communicate with each                The method of attaching a device to the control system
       attached wired device 1403; and                                   (102) after the networks formation is similar to the initial
    ending the process of defining wireless device initializa            method. The wireless (202) or wired device (201) is first
       tion 1404.                                                        added to the networks scheme and registered with all the
     After a wireless device 202 is powered-up, it initializes           required parameters (such as type, physical location and bind
  itself. Each wireless device (202) reads, from its configura           ing). The device is inserted to the relevant device mapping
  tion adapter 204, the information downloaded by the com                table and to the binding table (Table 2), if necessary (for wired
  missioning tool 104 (stage 1402), and uses the radio ID and       10   devices). The configuration data from the commissioning tool
  SAS to join the wireless network according to the join mode            is loaded into the configuration adapter (204) of the device,
  (Table 4) either as a coordinator responsible for starting and         wireless device (202) or wired device (201) is physically
  maintaining the network, or as a specific device (router or end        installed in the designated location, and the master controller
                                                                         (103) sends binding commands, if necessary (for wired
  device), and uses its address translation Sub-table entries to    15   devices), using the updated binding table.
  locate and communicate with each attached wired device                    FIG. 17 is a flowchart of a method of networks design,
  (stage 1403).                                                          installation and formation, according to the present invention.
     FIG. 15 is a flowchart of a process of wired device (201)              The method of networks design, installation and formation
  initialization, according to a method of the present invention.        comprises the main stages of
     The process of defining wired device (201) initialization              starting the networks design, installation and formation
  including the stages of                                                     1800;
     starting the process of defining wired device (201) initial           designing the networks 1801;
       ization 1500;                                                       installing the networks 1802:
    powering up wired device (201) 1501;                                   forming the networks 1803; and
    reading the data (downloaded from the commissioning tool        25     ending the networks design, installation and formation
      (104)) from the configuration adapter 204 of wired                      1804.
      device (201) and using the wired communication link                  The main stage of starting the networks design, installation
      address for the specific wired communication protocol              and formation 1800, can comprise the stage of:
       1502; and                                                           providing a design system.
    ending the process of defining wired device initialization      30     The main stage of designing the networks 1801 comprises
       1503.                                                             the stages of
     After a wired device (201) is powered-up, it initializes              defining device type and physical location 1701:
  itself. Each wired device (201) reads from the configuration             defining the binding links between devices 1702;
                                                                           defining the wired device mapping 1703, the stage is
  adapter (204) the information downloaded by the commis            35        described in FIG.9;
  sioning tool (104). The information may be used by the wired             defining the wireless device mapping 1704, the stage is
  device (201) to initialize its wired communication link                     described in FIG. 10; and
  address for the specific wired communication protocol, (stage            defining an address translation Sub-table for a wireless
  1502).                                                                      device 1705.
     Bindings Formation (Item E of Table 1)                         40      This stage is described in FIG. 11.
     FIG. 16 is a flowchart of a process of bindings formation,             The main stage of installation of the networks 1802 com
  according to a method of the present invention.                        prises the stages of:
     The process of defining bindings formation includes the                installing wireless devices 1706, this stage is described in
  stages of                                                                   FIG. 12;
     starting the process of defining bindings formation 1600;      45     installing wired devices 1707, this stage is described in
     using the master controller to initiate binding process                  FIG. 13;
       1601;                                                               The main stage of forming the networks 1803 comprises
    reading the binding information by the master controller             the stages of
       (103), and using the address translation sub-table in the           initializing wireless devices 1708, this stage is described in
      wireless device mapping in order to translate the wired       50        FIG. 14;
       logical IDs of the devices found in the binding informa             initializing wired devices 1709, this stage is described in
      tion to radio IDs and endpoints 1602;                                   FIG. 15; and
    transmitting binding commands by the master controller                 bindings formation 1710, this stage is described in FIG.16.
       1603; and                                                           While the invention has been described with respect to a
     ending the process of defining bindings formation 1604.
                                                                    55   limited number of embodiments, it will be appreciated that
                                                                         many variations, modifications and other applications of the
     Binding links are formed. The master controller (103)               invention may be made.
  reads the binding information from the database (301), and
  uses the wireless device mapping and address translation                 What is claimed is:
  sub-table in the wireless device mapping (Table 4) in order to    60     1. A method of design, installation, and formation, of a
  translate the wired logical IDs of the devices found in the            network that comprises wired and wireless devices and wired
  binding information to radio IDS and endpoints, (stage 1602).          and wireless links, the method comprising the stages of:
  After the translation, the master controller (103) sends bind            creating a design of said network, said design comprising
  ing commands. The binding commands contain the radio IDS                    parameters and design configuration data of devices
  of the bound wireless devices (202), their endpoints, and the     65        designed to be in said network and binding information
  other binding information that may exist in the binding Table               defining bindings to allow connection between devices
  4 (e.g. a list of cluster IDs).                                             to run an application;
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 34 of 763 PageID #:
                                    1816

                                                        US 8,437,276 B2
                               25                                                                         26
    installing said devices according to said created design by              10. The method of claim 1, whereinforming said network
       accessing said created design by a commissioning tool               and bindings includes:
       and downloading data from said commissioning tool                     reading said binding information by a master controller
       into a configuration adapter comprised in said devices                   and using a wireless device mapping, which maps wire
       before the devices are initialized; and                                  less logical identifier of a wireless device to its radio ID,
    forming said network and bindings according to said cre                     start-up attribute set and address translation sub-table
      ated design by initializing said devices and by reading                   entries, and an address translation Sub-table in of the
      said downloaded data from the configuration adapter                       wireless device in order to translate wired logical IDs of
       once the devices are initialized; and                                    wired devices attached to said wireless device to radio
                                                                      10
    wherein said commissioning tool comprises a configura                       IDS and endpoints, said logical IDS included in said
      tion adapter for a complementary configuration link,                      binding information; and
      wherein of the configuration adapters included in the                  transmitting commands to said wireless device by said
      system, only said configuration adapter of said commis                    master controller to form the bindings based on said
      sioning tool must be powered-up during data communi             15        radio IDS and endpoints.
      cation between said at least one commissioning tool and                11. The method of claim 1, whereinforming said network
       said devices.                                                       and bindings includes:
    2. The method of claim 1, wherein said forming said net                  reading said binding information by said master controller
  work is done automatically once the devices are initialized.                  and using a wireless device mapping, which maps wire
    3. The method of claim 1, further comprising after creating                 less logical identifier of a wireless device to its radio ID,
  said design, storing said design of networkina design system.                 start-up attribute set and address translation sub-table
    4. The method of claim 1, wherein said creating a design of                 entries, and an address translation sub-table of the wire
  said network includes:                                                        less device in order to translate wired logical IDs of
    defining wired devices and wireless devices;                                wired devices attached to said wireless device to radio
    defining bindings between said wired devices;                     25        IDS and endpoints, said logical IDS included in said
    defining a wired device mapping that maps a wired device                    binding information; and
       to a wired network address; and                                       downloading said translation and binding information
    calculating an address translation Sub-table of a wireless                  from a commissioning tool into a configuration adapter
      device, said calculation initiated by a master controller,                of said wired device, and using said binding information
      and defining wireless device mapping that maps wire             30        and translation to form the bindings based on said radio
      less logical identifier of a wireless device to its radio ID,             IDS and endpoints.
       start-up attribute set and address translation sub-table              12. The method of claim 4, wherein said defining a wired
       entries.                                                            device mapping includes:
    5. The method of claim 1, wherein said forming said net                  automatically inserting by said master controller a wired
  work includes accessing data created in said creating a design      35        logical ID of a wired device to said wired device map
  of said network, by a master controller through a standard                    ping; and
  communication link.                                                        automatically allocating by said master controller an
    6. The method of claim 1, wherein said installing said                      address for said wired device.
  devices includes accessing data created in said creating a                 13. The method of claim 4, wherein said defining a wireless
  design of said network, by a commissioning tool through a           40   device mapping includes:
  standard communication link.                                               defining a startup attribute set for each of said wireless
    7. The method of claim 1, wherein said forming said net                     devices on a network Scheme;
  work includes:                                                             automatically creating by said master controller said wire
    initializing at least one wireless device; and                              less device mapping from wireless logical IDs and star
    initializing at least one wired device.                           45       tup attribute sets of each of said wireless devices:
    8. The method of claim 7, wherein initializing at least one              allocating by said master controller a radio ID for each of
  wireless device includes:                                                     said wireless logical IDs; and
    powering up the at least one wireless device;                            forming an additional address translation Sub-table which
    reading an ID, which is downloaded from a commissioning                     specifies wired communication link address and an end
      tool into a configuration adapter of said at least one          50        point for each of said wired devices attached to each one
       wireless device,                                                         of said wireless devices.
    reading address translation sub-table entries, and using                 14. The method of claim 4, wherein said calculating an
       said entries to locate and communicate with each                    address translation sub-table includes:
       attached wired device, thus providing an indirect com                 automatically taking by said master controllera wired logi
       munication link between wireless and wired devices in          55        cal sub-ID and wired communication link address for
       said network; and,                                                       each wired device attached to a wireless device from
    reading a startup attribute set, which is downloaded from                   said wired device mapping and fill it in said address
       said commissioning tool into said configuration adapter                  translation Sub-table; and
       of said wireless device, and using said startup attribute              automatically calculating by said master controller end
       set and said ID as a radio ID to join said network.            60        point identifiers of said attached wired devices.
    9. The method of claim 7, wherein initializing at least one               15. The method of claim 1, wherein said installing com
  wired device includes:                                                   prises installation of at least one wireless device includes:
    powering up the at least one wired device; and                            physically installing the at least one wireless device
    reading data, which is downloaded from a commissioning                      according to type and location taken from said design of
      tool into a configuration adapter of said wired device,         65         said network accessed by said commissioning tool;
      and using a communication address for a specific wired                  marking said physically installed at least one wireless
      communication protocol.                                                   device on said commissioning tool; and
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 35 of 763 PageID #:
                                    1817

                                                        US 8,437,276 B2
                                  27                                                                    28
     downloading data from said commissioning tool to a con                  19. The system of claim 18, wherein said wired communi
       figuration adapter comprised in a wireless device using a          cation link is for connecting said at least one wired device in
       user interface comprised in said commissioning tool.               said wired network to an access point.
     16. The method of claim 1, wherein said installing com                  20. The system of claim 18, wherein said created design of
  prises installation of at least one wired device, including:       5    a network comprises:
     physically installing the at least one wired device accord             a wireless device, wherein said wireless device has a wired
       ing to type and location taken from said design of said                 communication interface for communicating with said
                                                                               wired network through said wired communication link:
       network accessed by said commissioning tool;                         a wireless network, said wireless network including at least
     marking said physically installed at least one wired device     10        one wireless device; and
       on said commissioning tool; and                                      a wireless communication link, wherein said wireless com
     downloading data from said commissioning tool to said at                  munication link is interconnecting said at least one wire
       least one wired device using a user interface comprised                 less device in said wireless network.
       in said commissioning tool.                                          21. The system of claim 17, wherein said configuration
     17. A system for forming and controlling of networks that       15
                                                                          adapters comprise a configuration interface and a device con
                                                                          tact interface.
  comprises wired and wireless devices and wired and wireless                22. The system of claim 17, wherein:
  links, the system comprising:                                              said created design of a network comprises at least one
     a design system for creating and storing a design of a                    wired device having a configuration adapter, at least one
       network, said design comprises parameters and design                    wireless device having a configuration adapter and an
       configuration data of devices designed to be in said                    access point having a configuration adapter,
       network and binding information defining bindings to                  wherein said control system comprises a master controller
       allow connection between devices to run an application;                 for accessing said created design and forming the net
     configuration adapters comprised in devices to be installed               work once said devices are initialized according to said
       according to said design; and                                           design and binding information comprised in said
     a control system comprising at least one commissioning          25        design.
       tool, the control system is for installing said devices by            23. The system of claim 21, wherein each of said configu
       accessing said created design by a commissioning tool              ration adapters comprises a configuration interface for load
       and downloading data from said commissioning tool                  ing data and a device contact interface for reading data,
       into said configuration adapters before the devices are            wherein said configuration interface is operating with no need
       initialized, so that the installed devices form the network   30   to power-up the corresponding configuration adapter.
      and the bindings according to the created design by                    24. The system of claim 19, wherein said created design of
      reading said downloaded data from the configuration                 a network comprises:
      adapters once the devices are initialized; and                        a wireless device, wherein said wireless device has a wired
    wherein said commissioning tool comprises a configura                      communication interface for communicating with said
      tion adapter for a complementary configuration link,           35        wired network through said wired communication link:
      wherein of the configuration adapters included in the                 a wireless network, said wireless network including at least
      system, only said configuration adapter of said commis                   one wireless device; and
      sioning tool must be powered-up during data communi                   a wireless communication link, wherein said wireless com
      cation between said at least one commissioning tool and                  munication link is interconnecting said at least one wire
       said devices.                                                 40        less device in said wireless network.
     18. The system of claim 17, wherein said created design of             25. The system of claim 17, comprising:
  a network comprises a wired communication link to connect                 an access point operatively connected to said master con
  at least one wired device in a wired network to a wireless                  troller through a design/control system interface.
  device.                                                                                        k   k   k   k   k
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 36 of 763 PageID #:
                                    1818




                  Exhibit 2
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 37 of 763 PageID #:
                                    1819



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  TRIDINETWORKS LTD.,
                                                       No. 1:19-01062-CFC-CJB
                                Plaintiff,

  v.
  NXP-USA, INC. and NXP B.V.,

                                Defendants.


  TRIDINETWORKS LTD.,
                                                       No. 1:19-01063-CFC-CJB
                                Plaintiff,

  v.
  SIGNIFY NORTH AMERICA
  CORPORATION and SIGNIFY
  NETHERLANDS B.V.,

                                Defendants.


  TRIDINETWORKS LTD.,
                                                       No. 1:19-01064-CFC-CJB
                                Plaintiff,
                                                       Declaration of Anthony G. Rowe
  v.
  STMICROELECTRONICS, INC., and
  STMICROELECTRONICS
  INTERNATIONAL N.V., AND DOE-1
  d/b/a “STMICROELECTRONICS,”


                                Defendants.


        I, ANTHONY G. ROWE, declare the following under penalty of perjury:

        1.      I have been retained by counsel for Patent Owner TriDiNetworks Ltd. (“TDN”) to

 provide my opinions on certain issues raised by the defendants’ contentions in these cases that
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 38 of 763 PageID #:
                                    1820



 the asserted claims of U.S. Patent No. 8,437,276 (the ’276 patent) are directed to patent-

 ineligible subject matter.

        2.      I am being compensated at a normal hourly rate for my time in preparing this

 declaration, with reimbursement for actual expenses. My compensation is not tied to the outcome

 of this matter and not based on the substance of the opinions rendered here.

        3.      Defendants have submitted the Declaration of Dr. Michael Caloyannides,

 representing his report with regard to patent-eligible subject matter. As further explained below,

 there are a number of areas in which I disagree with Dr. Caloyannides’ report. In preparing this

 report, I have reviewed Dr. Caloyannides’ report, the patents and publications relied on therein,

 the ’276 patent, and all of the patents and printed publications listed in Exhibit B hereto. I may

 rely upon these materials, my knowledge and experience, and/or additional materials to rebut

 arguments raised by the defendants. I reserve the right to review and comment on any further

 materials provided to me with regard to such arguments.

        4.      I am familiar with the technology described in the ’276 patent as of the November

 2007 claimed date of invention. I have used my experience and insight along with the above-

 noted references as the bases for my opinions.


    I. QUALIFICATIONS

        5.      I am currently the Daniel and Karon Walker Siewiorek Professor in the Electrical

 and Computer Engineering and CyLab of Carnegie Mellon University (“CMU”).

        6.      I have a Ph.D. in Electrical and Computer Engineering, conferred upon me in

 2009 by CMU, and a Bachelor of Science degree in Electrical and Computer Engineering from

 CMU in 2003.




                                                  -2-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 39 of 763 PageID #:
                                    1821



        7.      My Ph.D. thesis was on “A Resource-Centric Design Paradigm for Scalable

 Sensor Networks.”

        8.      A copy of my curriculum vitae, listing my other appointments, awards,

 publications, patents, and professional and industrial activities, is submitted herewith as Exhibit

 A.

        9.      I have a broad range of research interests that include real-time systems,

 distributed systems, operating systems, embedded computer vision, and robotics. My current

 work focuses on large-scale embedded sensing systems with real-time properties for supporting

 applications related to building energy optimization, critical infrastructure monitoring, mobile

 computing, and rural electrification. I am currently the director of the Wireless Sensing and

 Embedded Systems Lab (WiSE Lab http://wise.ece.cmu.edu) at CMU and currently run a $36M

 research center (http://www.conix.io) funded by the Semiconductor Research Corporation and

 DARPA. I have also applied my research in sensor networks as a co-founder of SparkMeter Inc.,

 a company that strives to design cost-effective technologies to support rural electrification in

 developing nations. Founded in 2014, they currently have grids deployed in more than twenty-

 five countries, including Haiti, Tanzania, India, Nepal, and Uganda. I am also the cofounder of

 Yodel Labs, a company that specializes in indoor localization frameworks for mobile computing.

 I have graduated more than 8 Ph.D. students and teach a variety of courses at CMU, including

 courses on embedded system design and networked cyber-physical systems. I have also done

 extensive consulting in the control and automation field, including design and analysis for

 protocols used in commercial and residential lighting systems. My 20+ years of experience

 through my undergraduate and graduate education and Ph.D. thesis, to the present, as well as my

 teaching, graduate student advising, laboratory work, industry involvement and consulting as



                                                 -3-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 40 of 763 PageID #:
                                    1822



 summarized in my CV. I have spoken in public about wireless embedded sensing technologies

 in variety of venues ranging from scientific conferences to the World Economic Forum. I have

 extensive experience in designing and implementing sensor networks and embedded systems,

 directly in line with the technology central to this case. As a consequence, I believe that I am

 qualified to provide reliable opinions in the field of the ’276 patent, including what a person of

 ordinary skill in the art (“POSITA”) would have viewed and understood from the prior art in this

 field at the time of the claimed invention.

        10.     I note that in a number of respects, Dr. Caloyannides’ report resembles a prior

 report that he prepared in an inter partes review proceeding (IPR2020-01073), to which I

 prepared a response, a copy of which is attached to this Declaration as Exhibit C and

 incorporated herein by reference.

        11.     I am appearing here as a Ph.D. and university professor in the field of Electrical

 and Computer Engineering. I am neither trained nor qualified as a legal professional. I address

 herein certain opinions of a technical nature, based on my expertise as outlined above. The

 questions have been framed in terms of my lay understanding of the applicable principles of law,

 which I take as a given, as phrased herein, and referenced to original legal sources, which I had

 no role in selecting or analyzing. Nothing herein is intended as an opinion on any legal issue.


    II. MY UNDERSTANDING OF PATENT-ELIGIBLE SUBJECT MATTER

        12.     My understanding is that determining whether a patent claim encompasses patent-

 eligible subject matter involves a two-step analysis under the U.S. Supreme Court’s decision in

 Alice v. CLS Bank.




                                                 -4-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 41 of 763 PageID #:
                                    1823



         13.     I have been advised that Alice step one involves determining “whether the claims

 at issue are directed to a patent-ineligible concept,” such as a law of nature, a natural

 phenomenon, or an abstract idea.

         14.     I further understand that it is important in the first step not to over-abstract the

 claim to distort the eligibility analysis. The Alice case itself teaches that “[a]t some level, all

 inventions ... embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or

 abstract ideas.” Thus, an invention is not rendered ineligible for patent simply because it involves

 an abstract concept.

         15.     I have been instructed that the proper inquiry under the Alice decision concerns

 what the claims are “directed to,” not simply what they are “based on.”

         16.     In particular, I am advised that the Federal Circuit, a court one step below the

 U.S. Supreme Court, has repeatedly emphasized (for example, in the McRO case, 837 F.3d at

 page 1313) that in determining patent-eligible subject matter, it is important to “be careful to

 avoid oversimplifying the claims by looking at them generally and failing to account for the

 specific requirements of the claims.”

         17.     According to another Federal Circuit decision brought to my attention (Enfish,

 822 F.3d at page 1335), the “directed to” inquiry with regard to patent claims is based on

 whether, when the claims are viewed in light of the patent specification, “their character as a

 whole is directed to excluded subject matter.”

         18.     The examination of both the claims and the specification is necessary because one

 of the key aspects of the eligible subject matter analysis is determining what it is that the

 applicant was seeking to patent.




                                                   -5-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 42 of 763 PageID #:
                                    1824



         19.     As I understand it, the Federal Circuit has repeatedly taught that in this analysis,

 the “character” of the claims should be viewed not just in light of the area of the patent, or the

 problem it seeks to solve, but rather, in light of “the claimed advance over the prior art.” (I

 understand that statements to this effect may be found in the Affinity Labs case, 838 F.3d at page

 1257, and the Chamberlain Group case (935 F.3d at page 1346), among others.)

         20.     I further understand that in the Alice two-step approach, step two is only

 conditionally applied, that is, only if the patent fails under step one. If the result of the step one

 analysis arrives at something other than one of the listed categories of ineligible subject matter,

 the analysis ends with the conclusion that the patent passes the analysis under Alice and further

 analysis does not proceed under step two.

         21.     On the other hand, if the first step indicates a claim directed at an ineligible

 concept, then step two requires a further inquiry, examining of the elements of the claims to

 determine whether it contains an “inventive concept” sufficient to “transform” the claimed

 abstract idea into a patent-eligible application.

         22.     Step two requires considering the elements of each claim both individually and

 “as an ordered combination” to determine whether the additional elements “transform the nature

 of the claim” into a patent-eligible application. I understand that the U.S. Supreme Court

 characterized this as “a search for an ‘inventive concept’—i.e., an element or combination of

 elements that is ‘sufficient to ensure that the patent in practice amounts to significantly more

 than a patent upon the [ineligible concept] itself.’”

         23.     I understand that step two, if reached, is considered satisfied when additional

 claim limitations involve more than performance of well-understood, routine, and conventional

 activities previously known to the industry. In making this determination, I understand it is



                                                     -6-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 43 of 763 PageID #:
                                    1825



 necessary to examine each claim element individually and as an ordered combination of

 elements, and that an inventive concept may be found in the non-conventional and non-generic

 arrangement of known, conventional pieces. Thus, it is also appropriate to look for claim

 elements that define a non-conventional arrangement, even if the individual claim elements are

 well-understood, routine, and conventional. Similarly, I understand that step two may find an

 inventive concept in a new combination of steps, even though all the constituents of the

 combination were well known and in common use before the combination was made.

        24.        I also understand that determining whether a claim element or ordered

 combination of elements is well-known, routine, or conventional is not the same as determining

 whether or not the element could be found in an analysis for anticipation or obviousness under

 Sections 102 or 103 of the Patent Act. In this regard, I understand that establishing that a

 particular technology is well-understood, routine, or conventional goes beyond determining what

 was simply known in the prior art. The mere fact that something is disclosed in a piece of prior

 art, for example, does not mean it was well-understood, routine, and conventional. Thus, as I

 have been instructed in the law, merely finding an element in the prior art does not establish that

 it is well-understood, routine, and conventional.

        25.        Rather, I understand that whether an element or limitation is well-understood,

 routine, and conventional presents a question of fact, requiring a factual inquiry and

 determination.

        26.        In addition, I understand that it is often a pertinent consideration whether a claim

 that involves an application of an abstract idea does so, so broadly as to preempt all others from

 using the idea.




                                                   -7-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 44 of 763 PageID #:
                                    1826



    III. IDENTIFICATION OF THE ORDINARILY SKILLED PRACTITIONER

        27.     In his report, Dr. Caloyannides addresses what he considers to be the level of

 ordinary skill in the relevant art at the time of the claimed invention. I disagree with his analysis

 in certain key respects.

        28.     To begin with, I understand that the concept of identifying the level of skill in the

 art derives from the statutory provision on obviousness (35 U.S.C. § 103). To put this issue in

 proper context, I further understand that obviousness (or nonobviousness) is not relevant to Alice

 step one. I also understand that similar (though distinctly different) concepts, relating to what

 may be regarded as “routine and conventional,” are relevant to step 2 under Alice.


        Identification of the Relevant Field

        29.     The first part of this inquiry is to identify the field that existed at the time of the

 invention, to which the invention pertains.

        30.     The ’276 patent identifies the field of the invention as that of “wireless and wired

 networks design, installation and automatic formation including binding of the networks devices

 by creating logical links between two or more devices.” (’276 patent, 1:26-30.)

        31.     More particularly, the ’276 patent addresses the problem of networking

 distributed control devices, that is, how to create and bring up networks for “remotely controlling

 and monitoring devices in many areas such as home and commercial automation, industrial

 automation, lighting, and heating, ventilation and air conditioning (HVAC) control.” (’276

 patent, 1:34-38.)

        32.     Based on my understanding of the ’276 patent, as well as of the technological

 problem framed by that patent, I would characterize the field in which the invention was to be



                                                  -8-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 45 of 763 PageID #:
                                    1827



 made as that of configuring networks of wired or wireless devices in the context of control

 automation, sensing and/or other industrial computer networking systems.


        Identification of the Level of Skill in the Art

        33.     The second part of this inquiry is to identify the skills and qualifications of the

 ordinary practitioner in the identified field as of the claimed date of invention (which I

 understand is often referred to as a “POSITA,” which I will use for brevity).

        34.     A POSITA relative to the ’276 patent, in the November 2007 time frame of the

 priority date of the ’276 patent, would have been an individual who worked in the field I have

 identified, i.e., configuring networks of wired or wireless devices in the context of control

 automation, sensing and/or other industrial computer networking systems.

        35.     Insofar as it concerns networking, the core area of competence in this field as of

 2007 was working with industrial computer networks, comprised of systems and protocols such

 as Modbus, BACnet/IP, CAN, and DALI, LonWorks, ZigBee, and Bluetooth (Bluetooth in 2007

 was a point-to-point protocol, not a network) (sometimes identified as “Fieldbus” technologies),

 and extending to more general-purpose protocols such as Ethernet, GSM, and Wi-Fi, which were

 also sometimes used in automation, sensing, and like applications.

        36.     A POSITA with the usual level of skill in this field would have at least a

 bachelor’s degree in electrical engineering, with two to four years of relevant field experience.

        37.     He or she would be familiar, from either education or the field experience referred

 to above, with the wired and wireless networking technologies used at that time in the field,

 including those identified above.

        38.     Dr. Caloyannides appears to broadly agree with the above, as a part of his

 formulation. However, his declaration goes beyond this, and makes a further assertion, which in

                                                 -9-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 46 of 763 PageID #:
                                    1828



 my opinion is unsupported and incorrect, that, in addition to possessing the foregoing

 qualifications, a POSITA would also have “two to five years of experience in the design,

 operation, or application of active and passive RFID or NFC devices.” (Report at ¶ 21.) In my

 opinion, the addition of RFID or NFC experience is a wholly unrealistic expectation for the

 qualifications of a POSITA in late 2007.

        39.     As of late 2007 (and as I address in further detail later in this Report, at ¶¶ 64-67),

 a POSITA in the field of the ’276 patent would not have had any substantive experience with

 NFC technologies. This is particularly true for NFC technologies that can read and store

 information in the manner contemplated in the ’276 patent, which were not then in any

 commercial use, especially with respect to home/industrial automation. Such technologies (such

 as dual-interface EEPROMs) did not become commercially available until about 2010, as

 reflected, for example in STMicroelectronics, Inc.’s own M24LR64 device, introduced in 2010

 (see Exhibit D). Consequently, no POSITA could have had the “two to five years of experience”

 in such NFC technologies as contemplated by Dr. Caloyannides. Indeed, it is only recently that

 POSITAs are becoming familiar with and using such NFC technologies for network setup and

 configuration purposes.


    IV. ALICE STEP ONE

        40.     Dr. Caloyannides characterizes the claims of the ’276 patent as “nothing more

 than an abstract way to describe the design of any computer network – configuration plus

 connections.” (Report at 24.)

        41.     Based on my understanding of the necessary analysis under step one of Alice, it is

 my view that Dr. Caloyannides’ formulation is an overly abstract and inadequate statement of the

 character of the claims. It is simply a statement of the subject area addressed by the claims, and

                                                - 10 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 47 of 763 PageID #:
                                    1829



 the types of results that it achieves. It fails to capture what the patent itself points to as being the

 contribution that distinguishes it from the acknowledged, then existing state of the art, which in

 the case of the ’276 patent, concerns not just the end results themselves, but how the results were

 obtained.

         42.     As noted above, the pertinent inquiry for step one is examining the patent’s

 “claimed advance over the prior art” to determine the character of the claims as a whole.

         43.     It is evident from the specification’s own review of the prior art that the prior art

 already encompassed numerous manual and semi-automated ways of configuring devices for

 networking, and the challenge was to regularize, streamline, and automate this process,

 especially to make it less error prone and less labor intensive.

         44.     The specification, beginning at col. 1, line 46, addresses how devices were

 brought up on networks previously. It summarizes these processes as follows:

          Installing a wireless control network requires several main procedures to be
          performed on each wireless device after the network scheme, parameters, and
          activation are defined. These main procedures are:

          1. Entering a unique ID (UID) such as a unique radio ID.

          2. Entering a startup attribute set (SAS) such as a personal area network (PAN)
          ID of the network.

          3. Identifying (connecting) the physical location of the device with its UID and
          its logical location and function on the network scheme.

          4. Pairing/binding of controlling devices and sensors.

         45.     In my view, the advance represented by the ’276 patent, in networking industrial

 and/or home automation devices, lies in building in the capability to download data to the device

 before a device is initialized, to configure devices to the designated design, while in an

 unpowered state, prior to their initialization, so that when deployed and later initialized they


                                                  - 11 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 48 of 763 PageID #:
                                    1830



 automatically bring themselves up on the network, in their intended position and role. (The ’276

 patent also refers to this process of configuration and deployment as “commissioning.”)

        46.     In accordance with the invention, the physical process reflected in the four steps

 outlined above is fundamentally altered. Previously, steps 1, 2, and 4 required working with each

 individual device either by setting switches on the device or electronically entering parameters

 and data after it is powered, and step 4 could only be done after the device was running and

 physically connected to the network. Under the ’276 patent, after a design for the network is

 created, completely offline, steps 1, 2, and 3 are combined in a single contactless operation, and

 step 4 takes place automatically. Physically, the claimed process involves (i) downloading the

 design from a design system to a contactless commissioning tool (such as a NFC-capable

 smartphone or PDA), (ii) “tapping” the tool on the (or each) device, which may be done while

 the device(s) is/are unpowered or even in its/their shipment packaging, and (iii) putting the

 device(s) physically in place. When later turned on, the device(s) then automatically come up on

 the network, per the details of the design.

        47.     This capability is achieved by a technological improvement, whereby a

 contactlessly accessible dual interface memory component, referred to in the patent as a

 configuration adapter, is built into each device, enabling the device to be configured in an

 unpowered state through a radio frequency interface, to retain the programming without applied

 power, and to provide a second interface, through which, during initialization, the device may

 read from the memory element in the configuration adapter, and use the recorded data to stage

 the device’s joining a network.

        48.     I also note that much of Dr. Caloyannides’ declaration addresses the ’276 patent

 as if it were software technology. That analysis is considerably misdirected. A computer is



                                                - 12 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 49 of 763 PageID #:
                                    1831



 involved in the step of “creating a design of [the] network,” and in otherwise operating the

 device to be networked from the point that the devices is initialized. But the distinguishing

 characteristic of the present claims is not in the use of a computer. It is in the incorporation of a

 new physical hardware element, the configuration adapter, which makes the unpowered

 configuration and automatic later initialization on the network possible.

        49.     Generally speaking, a computer is a device that can perform computational tasks

 and/or interact with other devices, in a manner that can be very flexibly adapted by a set of user-

 specified instructions (generally referred to as “software” or “programs”), given to the computer

 to execute. Because of their flexibility, computers can be used to implement innovative

 processes, but can also be used to speed up routine information processing steps, as well as make

 them more reliable. Because computers are capable of being used as general-purpose

 computational and control elements, and because operational processes in particular can often be

 computerized by well-known procedural programming methods, I understand that concerns have

 arisen, as reflected in Alice, that where there exists a long-standing and well-known procedural

 solution to a previously identified problem, to the point where the procedure involved may be

 considered as embodying an abstract idea (for example, an existing procedure to hedge or

 intermediate the settlement of a financial transaction), merely applying a computer to automate

 the steps of the existing procedure is not considered enough to transform the abstract idea

 represented by the prior practice into a patentable invention.

        50.     In my view, an implementation paradigm such as that outlined in the preceding

 paragraph, that is, the straightforward computer automation of a pre-computer practice, is not a

 good fit to what is taught and claimed in the ’276 patent, because the ’276 patent does not teach




                                                 - 13 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 50 of 763 PageID #:
                                    1832



 or claim methodology such as using a computer to implement a previously established practice

 for designing and forming device networks.

        51.     Instead, as noted, the ’276 patent teaches a method and corresponding system that

 works based on incorporating a configuration adapter into the device(s) to be configured, which

 allows unpowered configuration, and later, automatic joining in the network.

        52.     While a configuration adapter as contemplated in the ’276 patent may initially

 receive the data for a network design from a computer, and the device to be set up on the

 network may contain a computer processor (as such devices commonly did, in the prior art), and

 that processor may, while it is being initialized, read stored data from the configuration adapter,

 the configuration adapter is in no way a computer. The configuration adapter is not a device that

 computes or controls anything, or whose internal operation or state is controlled by software or

 programs. Simply put, this is not a situation where a pre-existing process was automated by

 using a computer to carry out the steps of the prior process. Indeed, deployment of devices in

 accordance with the ’276 patent is a physically different process – a qualitatively very different

 sequence of process steps - than those reflected in the prior art, and, indeed, the ’276 patent

 changes the prior art process quite apart from any operations performed by a computer.




                                                - 14 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 51 of 763 PageID #:
                                    1833



          53.      I refer in this regard to two sets of patent claims, one of which I understand the

 Supreme Court found ineligible in Parker v. Flook (437 U.S. 584),1 and the other that it found

 eligible in its later decision in Diamond v. Diehr (450 U.S. 175).2




 1
  1. A method for updating the value of at least one alarm limit on at least one process variable involved in a process
 comprising the catalytic chemical conversion of hydrocarbons wherein said alarm limit has a current value of
          Bo + K
 wherein Bo is the current alarm base and K is a predetermined alarm offset which comprises:
 (1) determining the present value of said process variable, said present value being defined as PVL;
 (2) determining a new alarm base B1, using the following equation:
          B1 = Bo(1.0—F) + PVL(F)
 where F is a predetermined number greater than zero and less than 1.0;
 (3) determining an updated alarm limit which is defined as B1 + K; and thereafter
 (4) adjusting said alarm limit to said updated alarm limit value.
 2
  1. A method of operating a rubber-molding press for precision molded compounds with the aid of a digital
 computer, comprising:
 providing said computer with a data base for said press including at least,
 natural logarithm conversion data (ln),
 the activation energy constant (C) unique to each batch of said compound being molded, and
 a constant (x) dependent upon the geometry of the particular mold of the press,
 initiating an interval timer in said computer upon the closure of the press for monitoring the elapsed time of said
 closure,
 constantly determining the temperature (Z) of the mold at a location closely adjacent to the mold cavity in the press
 during molding,
 constantly providing the computer with the temperature (Z),
 repetitively calculating in the computer, at frequent intervals during each cure, the Arrhenius equation for reaction
 time during the cure, which is
          ln v = CZ + x
 where v is the total required cure time,
 repetitively comparing in the computer at said frequent intervals during the cure each said calculation of the total
 required cure time calculated with the Arrhenius equation and said elapsed time, and
 opening the press automatically when a said comparison indicates equivalence.

                                                         - 15 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 52 of 763 PageID #:
                                    1834



          54.      The ’276 patent is comparable in this regard to Diehr, in which (as reprised in the

 later Alice decision3), the inventor deployed a thermocouple into the mold, which “constantly

 determine[ed] the temperature (Z) of the mold at a location closely adjacent to the mold cavity in

 the press during molding.”

          55.      Like the thermocouple in Diehr, which the inventor there embedded within the

 rubber mold to be able to continuously monitor temperature while the mold was operating, the

 inventor here embedded a configuration adapter into the device to be networked, to provide a

 built-in component operable to receive on the device a download of the data for a network

 design, to be used later, during initialization, to cause the device to join the network

 automatically. Introducing the configuration adapter into the devices to be configured vastly

 simplified the process of installing networked devices, changing the process from one requiring

 detailed individual operations on each device, some in place (e.g., the top of a light pole) and

 under power, to a situation where the device can be “tapped” once with a tool, even through its




 3
   For completeness, I also reproduce here what the Supreme Court in Alice regarded as a representative claim in the
 Alice case itself (which it held was not patent-eligible, as I understand it, because the underlying process of
 intermediated financial settlement was an abstract idea, and a straightforward implementation of that well-known
 process on a computer did not transform it into a patentable invention):
          A method of exchanging obligations as between parties, each party holding a credit record and a debit
          record with an exchange institution, the credit records and debit records for exchange of predetermined
          obligations, the method comprising the steps of:
          (a) creating a shadow credit record and a shadow debit record for each stakeholder party to be held
          independently by a supervisory institution from the exchange institutions;
          (b) obtaining from each exchange institution a start-of-day balance for each shadow credit record and
          shadow debit record;
          (c) for every transaction resulting in an exchange obligation, the supervisory institution adjusting each
          respective party's shadow credit record or shadow debit record, allowing only these transactions that do not
          result in the value of the shadow debit record being less than the value of the shadow credit record at any
          time, each said adjustment taking place in chronological order, and
 (d) at the end-of-day, the supervisory institution instructing on[e] of the exchange institutions to exchange credits or
 debits to the credit record and debit record of the respective parties in accordance with the adjustments of the said
 permitted transactions, the credits and debits being irrevocable, time invariant obligations placed on the exchange
 institutions.

                                                          - 16 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 53 of 763 PageID #:
                                    1835



 packaging, and then just put physically into place. This represents a clear improvement in the

 physical process of deploying networked devices. Though Dr. Caloyannides purports to claim

 otherwise (Report ¶ 50) (a point addressed below), this was something that practitioners in the

 field of the ’276 patent had not been able to achieve. The fact that a computer created the design

 for the network, or that another computer (inside the device) will power the steps by which the

 device joins the network, does not change the fact that the improvement here concerns the

 process of configuration and deployment, which results from a hardware modification, and is not

 a function of the programming of any computer. As the Supreme Court concluded in Diehr, the

 fact that a computer is involved in an otherwise patentable process – which is what is presented

 here in the introduction of the configuration adapter into the configuration process, does not

 preclude patent-eligibility.

        56.     Moreover, Dr. Caloyannides also seeks to argue based on merely automating a

 previously manual process, analogizing it to taking an age-old process and merely saying “do it

 with a computer.”

        57.     First, there is no such age-old process. The process that generally prevailed, prior

 to the invention, as reflected in the four-step process recited in col. 1 of the ’276 patent, was

 modified, by physically incorporating a configuration adapter into the device to be configured,

 which allowed the prior four labor-intensive configuration steps to be combined and changed, to

 simply tapping on the device with a tool and plugging the device into its installed position. The

 process steps after this invention are not merely an automated version of what went before, they

 are different steps, performed at different times and reflected in different physical operations.




                                                 - 17 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 54 of 763 PageID #:
                                    1836



        58.     Dr. Caloyannides also argues at length that a configuration adapter was

 conventional in 2007, and that using one to implement a process for configuring and forming a

 network does not transform the abstract idea of configuring and forming a network.

        59.     This analysis is erroneous for several reasons.

        60.     First, as already covered at length, the character of the claims is not merely the

 subject matter of configuring and forming a network. The character lies in the claimed

 improvement over the prior process, which was in modifying the conventional process by

 introducing a configuration adapter and re-formulating the process to take advantage of its

 capabilities for contactless commissioning and automatic initialization, combining and thereby

 cutting out unnecessary steps, including all of the per-device steps other than contactlessly

 transferring the design data and putting the device in place.

        61.     Since changing the physical process by introducing new physical components and

 altering the procedure of configuring tangible devices is otherwise a patent-eligible process and

 not an abstract idea under Alice step one, it does not matter whether a configuration adapter is

 conventional or not. I understand that step one looks to the claim as a whole, and it is irrelevant

 to the step one analysis whether individual claim steps are or are not implemented with

 conventional apparatus. Indeed, in Diehr, the thermocouple cited by the Supreme Court, and

 focused on when Diehr was later revisited in Alice, was itself a “conventional” piece of

 equipment in my view. But it made no difference, because, according to the decision in Alice,

 Diehr passed step one, because the character of its claim – how it improved over the prior art –

 concerned an otherwise statutory process, with the improvement of “constantly determining the

 temperature (Z) of the mold at a location closely adjacent to the mold cavity in the press during

 molding.” The fact that the thermocouple used to do this in Diehr may itself have been



                                                - 18 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 55 of 763 PageID #:
                                    1837



 conventional did change the result. Dr. Caloyannides extensively discusses “conventionality” in

 his Alice step one analysis, which appears to me more like an obviousness argument than one

 directed at the proper tests under Alice.4

         62.      Second, in any case, I would not agree by any means that a “configuration

 adapter” as described in the ’276 patent was a “conventional” item in the field of the ’276 patent

 as of November 2007. Today, as shown in Exhibits E and F hereto, one can readily buy such

 items, referred to as dual-interface NFC EEPROM chips, from suppliers, such as NXP USA, Inc.

 (e.g., its NTAG-I2C of chips) and STMicroelectronics, Inc. (e.g., its M24LR family of chips)

 (though I would not say that their use to configure automation devices has become conventional,

 even today). However, as already noted, these devices did not appear on the market until

 approximately 2010. See Exhibit D hereto. In 2007, such items were not generally available off-

 the-shelf.

         63.      As I understand the applicable law, the question of whether a configuration

 adapter would be considered a “routine or conventional” device to use in the field of network

 automation as of November 2007 could bear on Alice step two, in the event the Court found it

 necessary to address step two. By no stretch could such technology have been considered to have

 become “routine or conventional” in such applications by that date.

         64.      While it may be fair to say that communication over RFID in general was widely

 known in electrical engineering as of 2007 (for example, the merchandise tags in a retail store),

 the ’276 patent requires more than the mere application of RFID communication to solve a

 problem that was theretofore approached without it. The solution disclosed in the ’276 patent

 also requires application of a deeper capability of RFID, that of using the RFID signal also to


 4
  I also disagree with Dr. Caloyannides to the extent his arguments concern obviousness, for the reasons I previously
 expressed in the IPR proceeding.

                                                       - 19 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 56 of 763 PageID #:
                                    1838



 power a non-volatile storage capability on the target device, with the energy provided by the

 RFID communication. It was this aspect specifically that made this combination useful to solve

 the problem presented in the ’276 patent.

        65.     Dr. Caloyannides has cited no published examples prior to the November 2007

 initial filing date of the ’276 patent showing the use of a configuration adapter to configure an

 industrial automation device to form a network, nor am I aware of any.

        66.     Moreover, such potential capabilities of RFID storage devices would not have

 been appreciated by a POSITA, as made evident from leading research at that time. For example,

 a NASA Tech Briefs article from NASA’s Jet Propulsion Lab (JPL) in May 2007 (Exhibit G

 herewith) discusses the use of RFID for communication (“Two-way Communication Using

 RFID Equipment and Techniques – Dynamic data could be exchanged, in addition to

 conventional static RFID data”). Part of Caltech, JPL is often considered one of the most

 technically advanced research labs. The article captures the RFID zeitgeist in the following

 paragraph:

          Until now, RFID has been used to exchange small amounts of mostly static
          information for identifying and tracking assets. Information pertaining to an
          asset (typically, an object in inventory to be tracked) is contained in miniature
          electronic circuitry in an RFID tag attached to the object. Conventional RFID
          equipment and techniques enable a host computer to read data from and, in
          some cases, to write data to, RFID tags, but they do not enable such additional
          functions as sending commands to, or retrieving possibly large quantities of
          dynamic data from, RFID-tagged devices.

 Ex. G, page 6 (emphasis added). A book on ZigBee wireless networking, published in September

 2007, with a Foreword by the Chairman of the ZigBee Alliance (Gislason, ZigBee Wireless

 Networking, Newnes Press (2007), Exhibit G), is also reasonably representative of the state of

 the art at that time, and does not address using RFID to provision devices.



                                                - 20 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 57 of 763 PageID #:
                                    1839



        67.     Dr. Caloyannides also relies on the ISO 14443 standard to argue that a

 configuration adapter was conventional in the relevant field. ISO 14443 is outside the area of

 expertise of a POSITA in the field of the ’276 patent. Moreover, beyond that issue, Dr.

 Caloyannides’ argument based on ISO 14443 stretches some points. His reasoning is based on

 something in that standard called a PICC (proximity integrated circuit card), terminology that Dr.

 Caloyannides himself concedes (at ¶ 145) is “formal and very technical-sounding” for “even

 knowledgeable engineers.” Because the ISO 14443 standard in turn defines “integrated circuit”

 as “[e]lectronic component(s) designed to perform processing and/or memory functions” (Report

 ¶ 141), he then makes the further leap that the standard should therefore be understood to

 disclose using NFC for unpowered writing of computer memory. (Id. ¶ 142.)

        68.     However, ISO 14443 uses the term “cards” to refer to such devices, and the

 conventional application of this technology, as Dr. Caloyannides’ Report acknowledges at ¶ 146,

 are “smart cards” such as the MIFARE transportation card. Dr. Caloyannides does not propose

 any effective way to automate the networking of industrial devices using devices such as fare,

 payment, or security cards – and that indeed was the conventional use of this technology. Dr.

 Caloyannides also does not point to any disclosure in ISO 14443 of what to do with the

 information written to the unpowered memory on the card. The well-known card applications

 such as MIFARE simply made the stored information available for other devices to read, e.g., to

 see how much credit was left on the card – nothing remotely close to the mechanism of the ’276

 patent, of using the information while initializing the memory-containing device itself, to form

 network configuration and binding. Dr. Caloyannides logic of stringing together defined terms to

 arrive at some allegedly implied disclosure in this admittedly arcane specification falls far short




                                                - 21 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 58 of 763 PageID #:
                                    1840



 of showing that anything like the configuration adapter of the ’276 patent was even disclosed by

 ISO 14443, let alone routine and conventional as a result of this standard.

        69.     Dr. Caloyannides also relies on U.S. Pat. No. 7,825,776 to Smith et al. However,

 this patent, which was in also a different field to begin with, was not published until 2008 and

 could not indicate what was “routine and conventional” in its field (or any other), as of

 November 2007. Again, Dr. Caloyannides appears to be confusing “routine and conventional”

 with the different standards for obviousness (as to which I do not agree either, for reasons I

 expressed in the IPR proceeding).

        70.     Dr. Caloyannides’ report fails to supply any support other than Smith for his

 assertion that the claim step he characterized as “downloading configuration data before a device

 is initialized” was “a conventional application of computer technology” before November 2007.

 (Report at ¶ 50.) Since Smith is not relevant to this inquiry, this assertion, which is the only

 statement in Dr. Caloyannides’ report to address this claim limitation, lacks any support.

        71.     Dua, U.S. Pat. No. 8,244,179, like ISO 14443, discloses stored device profiles

 which may be used to set up pairings with other devices. However, these develop on the device

 during operation, and are used during operation to pair with other devices. There is no disclosure

 of using this technique to form network connections automatically on device initialization. Dua

 discloses that the RFID tag may be passive, but in that case “there is no option to update the tag

 information, so the information only the Bluetooth serial number of the headphone unit 152.”

 Dua, 17:49-18:3. There is nothing in Dua that suggests a way to automate network configuration

 and formation as disclosed in the ’276 patent, based on what is disclosed in Dua, or suggesting

 any conventional available mechanism that might have been used for doing so.




                                                 - 22 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 59 of 763 PageID #:
                                    1841



          72.   Spencer, U.S. Pat. No. 6,712,277 discloses a memory card designed to overcome

 the problem of multiple access speed requirements when memory cards are used in products

 requiring different data rates, It therefore provided a memory card with a plurality of interfaces,

 one of which could be contactless, and a memory controller implementing logic to select the data

 line of the proper interface. Dr. Caloyannides argues that Spencer is equivalent to a configuration

 adapter and reflects “conventional computer technology.” However, the disclosure is directed to

 a memory card for use with devices such as “cameras and PDAs.” It says nothing about adapting

 any of its circuitry as a component to be built into another device as a repository for initialization

 information to set up network connections. Spencer is no more relevant to the patent-eligibility

 of the ’276 patent than a patent for a thermocouple would have been to the eligibility of the

 patent upheld in Diehr. The patent on the thermocouple would have been for some intrinsic

 attribute of the thermocouple, as the Spencer patent is for a multiple interface memory card. In

 neither case does the allegedly conventional item pertain to the modification of the underlying

 use process that the article in question will be applied to, which is what confers patent-eligibility

 under Alice step one – not the novelty of the mechanism used to implement one of the process

 steps.

          73.   Teraura, U.S. Patent No. 6,873,259 discloses an RFID tag with a built-in CPU and

 nonvolatile memory, which also exposes a contact interface. It discloses using the memory as an

 ID tag for a personal computer, a usage monitoring device for an electronic fuel injection system,

 a ticketing information tag for a smartphone, as a property tag for various devices, and like

 applications. In my view, Teraura provides no more help that ISO 14443 for arriving at the

 solution provided by the ’276 patent. As with the other RFID references brought to bear by Dr.

 Caloyannides, it is not in the field of an actual POSITA, and fails to suggest in any way that the



                                                 - 23 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 60 of 763 PageID #:
                                    1842



 innards of its ID tag could be repurposed as a configuration adapter to transform the process of

 commissioning devices for joining a network. Similar to the case with the other RFID references,

 the question whether the tag device itself might be considered “conventional” also bears no

 relevance to the issue under Alice step one, which concerns the patent eligibility of the claims

 insofar as they recite a commissioning process that differs from the process found in the prior art.

         74.     In ¶¶ 13 and 35-36 of his Report, Dr. Caloyannides also characterizes the claimed

 description of the commissioning tool and configuration adapter as purely functional, and thus

 “abstract.” This is a mischaracterization, which leaves out numerous details. To recite a single

 function for a device is one thing, but that is not the case here. It is clear on the face of the

 independent claims themselves (claims 1 and 17) that the configuration adapter, for example,

 recites a combines several specific characteristics: (1) it must be operable to receive a download

 of all of the commissioning data before the devices are initialized; (2) it must support the reading

 of the data from the configuration adapter once the devices are initialized; (3) it must be able to

 communicate with another configuration adapter on the commissioning tool; and (4) it must be

 capable of doing its data communication with the commissioning tool while unpowered. Fig. 7 of

 the patent is also described as “a schematic block diagram of a configuration adapter, according

 to the present invention (’276 patent, 7:55-56), showing its dual interfaces and memory elements.

 There is considerably more structure to the referenced components than Dr. Caloyannides’

 description would suggest.

         75.     Paragraphs 44-45 of Dr. Caloyannides’ Report also critique the configuration

 adapter as shown ion Fig. 7 of the ’276 patent as “nothing more than an assembly of well-known

 electronic components performing their well-known functions as understood by a POSITA

 before November 2007.” Respectfully, this is not even a sufficient explanation on the patent



                                                  - 24 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 61 of 763 PageID #:
                                    1843



 eligibility of a configuration adapter, if it had been claimed as a separate discrete assembly,

 which it was not. The NXP defendants in fact have such a patent, U.S. Patent 8,280,304. By Dr.

 Caloyannides’ logic, no electronic circuit constructed from “well-known electronic components

 performing their well-known functions” would be patent-eligible, which strikes me as highly

 implausible. The thrust of Dr. Caloyannides’ assertion appears to be that modifying an

 operational process by using such a device cannot be patent-eligible, which is a bigger stretch,

 and is incorrect under my understanding of patent eligibility.

        76.     Dr. Caloyannides also cites Knibbe, U.S. Pat. No. 8,665,762, as he did in the IPR

 proceedings. Knibbe does not concern RFID or a configuration adapter. In fact, Knibbe

 represents the prior art method of networking devices, where it is assumed that the network is

 already up and running, and the remainder of commissioning is performed over the running

 network. Knibbe reflects the problem addressed by the ’276 patent, not its solution.

        77.     Dr. Caloyannides presents arguments as to the patent eligibility of several

 dependent claims. My views above, expressed primarily with specific reference to claim 1, apply

 equally to claim 17. In addition, I understand that all dependent claims will be patent-eligible if

 their respective base claims are found patent-eligible. Further, there are claims that Dr.

 Caloyannides fails to address, and consequently I need not address those claims.

        78.     Dr. Caloyannides’ critique of claim 2 reads as an argument that claim is not

 patentably distinct from claim 1. This does not at all address its patent-eligibility. The citation of

 Smith is not helpful to Dr. Caloyannides’ argument, for the reasons I addressed above.

        79.     As for claim 3, the fact that the invention uses a design system that may be

 implemented on a computer does not render the claim as a whole directed at an abstract idea, as I

 have addressed above.



                                                 - 25 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 62 of 763 PageID #:
                                    1844



         80.     Claim 4 introduces an “address translation subtable” so the wireless and wired

 portions of the network, which could be in different address spaces, can interoperate. The claim

 is not for just incorporating such a table. It is for making its data part of the design that gets

 downloaded, so that the technique of the patent can use one design to extend to complex

 networks, commissioning all the devices by the same “tap” operation with the same download.

         81.     Claim 5 relates to taking the same design, the data from which is downloaded to

 each device, and also making it available to a “master controller” over a standard communication

 link – thereby providing for getting much more functionality out of the network design, another

 improvement to the claimed commissioning procedure.

         82.     Claim 15 addresses an improved process for commissioning at least one, and thus

 with the ability to handle a plurality of wireless devices, in specified locations, from one set of

 downloaded data with a single commissioning tool. Dr. Caloyannides’ critique of this claim is to

 argue that the individual limitations were known, and that conventional PDAs could have been

 used to implement the claim, which fails to address the device commissioning process

 improvement for multiple wireless devices achieved by this claim.

         83.     Claim 16 is parallel to claim 15 but concerns wired devices. The shortcomings in

 Dr. Caloyannides’ critique are the same as for claim 15.

         84.     Claim 18 addresses a system as in claim 17 in which the design can interconnect

 the wired and wireless devices on the network. Dr. Caloyannides likens this to an access point

 (which is actually addressed specifically in claim 19), which he states is merely conventional.

 However, the claim is not for an access point, or even adding an access point. It is for

 incorporating a wired-to-wireless connection is a network designed that can be commissioned in

 the networked devices by the system of claim 17.



                                                  - 26 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 63 of 763 PageID #:
                                    1845



        85.     Dr. Caloyannides’ critique of claim 19 again addresses that access points were

 conventional, but again fails to address incorporating an access point into the design data

 downloaded to a commissioning tool for commissioning devices that may comprise an entire

 complex network.

        86.     Claim 20 recites the system of claim 17, wherein the network design comprises a

 wireless device on a wireless network that interconnects with a wired network. Dr. Caloyannides

 once again addresses only the respective elements, failing to address that the process for

 downloaded and transferring network design data to automatically configure devices on their

 initialization can also handle situations where interconnections are needed to traverse the wired

 and wireless portions of the network.

        87.     Claim 21 specifically recites that the configuration adapters in claim 17 comprise

 a configuration interface and a device contact interface. Dr. Caloyannides refers here to

 paragraphs 38-49 of his Report, in which he states that “a device combining both of these

 interfaces was a conventional computer component before November 2007.” Actually, all that is

 shown in those paragraphs are alleged prior art documents which disclose configurations with a

 memory, configuration interface, and device contact interface, but which fail to address any facts

 that would indicate that an electronic component having these characteristics was routinely and

 conventionally available, or at least routinely and conventionally used as such, which it was not.

 Moreover, as set forth above, it would not be relevant to step one of the Alice analysis even if Dr.

 Caloyannides did establish that such a device in itself was routinely and conventionally

 available.

        88.     Dr. Caloyannides’ critique of claim 23 overlooks the limitations incorporated by

 claim 23’s dependence on claim 22 and the significance of incorporating an access point in the



                                                - 27 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 64 of 763 PageID #:
                                    1846



 network design, with its own configuration adapter, as well as a master controller that also

 becomes involved in forming the network. Its reliance on Smith is also in error for the reasons I

 previously stated.

        89.     Dr. Caloyannides’ critique of claim 25 seems to address the obviousness of

 adding an access point connected to a master controller. However, it fails to address the

 functionality of these components in this configuration, with, as explained in the specification, at

 14:30-34, allows the master controller to thereby control both the wired and wireless networks

 otherwise formed through the downloaded network design. Whether or not this is obvious (which

 I would dispute), Dr. Caloyannides fails to provide any reasoning under Alice as to why

 providing a procedure that can automatically set up a network with such a configuration is not

 patent-eligible subject matter.

        90.     Finally, I note that Dr. Caloyannides fails to address the issue of preemption. He

 claims that the abstract idea of the ’276 patent claims goes to “describ[ing] the design of any

 computer network – configuration plus connections.” I could understand a concern if the ’276

 patent covered any automated process of configuring setting up network connections – such that

 anyone else who tried to do such a thing could be stopped, or have to pay a royalty. But this is

 not what the patent does. The zone of protection is considerably narrower than any and all

 automated network setup. The claims incorporate specific structural limitations, including the

 design system under claim 17 and its use under claim 1, the configuration adapter with its

 memory element and dual interfaces, and the commissioning tool with its own configuration

 adapter communicating over a complementary configuration link with the configuration adapter.

 These claims control only if all of these express structural limitations and their expressly claimed




                                                - 28 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 65 of 763 PageID #:
                                    1847



 interactions are met. Dr. Caloyannides’ formulation seems to be inappropriately broad for

 purposes of Alice step one.

        91.     In sum, Dr. Caloyannides’ Report begins with an overly broad formulation of the

 alleged abstract idea of the ’276 patent claims, shortcuts the analysis under step one by failing to

 identify what the patent regards as distinguishing its claims from the prior art, and then proceeds

 immediately to step two, based on the alleged conventional nature of the items used to practice

 the individual process steps, overlooking the characteristics of the underlying process itself, as

 well as any ordered combination of the claim elements. In addition, it repeatedly seeks to

 establish the alleged conventional nature of the items used in the process by finding similar

 examples somewhere in the prior art, without further support for what is conventional, whereas,

 as I understand the law, merely being identified in the prior art is not sufficient to show that an

 item is routine and conventional for purposes of patent-eligibility.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on December 4, 2020.



                                                ANTHONY G. ROWE




                                                 - 29 -
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 66 of 763 PageID #:
                                    1848



    Exhibit A to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 67 of 763 PageID #:
                                    1849

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 Research Interests
     I have a broad range of research interests that include real-time systems, distributed systems, operating systems,
    embedded computer vision and robotics. My current work focuses on large-scale embedded sensing systems with
    real-time properties for supporting applications related to building energy optimization, critical infrastructure
    monitoring, mobile computing and rural electrification. I am currently the director of the Wireless Sensing
    and Embedded Systems Lab (WiSE Lab http://wise.ece.cmu.edu) at Carnegie Mellon University. I have also
    applied my research in sensor networks as a co-founder of SparkMeter Inc., a company that strives to design cost-
    effective technologies to support rural electrification in developing nations. Founded in 2014, they currently have
    grids deployed in more then five countries including Haiti, Tanzania, India, Nepal and Uganda.

 Education
    Ph.D. Electrical and Computer Engineering Carnegie Mellon University
    Thesis advisor: Dr. Ragunathan (Raj) Rajkumar.
    Thesis title: A Resource-Centric Design Paradigm for Scalable Sensor networks. Jan 2004- Dec 2009

    B.S. Electrical and Computer Engineering Carnegie Mellon University, May 2003

 Work Experience
    Associate Professor, Electrical and Computer Department, Carnegie Mellon University. July 2015 - present

    Assistant Research Professor, ECE Department, Carnegie Mellon University. June 2010 - Jul 2015

    Bosch Research and Technology Center Internship: Developed a performance modeling and exploration
    tool for an automotive distributed mechatronic system capable of estimating worst case latencies given new
    components or changed communication parameters. The system primarily focused on modeling LIN and CANbus
    communication. Supervisor: Christoph Stoermer May 2004 – Sep 2005
    		
    Mobile Robot Programming Lab Research Assistant: Developed CMUcam, CMUcam2, and CMUcam3. CMucam
    is a commercially available (20000+ units sold) low-cost embedded vision hardware platform capable of color
    tracking, motion tracking, edge detection and histogramming in real-time. Advisor: Professor Illah Nourbakhsh.
    June 2001- Present

    NASA Ames Research Center Internship: Summer intern at the IC division under the supervision of Maria Bualat,
    Created a new interface for the K9 rover contingent executive which allowed it to control a low cost robotics
    testbed for educational outreach. Developed a user interface to generate Lisp scripts for this executive. Jul 2002
    – Aug 2002

    Harvard-Smithsonian Center for Astrophysics Research Assistant: Worked under the supervision of Dr. Eric Keto
    in the Radio and Geoastronomy Division on Sub-Millimeter Array Telescope software. Developed a Cluster
    Parallel Computing System to enhance radiative transfer models of astronomical molecular clouds. Jun 1999 –
    Sep 2000

 Awards
    Dr. William D. and Nancy W. Stecker Early Career Chair 2016

    CMU CIT Steven J. Fenves Award for Systems Research 2015

    CMU CIT Early Career Fellowship 2014

    Lutron Joel and Ruth Spira Excellence in Teaching Award 2013
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 PageAnthony
                                                              68 of   763 PageID #:
                                                                    Rowe - Curriculum Vitae (2-5)
                                    1850


        Best Paper in 2018 in the International Conference on Information Processing in Sensor Networks (IPSN).
        “Charm: Exploiting Geographical Diversity Through Coherent Combining in Low-Power Wide-Area Networks”

        Best Paper Nomination in the 2012 ACM Conference on Embedded Networked Sensor Systems (SenSys) “Indoor
        Pseudo-ranging of Mobile Devices using Ulrasonic Pulse Compression”

        Best Paper Honorable Mention in the 2012 IEEE International Conference on Computational Photography (ICCP
        2012) “Fast Reactive Control for Illumination through Rain and Snow”

        Best Poster in the 2011 ACM Workshop on Embeddeed Sensing Systems for Energy-Efficiencny in Buildings
        (BuildSys) “Appliance Classification and Energy Management Using Multi-Modal Sensing”

        Best Paper in the 2010 ACM Workshop on Embedded Sensing Systems for Energy-Efficiency in Buildings
        (BuildSys) “Contactless Sensing of Appliance State Transitions”

        Best Paper in the 2009 ACM Conference on Embedded Networked Sensor Systems (SenSys) “Low-Power Clock
        Synchronization using Electromagnetic Energy Radiating from AC Power Lines”

        Best Paper in the 2006 IEEE Conference on Sensors, Mesh and Ad-hoc Communication and Networks (SECON)
        “RT-Link: A Time-Synchronized Link Protocol for Energy Constrained Multi-hop Wireless Networks”

        2003 Carnegie Mellon University’s David Tuma Laboratory Project Award: Undergraduate Laboratory Award for
        work on a fault tolerant encrypted voice over IP SoC system.


  Peer-Reviewed Conferences and Workshops
   1.    Adwait Dongare, Revathy Narayanan, Akshay Gadre, Anh Luong, Artur Balanuta, Swarun Kumar, Bob Iannuc-
         ci, Anthony Rowe, “Charm: Exploiting Geographical Diversity Through Coherent Combining in Low-Power
         Wide-Area Networks”, The International Conference on Information Processing in Sensor Networks (IPSN),
         April 2018, Porto Portugal (pdf) (Best Paper Award)

   2.    Niranjini Rajagopal, Patrick Lazik, Nuno Pereira, Sindhura Chayapathy, Bruno Sinopoli, Anthony Rowe, “En-
         hancing Indoor Smartphone Location Acquisition using Floor Plans”, The International Conference on Informa-
         tion Processing in Sensor Networks (IPSN), April 2018, Porto Portugal (pdf)

   3.    Anh Luong, Peter Hillyard, Alemayehu Solomon Abrar, Charissa Che, Thomas Schmid, Anthony Rowe, Neal
         Patwari, “A Stitch in Time and Frequency Synchronization Saves Bandwidth”, The International Conference on
         Information Processing in Sensor Networks (IPSN), April 2018, Porto Portugal. (pdf)

   4.    Luis Ramos Pinto, Luís Almeida and Anthony Rowe, “Aerial Video Stream over Multi-hop using Adaptive
         TDMA Slots”, IEEE Real-Time Systems Symposium (RTSS 2017), Paris, France 2017 (pdf)

   5.    Adwait Dongare, Anthony Rowe, “Pulsar: A Wireless Propagation-Aware Clock Synchronization Platform”,
         IEEE Real-Time and Embedded Technology and Applications Symposium (RTAS 2017), April 2017, Pitts-
         burgh, PA.

   6.    L. Pinto, A. Moreira, L. Almeida and A. Rowe, “Characterising Multi-hop Aerial Networks of COTS Multi-
         rotors” in IEEE Transactions on Industrial Informatics, 2017

   7.    Sirajum Munir, Ripudaman Singh Arora, Craig Hesling, Juncheng Li, Jonathan Francis, Charles Shelton, Chris-
         topher Martin, Anthony Rowe, Mario Berges, “Real-Time Fine Grained Occupancy Estimation using Depth
         Sensors on ARM Embedded Platforms”, IEEE Real-Time and Embedded Technology and Applications Sympo-
         sium (RTAS 2017), April 2017, Pittsburgh, PA.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 PageAnthony
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                                    1851

   8.   Adwait Dongare, Craig Hesling, Khushboo Bhatia, Artur Balanuta, Ricardo Lopes Pereira, Bob Iannucci, An-
        thony Rowe, “OpenChirp: A Low-Power Wide-Area Networking Architecture”, The first International Work-
        shop on Smart Edge Computing and Networking (SmartEdge 2017) in conjunction with PerCom 2017, Hawaii,
        USA.

   9.   L. R. Pinto, L. Oliveira, L. Almeida and A. Rowe, “Extendable Matrix Camera Using Aerial Networks,” 2016
        International Conference on Autonomous Robot Systems and Competitions (ICARSC), Braganca, 2016

   10. Fatima M. Anwar, Sandeep D’souza, Andrew Symington, Adwait Dongare, Ragunathan (Raj) Rajkumar, Antho-
       ny Rowe and Mani B. Srivastava, “Timeline: An Operating System Abstraction for Time-Aware Applications”,
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   11. Oliver Shih, Patrick Lazik, Anthony Rowe, “AURES: A Wide-Band Ultrasonic Occupancy Sensing Platform”,
       The 3rd ACM International Conference on Systems for Energy-Efficient Built Environments (BuildSys 2016),
       November 2016, Palo Alto, CA.

   12. Niranjini Rajagopal, Sindhura Chayapathy, Bruno Sinopoli and Anthony Rowe, “Beacon Placement for Range-
       Based Indoor Localization”, The 7th International Conference on Indoor Positioning and Indoor Navigation
       (IPIN 2016), October 2016, Madrid, Spain.

   13. L. Pinto, A. Moreira, L. Almeida and A. Rowe, “Aerial multi-hop network characterisation using COTS multi-
       rotors,” 2016 IEEE World Conference on Factory Communication Systems (WFCS), Aveiro, 2016

   14. Maxim Buevich, Xiao Zhang, Dan Schnitzer, Tristan Escalada, Arthur Jacquiau-Chamski, Jon Thacker, An-
       thony Rowe, “Microgrid Losses: When the Whole is Greater Than the Sum of Its Parts”, The 7th IEEE/ACM
       International Conference on on Cyber-Physical Systems, April 2016, Vienna, Austria

   15. Maxim Buevich, Xiao Zhang, Dan Schnitzer, Tristan Escalada, Arthur Jacquiau-Chamski, Jon Thacker, An-
       thony Rowe, “Short Paper: Microgrid Losses: When the Whole is Greater Than the Sum of Its Parts”, The 2nd
       ACM Conference on Embedded Systems for Energy-Efficient Built Environments (BuildSys), November 2015,
       Soeul, South Korea

   16. Patrick Lazik, Niranjini Rajagopal, Oliver Shih, Bruno Sinopoli, Anthony Rowe, “ALPS: A Bluetooth and Ul-
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       ing Systems (SenSys). November, 2015, Seoul, South Korea.

   17. Oliver Shih, Anthony Rowe, “Occupancy Estimation using Ultrasonic Chirps”, The ACM/IEEE 6th Interna-
       tional Conference on Cyber-Physical Systems (ICCPS 2015), Seattle, Washington, April 13th, 2015

   18. Patrick Lazik, Niranjini Rajagopal, Bruno Sinopoli, Anthony Rowe, “Ultrasonic Time Synchronization and
       Ranging on Smartphones”, 21st IEEE Real-Time and Embedded Technology and Applications Symposium
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       and Lessons Learned”, ACM/IEEE 14th International Conference on Information Processing in Sensor Net-
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   20. Subhagato Dutta, Abhishek Chugh, Robert Tamburo, Anthony Rowe, Srinivasa G. Narasimhan, “Performance
       Characterization of Reactive Visual Systems”, IEEE International Conference on Computational Photography
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   21. Niranjini Rajagopal, Patrick Lazik, Anthony, Rowe, “Is There a Place for VLC in Wireless Sensor Networks?”,
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   22. Niranjini Rajagopal, Patrick Lazik, Anthony, Rowe, “Hybrid Visual Light Communication for Cameras and
       Low-Power Embedded Devices”, 1st ACM Workshop on Visible Light Communication Systems, Sep 7, 2014,
       Maui, Hawaii
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 PageAnthony
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   23. Robert Tamburo, Eriko Nurvitadhi, Abhishek Chugh, Mei Chen, Anthony Rowe, Takeo Kanade, Srinivasa Nara-
       simhan, “Programmable Automotive Headlights”, European Conference on Computer Vision (ECCV 2014),
       Sep. 6-12, 2014, Zurich.

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       beh Jafari, Douglas L. Jones, John D. Kubiatowicz, Vijay Kumar, Rahul Mangharam, Brian T. Murray, George
       Pappas, Kris Pister, Anthony Rowe, Alberto Sangiovanni-Vincentelli, Sanjit A. Seshia, Tajana Simunic Rosing,
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   26. Maxim Buevich, Dan Schnitzer, Tristan Escalada, Arthur Jacquiau-Chamski, Anthony Rowe, “A System for
       Fine-Grained Remote Monitoring, Control and Pre-Paid Electrical Service in Rural Microgrids”, ACM/IEEE
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   27. Maxim Buevich, Niranjini Rajagopal, Anthony Rowe, “Hardware Assisted Clock Synchronization for Real-
       Time Sensor Networks”, IEEE Real-Time Systems Symposium (RTSS 2013), Vancouver, CA 2013.

   28. Maxim Buevich, Anne Wright, Randy Sargent and Anthony Rowe, “Respawn: A Distributed Multi-resolution
       Time-series Datastore”, IEEE Real-Time Systems Symposium (RTSS 2013), Vancouver, CA 2013.

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  2.   “Future Trends in IoT”, GE Korea, , December 22th 2016

  3.   “Future Trends in IoT”, Korea Big Data Academic Society, December 21th 2016

  4.   “Future Trends in IoT”, KEPCO Big Data Center, December 20th 2016

  5.   “Future Trends in IoT”, Seoul National University, December 20th 2016

  6.   “Precise Timing and Localization in Indoor Spaces “, Portland, September, 2016

  7.   “Ubiquitous Communication is the Biggest Challenge Holding us Back”, Berkeley, October, 2016

  8.   “Microgrid Losses: When the whole is greater than the sum of its parts…”, Berkeley, October, 2016

  9.   “The Open Chirp Project”, CMU, CyLab Annual Meeting, 2016

  10. “Wireless Sensing and Embedded Systems Lab Overview”, 3M, May 18th, 2016

  11. “IoT at CMU”, CMU, Ingersoll Rand, July 12th, 2016

  12. “Precise Timing and Localization in Indoor Spaces “, Stanford Distinguished Lecture, April 19, 2016

  13. “Indoor Localization: or How I learned to love the clock”, CMU, CyLab Seminar, April 4, 2016

  14. “The promise and Perils of Connected Sensors”, CMU, 2016

  15. “The promise and Perils of Connected Sensors”, World Economics Forum, Davos, Switzerland, 2015

  16. “Indoor Localization”, Google, May 5th, 2015

  17. “Microgrid Losses: When the whole is greater than the sum of its parts…”, CEIC Conference, October 22, 2015

  18. “Microgrid Losses: When the whole is greater than the sum of its parts…”, Oxford University, July 10th, 2015

  19. “OpenMortar.io: An Open-Source Building Management System”, Department of Energy Building Technolo-
      gies Office Peer Review, Washington DC, April 2014

  20. “Indoor Localization Discussion Panel,” IPSN, Berlin, April 16, 2014.

  21. “Large-scale sensing for building energy-efficiency,” U. Mass. Amherst, Amherst, MA, November, 2014.

  22. “OS Support for Quality-of-Time”, UCLA, February 26th, 2014

  23. “Large-scale sensing and actuation,” Texas Instruments, Dallas, TX, December 2013.

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  25. “Grappling with large-scale physical data,” Bosch Research Pittsburgh, Pittsburgh, PA, August 1, 2013.

  26. “Sensing and Actuating the Physical World,” U.C. Merced, Merced CA, February 21, 2013.

  27. “Localizing Mobile Devices using Light and Sound,” Carnegie Mellon University, INI Seminar 2013.

  28. “Localization using Light and Sound,” Carnegie Mellon University, CyLab Seminar 2013.

  29. “Grappling with large-scale physical data,” Intel Research, Pittsburgh, PA, August 1, 2013.

  30. “Time Series Data Management,” Bosch Research Pittsburgh, Pittsburgh, PA, October 2012.

  31. “Techno Stress Panel,” Intel Research, San Francisco, CA, August 13, 2013.

  32. “C3 Dashboard,” Environmental Protection Agency, EPA in Philadelphia PA, July 2012.

  33. “WiSE Lab Overview,” Sparkfun Inc., Sparkfun Headquarters, Boulder PA, June 2012.

  34. “RESPAWN: REconfigurable Sensor Processing Across Wide-Area Networks,” Intel ISTC, Pittsburgh, PA,
      April 2012.

  35. “Empowering Occupants to Achieve Energy Efficiency in Commercial Buildings,” CMU / HCI, March 2012.

  36. “Wireless Sensor Networks for Building Energy Management,” Texas Instruments, TI headquarters Dallas, TX,
      March 2012.

  37. “Wireless Sensor Networks for Building Energy Management,” Carnegie Mellon University, ECE Seminar
      2012.

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  39. “A Resource-Centric Design Paradigm for Scalable Wireless Sensor Networks”, Univeristy of Pittsburgh, 2011

  40. “Indoor Pseudo-ranging of Mobile Devices using Ultrasonic Pulse Compression” The 10th ACM Conference on
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  42. “Rate-Harmonized Scheduling for Saving Energy,” IEEE Real-Time Systems Symposium (RTSS) Barcelona,
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      (RTSS) Tucson, Arizona 2007.

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      (RTSS), Miami 2005.
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  49. “A Simple Low-Cost Color Vision System,” Computer Vision and Pattern Recognition (CVPR), Hawaii 2001.

 Demonstration Papers
   1. Christopher Palmer, Patrick Lazik, Maxim Buevich, Jingkun Gao, Mario Berges, Anthony Rowe, Ricaro Lopes
      Pereira, Christopher Martin, “Mortar.io: A Concrete Building Automation System (Demo Abstract)”, Demo
      abstract in 1st ACM Conference on Embedded Systems for Energy-Efficient Buildings, Nov. 5-6, Memphis, TN

   2. Aksanli, Akyurek, Behl, Clark, Donze, Dutta, Lazik, Massoumy, Mangharam, Nghiem, Raman, Rowe, San-
      giovanni-Vincentelli, Seshia, Rosing, Venkatesh, “Distributed Control of a Swarm of Buildings Connected to
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   1. Anthony Rowe, Mario Berges, Gaurav Bhatia, Ethan Goldman, Raj Rajkumar, Lucio Soibelman, James Gar-
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   2. Anthony Rowe, Adam Goode, Dhiraj Goel, Illah Nourbakhsh, “CMUcam3: An Open Programmable Embedded
      Vision Sensor,” Carnegie Mellon Robotics Institute Technical Report, RI-TR-07-13 2007

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 Patents
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 			         January 10th, 2014

  US 61/751,080 Method and System for Ultrasonic Signaling, Ranging and Location Tracking
 			         January 10th, 2013

 Advising and Teaching
    Spring 2017: 18-549 Embedded System Design Capstone
    Fall 2016: 18-349 Introduction to Embedded Systems
    Spring 2016: 18-549 Embedded System Design Capstone
    Fall 2015: 18-349 Introduction to Embedded Systems
    Spring 2015: 18-549 Embedded System Design Capstone
    Fall 2014: 18-848 Networked Cyber-Physical Systems
    Spring 2014: 15-213 Introduction to Computer Systems
    Fall 2013: 18-848 Networked Cyber-Physical Systems
    Spring 2013: 18-213 Introduction to Computer Systems
    Fall 2012: 18-648 Real-Time Embedded Systems
    Spring 2012: 15-213/18-213 Introduction to Computer Systems
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 76 of 763 PageID #:
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    Fall 2011: 18-848 Networked Cyber-Physical Systems
    Spring 2011: 15-213/18-243 Introduction to Computer Systems
    Fall 2010: 18-848c Networked Cyber-Physical Systems

    2009 Yi-Zhi Wu, M.S. Student in Information Networking Institute, Carnegie Mellon University, M.S. Thesis
    Reader. Thesis: “Link Logic for wireless sensor-actuator networks”

    2009: Pavan Rao, M.S. Student in Information Networking Institute, Carnegie Mellon University, M.S. Thesis
    Reader. Thesis: “Sensor Andrew Mobile Security: Secure Key Exchange Protocol”

    2008: Aditya Bhave, M.S. Student in Information Networking Institute, Carnegie Mellon University, M.S. Thesis
    Reader. Thesis: “SenseNet: Design of UDP sockets and point-to-point routing for Wireless Sensor Networks”

    2008: Gurpreet Singh, M.S. Student in Information Networking Institute, Carnegie Mellon University, M.S.
    Thesis Reader. Thesis: “SenseSpace: Sensor Network Namespaces”.

    Wireless Sensor Networks (18-848), Carnegie Mellon University, Teaching Assistant Fall 2008

    Wireless Sensor Networks (18-848), Carnegie Mellon University, Teaching Assistant Fall 2007

    Wireless Sensor Networks (18-848), Carnegie Mellon University, Teaching Assistant and developed lab
    curriculum, Fall 2006

    Advanced Digital Design (18-545), Carnegie Mellon University, Teaching Assistant Fall 2005

 Consulting
    Extensive work in building the electronics for mechatronic and sensing systems used in robotics, low level
    embedded software development, automotive and wireless communication systems, system level performance
    modeling and lightweight embedded computer vision.

    Lutron Electronics: Consulted on the design of a scalable TDMA mesh communication protocol

    Respironics Inc: Developed image processing algorithm for assembly line inspection. Integrated embedded
    vision processor into an existing PLC system. Jul - Aug 2007.

    Bossa Nova Concepts: Designed wireless robot electronics system with built-in motor controller.
    Jun - Aug 2007.
    Intellibot Robotics: Consulted on the development and integration of a visual navigation sub-system for
    industrial floor cleaning robots. Dec 2006.


    FIRST Robotics: Consulted on the development of a plug-and-play vision package for educational robotics.
    Developed a driver and automatic calibration software package. Nov 2004 - Feb 2005

 Broader Impact
    Co-founder and Chair of Technical Advisory Board of Sparkmeter Inc. Sparkmeter designs hardware and software
    solutions that allow high-fidelity management of rural micro-grid systems. To date, we have deployed electric
    grids in over 5 countries around the world.

    The CMUcam project has grown over the years providing thousands of researchers and hobbyists a hardware
    and software platform for embedded computer vision. More than 20,000 units have been sold by 23 distributors
    in over 17 countries. CMUcam was featured in the July 2004 issue of Popular Science in an article entitled
    “Eat your heart out, Aibo: Why buy a robot that follows a colored ball when you can spend hundreds of hours
    building your own?” and appears regularly in MAKE magazine. CMUcam has been incorporated into multiple
    commercial products and has been a key sensor in many research as well as educational robots.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 77 of 763 PageID #:
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 Professional Services
     2017: Co-Organizer of National Science Foundation Cyber-Physical Systems Week in Pittsburgh
     2016: National Science Foundation – SBIR/NeTS/CPS Program Review Panels
     2016 Technical Program Committees: SenSys (co-chair), IPSN, eWSN, RTAS, HotMobile
     2015: National Science Foundation – SBIR/NeTS/CPS Program Review Panels
     2015 Technical Program Committees: SenSys, IPSN (co-chair), RTAS, RTSS, ICDCS
     2014: National Science Foundation – SBIR/NeTS/CPS Program Review Panels
     2014 Technical Program Committees: IPSN, RTSS, IWRSN, VLCS
     2013 National Science Foundation Review Panel NETS (Wireless Sensor Networks)
     2013 Technical Program Committees: SenSys, RTAS, RTSS, CPSNA, PWSN
     2012 National Science Foundation Review Panel NETS (Wireless Sensor Networks)
     2012 Technical Program Committees: SenSys, IPSN, RTAS
     2011 Technical Program Committees: SenSys, BuildSys, RTSS, RTAS, ICDCS, IGCC
     2010 Technical Program Committees: RTSS (WiP), SUTC

     I have been a regular reviewer for ACM Transactions on Sensor Networks, INSS, IEEE Pervasive
     Computing and IEEE International Symposium on Wearable Computing (ISWC).
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 78 of 763 PageID #:
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 References

   Raj Rajkumar
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   Mani Srivastava
      Professor, UCLA, Electrical Engineering Department
 		email: mbs@ee.ucla.edu
 		   Phone: (310) 267-2098

   Edward Lee
 		   Robert S. Pepper Distinguished Professor, University of Berkeley, EECS Deparment
 		email: eal@eecs.berkeley.edu
 		phone: (510) 643-3728

   James Garrett
 		   Professor and Head, Civil and Environmental Engineering
 		email: garrett@cmu.edu
 		phone: (412) 268-2941

   Daniel Siewiorek
 		   Buhl University Professor of Electrical and Computer Engineering and Computer Science
 		email: dps@cs.cmu.edu
 		phone: (412) 268-2619
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 79 of 763 PageID #:
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    Exhibit B to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 80 of 763 PageID #:
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                                               EXHIBIT B

Materials Considered by Anthony G. Rowe (Dec. 4, 2020)

U.S. Pat. No. 8,437,276 to Dinur

U.S. Pat. No. 8,665,762 to Knibbe et al.

U.S. Pat. No. 7,825,776 to Smith et al.

U.S. Pat. No. 8,280,304 to Hirsch

WO 2006/136985 (Knibbe)

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Enabling Remote Access to Electronic De-vice Parameters,” March 2, 2010

NASA Tech Briefs, “Two-Way Communication Using RFID Equipment and Techniques,” pages 6-7, May
2007

NXP Semiconductor NTAG I2C plus NT3H2111_2211 Datasheet, Rev. 3.5 May 2019

NXP Microelectronics ST24LR64E-R Datasheet, Rev. 12, July 2017

Gislason, ZigBee Wireless Networking, Newnes Press (September 2007)

Declaration of Michael Caloyannides, PhD. Dated Nov. 4, 2020, and patents and publications (in addition
to those listed above) referenced therein, including without limitation Spencer, Walton, Teraura, Dua,
Cardullo, Hendrix, MIFARE.

Patents and publications referenced in Ex. C hereto.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 81 of 763 PageID #:
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    Exhibit C to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 82 of 763 PageID #:
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                                                          Ca e IPR2020-01073
                                                              Pa en 8,437,276




            UNITED STATES PATENT AND TRADEMARK OFFICE
             ______________________________________________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
             ______________________________________________

                        STMICROELECTRONICS, INC.
                                Pe i ioner
                                      .

                           TRIDINETWORKS LTD.
                                Pa en O ner

                           U.S. Pa en No. 8,437,276


                 _______________________________________

                  I e Pa e Re ie Ca e No. IPR2020-01073
                 _______________________________________




             EXPERT DECLARATION OF ANTHONY G. ROWE




                                                               EXHIBIT 2001
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 83 of 763 PageID #:
                                    1865
                                                                Ca e IPR2020-01073
                                                                    Pa en 8,437,276
       I, ANTHONY B. ROWE, declare he follo ing:

       1.    I ha e been re ained b co n el for Pa en O ner TriDiNe ork L d.

  o pro ide m opinion on cer ain i     e rai ed b      he Pe i ion for I e Pa e re-

  ie in hi ca e, challenging he alidi     of cer ain claim of U.S. Pa en No.

 8,437,276 ( he 276 pa en ) ba ed on alleged ob io ne .

       2.    A e plained herein, I am of he ie         ha he Pe i ion herein make a

 f ndamen al error in de cribing a per on of ordinar     kill in he ar ( POSITA ).

       3.    I am being compen a ed a a normal ho rl ra e for m        ime in prepar-

 ing hi declara ion, i h reimb r emen for ac al e pen e . M compen a ion i

 no ied o he o come of hi ma er and no ba ed on he             b ance of he opin-

 ion rendered here.

       4.    In preparing m opinion e pre ed herein, I ha e re ie ed he Pe i-

  ion, he pa en and p blica ion relied on herein, he Declara ion of Michael Cal-

 o annide , Ph.D. (E hibi 1003 here o), he 276 pa en , and all of he pa en and

 prin ed p blica ion li ed in E hibi 2003. I ma rel       pon he e ma erial , m

 kno ledge and e perience, and/or addi ional ma erial o reb       arg men rai ed in

  he Pe i ion. I ha e al o re ie ed he Pa en O ner Preliminar Re pon e

 ( POPR ) herein, hich relie in par on opinion I ha e e pre ed a         e for h
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 84 of 763 PageID #:
                                    1866
                                                            Ca e IPR2020-01073
                                                                Pa en 8,437,276
 herein. F r her, I ma al o con ider addi ional doc men and informa ion in form-

 ing an nece ar opinion , incl ding doc men         ha ma no     e ha e been pro-

  ided o me.

         5.    I am familiar i h he echnolog de cribed in he 276 pa en a of i

 earlie claimed priori    da e of No ember 29, 2007. I ha e been a ked o pro ide

 m      echnical re ie , anal i , in igh , and opinion regarding he 276 pa en , he

 Pe i ion, and he prior ar ci ed in he Pe i ion. I ha e   ed m e perience and in-

  igh along i h he abo e-no ed reference a he ba e for m opinion , hich

      ppor he gro nd for den ing in i    ion a   e for h in he POPR.

 I.      QUALIFICATIONS

         6.    I am c rren l   he Daniel and Karon Walker Sie iorek Profe or in

  he Elec rical and Comp er Engineering and C Lab of Carnegie Mellon Uni er-

  i    ( CMU ).

         7.    I ha e a Ph.D. in Elec rical and Comp er Engineering, conferred

  pon me in 2009 b CMU, and a Bachelor of Science degree in Elec rical and

 Comp er Engineering from CMU in 2003.

         8.    M Ph.D. he i      a on A Re o rce-Cen ric De ign Paradigm for

 Scalable Sen or Ne ork .




                                           2
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 85 of 763 PageID #:
                                    1867
                                                               Ca e IPR2020-01073
                                                                   Pa en 8,437,276
       9.     A cop of m c        ic l m i ae, li ing m o her appoin men ,

 a ard , p blica ion , pa en , and profe ional and ind       rial ac i i ie , i     bmi -

  ed here i h a E hibi 2002.

       10.    I ha e a broad range of re earch in ere      ha incl de real- ime          -

  em , di rib ed        em , opera ing     em , embedded comp er i ion, and ro-

 bo ic . M c rren       ork foc e on large- cale embedded en ing              em    ih

 real- ime proper ie for     ppor ing applica ion rela ed o b ilding energ op imi-

  a ion, cri ical infra r c re moni oring, mobile comp ing, and r ral elec rifica-

  ion. I am c rren l    he direc or of he Wirele     Sen ing and Embedded S         em

 Lab (WiSE Lab h p:// i e.ece.cm .ed ) a CMU. I ha e al o applied m re earch

 in en or ne ork a a co-fo nder of SparkMe er Inc., a compan             ha       ri e o

 de ign co -effec i e echnologie o        ppor r ral elec rifica ion in de eloping na-

  ion . Fo nded in 2014, he c rren l ha e grid deplo ed in more han fi e co n-

  rie , incl ding Hai i, Tan ania, India, Nepal and Uganda. I each a arie          of

 co r e a CMU, incl ding co r e on embedded               em de ign and ne orked

 c ber-ph ical         em . A a re l of m e perience hro gh m           ndergrad a e

 and grad a e ed ca ion and Ph.D. he i , o he pre en , a        ell a m       eaching,

 grad a e    den ad i ing, labora or      ork, ind     r in ol emen and con l ing a

   mmari ed in m CV, panning he la 20 ear , I ha e e en i e e perience in

 de igning and implemen ing en or ne ork and embedded                em , direc l in

                                            3
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 86 of 763 PageID #:
                                    1868
                                                        Ca e IPR2020-01073
                                                             Pa en 8,437,276
 line i h he echnolog cen ral o hi ca e. A a con eq ence, I belie e ha I am

 q alified o pro ide reliable opinion in he field of he 276 pa en , incl ding ha

 a per on of ordinar    kill in he ar ( POSITA ) o ld ha e ie ed and nder-

   ood from he prior ar in hi field a he ime of he claimed in en ion.

 II.   BACKGROUND

             A. 276 P              A         P     A

       11.     I ha e re ie ed he de crip ion of he 276 pa en and he Knibbe

 and Smi h reference addre ed in he POPR and agree i h ho e de crip ion ,

   hich need no be repea ed here, o her han b reference. In par ic lar ( i ho

 limi ing m general e pre ion of agreemen        i h he POPR), I agree ha nei her

 Knibbe e al., US 8,665,762 (E hibi 1004), nor Smi h e al., US 7,825,776 (E -

 hibi 1005), ac all di clo e he claim elemen of forming a ne ork and ha

 Knibbe doe no e en addre       hi a a problem needing o be ol ed, in ha he

 proced re a gh b Knibbe pre me ha ne ork connec ion o i de ice al-

 read e i . I al o agree i h he de crip ion in he POPR regarding he o her prior

 ar ci ed in he Pe i ion.

             B. T       RFID            R                  C

       12.     The claim of he 276 pa en all reci e an opera ion of oring da a on

 an npo ered de ice. The pecifica ion di clo e      con ac le   echnologie ( ch

 a RFID/NFC) a a a          o effec a e hi   orage. ( 276 pa en , 4:26-30). I i hi


                                         4
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 87 of 763 PageID #:
                                    1869
                                                     Ca e IPR2020-01073
                                                         Pa en 8,437,276
 RFID/NFC embodimen ha he Pe i ion allege i ob io . Ho e er, RFID i a

 broad field, and he Board ho ld nder and hich a pec of RFID are rele an

  o hi ca e.

         13.    The field of RFID a de eloping rapidl a he ime he priori             ap-

 plica ion for he 276 pa en     a ini iall filed in No ember 2007. There ere dif-

 feren     pe of RFID.

         14.    One differen ia or of RFID ag i      he her he ag i    ac i e or pa -

  i e. An ac i e ag ha on on-board po er          ppl ,   ch a a ba er , o ha , for

 e ample, i can ini ia e comm nica ion on i o n. A pa i e ag, b con ra , onl

 re pond       hen probed b an RF ignal from o       ide i elf and i po ered b       he

 RF ignal recei ed hro gh i an enna.

         15.    Ano her charac eri ic of pa i e RFID echnologie i he           pe of an-

  enna     ed. The principal choice are ind c i e (or Near Field ) an enna , or

  back ca er ( Far Field ) an enna . Ind c i e an enna opera e like ran former

   inding , and can ran fer m ch more po er o he ag, hich i             ef l for opera -

 ing elec ronic on he ag. B     ind c i e an enna ha e er        hor range ( picall ,

 4cm. or 1      inche ). Back ca er an enna can     ili e maller an enna r c re ,

 and can ha e longer range, ho gh for a pa i e ag he range i          ill limi ed,   pi-




                                           5
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 88 of 763 PageID #:
                                    1870
                                                           Ca e IPR2020-01073
                                                               Pa en 8,437,276
 call on he order of 1 me er. Ho e er, back ca er an enna are m ch more lim-

 i ed in erm of he amo n of po er he can            ppl for elec ronic in a pa i e

  ag.

        16.      Generic RFID a he ime of he 276 priori      da e can be een in he

   pical an i- hef ag in a depar men     ore or con ac le   pa men for p blic ran -

 por a ion. The e ere pa i e de ice ,      picall    i h back ca er an enna . The

  imple       ag , EAS ( Elec ronic Ar icle S r eillance ) ag , ere primaril binar

 de ice ha reflec ed an RF ignal hen ac i e and co ld be deac i a ed a he

 checko       co n er ( o a no o re rn he ignal hen deac i a ed). More ophi i-

 ca ed ag al o repor ed ending back an ID in he RF back- ignal, hich co ld be

 correla ed i h ha he agged i em a . In ei her implemen a ion, an RFID ag

 i affi ed o in en or i em . S ch a ag deri e i o n po er from he probe RF

  ignal en o i b       he reader (e.g., a de ice a he ore e i ), o er hor range

 ( picall , one me er or le ). In he ca e of he     pe of ag ha repor an ID, ha

 po er can al o dri e a imple ran ponder circ i , hich mod la e an RF ignal o

 be re rned hro gh he de ice an enna i h a digi al ID read from a a ic

 memor on he ag. Th , he RF ignal re rned o he reader i encoded i h an

 ID from he ag.

        17.      T rning o he pre en ca e, he f nc ionali    of he config ra ion

 adap er of he 276 pa en goe         ell be ond he imple in en or con rol RFID

                                            6
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 89 of 763 PageID #:
                                    1871
                                                               Ca e IPR2020-01073
                                                                   Pa en 8,437,276
  ag applica ion de cribed abo e. In he ca e of he config ra ion adap er of he

  276 pa en , he de ice al o need o be able recei e, demod la e, and ore on a

 non- ola ile orage de ice, a non ri ial amo n of da a (e.g., binding informa ion,

 creden ial , and S ar p A rib e Se ( ee, e.g., 276 pa en , 18:31-50). The e f nc-

  ional req iremen effec i el limi he config ra ion adap er o       pe of RFID

  ha can ran fer    fficien po er for he e opera ion , in addi ion o comm ni-

 ca ing he RF mod la ed da a i elf.

       18.    Th , he    pe of ag ha     o ld be   ed in an RFID implemen a ion

 of he 276 pa en     o ld be a pa i e ag i h an ind c i e an enna, a in ISO

 14443, a andard ci ed in he 276 pecifica ion. ( 276 pa en , 14:57). ISO 14443

 i a andard for NFC comm nica ion . Moreo er, he ag o ld al o ha e o ha e

 non- ola ile orage on board, hich i      ri able i ho    po ering p he de ice in

   hich i i con ained, and a de ice con ac in erface for he orage,         ch a a

 connec ion for an in erface b . (See, e.g., 276 pa en , 14:66-15:2).

       19.    The ame anal i applie o Smi h. Indeed, he Pe i ion relie         pon

  he e charac eri ic of Smi h    he non- ola ile orage ri able i ho         applied

 po er, b    he po er deri ed from he RFID ignal.

       20.    In   m, hile he 276 pa en and he Smi h reference ci ed in he Pe-

  i ion bo h refer o RFID, i i impor an o bear in mind ha he            pe of RFID

  ha i operable in bo h ca e i in he na re of NFC, and f r hermore, be ond

                                          7
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 90 of 763 PageID #:
                                    1872
                                                                    Ca e IPR2020-01073
                                                                        Pa en 8,437,276
  impl being an NFC ag, he f nc ionali            req ired b   he 276 pa en f r her re-

 q ire ha he de ice in egra e non- ola ile orage ha i             ri able i ho   po er-

 ing p he de ice ha con ain he orage elemen .

 III.    I                     R          F

         21.   The 276 pa en iden ifie he field of he in en ion a ha of           ire-

 le     and ired ne ork de ign, in alla ion and a oma ic forma ion incl ding

 binding of he ne ork de ice b crea ing logical link be een              o or more de-

  ice . ( 276 pa en , 1:26-30.)

         22.   More par ic larl , he 276 pa en addre e he problem of ne ork-

 ing di rib ed con rol de ice , ha i , ho          o crea e and bring p ne ork for re-

 mo el con rolling and moni oring de ice in man area              ch a home and com-

 mercial a oma ion, ind       rial a oma ion, ligh ing, and hea ing, en ila ion and air

 condi ioning (HVAC) con rol. ( 276 pa en , 1:34-38.)

         23.   Ba ed on m      nder anding of he 276 pa en , a        ell a of he ech-

 nological problem framed b        ha pa en , I o ld charac eri e he field in hich

  he in en ion a o be made a ha of config ring ne ork of ired or irele

 de ice in he con e     of con rol a oma ion, en ing and/or o her ind        rial com-

 p er ne orking        em .




                                              8
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 91 of 763 PageID #:
                                    1873
                                                               Ca e IPR2020-01073
                                                                   Pa en 8,437,276
 IV.    I                       L      S          A

        24.     A POSITA rela i e o he 276 pa en , in he No ember 2007 ime

 frame of he priori    da e of he 276 pa en , o ld ha e been an indi id al ho

   orked in he field I ha e iden ified, i.e., config ring ne ork of ired or irele

 de ice in he con e      of con rol a oma ion, en ing and/or o her ind     rial com-

 p er ne orking          em .

        25.     In ofar a i concern ne orking, he core area of compe ence in hi

 field a of 2007 a       orking i h ind    rial comp er ne   ork , a     pified he

  Fieldb      area, compri ed of    em and pro ocol     ch a Modb , BACne /IP,

 CAN, and DALI, LonWork , ZigBee, and Bl e oo h, and e ending o more gen-

 eral-p rpo e pro ocol      ch a E herne , GSM, and WiFi, hich ere al o ome-

  ime       ed in a oma ion, en ing, and like applica ion . Indeed, Fieldb , a a

 ca egori a ion of b ilding a oma ion ne orking (repre en a i e in m        ie of he

   pe of ne orking echnolog of direc in ere       o he 276 pa en ), i ci ed b        ha

 name in a reference on he fron page of he 276 pa en .

        26.     A POSITA i h he       al le el of kill in hi field o ld ha e a lea

 a bachelor degree in elec rical engineering, i h     o o fo r ear of rele an

 field e perience.




                                           9
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 92 of 763 PageID #:
                                    1874
                                                                 Ca e IPR2020-01073
                                                                     Pa en 8,437,276
          27.     He or he o ld be familiar, from ei her ed ca ion or he field e peri-

 ence referred o abo e, i h he ired and irele             ne orking echnologie      ed

 a ha ime in he field, incl ding ho e iden ified abo e.

          28.     The Pe i ion broadl agree    i h he abo e, a a par of i form la-

  ion. Ho e er, he Pe i ion goe be ond hi , and make a f r her a er ion, hich

 in m opinion i        n ppor ed and incorrec , ha , in addi ion o po e ing he fore-

 going q alifica ion , a POSITA o ld al            ha e   o o fi e ear of e perience in

  he de ign, opera ion, or applica ion of ac i e and pa i e RFID or NFC de ice .

 (Pe i ion a 19.) In m opinion, he addi ion of RFID or NFC e perience i a

   holl      nreali ic e pec a ion for he q alifica ion of a POSITA in la e 2007.

          29.     A of la e 2007, a POSITA in he field of he field of he 276 pa en

   o ld no ha e had a          b an i e e perience i h NFC echnologie . Thi i par-

  ic larl       r e for NFC echnologie ha can read and ore informa ion in he man-

 ner con empla ed in he 276 pa en , hich ere no hen in an commercial                e,

 e peciall        i h re pec o home/ind   rial a oma ion. S ch echnologie ( ch a

 d al-in erface EEPROM ) did no become commerciall a ailable n il abo

 2010, a reflec ed, for e ample in Pe i ioner o n M24LR64 de ice, in rod ced in

 2010 ( ee E hibi 2004). Con eq en l , no POSITA co ld ha e had he               o o

 fi e ear of e perience in        ch NFC echnologie a con empla ed b Pe i ioner.




                                              10
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 93 of 763 PageID #:
                                    1875
                                                               Ca e IPR2020-01073
                                                                   Pa en 8,437,276
 Indeed, i i onl recen l         ha POSITA are becoming familiar i h and ing ch

 NFC echnologie for ne ork e p and config ra ion p rpo e .

 V.       W          -       ,                                     S
                                                   POSITA

          30.     I nder and ha o be con idered in an ob io ne          anal i , a refer-

 ence m         be analogo , meaning ha i m             ei her be in he ame field a he

 in en ion, or o her i e rea onabl per inen         o a POSITA in ha field facing he

 problem pre en ed b       he in en ion       here o be rea onabl per inen mean

  ha he         bjec ma er i of a    pe ha     o ld logicall ha e commended i elf o

  he a en ion of a POSITA addre ing he problem.

          31.     Beca e, a I ha e a ed, NFC echnolog a con empla ed in he

  276 pa en        a no   idel      ed or kno n b per on of ordinar      kill in he ar in

  he 2007 imeframe, common en e              gge   ha      ch an indi id al o ld no

 ha e looked o Smi h for he problem percei ed in he 276 pa en ; RFID echnol-

 og       ch a Smi h impl         o ld no ha e been in he POSITA       hinking a ha

  ime, a po en iall offering a ol ion for ne orking ind            rial a oma ion de-

  ice .

          32.     While i ma be fair o a      ha c mm ica i        o er RFID in general

   a      idel kno n in elec rical engineering a of 2007 (for e ample, he merchan-

 di e ag in a re ail ore), he 276 pa en req ire more han he mere applica ion



                                              11
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 94 of 763 PageID #:
                                    1876
                                                                 Ca e IPR2020-01073
                                                                      Pa en 8,437,276
 of RFID comm nica ion o ol e a problem ha             a here ofore approached i h-

 o   i . The ol ion di clo ed in he 276 pa en al o req ire applica ion of a

 deeper capabili    of RFID, ha of     ing he RFID ignal al o o po er a non- ola-

  ile orage capabili     on he arge de ice, i h he energ pro ided b        he RFID

 comm nica ion. I      a hi a pec pecificall          he a pec of npo ered non- ola-

  ile orage    ha      o ld ha e had o logicall commend i elf o he POSITA of

 2007 in order o make hi combina ion            ef l o ol e he problem pre en ed in

  he 276 pa en .

       33.    B      ch po en ial capabili ie     o ld no ha e been apprecia ed b a

 POSITA, a made e iden from leading re earch a ha ime. For e ample, a

 NASA Tech Brief ar icle from NASA Je Prop l ion Lab (JPL) in Ma 2007

 (E hibi 2005 here i h) di c      e he     e of RFID for comm nica ion ( T o- a

 Comm nica ion U ing RFID Eq ipmen and Techniq e               D namic da a co ld be

 e changed, in addi ion o con en ional a ic RFID da a ). Par of Cal ech, JPL i

 of en con idered one of he mo       echnicall ad anced re earch lab . The ar icle

 cap re he RFID ei gei in he follo ing paragraph:

       Un il no , RFID ha been ed o e change mall amo n of mo l a ic
       informa ion for iden if ing and racking a e . Informa ion per aining o an
       a e ( picall , an objec in in en or o be racked) i con ained in minia-
         re elec ronic circ i r in an RFID ag a ached o he objec . Con en ional
       RFID eq ipmen and echniq e enable a ho comp er o read da a from
       and, in ome ca e , o ri e da a o, RFID ag , b he do no enable ch
       addi ional f nc ion a ending command o, or re rie ing po ibl large
       q an i ie of d namic da a from, RFID- agged de ice .
                                           12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 95 of 763 PageID #:
                                    1877
                                                                  Ca e IPR2020-01073
                                                                      Pa en 8,437,276
 (E . 2005, page 6.)

         34.   The NASA ar icle goe on o de cribe a          em, imilar o he one in

 Smi h, in ha po er co ld be e ernall pro ided o a mall           en or de ice, and

 implemen ing      o- a comm nica ion pro ocol incl ding RFID, be een he

  en or de ice and he memor and be een he (e ernal) ho comp er and he

 memor . Con en in hi di inc l        epara e field, onl fir being di c    ed b

 bleeding edge re earcher in ha field (Smi h a al o a re earcher a In el a he

  ime) o ld cer ainl no ha e been he         pe of     bjec ma er being con idered b

 an ordinar per on in he ind      rial a oma ion ne orking domain a ha ime.

         35.   In m opinion, he non- ola ile, npo ered orage a pec of he

 RFID implemen a ion in Smi h, and an apprecia ion of i capabili ie , o ld no

 ha e been i hin he a arene        of a POSITA a of la e 2007. E en if a POSITA a

  he ime, in he field of ne orking ind       rial a oma ion de ice , ho gh of RFID

 a     ome hing po en iall   ef l, hi a arene        of RFID a a comm nica ion ech-

 niq e o ld no ha e been eno gh o lead o a combina ion ba ed on Smi h ha

     o ld ol e he problem pre en ed in he 276 pa en .

 VI.     OTHER OBSERVATIONS

         36.   I al o i h o bring o he Board a en ion cer ain o her a er ion in

 Pe i ioner      bmi ion     hich I belie e are in error.




                                           13
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 96 of 763 PageID #:
                                    1878
                                                          Ca e IPR2020-01073
                                                               Pa en 8,437,276
       37.   For e ample, Dr. Calo annide Declara ion, a paragraph 86, a er

  ha Smi h i direc l compa ible i h he al erna i e embodimen            gge ed b

 Knibbe, on he ba i ha Knibbe di clo e ha comm nica ion be een he cen-

  ral con roller and he local con rol mod le can al o be irele     and be performed

   ing radio freq enc      ignal .   Thi i incorrec beca e an     pe of RFID ha

   o ld ork a propo ed b Smi h o ld ha e far oo hor a range o be               ef l a

 all in he room- i e pace of Knibbe. F r hermore, Knibbe con empla e an in-

 band comm nica ion of config ra ion parame er , and he irele        approach i         g-

 ge     o ld ill be nder ood a in-band. Smi h, on he o her hand, in ol e an

 o -of-band config ra ion, hich ha no corre ponding analog in Knibbe. The

 RFID connec ion of Smi h i al o peer- o-peer (one de ice o ano her), no a ne -

   ork connec ion, and a       ch o ld al o be n i able for     e in Knibbe.

       38.   F r hermore, if a POSITA ere ac all        o eek o incorpora e he fea-

   re of Smi h in o Knibbe, hi        o ld req ire he en ire commi ioning cheme of

 Knibbe, ba ed on ime of fligh mea remen            o de ermine ph ical loca ion of

  he de ice , o be replaced hole ale b      he echniq e of Smi h, and o re rofi all

 of Knibbe de ice       i h RFID/NFC capabili ie and on-board non- ola ile orage

 po ered b   he RFID ignal, and ha ing d al RFID and de ice con ac in erface .

 The node in Knibbe co ld no be po ered do n a con empla ed b Smi h hile

 pre er ing an of he f nc ionali       a gh in Knibbe. Knibbe i elf become all b

                                           14
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 97 of 763 PageID #:
                                    1879
                                                               Ca e IPR2020-01073
                                                                   Pa en 8,437,276
 irrele an in hi     combina ion, and for all prac ical p rpo e he en ire de ign

   o ld ha e o be ba ed aro nd Smi h.

       39.      The Pe i ion a e ha Smi h di clo e a         em and me hod for c -

 fig i g a e        k and de ice before i i e er   rned on   ing RFID/NFC (Pe i-

  ion a 30 (empha i added)), ci ing paragraph 79 of i e per      Declara ion for

   ppor . Ho e er, he ci ed paragraph of Dr. Calo annide Declara ion make no

   ch a er ion:

       79. Smi h di clo e a     em and me hod for ing RFID o pro ide config -
       ra ion da a o a de ice e en if he de ice i po ered off and e en if he de-
        ice i ill in i hipping car on a he ime. ST-1005 a 2:48-53. When he
       de ice i la er po ered p, i read he da a, e he da a o config re i elf,
       and begin opera ing according o he ne config ra ion. ST-1005 a 2:53-
       56, 3:33-38, 5:47-58.

 (E . 1003 79.) A he Pe i ion i elf more acc ra el no e in ano her di c          ion,

  Smi h eache ho        o config re de ice in an e i i g ne ork. (Pe i ion a 28-

 29). There i no     ppor for he Pe i ion a er ion ha Smi h di clo e a me hod

 for config ring a ne ork. In ead, Smi h i more concern i h prod c per onali-

  a ion,     ch a b IT per onnel. (See E . 1005, 1:5-11.)

                                       *****

       40.      In igning hi declara ion, I recogni e ha he declara ion ill be

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  he Uni ed S a e Pa en and Trademark Office, and ha I ma accordingl be            b-



                                          15
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 98 of 763 PageID #:
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       41.   Thi declara ion repre en onl       ho e opinion I ha e formed o da e.

 I re er e he righ o re i e,   pplemen , and/or amend m opinion       a ed herein

 ba ed on ne informa ion and on m con in ing anal i of he ma erial prod ced

 in hi proceeding.

       I declare nder penal    of perj r   ha he foregoing i r e and correc .

       E ec ed a Pi b rgh, Penn l ania on Sep ember 16, 2020.



                                            ______________________
                                              ANTHONY G. ROWE




                                           16
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 99 of 763 PageID #:
                                    1881



    Exhibit D to 12/04/2020 Rowe Declaration
                                       Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 100 of 763 PageID #:
                                                                           1882




Press Releases



Press Release

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                                                                                                                                                                                       << Back



STMicroelectronics Launches New Dual-Interface EEPROM Enabling Remote Access to
Electronic Device Parameters
                                          New RFID-compatible EEPROMs simplify lifetime management and enable new features and capabilities
GENEVA, March 2, 2010 /PRNewswire via COMTEX/ -- STMicroelectronics (NYSE: STM), a world leader in RF Memory and EEPROM ICs, has announced sample availability of the first in a
new family of products that provide the flexibility to remotely program or update electronic products, anytime during their lifetime, and anywhere in the supply chain. The new devices enable
manufacturers to update parameters, regionalize or activate software without connecting a programmer, or even opening the retail packaging. This pioneering way to access the memory will
allow businesses to add new functions and capabilities to their products, but also reduce manufacturing costs, simplify inventory management, and respond more quickly to changing market
demands.
The M24LR64 is an EEPROM memory with a standard I2C serial interface, providing communication with most microcontrollers or ASICs, and also a
standard ISO15693 RF (radio frequency) interface for wireless communications with RFID readers. The ISO15693 standard is passive RFID technology,
which gathers both the energy and the data from the RF system. No power is required to operate the M24LR64 in RF mode, which enables on-board energy
savings and provides easy and convenient remote access to electronic product parameters.

"This highly innovative ability to program or read a memory wirelessly, as well as electrically, will provide tremendous added-value to our customers, enabling
highly flexible supply-chain management and also stimulating new types of products with powerful features and capabilities," said Benoit Rodrigues, General
Manager, Memories Division, STMicroelectronics. "Moreover this new memory is compatible with existing RFID equipment, thereby delivering a wide range
of solutions and an accessible technology to product manufacturers"

Based on two industry-standard interfaces, the new dual-interface product line provides a link between the operation of electronic devices and the RFID
world. This will enable new types of products, including those requiring asset tracking, data collection, diagnostics, or traceability, such as medical devices,
industrial equipment, and automotive electronics. Computer peripherals and consumer products will take advantage of the M24LR64 feature set for easy and
convenient parameter and regional setting update, even when the device is in its package seal. Also, RFID systems requiring additional monitoring, such as
cold-chain verification, will also benefit from the high memory density of the M24LR64.

The M24LR64 has a 64-Kbit capacity for storage of program code, product parameters, serial numbers, calibration data, or event-log data. Its RF ISO15693
interface can be accessed by a wide range of RF readers, covering hand-held devices, pad antennas, gate systems and tunnel readers. The memory also
communicates with the host system via an industry-standard I2C interface operating at 400kHz from 1.8 to 5.5V. It also comes with a unique and flexible 32-
bit password protection scheme to protect the application from unauthorized tampering or to prevent unexpected access to memory.

The Dual-Interface EEPROM products can be used with either on-board or off-board antenna types in a variety of form factors, allowing product designers to
optimize aspects such as overall dimensions, communication range, and pc-board complexity. The M24LR64 is available in TSSOP-8, SO-8, and MLP 2 x 3
packages, or as bare die, at prices from $0.90 for orders of 1000 pieces. Sampling has already begun, with volume production scheduled for Q2 2010. ST
plans to introduce additional members of the Dual-Interface EEPROM family in the second half of 2010.

About STMicroelectronics

STMicroelectronics is a global leader in developing and delivering semiconductor solutions across the spectrum of microelectronics applications. An
unrivalled combination of silicon and system expertise, manufacturing strength, Intellectual Property (IP) portfolio and strategic partners positions the
Company at the forefront of System-on-Chip (SoC) technology and its products play a key role in enabling today's convergence markets. The Company's
shares are traded on the New York Stock Exchange, on Euronext Paris and on the Milan Stock Exchange. In 2009, the Company's net revenues were $8.51
billion. Further information on ST can be found at www.st.com.

SOURCE STMicroelectronics
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 101 of 763 PageID #:
                                    1883



     Exhibit E to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 102 of 763 PageID #:
                                    1884


                    NT3H2111_2211
                            2                                                 2
                    NTAG I C plus: NFC Forum T2T with I C interface, password
                    protection and energy harvesting
                    Rev. 3.5 — 7 May 2019                                                             Product data sheet
                    359935                                                                            COMPANY PUBLIC

1   General description
                Designed to be the perfect enabler for NFC in home-automation and consumer
                applications, this feature-packed, second-generation connected NFC tag is the fastest,
                least expensive way to add tap-and-go connectivity to just about any electronic device.
                             2
                NXP NTAG I C plus is a family of connected NFC tags that combine a passive NFC
                                          2
                interface with a contact I C interface. As the second generation of NXP’s industry leading
                connected-tag technology, these devices maintain full backward compatibility with first-
                                    2
                generation NTAG I C products, while adding new, advanced features for password
                protection, full memory-access configuration from both interfaces, and an originality
                signature for protection against cloning.
                The second-generation technology provides four times higher pass-through performance,
                                                                      2
                along with energy harvesting capabilities, yet NTAG I C plus devices are optimized for
                use in entry-level NFC applications and offer the lowest BoM of any NFC solution.
                2
                I C and NFC communications are based on simple, standard command sets, and are
                augmented by the demo board OM5569/NT322E, which includes online reference source
                code. All that is required is a simple antenna design (see Ref. 5), with no or only limited
                extra components, and there are plenty of reference designs online for inspiration. NTAG
                 2
                I C plus development board is certified as NFC Forum Type 2 Tag (Certification ID:
                58514).
                                      ISO/IEC 14443




                                                                                           I2 C
                                                         SRAM

                                                                                  1   0    1      0    1   0   MCU
                                                        EEPROM




                                     Data                Energy harvesting                Data

                                    Energy                                            Energy
                                                            Event detection
                                                                                                               aaa-030257

                 Figure 1. Contactless and contact system
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 103 of 763 PageID #:
                                    1885

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


2       Features and benefits

                     2.1 Key features
                          • Interoperability
                            – ISO/IEC 14443 Part 2 and 3 compliant
                                       2
                            – NTAG I C plus development board is certified as NFC Forum Type 2 Tag
                              (Certification ID: 58514)
                            – Unique 7 byte UID
                            – GET_VERSION command for easy identification of chip type and supported features
                            – Input capacitance of 50 pF
                          • Host interface
                               2
                            – I C slave
                            – Configurable field detection pin based on open-drain implementation to signal NFC
                              events or synchronize pass-through data transfer
                          • Memory
                            – 2k bytes EEPROM
                                                                                              2
                            – 64 bytes SRAM buffer for transfer of data between NFC and I C interfaces with
                              memory mirror or pass-through mode
                                                                    2
                            – Clear arbitration between NFC and I C memory access
                          • Data transfer
                            – Pass-through mode with 64 byte SRAM buffer
                            – FAST_WRITE and FAST_READ NFC commands for higher data throughput
                          • Security and memory-access management
                            – Full, read-only, or no memory access from NFC interface, based on 32-bit password
                                                                           2
                            – Full, read-only, or no memory access from I C interface
                            – NFC silence feature to disable the NFC interface
                            – Originality signature based on Elliptic Curve Cryptography (ECC) for simple, genuine
                              authentication
                          • Power Management
                            – Configurable field-detection output signal for data-transfer synchronization and
                              device wake-up
                            – Energy harvesting from NFC field, so as to power external devices (e.g. connected
                              microcontroller)
                          • Industrial requirements
                            – Temperature range from -40 °C up to 105 °C

                     2.2 NFC interface
                          • Contactless transmission of data at 106 kbps
                                    2
                          • NTAG I C plus development board is certified as NFC Forum Type 2 Tag (Certification
                            ID: 58514) (see Ref. 1)
                          • ISO/IEC 14443A compliant (see Ref. 2)
                          • Data transfer of 106 kbit/s
                          • 4 bytes (one page) written including all overhead in 4.8 ms via EEPROM or 0.8 ms via
                            SRAM
                          • 64 bytes (whole SRAM) written including all overhead in 6.1 ms using FAST_WRITE
                            command
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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                               2 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 104 of 763 PageID #:
                                    1886

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                                                                                                                         NT3H2111_2211
                      2                                               2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          • Data integrity of 16-bit CRC, parity, bit coding, bit counting
                          • Operating distance of up to 100 mm (depending on various parameters, such as field
                            strength and antenna geometry)
                          • True anticollision
                          • Unique 7-byte serial number (UID) according to ISO/IEC 14443-3 (see Ref. 2)

                     2.3 Memory
                          •    2k bytes EEPROM
                          •    64 bytes SRAM volatile memory without write endurance limitation
                          •    Data retention time of minimum 20 years
                          •    EEPROM write endurance minimum 500.000 cycles

                           2
                     2.4 I C interface
                               2
                          • I C slave interface supports frequencies up to 400 kHz (see Section 13.1)
                                       2
                          • Fail safe I C operation
                             2
                          • I C slave supports 7-bit slave address.
                          • As the least significant R/W bit is used to indicate data transfer direction, default slave
                            address 55h recalculates to an I²C write address AAh and an I²C read address ABh
                            respectively.
                          • 16 bytes (one block) written in 4 ms (EEPROM) or 0.4 ms (SRAM)
                                    2                                   2                  2
                          • NTAG I C plus can be used as standard I C EEPROM and I C SRAM

                     2.5 Security
                          • Manufacturer-programmed 7-byte UID for each device
                          • Capability container with one time programmable bits
                          • Field programmable read-only locking function per page for first 12 pages and per 16
                            (1k version) or 32 (2k version) pages for the extended memory section
                          • ECC-based originality signature
                          • 32-bit password protection to prevent unauthorized memory operations from NFC
                            perspective may be enabled for parts of, or complete memory
                                                                                             2
                          • Access to password protected data area may be restricted from I C perspective
                          • Pass-through and mirror mode operation may be password protected
                          • Protected data can be safeguarded against limited number of negative password
                            authentication attempts

                     2.6 Key benefits
                          • Full interoperability with every NFC-enabled device
                          • Smooth end-user experience with super-fast data exchange (up to 40 kbit/s) via NFC
                                  2
                            and I C interface
                          • Zero-power operation with non-volatile data storage
                          • Energy harvesting feature delivers up to 15 mW out of NFC field to power (parts of)
                            host system
                          • Data protection to prevent unauthorized data manipulation
                          • Multi-application support, enabled by memory size and segmentation options
                          • Lowest bill of materials and smallest footprint for NFC solution in embedded electronics

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Product data sheet                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                       359935                                                                               3 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 105 of 763 PageID #:
                                    1887

NXP Semiconductors
                                                                                                                         NT3H2111_2211
                      2                                               2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


3       Applications
                                        2
                          NXP NTAG I C plus is a family of connected NFC tags that combine a passive NFC
                                                    2
                          interface with a contact I C interface. As the second generation of NXP’s industry-leading
                          connected-tag technology, these devices maintain full backward compatibility with first-
                                              2
                          generation NTAG I C products, while adding new, advanced features for password
                          protection, full memory-access configuration from both interfaces, and an originality
                          signature for protection against cloning.
                          The second-generation technology provides four times higher pass-through performance,
                                                                               2
                          along with energy harvesting capabilities, yet NTAG I C plus devices are optimized for
                          use in NFC applications like:
                          •   IoT nodes (home automation, smart home, etc.)
                          •   Pairing and configuration of consumer applications
                          •   NFC accessories (headsets, speakers, etc.)
                          •   Wearable infotainment
                          •   Fitness equipment
                          •   Consumer electronics
                          •   Healthcare
                          •   Smart printers
                          •   Meters
                          •   Electronic shelf labels




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Product data sheet                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                       359935                                                                               4 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 106 of 763 PageID #:
                                    1888

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


4       Ordering information
Table 1. Ordering information
Type number               Package
                          Name      Description                                                                                            Version
NT3H2111W0FHK             XQFN8     Plastic, extremely thin quad flat package; no leads; 8 terminals; body 1.6 x                           SOT902-3
                                    1.6 x 0.5 mm; 1k bytes memory, 50 pF input capacitance
NT3H2211W0FHK             XQFN8     Plastic, extremely thin quad flat package; no leads; 8 terminals; body 1.6 x                           SOT902-3
                                    1.6 x 0.5 mm; 2k bytes memory, 50 pF input capacitance
NT3H2111W0FTT             TSSOP8    Plastic thin shrink small outline package; 8 leads; body width 3 mm; 1k                                SOT505-1
                                    bytes memory; 50 pF input capacitance
NT3H2211W0FTT             TSSOP8    Plastic thin shrink small outline package; 8 leads; body width 3 mm; 2k                                SOT505-1
                                    bytes memory; 50 pF input capacitance
NT3H2111W0FT1             SO8       Plastic small outline package; 8 leads; body width 3.9 mm, 1k bytes                                    SOT96-1
                                    memory; 50 pF input capacitance
NT3H2211W0FT1             SO8       Plastic small outline package; 8 leads; body width 3.9 mm, 2k bytes                                    SOT96-1
                                    memory; 50 pF input capacitance
NT3H2111W0FUG             FFC       8 inch wafer, 150um thickness, on film frame carrier, electronic fail die -
                          bumped    marking according to SECS-II format), Au bumps, 1k Bytes memory, 50 pF
                                    input capacitance
NT3H2211W0FUG             FFC       8 inch wafer, 150um thickness, on film frame carrier, electronic fail die -
                          bumped    marking according to SECS-II format), Au bumps, 2k Bytes memory, 50 pF
                                    input capacitance
REMARK: Wafer specification addendum is available after exchange of a non-disclosure agreement (NDA)




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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                               5 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 107 of 763 PageID #:
                                    1889

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                                                                                                                     NT3H2111_2211
                      2                                           2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


5       Marking
                          Table 2. Marking codes
                                                                                                             Marking code
                          Type number
                                                       Line 1                                        Line 2                 Line 3
                          NT3H2111W0FHK                211                                           -                      -
                          NT3H2211W0FHK                221                                           -                      -
                          NT3H2111W0FTT                32111                                         DBSN ASID              YWW
                          NT3H2211W0FTT                32211                                         DBSN ASID              YWW
                          NT3H2111W0FT1                NT32111                                       DBSN ASID              nDYWW
                          NT3H2211W0FT1                NT32211                                       DBSN ASID              nDYWW

                          Used abbreviations:
                          DBSN: Diffusion Batch Sequence Number
                          ASID: Assembly Sequence ID
                          n: Assembly Centre Code
                          D: RHF-2006 indicator
                          Y: year
                          WW: week




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Product data sheet                                       Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                   359935                                                                                     6 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 108 of 763 PageID #:
                                    1890

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                                                                                                                      NT3H2111_2211
                      2                                            2
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6       Block diagram

                                                                       VCC                     GND                    Vout



                                                                                 POWER MANAGEMENT/                            I2C
                                                                                 ENERGY HARVESTING                           SLAVE



                                  LA                                             DIGITAL CONTROL UNIT                        MEMORY              SDA


                                              RF                           ARBITER/STATUS
                                          INTERFACE                          REGISTERS                           I2C
                                                                                                               CONTROL
                                                                                                                             EEPROM
                                  LB                                        ANTICOLLISION                                                        SCL


                                                                                                               MEMORY
                                                                               COMMAND                        INTERFACE
                                                                             INTERPRETER                                      SRAM



                                                                                                FD
                                                                                                                                       aaa-010358


                           Figure 2. Block diagram




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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                                         7 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 109 of 763 PageID #:
                                    1891

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                                                                                                                            NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


7       Pinning information

                     7.1 Pinning


                    7.1.1 XQFN8

                                                                                                 LB
                                                                                                  8
                                                                       LA    1                                          7     VOUT



                                                                   VSS       2                                          6     VCC



                                                                   SCL       3                                          5     SDA
                                                                                                  4
                                                                                                 FD

                                                                                      Transparent top view
                                                                                                                        aaa-021647

                           Figure 3. Pin configuration for XQFN8

                          Detailed package and soldering information may be found in Section 17.

                    7.1.2 TSSOP8


                                                                         LA 1                                         8 LB
                                                                       VSS 2                                          7 VOUT
                                                                       SCL 3                                          6 VCC
                                                                        FD 4                                          5 SDA

                                                                                                                      aaa-021648

                           Figure 4. Pin configuration for TSSOP8

                          Detailed package and soldering information may be found in Section 17.

                    7.1.3 SO8

                                                                            LA    1                               8      LB

                                                                        VSS       2                               7      VOUT

                                                                        SCL       3                               6      VCC

                                                                          FD      4                               5      SDA

                                                                                                 aaa-021649

                           Figure 5. Pin configuration for SO8

                          Detailed package and soldering information may be found in Section 17.



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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                                         8 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 110 of 763 PageID #:
                                    1892

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                                                                                                                     NT3H2111_2211
                      2                                           2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     7.2 Pin description
                          Table 3. Pin description for XQFN8, TSSOP8 and SO8
                          Pin              Symbol                  Description
                          1                LA                      Antenna connection LA
                          2                VSS                     GND
                                                                                           2
                          3                SCL                     Serial clock I C
                          4                FD                      Field detection
                                                                                         2
                          5                SDA                     Serial data I C
                          6                VCC                     VCC in connection (external power supply)
                          7                VOUT                    Voltage out (energy harvesting)
                          8                LB                      Antenna connection LB




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Product data sheet                                       Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                   359935                                                                               9 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 111 of 763 PageID #:
                                    1893

NXP Semiconductors
                                                                                                                         NT3H2111_2211
                       2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


8       Functional description

                     8.1 Block description
                                    2
                           NTAG I C plus ICs consist of EEPROM, SRAM, NFC interface, Digital Control Unit
                                                                                           2
                           (Command interpreter, Anticollision, Arbiter/Status registers, I C control and Memory
                                                                                                 2
                           Interface), Power Management and Energy Harvesting Unit and an I C slave interface.
                           Energy and data are transferred via an antenna consisting of a coil with a few turns,
                                                                 2
                           which is directly connected to NTAG I C plus IC.

                     8.2 NFC interface
                           The passive NFC-interface is based on the ISO/IEC 14443-3 Type A standard.
                           It requires to be supplied by an NFC field (e.g. NFC enabled device) always to be able to
                           receive appropriate commands and send the related responses.
                           As defined in ISO/IEC 14443-3 Type A for both directions of data communication, there
                           is one start bit (start of communication) at the beginning of each frame. Each byte is
                           transmitted with an odd parity bit at the end. The least significant bit of the byte 0 of the
                           selected block is transmitted first.
                           For a multi-byte parameter, the least significant byte is always transmitted first. For
                           example, when reading from the memory using the READ command, byte 0 from the
                           addressed block is transmitted first, followed by bytes 1 to byte 3 out of this block. The
                           same sequence continues for the next block and all subsequent blocks.

                    8.2.1 Data integrity
                           The following mechanisms are implemented in the contactless communication link
                                                                2
                           between the NFC device and the NTAG I C plus IC to ensure very reliable data
                           transmission:
                           •   16 bits CRC per block
                           •   Parity bits for each byte
                           •   Bit count checking
                           •   Bit coding to distinguish between "1", "0" and "no information"
                           •   Channel monitoring (protocol sequence and bit stream analysis)
                           The commands are initiated by the NFC device and controlled by the Digital Control Unit
                                        2
                           of the NTAG I C plus IC. The command response depends on the state of the IC, and for
                           memory operations, the access conditions valid for the corresponding page.




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Product data sheet                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                       359935                                                                             10 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 112 of 763 PageID #:
                                    1894

NXP Semiconductors
                                                                                                                            NT3H2111_2211
                        2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     8.2.2 NFC state machine

                                                                                                                         POR




                                                            HALT                                                         IDLE



                                                                                                          REQA                                               identification
                                                                        WUPA
                                                                                                          WUPA                                                    and
                                                                                                                                                                selection
                                                                                                                                                               procedure


                                                                                      READY 1                                   ANTICOLLISION



                                                                                     SELECT
                                                                                  cascade level 1



                                     HLTA                                             READY 2                                   ANTICOLLISION
                              HLTA


                                                                                     SELECT
                                                                                  cascade level 2
                                                                                                                                         READ
                                                                                                                                      FAST_READ
                                                                                       ACTIVE                                           WRITE
                                                                                                                                      FAST_WRITE
                                                                                                                                     GET_VERSION
                                                                                                                                       READ_SIG
                                                                                                                                                               memory
                                                                                    PWD_AUTH                                                                  operations
                                                                                                                                         READ
                                                                                                                                      FAST_READ
                                                                                                                                        WRITE
                                                                               AUTHENTICATED
                                                                                                                                      PWD_AUTH
                                                                                                                                     GET_VERSION
                                                                                                                                       READ_SIG
                                                                                                                                                               aaa-021650
                                                                                            2
                            Figure 6. NFC state machine of NTAG I C plus

                            The overall NFC state machine is summarized in Figure 6. When an error is detected or
                            an unexpected command is received, in each state the tag returns to IDLE or HALT state
                            as defined in ISO/IEC 14443-3 Type A.

                    8.2.2.1 IDLE state
                                                                                                      2
                            After a Power-On Reset (POR), the NTAG I C plus switches to the default waiting state,
                            namely the IDLE state. It exits IDLE towards READY 1 state when a REQA or a WUPA
                            command is received from the NFC device. Any other data received while in IDLE state
                                                                      2
                            is interpreted as an error, and the NTAG I C plus remains in the IDLE state.

                    8.2.2.2 READY 1 state

                            In the READY 1 state, the NFC device resolves the first part of the UID (3 bytes) using
                            the ANTICOLLISION or SELECT commands for cascade level 1. READY 1 state is
                            correctly exited after.
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Product data sheet                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                       359935                                                                                               11 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 113 of 763 PageID #:
                                    1895

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                        2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                            • receiving SELECT command from cascade level 1 with the matching of complete first
                                                                                               2
                              part of the UID. In this case, the NFC device switches the NTAG I C plus into READY 2
                              state where the second part of the UID gets resolved.
                                                                                         2
                            Remark: The response of the NTAG I C plus to the SELECT command is the Select
                            AcKnowledge (SAK) byte with cascade bit set to 1b indicating that UID is not complete.

                    8.2.2.3 READY 2 state

                            In the READY 2 state, the NFC device resolves the second part of the UID (4 bytes)
                            using the ANTICOLLISION or SELECT command for cascade level 2. READY2 state is
                            correctly exited after.
                            • receiving SELECT command from cascade level 2 with the matching of complete
                                                                                                      2
                              second part of the UID. In this case, the NFC device switches the NTAG I C plus into
                              ACTIVE state where all application-related commands can be executed.
                                                                                         2
                            Remark: The response of the NTAG I C plus to the SELECT command in READY 2
                            state is the Select AcKnowledge (SAK) byte with cascade bit cleared to indicate, that
                                     2
                            NTAG I C plus is now uniquely selected and only this device will communicate with the
                            NFC device even when other contactless devices are present in the NFC device field.

                    8.2.2.4 ACTIVE state

                            All unprotected memory operations are operated in the ACTIVE and AUTHENTICATED
                            states.
                            The ACTIVE state is exited with the PWD_AUTH command or with the HLTA command.
                                                                                                                                                2
                            Upon reception of a correct password within PWD_AUTH command, the NTAG I C plus
                            transits to AUTHENTICATED state after responding with PACK.
                                                                                         2
                            With the HLTA command, the NTAG I C plus transits to the HALT state.
                            Any other invalid command in ACTIVE state is interpreted as an error. Depending on its
                                                      2
                            previous state, the NTAG I C plus returns to either to the IDLE or HALT state.

                    8.2.2.5 AUTHENTICATED state

                            Protected memory operations are only operated in the AUTHENTICATED state, however
                            access to the unprotected memory is possible, too.
                            The AUTHENTICATED state is exited with the HLTA command and upon reception, the
                                  2
                            NTAG I C plus transits to the HALT state.
                            Any other invalid command in AUTHENTICATED state is interpreted as an error.
                                                                       2
                            Depending on its previous state, the NTAG I C plus returns to either to the IDLE or HALT
                            state.

                    8.2.2.6 HALT state
                                                                                                                                                     2
                            HALT and IDLE states constitute the two waiting states implemented in the NTAG I C
                                                               2
                            plus. An already processed NTAG I C plus in ACTIVE or AUTHENTICATED state can be
                            set into the HALT state using the HLTA command. In the anticollision phase, this state
                            helps the NFC device distinguish between processed tags and tags yet to be selected.
                                         2
                            The NTAG I C plus can only exit HALT state upon execution of the WUPA command.
                            Any other data received when the device is in this state is interpreted as an error, and
                                    2
                            NTAG I C plus state remains unchanged.


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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                               12 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 114 of 763 PageID #:
                                    1896

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     8.3 Memory organization
                          The memory map is detailed in Table 4 (1k memory) and Table 5 (2k memory) from
                                                                                                         2
                          the NFC interface and in Table 6 (1k memory) and Table 7 (2k memory) from the I C
                          interface. The SRAM memory is only available and accessible when powered via VCC.
                          Please refer to Section 11 for examples of memory map from the NFC interface with
                          SRAM mapping.
                          The structure of manufacturing data, static and dynamic lock bytes, capability container
                          and user memory pages are compatible with other NTAG products.
                          Any memory access which starts at a valid address and extends into an invalid access
                          region will return 00h value for the invalid region.
                          Bits and bytes mareked as reserved for future use (RFU) SHALL NOT be changed, as it
                          may lead to unintended tag behaviour.

                    8.3.1 Memory map from NFC perspective
                          Memory access from the NFC perspective is organized in pages of 4 bytes each. If
                          password protection is not used, complete user memory is unprotected.




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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                             13 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 115 of 763 PageID #:
                                    1897

NXP Semiconductors
                                                                                                                           NT3H2111_2211
                           2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                     2
Table 4. NTAG I C plus 1k memory organization from the NFC perspective
    Sector          Page address                   Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.      0                      1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                        Serial number (UID)                                                           READ

                      1         01h            Serial number (UID)                                           Internal                    READ

                      2         02h           Internal                                  Static lock bytes                            READ/R&W

                      3         03h                   Capability Container (CC)                                                   READ&WRITE

                      4         04h
                                                      Unprotected user memory                                                     READ&WRITE
                     ...        ...

                    AUTH0      AUTH0
                                                                                                                                   1
                     ...        ...                     Protected user memory                                                 READ              READ&WRITE
                     225        E1h

                     226        E2h            Dynamic lock bytes                                               00h                  R&W/READ
                                                                                                                                   1
                     227        E3h     RFU                   RFU                     RFU                    AUTH0            READ              READ&WRITE
                                                                                                                                   1
                     228        E4h    ACCESS                 RFU                     RFU                      RFU            READ              READ&WRITE
                                                                                  2                                                1
                     229        E5h                                     PWD                                                   READ              READ&WRITE
                                                          2                                                                        1
                     230        E6h           PACK                                    RFU                      RFU            READ              READ&WRITE
                                                                                                                                   1
                     231        E7h    PT_I2C                 RFU                     RFU                      RFU            READ              READ&WRITE

                     232        E8h
                                                         Configuration registers                                                       see 8.3.12
                     233        E9h

                     234        EAh
                                                   Invalid access - returns NAK                                                           n.a.
                     235        EBh

                     236        ECh
                                                              Session registers                                                        see 8.3.12
                     237        EDh

                     238        EEh
                                                   Invalid access - returns NAK                                                           n.a.
                     239        EFh

                     240        F0h

                     ...        ...                Invalid access - returns NAK                                                           n.a.
                     255        FFh

        1            ...        ...                Invalid access - returns NAK                                                           n.a.

        2            ...        ...                Invalid access - returns NAK                                                           n.a.

        3             0         00h
                                                   Invalid access - returns NAK                                                           n.a.
                     ...        ...

                     248        F8h
                                                      Mirrored session registers                                                       see 8.3.12
                     249        F9h


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Product data sheet                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                         359935                                                                                       14 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 116 of 763 PageID #:
                                    1898

NXP Semiconductors
                                                                                                                           NT3H2111_2211
                           2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


    Sector          Page address                   Byte number within a page                                               Access cond.          Access cond.
    address         Dec.       Hex.       0                     1                        2                         3       ACTIVE state           AUTH. state

                     ...        ...
                                                   Invalid access - returns NAK                                                           n.a.
                    255        FFh
1                                         2
    If NFC_PROT bit is set to 1b, NTAG I C plus returns NAK
2                                     2
    On reading PWD or PACK, NTAG I C plus always returns 00h for all bytes




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Product data sheet                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                         359935                                                                                       15 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 117 of 763 PageID #:
                                    1899

NXP Semiconductors
                                                                                                                           NT3H2111_2211
                           2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                     2
Table 5. NTAG I C plus 2k memory organization from the NFC perspective
    Sector          Page address                   Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.      0                      1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                        Serial number (UID)                                                           READ

                      1         01h            Serial number (UID)                                           Internal                    READ

                      2         02h           Internal                                  Static lock bytes                            READ/R&W

                      3         03h                   Capability Container (CC)                                                   READ&WRITE

                      4         04h
                                                      Unprotected user memory                                                     READ&WRITE
                     ...        ...

                    AUTH0      AUTH0
                                                                                                                                   1
                     ...        ...                     Protected user memory                                                 READ              READ&WRITE
                     225        E1h

                     226        E2h            Dynamic lock bytes                                               00h                  R&W/READ
                                                                                                                                   1
                     227        E3h     RFU                   RFU                     RFU                    AUTH0            READ              READ&WRITE
                                                                                                                                   1
                     228        E4h    ACCESS                 RFU                     RFU                      RFU            READ              READ&WRITE
                                                                                  2                                                1
                     229        E5h                                     PWD                                                   READ              READ&WRITE
                                                          2                                                                        1
                     230        E6h           PACK                                    RFU                      RFU            READ              READ&WRITE
                                                                                                                                   1
                     231        E7h    PT_I2C                 RFU                     RFU                      RFU            READ              READ&WRITE

                     232        E8h
                                                         Configuration registers                                                       see 8.3.12
                     233        E9h

                     234        EAh
                                                   Invalid access - returns NAK                                                           n.a.
                     235        EBh

                     236        ECh
                                                              Session registers                                                        see 8.3.12
                     237        EDh

                     238        EEh

                     ...        ...                Invalid access - returns NAK                                                           n.a.
                     255        FFh

                      0         00h
                                                                                                      3,4                       see protected user
        1            ...        ...              (Un-)protected user memory
                                                                                                                                memory in Sector 0
                     255        FFh

        2            ...        ...                Invalid access - returns NAK                                                           n.a.

        3             0         00h
                                                   Invalid access - returns NAK                                                           n.a.
                     ...        ...

                     248        F8h
                                                      Mirrored session registers                                                       see 8.3.12
                     249        F9h


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Product data sheet                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                         359935                                                                                       16 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 118 of 763 PageID #:
                                    1900

NXP Semiconductors
                                                                                                                           NT3H2111_2211
                           2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


    Sector          Page address                   Byte number within a page                                               Access cond.          Access cond.
    address         Dec.       Hex.       0                     1                        2                         3       ACTIVE state           AUTH. state

                     ...        ...
                                                   Invalid access - returns NAK                                                           n.a.
                    255        FFh
1                                         2
    If NFC_PROT bit is set to 1b, NTAG I C plus returns NAK
2                                     2
    On reading PWD or PACK, NTAG I C plus always returns 00h for all bytes
3                                                                           2
    If 2K_PROT bit is set to 1b, complete Sector 1 of NTAG I C plus is password protected
4                                                                                        2
    If NFC_DIS_SEC1 bit is set to 1b, complete Sector 1 of NTAG I C plus is not accessible from NFC perspective




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Product data sheet                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                         359935                                                                                       17 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 119 of 763 PageID #:
                                    1901

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                                                        2
                    8.3.2 Memory map from I C interface
                                                                         2                                   2
                          The memory access of NTAG I C plus from the I C interface is organized in blocks of 16
                          bytes each.
                          I²C slave address is stored in most significant 7 bits of byte 0 in block 0. However, when
                                                   2
                          reading block 0, NTAG I C plus always returns 04h for byte 0.
                          WARNING: When configuring Static lock bytes and Capability container, Address byte
                          gets updated, too. Address byte consists of slave address (coded in most significant 7
                          bits) and least significant bit set to 0b.
                          REMARK: For convenience reasons it is recommended to configure Address byte (block
                          0, byte 0) to 04h.




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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                             18 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 120 of 763 PageID #:
                                    1902

NXP Semiconductors
                                                                                                                                          NT3H2111_2211
                              2                                                        2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                          2                                                                       2
Table 6. NTAG I C plus 1k memory organization from the I C perspective
                                              Byte number within a block                                                                  Access conditions
      2                             0                 1                    2                       3
     I C block                                                                                                                                2
                                                                                                                                             I C_PROT
      address                       4                 5                    6                       7

                                    8                 9                   10                      11
                                                                                                                              00b                 01b                       1xb
  Dec.         Hex.                12                13                   14                      15
                                          1
     0          00h               Addr.                    Serial number (UID)

                                          Serial number (UID)                                Internal
                                                                                                                                            READ&WRITE
                                          Internal                       Static lock bytes

                                               Capability Container (CC)

     1          01h
                                               Unprotected user memory                                                                      READ&WRITE
    ...             ...

AUTH0 AUTH0

    ...             ...                         Protected user memory                                             READ&WRITE                      READ                     NAK
    55          37h
    56          38h                             Protected user memory                                             READ&WRITE                      READ                     NAK
                                          Dynamic lock bytes                                     00h

                                  RFU                RFU                RFU                   AUTH0
    57          39h           ACCESS                 RFU                RFU                     RFU
                                                                    2
                                                                                                                                            READ&WRITE
                                                            PWD
                                                 2
                                          PACK                          RFU                     RFU

                              PT_I2C                 RFU                RFU                     RFU
    58          3Ah                                   Configuration
                                                                                                                                              see 8.3.12
                                                           registers

                                   00h               00h                 00h                     00h
                                                                                                                                                  READ
                                   00h               00h                 00h                     00h

    59          3Bh

    ...             ...                       Invalid access - returns NAK                                                                        n.a.
   247          F7h

   248          F8h

    ...             ...                        SRAM memory (64 bytes)                                                                       READ&WRITE
   251          FBh

    ...             ...                       Invalid access - returns NAK                                                                        n.a.

   254          FEh                                        Session
                                                                                                                                              see 8.3.12
                                                           registers

                                   00h               00h                 00h                     00h                                              READ


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Product data sheet                                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                         359935                                                                                        19 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 121 of 763 PageID #:
                                    1903

NXP Semiconductors
                                                                                                                                NT3H2111_2211
                      2                                                  2
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                                Byte number within a block                                                                      Access conditions
      2                    0           1                     2                       3
      I C block                                                                                                                     2
                                                                                                                                   I C_PROT
      address              4           5                     6                       7

                           8           9                    10                      11
                                                                                                                00b                     01b                     1xb
    Dec.       Hex.       12          13                    14                      15

                          00h         00h                  00h                     00h

    255         FFh             Invalid access - returns NAK                                                                            n.a.
1                                                                                                                           2
    The byte 0 of block 0 is always read as 04h (UID0). Writing to block 0 updates the I C address.
2                                          2
    On reading PWD and PACK, NTAG I C plus always returns 00h for all bytes




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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                          20 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 122 of 763 PageID #:
                                    1904

NXP Semiconductors
                                                                                                                                          NT3H2111_2211
                              2                                                        2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                          2                                                                       2
Table 7. NTAG I C plus 2k memory organization from the I C perspective
                                              Byte number within a block                                                                  Access conditions
      2                             0                 1                    2                       3
     I C block                                                                                                                                2
                                                                                                                                             I C_PROT
      address                       4                 5                    6                       7

                                    8                 9                   10                      11
                                                                                                                              00b                 01b                       1xb
  Dec.         Hex.                12                13                   14                      15
                                          1
     0          00h               Addr.                    Serial number (UID)

                                          Serial number (UID)                                Internal
                                                                                                                                            READ&WRITE
                                          Internal                       Static lock bytes

                                               Capability Container (CC)

     1          01h
                                               Unprotected user memory                                                                      READ&WRITE
    ...             ...

 AUTH0 AUTH0
                                                Protected user memory                                             READ&WRITE                      READ                     NAK
    ...             ...
    56          38h                             Protected user memory                                              READ&WRITE                     READ                     NAK
                                                Protected user memory

                                          Dynamic lock bytes                                     00h

                                  RFU                RFU                RFU                   AUTH0
    57          39h           ACCESS                 RFU                RFU                     RFU
                                                                    2
                                                                                                                                            READ&WRITE
                                                            PWD
                                                 2
                                          PACK                          RFU                     RFU

                              PT_I2C                 RFU                RFU                     RFU
    58          3Ah                                   Configuration
                                                                                                                                              see 8.3.12
                                                           registers

                                   00h               00h                 00h                     00h
                                                                                                                                                  READ
                                   00h               00h                 00h                     00h

    ...             ...                       Invalid access - returns NAK                                                                        n.a.

    64          40h

    ...             ...                       (Un-)protected user memory                                           READ&WRITE                     READ                     NAK
   127          7Fh

    ...             ...                       Invalid access - returns NAK                                                                        n.a.

   248          F8h

    ...             ...                        SRAM memory (64 bytes)                                                                       READ&WRITE
   251          FBh

    ...             ...                       Invalid access - returns NAK                                                                        n.a.



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Product data sheet                                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                         359935                                                                                        21 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 123 of 763 PageID #:
                                    1905

NXP Semiconductors
                                                                                                                                    NT3H2111_2211
                        2                                                    2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                                  Byte number within a block                                                                        Access conditions
      2                      0           1                       2                       3
      I C block                                                                                                                         2
                                                                                                                                        I C_PROT
      address                4           5                       6                       7

                             8           9                      10                      11
                                                                                                                    00b                     01b                       1xb
    Dec.       Hex.         12          13                      14                      15
    254         FEh                              Session
                                                                                                                                        see 8.3.12
                                                 registers

                            00h        00h                     00h                     00h
                                                                                                                                            READ
                            00h        00h                     00h                     00h

    255         FFh               Invalid access - returns NAK                                                                              n.a.
1                                                                                                                               2
    The byte 0 of block 0 is always read as 04h (UID0). Writing to block 0 updates the I C address.
2                                            2
    On reading PWD and PACK, NTAG I C plus always returns 00h for all bytes


                      8.3.3 EEPROM
                             The EEPROM is a non-volatile memory that stores the 7 byte UID, the memory lock
                             conditions, IC configuration information and the user memory.
                                                                                                                                    2
                             Sector 0 memory map looks totally the same for NTAG I C plus 1k and 2k version, the
                             only difference is the dynamic lock bit granularity.
                                                                              2
                             NXP introduced with NTAG I C plus the possibility to split the memory in an open and a
                             password protected area see Section 8.3.11.

                      8.3.4 SRAM
                             For frequently changing data, a volatile memory of 64 bytes with unlimited endurance is
                             built in. The 64 bytes are mapped in a similar way as done in the EEPROM, i.e., 64 bytes
                             are seen as 16 pages of 4 bytes from NFC perspective.
                             The SRAM is only available when the tag is powered via the VCC pin.
                             The SRAM is located at the end of the memory space and it is always directly accessible
                                     2
                             by the I C host (addresses F8h to FBh). An NFC device cannot access the SRAM
                             memory in normal mode (i.e., outside the pass-through mode). The SRAM is only
                             accessible by the NFC device if the SRAM is mirrored onto the EEPROM memory space.
                             With SRAM mirror enabled (SRAM_MIRROR_ON_OFF = 1b - see Section 11.2), the
                             SRAM can be mirrored in the User Memory from start page 01h to 74h for access from
                             the NFC side.
                             The Memory mirror must be enabled once both interfaces are ON as this feature is
                             disabled after each POR.
                             The register SRAM_MIRROR_BLOCK (see Table 14) indicates the address of the first
                             page of the SRAM buffer. In the case where the SRAM mirror is enabled and the READ
                             command is addressing blocks where the SRAM mirror is located, the SRAM byte values
                             will be returned instead of the EEPROM byte values. Similarly, if the tag is not VCC
                             powered, the SRAM mirror is disabled and reading out the bytes related to the SRAM
                             mirror position would return the values from the EEPROM.


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Product data sheet                                                   Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                               359935                                                                                            22 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 124 of 763 PageID #:
                                    1906

NXP Semiconductors
                                                                                                                                     NT3H2111_2211
                       2                                                      2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                           In the pass-through mode (PTHRU_ON_OFF = 1b - see Section 8.3.12), the SRAM
                           is mirrored to the fixed address F0h - FFh for NFC access (see Section 11) in the first
                                                                2
                           memory sector (Sector 0) of NTAG I C plus.

                    8.3.5 Serial number (UID)
                           The unique 7-byte serial number (UID) is programmed into the first 7 bytes of memory
                           covering page addresses 00h and 01h - see Figure 7. These bytes are programmed and
                           write protected during production.
                           UID0 is fixed to the value 04h - the manufacturer ID for NXP Semiconductors in
                           accordance with ISO/IEC 14443-3.

                                                   MSB                                              LSB
                                                    0    0       0        0     0       1      0       0     manufacturer ID for NXP Semiconductors (04h)



                                                                          page 0                                                 page 1                            page 2
                                             byte UID0 UID1 UID2 UID3                                UID4 UID5 UID6 SAK                           0    1       2        3


                                                                                                            7 bytes UID                        ATQA0
                                                                                                                                                  ATQA1
                                                                                                                                                           lock bytes
                                                                                                                                                            aaa-012802

                           Figure 7. Serial number (UID)


                    8.3.6 Static Lock Bytes
                           According to NFC Forum Type 2 Tag specification, the bits of byte 2 and byte 3 of page
                                                                               2
                           02h (via NFC) or byte 10 and 11 address 00h (via I C) represent the field programmable,
                           read-only locking mechanism (see Figure 8). Each page from 03h (CC) to 0Fh can be
                           individually locked by setting the corresponding locking bit to logic 1b to prevent further
                           write access. After locking, the corresponding page becomes read-only memory.
                           This read only locking is address-based. This means, when SRAM is mirrored to these
                           blocks, also SRAM blocks are read only from NFC prespective.
                                                           2
                           In addition, NTAG I C plus uses the three least significant bits of lock byte 0 as the
                           block-locking bits. Bit 2 controls pages 0Ah to 0Fh (via NFC), bit 1 controls pages 04h
                           to 09h (via NFC) and bit 0 controls page 03h (CC). Once the block-locking bits are set,
                           the locking configuration for the corresponding memory area is frozen, e.g. cannot be
                           changed to read-only anymore.

                                        MSB                                                                 LSB          MSB                                                        LSB
                                          L        L         L        L        L        BL         BL        BL             L         L    L      L     L           L       L         L
                                          7        6         5        4       CC       15-10       9-4       CC            15        14   13     12    11          10       9         8




                            page 2
                             0    1      2     3


                              lock byte 0                        Lx locks page x to read-only
                                     lock byte 1                 BLx blocks further locking for the memory area x                                                            aaa-006983

                           Figure 8. Static lock bytes 0 and 1


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Product data sheet                                                   Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                               359935                                                                                                  23 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 125 of 763 PageID #:
                                    1907

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          For example, if BL15-10 is set to logic 1b, then bits L15 to L10 (lock byte 1, bit[7:2]) can
                          no longer be changed. The static locking and block-locking bits are set by the bytes 2
                          and 3 of the WRITE command to page 02h. The contents of the lock bytes are bit-wise
                          OR’ed and the result then becomes the new content of the lock bytes. This process
                          is irreversible from NFC perspective. If a bit is set to logic 1b, it cannot be changed
                                                  2
                          back to logic 0b. From I C perspective, the bits can be reset to 0b by writing bytes 10
                                                    2
                          and 11 of block 00h. As I C address is coded in byte 0 of block 0, it may be changed
                          unintentionally.
                          The contents of bytes 0 and 1 of page 02h (via NFC) are unaffected by the
                          corresponding data bytes of the WRITE command.
                          The default value of the static lock bytes is 0000h.

                    8.3.7 Dynamic Lock Bytes
                                                                    2
                          To lock the pages of NTAG I C plus starting at page address 16 and onwards, the
                          dynamic lock bytes are used. The dynamic lock bytes are located in Sector 0 at page
                                                                                                     2
                          E2h. The three lock bytes cover the memory area of 840 data bytes (NTAG I C plus 1k)
                                                        2                                              2
                          or 1864 data bytes (NTAG I C plus 2k). The granularity is 16 pages for NTAG I C plus 1k
                                                                   2
                          (see Figure 9) and 32 pages for NTAG I C plus 2k (see Figure 10) compared to a single
                          page for the first 48 bytes (see Figure 8).
                                 2
                          NTAG I C plus needs a Lock Control TLV as specified in NFC Forum Type 2 Tag
                          specification to ensure NFC Forum Type 2 Tag compliancy.
                          When NFC Forum Type 2 Tag transition to READ ONLY state is intended, all bits marked
                          as RFUI and dynamic lock bits related to the protected area shall be set to 0b when
                          writing to the dynamic lock bytes.
                          The default value of the dynamic lock bytes is 000000h. The value of Byte 3 is always
                          00h when read.
                          Like for the static lock bytes, this process of modifying the dynamic lock bits is
                          irreversible from NFC perspective and applies also for potentially mirrored SRAM. If a bit
                                                                                           2
                          is set to logic 1b, it cannot be changed back to logic 0b. From I C interface, these bits
                          can be set to 0b again.




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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                             24 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 126 of 763 PageID #:
                                    1908

NXP Semiconductors
                                                                                                                                                             NT3H2111_2211
                      2                                                                  2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                             MSB                                                                                  LSB          MSB                                                                                                          LSB




                            LOCK PAGE


                                        LOCK PAGE


                                                    LOCK PAGE


                                                                 LOCK PAGE


                                                                             LOCK PAGE


                                                                                         LOCK PAGE


                                                                                                     LOCK PAGE


                                                                                                                  LOCK PAGE




                                                                                                                                                             LOCK PAGE


                                                                                                                                                                             LOCK PAGE


                                                                                                                                                                                            LOCK PAGE


                                                                                                                                                                                                               LOCK PAGE


                                                                                                                                                                                                                              LOCK PAGE


                                                                                                                                                                                                                                            LOCK PAGE
                              128-143




                                                                                                                                                               224-225


                                                                                                                                                                               208-223


                                                                                                                                                                                              192-207


                                                                                                                                                                                                                 176-191


                                                                                                                                                                                                                                160-175


                                                                                                                                                                                                                                              144-159
                                          112-127


                                                      96-111


                                                                   80-95


                                                                               64-79


                                                                                           48-63


                                                                                                       32-47


                                                                                                                    16-31



                                                                                                                                RFUI


                                                                                                                                                RFUI
                             bit 7         6            5               4         3          2           1           0         bit 7               6               5              4               3                 2             1             0




                              page 226 (E2h)                    0             1             2            3




                                                                                                                               MSB                                                                                                          LSB




                                                                                                                                                BL 208-225


                                                                                                                                                                BL 176-207


                                                                                                                                                                               BL 144-175


                                                                                                                                                                                               BL 112-143


                                                                                                                                                                                                                 BL 80-111


                                                                                                                                                                                                                                BL 48-79


                                                                                                                                                                                                                                              BL 16-47
                                                                                                                                RFUI

                                                                                                                               bit 7               6               5              4               3                 2             1             0
                                                                                                                                                                                                                                     aaa-008092
                                                                2
                           Figure 9. NTAG I C plus 1k Dynamic lock bytes 0, 1 and 2


                            MSB                                                                                  LSB          MSB                                                                                                          LSB
                            LOCK PAGE


                                        LOCK PAGE


                                                    LOCK PAGE


                                                                LOCK PAGE


                                                                             LOCK PAGE


                                                                                         LOCK PAGE


                                                                                                     LOCK PAGE


                                                                                                                 LOCK PAGE




                                                                                                                              LOCK PAGE


                                                                                                                                             LOCK PAGE


                                                                                                                                                             LOCK PAGE


                                                                                                                                                                             LOCK PAGE


                                                                                                                                                                                            LOCK PAGE


                                                                                                                                                                                                              LOCK PAGE


                                                                                                                                                                                                                             LOCK PAGE


                                                                                                                                                                                                                                           LOCK PAGE
                              256-271


                                          208-225


                                                      176-207


                                                                  144-175




                                                                                                                                               464-495


                                                                                                                                                               432-463


                                                                                                                                                                               400-431


                                                                                                                                                                                              368-399


                                                                                                                                                                                                                336-367


                                                                                                                                                                                                                               304-335


                                                                                                                                                                                                                                             272-303
                                                                               112-143




                                                                                                                                496-511
                                                                                           80-111


                                                                                                       48-79


                                                                                                                   16-47




                            bit 7          6           5            4            3           2          1           0          bit 7             6               5               4              3                 2              1            0




                             page 226 (E2h)
                                                                0            1             2            3
                                Sector 0




                                                                                                                              MSB                                                                                                          LSB
                                                                                                                                               BL 400-463


                                                                                                                                                               BL 336-399


                                                                                                                                                                               BL 272-335


                                                                                                                                                                                              BL 208-271


                                                                                                                                                                                                                BL 144-207
                                                                                                                                BL 464-511




                                                                                                                                                                                                                               BL 80-143


                                                                                                                                                                                                                                             BL 16-79




                                                                                         Block Locking (BL) bits
                                                                                                                               bit 7             6               5               4              3                 2              1            0
                                                                                                                                                                                                                                     aaa-021651
                                                                    2
                           Figure 10. NTAG I C plus 2k Dynamic lock bytes 0, 1 and 2




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Product data sheet                                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                        359935                                                                                                                                                  25 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 127 of 763 PageID #:
                                    1909

NXP Semiconductors
                                                                                                                         NT3H2111_2211
                        2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     8.3.8 Capability Container (CC)
                            According to NFC Forum Type 2 Tag specification the CC is located on page 03h (see
                            Ref. 1). To keep full flexibility to split the memory into an open and protected area, the
                            default value of the CC is initialized with 00000000h during the IC production.
                            NDEF messages can only be written with NFC Forum devices, after setting these
                            CC bytes according to application-specific needs and NFC Forum specification by a
                                                         2
                            WRITE command from the I C or NFC interface. According to NFC Forum specification,
                            a bit once set to 1b, an NFC Forum Device cannot set bits of the CC back to 0b.
                                                                                                                     2
                            However, similar to the lock bits, setting these bits back to 0b is again possible from I C
                            perspective.
                                                2
                            WARNING: As I C address (byte 0) and static lock bytes (byte 10 and byte 11) are
                                                      2            2
                            coded in block 00h from I C side, the I C address may be changed or the tag may be
                            locked unintentionally, when changing CC.
                            REMARK: When reading out byte 0, NTAG I²C plus always returns 04h (UID0).
                            Therefore, for convenience reasons it is recommended to configure I²C address byte to
                            04h.
                            NXP recommends setting the size parameter of the CC only to values that the T2T_Area
                            ends at lock bit granularity boundaries when using only part of the memory for storing
                            NDEF messages. Consequently T2T_Area size should be 112 + 64*N or 888 bytes with
                            N less or equal to 13 for the 1k version, or 176 + 128*N or 2032 bytes with N less or
                            equal to 14 for the 2k version.
                            In Figure 11 it is shown how the CC is changed when going from READ/WRITE to READ
                            ONLY state according to NFC Forum.

                                                                      page 3                Example
                                         byte       0     1       2        3                possibel content after initialization         CC bytes
                                         byte E1h 10h 6Dh 00h                                  11100001          00010000    01101101   00000000

                                                                                            write command to page 3 over RF
                                                                CC bytes
                                                                                              00000000           00000000    00000000   00001111

                                                                                            result in page 3 (read-only state over RF)
                                                                                               11100001          00010000    01101101   00001111

                                                                                                                                         aaa-021725
                                                                                                                         2
                            Figure 11. Possible configuration of CC bytes of NTAG I C 1k version


                     8.3.9 User Memory pages
                            Pages 04h to E1h of Sector 0 via the NFC interface - Block 01h to 37h, plus the first 8
                                                        2                                              2
                            bytes of block 38h via the I C interface is the user memory area for NTAG I C plus 1k
                            and 2k version.
                            In addition, complete Sector 1 (page 00h to FFh) via the NFC interface - block 40h to 7Fh
                                     2                                                  2
                            via the I C interface is used as user memory area for NTAG I C plus 2k version.

                    8.3.10 Memory content at delivery
                            As described above the CC in page 03h is set to all 00h to keep the full flexibility. To
                            allow NFC Forum NDEF message reading and writing page 03h (CC) and the following
                                                            2
                            data page (NDEF TLV) of NTAG I C plus need to be initialized by the user according to
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Product data sheet                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                        359935                                                                                          26 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 128 of 763 PageID #:
                                    1910

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                       2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                           the NFC Forum Type 2 Tag specification (see Ref. 1). Table 8 shows an example of NFC
                           Forum-compliant content using the whole memory of sector 0 for NDEF messages.
                           Remark: The default content of the data pages from page 04h onwards is not defined at
                           delivery.
                                                                                                                               2
                           Table 8. Minimum memory content to be in initialized state for NTAG I C plus
                                 Page Address               Byte number within page
                                                                          0                                 1             2                           3
                           03h                                           E1h                              10h            6Dh                        00h
                           04h                                           03h                              00h            FEh                        00h


                    8.3.11 Password and Access Configuration
                                   2
                           NTAG I C plus can be configured to have password protected memory areas.
                           If this feature is used, NXP recommends changing and diversify the PWD and PACK for
                           every single chip.
                           The password and access configuration area of pages E3h to E7h (Sector 0 - see Table
                                                                                   2
                           9) via the NFC interface or blocks 38h and 39h via the I C interface are used to configure
                                                                              2
                           the password and access conditions of the NTAG I C plus. Those bit values are stored in
                           the EEPROM. Their values can be read and written by both interfaces when applicable
                           and when not locked by the register lock bits (see REG_LOCK in Table 13).
                           AUTH0 defines the starting page address of the protected area in Sector 0. NXP
                           recommends setting AUTH0 in a way always respecting the lock bit granularity. Setting
                           AUTH0 greater EBh, disables password protection.
                           The NFC_PROT bit is used to either only require a PWD_AUTH for writing data to the
                           protected area or even protect reading data from the protected area.
                           If password authentication is used, even the SRAM access can be protected by setting
                           SRAM_PROT bit to 1b.
                                                                                                                                              2
                           I2C_PROT enables the possibility to limit access to the protected area from I C
                           perspective to read only or no access at all.
                           AUTLIM value can be used to limit negative PWD_AUTH attempts.
                                                                     2
                           For the 2k version of NTAG I C plus NFC_DIS_SEC1 bit can be used to disable the
                           access to Sector 1 from NFC perspective with the 2K_PROT bit password protection for
                           Sector 1 can be enabled.
                           Once password protection is enabled, writing to Password and Access Configuration
                           bytes is only possible after a successful password authentication. On reading the PWD or
                                                 2                       2
                           PACK, from NFC or I C perspective, NTAG I C plus always returns all 00h bytes.
                           A detailed description of the mechanism and how to program all the parameters is given
                           in Section 8.7.




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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                                    27 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 129 of 763 PageID #:
                                    1911

NXP Semiconductors
                                                                                                                            NT3H2111_2211
                       2                                               2
                 NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                           Table 9. Password and Access Configuration Register
                                                                 2
                           NFC page address                     I C block address                                   Byte number from NFC perspective
                           (Sector 0)

                              Dec           Hex                   Dec                    Hex                       0              1              2                     3

                              224           E0h             56                     38h
                                                                                                                                  User Memory
                              225           E1h

                              226           E2h                                                                           Dynamic lock bytes                         00h

                              227           E3h                                                                  RFU             RFU           RFU                AUTH0
                              228           E4h                      57                   39h               ACCESS               RFU           RFU                  RFU

                              229           E5h                                                                                        PWD

                              230           E6h                                                                           PACK                 RFU                  RFU

                              231           E7h                                                              PT_I2C              RFU           RFU                  RFU

Table 10. Password and Access Configuration bytes
Bit      Field             Access Access Default                            Description
                                        2
                           via NFC via I C        values

                                                  Authentication Pointer (AUTH0)

7-0      AUTH0             R&W      R&W           FFh                       Page address of Sector 0 from which onwards the password
                                                                            authentication is required to access the user memory from NFC
                                                                            perspective, dependent on NFC_PROT bit.
                                                                            If AUTH0 is set to a page address greater than EBh, the
                                                                            password protection is effectively disabled. Password protected
                                                                            area starts from page AUTH0 and ends at page EBh.
                                                                            Password protection is excluded for Dynamic Lock Bits, session
                                                                            registers and mirrored SRAM pages.
                                                                                                             2
                                                                            REMARK: From I C interface, you have access to all
                                                                            configuration pages until REG_LOCK_I2C bit is set to 1b.
                                                   Access Conditions (ACCESS)

7        NFC_PROT          R&W      R&W           0b                        Memory protection bit:
                                                                            0b: write access to protected area is protected by the password
                                                                            1b: read and write access to protected area is protected by the
                                                                            password
6        RFU               R&W      R&W           0b                        RFU - SHALL be 0b

5        NFC_DIS_SEC1 R&W           R&W           0b                        NFC access protection to Sector 1
                                                                            0b: Sector 1 is accessible in 2k version
                                                                            1b: Sector 1 in inaccessible and returns NAK0
4-3      RFU               R&W      R&W           00b                       RFU - SHALL be 00b




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Product data sheet                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                        359935                                                                                             28 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 130 of 763 PageID #:
                                    1912

NXP Semiconductors
                                                                                                                           NT3H2111_2211
                        2                                               2
                 NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Bit      Field              Access Access Default                            Description
                                         2
                            via NFC via I C        values

2-0      AUTHLIM            R&W        R&W         000b                      Limitation of negative password authentication attempts. After
                                                                             reaching the limit, protected area is not accessible any longer.
                                                                             000b: limiting of negative password authentication attempts
                                                                             disabled.
                                                                             001b-111b: maximum number of negative password
                                                                                                         AUTHLIM
                                                                             authentication attempts is 2

                                                                 Password (PWD)

31-0 PWD                    R&W        R&W         FFFFFFFFh 32-bit password used for memory access protection.
                                                                             Reading PWD always returns 00000000h

                                                  Password Acknowledge (PACK)

15-0 PACK                   R&W        R&W         0000h                     16-bit password acknowledge used during the password
                                                                             authentication process.
                                                                             Reading PACK always returns 0000h
                                                          Protection bits (PT_I2C)

7-4      RFU                R&W        R&W         0000b                     RFU - SHALL be 0000b

3        2K_PROT            R&W        R&W         0b                        Password protection for Sector 1 for 2k version
                                                                             0b: password authentication for Sector 1 disabled
                                                                             1b: password authentication needed to access Sector 1
2        SRAM_PROT          R&W        R&W         0b                        Password protection for pass-through and mirror mode
                                                                             0b: password authentication for pass-through mode disabled
                                                                             1b: password authentication needed to access SRAM in pass-
                                                                             through mode
                                                                                                                            2
1-0      I2C_PROT           R&W        R&W         00b                       Access to protected area from I C perspective
                                                                                                                                    2
                                                                             00b: Entire user memory accessible from I C
                                                                             01b: read and write access to unprotected user area, read only
                                                                             access to protected area
                                                                             1Xb: read and write access to unprotected area, no access to
                                                                             protected area.
                                                                                                                                2
                                                                             REMARK: Independent from these bits I C always has R&W
                                                                             access to:
                                                                             • Session registers
                                                                             • SRAM
                                                                             • Configuration pages including PWD Configuration area, but
                                                                               dependent on REG_LOCK_I2C bit

                                    2
                    8.3.12 NTAG I C configuration and session registers
                                   2
                            NTAG I C plus behavior can be configured and read in two separate locations depending
                            if the configurations shall be effective within the communication session (use session
                            registers) or by default after Power-On Reset (POR) (use configuration registers).
                            The configuration registers of pages E8h to E9h (Sector 0 - see Table 11) via the NFC
                                                            2
                            interface or block 3Ah via the I C interface are used to configure the default behavior
                                           2
                            of the NTAG I C plus. Those bit values are stored in the EEPROM and represent the
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Product data sheet                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                         359935                                                                                     29 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 131 of 763 PageID #:
                                    1913

NXP Semiconductors
                                                                                                                               NT3H2111_2211
                          2                                                2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                              default settings to be effective after POR. Their values can be read and written by
                              both interfaces when applicable and when not locked by the register lock bits (see
                              REG_LOCK in Table 13).
                                                 2
Table 11. Configuration register NTAG I C plus
                    2
NFC address I C Address                                                        Byte number from NFC perspective
(Sector 0)
  Dec       Hex     Dec       Hex            0                                         1                                         2                        3
  232       E8h      58       3Ah       NC_REG                     LAST_NDEF_BLOCK                               SRAM_MIRROR_BLOCK                 WDT_LS
  233       E9h                         WDT_MS                         I2C_CLOCK_STR                                          REG_LOCK                 RFU

                              The session register on pages ECh to EDh (Sector 0) via the NFC interface or block
                                       2
                              FEh via I C, see Table 12, are used to configure or monitor the values of the current
                              communication session. Those bits are read only via the NFC interface but may be read
                                                   2
                              and written via the I C interface.
                              For backward compatibility reasons the session registers are mirrored to Sector 3 (page
                              F8h and F9h via the NFC interface).
                                         2
Table 12. Session registers NTAG I C plus
                    2
NFC                 I C Address                                                                      Byte number
address
(Sector 0)
Dec        Hex      Dec       Hex            0                                        1                                          2                        3
236        ECh      254       FEh      NC_REG                      LAST_NDEF_BLOCK SRAM_MIRROR _BLOCK                                              WDT_LS
237        EDh                         WDT_MS                         I2C_CLOCK_STR                                           NS_REG                   RFU

                              Both, the session and the configuration registers have the same configuration options
                              and parameters except the REG_LOCK bits, which are only available in the configuration
                              register and the NS_REG bits which are only available in the session register. After POR,
                              the content of the configuration register is loaded into the session register.
                              The values of both registers can be changed during a communication session. If the
                              desired effect should be visible immediately, but only for the current communication
                              session, the session registers must be used. After POR, the session registers values will
                              again contain the configuration register values as before.
                              To change the default behavior, changes to the configuration register are needed, but the
                              related effect will only be visible after the next POR.
                              To make the effect immediately and after next POR visible, changes to configuration and
                              session registers are needed.
                              All registers and configuration default values, access conditions and descriptions are
                              defined in Table 13 and Table 14.
                                                                                                                2
                              Reading and writing the session registers via I C can only be done via the READ and
                              WRITE registers operation - see Section 9.8.




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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                   30 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 132 of 763 PageID #:
                                    1914

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Table 13. Configuration bytes
Bit      Field                     Access Access                    Default               Description
                                                2
                                   via NFC via I C                  values
                                             Configuration register: NC_REG

7        NFCS_I2C_RST_ON_OFF R&W                 R&W                0b                    Enables the NFC silence feature and enables soft
                                                                                                         2
                                                                                          reset through I C repeated start - see Section 9.3

6        PTHRU_ON_OFF              R&W           R&W                0b                    1b: pass-through mode using SRAM enabled and
                                                                                          SRAM mapped to end of Sector 0.
                                                                                          0b: pass-through mode disabled
5-4      FD_OFF                    R&W           R&W                00b                   defines the event upon which the signal output on the
                                                                                          FD pin is released
                                                                                          00b: if the field is switched off
                                                                                          01b: if the field is switched off or the tag is set to the
                                                                                          HALT state
                                                                                          10b: if the field is switched off or the last page of the
                                                                                          NDEF message has been read (defined in LAST_
                                                                                          NDEF_BLOCK)
                                                                                          11b: (if FD_ON = 11b) if the field is switched off or if
                                                                                                                2
                                                                                          last data is read by I C (in pass-through mode NFC
                                                                                                2                               2
                                                                                          ---> I C) or last data is written by I C (in pass-through
                                                                                                  2
                                                                                          mode I C---> NFC)
                                                                                          11b: (if FD_ON = 00b or 01b or 10b) if the field is
                                                                                          switched off
                                                                                          See Section 8.4 for more details

3-2      FD_ON                     R&W           R&W                00b                   defines the event upon which the signal output on the
                                                                                          FD pin is pulled low
                                                                                          00b: if the field is switched on
                                                                                          01b: by first valid start of communication (SoC)
                                                                                          10b: by selection of the tag
                                                                                                                                  2
                                                                                          11b: (in pass-through mode NFC-->I C) if the data is
                                                                                                                     2
                                                                                          ready to be read from the I C interface
                                                                                                                          2
                                                                                          11b: (in pass-through mode I C--> NFC) if the data is
                                                                                          read by the NFC interface
                                                                                          See Section 8.4 for more details

1        SRAM_MIRROR_ON_OFF R&W                  R&W                0b                    1b: SRAM mirror enabled and mirrored SRAM starts at
                                                                                          page SRAM_MIRROR_BLOCK
                                                                                          0b: SRAM mirror disabled
0        TRANSFER_DIR              R&W           R&W                1b                    defines the data flow direction when pass-through
                                                                                          mode is enabled
                                                                                                            2
                                                                                          0b: from I C to NFC interface
                                                                                                                      2
                                                                                          1b: from NFC to I C interface
                                                                                          In case the pass-through mode is NOT enabled, this
                                                                                          bit should be set to 1b, otherwise there is no WRITE
                                                                                          access from the NFC perspective
                                    Configuration register: LAST_NDEF_BLOCK



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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                                  31 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 133 of 763 PageID #:
                                    1915

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Bit      Field                      Access Access                    Default               Description
                                                 2
                                    via NFC via I C                  values
                                                                                            2                           2
7-0      LAST_NDEF_BLOCK            R&W           R&W                00h                   I C block address of I C block, which contains last
                                                                                           byte(s) of stored NDEF message. An NFC read
                                                                                                                     2
                                                                                           of the last page of this I C block sets the register
                                                                                           NDEF_DATA_READ to 1b and triggers field detection
                                                                                           pin if FD_OFF is set to 10b.
                                                                                           Valid range starts
                                                                                           from 01h (NFC page 04h)
                                                                                                                                      2
                                                                                           up to 37h (NFC page DCh) for NTAG I C plus 1k
                                                                                           or up to 7Fh (NFC page FCh on Sector 1) for NTAG
                                                                                            2
                                                                                           I C plus 2k.
                                    Configuration register: SRAM_MIRROR_BLOCK
                                                                                            2
7-0      SRAM_MIRROR_BLOCK          R&W           R&W                F8h                   I C block address of SRAM when mirrored into the
                                                                                           User memory.
                                                                                           Valid range starts
                                                                                           from 01h (NFC page 04h)
                                                                                                                                     2
                                                                                           up to 34h (NFC page D0h) for NTAG I C plus 1k
                                                                                           or up to 7Ch (NFC page F0h on memory Sector 1) for
                                                                                                   2
                                                                                           NTAG I C plus 2k
                                              Configuration register: WDT_LS

7-0      WDT_LS                     R&W           R&W                48h                   Least Significant byte of watchdog time control register
                                              Configuration register: WDT_MS

7-0      WDT_MS                     R&W           R&W                08h                   Most Significant byte of watchdog time control register.
                                                                                           When writing WDT_MS byte, the content of WDT_MS
                                                                                           and WDT_LS gets active for the watchdog timer.
                                        Configuration register: I2C_CLOCK_STR

7-1      RFU                        R&W           R&W                0000000b RFU - all 7 bits SHALL be 0b
                                                                                                                            2
0        I2C_CLOCK_STR              R&W           R&W                1b                    Enables (1b) or disable (0b) the I C clock stretching
                                           Configuration register: REG_LOCK

7-2      RFU                        R&W           R&W                000000b               RFU - all 6 bits SHALL be 0b
                          1                                                                 2
1        REG_LOCK_I2C               R&W           R&W                0b                    I C Configuration Lock Bit
                                                                                                                                                  2
                                                                                           0b: Configuration bytes may be changed via I C
                                                                                                                                                       2
                                                                                           1b: Configuration bytes cannot be changed via I C
                                                                                           Once set to 1b, cannot be reset to 0b anymore.
                              1
0        REG_LOCK_NFC               R&W           R&W                0b                    NFC Configuration Lock Bit
                                                                                           0b: Configuration bytes may be changed via NFC
                                                                                           1b… Configuration bytes cannot be changed via NFC
                                                                                           Once set to 1b, cannot be reset to 0b anymore.
1
  Setting both bits REG_LOCK_I2C and REG_LOCK_NFC to 1b, permanently locks write access to register default values
(as no write is allowed anymore). As long as one bit is still 0b, the corresponding interface can still access and change the
register lock bytes.


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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                                  32 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 134 of 763 PageID #:
                                    1916

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Table 14. Session register bytes
Bit      Field                     Access            Access                  Default              Description
                                                          2
                                   via NFC           via I C                 values
                                                    Session register: NC_REG
7        NFCS_I2C_RST_ON_OFF READ                    R&W                     -                    see configuration bytes description
6        PTHRU_ON_OFF              READ              R&W                     -                    see configuration bytes description, the bit is
                                                                                                  cleared automatically, when one of the interfaces
                                                                                                  is OFF
5-4      FD_OFF                    READ              R&W                     -                    see configuration bytes description
3-2      FD_ON                     READ              R&W
1        SRAM_MIRROR_ON_           READ              R&W                     -                    see configuration bytes description, the bit is
         OFF                                                                                      cleared automatically, when there is no Vcc power.
0        TRANSFER_DIR              READ              R&W                                          see configuration bytes description
                                       Session register: LAST_NDEF_BLOCK
7-0      LAST_NDEF_BLOCK           READ              R&W                     -                    see configuration bytes description
                                      Session register: SRAM_MIRROR_BLOCK
7-0      SRAM_MIRROR_BLOCK         READ              R&W                     -                    see configuration bytes description
                                                    Session register: WDT_LS
7-0      WDT_LS                    READ              R&W                     -                    see configuration bytes description
                                                   Session register: WDT_MS
7-0      WDT_MS                    READ              R&W                     -                    see configuration bytes description
                                           Session register: I2C_CLOCK_STR
7-2      RFU                       READ              READ                    -                    RFU, all 6 bits locked to 0b
1        NEG_AUTH_REACHED          READ              READ                    0b                   Status bit to show the number of negative PWD_
                                                                                                  AUTH attempts reached
                                                                                                  0b: PWD_AUTH still possible
                                                                                                  1b: PWD_AUTH locked
0        I2C_CLOCK_STR             READ              READ                    -                    See configuration bytes description
                                                    Session register: NS_REG
7        NDEF_DATA_READ            READ              READ                    0b                   1b: all data bytes read from the address specified
                                                                                                  in LAST_NDEF_BLOCK. Bit is reset to 0b when
                                                                                                  read
                                                                                                                                           2
6        I2C_LOCKED                READ              R&W                     0b                   1b: Memory access is locked to the I C interface
5        RF_LOCKED                 READ              READ                    0b                   1b: Memory access is locked to the NFC interface
4        SRAM_I2C_READY            READ              READ                    0b                   1b: data is ready in SRAM buffer to be read by I2C
3        SRAM_RF_READY             READ              READ                    0b                   1b: data is ready in SRAM buffer to be read by
                                                                                                  NFC
2        EEPROM_WR_ERR             READ              R&W                     0b                   1b: HV voltage error during EEPROM write or
                                                                                                  erase cycle
                                                                                                                                2
                                                                                                  Needs to be written back via I C to 0b to be
                                                                                                  cleared




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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                                  33 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 135 of 763 PageID #:
                                    1917

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Bit      Field                     Access            Access                  Default              Description
                                                          2
                                   via NFC           via I C                 values
1        EEPROM_WR_BUSY            READ              READ                    0b                   1b: EEPROM write cycle in progress - access to
                                                                                                  EEPROM disabled
                                                                                                  0b: EEPROM access possible
0        RF_FIELD_PRESENT          READ              READ                    0b                   1b: NFC field is detected


                     8.4 Configurable Field Detection Pin
                          The field detection pin based on open-drain implementation provides the capability to
                          trigger an external device (e.g. μController) or switch on the connected circuitry by an
                          external power management unit depending on activities on the NFC interface.
                          As the field detection pin functionality is operated via NFC field power, VCC supply for the
                          tag itself is not required.
                          NOTE: In some cases VOUT pin might be used as field detection trigger.
                          The conditions for pulling the field detection signal to low, FD_ON can be:
                          • The presence of the NFC field
                          • The detection of a valid command (Start of Communication)
                          • The selection of the IC
                          REMARK: When FD_ON is configured to trigger on NFC field presence (00b), FD will be
                          pulled low again, when host is reading the NDEF_DATA_READ bit of NS_REG session
                                         2
                          register from I C perspective.
                          The conditions for releasing the field detection signal defined with FD_OFF can be:
                          • The absence of the NFC field
                          • The detection of the HALT state
                          • The NFC interface has read the last part of the NDEF message defined with
                            LAST_NDEF_BLOCK
                          All the various combinations of configurations are described in Table 13 and illustrated
                          in Figure 13, Figure 14 and Figure 15 for all various combinations of the filed detection
                          signal configuration. The timing diagrams are not in scale and all given timing values are
                          typical values.
                          The field detection pin can be used also as a handshake mechanism in the pass-through
                          mode to signal to the external μController if
                          • New data is written to SRAM on the NFC interface
                          • Data written to SRAM from the μController is read via the NFC interface.
                          See Section 11 for more information on this handshake mechanism.
                          In Figure 12 an example how to connect the FD pin is given. All given values are typical
                          values and may vary from application to application.




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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                                34 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 136 of 763 PageID #:
                                    1918

NXP Semiconductors
                                                                                                                                                 NT3H2111_2211
                      2                                                      2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



                                           APPLICATION
                                                                          supply
                                                                      (1.2 V ~ 3.6 V)


                                                                                                                                                LA                               LB
                                                                                                                                                     1                  8
                                                                                   Rpu                                                 VSS                                       VOUT
                                                                                   >2 kΩ          GND                                                2                  7
                                                                                                                                       SCL                                       VCC
                                                                                                                                                     3                  6
                                                                                                                                            FD                                   SDA
                                            event detect signal                                                                                      4                  5



                                                                                                                                                                                          aaa-021652

                           Figure 12. FD pin example circuit




                                                                                  ON
                                        RF field
                                                                                 OFF




                                                                              HIGH
                                        FD pin
                                                                               LOW
                               NS_REG




                                        RF_FIELD_PRESENT                                   0                    1                                                                                            0
                               NC_REG




                                        FD_ON = 00b
                                                                                           01h
                                        FD_OFF = 00b



                                                                                                                                                                                                                    t
                                                                                                                         First valid start of




                                                                                                                                                                        Tag set to HALT
                                                                                                                          communication




                                                                                                                                                                                                     switches OFF
                                                                                                                                                         Tag selected
                                                                                                       switches ON




                                                                                                                                                                                                        RF field
                                                                                                         RF field




                                        Event




                                                                                                                                                                                                        aaa-021653

                           Figure 13. Illustration of the field detection feature when configured for simple field
                           detection




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Product data sheet                                                  Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                              359935                                                                                                                                      35 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 137 of 763 PageID #:
                                    1919

NXP Semiconductors
                                                                                                                                                NT3H2111_2211
                      2                                                      2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



                                                                                  ON
                                        RF field
                                                                                 OFF




                                                                              HIGH
                                        FD pin
                                                                               LOW
                               NS_REG




                                        RF_FIELD_PRESENT                                   0                    1                                                                            0
                               NC_REG




                                        FD_ON = 01b
                                                                                           15h
                                        FD_OFF = 01b



                                                                                                                                                                                                    t
                                                                                                                         First valid start of
                                                                                                                          communication




                                                                                                                                                                                     switches OFF
                                                                                                                                                                Start of HALT
                                                                                                                                                 Tag selected
                                                                                                       switches ON




                                                                                                                                                                 command



                                                                                                                                                                                        RF field
                                                                                                         RF field




                                        Event




                                                                                                                                                                                        aaa-021654

                           Figure 14. Illustration of the field detection feature when configured for first valid start of
                           communication detection




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Product data sheet                                                  Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                              359935                                                                                                                      36 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 138 of 763 PageID #:
                                    1920

NXP Semiconductors
                                                                                                                                                NT3H2111_2211
                      2                                                      2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



                                                                                  ON
                                        RF field
                                                                                 OFF




                                                                              HIGH
                                        FD pin
                                                                               LOW
                               NS_REG




                                        RF_FIELD_PRESENT                                   0                    1                                                                                         0
                               NC_REG




                                        FD_ON = 10b
                                                                                           29h
                                        FD_OFF = 10b



                                                                                                                                                                                                                 t




                                                                                                                                                                       Start of READ of last
                                                                                                                                                                       page of NDEF msg.
                                                                                                                         First valid start of




                                                                                                                                                    Start of SEL CL2
                                                                                                                          communication




                                                                                                                                                                                                  switches OFF
                                                                                                       switches ON




                                                                                                                                                       command




                                                                                                                                                                                                     RF field
                                                                                                         RF field




                                        Event




                                                                                                                                                                                                     aaa-021655

                           Figure 15. Illustration of the field detection feature when configured for selection of the tag
                           detection


                     8.5 Watchdog timer
                                                              2
                          In order to allow the I C interface to perform all necessary commands (READ,
                                                                                   2
                          WRITE, ..), the memory access remains locked to the I C interface until the register
                          I2C_LOCKED is cleared by the host - see Table 14.
                                                                                                                                                2
                          However, to avoid that the memory stays 'locked' to the I C for a long period of time, it
                                                                                  2
                          is possible to program a watchdog timer to unlock the I C host from the tag, so that the
                          NFC device can access the tag after a period of time of inactivity. The host itself will not
                          be notified of this event directly, but the NS_REG register is updated accordingly (the
                          register bit I2C_LOCKED will be cleared - see Table 14).
                          The default value is set to 20 ms (848h), but the watch dog timer can be freely set
                          from 0001h (9.43 μs) up to FFFFh (617.995 ms). The timer starts ticking when the
                                                                2           2
                          communication between the NTAG I C and the I C interface starts. In case the
                                                    2
                          communication with the I C is still going on after the watchdog timer expires, the
                          communication will continue until the communication has completed. Then the status
                          register I2C_LOCKED will be immediately cleared.
                                                                                                                     2
                          In the case where the communication with the I C interface has completed before the
                          end of the timer and the status register I2C_LOCKED was not cleared by the host, it will
                          be cleared at the end of the watchdog timer.
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Product data sheet                                                  Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                              359935                                                                                                                                   37 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 139 of 763 PageID #:
                                    1921

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                      2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          The watchdog timer is only effective if the VCC pin is powered and will be reset and
                                               2
                          stopped if the NTAG I C is not VCC powered or if the register status I2C_LOCKED is set
                          to 0 and RF_LOCKED is set to 1b.

                     8.6 Energy harvesting
                                      2
                          The NTAG I C plus provides the capability to supply external low-power devices with
                          energy harvested from the NFC field of an NFC device as illustrated in Figure 16. All
                          given values are typical values. For more details, refer to Ref. 7.
                          The voltage and current from the energy harvesting depend on various parameters,
                          such as the strength of the NFC field, the tag antenna size, or the distance from the NFC
                                         2
                          device. NTAG I C plus provides typically 5 mA at 2 V on the VOUT pin with an NFC
                          Phone.
                                                2
                          Operating NTAG I C in energy harvesting mode requires a number of precautions:
                          • A complete total connected capacitor in the range of typically 150 nF up to 220 nF
                            maximum shall be connected between VOUT and GND close to the terminals to
                            ensure that the voltage does not drop below VCC min during modulation or during any
                            application operation.
                          • Start up load current on VOUT should be limited until sufficient voltage is built on
                            VOUT.
                                       2                   2
                          • If NTAG I C also powers the I C bus, then VCC must be connected to VOUT, and pull-
                            up resistors on the SCL and SDA pins must be sized to control SCL and SDA sink
                                                                                2          2
                            current when those lines are pulled low by NTAG I C or the I C host
                                       2
                          • If NTAG I C also powers the Field Detect bus, then the pull-up resistor on the Field
                            Detect line must be sized to control the sink current into the Field Detect pin when
                                     2
                            NTAG I C pulls it low
                                                                                  2
                          • The NFC reader device communicating with NTAG I C shall apply polling cycles
                            including an NFC Field Off condition of at least 5.1 ms as defined in NFC Forum
                            Activity specification (see Ref. 4, chapter 6).
                          REMARK: increasing the output current on Vout decreases the NFC communication
                          range.

                                   APPLICATION                               supply
                                                                          (2.2 V ~ 3 V)


                                                                                                                         FD    SCL VSS LA
                                      Cload                    Rpu            Rpu            Rpu                        4     3    2   1
                                      150 nF ~ 220 nF          >5 kΩ          >5 kΩ          >5 kΩ



                                                 GND
                                                                                                                        5     6     7       8
                                                 SCL                                                                    SDA   VCC   VOUT LB
                                  event detect signal

                                                 SDA

                                                                                                                                                aaa-021656

                           Figure 16. Energy harvesting example circuit




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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                                        38 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 140 of 763 PageID #:
                                    1922

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                       2                                                2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     8.7 Password authentication
                           The memory write or read/write access to a configurable part of the memory can be
                           constrained to a positive password authentication. The 32-bit secret password (PWD)
                           and the 16-bit password acknowledge (PACK) response shall be typically programmed
                           into the configuration pages at the tag personalization stage.
                           The AUTHLIM parameter specified in Section 8.3.11 can be used to limit the negative
                           authentication attempts.
                                                                    2
                           In the initial state of NTAG I C plus, password protection is disabled by an AUTH0 value
                           of FFh. PWD and PACK are freely writable in this state. Access to the configuration
                           pages and any part of the user memory can be restricted by setting AUTH0 to a page
                           address within the available memory space. This page address is the first one protected.
                           For a comprehensive description of all protection mechanism refer to Ref. 9.
                                                                                                                          2
                           Remark: The password protection method provided in NTAG I C plus has to be intended
                           as an easy and convenient way to prevent unauthorized memory accesses. If a higher
                           level of protection is required, cryptographic methods can be implemented at application
                           layer to increase overall system security.

                    8.7.1 Programming of PWD and PACK
                           The 32-bit PWD and the 16-bit PACK need to be programmed into the configuration
                           pages, see Section 8.3.11. The password as well as the password acknowledge are
                           written LSByte first. This byte order is the same as the byte order used during the
                           PWD_AUTH command and its response.
                           The PWD and PACK bytes can never be read out of the memory. Instead of transmitting
                                                                                         2
                           the real value on any valid read command from both - NFC and I C - interface, only 00h
                           bytes are replied.
                           If the password authentication is disabled, PWD and PACK can be written at any time.
                           If the password authentication is enabled, PWD and PACK can be written after a
                           successful PWD_AUTH command only.
                           Remark: To improve the overall system security, it is advisable to diversify the password
                           and the password acknowledge using a die individual parameter of the IC, which can be
                                                             2
                           the 7-byte UID available on NTAG I C plus.

                    8.7.2 Limiting negative verification attempts
                           To prevent brute-force attacks on the password, the maximum allowed number of
                           negative password authentication attempts can be set using AUTHLIM. This mechanism
                           is disabled by setting AUTHLIM to a value of 000b, which is also the initial state of NTAG
                            2
                           I C plus.
                           If AUTHLIM is not equal to 000b, each negative authentication verification is internally
                                                                                          AUTHLIM
                           counted. As soon as this internal counter reaches the number 2          , any further
                           negative password authentication leads to a permanent locking of the protected part
                           of the memory for the specified access modes. Independently, whether the provided
                           password is correct or not, each subsequent PWD_AUTH fails.
                           Any successful password verification, before reaching the limit of negative password
                           verification attempts, resets the internal counter to zero.


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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                              39 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 141 of 763 PageID #:
                                    1923

NXP Semiconductors
                                                                                                                         NT3H2111_2211
                       2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                    8.7.3 Protection of configuration segments
                           The configuration pages can be protected by the password authentication as well. The
                           protection level is defined with the NFC_PROT bit.
                           The protection is enabled by setting the AUTH0 byte (see Table 10) to a value that is
                           within the addressable memory space.

                     8.8 Originality signature
                                  2
                           NTAG I C plus features a cryptographically supported originality check. With this feature,
                           it is possible to verify that the tag is using an IC manufactured by NXP Semiconductors.
                           This check can be performed on personalized tags as well.
                                  2
                           NTAG I C plus digital signature is based on standard Elliptic Curve Cryptography (ECC),
                           according to the ECDSA algorithm. The use of a standard algorithm and curve ensures
                           easy software integration of the originality check procedure in an application running on
                           an NFC device without specific hardware requirements.
                                        2
                           Each NTAG I C plus UID is signed with an NXP private key and the resulting 32-byte
                                                                             2
                           signature is stored in a hidden part of the NTAG I C plus memory during IC production.
                           This signature can be retrieved using the READ_SIG command and can be verified in
                           the NFC device by using the corresponding ECC public key provided by NXP. In case
                           the NXP public key is stored in the NFC device, the complete signature verification
                           procedure can be performed offline.
                           To verify the signature (for example with the use of the public domain crypto library
                           OpenSSL) the tool domain parameters shall be set to secp128r1, defined within the
                           standards for elliptic curve cryptography SEC (Ref. 10).
                           Details on how to check the signature value are provided in corresponding application
                           note (Ref. 6). It is foreseen to offer not only offline, as well as online way to verify
                                                   2
                           originality of NTAG I C plus.




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Product data sheet                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                       359935                                                                             40 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 142 of 763 PageID #:
                                    1924

NXP Semiconductors
                                                                                                                             NT3H2111_2211
                      2                                                 2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

         2
9       I C commands
                                                 2
                          For details about I C interface refer to Ref. 3.


                                  SCL



                                  SDA


                                                    Start                            SDA           SDA                                      Stop
                                                  Condition                          Input        Change                                  Condition


                                  SCL                     1                 2                3                           7        8          9



                                  SDA                    MSB                                                                                ACK


                                       Start
                                     Condition


                                  SCL                1              2                3                               7        8       9



                                  SDA            MSB                                                                                  ACK


                                                                                                                                                    Stop
                                                                                                                                                  Condition
                                                                                                                                                    001aao231
                                        2
                           Figure 17. I C bus protocol
                                        2                                        2
                          The NTAG I C plus supports the I C protocol. This protocol is summarized in Figure
                          17. Any device that sends data onto the bus is defined as a transmitter, and any device
                          that reads the data from the bus is defined as a receiver. The device that controls the
                          data transfer is known as the "bus master", and the other as the "slave" device. A data
                          transfer can only be initiated by the bus master, which will also provide the serial clock for
                                                         2
                          synchronization. The NTAG I C plus is always a slave in all communications.

                     9.1 Start condition
                          Start is identified by a falling edge of Serial Data (SDA), while Serial Clock (SCL) is
                          stable in the high state. A Start condition must precede any data transfer command. The
                                   2
                          NTAG I C plus continuously monitors SDA (except during a Write cycle) and SCL for a
                          Start condition, and will not respond unless one is given.

                     9.2 Stop condition
                          Stop is identified by a rising edge of SDA while SCL is stable and driven high. A Stop
                                                                                     2
                          condition terminates communication between the NTAG I C plus and the bus master. A
                          Stop condition at the end of a Write command triggers the internal Write cycle.
                          WARNING: Host shall respect EEPROM programming time (~4 ms) after this Stop
                          condition in any case. If host sends next command too early, the memory may be
                          corrupted as ongoing EEPROM write cycle might get terminated.


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Product data sheet                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                        359935                                                                                            41 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 143 of 763 PageID #:
                                    1925

NXP Semiconductors
                                                                                                                       NT3H2111_2211
                      2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                           2
                     9.3 I C soft reset and NFC silence feature
                                                                                                                         2
                          With the bit NFCS_I2C_RST_ON_OFF (see Table 13) NTAG I C plus enables two
                                                         2
                          features: a soft reset of the I C subsystem, and NFC silence, in which the NFC
                          demodulator is disabled.
                               2                                                            2                            2
                          The I C soft reset feature interprets an I C repeated start (no I C stop in between) as a
                                                                       2
                          command to execute a soft reset of the I C subsystem. This is useful when heavy bus
                                                         2
                          interference can cause the I C interface to get stuck. A drawback of this feature is that
                          every start symbol then has to be terminated with a Stop, slowing down communication.
                                                       2
                          If a Stop is forgotten, the I C interface is cleared and previous communication, if any,
                          is lost. Consequently when this feature is used, stop conditions after MEMA for READ/
                          WRITE (see Figure 18) and after REGA for READ/WRITE registers (see Figure 19) shall
                          be send.
                          The NFC silence feature disables the demodulator. When feature is set, no NFC
                          commands are received, and no replies are issued to commands that were not fully
                          received when NFC Silence was set. This feature allows the tag to "disappear" even if it
                                                              2
                          still is in the reader field. NTAG I C plus will remain in the ISO state it was in when NFC
                          silence was enabled, until NFC silence is removed.
                                                                                                                             2
                          The combination of these two features in a single bit means that I C soft reset is only
                          active during NFC silence.

                     9.4 Acknowledge bit (ACK)
                          The acknowledge bit is used to indicate a successful byte transfer. The bus transmitter,
                          whether it is the bus master or slave device, releases Serial Data (SDA) after sending
                          eight bits of data. During the ninth clock pulse period, the receiver pulls Serial Data
                          (SDA) low to acknowledge the receipt of the ninth data bits.

                     9.5 Data input
                                                                        2
                          During data input, the NTAG I C plus samples SDA on the rising edge of SCL. For
                          correct device operation, SDA must be stable during the rising edge of SCL, and the SDA
                          signal must change only when SCL is driven low.

                     9.6 Addressing
                                                                                                                         2
                          To start communication between a bus master and the NTAG I C plus slave device,
                          the bus master must initiate a Start condition (see Section 9.1). Following this initiation,
                          the bus master sends the 7-bit device address, called Slave Address (SA) in following
                          figures.
                          The 8th bit is the Read/Write bit (R/W). This bit is set to 1b for Read and 0b for Write
                          operations.
                          Default device address of 55h results in AAh default I²C write address and ABh default
                          I²C read address.
                          As from I²C perspective I²C address can be configured via byte 0 of block 0. Reading this
                          block gives 04h, as it is returning UID0 (see Section 8.3.2). Therefore it is recommended
                          to us 04h as I²C write address (02h device address).
                          NOTE: Byte 0 of block 0 is used to configure the device address. The 7-bit device
                          address needs to be programmed in the 7 most significant bits of this byte. Least

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Product data sheet                                         Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                     359935                                                                                  42 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 144 of 763 PageID #:
                                    1926

NXP Semiconductors
                                                                                                                                 NT3H2111_2211
                      2                                                     2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          significant bit needs to be set to 0b when programming the device address. E.g. to keep
                          default device address of 55h, byte 0 of block 0 needs to be set to AAh.
                                                                                                                             2
                          If a match occurs on the device address, the NTAG I C plus gives an acknowledgment
                                                                         2
                          on SDA during the 9th bit time. If the NTAG I C plus address does not match, it deselects
                          itself from the bus and clears the register I2C_LOCKED (see Table 12).
                                                                 2                                  2
                          Table 15. Default NTAG I C address from I C
                                                     Device / Slave Address (SA)                                                                               R/W
                                                     b7                 b6                b5                 b4                  b3   b2     b1                b0
                                  [1]
                          Value                      1                  0                 1                  0                   1    0      1                 1/0

                                                                            2
                          [1]   Initial values can be changed from I C perspective

                                 2                                              2                                                                                        2
                          The I C address of the NTAG I C plus (byte 0 - block 0h) can only be modified by the I C
                          interface. Both interfaces cannot read the device address and a READ command from
                                       2
                          the NFC or I C interface to this byte will return 04h (UID 0 - manufacturer ID for NXP
                          Semiconductors - see Figure 7).

                     9.7 READ and WRITE Operation




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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                      43 / 82
                 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 145 of 763 PageID #:
                                                     1927
NXP Semiconductors                                                                                 NT3H2111_2211
                                                                                          2                                                                      2
                                                                             NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting
                               Write:
                        Host      Start   7 bits SA and `0'       MEMA        D0                      D1                                                   D15           Stop



                        Tag                                   A          A                 A                       A                                                 A




                               Read:
                        Host      Start   7 bits SA and `0'       MEMA       Stop                Start           7 bits SA and `1'                                   A          A         A    Stop



                        Tag                                   A          A                                                                   A             D0             D1        D15
                                                                                                                                                                                              aaa-012811

                    2
 Figure 18. I C READ and WRITE operation




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Product data sheet                                                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                                         359935                                                                                                                   44 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 146 of 763 PageID #:
                                    1928

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          The READ and WRITE operation always handle 16 bytes to be read or written (one block
                          - see Table 6)
                          For the READ operation (see Figure 18), following a Start condition, the bus master/host
                                              2
                          sends the NTAG I C slave address code (SA - 7 bits) with the Read/Write bit (R/W) set to
                                            2
                          0b. The NTAG I C plus acknowledges this (A), and waits for one address byte (MEMA),
                          which should correspond to the address of the block of memory (SRAM or EEPROM)
                                                                     2
                          that is intended to be read. The NTAG I C plus responds to a valid address byte with
                          an acknowledge (A). A Stop condition can be then issued. Then the host again issues a
                                                                   2
                          start condition followed by the NTAG I C plus slave address with the Read/Write bit set
                          to 1b. When I2C_CLOCK_STR is set to 0b, a pause of at least 50 μs shall be kept before
                                                            2
                          this start condition. The NTAG I C plus acknowledges this (A) and sends the first byte
                                                                                                      2
                          of data read (D0).The bus master/host acknowledges it (A) and the NTAG I C plus will
                          subsequently transmit the following 15 bytes of memory read with an acknowledge from
                          the host after every byte. After the last byte of memory data has been transmitted by the
                                   2
                          NTAG I C plus, the bus master/host will acknowledge it and issue a Stop condition.
                          WARNING: READ sequence shall be atomic. Complete sequence of above figure needs
                          to be executed, otherwise that tag may go to undefined state and stretches the clock
                          infinitely.
                          For the WRITE operation (see Figure 18), following a Start condition, the bus master/
                                                  2
                          host sends the NTAG I C plus slave address code (SA - 7 bits) with the Read/Write bit
                                                        2
                          (R/W) set to 0b. The NTAG I C plus acknowledges this (A), and waits for one address
                          byte (MEMA), which should correspond to the address of the block of memory (SRAM or
                                                                                2
                          EEPROM) that is intended to be written. The NTAG I C plus responds to a valid address
                          byte with an acknowledge (A) and, in the case of a WRITE operation, the bus master/
                          host starts transmitting every 16 bytes (D0...D15) that shall be written at the specified
                                                                        2
                          address with an acknowledge of the NTAG I C plus after each byte (A). After the last
                                                              2
                          byte acknowledge from the NTAG I C plus, the bus master/host issues a Stop condition.
                          WARNING: Host shall respect EEPROM programming time (~4 ms) after this Stop
                          condition in any case. If host sends next command too early, the memory may be
                          corrupted as ongoing EEPROM write cycle will get terminated.
                          The memory address accessible via the READ and WRITE operations can only
                          correspond to the EEPROM or SRAM (respectively 00h to 3Ah or F8h to FBh for NTAG
                           2                                                 2
                          I C plus 1k and 00h to 7Ah or F8h to FBh for NTAG I C plus 2k).




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Product data sheet                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                    359935                                                                             45 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 147 of 763 PageID #:
                                    1929

NXP Semiconductors
                                                                                                                                     NT3H2111_2211
                            2                                                  2
                   NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                         9.8       WRITE and READ register operation
                                                                                                                                                                    2
                                  In order to modify or read the session register bytes (see Table 14), NTAG I C plus
                                  requires the WRITE and READ register operation (see Figure 19).

       Write:
Host       Start      7 bits SA and `0'       MEMA                  REGA                       MASK                    REGDAT                  Stop



 Tag                                      A              A                          A                          A                         A




       Read:
Host       Start      7 bits SA and `0'       MEMA                  REGA                     Stop                  Start          7 bits SA and `1'                       A       Stop



 Tag                                      A              A                          A                                                                 A   REGDAT
                                                                                                                                                                               aaa-012812

 Figure 19. WRITE and READ register operation

                                  For the READ register operation, following a Start condition the bus master/host sends
                                              2
                                  the NTAG I C plus slave address code (SA - 7 bits) with the Read/Write bit (R/W) set to
                                                  2
                                  0b. The NTAG I C plus acknowledges this (A), and waits for one address byte (MEMA)
                                  which corresponds to the address of the block of memory with the session register bytes
                                                      2
                                  (FEh). The NTAG I C plus responds to the address byte with an acknowledge (A). Then
                                  the bus master/host issues a register address (REGA), which corresponds to the address
                                  of the targeted byte inside the block FEh (00h, 01h...to 07h) and then waits for the Stop
                                  condition.
                                                                                                                                                                           2
                                  Then the bus master/host again issues a start condition followed by the NTAG I C plus
                                                                                               2
                                  slave address with the Read/Write bit set to 1b. The NTAG I C plus acknowledges this
                                  (A), and sends the selected byte of session register data (REGDAT) within the block
                                  FEh. The bus master/host will acknowledge it and issue a Stop condition.
                                  WARNING: READ sequence shall be atomic. Complete sequence of above figure needs
                                  to be executed, otherwise that tag may go to undefined state and stretches the clock
                                  infinitely.
                                  For the WRITE register operation, following a Start condition, the bus master/host sends
                                              2
                                  the NTAG I C plus slave address code (SA - 7 bits) with the Read/Write bit (R/W) set to
                                                   2
                                  0b. The NTAG I C plus acknowledges this (A), and waits for one address byte (MEMA),
                                  which corresponds to the address of the block of memory within the session register
                                                                2
                                  bytes (FEh). After the NTAG I C plus acknowledge (A), the bus master/host issues a
                                  register address (REGA), which corresponds to the address of the targeted byte inside
                                                                                                            2
                                  the block FEh (00h, 01h...to 07h). After acknowledgement (A) by NTAG I C plus, the bus
                                  master/host issues a MASK byte that defines exactly which bits shall be modified by a
                                                                                                      2
                                  1b bit value at the corresponding bit position. Following the NTAG I C plus acknowledge
                                  (A), the new register data (one byte - REGDAT) to be written is transmitted by the bus
                                                            2
                                  master/host. The NTAG I C plus acknowledges it (A), and the bus master/host issues a
                                  stop condition.




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Product data sheet                                                    Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                359935                                                                                                 46 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 148 of 763 PageID #:
                                    1930

NXP Semiconductors
                                                                                                                                  NT3H2111_2211
                      2                                                    2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


10 NFC Command
                                                                                                                                                                 2
                          NTAG activation follows the ISO/IEC 14443-3 Type A specification. After NTAG I C
                          plus has been selected, it can either be deactivated using the ISO/IEC 14443 HALT
                          command, or NTAG commands (e.g. READ_SIG, PWD_AUTH, SECTOR_SELECT,
                          READ or WRITE) can be performed. For more details about the card activation refer to
                          Ref. 2.

                                       2
                    10.1 NTAG I C plus command overview
                                                                                         2
                          All available commands for NTAG I C plus are shown in Table 16.

                          Table 16. Command overview
                                           [1]
                          Command                                               ISO/IEC 14443                                 NFC FORUM          Command code
                                                                                                                                                 (hexadecimal)
                          Request                                               REQA                                          SENS_REQ           26h (7 bit)
                          Wake-up                                               WUPA                                          ALL_REQ            52h (7 bit)
                          Anticollision CL1                                     Anticollision CL1                             SDD_REQ CL1        93h 20h
                          Select CL1                                            Select CL1                                    SEL_REQ CL1        93h 70h
                          Anticollision CL2                                     Anticollision CL2                             SDD_REQ CL2        95h 20h
                          Select CL2                                            Select CL2                                    SEL_REQ CL2        95h 70h
                          Halt                                                  HLTA                                          SLP_REQ            50h 00h
                          GET_VERSION                                           -                                             -                  60h
                          READ                                                  -                                             READ               30h
                          FAST_READ                                             -                                             -                  3Ah
                          WRITE                                                 -                                             WRITE              A2h
                          FAST_WRITE                                            -                                             -                  A6h
                          SECTOR_SELECT                                         -                                             SECTOR_SELECT      C2h
                          PWD_AUTH                                              -                                             -                  1Bh
                          READ_SIG                                              -                                             -                  3Ch

                          [1]   Unless otherwise specified, all commands use the coding and framing as described in Ref. 1.


                    10.2 Timing
                          The command and response timing shown in this document are not to scale and values
                          are rounded to 1 μs.
                          All given command and response times refer to the data frames, including start of
                          communication and end of communication. They do not include the encoding (like the
                          Miller pulses). An NFC device data frame contains the start of communication (1 "start
                          bit") and the end of communication (one logic 0 + 1-bit length of unmodulated carrier).
                          An NFC tag data frame contains the start of communication (1 "start bit") and the end of
                          communication (1-bit length of no subcarrier).
                          The minimum and maximum command response time is specified according to Ref. 1.
                          The minimum frame delay time from NFC tag to NFC device is 86.43 μs. The maximum
                          command response time is specified as a timeout value. Depending on the command,

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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                        47 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 149 of 763 PageID #:
                                    1931

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                      2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          the TACK value specified for command responses defines the NFC device to NFC tag
                          frame delay time. It does it for either the 4-bit ACK value specified or for a data frame.
                          All timing can be measured according to the ISO/IEC 14443-3 frame specification as
                          shown for the Frame Delay Time in Figure 20. For more details, refer to Ref. 2.

                                      last data bit transmitted by the NFC device                                       first modulation of the NFC TAG

                                                                                   FDT = (n* 128 + 84)/fc




                                             128/fc          256/fc                                                                    128/fc
                                            logic „1“        end of communication (E)                                                  start of
                                                                                                                                   communication (S)
                                                                                   FDT = (n* 128 + 20)/fc




                                            128/fc                    256/fc                                                           128/fc
                                           logic „0“         end of communication (E)                                                  start of
                                                                                                                                   communication (S)
                                                                                                                                            aaa-006986

                           Figure 20. Frame Delay Time (from NFC device to NFC tag), TACK and TNAK

                          Remark: Due to the coding of commands, the measured timings usually exclude (a part
                          of) the end of communication. Consider this factor when comparing the specified with the
                          measured times.

                    10.3 NTAG ACK and NAK
                                 2
                          NTAG I C plus uses a 4-bit ACK / NAK as shown in Table 17.

                          Table 17. ACK and NAK values
                          Code (4 bit)                  ACK/NAK
                          Ah                            Acknowledge (ACK)
                          0h                            NAK for invalid argument (i.e. invalid page address or wrong password)
                          1h                            NAK for parity or CRC error
                                                                                                        2
                          3h                            NAK for Arbiter locked to I C
                          4h                            Number of negative PWD_AUTH commands limit reached
                          7h                            NAK for EEPROM write error


                    10.4 ATQA and SAK responses
                                 2
                          NTAG I C plus replies to a REQA or WUPA command with the ATQA value shown in
                          Table 18. It replies to a Select CL2 command with the SAK value shown in Table 19. The
                          2-byte ATQA value is transmitted with the least significant byte first (44h).




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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                                              48 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 150 of 763 PageID #:
                                    1932

NXP Semiconductors
                                                                                                                                  NT3H2111_2211
                      2                                                    2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                                                                                                  2
                          Table 18. ATQA response of the NTAG I C plus
                                                                             Bit number
                          Sales type             Hex value                   15 14 13 12 11 10 9                                      8     7   6      5       4      3       2      1        0
                                  2
                          NTAG I C plus 00 44h                               0       0       0        0      0      0         0       0     0   1      0       0      0       1      0        0



                                                                                              2
                          Table 19. SAK response of the NTAG I C plus
                                                                                                                      Bit number
                          Sales type                                 Hex value                                        7           6       5     4          3          2         1         0
                                  2
                          NTAG I C plus                              00h                                              0           0       0     0          0          0         0         0

                          Remark: The ATQA coding in bits 7 and 6 indicates the UID size according to ISO/IEC
                          14443.
                          Remark: The bit numbering in ISO/IEC 14443 specification starts with bit 1 as least
                          significant bit.

                    10.5 GET_VERSION
                          The GET_VERSION command is used to retrieve information about the NTAG family,
                          the product version, storage size and other product data required to identify the specific
                                 2
                          NTAG I C plus.
                          This command is also available on other NTAG products to have a common way of
                          identifying products across platforms and evolution steps.
                          The GET_VERSION command has no arguments and returns the version information
                                                 2
                          for the specific NTAG I C plus type. The command structure is shown in Figure 21 and
                          Table 20.
                          Table 21 shows the required timing.

                                 NFC device                Cmd              CRC

                                NTAG ,,ACK''                                                                                                        Data                     CRC

                                                                     283 µs                                  TACK                                      868 µs



                                NTAG ,,NAK''                                                                                          NAK
                                                                                                             TNAK                     57 µs




                                      Time out                                                            TTimeOut
                                                                                                                                                                          aaa-006987

                           Figure 21. GET_VERSION command



                          Table 20. GET_VERSION command
                          Name                         Code                                 Description                                                          Length
                          Cmd                          60h                                  Get product version                                                  1 byte
                          CRC                          -                                    CRC according to Ref. 1                                              2 bytes

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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                                         49 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 151 of 763 PageID #:
                                    1933

NXP Semiconductors
                                                                                                                             NT3H2111_2211
                      2                                                   2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          Name                        Code                                 Description                                        Length
                          Data                        -                                    Product version information                        8 bytes
                          NAK                         see Table 17                         see Section 10.3                                   4 bit



                          Table 21. GET_VERSION timing
                          These times exclude the end of communication of the NFC device.
                                                                       TACK/NAK min                             TACK/NAK max           TTimeOut
                                                                              [1]
                          GET_VERSION                                  n=9                                      TTimeOut               5 ms

                          [1]   Refer to Section 10.2 "Timing".




                                                                                                            2
                          Table 22. GET_VERSION response for NTAG I C plus
                                                                                             2                               2
                          Byte          Description                            NTAG I C plus                      NTAG I C plus   Interpretation
                          no.                                                  1k                                 2k
                          0             fixed Header                           00h                                00h
                          1             vendor ID                              04h                                04h             NXP Semiconductors
                          2             product type                           04h                                04h             NTAG
                                                                                                                                          2
                          3             product subtype                        05h                                05h             50 pF I C, Field detection
                          4             major product version 02h                                                 02h             2
                          5             minor product version 02h                                                 02h             V2
                          6             storage size                           13h                                15h             see following information
                          7             protocol type                          03h                                03h             ISO/IEC 14443-3
                                                                                                                                  compliant

                          The most significant 7 bits of the storage size byte are interpreted as an unsigned integer
                                                                                                     n
                          value n. As a result, it codes the total available user memory size as 2 . If the least
                                                                                   n
                          significant bit is 0b, the user memory size is exactly 2 . If the least significant bit is 1b, the
                                                            n       n+1
                          user memory size is between 2 and 2 .

                    10.6 READ_SIG
                          The READ_SIG command returns an IC specific, 32-byte ECC signature, to verify NXP
                          Semiconductors as the silicon vendor. The signature is programmed at chip production
                          and cannot be changed afterwards. The command structure is shown in Figure 24 and
                          Table 27.
                          Table 28 shows the required timing.




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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                     50 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 152 of 763 PageID #:
                                    1934

NXP Semiconductors
                                                                                                                              NT3H2111_2211
                      2                                                    2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                                NFC device      Cmd          Addr                    CRC

                            NTAG ,,ACK''                                                                                                Data                   CRC

                                                                   368 µs                                           TACK                       2907 µs



                            NTAG ,,NAK''                                                                                        NAK
                                                                                                                    TNAK        57 µs




                                  Time out                                                                        TTimeOut
                                                                                                                                                                 aaa-021657

                           Figure 22. READ_SIG command



                          Table 23. READ_SIG command
                          Name                         Code                                 Description                                          Length
                          Cmd                          3Ch                                  read ECC signature                                   1 byte
                          Addr                         00h                                  RFU, is set to 00h                                   1 byte
                          CRC                          -                                    CRC according to Ref. 1                              2 bytes
                          Signature                    -                                    ECC Signature                                        32 bytes
                          NAK                          see Table 17                         see Section 10.3                                     4 bit



                          Table 24. READ_SIG timing
                          These times exclude the end of communication of the NFC device.
                                                                        TACK/NAK min                             TACK/NAK max              TTimeOut
                                                                               [1]
                          READ_SIG                                      n=9                                      TTimeOut                  5 ms

                          [1]    Refer to Section 10.2 "Timing".

                          Details on how to check the signature value are provided in the corresponding
                          Application note. It is foreseen to offer an online and offline way to verify originality of
                                  2
                          NTAG I C plus.

                    10.7 PWD_AUTH
                          A protected memory area can be accessed only after a successful password verification
                          using the PWD_AUTH command. The AUTH0 configuration byte defines the start of the
                          protected area. It specifies the first page that the password mechanism protects. The
                          level of protection can be configured using the NFC_PROT bit either for write protection
                          or read/write protection. The PWD_AUTH command takes the password as parameter
                          and, if successful, returns the password authentication acknowledge, PACK. By setting
                          the AUTHLIM configuration bits to a value larger than 000b, the number of unsuccessful
                          password verifications can be limited. Each unsuccessful authentication is then counted.
                                                     AUTHLIM
                          After reaching the limit (2         ) of unsuccessful attempts, the memory write access or
                          the memory access at all (specified in NFC_PROT) to the protected area, is no longer
                          possible. The PWD_AUTH command is shown in Figure 23 and Table 25.
                          Table 26 shows the required timing.
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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                         51 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 153 of 763 PageID #:
                                    1935

NXP Semiconductors
                                                                                                                                  NT3H2111_2211
                      2                                                     2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                                    NFC device          Cmd                     Pwd                   CRC

                                  NTAG ,,ACK''                                                                                               PACK              CRC

                                                                              623 µs                                            TACK              368 µs



                                  NTAG ,,NAK''                                                                                            NAK
                                                                                                                                TNAK      57 µs




                                       Time out                                                                                TTimeOut
                                                                                                                                                           aaa-021658

                           Figure 23. PWD_AUTH command



                          Table 25. PWD_AUTH command
                          Name                          Code                             Description                                               Length
                          Cmd                           1Bh                              password authentication                                   1 byte
                          Pwd                           -                                password                                                  4 bytes
                          CRC                           -                                CRC according to Ref. 2                                   2 bytes
                          PACK                          -                                password authentication acknowledge                       2 bytes
                          NAK                           see Table 17                     see Section 10.3                                          4-bit



                          Table 26. PWD_AUTH timing
                          These times exclude the end of communication of the NFC device.
                                                                         TACK/NAK min                             TACK/NAK max               TTimeOut
                                                                                [1]
                          PWD_AUTH                                       n=9                                      TTimeOut                   5 ms

                          [1]   Refer to Section 10.2 "Timing".

                          Remark: It is strongly recommended to change - and diversify for each tag - the
                          password and PACK from its delivery state at tag issuing.

                    10.8 READ
                          The READ command requires a start page address, and returns the 16 bytes of four
                                  2
                          NTAG I C plus pages. For example, if address (Addr) is 03h then pages 03h, 04h,
                          05h, 06h are returned. Special conditions apply if the READ command address is near
                          the end of the accessible memory area. For details on those cases and the command
                          structure, refer to Figure 24 and Table 27.
                          Table 28 shows the required timing.




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Product data sheet                                                 Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                             359935                                                                                           52 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 154 of 763 PageID #:
                                    1936

NXP Semiconductors
                                                                                                                              NT3H2111_2211
                      2                                                       2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                                NFC device      Cmd          Addr                       CRC

                            NTAG ,,ACK''                                                                                                Data                       CRC

                                                                   368 µs                                           TACK                           1548 µs



                            NTAG ,,NAK''                                                                                        NAK
                                                                                                                    TNAK        57 µs




                                  Time out                                                                        TTimeOut
                                                                                                                                                                     aaa-006988

                           Figure 24. READ command



                          Table 27. READ command
                          Name                         Code                                   Description                                            Length
                          Cmd                          30h                                    read four pages                                        1 byte
                          Addr                         -                                      start page address                                     1 byte
                          CRC                          -                                      CRC according to Ref. 1                                2 bytes
                          Data                         -                                      Data content of the addressed pages 16 bytes
                          NAK                          see Table 17                           see Section 10.3                                       4 bit



                          Table 28. READ timing
                          These times exclude the end of communication of the NFC device.
                                                                        TACK/NAK min                             TACK/NAK max              TTimeOut
                                                                                  [1]
                          READ                                          n=9                                      TTimeOut                  5 ms

                          [1]    Refer to Section 10.2 "Timing".

                                                                          2
                          In the initial state of NTAG I C plus, all memory pages are allowed as Addr parameter to
                          the READ command:
                                                                                                                                               2
                          • Page address from 00h to E9h and pages ECh and EDh for NTAG I C plus 1k and 2k
                                                                              2
                          • Page address from 00h to FFh (Sector 1) for NTAG I C plus 2k only
                          • SRAM buffer address when pass-through mode is enabled
                          Addressing a start memory page beyond the limits above results in a NAK response from
                                2
                          NTAG I C plus.
                          In case a READ command addressing start with a valid memory area but extends over
                          an invalid memory area, the content of the invalid memory area will be reported as 00h.

                    10.9 FAST_READ
                          The FAST_READ command requires a start page address and an end page address and
                          returns all n*4 bytes of the addressed pages. For example, if the start address is 03h and
                          the end address is 07h, then pages 03h, 04h, 05h, 06h and 07h are returned.
                          For details on those cases and the command structure, refer to Figure 25 and Table 29.
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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                             53 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 155 of 763 PageID #:
                                    1937

NXP Semiconductors
                                                                                                                              NT3H2111_2211
                      2                                                       2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          Table 30 shows the required timing.

                                NFC device     Cmd      StartAddr EndAddr                  CRC

                            NTAG ,,ACK''                                                                                                Data                       CRC

                                                                   453 µs                                           TACK            depending on nr of read pages



                           NTAG ,,NAK''                                                                                         NAK
                                                                                                                    TNAK        57 µs




                                  Time out                                                                        TTimeOut
                                                                                                                                                                     aaa-006989

                           Figure 25. FAST_READ command



                          Table 29. FAST_READ command
                          Name                         Code                                 Description                                              Length
                          Cmd                          3Ah                                  read multiple pages                                      1 byte
                          StartAddr                    -                                    start page address                                       1 byte
                          EndAddr                      -                                    end page address                                         1 byte
                          CRC                          -                                    CRC according to Ref. 1                                  2 bytes
                          Data                         -                                    data content of the addressed pages                      n*4 bytes
                          NAK                          see Table 17                         see Section 10.3                                         4 bit



                          Table 30. FAST_READ timing
                          These times exclude the end of communication of the NFC device.
                                                                        TACK/NAK min                             TACK/NAK max             TTimeOut
                                                                                  [1]
                          FAST_READ                                     n=9                                      TTimeOut                 5 ms

                          [1]    Refer to Section 10.2 "Timing".

                                                                          2
                          In the initial state of NTAG I C plus, all memory pages are allowed as StartAddr
                          parameter to the FAST_READ command:
                                                                                                                                               2
                          • Page address from 00h to E9h and pages ECh and EDh for NTAG I C plus 1k and 2k
                                                                              2
                          • Page address from 00h to FFh (Sector 1) for NTAG I C plus 2k only
                          • SRAM buffer address when pass-through mode is enabled
                                                                                                                                                                               2
                          If the start addressed memory page (StartAddr) is outside of accessible area, NTAG I C
                          plus replies a NAK.
                          In case the FAST_READ command starts with a valid memory area but extends over an
                          invalid memory area, the content of the invalid memory area will be reported as 00h.
                          The EndAddr parameter must be equal to or higher than the StartAddr.




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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                             54 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 156 of 763 PageID #:
                                    1938

NXP Semiconductors
                                                                                                                              NT3H2111_2211
                       2                                                      2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                           Remark: The FAST_READ command is able to read out the entire memory of one sector
                           with one command. Nevertheless, the receive buffer of the NFC device must be able to
                           handle the requested amount of data as no chaining is possible.

                    10.10 WRITE
                           The WRITE command requires a page address, and writes 4 bytes of data into the
                                           2
                           addressed NTAG I C plus page. The WRITE command is shown in Figure 26 and Table
                           31.
                           Table 32 shows the required timing.

                                              NFC device          Cmd Addr                   Data                 CRC

                                            NTAG ,,ACK''                                                                                          ACK

                                                                                          708 µs                                   TACK          57 µs



                                            NTAG ,,NAK''                                                                                          NAK
                                                                                                                                   TNAK          57 µs




                                                 Time out                                                                         TTimeOut

                                                                                                                                              aaa-006990

                            Figure 26. WRITE command



                           Table 31. WRITE command
                           Name                        Code                                 Description                                           Length
                           Cmd                         A2h                                  write one page                                        1 byte
                           Addr                        -                                    page address                                          1 byte
                           Data                        -                                    data                                                  4 bytes
                           CRC                         -                                    CRC according to Ref. 1                               2 bytes
                           NAK                         see Table 17                         see Section 10.3                                      4 bit



                           Table 32. WRITE timing
                           These times exclude the end of communication of the NFC device.
                                                                        TACK/NAK min                             TACK/NAK max                TTimeOut
                                                                                  [1]
                           WRITE                                        n=9                                      TTimeOut                    5 ms

                           [1]   Refer to Section 10.2 "Timing".

                                                                          2
                           In the initial state of NTAG I C plus, the following memory pages are valid Addr
                           parameters to the WRITE command:
                                                                                                                              2
                           • Page address from 02h to E9h (Sector 0) for NTAG I C plus 1k and 2k
                                                                               2
                           • Page address from 00h to FFh (Sector 1) for NTAG I C plus 2k
                           • SRAM buffer addresses when pass-through mode is enabled

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Product data sheet                                                Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                            359935                                                                                          55 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 157 of 763 PageID #:
                                    1939

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                       2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                           Addressing a memory page beyond the limits above results in a NAK response from
                                 2
                           NTAG I C plus.
                           Pages that are locked against writing cannot be reprogrammed using any write
                           command. The locking mechanisms include static and dynamic lock bits, as well as the
                           locking of the configuration pages.

                    10.11 FAST_WRITE
                           The FAST_WRITE allows to write data in ACTIVE state to the complete SRAM (64 bytes)
                           in pass-through mode, and requires the start block address (F0h), end address (FFh) and
                                                                  2
                           writes 64 bytes of data into the NTAG I C plus SRAM. The FAST_WRITE command is
                           shown in Figure 26 and Table 31.
                           WARNING: Data is written directly to SRAM. If received CRC at the end of transmission
                           is wrong and response was a NAK, received (corrupted) data is still in SRAM. Hence it is
                           recommended to implement a protocol on top to ensure data integrity (e.g. include own
                           CRC at the end of the payload) when using SRAM.
                           Table 32 shows the required timing.

                                      NFC device       Cmd Start            End             Data                  CRC

                                    NTAG ,,ACK''                                                                                            ACK

                                                                                    5881 µs                                TACK            57 µs



                                    NTAG ,,NAK''                                                                                            NAK
                                                                                                                           TNAK            57 µs




                                        Time out                                                                          TTimeOut

                                                                                                                                      aaa-021659

                           Figure 27. FAST_WRITE command



                           Table 33. FAST_WRITE command
                           Name                  Code                                 Description                                      Length
                           Cmd                   A6h                                  write complete SRAM                              1 byte
                           START_ADDR            F0h                                  start SRAM in pass-through mode                  1 byte
                           END_ADDR              FFh                                  end SRAM in pass-through mode                    1 byte
                           Data                  -                                    data                                             64 bytes
                           -                     CRC                                  CRC according to Ref. 1                          2 bytes
                           ACK                   see Table 17                         see Section 10.3                                 4 bit
                           NAK                   see Table 17                         see Section 10.3                                 4 bit




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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                                     56 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 158 of 763 PageID #:
                                    1940

NXP Semiconductors
                                                                                                                                 NT3H2111_2211
                      2                                                   2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          Table 34. FAST_WRITE timing
                          These times exclude the end of communication of the NFC device.
                                                                       TACK/NAK min                             TACK/NAK max                       TTimeOut
                                                                              [1]
                          FAST_WRITE                                   n=9                                      TTimeOut                           5 ms

                          [1]   Refer to Section 10.2 "Timing".


                    10.12 SECTOR SELECT
                          The SECTOR SELECT command consists of two commands packet: the first one is the
                          SECTOR SELECT command (C2h), FFh and CRC. Upon an ACK answer from the Tag,
                          the second command packet needs to be issued with the related sector address to be
                          accessed and 3 bytes RFU.
                          To successfully access to the requested memory sector, the tag shall issue a passive
                          ACK, which is sending NO REPLY for more than 1 ms after the CRC of the second
                          command set.
                          The SECTOR SELECT command is shown in Figure 28 and Table 35.
                          Table 36 shows the required timing.

                                        NFC device        Cmd        FFh         CRC                                                         SECTOR SELECT packet 1




                                                                                                                             ACK
                                   NTAG I2C ,,ACK''
                                                                      368 µs                          TACK                   57 µs




                                   NTAG I2C ,,NAK''                                                                          NAK
                                                                                                      TNAK                   57 µs




                                           Time out                                                 TTimeOut


                                                                                                                                             SECTOR SELECT packet 2
                                        NFC device          SecNo          00h       00h       00h         CRC




                                                                                                                              (no reply)      Passive ACK
                                   NTAG I2C ,,ACK''
                                                                                    537 µs                                      >1ms




                                   NTAG I2C ,,NAK''                                                                      (any reply)       NAK

                                                                                                                              <1ms         57 µs               aaa-014051

                           Figure 28. SECTOR_SELECT command



                          Table 35. SECTOR_SELECT command
                          Name                        Code                                 Description                                                  Length
                          Cmd                         C2h                                  sector select                                                1 byte
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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                                 57 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 159 of 763 PageID #:
                                    1941

NXP Semiconductors
                                                                                                                             NT3H2111_2211
                      2                                                   2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                          Name                        Code                                 Description                                Length
                          FFh                         -                                                                               1 byte
                          CRC                         -                                    CRC according to Ref. 1                    2 bytes
                          SecNo                       -                                    Memory sector to be selected               1 byte
                                                                                           (00h - FEh)
                          NAK                         see Table 17                         see Section 10.3                           4 bit



                          Table 36. SECTOR_SELECT timing
                          These times exclude the end of communication of the NFC device.
                                                                       TACK/NAK min                             TACK/NAK max     TTimeOut
                                                                              [1]
                          SECTOR_SELECT                                n=9                                      TTimeOut         5 ms

                          [1]   Refer to Section 10.2 "Timing".




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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                               58 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 160 of 763 PageID #:
                                    1942

NXP Semiconductors
                                                                                                                        NT3H2111_2211
                        2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting

                                                                                                                         2
11 Communication and arbitration between NFC and I C interface
                            If both interfaces are powered by their corresponding source, only one interface shall
                            have access to the memory according to the "first-come, first-serve" principle.
                            In NS_REG, the two status bits I2C_LOCKED and RF_LOCKED reflect the status of
                                       2
                            the NTAG I C plus memory access and indicate which interface is locking the memory
                            access. At power-on, both bits are 0b, setting the arbitration in idle mode.
                                                                           2
                            In the case arbiter locks to the I C interface, an NFC device can still read the session
                            registers. If the NFC state machine is in ACTIVE state, only the SECTOR SELECT
                            command is allowed. But any other command requiring EEPROM access like READ or
                            WRITE is handled as an illegal command and replied to with a NAK value.
                                                                                                                                   2
                            In the case where the memory access is locked to the NFC interface, the I C host can
                            still access the session register, by issuing a 'Register READ/WRITE' command. All other
                                                                                           2
                            read or write commands will be replied to with a NACK to the I C host.

                     11.1 Pass-through mode not activated
                            PTHRU_ON_OFF = 0b (see Table 14) indicates non-pass-through mode.

                            2
                    11.1.1 I C interface access
                            If the tag is in the IDLE or HALT state (NFC state after POR or HALT-command) and the
                                      2                           2
                            correct I C slave address of NTAG I C plus is received following the START condition,
                                                                                                         2
                            the bit I2C_LOCKED will be automatically set to 1b. If I2C_LOCKED = 1b, the I C
                            interface has access to the tag memory and the tag will respond with a NACK to any
                            memory READ/WRITE command on the NFC interface other than reading the session
                            register bytes during this time.
                                                                                                                         2
                            I2C_LOCKED must be either reset to 0b at the end of the I C sequence or will be cleared
                            automatically after the end of the watch dog timer.

                    11.1.2 NFC interface access
                            The arbitration will allow the NFC interface read and write accesses to EEPROM only
                            when I2C_LOCKED is set to 0b.
                            RF_LOCKED is automatically set to 1b if the tag receives a valid command (EEPROM
                            Access Commands) on the NFC interface. If RF_LOCKED = 1b, the tag is locked to the
                                                                                         2
                            NFC interface and will not respond to any command from the I C interface other than
                            READ register command (see Table 14).
                            RF_LOCKED is automatically set to 0b in one of the following conditions
                            • At POR or if the NFC field is switched off
                            • If the tag is set to the HALT state with a HALT command on the NFC interface
                            • If the memory access command is finished on the NFC interface
                            When the NFC interface has read the last page of the NDEF message specified in
                            LAST_NDEF_BLOCK (see Table 13 and Table 14) the bit NDEF_DATA_READ - in the
                                                                                              2
                            register NS_REG see Table 14 - is set to 1b and indicates to the I C interface that, for
                            example, new NDEF data can be written.



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Product data sheet                                          Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                      359935                                                                             59 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 161 of 763 PageID #:
                                    1943

NXP Semiconductors
                                                                                                                             NT3H2111_2211
                           2                                              2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


                     11.2 SRAM buffer mapping with Memory Mirror enabled
                               With SRAM_MIRROR_ON_OFF= 1b, the SRAM buffer mirroring is enabled. This mode
                               cannot be combined with the pass-through mode (see Section 11.3).
                               With the memory mirror enabled, the SRAM is now mapped into the user memory from
                               the NFC interface perspective using the SRAM mirror lower page address specified in
                                                                                                            2
                               SRAM_MIRROR_BLOCK byte (Table 13 and Table 14). See Table 37 (NTAG I C plus
                                                        2
                               1k) and Table 38 (NTAG I C plus 2k) for an illustration of this SRAM memory mapping
                               when SRAM_MIRROR_BLOCK is set to 01h.
                               Password protection to this mapped SRAM may be enabled by enabling password
                               authentication and setting SRAM_PROT bit to 1b.
                               In contrary to password protection, for read only locking there are no special lock bits for
                               the SRAM. Whenever user EEPROM blocks are locked to read-only with static and/or
                               dynamic lock bits, potential mirrored SRAM blockes are read-only, too.
                               The tag must be VCC powered to make this mode work, because without VCC, the
                               SRAM will not be accessible via NFC powered only.
                               When mapping the SRAM buffer to the user memory, the user shall be aware that all
                                                                                      2
                               data written into the SRAM will be lost once the NTAG I C plus is no longer powered
                                         2
                               from the I C side (as SRAM is a volatile memory).

Table 37. Illustration of the SRAM memory addressing via the NFC interface (with SRAM_MIRROR_ON_OFF set to
                                                        2
1b and SRAM_MIRROR_BLOCK set to 01h) for the NTAG I C plus 1k
    Sector          Page address                     Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.         0                     1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                          Serial number (UID)                                                         READ
                      1         01h              Serial number (UID)                                           Internal                  READ
                      2         02h             Internal                                  Static lock bytes                            READ/R&W
                      3         03h                     Capability Container (CC)                                                   READ&WRITE
                      4         04h
                     ...        ...                                       SRAM                                                      READ&WRITE
                     19         13h
                     ...        ...                     Unprotected user memory                                                     READ&WRITE
                    AUTH0      AUTH0
                     ...        ...                       Protected user memory                                                 READ              READ&WRITE
                     225        E1h
                     226        E2h              Dynamic lock bytes                                               00h                  R&W/READ
                     227        E3h       RFU                  RFU                      RFU                    AUTH0            READ              READ&WRITE
                     228        E4h     ACCESS                 RFU                      RFU                      RFU            READ              READ&WRITE
                     229        E5h                                        PWD                                                  READ              READ&WRITE
                     230        E6h              PACK                                   RFU                      RFU            READ              READ&WRITE
                     231        E7h      PT_I2C                RFU                      RFU                      RFU            READ              READ&WRITE
                     232        E8h
                                                           Configuration registers                                                     see 8.3.12
                     233        E9h

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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                       60 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 162 of 763 PageID #:
                                    1944

NXP Semiconductors
                                                                                                                          NT3H2111_2211
                           2                                           2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


    Sector          Page address                  Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.     0                      1                        2                         3       ACTIVE state           AUTH. state

                     234        EAh
                                                  Invalid access - returns NAK                                                           n.a.
                     235        EBh
                     236        ECh
                                                             Session registers                                                      see 8.3.12
                     237        EDh
                     238        EEh
                                                  Invalid access - returns NAK                                                           n.a.
                     239        EFh
                     240        F0h
                     ...        ...               Invalid access - returns NAK                                                           n.a.
                     255        FFh

        1            ...        ...               Invalid access - returns NAK                                                           n.a.

        2            ...        ...               Invalid access - returns NAK                                                           n.a.

        3             0         00h
                                                  Invalid access - returns NAK                                                           n.a.
                     ...        ...
                     248        F8h
                                                             Session registers                                                      see 8.3.12
                     249        F9h
                     ...        ...
                                                  Invalid access - returns NAK                                                           n.a.
                     255        FFh



Table 38. Illustration of the SRAM memory addressing via the NFC interface (with SRAM_MIRROR_ON_OFF set to
                                                        2
1b and SRAM_MIRROR_BLOCK set to 01h) for the NTAG I C plus 2k
    Sector          Page address                  Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.     0                      1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                       Serial number (UID)                                                         READ
                      1         01h           Serial number (UID)                                           Internal                  READ
                      2         02h          Internal                                  Static lock bytes                            READ/R&W
                      3         03h                  Capability Container (CC)                                                   READ&WRITE
                      4         04h
                     ...        ...                                    SRAM                                                      READ&WRITE
                     19         13h
                     ...        ...                  Unprotected user memory                                                     READ&WRITE
                    AUTH0      AUTH0
                     ...        ...                    Protected user memory                                                 READ              READ&WRITE
                     225        E1h
                     226        E2h           Dynamic lock bytes                                               00h                  R&W/READ
                     227        E3h    RFU                  RFU                      RFU                    AUTH0            READ              READ&WRITE


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Product data sheet                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                        359935                                                                                       61 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 163 of 763 PageID #:
                                    1945

NXP Semiconductors
                                                                                                                            NT3H2111_2211
                           2                                             2
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    Sector          Page address                    Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.        0                     1                        2                         3       ACTIVE state           AUTH. state

                    228        E4h     ACCESS                 RFU                      RFU                      RFU            READ              READ&WRITE
                    229        E5h                                        PWD                                                  READ              READ&WRITE
                    230        E6h              PACK                                   RFU                      RFU            READ              READ&WRITE
                    231        E7h      PT_I2C                RFU                      RFU                      RFU            READ              READ&WRITE
                    232        E8h
                                                          Configuration registers                                                       see 8.3.12
                    233        E9h
                    234        EAh
                                                    Invalid access - returns NAK                                                           n.a.
                    235        EBh
                    236        ECh
                                                               Session registers                                                        see 8.3.12
                    237        EDh
                    238        EEh
                                                    Invalid access - returns NAK                                                           n.a.
                    239        EFh
                    240        F0h
                     ...        ...                 Invalid access - returns NAK                                                           n.a.
                    255        FFh

                     0         00h
        1            ...        ...                 (Un-)protected user memory                                                     READ&WRITE
                    255        FFh

        2            ...        ...                 Invalid access - returns NAK                                                           n.a.

        3            0         00h
                                                    Invalid access - returns NAK                                                           n.a.
                     ...        ...
                    248        F8h
                                                               Session registers                                                        see 8.3.12
                    249        F9h
                     ...        ...
                                                    Invalid access - returns NAK                                                           n.a.
                    255        FFh


                    11.3 Pass-through mode
                               PTHRU_ON_OFF = 1b (see Table 14) enables and indicates pass-through mode.
                               Password protection for pass-through mode may be enabled by enabling password
                               authentication and setting SRAM_PROT bit to 1b.
                                                                                                                                                            2
                               To handle large amount of data transfer from one interface to the other, NTAG I C plus
                               offers the pass-through mode where data is transferred via a 64 byte SRAM. This buffer
                               offers fast write access and unlimited write endurance as well as an easy handshake
                               mechanism between the two interfaces.
                                                                                                                                    2
                               This buffer is mapped directly at the end of the Sector 0 of NTAG I C plus.
                                                                                                                                                           2
                               In both directions, the principle of access to the SRAM buffer via the NFC and I C
                               interface is exactly the same (see Section 11.3.2 and Section 11.3.3).
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Product data sheet                                              Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                          359935                                                                                       62 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 164 of 763 PageID #:
                                    1946

NXP Semiconductors
                                                                                                                               NT3H2111_2211
                           2                                                2
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                               The data flow direction must be set with the TRANSFER_DIR bit (see Table 14) within
                               the current communication session using the session registers (it can only be set via
                                    2
                               the I C interfaces) or for the configuration bits after POR (in this case both NFC and
                                2
                               I C interface can set it). This pass-through direction setting avoids locking the memory
                               access during the data transfer from one interface to the SRAM buffer.
                                                                                                                        2
                               The pass-through mode can only be enabled via I C interface when both interfaces are
                               powered. The PTHRU_ON_OFF bit, located in the session registers NC_REG (see
                               Section 8.3.12), needs to be set to 1b. In case one interface powers off, the pass-through
                               mode is disabled automatically.
                                       2
                               NTAG I C plus introduces in addition to the FAST_READ command a FAST_WRITE
                               command. With this new command in ACTIVE state whole SRAM can be written at once,
                               which improves the total pass-through performance significantly.
                               For more information read related application note Ref. 8.

                    11.3.1 SRAM buffer mapping
                                                                                                             2
                               In pass-through mode, the SRAM of NTAG I C plus is mirrored to pages F0h to FFh of
                               Sector 0.
                               The last page/block of the SRAM (page FFh) is used as the terminator page. Once the
                               terminator page/block in the respective interfaces is read/written, the control would be
                                                                    2
                               transferred to other interface (NFC/I C) - see Section 11.3.2 and Section 11.3.3 for more
                               details.
                               Accordingly, the application can align on the reader and host side to transfer 16/32/48/64
                               bytes of data in one pass-through step by only using the last blocks/page of the SRAM
                               buffer.
                               For best performance in addition to the FAST_READ, the FAST_WRITE command
                               should be used.

Table 39. Illustration of the SRAM memory addressing via the NFC interface in pass-through mode
                                         2
(PTHRU_ON_OFF set to 1b) for the NTAG I C 1k
    Sector          Page address                       Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.          0                      1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                            Serial number (UID)                                                        READ
                      1         01h                Serial number (UID)                                           Internal                 READ
                      2         02h               Internal                                  Static lock bytes                            READ/R&W
                      3         03h                       Capability Container (CC)                                                   READ&WRITE
                      4         04h
                                                          Unprotected user memory                                                     READ&WRITE
                     ...        ...
                    AUTH0      AUTH0
                     ...        ...                         Protected user memory                                                 READ              READ&WRITE
                     225        E1h
                     226        E2h                Dynamic lock bytes                                               00h                  R&W/READ
                     227        E3h         RFU                  RFU                      RFU                    AUTH0            READ              READ&WRITE
                     228        E4h        ACCESS                RFU                      RFU                      RFU            READ              READ&WRITE
                     229        E5h                                          PWD                                                  READ              READ&WRITE
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Product data sheet                                                 Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                             359935                                                                                       63 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 165 of 763 PageID #:
                                    1947

NXP Semiconductors
                                                                                                                          NT3H2111_2211
                           2                                           2
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    Sector          Page address                  Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.      0                     1                        2                         3       ACTIVE state           AUTH. state

                     230        E6h           PACK                                   RFU                      RFU            READ              READ&WRITE
                     231        E7h    PT_I2C               RFU                      RFU                      RFU            READ              READ&WRITE
                     232        E8h
                                                        Configuration registers                                                     see 8.3.12
                     233        E9h
                     234        EAh
                                                  Invalid access - returns NAK                                                           n.a.
                     235        EBh
                     236        ECh
                                                             Session registers                                                      see 8.3.12
                     237        EDh
                     238        EEh
                                                  Invalid access - returns NAK                                                           n.a.
                     239        EFh
                     240        F0h
                     ...        ...                                    SRAM                                                      READ&WRITE
                     255        FFh

        1            ...        ...               Invalid access - returns NAK                                                           n.a.

        2            ...        ...               Invalid access - returns NAK                                                           n.a.

        3             0         00h
                                                  Invalid access - returns NAK                                                           n.a.
                     ...        ...
                     248        F8h
                                                             Session registers                                                      see 8.3.12
                     249        F9h
                     ...        ...
                                                  Invalid access - returns NAK                                                           n.a.
                     255        FFh



Table 40. Illustration of the SRAM memory addressing via the NFC interface in pass-through mode
                                         2
(PTHRU_ON_OFF set to 1b) for the NTAG I C 2k
    Sector          Page address                  Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.      0                     1                        2                         3       ACTIVE state           AUTH. state

        0             0         00h                       Serial number (UID)                                                         READ
                      1         01h           Serial number (UID)                                           Internal                  READ
                      2         02h          Internal                                  Static lock bytes                            READ/R&W
                      3         03h                  Capability Container (CC)                                                   READ&WRITE
                      4         04h
                                                     Unprotected user memory                                                     READ&WRITE
                     ...        ...
                    AUTH0      AUTH0
                     ...        ...                    Protected user memory                                                 READ              READ&WRITE
                     225        E1h


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Product data sheet                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                        359935                                                                                       64 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 166 of 763 PageID #:
                                    1948

NXP Semiconductors
                                                                                                                               NT3H2111_2211
                           2                                                2
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    Sector          Page address                       Byte number within a page                                               Access cond.          Access cond.
   address          Dec.       Hex.          0                      1                        2                         3       ACTIVE state           AUTH. state

                     226       E2h                 Dynamic lock bytes                                               00h                  R&W/READ
                     227       E3h          RFU                  RFU                      RFU                    AUTH0            READ              READ&WRITE
                     228       E4h     ACCESS                    RFU                      RFU                      RFU            READ              READ&WRITE
                     229       E5h                                           PWD                                                  READ              READ&WRITE
                     230       E6h                 PACK                                   RFU                      RFU            READ              READ&WRITE
                     231       E7h      PT_I2C                   RFU                      RFU                      RFU            READ              READ&WRITE
                     232       E8h
                                                             Configuration registers                                                     see 8.3.12
                     233       E9h
                     234       EAh
                                                       Invalid access - returns NAK                                                           n.a.
                     235       EBh
                     236       ECh
                                                                  Session registers                                                      see 8.3.12
                     237       EDh
                     238       EEh
                                                       Invalid access - returns NAK                                                           n.a.
                     239       EFh
                     240       F0h
                     ...        ...                                         SRAM                                                      READ&WRITE
                     255       FFh

                      0        00h
        1            ...        ...                    (Un-)protected user memory                                                     READ&WRITE
                     255       FFh

        2            ...        ...                    Invalid access - returns NAK                                                           n.a.

        3             0        00h
                                                       Invalid access - returns NAK                                                           n.a.
                     ...        ...
                     248       F8h
                                                                  Session registers                                                      see 8.3.12
                     249       F9h
                     ...        ...
                                                       Invalid access - returns NAK                                                           n.a.
                     255       FFh

                                        2
                    11.3.2 NFC to I C data transfer
                               If the NFC interface is enabled (RF_LOCKED = 1b) and data is written to the terminator
                               page FFh of the SRAM via the NFC interface, at the end of the WRITE command, bit
                               SRAM_I2C_READY is set to 1b and bit RF_LOCKED is set to 0b automatically, and the
                                       2                        2
                               NTAG I C plus is locked to the I C interface.
                               To signal the host that data is ready to be read following mechanisms are in place:
                               • The host polls/reads bit SRAM_I2C_READY from NS_REG (see Table 14) to know if
                                 data is ready in SRAM


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Product data sheet                                                 Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                             359935                                                                                       65 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 167 of 763 PageID #:
                                    1949

NXP Semiconductors
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                               2                                                               2
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                                        • A trigger on the FD pin indicates to the host that data is ready to be read from SRAM.
                                          This feature can be enabled by programming bits 5:2 (FD_OFF, FD_ON) of the
                                          NC_REG appropriately (see Table 13)
                                        This is illustrated in the Figure 29.
                                                                                                                            2
                                        If the tag is addressed with the correct I C slave address, the I2C_LOCKED bit is
                                        automatically set to 1b (according to the interface arbitration). After a READ from
                                        the terminator page of the SRAM, bit SRAM_I2C_READY and bit I2C_LOCKED are
                                        automatically reset to 0b, and the tag returns to the arbitration idle mode where, for
                                        example, further data from the NFC interface can be transferred.


                                                       ON
                             RF field
                                                       OFF




                                                      HIGH
                             FD pin
                                                      LOW




                             I2C_LOCKED                         0                                                                              1                               0
                    NS_REG




                             RF_LOCKED                          0                           1                                                  0                               1           0

                             SRAM_I2C_READY                     0                                                                              1                               0

                             RF_FIELD_PRESENT                   1                                                                                                                          0


                             PTHRU_ON_OFF = 0b,
                    NC_REG




                             FD_ON = 11b, FD_OFF = 11b
                                                                3Dh                         7Dh                                                                                            3Dh
                             SRAM_MIRROR_ON_OFF = 0b
                             TRANSFER_DIR = 1b

                                                                                                                                                                                                 t
                                                                            PTHRU_ON_OFF = 1b



                                                                                                   RF starts writing data
                                                                             Enable pass through




                                                                                                                                 SRAM written by RF
                                                                                                     to SRAM buffer



                                                                                                                                   Last 4 bytes of




                                                                                                                                                      SRAM by I2C




                                                                                                                                                                      SRAM by I2C
                                                                                                                                                                      Last 16 bytes
                                                                                                                                                      Start reading




                                                                                                                                                                                      RF OFF




                             Event




                                                                                                                                more data available?                                  aaa-021660

 Figure 29. Illustration of the Field detection feature in combination with the pass-through mode for data transfer
               2
 from NFC to I C

                                        2
                         11.3.3 I C to NFC data transfer
                                              2
                                        If the I C interface is enabled (I2C_LOCKED is 1b) and data is written to the terminator
                                                                            2
                                        block FBh of the SRAM via the I C interface, at the end of the WRITE command, bit
                                        SRAM_RF_READY is set to 1b and bit I2C_LOCKED is automatically reset to 0b to set
                                        the tag in the arbitration idle state.
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Product data sheet                                                        Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                    359935                                                                                                                        66 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 168 of 763 PageID #:
                                    1950

NXP Semiconductors
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                               2                                                              2
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                                        The RF_LOCKED bit is then automatically set to 1b (according to the interface
                                        arbitration). After a READ or FAST_READ command involving the terminator page of
                                        the SRAM, bit SRAM_RF_READY and bit RF_LOCKED are automatically reset to 0b
                                                       2
                                        allowing the I C interface to further write data into the SRAM buffer.
                                        To signal to the host that further data is ready to be written, the following mechanisms
                                        are in place:
                                        • The NFC interface polls/reads the bit SRAM_RF_READY from NS_REG (see Table
                                                                                             2
                                          14) to know if new data has been written by the I C interface in the SRAM
                                        • A trigger on the FD pin indicates to the host that data has been read from SRAM by
                                          the NFC interface. This feature can be enabled by programming bits 5:2 (FD_OFF,
                                          FD_ON) of the NC_REG appropriately (see Table 13)
                                        The above mechanism is illustrated in the Figure 30.


                                                      ON
                             RF field
                                                      OFF




                                                     HIGH
                             FD pin
                                                     LOW




                             I2C_LOCKED                        0                           1                                            0                                1          0
                    NS_REG




                             RF_LOCKED                         0                                                                         1                               0

                             SRAM_RF_READY                     0                                                                         1                               0

                             RF_FIELD_PRESENT                  1                                                                                                                    0


                             PTHRU_ON_OFF = 0b,
                    NC_REG




                             FD_ON = 11b, FD_OFF = 11b
                                                               3Ch                         7Ch                                                                                      3Ch
                             SRAM_MIRROR_ON_OFF = 0b
                             TRANSFER_DIR = 0b

                                                                                                                                                                                          t
                                                                           PTHRU_ON_OFF = 1b
                                                                            Enable pass through




                                                                                                  data to SRAM buffer



                                                                                                                         Last 4 bytes written
                                                                                                                          to SRAM by I2C
                                                                                                   I2C starts writing




                                                                                                                                                SRAM by RF
                                                                                                                                                Start reading




                                                                                                                                                                Last 4 bytes
                                                                                                                                                                read by RF




                                                                                                                                                                               RF OFF




                             Event




                                                                                                                        more data available?                                   aaa-021661

 Figure 30. Illustration of the Field detection signal feature in combination with pass-through mode for data
                2
 transfer from I C to NFC




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Product data sheet                                                       Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                   359935                                                                                                                  67 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 169 of 763 PageID #:
                                    1951

NXP Semiconductors
                                                                                                                             NT3H2111_2211
                      2                                                   2
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12 Limiting values
                          Exceeding the limits of one or more values in reference may cause permanent damage
                          to the device. Exposure to limiting values for extended periods may affect device
                          reliability.

                          Table 41. Limiting values
                                                                                             [1][2]
                          In accordance with the Absolute Maximum Rating System (IEC 60134).
                          Symbol           Parameter                                                 Conditions                Min      Max                 Unit
                          Tstg             storage temperature                                                                 -55      +125                °C
                          Tj(max)          maximum junction temperature                                                        -        +105                °C
                                                                                                     [3]
                          VESD             electrostatic discharge voltage                                                     -        2                   kV
                                           (Human Body model)
                                                                                                     [4]
                          VESD             electrostatic discharge voltage                                                     -        1                   kV
                                           (Charge Device model)
                          VDD              supply voltage                                            on pin VCC                -0.5     4.6                 V
                          Vi               input voltage                                             on pin FD, SDA,           -0.5     4.6                 V
                                                                                                     SCL
                          Ii               input current                                             on pin LA, LB             -        40                  mA
                          Vi(RF)           RF input voltage                                          on pin LA, LB             -        4.6                 Vpeak

                          [1]    Stresses above one or more of the limiting values may cause permanent damage to the device.
                          [2]    Exposure to limiting values for extended periods may affect device reliability.
                          [3]    ANSI/ESDA/JEDEC JS-001
                          [4]    ANSI/ESDA/JEDEC JS-002




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Product data sheet                                               Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                           359935                                                                                 68 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 170 of 763 PageID #:
                                    1952

NXP Semiconductors
                                                                                                                                  NT3H2111_2211
                           2                                             2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


13 Characteristics

                       13.1 Electrical characteristics
Table 42. Characteristics
Symbol              Parameter                     Conditions                                                                Min     Typ     Max                Unit
Ci                  input capacitance             LA - LB, on chip - CIC, f=13.56                                           44      50      56                 pF
                                                  MHz,
                                                  VLA-LB=2.4 VRMS
fi                  input frequency                                                                                         -       13.56   -                  MHz
                                                                                                                                                      [1]
Tamb                operating ambient                                                                                       -40     25      +105               °C
                    temperature
RTH_JA              thermal resistance            JEDEC 2s2p board and XQFN8                                                -       150     -                  K/W
                                                  package
RTH_JA              thermal resistance            JEDEC 2s2p board and TSSOP8                                               -       211     -                  K/W
                                                  package
RTH_JA              thermal resistance            JEDEC 2s2p board and SO8                                                  -       115     -                  K/W
                                                  package
Energy harvesting characteristics
                                                                                                                            [2]
Vout,max            output voltage                generated at the Vout pin, Class 5                                                -       3.3                V
                                                  antenna, 14 A/m, load current 1 mA
 2
I C interface characteristics
VCC                 supply voltage                supplied via VCC only                                                     1.67    -       3.6                V
                                                                         2
IDD                 supply current                VCC=1.8 V I C; idle bus                                                   -       160     -                  μA
                                                                         2
                                                  VCC=3.3 V I C; idle bus                                               -           195     -                  μA
                                                                         2
IDD                 supply current                VCC=1.8 V I C@400KHz                                                      -       -       185                μA
                                                                         2
                                                  VCC=2.5 V I C@400KHz                                                  -           -       210                μA
                                                                         2
                                                  VCC=3.3 V I C@400KHz                                                  -           -       240                μA
 2
I C pin characteristics
VOL                 LOW-level output voltage      IOL= 3 mA; VCC > 2 V                                                      -       -       0.4                V
                                                  IOL= 2 mA; VCC < 2 V                                                      -       -       0.2*VCC            V
VIH                 HIGH-level input voltage                                                                            0.7*VCC     -       -                  V
VIL                 LOW-level input voltage                                                                             -           -       0.3*VCC            V
Ci                  input capacitance             SCL and SDA pin                                                       -           2.4     -                  pF
IL                  leakage current               0 V and VCC,max                                                       -           -       10                 μA
thigh               SCL high time                 fast mode 400 kHz                                                     950         -       -                  ns
FD pin characteristics
VOL                 LOW-level output voltage      IOL= 4 mA; VCC > 2 V                                                      -       -       0.4                V
                                                  IOL= 3 mA; VCC < 2 V                                                      -       -       0.2*VCC            V
IL                  leakage current                                                                                     -           1.5     10                 μA
EEPROM characteristics
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Product data sheet                                              Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                          359935                                                                                        69 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 171 of 763 PageID #:
                                    1953

NXP Semiconductors
                                                                                                                                           NT3H2111_2211
                            2                                                     2
                 NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


Symbol              Parameter                              Conditions                                                                Min      Typ     Max                Unit
tret                retention time                         Tamb                                                                      20       50      -                  year
Nendu(W)            write endurance                        Tamb                                                                      200000   -       -                  cycle
Nendu(W)            write endurance                        -40°C to 95°C                                                             500000   1000000 -                  cycle

[1]    Dependent on PCB design and operating conditions
[2]    Minimum value depends on available field strength and load current conditions. For details refer to [7]
                      2
       AN11578 NTAG I C Energy Harvesting




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Product data sheet                                                       Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                   359935                                                                                         70 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 172 of 763 PageID #:
                                    1954

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                            2                                                           2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


14 Package outline
  XQFN8: plastic, extremely thin quad flat package; no leads;
  8 terminals; body 1.6 x 1.6 x 0.5 mm                                                                                                                                             SOT902-3




                                      X


                                                           D                             B         A



                            terminal 1
                            index area
                                                                                                                                           A
                                                                                                  E                                            A1




                                                                                                                                                        detail X




                                                      e              e
                                                                                                                                                                        C
                                                                                                      v    C A B
                                      L                                                                                                        y1 C                          y
                                                                                                      w    C
                                                           4
                                                                                             b
                                          3                                         5
                                                                                                 e1

                                          2                                         6
                                                                                                 e1

                                          1                                         7

                            terminal 1                     8
                            index area                                       metal area
                                                                             not for soldering




                                                                         0                         1                        2 mm

    Dimensions                                                                                   scale

         Unit        A     A1     b           D   E       e         e1         L        v          w      y        y1

             max     0.5   0.05 0.25 1.65 1.65                               0.45
      mm     nom                0.20 1.60 1.60            0.6      0.5       0.40     0.1        0.05 0.05 0.05
             min           0.00 0.15 1.55 1.55                               0.35
    Note
    1. Plastic or metal protrusions of 0.075 mm maximum per side are not included.                                                                                               sot902-3_po

           Outline                                                    References                                                               European
                                                                                                                                                                            Issue date
           version                IEC                     JEDEC                             JEITA                                              projection
                                                                                                                                                                            11-08-16
        SOT902-3                  ---                     MO-255                             ---
                                                                                                                                                                            11-08-18

 Figure 31. Package outline SOT902-3 (XQFN8)


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Product data sheet                                                             Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                         359935                                                                                                71 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 173 of 763 PageID #:
                                    1955

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                             2                                                             2
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  TSSOP8: plastic thin shrink small outline package; 8 leads; body width 3 mm                                                                                                             SOT505-1




                                                  D                                                                              E                       A
                                                                                                                                                                X



                                                                                               c

                                     y                                                                                          HE                                    v M A




                                             Z

                                 8                           5




                                                                                                    A2                                                   (A3)         A
                                                                                                           A1
                                      pin 1 index

                                                                                                                                                                 θ
                                                                                                                                                  Lp
                                                                                                                                              L
                                 1                           4
                                                                                                                                     detail X
                                         e                              w M
                                                        bp




                                                                      0                             2.5                         5 mm
                                                                                                   scale


     DIMENSIONS (mm are the original dimensions)
                 A                                                         D(1)        E(2)
       UNIT               A1     A2              A3   bp          c                                  e          HE        L          Lp           v      w      y         Z(1)       θ
                max.
                          0.15   0.95                 0.45       0.28       3.1        3.1                      5.1                  0.7                                  0.70       6°
        mm          1.1                      0.25                                                   0.65                0.94                    0.1     0.1     0.1
                          0.05   0.80                 0.25       0.15       2.9        2.9                      4.7                  0.4                                  0.35       0°

     Notes
     1. Plastic or metal protrusions of 0.15 mm maximum per side are not included.
     2. Plastic or metal protrusions of 0.25 mm maximum per side are not included.

           OUTLINE                                                        REFERENCES                                                                    EUROPEAN
                                                                                                                                                                                 ISSUE DATE
           VERSION                    IEC                        JEDEC                          JEITA                                                  PROJECTION

                                                                                                                                                                                  99-04-09
           SOT505-1
                                                                                                                                                                                  03-02-18



 Figure 32. Package outline SOT505-1 (TSSOP8)




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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 174 of 763 PageID #:
                                    1956

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                                                                                                                                              NT3H2111_2211
                          2                                                           2
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  SO8: plastic small outline package; 8 leads; body width 3.9 mm                                                                                                                       SOT96-1




                                                        D                                                                     E                     A
                                                                                                                                                                 X



                                                                                             c

                                           y                                                                                HE                                   v M A


                                      Z

                                      8                                  5




                                                                                                                                             Q
                                                                                                     A2
                                                                                                                                                 (A 3)       A
                                                                                                           A1
                                          pin 1 index
                                                                                                                                                         θ
                                                                                                                                         Lp

                                      1                                  4                                                               L

                                                e                                w M                                           detail X
                                                                    bp




                                                                         0                   2.5                    5 mm
                                                                                           scale


     DIMENSIONS (inch dimensions are derived from the original mm dimensions)
                 A
       UNIT     max.   A1      A2          A3        bp      c         D (1)      E (2)        e         HE          L         Lp            Q      v         w       y        Z (1)       θ

                       0.25    1.45                 0.49    0.25       5.0        4.0                    6.2                   1.0        0.7                                  0.7
        mm      1.75                       0.25                                              1.27                  1.05                           0.25       0.25    0.1
                       0.10    1.25                 0.36    0.19       4.8        3.8                    5.8                   0.4        0.6                                  0.3         8
                                                                                                                                                                                             o
                                                                                                                                                                                             o
                     0.010 0.057                    0.019 0.0100 0.20            0.16                  0.244       0.039 0.028                                             0.028           0
      inches   0.069                       0.01                                              0.05            0.041                                0.01       0.01    0.004
                     0.004 0.049                    0.014 0.0075 0.19            0.15                  0.228       0.016 0.024                                             0.012

     Notes
     1. Plastic or metal protrusions of 0.15 mm (0.006 inch) maximum per side are not included.
     2. Plastic or metal protrusions of 0.25 mm (0.01 inch) maximum per side are not included.


           OUTLINE                                                   REFERENCES                                                                   EUROPEAN
                                                                                                                                                                           ISSUE DATE
           VERSION                  IEC                     JEDEC                          JEITA                                                 PROJECTION

                                                                                                                                                                             99-12-27
             SOT96-1             076E03                     MS-012
                                                                                                                                                                             03-02-18



 Figure 33. Package outline SOT96-1 (SO8)




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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 175 of 763 PageID #:
                                    1957

NXP Semiconductors
                                                                                                                     NT3H2111_2211
                      2                                           2
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15 Handling information

                          CAUTION
                                              This device is sensitive to ElectroStatic Discharge (ESD). Observe
                                              precautions for handling electrostatic sensitive devices.
                                              Such precautions are described in the ANSI/ESD S20.20, IEC/ST 61340-5,
                                              JESD625-A or equivalent standards.




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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 176 of 763 PageID #:
                                    1958

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                                                                                                                      NT3H2111_2211
                      2                                            2
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16 Abbreviations
                          Table 43. Abbreviations
                          Acronym           Description
                          ASID              Assembly Sequence ID
                          DBSN              Diffusion Batch Sequence number
                          POR               Power-On Reset




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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 177 of 763 PageID #:
                                    1959

NXP Semiconductors
                                                                                                                      NT3H2111_2211
                      2                                            2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting


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                          1. NFC Forum - Type 2 Tag Specification 1.0
                             Technical Specification
                          2. ISO/IEC 14443 - Identification cards - Contactless integrated circuit cards - Proximity
                             cards
                             International Standard
                              2
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                          4. NFC Forum - Activity 2.0
                             Technical Specification
                          5. AN11276 NTAG Antenna Design Guide
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                             http://www.nxp.com/documents/application_note/AN11276.pdf
                          6. AN11350 NTAG21x Originality Signature Validation
                             NXP Application Note
                             http://www.nxp.com/restricted_documents/53420/AN11350.pdf
                                               2
                          7. AN11578 NTAG I C Energy Harvesting
                             NXP Application Note
                             http://www.nxp.com/documents/application_note/AN11578.pdf
                                                               2
                          8. AN11579 How to use the NTAG I C (plus) for bidirectional communication
                             NXP Application Note
                             http://www.nxp.com/documents/application_note/AN11579.pdf
                                               2
                          9. AN11786 NTAG I C plus Memory Configuration Options
                             NXP Application Note
                             http://www.nxp.com/documents/application_note/AN11786.pdf
                          10.XQFN8 - SOT902-3
                             Package information
                             https://www.nxp.com/docs/en/package-information/SOT902-3.pdf
                          11.TSSOP8 - SOT505-1
                             Package information
                             https://www.nxp.com/docs/en/package-information/SOT505-1.pdf
                          12.SO8 - SOT505-1
                             Package information
                             https://www.nxp.com/docs/en/package-information/SOT96-1.pdf
                          13.Certicom Research
                             SEC 2: Recommended Elliptic Curve Domain Parameters V2.0




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COMPANY PUBLIC                                                    359935                                                                             76 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 178 of 763 PageID #:
                                    1960

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                                                                                                                        NT3H2111_2211
                      2                                              2
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18 Revision history
Table 44. Revision history
Document ID                 Release date           Data sheet status                                       Change notice   Supersedes
NT3H2111_2211 v. 3.5        20190507               Product data sheet                                      -               NT3H2111_2211 v. 3.4
Modifications:              •   Information about I²C fail safe operation added
                            •   Link to detailed package specification on nxp.com added
                            •   Information added that tag does not need to be supplied via VCC for ED functionality added
                            •   Information added that reading NS_REG causes FD pin to be pulled low when configured for
                                NFC field presence detection
                            •   Information that VOUT maybe used as field detect pin, when energy harvesting is not used
                            •   Typical idle current and FD pin leakage current added in characteristics (see Section 13)
                            •   RFU bits and bytes handling requirements added
                            •   Static and dynamic lock bits concequence to mirrored SRAM added
                            •   Editorial updates
NT3H2111_2211 v. 3.4        20190108               Product data sheet                                      -               NT3H2111_2211 v. 3.3
Modifications:              • Package dimensions for XQFN8 in ordering information correcet according to package
                              outline
                            • CDM ESD limit added in limiting values table (see Section 12)
                            • Editorial updates
NT3H2111_2211 v. 3.3        20180808               Product data sheet                                      -               NT3H2111_2211 v. 3.2
Modifications:              •   Info added, that ED pin is based on open-drain implementation
                                                                           2
                            •   Warnings and recommendations related to I C address added
                            •   Warning, that I²C read operations must be atomic added
                            •   Tj and thermal resistance added
                            •   Editorial updates
NT3H2111_2211 v. 3.2        20171130               Product data sheet                                      -               NT3H2111_2211 v. 3.1
Modifications:              • Error in editorial update of V3.1 in Table 13, TRANSFER_DIR corrected
NT3H2111_2211 v. 3.1        20171009               Product data sheet                                      -               v. 3.0
                                                                 2
Modifications:              • Added info, that NTAG I C plus now is NFC Forum certified
                            • Endurance updated in Table 42
                            • Editorial updates
NT3H2111_2211 v. 3.0        20160203               Product data sheet                                      -               -




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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 179 of 763 PageID #:
                                    1961

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                             2                                                   2
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                    [1][2]                                       [3]
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                                                                                             development.
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 Product [short] data sheet                    Production                                    This document contains the product specification.

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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 180 of 763 PageID #:
                                    1962

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Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 181 of 763 PageID #:
                                    1963

NXP Semiconductors
                                                                                                                                          NT3H2111_2211
                            2                                                          2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



Tables
Tab. 1.       Ordering information ..........................................5                        Tab. 26.            PWD_AUTH timing ..........................................52
Tab. 2.       Marking codes ...................................................6                      Tab. 27.            READ command ............................................. 53
Tab. 3.       Pin description for XQFN8, TSSOP8 and                                                   Tab. 28.            READ timing ....................................................53
              SO8 ................................................................... 9               Tab. 29.            FAST_READ command .................................. 54
Tab. 4.       NTAG I2C plus 1k memory organization                                                    Tab. 30.            FAST_READ timing .........................................54
              from the NFC perspective ............................... 14                             Tab. 31.            WRITE command ............................................ 55
Tab. 5.       NTAG I2C plus 2k memory organization                                                    Tab. 32.            WRITE timing .................................................. 55
              from the NFC perspective ............................... 16                             Tab. 33.            FAST_WRITE command .................................56
Tab. 6.       NTAG I2C plus 1k memory organization                                                    Tab. 34.            FAST_WRITE timing ....................................... 57
              from the I2C perspective .................................19                            Tab. 35.            SECTOR_SELECT command .........................57
Tab. 7.       NTAG I2C plus 2k memory organization                                                    Tab. 36.            SECTOR_SELECT timing ............................... 58
              from the I2C perspective .................................21                            Tab. 37.            Illustration of the SRAM memory addressing
Tab. 8.       Minimum memory content to be in initialized                                                                 via the NFC interface (with SRAM_
              state for NTAG I2C plus ..................................27                                                MIRROR_ON_OFF set to 1b and SRAM_
Tab. 9.       Password and Access Configuration                                                                           MIRROR_BLOCK set to 01h) for the NTAG
              Register ........................................................... 28                                     I2C plus 1k ......................................................60
Tab. 10.      Password and Access Configuration bytes ..... 28                                        Tab. 38.            Illustration of the SRAM memory addressing
Tab. 11.      Configuration register NTAG I2C plus ............. 30                                                       via the NFC interface (with SRAM_
Tab. 12.      Session registers NTAG I2C plus ................... 30                                                      MIRROR_ON_OFF set to 1b and SRAM_
Tab. 13.      Configuration bytes ......................................... 31                                            MIRROR_BLOCK set to 01h) for the NTAG
Tab. 14.      Session register bytes .....................................33                                              I2C plus 2k ......................................................61
Tab. 15.      Default NTAG I2C address from I2C ...............43                                     Tab. 39.            Illustration of the SRAM memory addressing
Tab. 16.      Command overview .........................................47                                                via the NFC interface in pass-through mode
Tab. 17.      ACK and NAK values ......................................48                                                 (PTHRU_ON_OFF set to 1b) for the NTAG
Tab. 18.      ATQA response of the NTAG I2C plus ............49                                                           I2C 1k ..............................................................63
Tab. 19.      SAK response of the NTAG I2C plus .............. 49                                     Tab. 40.            Illustration of the SRAM memory addressing
Tab. 20.      GET_VERSION command .............................. 49                                                       via the NFC interface in pass-through mode
Tab. 21.      GET_VERSION timing .................................... 50                                                  (PTHRU_ON_OFF set to 1b) for the NTAG
Tab. 22.      GET_VERSION response for NTAG I2C                                                                           I2C 2k ..............................................................64
              plus .................................................................. 50              Tab. 41.            Limiting values ................................................ 68
Tab. 23.      READ_SIG command ..................................... 51                               Tab. 42.            Characteristics .................................................69
Tab. 24.      READ_SIG timing ............................................51                          Tab. 43.            Abbreviations ...................................................75
Tab. 25.      PWD_AUTH command ................................... 52                                 Tab. 44.            Revision history ...............................................77




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Product data sheet                                                            Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                        359935                                                                                                80 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 182 of 763 PageID #:
                                    1964

NXP Semiconductors
                                                                                                                                         NT3H2111_2211
                            2                                                         2
                NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



Figures
Fig. 1.       Contactless and contact system ....................... 1                               Fig. 17.            I2C bus protocol ..............................................41
Fig. 2.       Block diagram ................................................... 7                    Fig. 18.            I2C READ and WRITE operation .................... 44
Fig. 3.       Pin configuration for XQFN8 ............................. 8                            Fig. 19.            WRITE and READ register operation .............. 46
Fig. 4.       Pin configuration for TSSOP8 ........................... 8                             Fig. 20.            Frame Delay Time (from NFC device to NFC
Fig. 5.       Pin configuration for SO8 ..................................8                                              tag), TACK and TNAK .....................................48
Fig. 6.       NFC state machine of NTAG I2C plus ............ 11                                     Fig. 21.            GET_VERSION command .............................. 49
Fig. 7.       Serial number (UID) ........................................ 23                        Fig. 22.            READ_SIG command ..................................... 51
Fig. 8.       Static lock bytes 0 and 1 .................................23                          Fig. 23.            PWD_AUTH command ................................... 52
Fig. 9.       NTAG I2C plus 1k Dynamic lock bytes 0, 1                                               Fig. 24.            READ command ............................................. 53
              and 2 ............................................................... 25               Fig. 25.            FAST_READ command .................................. 54
Fig. 10.      NTAG I2C plus 2k Dynamic lock bytes 0, 1                                               Fig. 26.            WRITE command ............................................ 55
              and 2 ............................................................... 25               Fig. 27.            FAST_WRITE command .................................56
Fig. 11.      Possible configuration of CC bytes of NTAG                                             Fig. 28.            SECTOR_SELECT command .........................57
              I2C 1k version ................................................. 26                    Fig. 29.            Illustration of the Field detection feature in
Fig. 12.      FD pin example circuit .................................... 35                                             combination with the pass-through mode for
Fig. 13.      Illustration of the field detection feature when                                                           data transfer from NFC to I2C .........................66
              configured for simple field detection ................35                               Fig. 30.            Illustration of the Field detection signal
Fig. 14.      Illustration of the field detection feature                                                                feature in combination with pass-through
              when configured for first valid start of                                                                   mode for data transfer from I2C to NFC .......... 67
              communication detection .................................36                            Fig. 31.            Package outline SOT902-3 (XQFN8) .............. 71
Fig. 15.      Illustration of the field detection feature when                                       Fig. 32.            Package outline SOT505-1 (TSSOP8) ............72
              configured for selection of the tag detection .... 37                                  Fig. 33.            Package outline SOT96-1 (SO8) .....................73
Fig. 16.      Energy harvesting example circuit .................. 38




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Product data sheet                                                           Rev. 3.5 — 7 May 2019
COMPANY PUBLIC                                                                       359935                                                                                             81 / 82
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 183 of 763 PageID #:
                                    1965

NXP Semiconductors
                                                                                                                          NT3H2111_2211
                           2                                                    2
               NTAG I C plus: NFC Forum T2T with I C interface, password protection and energy harvesting



Contents
1         General description ............................................ 1               9.2           Stop condition ..................................................41
2         Features and benefits .........................................2                 9.3           I2C soft reset and NFC silence feature ............42
2.1         Key features ...................................................... 2          9.4           Acknowledge bit (ACK) ....................................42
2.2         NFC interface .................................................... 2           9.5           Data input ........................................................ 42
2.3         Memory .............................................................. 3        9.6           Addressing ....................................................... 42
2.4         I2C interface ...................................................... 3         9.7           READ and WRITE Operation .......................... 43
2.5         Security .............................................................. 3      9.8           WRITE and READ register operation .............. 46
2.6         Key benefits .......................................................3          10          NFC Command .................................................. 47
3         Applications .........................................................4          10.1          NTAG I2C plus command overview .................47
4         Ordering information .......................................... 5                10.2          Timing .............................................................. 47
5         Marking .................................................................6       10.3          NTAG ACK and NAK ...................................... 48
6         Block diagram ..................................................... 7            10.4          ATQA and SAK responses .............................. 48
7         Pinning information ............................................ 8               10.5          GET_VERSION ............................................... 49
7.1         Pinning ............................................................... 8      10.6          READ_SIG .......................................................50
7.1.1       XQFN8 ............................................................... 8        10.7          PWD_AUTH .....................................................51
7.1.2       TSSOP8 .............................................................8          10.8          READ ............................................................... 52
7.1.3       SO8 ....................................................................8      10.9          FAST_READ ....................................................53
7.2         Pin description ................................................... 9          10.10         WRITE ............................................................. 55
8         Functional description ......................................10                  10.11         FAST_WRITE .................................................. 56
8.1         Block description ............................................. 10             10.12         SECTOR SELECT ...........................................57
8.2         NFC interface .................................................. 10            11          Communication and arbitration between
8.2.1       Data integrity ................................................... 10                      NFC and I2C interface ...................................... 59
8.2.2       NFC state machine ..........................................11                 11.1          Pass-through mode not activated .................... 59
8.2.2.1     IDLE state ........................................................11          11.1.1        I2C interface access ........................................ 59
8.2.2.2     READY 1 state ................................................ 11              11.1.2        NFC interface access ...................................... 59
8.2.2.3     READY 2 state ................................................ 12              11.2          SRAM buffer mapping with Memory Mirror
8.2.2.4     ACTIVE state ...................................................12                           enabled ............................................................ 60
8.2.2.5     AUTHENTICATED state .................................. 12                      11.3          Pass-through mode ......................................... 62
8.2.2.6     HALT state .......................................................12           11.3.1        SRAM buffer mapping ..................................... 63
8.3         Memory organization ....................................... 13                 11.3.2        NFC to I2C data transfer ................................. 65
8.3.1       Memory map from NFC perspective ................13                             11.3.3        I2C to NFC data transfer ................................. 66
8.3.2       Memory map from I2C interface ...................... 18                        12          Limiting values .................................................. 68
8.3.3       EEPROM ......................................................... 22            13          Characteristics .................................................. 69
8.3.4       SRAM ...............................................................22         13.1          Electrical characteristics .................................. 69
8.3.5       Serial number (UID) ........................................ 23                14          Package outline .................................................71
8.3.6       Static Lock Bytes .............................................23              15          Handling information ........................................ 74
8.3.7       Dynamic Lock Bytes ........................................ 24                 16          Abbreviations .................................................... 75
8.3.8       Capability Container (CC) ................................26                   17          References ......................................................... 76
8.3.9       User Memory pages ........................................ 26                  18          Revision history ................................................ 77
8.3.10      Memory content at delivery ............................. 26                    19          Legal information .............................................. 78
8.3.11      Password and Access Configuration ............... 27
8.3.12      NTAG I2C configuration and session
            registers ........................................................... 29
8.4         Configurable Field Detection Pin ..................... 34
8.5         Watchdog timer ............................................... 37
8.6         Energy harvesting ............................................38
8.7         Password authentication ..................................39
8.7.1       Programming of PWD and PACK .................... 39
8.7.2       Limiting negative verification attempts ............. 39
8.7.3       Protection of configuration segments ...............40
8.8         Originality signature ......................................... 40
9         I2C commands .................................................. 41
9.1         Start condition ..................................................41

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                                                                                                                                                   Date of release: 7 May 2019
                                                                                                                                      Document identifier: NT3H2111/NT3H2211
                                                                                                                                                   Document number: 359935
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 184 of 763 PageID #:
                                    1966



     Exhibit F to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 185 of 763 PageID #:
                                    1967




                                                                                              M24LR64E-R

                                       Dynamic NFC/RFID tag IC with 64-Kbit EEPROM,
                                  energy harvesting, I²C bus and ISO 15693 RF interface
                                                                                              Datasheet - production data

                                                                         in low (6.6 kbit/s) or high (26 kbit/s) data rate
                                                                         mode. Supports the 53 kbit/s data rate with
                                                                         Fast commands
                                                                      • Internal tuning capacitance: 27.5 pF
         SO8 (MN)             UFDFPN8 (MC) TSSOP8 (DW)                • 64-bit unique identifier (UID)
                                2 x 3 mm
                                                                      • Read Block & Write (32-bit blocks)

                                                                      Digital output pin
                                                                      • User configurable pin: RF write in progress or
                                                                        RF busy mode

         Wafer (RUW20)                         Wafer (SB12I)          Energy harvesting
                                                                      • Analog pin for energy harvesting
  Features                                                            • Four sink current configurable ranges

  • Belonging to ST25 family, which includes all                      Temperature range
    NFC/RF ID tag and reader products from ST
                                                                      • From –40 to 85 °C
  I2 C   interface
                                                                      Memory
  • Two-wires I2C serial interface supports
                                                                      • 64-Kbit EEPROM organized into:
    400 kHz protocol
                                                                        – 8192 bytes in I2C mode
  • Single supply voltage:
                                                                        – 2048 blocks of 32 bits in RF mode
    – 1.8 V to 5.5 V
                                                                      • Write time
  • Byte and Page Write (up to 4 bytes)
                                                                        – I2C: 5 ms (max.)
  • Random and Sequential read modes                                    – RF: 5.75 ms including the internal Verify
  • Self-timed programming cycle                                           time
  • Automatic address incrementing                                    • Write cycling endurance:
  • Enhanced ESD/latch-up protection                                    – 1 million write cycles at 25 °C
  • I²C timeout                                                         – 150 k write cycles at 85 °C
                                                                      • More than 40-year data retention
  Contactless interface                                               • Multiple password protection in RF mode
  • ISO 15693 and ISO 18000-3 mode 1 compatible                       • Single password protection in I2C mode
  • 13.56 MHz ± 7 kHz carrier frequency
                                                                      Package
  • To tag: 10% or 100% ASK modulation using 1/4 (26
    Kbit/s) or 1/256 (1.6 Kbit/s) pulse position coding               • SO8 (ECOPACK2®)
  • From tag: load modulation using Manchester                        • TSSOP8 (ECOPACK2®)
    coding with 423 kHz and 484 kHz subcarriers                       • UFDFPN8 (ECOPACK2®)


  July 2017                                                DocID022712 Rev 12                                         1/144
  This is information on a product in full production.                                                            www.st.com   1
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 186 of 763 PageID #:
                                    1968

  Contents                                                                                                                   M24LR64E-R


  Contents

  1          Description . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

  2          Signal descriptions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
             2.1      Serial clock (SCL) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
             2.2      Serial data (SDA) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
             2.3      RF Write in progress / RF Busy (RF WIP/BUSY) . . . . . . . . . . . . . . . . . . . 15
             2.4      Energy harvesting analog output (Vout) . . . . . . . . . . . . . . . . . . . . . . . . . . 15
             2.5      Antenna coil (AC0, AC1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
                      2.5.1       Device reset in RF mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
             2.6      VSS ground . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
             2.7      Supply voltage (VCC) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                      2.7.1       Operating supply voltage VCC . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                      2.7.2       Power-up conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                      2.7.3       Device reset in I²C mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                      2.7.4       Power-down conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16


  3          User memory organization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

  4          System memory area . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
             4.1      M24LR64E-R block security in RF mode . . . . . . . . . . . . . . . . . . . . . . . . . 24
                      4.1.1       Example of the M24LR64E-R security protection in RF mode . . . . . . . 26
             4.2      M24LR64E-R block security in I²C mode (I2C_Write_Lock bit area) . . . . 27
             4.3      Configuration byte and Control register . . . . . . . . . . . . . . . . . . . . . . . . . . 27
                      4.3.1       RF WIP/BUSY pin configuration . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
                      4.3.2       Energy harvesting configuration . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
                      4.3.3       FIELD_ON indicator bit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
                      4.3.4       Configuration byte access in I²C and RF modes . . . . . . . . . . . . . . . . . . 30
                      4.3.5       Control register access in I²C or RF mode . . . . . . . . . . . . . . . . . . . . . . 30
             4.4      ISO 15693 system parameters . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30

  5          I2C device operation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
             5.1      Start condition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
             5.2      Stop condition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32


  2/144                                             DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 187 of 763 PageID #:
                                    1969

  M24LR64E-R                                                                                                               Contents


            5.3     Acknowledge bit (Ack) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
            5.4     Data input . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
            5.5     I²C timeout . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
                    5.5.1       I²C timeout on Start condition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
                    5.5.2       I²C timeout on clock period . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
            5.6     Memory addressing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
            5.7     Write operations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
            5.8     Byte write . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
            5.9     Page write . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
            5.10    Minimizing system delays by polling on Ack . . . . . . . . . . . . . . . . . . . . . . 36
            5.11    Read operations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38
            5.12    Random Address Read . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38
            5.13    Current Address Read . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38
            5.14    Sequential Read . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38
            5.15    Acknowledge in Read mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38
            5.16    M24LR64E-R I2C password security . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
                    5.16.1      I2C present password command description . . . . . . . . . . . . . . . . . . . . . 39
                    5.16.2      I2C write password command description . . . . . . . . . . . . . . . . . . . . . . . 40


  6         M24LR64E-R memory initial state . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41

  7         RF device operation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
            7.1     RF communication and energy harvesting . . . . . . . . . . . . . . . . . . . . . . . . 42
            7.2     Commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
            7.3     Initial dialog for vicinity cards . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44
                    7.3.1       Power transfer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44
                    7.3.2       Frequency . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44
                    7.3.3       Operating field . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44


  8         Communication signal from VCD to M24LR64E-R . . . . . . . . . . . . . . . . 45

  9         Data rate and data coding . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 47
            9.1     Data coding mode: 1 out of 256 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 47
            9.2     Data coding mode: 1 out of 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 48
            9.3     VCD to M24LR64E-R frames . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 49


                                                 DocID022712 Rev 12                                                               3/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 188 of 763 PageID #:
                                    1970

  Contents                                                                                                             M24LR64E-R


             9.4     Start of frame (SOF) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50

  10         Communication signal from M24LR64E-R to VCD . . . . . . . . . . . . . . . . 51
             10.1    Load modulation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 51
             10.2    Subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 51
             10.3    Data rates . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 51

  11         Bit representation and coding . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
             11.1    Bit coding using one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
                     11.1.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
                     11.1.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 53
             11.2    Bit coding using two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
                     11.2.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
                     11.2.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54


  12         M24LR64E-R to VCD frames . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
             12.1    SOF when using one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
                     12.1.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
                     12.1.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
             12.2    SOF when using two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56
                     12.2.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56
                     12.2.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56
             12.3    EOF when using one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
                     12.3.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
                     12.3.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
             12.4    EOF when using two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58
                     12.4.1      High data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58
                     12.4.2      Low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58


  13         Unique identifier (UID) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 59

  14         Application family identifier (AFI) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60

  15         Data storage format identifier (DSFID) . . . . . . . . . . . . . . . . . . . . . . . . . 61
             15.1    CRC . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 61

  16         M24LR64E-R protocol description . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 62

  4/144                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 189 of 763 PageID #:
                                    1971

  M24LR64E-R                                                                                                          Contents


  17        M24LR64E-R states . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 64
            17.1     Power-off state . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 64
            17.2     Ready state . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 64
            17.3     Quiet state . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 64
            17.4     Selected state . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 64

  18        Modes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 66
            18.1     Addressed mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 66
            18.2     Non-addressed mode (general request) . . . . . . . . . . . . . . . . . . . . . . . . . 66
            18.3     Select mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 66

  19        Request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67
            19.1     Request flags . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67

  20        Response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 69
            20.1     Response flags . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 69
            20.2     Response error code . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 70

  21        Anticollision . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 71
            21.1     Request parameters . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 71

  22        Request processing by the M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . 73

  23        Explanation of the possible cases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 74

  24        Inventory Initiated command . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 76

  25        Timing definition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77
            25.1     t1: M24LR64E-R response delay . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77
            25.2     t2: VCD new request delay . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77
            25.3     t3: VCD new request delay when no response is received
                     from the M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77

  26        Command codes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 78
            26.1     Inventory . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79
            26.2     Stay Quiet . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 81



                                                 DocID022712 Rev 12                                                          5/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 190 of 763 PageID #:
                                    1972

  Contents                                                                                                           M24LR64E-R


             26.3      Read Single Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 82
             26.4      Write Single Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 83
             26.5      Read Multiple Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 87
             26.6      Select . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 88
             26.7      Reset to Ready . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 89
             26.8      Write AFI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 90
             26.9      Lock AFI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
             26.10 Write DSFID . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 94
             26.11 Lock DSFID . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 95
             26.12 Get System Info . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96
             26.13 Get Multiple Block Security Status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 98
             26.14 Write-sector Password . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 100
             26.15 Lock-sector . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 101
             26.16 Present-sector Password . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 103
             26.17 Fast Read Single Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 104
             26.18 Fast Inventory Initiated . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106
             26.19 Fast Initiate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 107
             26.20 Fast Read Multiple Block . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 108
             26.21 Inventory Initiated . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 109
             26.22 Initiate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 111
             26.23 ReadCfg . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 111
             26.24 WriteEHCfg . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .113
             26.25 WriteDOCfg . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .114
             26.26 SetRstEHEn . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .115
             26.27 CheckEHEn . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .117

  27         Maximum ratings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 119

  28         I2C DC and AC parameters . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 120

  29         Write cycle definition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 124

  30         RF electrical parameters . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 125

  31         Package information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 131


  6/144                                             DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 191 of 763 PageID #:
                                    1973

  M24LR64E-R                                                                                                       Contents


                 31.1     SO8N package information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 131
                 31.2     UFDFN8 package information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 133
                 31.3     TSSOP8 package information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 134

  32             Part numbering . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 136

  Appendix A Anticollision algorithm (informative) . . . . . . . . . . . . . . . . . . . . . . . 138
                 A.1      Algorithm for pulsed slots . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 138

  Appendix B CRC (informative) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 139
                 B.1      CRC error detection method . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 139
                 B.2      CRC calculation example . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 139

  Appendix C Application family identifier (AFI) (informative) . . . . . . . . . . . . . . 141

  Revision history . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 142




                                                    DocID022712 Rev 12                                                   7/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 192 of 763 PageID #:
                                    1974

  List of tables                                                                                                                M24LR64E-R


  List of tables

  Table 1.    Signal names . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  Table 2.    Device select code . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
  Table 3.    Address most significant byte . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
  Table 4.    Address least significant byte . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
  Table 5.    Sector details . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
  Table 6.    Sector security status byte area . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
  Table 7.    Sector security status byte organization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
  Table 8.    Read/Write protection bit setting. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
  Table 9.    Password control bits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
  Table 10.   Password system area . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
  Table 11.   M24LR64E-R sector security protection after power-up . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
  Table 12.   M24LR64E-R sector security protection after a valid presentation of password 1 . . . . . . . 26
  Table 13.   I2C_Write_Lock bit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
  Table 14.   Configuration byte. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
  Table 15.   Control register . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
  Table 16.   EH_enable bit value after power-up . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
  Table 17.   System parameter sector . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31
  Table 18.   Operating modes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
  Table 19.   10% modulation parameters . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45
  Table 20.   Response data rates. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 51
  Table 21.   UID format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 59
  Table 22.   CRC transmission rules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 61
  Table 23.   VCD request frame format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 62
  Table 24.   M24LR64E-R Response frame format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 62
  Table 25.   M24LR64E-R response depending on Request_flags . . . . . . . . . . . . . . . . . . . . . . . . . . . . 65
  Table 26.   General request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67
  Table 27.   Definition of request flags 1 to 4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 67
  Table 28.   Request flags 5 to 8 when Bit 3 = 0 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 68
  Table 29.   Request flags 5 to 8 when Bit 3 = 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 68
  Table 30.   General response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 69
  Table 31.   Definitions of response flags 1 to 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 69
  Table 32.   Response error code definition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 70
  Table 33.   Inventory request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 71
  Table 34.   Example of the addition of 0-bits to an 11-bit mask value . . . . . . . . . . . . . . . . . . . . . . . . . 71
  Table 35.   Timing values . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 77
  Table 36.   Command codes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 78
  Table 37.   Inventory request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79
  Table 38.   Inventory response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 79
  Table 39.   Stay Quiet request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 81
  Table 40.   Read Single Block request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 82
  Table 41.   Read Single Block response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . 82
  Table 42.   Sector security status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 82
  Table 43.   Read Single Block response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . 82
  Table 44.   Write Single Block request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 83
  Table 45.   Write Single Block response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . 83
  Table 46.   Write Single Block response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . 84
  Table 47.   Read Multiple Block request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 87
  Table 48.   Read Multiple Block response format when Error_flag is NOT set. . . . . . . . . . . . . . . . . . . 87



  8/144                                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 193 of 763 PageID #:
                                    1975

  M24LR64E-R                                                                                                                List of tables


  Table 49.   Sector security status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 87
  Table 50.   Read Multiple Block response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . 87
  Table 51.   Select request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 88
  Table 52.   Select Block response format when Error_flag is NOT set. . . . . . . . . . . . . . . . . . . . . . . . . 88
  Table 53.   Select response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 89
  Table 54.   Reset to Ready request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 89
  Table 55.   Reset to Ready response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . 90
  Table 56.   Reset to ready response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . 90
  Table 57.   Write AFI request format. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 91
  Table 58.   Write AFI response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . . . 91
  Table 59.   Write AFI response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 91
  Table 60.   Lock AFI request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
  Table 61.   Lock AFI response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
  Table 62.   Lock AFI response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92
  Table 63.   Write DSFID request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 94
  Table 64.   Write DSFID response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . 94
  Table 65.   Write DSFID response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 94
  Table 66.   Lock DSFID request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 95
  Table 67.   Lock DSFID response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . 95
  Table 68.   Lock DSFID response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96
  Table 69.   Get System Info request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 97
  Table 70.   Get System Info response format when Protocol_extension_flag = 0 and
              Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 97
  Table 71.   Get System Info response format when Protocol_extension_flag = 1 and
              Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 97
  Table 72.   Get System Info response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . 97
  Table 73.   Get Multiple Block Security Status request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 98
  Table 74.   Get Multiple Block Security Status response format when Error_flag is NOT set . . . . . . . 99
  Table 75.   Sector security status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 99
  Table 76.   Get Multiple Block Security Status response format when Error_flag is set . . . . . . . . . . . . 99
  Table 77.   Write-sector Password request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 100
  Table 78.   Write-sector Password response format when Error_flag is NOT set . . . . . . . . . . . . . . . 100
  Table 79.   Write-sector Password response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . 100
  Table 80.   Lock-sector request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 101
  Table 81.   Sector security status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 102
  Table 82.   Lock-sector response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . 102
  Table 83.   Lock-sector response format when Error_flag is set. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 102
  Table 84.   Present-sector Password request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 103
  Table 85.   Present-sector Password response format when Error_flag is NOT set . . . . . . . . . . . . . 103
  Table 86.   Present-sector Password response format when Error_flag is set . . . . . . . . . . . . . . . . . . 103
  Table 87.   Fast Read Single Block request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 104
  Table 88.   Fast Read Single Block response format when Error_flag is NOT set . . . . . . . . . . . . . . . 105
  Table 89.   Sector security status . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 105
  Table 90.   Fast Read Single Block response format when Error_flag is set . . . . . . . . . . . . . . . . . . . 105
  Table 91.   Fast Inventory Initiated request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106
  Table 92.   Fast Inventory Initiated response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 106
  Table 93.   Fast Initiate request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 107
  Table 94.   Fast Initiate response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 107
  Table 95.   Fast Read Multiple Block request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 108
  Table 96.   Fast Read Multiple Block response format when Error_flag is NOT set. . . . . . . . . . . . . . 108
  Table 97.   Sector security status if Option_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 109
  Table 98.   Fast Read Multiple Block response format when Error_flag is set . . . . . . . . . . . . . . . . . . 109



                                                        DocID022712 Rev 12                                                               9/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 194 of 763 PageID #:
                                    1976

  List of tables                                                                                                                 M24LR64E-R


  Table 99.    Inventory Initiated request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 110
  Table 100.   Inventory Initiated response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 110
  Table 101.   Initiate request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 111
  Table 102.   Initiate response format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 111
  Table 103.   ReadCfg request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 112
  Table 104.   ReadCfg response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . . . 112
  Table 105.   ReadCfg response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 112
  Table 106.   WriteEHCfg request format. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 113
  Table 107.   WriteEHCfg response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . 113
  Table 108.   WriteEHCfg response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . 113
  Table 109.   WriteDOCfg request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 114
  Table 110.   WriteDOCfg response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . 115
  Table 111.   WriteDOCfg response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . 115
  Table 112.   SetRstEHEn request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 116
  Table 113.   SetRstEHEn response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . 116
  Table 114.   SetRstEHEn response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . 116
  Table 115.   CheckEHEn request format . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 117
  Table 116.   CheckEHEn response format when Error_flag is NOT set . . . . . . . . . . . . . . . . . . . . . . . . 117
  Table 117.   CheckEHEn response format when Error_flag is set . . . . . . . . . . . . . . . . . . . . . . . . . . . . 117
  Table 118.   Absolute maximum ratings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 119
  Table 119.   I2C operating conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 120
  Table 120.   AC test measurement conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 120
  Table 121.   Input parameters. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 120
  Table 122.   I2C DC characteristics . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 121
  Table 123.   I2C AC characteristics. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 122
  Table 124.   Write cycle endurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 124
  Table 125.   RF characteristics . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 125
  Table 126.   Operating conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 126
  Table 127.   Energy harvesting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 127
  Table 128.   SO8N – 8-lead plastic small outline, 150 mils body width,
               package mechanical data . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 131
  Table 129.   UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch ultra thin profile fine pitch
               dual flat package mechanical data . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 133
  Table 130.   TSSOP8 – 8-lead thin shrink small outline, 3 x 6.4 mm, 0.65 mm pitch,
               package mechanical data . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 135
  Table 131.   Ordering information scheme for packaged devices . . . . . . . . . . . . . . . . . . . . . . . . . . . . 136
  Table 132.   Ordering and marking information . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 137
  Table 133.   CRC definition. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 139
  Table 134.   AFI coding. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 141
  Table 135.   Document revision history . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 142




  10/144                                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 195 of 763 PageID #:
                                    1977

  M24LR64E-R                                                                                                                   List of figures


  List of figures

  Figure 1.    Logic diagram . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  Figure 2.    8-pin package connections . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  Figure 3.    I2C Fast mode (fC = 400 kHz): maximum Rbus value versus bus parasitic
               capacitance (Cbus) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
  Figure 4.    I2C bus protocol . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
  Figure 5.    Circuit diagram . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
  Figure 6.    Memory sector organization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
  Figure 7.    I²C timeout on Start condition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33
  Figure 8.    Write mode sequences with I2C_Write_Lock bit = 1 (data write inhibited). . . . . . . . . . . . . 34
  Figure 9.    Write mode sequences with I2C_Write_Lock bit = 0 (data write enabled) . . . . . . . . . . . . . 35
  Figure 10.   Write cycle polling flowchart using Ack . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
  Figure 11.   Read mode sequences . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37
  Figure 12.   I2C present password command . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
  Figure 13.   I2C write password command . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 40
  Figure 14.   100% modulation waveform . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 45
  Figure 15.   10% modulation waveform . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 46
  Figure 16.   1 out of 256 coding mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 47
  Figure 17.   Detail of a time period . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 48
  Figure 18.   1 out of 4 coding mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 49
  Figure 19.   1 out of 4 coding example. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 49
  Figure 20.   SOF to select 1 out of 256 data coding mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50
  Figure 21.   SOF to select 1 out of 4 data coding mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50
  Figure 22.   EOF for either data coding mode . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50
  Figure 23.   Logic 0, high data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
  Figure 24.   Logic 0, high data rate, fast commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
  Figure 25.   Logic 1, high data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
  Figure 26.   Logic 1, high data rate, fast commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 52
  Figure 27.   Logic 0, low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 53
  Figure 28.   Logic 0, low data rate, fast commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 53
  Figure 29.   Logic 1, low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 53
  Figure 30.   Logic 1, low data rate, fast commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 53
  Figure 31.   Logic 0, high data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
  Figure 32.   Logic 1, high data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
  Figure 33.   Logic 0, low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
  Figure 34.   Logic 1, low data rate . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54
  Figure 35.   Start of frame, high data rate, one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
  Figure 36.   Start of frame, high data rate, one subcarrier, fast commands. . . . . . . . . . . . . . . . . . . . . . 55
  Figure 37.   Start of frame, low data rate, one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 55
  Figure 38.   Start of frame, low data rate, one subcarrier, fast commands . . . . . . . . . . . . . . . . . . . . . . 56
  Figure 39.   Start of frame, high data rate, two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56
  Figure 40.   Start of frame, low data rate, two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 56
  Figure 41.   End of frame, high data rate, one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
  Figure 42.   End of frame, high data rate, one subcarrier, fast commands . . . . . . . . . . . . . . . . . . . . . . 57
  Figure 43.   End of frame, low data rate, one subcarrier . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 57
  Figure 44.   End of frame, low data rate, one subcarrier, Fast commands . . . . . . . . . . . . . . . . . . . . . . 57
  Figure 45.   End of frame, high data rate, two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58
  Figure 46.   End of frame, low data rate, two subcarriers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 58
  Figure 47.   M24LR64E-R decision tree for AFI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60



                                                          DocID022712 Rev 12                                                                11/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 196 of 763 PageID #:
                                    1978

  List of figures                                                                                                              M24LR64E-R


  Figure 48.   M24LR64E-R protocol timing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 63
  Figure 49.   M24LR64E-R state transition diagram . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 65
  Figure 50.   Principle of comparison between the mask, the slot number and the UID . . . . . . . . . . . . . 72
  Figure 51.   Description of a possible anticollision sequence . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 75
  Figure 52.   M24LR64E RF-Busy management following Inventory command . . . . . . . . . . . . . . . . . . . 80
  Figure 53.   Stay Quiet frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . 81
  Figure 54.   Read Single Block frame exchange between VCD and M24LR64E-R. . . . . . . . . . . . . . . . 83
  Figure 55.   Write Single Block frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . 84
  Figure 56.   M24LR64E RF-Busy management following Write command . . . . . . . . . . . . . . . . . . . . . . 85
  Figure 57.   M24LR64E RF-Wip management following Write command . . . . . . . . . . . . . . . . . . . . . . . 86
  Figure 58.   Read Multiple Block frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . 88
  Figure 59.   Select frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . . . 89
  Figure 60.   Reset to Ready frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . 90
  Figure 61.   Write AFI frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . 91
  Figure 62.   Lock AFI frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . 93
  Figure 63.   Write DSFID frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . 95
  Figure 64.   Lock DSFID frame exchange between VCD and M24LR64E-R. . . . . . . . . . . . . . . . . . . . . 96
  Figure 65.   Get System Info frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . 98
  Figure 66.   Get Multiple Block Security Status frame exchange between VCD and M24LR64E-R . . . 99
  Figure 67.   Write-sector Password frame exchange between VCD and M24LR64E-R . . . . . . . . . . . 101
  Figure 68.   Lock-sector frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . 102
  Figure 69.   Present-sector Password frame exchange between VCD and M24LR64E-R . . . . . . . . . 104
  Figure 70.   Fast Read Single Block frame exchange between VCD and M24LR64E-R. . . . . . . . . . . 105
  Figure 71.   Fast Initiate frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . 107
  Figure 72.   Fast Read Multiple Block frame exchange between VCD and M24LR64E-R . . . . . . . . . 109
  Figure 73.   Initiate frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . . . 111
  Figure 74.   ReadCfg frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . . . 112
  Figure 75.   WriteEHCfg frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . . 114
  Figure 76.   WriteDOCfg frame exchange between VCD and M24LR64E-R. . . . . . . . . . . . . . . . . . . . 115
  Figure 77.   SetRstEHEn frame exchange between VCD and M24LR64E-R . . . . . . . . . . . . . . . . . . . 116
  Figure 78.   CheckEHEn frame exchange between VCD and M24LR64E-R. . . . . . . . . . . . . . . . . . . . 118
  Figure 79.   AC test measurement I/O waveform. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 120
  Figure 80.   I2C AC waveforms . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 123
  Figure 81.   ASK modulated signal . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 127
  Figure 82.   Energy harvesting: Vout min vs. Isink. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128
  Figure 83.   Energy harvesting: working domain range 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128
  Figure 84.   Energy harvesting: working domain range 10 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 129
  Figure 85.   Energy harvesting: working domain range 01 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 129
  Figure 86.   Energy harvesting: working domain range 00 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 130
  Figure 87.   SO8N – 8-lead plastic small outline, 150 mils body width, package outline . . . . . . . . . . . 131
  Figure 88.   SO8N – 8-lead plastic small outline, 150 mils body width,
               package recommended footprint . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 132
  Figure 89.   UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch ultra thin profile fine pitch
               dual flat package outline . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 133
  Figure 90.   TSSOP8 – 8-lead thin shrink small outline, 3 x 6.4 mm, 0.65 mm pitch,
               package outline. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 134




  12/144                                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 197 of 763 PageID #:
                                    1979

  M24LR64E-R                                                                                   Description


  1         Description

            The M24LR64E-R device is a Dynamic NFC/RFID tag IC with a dual-interface, electrically
            erasable programmable memory (EEPROM). It features an I2C interface and can be
            operated from a VCC power supply. It is also a contactless memory powered by the received
            carrier electromagnetic wave. The M24LR64E-R is organized as 8192 × 8 bits in the I2C
            mode and as 2048 × 32 bits in the ISO 15693 and ISO 18000-3 mode 1 RF mode.
            The M24LR64E-R also features an energy harvesting analog output, as well as a
            user-configurable digital output pin toggling during either RF write in progress or RF busy
            mode.

                                              Figure 1. Logic diagram

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                               6&/                                       9RXW
                               6'$

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                               $&
                               $&
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                                                                                              06Y9


            The I2C uses a two-wire serial interface, comprising a bidirectional data line and a clock line.
            The devices carry a built-in 4-bit device type identifier code (1010) in accordance with the
            I2C bus definition.
            The device behaves as a slave in the I2C protocol, with all memory operations synchronized
            by the serial clock. Read and Write operations are initiated by a Start condition, generated
            by the bus master. The Start condition is followed by a device select code and Read/Write
            bit (RW) (as described in Table 2), terminated by an acknowledge bit.
            When writing data to the memory, the device inserts an acknowledge bit during the 9th bit
            time, following the bus master’s 8-bit transmission. When data is read by the bus master,
            the bus master acknowledges the receipt of the data byte in the same way. Data transfers
            are terminated by a Stop condition after an Ack for Write, and after a NoAck for Read.
            In the ISO15693/ISO18000-3 mode 1 RF mode, the M24LR64E-R is accessed via the
            13.56 MHz carrier electromagnetic wave on which incoming data is demodulated from the
            received signal amplitude modulation (ASK: Amplitude Shift Keying). When connected to an
            antenna, the operating power is derived from the RF energy and no external power supply is
            required. The received ASK wave is 10% or 100% modulated with a data rate of 1.6 Kbit/s


                                           DocID022712 Rev 12                                         13/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 198 of 763 PageID #:
                                    1980

  Description                                                                                              M24LR64E-R


                using the 1 out of 256 pulse coding mode, or a data rate of 26 Kbit/s using the 1 out of 4
                pulse coding mode.
                Outgoing data is generated by the M24LR64E-R load variation using Manchester coding
                with one or two subcarrier frequencies at 423 kHz and 484 kHz. Data is transferred from the
                M24LR64E-R at 6.6 Kbit/s in low data rate mode and at 26 Kbit/s in high data rate mode.
                The M24LR64E-R supports the 53 Kbit/s fast mode in high data rate mode using one
                subcarrier frequency at 423 kHz.
                The M24LR64E-R follows the ISO 15693 and ISO 18000-3 mode 1 recommendation for
                radio-frequency power and signal interface.
                The M24LR64E-R provides an Energy harvesting mode on the analog output pin Vout.
                When the Energy harvesting mode is activated, the M24LR64E-R can output the excess
                energy coming from the RF field on the Vout analog pin. In case the RF field strength is
                insufficient or when the Energy harvesting mode is disabled, the analog output pin Vout goes
                into high-Z state and the Energy harvesting mode is automatically stopped.
                The M24LR64E-R features a user configurable digital out pin RF WIP/BUSY that can be
                used to drive a microcontroller interrupt input pin (available only when the M24LR64E-R is
                correctly powered on the VCC pin).
                When configured in the RF write in progress mode (RF WIP mode), the RF WIP/BUSY pin is
                driven low for the entire duration of the RF internal write operation. When configured in the
                RF busy mode (RF BUSY mode), the RF WIP/BUSY pin is driven low for the entire duration
                of the RF command progress.
                The RF WIP/BUSY pin is an open drain output and must be connected to a pull-up resistor.

                                                         Table 1. Signal names
                             Signal name                              Function                    Direction

                Vout                                     Energy harvesting Output                Analog output
                SDA                                      Serial Data                                  I/O
                SCL                                      Serial Clock                                Input
                AC0, AC1                                 Antenna coils                                I/O
                VCC                                      Supply voltage                                -
                RF WIP/BUSY                              Digital signal                          Digital output
                VSS                                      Ground                                        -


                                               Figure 2. 8-pin package connections

                                                           9RXW                  9&&

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                                                          $&                    6&/

                                                           966                   6'$
                                                                                                             069



                1. See Section 31 for package dimensions, and how to identify pin 1.




  14/144                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 199 of 763 PageID #:
                                    1981

  M24LR64E-R                                                                           Signal descriptions


  2         Signal descriptions

  2.1       Serial clock (SCL)
            This input signal is used to strobe all data in and out of the device. In applications where this
            signal is used by slave devices to synchronize the bus to a slower clock, the bus master
            must have an open drain output, and a pull-up resistor must be connected from Serial Clock
            (SCL) to VCC. (Figure 3 indicates how the value of the pull-up resistor can be calculated). In
            most applications, though, this method of synchronization is not employed, and so the pull-
            up resistor is not necessary, provided that the bus master has a push-pull (rather than open
            drain) output.


  2.2       Serial data (SDA)
            This bidirectional signal is used to transfer data in or out of the device. It is an open drain
            output that may be wire-OR’ed with other open drain or open collector signals on the bus. A
            pull-up resistor must be connected from Serial Data (SDA) to VCC. (Figure 3 indicates how
            the value of the pull-up resistor can be calculated).


  2.3       RF Write in progress / RF Busy (RF WIP/BUSY)
            This configurable output signal is used either to indicate that the M24LR64E-R is executing
            an internal write cycle from the RF channel or that an RF command is in progress. RF WIP
            and signals are available only when the M24LR64E-R is powered by the Vcc pin. It is an
            open drain output and a pull-up resistor must be connected from RF WIP/BUSY to VCC.


  2.4       Energy harvesting analog output (Vout)
            This analog output pin is used to deliver the analog voltage Vout available when the Energy
            harvesting mode is enabled and the RF field strength is sufficient. When the Energy
            harvesting mode is disabled or the RF field strength is not sufficient, the energy harvesting
            analog voltage output Vout is in High-Z state.


  2.5       Antenna coil (AC0, AC1)
            These inputs are used to connect the device to an external coil exclusively. It is advised not
            to connect any other DC or AC path to AC0 or AC1.
            When correctly tuned, the coil is used to power and access the device using the ISO 15693
            and ISO 18000-3 mode 1 protocols.

  2.5.1     Device reset in RF mode
            To ensure a proper reset of the RF circuitry, the RF field must be turned off (100%
            modulation) for a minimum tRF_OFF period of time.




                                           DocID022712 Rev 12                                         15/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 200 of 763 PageID #:
                                    1982

  Signal descriptions                                                                        M24LR64E-R


  2.6        VSS ground
             VSS is the reference for the VCC supply voltage and Vout analog output voltage.


  2.7        Supply voltage (VCC)
             This pin can be connected to an external DC supply voltage.
  Note:      An internal voltage regulator allows the external voltage applied on VCC to supply the
             M24LR64E-R, while preventing the internal power supply (rectified RF waveforms) to output
             a DC voltage on the VCC pin.

  2.7.1      Operating supply voltage VCC
             Prior to selecting the memory and issuing instructions to it, a valid and stable VCC voltage
             within the specified [VCC(min), VCC(max)] range must be applied (see Table 119). To
             maintain a stable DC supply voltage, it is recommended to decouple the VCC line with a
             suitable capacitor (usually around 10 nF) close to the VCC/VSS package pins.
             This voltage must remain stable and valid until the end of the transmission of the instruction
             and, for a Write instruction, until the completion of the internal I²C write cycle (tW).

  2.7.2      Power-up conditions
             When the power supply is turned on, VCC rises from VSS to VCC. The VCC rise time must not
             vary faster than 1V/µs.

  2.7.3      Device reset in I²C mode
             In order to prevent inadvertent write operations during power-up, a power-on reset (POR)
             circuit is included. At power-up (continuous rise of VCC), the device does not respond to any
             I²C instruction until VCC has reached the power-on reset threshold voltage (this threshold is
             lower than the minimum VCC operating voltage defined in Table 119). When VCC passes
             over the POR threshold, the device is reset and enters the Standby power mode. However,
             the device must not be accessed until VCC has reached a valid and stable VCC voltage
             within the specified [VCC(min), VCC(max)] range.
             In a similar way, during power-down (continuous decrease in VCC), as soon as VCC drops
             below the power-on reset threshold voltage, the device stops responding to any instruction
             sent to it.

  2.7.4      Power-down conditions
             During power-down (continuous decay of VCC), the device must be in Standby power mode
             (mode reached after decoding a Stop condition, assuming that there is no internal write
             cycle in progress).




  16/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 201 of 763 PageID #:
                                    1983

  M24LR64E-R                                                                                                                                       Signal descriptions


               Figure 3. I2C Fast mode (fC = 400 kHz): maximum Rbus value versus bus parasitic
                                               capacitance (Cbus)
                                      
               "US LINE PULL UP RESISTOR
                                                                                                            4HE 2 BUS X #BUS TIME CONSTANT
                                                                                                            MUST BE BELOW THE  NS                         6##
                                                                                                            TIME CONSTANT LINE REPRESENTED
                         K

                                                                        2                                   ON THE LEFT
                                                                        BU
                                                                             S §
                                                                                 #
                                                                                  BU                                                                           2BUS
                                                   (ERE 2BUS § #BUS   NS        S 
                                                                                        
                                            K½                                           N
                                                                                             S
                                                                                                                                             )£# BUS   3#,
                                                                                                                                                                      -XXX
                                                                                                                                             MASTER
                                                                                                                                                       3$!
                                                                 P&
                                                                                                                                                               #BUS
                                                                                                    
                                                                         "US LINE CAPACITOR P&

                                                                                                                                                                        AIB



                                                                                             Figure 4. I2C bus protocol




                                                                                       DocID022712 Rev 12                                                                17/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 202 of 763 PageID #:
                                    1984

  Signal descriptions                                                                               M24LR64E-R


                                                     Table 2. Device select code
                                                Device type identifier(1)        Chip Enable address       RW
                         -
                                           b7          b6           b5      b4    b3      b2        b1     b0

              Device select code           1           0            1       0    E2(2)    1         1      RW
             1. The most significant bit, b7, is sent first.
             2. E2 is not connected to any external pin. It is however used to address the M24LR64E-R as
                described in Section 3 and Section 4.


                                           Table 3. Address most significant byte
                 b15           b14             b13          b12          b11        b10        b9        b8


                                           Table 4. Address least significant byte
                  b7            b6              b5             b4           b3      b2         b1        b0




  18/144                                         DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 203 of 763 PageID #:
                                    1985

  M24LR64E-R                                                                        User memory organization


  3         User memory organization

            The M24LR64E-R is divided into 64 sectors of 32 blocks of 32 bits, as shown in Table 5.
            Figure 6 shows the memory sector organization. Each sector can be individually read-
            and/or write-protected using a specific password command. Read and write operations are
            possible if the addressed data is not in a protected sector.
            The M24LR64E-R also has a 64-bit block that is used to store the 64-bit unique identifier
            (UID). The UID is compliant with the ISO 15963 description, and its value is used during the
            anticollision sequence (Inventory). This block is not accessible by the user in RF device
            operation and its value is written by ST on the production line.
            The M24LR64E-R includes an AFI register that stores the application family identifier, and a
            DSFID register that stores the data storage family identifier used in the anticollision
            algorithm.
            The M24LR64E-R has four 32-bit blocks that store an I2C password plus three RF password
            codes.

                                                        Figure 5. Circuit diagram

                                                                                                  9RXW
                                         5RZGHFRGHU




                                                               ((3520

                                                                                                  5):,3%86<

               $&

                                                                 /DWFK

                                                                                                  6&/
                                                             /RJLF                  , &
                           5)
                                                                                                  6'$

               $&
                                                                                                  9&&
                         5)9&&                         3RZHUPDQDJHPHQW            &RQWDFW9&&
                                                                                                  966




                                                                                                         069




                                         DocID022712 Rev 12                                                 19/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 204 of 763 PageID #:
                                    1986

  User memory organization                                                                   M24LR64E-R


                                     Figure 6. Memory sector organization

                                                                             ^ĞĐƚŽƌƐĞĐƵƌŝƚǇ
                      ^ĞĐƚŽƌ                         ƌĞĂ
                                                                                  ƐƚĂƚƵƐ

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                         ϭ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ
                         Ϯ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ
                         ϯ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ
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                        ϲϬ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ
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                        ϲϮ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ
                        ϲϯ                  ϭ<ďŝƚWZKDƐĞĐƚŽƌ                    ϱďŝƚƐ

                                                /ϸƉĂƐƐǁŽƌĚ                      ^ǇƐƚĞŵ
                                               Z&ƉĂƐƐǁŽƌĚϭ                      ^ǇƐƚĞŵ
                                               Z&ƉĂƐƐǁŽƌĚϮ                      ^ǇƐƚĞŵ
                                               Z&ƉĂƐƐǁŽƌĚϯ
                                                                                  ^ǇƐƚĞŵ
                                                 ϴͲďŝƚ^&/
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                                              ϴͲďŝƚĐŽŶĨŝŐƵƌĂƚŝŽŶ                 ^ǇƐƚĞŵ
                                           ϭϲͲďŝƚ/ϸtƌŝƚĞ>ŽĐŬͺďŝƚ             ^ǇƐƚĞŵ
                                                  ϴϬͲďŝƚ^^^                     ^ǇƐƚĞŵ

                                                                                             D^ϯϬϳϲϯsϭ



            Sector details
            The M24LR64E-R user memory is divided into 64 sectors. Each sector contains 1024 bits.
            The protection scheme is described in Section 4: System memory area.
            In RF mode, a sector provides 32 blocks of 32 bits. Each read and write access is done by
            block. Read and write block accesses are controlled by a Sector Security Status byte that
            defines the access rights to the 32 blocks contained in the sector. If the sector is not
            protected, a Write command updates the complete 32 bits of the selected block.
            In I2C mode, a sector provides 128 bytes that can be individually accessed in Read and
            Write modes. When protected by the corresponding I2C_Write_Lock bit, the entire sector is
            write-protected. To access the user memory, the device select code used for any I2C
            command must have the E2 Chip Enable address at 0.




  20/144                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 205 of 763 PageID #:
                                    1987

  M24LR64E-R                                                                 User memory organization


                                           Table 5. Sector details

               Sector   RF block   I2C byte
                                               Bits [31:24]   Bits [23:16]     Bits [15:8]   Bits [7:0]
               number   address    address

                           0          0           user           user             user         user
                           1          4           user           user             user         user
                           2          8           user           user             user         user
                           3         12           user           user             user         user
                           4         16           user           user             user         user
                           5         20           user           user             user         user
                           6         24           user           user             user         user
                           7         28           user           user             user         user
                           8         32           user           user             user         user
                           9         36           user           user             user         user
                          10         40           user           user             user         user
                           11        44           user           user             user         user
                          12         48           user           user             user         user
                          13         52           user           user             user         user
                          14         56           user           user             user         user
                          15         60           user           user             user         user
                 0
                          16         64           user           user             user         user
                          17         68           user           user             user         user
                          18         72           user           user             user         user
                          19         76           user           user             user         user
                          20         80           user           user             user         user
                          21         84           user           user             user         user
                          22         88           user           user             user         user
                          23         92           user           user             user         user
                          24         96           user           user             user         user
                          25         100          user           user             user         user
                          26         104          user           user             user         user
                          27         108          user           user             user         user
                          28         112           user          user             user         user
                          29         116           user          user             user         user
                          30         120          user           user             user         user
                          31         124          user           user             user         user




                                     DocID022712 Rev 12                                           21/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 206 of 763 PageID #:
                                    1988

  User memory organization                                                                     M24LR64E-R


                                       Table 5. Sector details (continued)

              Sector    RF block       I2C byte
                                                   Bits [31:24]   Bits [23:16]   Bits [15:8]    Bits [7:0]
              number    address        address

                             32          128          user           user           user          user
                             33          132          user           user           user          user
                             34          136          user           user           user          user
                             35          140          user           user           user          user
                 1           36          144          user           user           user          user
                             37          148          user           user           user          user
                             38          152          user           user           user          user
                             39          156          user           user           user          user
                             ... ...




                                         ... ...




                                                       ... ...




                                                                      ... ...




                                                                                     ... ...




                                                                                                   ... ...
                ...




  22/144                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 207 of 763 PageID #:
                                    1989

  M24LR64E-R                                                                User memory organization


                                   Table 5. Sector details (continued)

               Sector   RF block   I2C byte
                                              Bits [31:24]   Bits [23:16]     Bits [15:8]   Bits [7:0]
               number   address    address

                         2016       8064         user           user             user         user
                         2017       8068         user           user             user         user
                         2018       8072         user           user             user         user
                         2019       8076         user           user             user         user
                         2020       8080         user           user             user         user
                         2021       8084         user           user             user         user
                         2022       8088         user           user             user         user
                         2023       8092         user           user             user         user
                         2024       8096         user           user             user         user
                         2025       8100         user           user             user         user
                         2026       8104         user           user             user         user
                         2027       8108         user           user             user         user
                         2028       8112         user           user             user         user
                         2029       8116         user           user             user         user
                         2030       8120         user           user             user         user
                         2031       8124         user           user             user         user
                 63
                         2032       8128         user           user             user         user
                         2033       8132         user           user             user         user
                         2034       8136         user           user             user         user
                         2035       8140         user           user             user         user
                         2036       8144         user           user             user         user
                         2037       8148         user           user             user         user
                         2038       8152         user           user             user         user
                         2039       8156         user           user             user         user
                         2040       8160         user           user             user         user
                         2041       8164         user           user             user         user
                         2042       8168         user           user             user         user
                         2043       8172         user           user             user         user
                         2044       8176         user           user             user         user
                         2045       8180         user           user             user         user
                         2046       8184         user           user             user         user
                         2047       8188         user           user             user         user




                                     DocID022712 Rev 12                                          23/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 208 of 763 PageID #:
                                    1990

  System memory area                                                                               M24LR64E-R


  4         System memory area

  4.1       M24LR64E-R block security in RF mode
            The M24LR64E-R provides a special protection mechanism based on passwords. In RF
            mode, each memory sector of the M24LR64E-R can be individually protected by one out of
            three available passwords, and each sector can also have Read/Write access conditions
            set.
            Each memory sector of the M24LR64E-R is assigned with a Sector security status byte
            including a Sector Lock bit, two Password Control bits and two Read/Write protection bits,
            as shown in Table 7.
            Table 6 describes the organization of the Sector security status byte, which can be read
            using the Read Single Block and Read Multiple Block commands with the Option_flag set
            to 1.
            On delivery, the default value of the SSS bytes is set to 00h.

                                        Table 6. Sector security status byte area
                  I2C   byte address            Bits [31:24]    Bits [23:16]    Bits [15:8]         Bits [7:0]

                E2 = 1              0             SSS 3             SSS 2           SSS 1            SSS 0
                E2 = 1              4             SSS 7             SSS 6           SSS 5            SSS 4
                E2 = 1              8             SSS 11          SSS 10            SSS 9            SSS 8
                E2 = 1             12             SSS 15          SSS 14            SSS 13           SSS 12
                E2 = 1             16             SSS 19          SSS 18            SSS 17           SSS 16
                E2 = 1             20             SSS 23          SSS 22            SSS 21           SSS 20
                E2 = 1             24             SSS 27          SSS 26            SSS 25           SSS 24
                E2 = 1             28             SSS 31          SSS 30            SSS 29           SSS 28
                E2 = 1             32             SSS 35          SSS 34            SSS 33           SSS 32
                E2 = 1             36             SSS 39          SSS 38            SSS 37           SSS 36
                E2 = 1             40             SSS 43          SSS 42            SSS 41           SSS 40
                E2 = 1             44             SSS 47          SSS 46            SSS 45           SSS 44
                E2 = 1             48             SSS 51          SSS 50            SSS 49           SSS 48
                E2 = 1             52             SSS 55          SSS 54            SSS 53           SSS 52
                E2 = 1             56             SSS 59          SSS 58            SSS 57           SSS 56
                E2 = 1             60             SSS 63          SSS 62            SSS 61           SSS 60


                                   Table 7. Sector security status byte organization
                b7            b6           b5            b4          b3        b2             b1          b0

                                                                                Read / Write           Sector
                 0            0            0         Password control bits
                                                                               protection bits          Lock




  24/144                                       DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 209 of 763 PageID #:
                                    1991

  M24LR64E-R                                                                           System memory area


            When the Sector Lock bit is set to 1, for instance by issuing a Lock-sector command, the
            two Read/Write protection bits (b1, b2) are used to set the Read/Write access of the sector
            as described in Table 8.

                                     Table 8. Read/Write protection bit setting
                Sector                     Sector access                          Sector access
                            b2, b1
                 Lock                when password presented             when password not presented

                  0          xx        Read              Write                Read                Write
                  1          00        Read              Write                Read            No Write
                  1          01        Read              Write                Read                Write
                  1          10        Read              Write               No Read          No Write
                  1          11        Read            No Write              No Read          No Write


            The next two bits of the Sector security status byte (b3, b4) are the password control bits.
            The value of these two bits is used to link a password to the sector, as defined in Table 9.

                                          Table 9. Password control bits
                   b4, b3                                         Password

                      00                        The sector is not protected by a password.
                      01                          The sector is protected by password 1.
                      10                          The sector is protected by password 2.
                      11                          The sector is protected by password 3.


            The M24LR64E-R password protection is organized around a dedicated set of commands,
            plus a system area of three password blocks where the password values are stored. This
            system area is described in Table 10.

                                          Table 10. Password system area
                      Add                                         Password

                       1                                         Password 1
                       2                                         Password 2
                       3                                         Password 3


            The dedicated commands for protection in RF mode are:
            •    Write-sector password:
                 The Write-sector password command is used to write a 32-bit block into the password
                 system area. This command must be used to update password values. After the write
                 cycle, the new password value is automatically activated. It is possible to modify a
                 password value after issuing a valid Present-sector password command. On delivery,
                 the three default password values are set to 0000 0000h and are activated.
            •    Lock-sector:
                 The Lock-sector command is used to set the sector security status byte of the selected
                 sector. Bits b4 to b1 of the sector security status byte are affected by the Lock-sector


                                          DocID022712 Rev 12                                              25/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 210 of 763 PageID #:
                                    1992

  System memory area                                                                             M24LR64E-R


                   command. The sector lock bit, b0, is set to 1 automatically. After issuing a Lock-sector
                   command, the protection settings of the selected sector are activated. The protection of
                   a locked block cannot be changed in RF mode. A Lock-sector command sent to a
                   locked sector returns an error code.
            •      Present-sector password:
                   The Present-sector password command is used to present one of the three passwords
                   to the M24LR64E-R in order to modify the access rights of all the memory sectors
                   linked to that password (Table 8) including the password itself. If the presented
                   password is correct, the access rights remain activated until the tag is powered off or
                   until a new Present-sector password command is issued. If the presented password
                   value is not correct, all the access rights of all the memory sectors are deactivated.
            •      Sector security status byte area access conditions in I2C mode:
                   In I2C mode, read access to the sector security status byte area is always allowed.
                   Write access depends on the correct presentation of the I2C password (see
                   Section 5.16.1: I2C present password command description).
                   To access the Sector security status byte area, the device select code used for any I2C
                   command must have the E2 Chip Enable address at 1.
                   An I2C write access to a sector security status byte re-initializes the RF access
                   condition to the given memory sector.

  4.1.1     Example of the M24LR64E-R security protection in RF mode
            Table 11 and Table 12 show the sector security protections before and after a valid Present-
            sector password command. Table 11 shows the sector access rights of an M24LR64E-R
            after power-up. After a valid Present-sector password command with password 1, the
            memory sector access is changed as shown in Table 12.

                          Table 11. M24LR64E-R sector security protection after power-up
                                                                               Sector security status byte
                 Sector
                                            Sector features
                address
                                                                              b7b6b5   b4   b3    b2   b1   b0

                  0        Protection: standard      Read         No Write      xxx     0   0     0    0    1
                  1       Protection: password 1     Read         No Write      xxx     0   1     0    0    1
                  2       Protection: password 1     Read           Write       xxx     0   1     0    1    1
                  3       Protection: password 1    No Read       No Write      xxx     0   1     1    0    1
                  4       Protection: password 1    No Read       No Write      xxx     0   1     1    1    1


                  Table 12. M24LR64E-R sector security protection after a valid presentation of
                                                password 1
                                                                               Sector security status byte
                 Sector
                                            Sector features
                address
                                                                              b7b6b5   b4   b3    b2   b1   b0

                  0        Protection: standard      Read         No Write      xxx     0   0     0    0    1
                  1       Protection: password 1     Read           Write       xxx     0   1     0    0    1
                  2       Protection: password 1     Read           Write       xxx     0   1     0    1    1




  26/144                                     DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 211 of 763 PageID #:
                                    1993

  M24LR64E-R                                                                                System memory area


                 Table 12. M24LR64E-R sector security protection after a valid presentation of
                                         password 1 (continued)
                                                                                     Sector security status byte
                Sector
                                             Sector features
               address
                                                                                    b7b6b5      b4   b3     b2   b1     b0

                 3         Protection: password 1     Read              Write         xxx       0    1      1    0      1
                 4         Protection: password 1     Read         No Write           xxx       0    1      1    1      1



  4.2       M24LR64E-R block security in I²C mode (I2C_Write_Lock bit
            area)
            In the I2C mode only, it is possible to protect individual sectors against Write operations.
            This feature is controlled by the I2C_Write_Lock bits stored in the 8 bytes of the
            I2C_Write_Lock bit area. I2C_Write_Lock bit area starts from location 8192 (see Table 13).
            To access the I2C_Write_Lock bit area, the device select code used for any I2C command
            must have the E2 Chip Enable address at 1.
            Using these 16 bits, it is possible to write-protect all the 64 sectors of the M24LR64E-R
            memory. Each bit controls the I2C write access to a specific sector as shown in Table 13. It
            is always possible to unprotect a sector in the I2C mode. When an I2C_Write_Lock bit is
            reset to 0, the corresponding sector is unprotected. When the bit is set to 1, the
            corresponding sector is write-protected.
            In I2C mode, read access to the I2C_Write_Lock bit area is always allowed. Write access
            depends on the correct presentation of the I2C password.
            On delivery, the default value of the eight bytes of the I2C_Write_Lock bit area is reset to
            00h.

                                               Table 13. I2C_Write_Lock bit
               I2C   byte address      Bits [31:24]      Bits [23:16]            Bits [15:8]              Bits [7:0]

               E2 = 1       2048      sectors 31-24     sectors 23-16           sectors 15-8              sectors 7-0
               E2 = 1       2052      sectors 63-56     sectors 55-48           sectors 47-40         sectors 39-32



  4.3       Configuration byte and Control register
            The M24LR64E-R offers an 8-bit non-volatile Configuration byte located at I²C location 2320
            of the system area used to store the RF WIP/BUSY pin and the energy harvesting
            configuration (see Table 14).
            The M24LR64E-R also offers an 8-bit volatile Control register located at I²C location 2336 of
            the system area used to store the energy harvesting enable bit as well as a FIELD_ON bit
            indicator (see Table 15).

  4.3.1     RF WIP/BUSY pin configuration
            The M24LR64E-R features a configurable open drain output RF WIP/BUSY pin used to
            provide RF activity information to an external device.




                                              DocID022712 Rev 12                                                  27/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 212 of 763 PageID #:
                                    1994

  System memory area                                                                        M24LR64E-R


            The RF WIP/BUSY pin functionality depends on the value of bit 3 of the Configuration byte.
            •    RF busy mode
            When bit 3 of the Configuration byte is set to 0, the RF WIP/BUSY pin is configured in RF
            busy mode.
            The purpose of this mode is to indicate to the I²C bus master whether the M24LR64E-R is
            busy in RF mode or not.
            In this mode, the RF WIP/BUSY pin is tied to 0 from the RF command Start Of Frame (SOF)
            until the end of the command execution.
            If a bad RF command is received, the RF WIP/BUSY pin is tied to 0 from the RF command
            SOF until the reception of the RF command CRC. Otherwise, the RF WIP/BUSY pin is in
            high-Z state.
            When tied to 0, the RF WIP/BUSY signal returns to High-Z state if the RF field is cut-off.
            During the execution of I²C commands, the RF WIP/BUSY pin remains in high-Z state.
            •    RF Write in progress
            When bit 3 of the Configuration byte is set to 1, the RF WIP/BUSY pin is configured in RF
            Write in progress mode.
            The purpose of this mode is to indicate to the I²C bus master that some data has been
            changed in RF mode.
            In this mode, the RF WIP/BUSY pin is tied to 0 for the duration of an internal write operation
            (i.e. between the end of a valid RF write command and the beginning of the RF answer).
            During the execution of I²C write operations, the RF WIP/BUSY pin remains in high-Z state.

  4.3.2     Energy harvesting configuration
            The M24LR64E-R features an Energy harvesting mode on the Vout analog output.
            The general purpose of the Energy harvesting mode is to deliver a part of the non-
            necessary RF power received by the M24LR64E-R on the AC0-AC1 RF input in order to
            supply an external device. The current consumption on the analog voltage output Vout is
            limited to ensure that the M24LR64E-R is correctly supplied during the powering of the
            external device.
            When the Energy harvesting mode is enabled and the power delivered on the AC0-AC1 RF
            input exceeds the minimum required PAC0-AC1_min, the M24LR64E-R is able to deliver a
            limited and unregulated voltage on the Vout pin, assuming the current consumption on the
            Vout does not exceed the Isink_max maximum value.
            If one of the conditions above is not met, the analog voltage output pin Vout is set in High-Z
            state.
            For robust applications using the Energy harvesting mode, four current fan-out levels can be
            chosen.




  28/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 213 of 763 PageID #:
                                    1995

  M24LR64E-R                                                                                                 System memory area


            •      Vout sink current configuration
            The sink current level is chosen by programming EH_cfg1 and EH_cfg0 into the
            Configuration byte (see Table 14).
            The minimum power level required on AC0-AC1 RF input PAC0-AC1_min, the delivered
            voltage Vout, as well as the maximum current consumption Isink_max on the Vout pin
            corresponding to the <EH_cfg1,EH_cfg0> bit values are described in Table 127.

                                                      Table 14. Configuration byte
                I2C byte address Bit 7 Bit 6 Bit 5 Bit 4                             Bit 3               Bit 2        BIT 1       BIT 0
                                        (1)    X(1)     (1)       (1)
                 E2=1      2320     X                  X          X           RF WIP/BUSY           EH_mode EH_cfg1 EH_cfg0
            1. Bit 7 to bit 4 are don’t care bits.


            •      Energy harvesting enable control
            Delivery of Energy harvesting analog output voltage on the Vout pin depends on the value of
            the EH_enable bit of the volatile Control register (see Table 15).

                                                        Table 15. Control register
                 I2C byte address             Bit 7     Bit 6         Bit 5   Bit 4      Bit 3   Bit 2           BIT 1           BIT 0

                 E2=1        2336        T-Prog(1)         0(1)       0(1)        0(1)   0(1)    0(1)     FIELD_ON(1)          EH_enable
            1. Bit 7 to bit 1 are read-only bits.


                   –     When set to 1, the EH_enable bit enables the Energy harvesting mode, meaning
                         that the Vout analog output signal is delivered when the PAC0-AC1_min and Isink_max
                         conditions corresponding to the chosen sink current configuration bit are met (see
                         Table 127).
                   –     When set to 0, the EH_enable bit disables the Energy harvesting mode and the
                         analog output Vout remains in High-Z state.
                   –     The T_Prog flag indicates a correct duration of the I²C write time (tw). This bit is
                         reset to 0 after POR and at the beginning of each writing cycle; it is set to 1 only
                         after a correct completion of the writing cycle.
            •      Energy harvesting default mode control
            At power-up, in I²C or RF mode, the EH_enable bit is updated according to the value of the
            EH_mode bit stored in the non-volatile Configuration byte (see Table 16). In other words,
            the EH_mode bit is used to configure whether the Energy harvesting mode is enabled or not
            by default.

                                         Table 16. EH_enable bit value after power-up
                                                                                                           Energy harvesting
                        EH_mode value                      EH_enable after power-up
                                                                                                                 after power-up

                              0                                               1                                     enabled
                              1                                               0                                     disabled




                                                      DocID022712 Rev 12                                                           29/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 214 of 763 PageID #:
                                    1996

  System memory area                                                                        M24LR64E-R


  4.3.3     FIELD_ON indicator bit
            The FIELD_ON indicator bit located as bit 1 of the Control register is a read-only bit used to
            indicate when the RF power level delivered to the M24LR64E-R is sufficient to execute RF
            commands.
            •   When FIELD_ON = 0, the M24LR64E-R is not able to execute any RF commands.
            •   When FIELD_ON =1, the M24LR64E-R is able to execute any RF commands.
  Note:     During read access to the Control register in RF mode, the FIELD_ON bit is always read
            at 1.

  4.3.4     Configuration byte access in I²C and RF modes
            In I²C mode, read and write accesses to the non-volatile Configuration byte are always
            allowed. To access the Configuration byte, the device select code used for any I²C
            command must have the E2 Chip enable address at 1.
            The dedicated commands to access the Configuration byte in RF mode are:
            •   Read configuration byte command (ReadCfg):
                –    The ReadCfg command is used to read the eight bits of the Configuration byte.
            •   Write energy harvesting configuration command (WriteEHCfg):
                –    The WriteEHCfg command is used to write the EH_mode, EH_cfg1 and EH_cfg0
                     bits into the Configuration byte.
            •   Write RF WIP/BUSY pin configuration command (WriteDOCfg):
                –    The WriteDOCfg command is used to write the RF WIP/BUSY bit into the
                     Configuration byte.
            After any write access to the Configuration byte, the new configuration is automatically
            applied.

  4.3.5     Control register access in I²C or RF mode
            In I²C mode, read and write accesses to the volatile Control register are always allowed. To
            access the Control register, the device select code used for any I²C command must have
            the E2 Chip enable address at 1.
            The dedicated commands to access the Control register in RF mode are:
            •   Check energy harvesting enable bit command (CheckEHEn):
                –    The CheckEHEn command is used to read the eight bits of the Control register.
                     When it is run, the FIELD_ON bit is always read at 1.
            •   Set/reset energy harvesting enable bit command (SetRstEHEn):
                –    The SetRstEHEn command is used to set or reset the value of the EH_enable bit
                     into the Control register.


  4.4       ISO 15693 system parameters
            The M24LR64E-R provides the system area required by the ISO 15693 RF protocol, as
            shown in Table 17.
            The first 32-bit block starting from I2C address 2304 stores the I2C password. This
            password is used to activate/deactivate the write protection of the protected sector in I2C



  30/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 215 of 763 PageID #:
                                    1997

  M24LR64E-R                                                                               System memory area


            mode. At power-on, all user memory sectors protected by the I2C_Write_Lock bits can be
            read but cannot be modified. To remove the write protection, it is necessary to use the I2C
            present password described in Figure 12. When the password is correctly presented — that
            is, when all the presented bits correspond to the stored ones — it is also possible to modify
            the I2C password using the I2C write password command described in Figure 13.
            The next three 32-bit blocks store the three RF passwords. These passwords are neither
            read- nor write- accessible in the I2C mode.
            The next byte stores the Configuration byte, at I²C location 2320. This Control register is
            used to store the three energy harvesting configuration bits and the RF WIP/BUSY
            configuration bit.
            The next two bytes are used to store the AFI, at I2C location 2322, and the DSFID, at I2C
            location 2323. These two values are used during the RF inventory sequence. They are
            read-only in the I2C mode.
            The next eight bytes, starting from location 2324, store the 64-bit UID programmed by ST on
            the production line. Bytes at I2C locations 2332 to 2335 store the IC Ref and the Mem_Size
            data used by the RF Get_System_Info command. The UID, Mem_Size and IC ref values are
            read-only data.

                                            Table 17. System parameter sector
             I2C byte address     Bits [31:24]    Bits [23:16]        Bits [15:8]                Bits [7:0]

               E2 = 1   2304                                      I2C   password(1)
               E2 = 1   2308                                      RF password 1(1)
               E2 = 1   2312                                      RF password 2(1)
               E2 = 1   2316                                      RF password 3(1)
               E2 = 1   2320     DSFID (FFh)       AFI (00h)     ST reserved (Exh)(2)    Configuration byte (F4h)
               E2 = 1   2324          UID             UID                 UID                       UID
               E2 = 1   2328       UID (E0h)       UID (02h)              UID                       UID
               E2 = 1   2332                     Mem_Size (03 07FFh)                           IC Ref (5Eh)
                                                                                          Prog. completion and
               E2 = 1   2336            -              -                   -
                                                                                        Energy harvesting status(3)
            1. Delivery state: I2C password = 0000 0000h, RF password = 0000 0000h, Configuration byte =
               F4h
            2. The product revision is the Most significant nibble of the byte located at address 0x911 (2321 d)
               in the system area (Device select code E2 =1). From DS rev4, the product revision value is
               0xE. The Least significant nibble is ST reserved.
            3. Address system 2336 (920h, E2=1) is the control register.
               Bit 7 is T_Prog (refer to Table 15: Control register). When accessed in RF, this bit is not
               significant and set to 0.
               Bits 2-6 are RFU and set to 0.
               Bit 1 is FIELD_ON (refer to Table 15: Control register).
               Bit 0 is EH_enable (refer to Table 15: Control register).




                                               DocID022712 Rev 12                                             31/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 216 of 763 PageID #:
                                    1998

  I2C device operation                                                                         M24LR64E-R


  5          I2C device operation

             The device supports the I2C protocol. This is summarized in Figure 4. Any device that sends
             data to the bus is defined as a transmitter, and any device that reads data is defined as a
             receiver. The device that controls the data transfer is known as the bus master, and the
             other as the slave device. A data transfer can only be initiated by the bus master, which also
             provides the serial clock for synchronization. The M24LR64E-R device is a slave in all
             communications.


  5.1        Start condition
             Start is identified by a falling edge of serial data (SDA) while the serial clock (SCL) is stable
             in the high state. A Start condition must precede any data transfer command. The device
             continuously monitors (except during a write cycle) the SDA and the SCL for a Start
             condition, and does not respond unless one is given.


  5.2        Stop condition
             Stop is identified by a rising edge of serial data (SDA) while the serial clock (SCL) is stable
             and driven high. A Stop condition terminates communication between the device and the
             bus master. A Read command that is followed by NoAck can be followed by a Stop condition
             to force the device into the Standby mode. A Stop condition at the end of a Write command
             triggers the internal write cycle.


  5.3        Acknowledge bit (Ack)
             The acknowledge bit is used to indicate a successful byte transfer. The bus transmitter,
             whether a bus master or a slave device, releases the serial data (SDA) after sending eight
             bits of data. During the 9th clock pulse period, the receiver pulls the SDA low to
             acknowledge the receipt of the eight data bits.


  5.4        Data input
             During data input, the device samples serial data (SDA) on the rising edge of the serial clock
             (SCL). For correct device operation, the SDA must be stable during the rising edge of the
             SCL, and the SDA signal must change only when the SCL is driven low.


  5.5        I²C timeout
             During the execution of an I²C operation, RF communications are not possible.
             To prevent RF communication freezing due to inadvertent unterminated instructions sent to
             the I²C bus, the M24LR64E-R features a timeout mechanism that automatically resets the
             I²C logic block.




  32/144                                    DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 217 of 763 PageID #:
                                    1999

  M24LR64E-R                                                                          I2C device operation


  5.5.1     I²C timeout on Start condition
            I²C communication with the M24LR64E-R starts with a valid Start condition, followed by a
            device select code.
            If the delay between the Start condition and the following rising edge of the Serial Clock
            (SCL) that samples the most significant of the Device Select exceeds the tSTART_OUT time
            (see Table 123), the I²C logic block is reset and further incoming data transfer is ignored
            until the next valid Start condition.

                                       Figure 7. I²C timeout on Start condition



                6&/



                6'$




                                             W67$57B287
                             6WDUW
                           FRQGLWLRQ
                                                                                                  069



  5.5.2     I²C timeout on clock period
            During data transfer on the I²C bus, if the serial clock pulse width high (tCHCL) or serial clock
            pulse width low (tCLCH) exceeds the maximum value specified in Table 123, the I²C logic
            block is reset and any further incoming data transfer is ignored until the next valid Start
            condition.


  5.6       Memory addressing
            To start a communication between the bus master and the slave device, the bus master
            must initiate a Start condition. Following this, the bus master sends the device select code,
            shown in Table 2 (on Serial Data (SDA), the most significant bit first).
            The device select code consists of a 4-bit device type identifier and a 3-bit Chip Enable
            “Address” (E2,1,1). To address the memory array, the 4-bit device type identifier is 1010b.
            Refer to Table 2.
            The eighth bit is the Read/Write bit (RW). It is set to 1 for Read and to 0 for Write operations.
            If a match occurs on the device select code, the corresponding device gives an
            acknowledgment on serial data (SDA) during the ninth bit time. If the device does not match
            the device select code, it deselects itself from the bus, and goes into Standby mode.




                                           DocID022712 Rev 12                                          33/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 218 of 763 PageID #:
                                    2000

  I2C device operation                                                                                           M24LR64E-R


                                                       Table 18. Operating modes
                         Mode               RW bit             Bytes                          Initial sequence

              Current address read              1                 1             Start, device select, RW = 1
                                                0                               Start, device select, RW = 0, address
              Random address read                                 1
                                                1                               reStart, device select, RW = 1
              Sequential read                   1                ≥1             Similar to current or random address read
              Byte write                        0                 1             Start, device select, RW = 0
              Page write                        0             ≤ 4 bytes         Start, device select, RW = 0


               Figure 8. Write mode sequences with I2C_Write_Lock bit = 1 (data write inhibited)
                                                        !#+               !#+             !#+              ./ !#+

                 "YTE 7RITE               $EV SELECT         "YTE ADDRESS   "YTE ADDRESS         $ATA IN
                                  3TART




                                                                                                               3TOP
                                                       27


                                                        !#+               !#+             !#+              ./ !#+

                 0AGE 7RITE               $EV SELECT         "YTE ADDRESS   "YTE ADDRESS        $ATA IN              $ATA IN 
                                  3TART




                                                       27


                                      ./ !#+                 ./ !#+

                 0AGE 7RITE                     $ATA IN .
                 CONTgD
                                                                 3TOP




                                                                                                                          !)




  5.7        Write operations
             Following a Start condition, the bus master sends a device select code with the Read/Write
             bit (RW) reset to 0. The device acknowledges this, as shown in Figure 8, and waits for two
             address bytes. The device responds to each address byte with an acknowledge bit, and
             then waits for the data byte.
             Writing to the memory may be inhibited if the I2C_Write_Lock bit = 1. A Write instruction
             issued with the I2C_Write_Lock bit = 1 and with no I2C_Password presented does not
             modify the memory contents, and the accompanying data bytes are not acknowledged, as
             shown in Figure 8.
             Each data byte in the memory has a 16-bit (two-byte wide) address. The most significant
             byte (Table 3) is sent first, followed by the least significant byte (Table 4). Bits b15 to b0 form
             the address of the byte in memory.




  34/144                                            DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 219 of 763 PageID #:
                                    2001

  M24LR64E-R                                                                                                 I2C device operation


                 When the bus master generates a Stop condition immediately after the Ack bit (in the tenth-
                 bit time slot), either at the end of a byte write or a page write, the internal write cycle is
                 triggered. A Stop condition at any other time slot does not trigger the internal write cycle.
                 After the Stop condition, the delay tW, and the successful completion of a Write operation,
                 the device’s internal address counter is incremented automatically, to point to the next byte
                 address after the last one that was modified.
                 During the internal write cycle, the serial data (SDA) signal is disabled internally, and the
                 device does not respond to any requests.


  5.8            Byte write
                 After the device select code and the address bytes, the bus master sends one data byte. If
                 the addressed location is write-protected by the I2C_Write_Lock bit (= 1), the device replies
                 with NoAck, and the location is not modified. If the addressed location is not write-protected,
                 the device replies with Ack. The bus master terminates the transfer by generating a Stop
                 condition, as shown in Figure 9.


  5.9            Page write
                 The Page write mode allows up to four bytes to be written in a single write cycle, provided
                 that they are all located in the same “row” in the memory: that is, the most significant
                 memory address bits (b12-b2) are the same. If more bytes are sent than fit up to the end of
                 the row, a condition known as “roll-over” occurs. This should be avoided, as data starts to
                 become overwritten in an implementation-dependent way.
                 The bus master sends from one to four bytes of data, each of which is acknowledged by the
                 device if the I2C_Write_Lock bit = 0 or the I2C_Password was correctly presented. If the
                 I2C_Write_Lock_bit = 1 and the I2C_password are not presented, the contents of the
                 addressed memory location are not modified, and each data byte is followed by a NoAck.
                 After each byte is transferred, the internal byte address counter (inside the page) is
                 incremented. The transfer is terminated by the bus master generating a Stop condition.

           Figure 9. Write mode sequences with I2C_Write_Lock bit = 0 (data write enabled)

                                       !#+             !#+            !#+               !#+

    "YTE 7RITE           $EV 3ELECT         "YTE ADDRESS   "YTE ADDRESS     $ATA IN
                 3TART




                                                                                          3TOP




                                      27



                                       !#+             !#+            !#+               !#+                   !#+               !#+

    0AGE 7RITE           $EV 3ELECT         "YTE ADDRESS   "YTE ADDRESS     $ATA IN             $ATA IN           $ATA IN .
                 3TART




                                                                                                                                    3TOP




                                      27


                                                                                                                                !)




                                                           DocID022712 Rev 12                                                   35/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 220 of 763 PageID #:
                                    2002

  I2C device operation                                                                                         M24LR64E-R


                              Figure 10. Write cycle polling flowchart using Ack

                                                     :ULWHF\FOHLQSURJUHVV



                                                         6WDUWFRQGLWLRQ


                                                    'HYLFHVHOHFWZLWK5: 


                                               1R
                                                          $FNUHWXUQHG

                  )LUVWE\WHRILQVWUXFWLRQ                     <HV
                     ZLWK5: DOUHDG\
                  GHFRGHGE\WKHGHYLFH

                                         1R             1H[WRSHUDWLRQLV             <HV
                                                     DGGUHVVLQJWKHPHPRU\


                                                                                             6HQGDGGUHVV
                                                                                            DQG5HFHLYH$FN
                         5H6WDUW

                                                                                     1R                        <HV
                                                                                             6WDUWFRQGLWLRQ
                          6WRS

                                                                                 'DWDIRUWKH            'HYLFHVHOHFW
                                                                                :ULWHRSHUDWLRQ           ZLWK5: 



                                                                                 &RQWLQXHWKH           &RQWLQXHWKH
                                                                                :ULWHRSHUDWLRQ      5DQGRP5HDGRSHUDWLRQ
                                                                                                                      069




  5.10       Minimizing system delays by polling on Ack
             During the internal write cycle, the device disconnects itself from the bus, and writes a copy
             of the data from its internal latches to the memory cells. The maximum I²C write time (tw) is
             shown in Table 123, but the typical time is shorter. To make use of this, a polling sequence
             can be used by the bus master.
             The sequence, as shown in Figure 10, is:
             1.    Initial condition: a write cycle is in progress.
             2.    Step 1: the bus master issues a Start condition followed by a device select code (the
                   first byte of the new instruction).
             3.    Step 2: if the device is busy with the internal write cycle, no Ack is returned and the bus
                   master goes back to Step 1. If the device has terminated the internal write cycle, it
                   responds with an Ack, indicating that the device is ready to receive the second part of
                   the instruction (the first byte of this instruction having been sent during Step 1).




  36/144                                            DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 221 of 763 PageID #:
                                    2003

  M24LR64E-R                                                                                                                   I2C device operation


                                                    Figure 11. Read mode sequences

                                                                $&.              12$&.
                     &XUUHQW
                     $GGUHVV                        'HYVHO            'DWDRXW
                     5HDG




                                            6WDUW




                                                                                      6WRS
                                                               5:


                                                                $&.                 $&.                  $&.                   $&.            12$&.
                     5DQGRP
                     $GGUHVV                        'HYVHO           %\WHDGGU             %\WHDGGU             'HYVHO            'DWDRXW
                     5HDG                   6WDUW




                                                                                                           6WDUW




                                                                                                                                                     6WRS
                                                               5:                                                            5:



                                                                $&.                 $&.                  $&.              12$&.
                     6HTXHQWLDO
                     &XUUHQW                        'HYVHO            'DWDRXW                              'DWDRXW1
                     5HDG
                                            6WDUW




                                                                                                                                6WRS
                                                               5:


                                                                $&.                 $&.                  $&.                   $&.                 $&.
                     6HTXHQWLRQ
                     5DQGRP                         'HYVHO           %\WHDGGU             %\WHDGGU             'HYVHO            'DWDRXW
                     5HDG
                                            6WDUW




                                                                                                           6WDUW




                                                                5:                                                            5:


                                                    $&.              12$&.

                                                          'DWDRXW1
                                                                          6WRS




                                                                                                                                                     $,G


            1. The seven most significant bits of the device select code of a random read (in the first and fourth bytes)
               must be identical.




                                                      DocID022712 Rev 12                                                                                    37/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 222 of 763 PageID #:
                                    2004

  I2C device operation                                                                       M24LR64E-R


  5.11       Read operations
             Read operations are performed independently of the state of the I2C_Write_Lock bit.
             After the successful completion of a read operation, the device’s internal address counter is
             incremented by one, to point to the next byte address.


  5.12       Random Address Read
             A dummy write is first performed to load the address into this address counter (as shown in
             Figure 11) but without sending a Stop condition. Then, the bus master sends another Start
             condition, and repeats the device select code, with the Read/Write bit (RW) set to 1. The
             device acknowledges this, and outputs the contents of the addressed byte. The bus master
             must not acknowledge the byte, and terminates the transfer with a Stop condition.


  5.13       Current Address Read
             For the Current Address Read operation, following a Start condition, the bus master only
             sends a device select code with the Read/Write bit (RW) set to 1. The device acknowledges
             this, and outputs the byte addressed by the internal address counter. The counter is then
             incremented. The bus master terminates the transfer with a Stop condition, as shown in
             Figure 11, without acknowledging the byte.


  5.14       Sequential Read
             This operation can be used after a Current Address Read or a Random Address Read. The
             bus master does acknowledge the data byte output, and sends additional clock pulses so
             that the device continues to output the next byte in sequence. To terminate the stream of
             bytes, the bus master must not acknowledge the last byte, and must generate a Stop
             condition, as shown in Figure 11.
             The output data comes from consecutive addresses, with the internal address counter
             automatically incremented after each byte output. After the last memory address, the
             address counter “rolls over”, and the device continues to output data from memory
             address 00h.


  5.15       Acknowledge in Read mode
             For all Read commands, the device waits, after each byte read, for an acknowledgment
             during the ninth bit time. If the bus master does not drive Serial Data (SDA) low during this
             time, the device terminates the data transfer and switches to its Standby mode.




  38/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 223 of 763 PageID #:
                                    2005

  M24LR64E-R                                                                                                                I2C device operation


  5.16                M24LR64E-R I2C password security
                      The M24LR64E-R controls I2C sector write access using the 32-bit-long I2C password and
                      the 64-bit I2C_Write_Lock bit area. The I2C password value is managed using two I2C
                      commands: I2C present password and I2C write password.


  5.16.1              I2C present password command description
                      The I2C present password command is used in I2C mode to present the password to the
                      M24LR64E-R in order to modify the write access rights of all the memory sectors protected
                      by the I2C_Write_Lock bits, including the password itself. If the presented password is
                      correct, the access rights remain activated until the M24LR64E-R is powered off or until a
                      new I2C present password command is issued.
                      Following a Start condition, the bus master sends a device select code with the Read/Write
                      bit (RW) reset to 0 and the Chip Enable bit E2 at 1. The device acknowledges this, as shown
                      in Figure 12, and waits for two I2C password address bytes, 09h and 00h. The device
                      responds to each address byte with an acknowledge bit, and then waits for the four
                      password data bytes, the validation code, 09h, and a resend of the four password data
                      bytes. The most significant byte of the password is sent first, followed by the least significant
                      bytes.
                      It is necessary to send the 32-bit password twice to prevent any data corruption during the
                      sequence. If the two 32-bit passwords sent are not exactly the same, the M24LR64E-R
                      does not start the internal comparison.
                      When the bus master generates a Stop condition immediately after the Ack bit (during the
                      tenth bit time slot), an internal delay equivalent to the write cycle time is triggered. A Stop
                      condition at any other time does not trigger the internal delay. During that delay, the
                      M24LR64E-R compares the 32 received data bits with the 32 bits of the stored I2C
                      password. If the values match, the write access rights to all protected sectors are modified
                      after the internal delay. If the values do not match, the protected sectors remain protected.
                      During the internal delay, the serial data (SDA) signal is disabled internally, and the device
                      does not respond to any requests.

                                             Figure 12. I2C present password command

                             !CK                 !CK                 !CK              !CK                !CK                !CK              !CK

          $EVICE SELECT             0ASSWORD            0ASSWORD           0ASSWORD          0ASSWORD            0ASSWORD         0ASSWORD
              CODE                 ADDRESS H         ADDRESS H          ;=           ;=              ;=           ;=
       3TART




                            27

                            !CK              !CK                !CK               !CK                   !CK

               6ALIDATION         0ASSWORD         0ASSWORD            0ASSWORD             0ASSWORD
               CODE H            ;=          ;=              ;=               ;=
                                                                                                          3TOP




      $EVICE SELECT CODE     
      !CK GENERATED DURING TH BIT TIME SLOT                                                                                            AIC




                                                                DocID022712 Rev 12                                                             39/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 224 of 763 PageID #:
                                    2006

  I2C device operation                                                                                                          M24LR64E-R


  5.16.2                I2C write password command description
                        The I2C write password command is used to write a 32-bit block into the M24LR64E-R I2C
                        password system area. This command is used in I2C mode to update the I2C password
                        value. It cannot be used to update any of the RF passwords. After the write cycle, the new
                        I2C password value is automatically activated. The I2C password value can only be modified
                        after issuing a valid I2C present password command.
                        On delivery, the I2C default password value is set to 0000 0000h and is activated.
                        Following a Start condition, the bus master sends a device select code with the Read/Write
                        bit (RW) reset to 0 and the Chip Enable bit E2 at 1. The device acknowledges this, as shown
                        in Figure 13, and waits for the two I2C password address bytes, 09h and 00h. The device
                        responds to each address byte with an acknowledge bit, and then waits for the four
                        password data bytes, the validation code, 07h, and a resend of the four password data
                        bytes. The most significant byte of the password is sent first, followed by the least significant
                        bytes.
                        It is necessary to send twice the 32-bit password to prevent any data corruption during the
                        write sequence. If the two 32-bit passwords sent are not exactly the same, the M24LR64E-
                        R does not modify the I2C password value.
                        When the bus master generates a Stop condition immediately after the Ack bit (during the
                        tenth bit time slot), the internal write cycle is triggered. A Stop condition at any other time
                        does not trigger the internal write cycle.
                        During the internal write cycle, the serial data (SDA) signal is disabled internally, and the
                        device does not respond to any requests.

                                                Figure 13. I2C write password command

                                 !CK                 !CK                 !CK            !CK              !CK            !CK             !CK

              $EVICE SELECT             0ASSWORD            0ASSWORD       .EW PASSWORD    .EW PASSWORD      .EW PASSWORD   .EW PASSWORD
                  CODE                 ADDRESS H         ADDRESS H        ;=         ;=           ;=          ;=
           3TART




                                27

                                !CK             !CK                 !CK             !CK              !CK

                   6ALIDATION     .EW PASSWORD       .EW PASSWORD        .EW PASSWORD     .EW PASSWORD
                   CODE H          ;=            ;=             ;=            ;=
                                                                                                          3TOP




           $EVICE SELECT CODE     
           !CK GENERATED DURING TH BIT TIME SLOT                                                                               AIB




  40/144                                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 225 of 763 PageID #:
                                    2007

  M24LR64E-R                                                         M24LR64E-R memory initial state


  6         M24LR64E-R memory initial state

            The device is delivered with all bits in the user memory array set to 1 (each byte contains
            FFh).
            The DSFID is programmed to FFh and the AFI is programmed to 00h.
            Configuration byte set to F4h:
            •   Bit 7 to bit 4: all set to 1
            •   Bit 3: set to 0 (RF BUSY mode on RF WIP/BUSY pin)
            •   Bit 2: set to 1 (Energy harvesting not activated by default)
            •   Bit 1 and bit 0: set to 0




                                               DocID022712 Rev 12                                  41/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 226 of 763 PageID #:
                                    2008

  RF device operation                                                                      M24LR64E-R


  7          RF device operation

             The M24LR64E-R is divided into 64 sectors of 32 blocks of 32 bits, as shown in Table 5.
             Each sector can be individually read- and/or write-protected using a specific lock or
             password command.
             Read and Write operations are possible if the addressed block is not protected. During a
             Write, the 32 bits of the block are replaced by the new 32-bit value.
             The M24LR64E-R also has a 64-bit block that is used to store the 64-bit unique identifier
             (UID). The UID is compliant with the ISO 15963 description, and its value is used during the
             anticollision sequence (Inventory). This block is not accessible by the user in RF device
             operation and its value is written by ST on the production line.
             The M24LR64E-R also includes an AFI register in which the application family identifier is
             stored, and a DSFID register in which the data storage family identifier used in the
             anticollision algorithm is stored.
             The M24LR64E-R has three 32-bit blocks in which the password codes are stored and an 8-
             bit Configuration byte in which the Energy harvesting mode and RF WIP/BUSY pin
             configuration is stored.


  7.1        RF communication and energy harvesting
             As the current consumption can affect the AC signal delivered by the antenna, RF
             communications with M24LR64E-R are not guaranteed during voltage delivery on the
             energy harvesting analog output Vout.
             RF communication can disturb and possibly stop Energy Harvesting mode.




  42/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 227 of 763 PageID #:
                                    2009

  M24LR64E-R                                                                        RF device operation


  7.2       Commands
            The M24LR64E-R supports the following commands:
            •   Inventory, used to perform the anticollision sequence.
            •   Stay quiet, used to put the M24LR64E-R in quiet mode, where it does not respond to
                any inventory command.
            •   Select, used to select the M24LR64E-R. After this command, the M24LR64E-R
                processes all Read/Write commands with Select_flag set.
            •   Reset to ready, used to put the M24LR64E-R in the ready state.
            •   Read block, used to output the 32 bits of the selected block and its locking status.
            •   Write block, used to write the 32-bit value in the selected block, provided that it is not
                locked.
            •   Read multiple blocks, used to read the selected blocks and send back their value.
            •   Write AFI, used to write the 8-bit value in the AFI register.
            •   Lock AFI, used to lock the AFI register.
            •   Write DSFID, used to write the 8-bit value in the DSFID register.
            •   Lock DSFID, used to lock the DSFID register.
            •   Get system info, used to provide the system information value.
            •   Get multiple block security status, used to send the security status of the selected
                block.
            •   Initiate, used to trigger the tag response to the Inventory initiated sequence.
            •   Inventory initiated, used to perform the anticollision sequence triggered by the Initiate
                command.
            •   Write-sector password, used to write the 32 bits of the selected password.
            •   Lock-sector, used to write the sector security status bits of the selected sector.
            •   Present-sector password, enables the user to present a password to unprotect the
                user blocks linked to this password.
            •   Fast initiate, used to trigger the tag response to the Inventory initiated sequence.
            •   Fast inventory initiated, used to perform the anticollision sequence triggered by the
                Initiate command.
            •   Fast read single block, used to output the 32 bits of the selected block and its locking
                status.
            •   Fast read multiple blocks, used to read the selected blocks and send back their
                value.
            •   ReadCfg, used to read the 8-bit Configuration byte and send back its value.
            •   WriteEHCfg, used to write the energy harvesting configuration bits into the
                Configuration byte.
            •   WriteDOCfg, used to write the RF WIP/BUSY pin configuration bit into the
                Configuration byte.
            •   SetRstEHEn, used to set or reset the EH_enable bit into the volatile Control register.
            •   CheckEHEn, used to send back the value of the volatile Control register.




                                          DocID022712 Rev 12                                         43/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 228 of 763 PageID #:
                                    2010

  RF device operation                                                                      M24LR64E-R


  7.3        Initial dialog for vicinity cards
             The dialog between the vicinity coupling device or VCD (commonly the “RF reader”) and the
             vicinity integrated circuit card or VICC (M24LR64E-R) takes place as follows:
             •   activation of the M24LR64E-R by the RF operating field of the VCD
             •   transmission of a command by the VCD
             •   transmission of a response by the M24LR64E-R.
             These operations use the RF power transfer and communication signal interface described
             below (see Power transfer, Frequency and Operating field). This technique is called RTF
             (Reader talks first).

  7.3.1      Power transfer
             Power is transferred to the M24LR64E-R by radio frequency at 13.56 MHz via coupling
             antennas in the M24LR64E-R and the VCD. The RF operating field of the VCD is
             transformed on the M24LR64E-R antenna to an AC voltage which is rectified, filtered and
             internally regulated.
             During communications, the amplitude modulation (ASK) on this received signal is
             demodulated by the ASK demodulator.

  7.3.2      Frequency
             The ISO 15693 standard defines the carrier frequency (fC) of the operating field as
             13.56 MHz ±7 kHz.

  7.3.3      Operating field
             The M24LR64E-R operates continuously between the minimum and maximum values of the
             electromagnetic field H defined in Table 125. The VCD has to generate a field within these
             limits.




  44/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 229 of 763 PageID #:
                                    2011

  M24LR64E-R                                               Communication signal from VCD to M24LR64E-R


  8         Communication signal from VCD to M24LR64E-R

            Communications between the VCD and the M24LR64E-R take place using the modulation
            principle of ASK (Amplitude shift keying). Two modulation indexes are used, 10% and
            100%. The M24LR64E-R decodes both. The VCD determines which index is used.
            The modulation index is defined as [a – b]/[a + b], where a is the peak signal amplitude, and
            b the minimum signal amplitude of the carrier frequency.
            Depending on the choice made by the VCD, a “pause” is created as described in Figure 14
            and Figure 15.
            The M24LR64E-R is operational for the 100% modulation index or for any degree of
            modulation index between 10% and 30% (see Table 125).

                                     Figure 14. 100% modulation waveform
                        &DUULHU
                                           W          W
                       DPSOLWXGH
                                                      W

                       
                           D
                        


                        
                                                ƚϮ
                                                                                          0LQ       0D[
                                                                                    W   V   V
                                                                                  W   V      W
                           E
                                                                                    W   V      V
                                                                              W
                                                                                    W   V      V




                    7KHFORFNUHFRYHU\VKDOOEHRSHUDWLRQDODIWHUWPD[                            069



                                      Table 19. 10% modulation parameters
                   Symbol                            Parameter definition                   Value

                      hr                                    0.1 x (a – b)                    max
                      hf                                    0.1 x (a – b)                    max




                                          DocID022712 Rev 12                                          45/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 230 of 763 PageID #:
                                    2012

  Communication signal from VCD to M24LR64E-R                                                        M24LR64E-R


                                        Figure 15. 10% modulation waveform
                   &DUULHUDPSOLWXGH
                                                W
                                                W            W
                                                                   \
                           D                                                           KI
                           E
                                        \                              KU




                                                                                                     W




                                        0LQ          0D[
                           W          V    V
                                                                              \        DE
                           W          V       W
                                                                            KIKU    DE PD[
                           W                       V
                    0RGXODWLRQLQGH[              

              7KH9,&&VKDOOEHRSHUDWLRQDOIRUDQ\YDOXHRIPRGXODWLRQLQGH[EHWZHHQDQG
                                                                                                         069




  46/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 231 of 763 PageID #:
                                    2013

  M24LR64E-R                                                                               Data rate and data coding


  9               Data rate and data coding

                  The data coding implemented in the M24LR64E-R uses pulse position modulation. Both
                  data coding modes that are described in the ISO15693 are supported by the M24LR64E-R.
                  The selection is made by the VCD and indicated to the M24LR64E-R within the start of
                  frame (SOF).


  9.1             Data coding mode: 1 out of 256
                  The value of a single byte is represented by the position of one pause. The position of the
                  pause on one of 256 successive time periods of 18.88 µs (256/fC) determines the value of
                  the byte. In this case, the transmission of one byte takes 4.833 ms and the resulting data
                  rate is 1.65 Kbits/s (fC/8192).
                  Figure 16 illustrates this pulse position modulation technique. In this figure, data E1h (225
                  decimal) is sent by the VCD to the M24LR64E-R.
                  The pause occurs during the second half of the position of the time period that determines
                  the value, as shown in Figure 17.
                  A pause during the first period transmits the data value 00h. A pause during the last period
                  transmits the data value FFh (255 decimal).

                                         Figure 16. 1 out of 256 coding mode


                                                                       S

      0ULSE
                                                                      S
      -ODULATED
      #ARRIER




                                                                               
                                                                                  
                                                                                  


                                                                 MS
                                                                                                                    !)




                                                       DocID022712 Rev 12                                               47/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 232 of 763 PageID #:
                                    2014

  Data rate and data coding                                                                                    M24LR64E-R


                                                  Figure 17. Detail of a time period

                                                                                 S



                                                                                S




                         0ULSE
                         -ODULATED
                         #ARRIER




                                                                                              

                                                                        
                                                                        
                                                                        


                                                                              4IME 0ERIOD
                                                                               ONE OF                        !)




  9.2        Data coding mode: 1 out of 4
             The value of two bits is represented by the position of one pause. The position of the pause
             on one of four successive time periods of 18.88 µs (256/fC) determines the value of the two
             bits. Four successive pairs of bits form a byte, where the least significant pair of bits is
             transmitted first.
             In this case, the transmission of one byte takes 302.08 µs and the resulting data rate is
             26.48 Kbits/s (fC/512). Figure 18 illustrates the 1 out of 4 pulse position technique and
             coding. Figure 19 shows the transmission of E1h (225d - 1110 0001b) by the VCD.




  48/144                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 233 of 763 PageID #:
                                    2015

  M24LR64E-R                                                                                 Data rate and data coding


                                                Figure 18. 1 out of 4 coding mode

               0ULSE POSITION FOR 




                 S             S

                                                                        S
               0ULSE POSITION FOR  ,3"




                                              S         S

                                                                        S
               0ULSE POSITION FOR  ,3"




                                                                       S          S



               0ULSE POSITION FOR                                   S




                                                                                                  S         S

                                                                        S
                                                                                                                     !)



                                             Figure 19. 1 out of 4 coding example

                                                                                                      




                                                                                      


                                                                                                                      




  9.3       VCD to M24LR64E-R frames
            Frames are delimited by a start of frame (SOF) and an end of frame (EOF). They are
            implemented using code violation. Unused options are reserved for future use.
            The M24LR64E-R is ready to receive a new command frame from the VCD 311.5 µs after
            sending a response frame to the VCD.




                                                 DocID022712 Rev 12                                                   49/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 234 of 763 PageID #:
                                    2016

  Data rate and data coding                                                             M24LR64E-R


             The M24LR64E-R takes a power-up time of 0.1 ms after being activated by the powering
             field. After this delay, the M24LR64E-R is ready to receive a command frame from the VCD.


  9.4        Start of frame (SOF)
             The SOF defines the data coding mode the VCD is to use for the following command frame.
             The SOF sequence described in Figure 20 selects the 1 out of 256 data coding mode. The
             SOF sequence described in Figure 21 selects the 1 out of 4 data coding mode. The EOF
             sequence for either coding mode is described in Figure 22.

                              Figure 20. SOF to select 1 out of 256 data coding mode




                                                                                        



                                                                     
                                                                                               




                               Figure 21. SOF to select 1 out of 4 data coding mode




                                                        



                                                                     
                                                                                                   




                                    Figure 22. EOF for either data coding mode




                                                                



                                                 
                                                                                             




  50/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 235 of 763 PageID #:
                                    2017

  M24LR64E-R                                        Communication signal from M24LR64E-R to VCD


  10        Communication signal from M24LR64E-R to VCD

            The M24LR64E-R has several modes defined for some parameters, so that it can operate in
            various noise environments and meet various application requirements.


  10.1      Load modulation
            The M24LR64E-R is capable of communicating to the VCD via an inductive coupling area
            whereby the carrier is loaded to generate a subcarrier with frequency fS. The subcarrier is
            generated by switching a load in the M24LR64E-R.
            The load-modulated amplitude received on the VCD antenna must be of at least 10 mV
            when measured, as described in the test methods defined in International Standard
            ISO10373-7.


  10.2      Subcarrier
            The M24LR64E-R supports the one-subcarrier and two-subcarriers response formats.
            These formats are selected by the VCD using the first bit in the protocol header. When one
            subcarrier is used, the frequency fS1 of the subcarrier load modulation is 423.75 kHz (fC/32).
            When two subcarriers are used, the frequency fS1 is 423.75 kHz (fC/32), and frequency fS2
            is 484.28 kHz (fC/28). When using the two-subcarriers mode, the M24LR64E-R generates a
            continuous phase relationship between fS1 and fS2.


  10.3      Data rates
            The M24LR64E-R can respond using the low or the high data rate format. The selection of
            the data rate is made by the VCD using the second bit in the protocol header. For fast
            commands, the selected data rate is multiplied by two. Table 20 shows the different data
            rates produced by the M24LR64E-R using the different response format combinations.

                                          Table 20. Response data rates
                        Data rate                   One subcarrier                Two subcarriers

                      Standard commands           6.62 Kbit/s (fc/2048)          6.67 Kbit/s (fc/2032)
               Low
                      Fast commands              13.24 Kbit/s (fc/1024)             Not applicable
                      Standard commands           26.48 Kbit/s (fc/512)          26.69 Kbit/s (fc/508)
               High
                      Fast commands               52.97 Kbit/s (fc/256)             Not applicable




                                          DocID022712 Rev 12                                             51/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 236 of 763 PageID #:
                                    2018

  Bit representation and coding                                                             M24LR64E-R


  11         Bit representation and coding

             Data bits are encoded using Manchester coding, according to the following schemes. For
             the low data rate, same subcarrier frequency or frequencies is/are used. In this case, the
             number of pulses is multiplied by 4 and all times increase by this factor. For the Fast
             commands using one subcarrier, all pulse numbers and times are divided by 2.


  11.1       Bit coding using one subcarrier

  11.1.1     High data rate
             A logic 0 starts with eight pulses at 423.75 kHz (fC/32) followed by an unmodulated time of
             18.88 µs, as shown in Figure 23.

                                         Figure 23. Logic 0, high data rate



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                                                                                AI

             For the fast commands, a logic 0 starts with four pulses at 423.75 kHz (fC/32) followed by an
             unmodulated time of 9.44 µs, as shown in Figure 24.

                                Figure 24. Logic 0, high data rate, fast commands



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                                                                              AI


             A logic 1 starts with an unmodulated time of 18.88 µs followed by eight pulses at 423.75 kHz
             (fC/32), as shown in Figure 25.

                                         Figure 25. Logic 1, high data rate



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                                                                               AI

             For the Fast commands, a logic 1 starts with an unmodulated time of 9.44 µs followed by
             four pulses of 423.75 kHz (fC/32), as shown in Figure 26.

                                Figure 26. Logic 1, high data rate, fast commands




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  52/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 237 of 763 PageID #:
                                    2019

  M24LR64E-R                                                           Bit representation and coding


  11.1.2    Low data rate
            A logic 0 starts with 32 pulses at 423.75 kHz (fC/32) followed by an unmodulated time of
            75.52 µs, as shown in Figure 27.

                                        Figure 27. Logic 0, low data rate



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                                                                                       AI


            For the Fast commands, a logic 0 starts with 16 pulses at 423.75 kHz (fC/32) followed by an
            unmodulated time of 37.76 µs, as shown in Figure 28.

                               Figure 28. Logic 0, low data rate, fast commands




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            A logic 1 starts with an unmodulated time of 75.52 µs followed by 32 pulses at 423.75 kHz
            (fC/32), as shown in Figure 29.

                                        Figure 29. Logic 1, low data rate



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            For the Fast commands, a logic 1 starts with an unmodulated time of 37.76 µs followed by
            16 pulses at 423.75 kHz (fC/32), as shown in Figure 30.

                               Figure 30. Logic 1, low data rate, fast commands



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                                         DocID022712 Rev 12                                      53/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 238 of 763 PageID #:
                                    2020

  Bit representation and coding                                                               M24LR64E-R


  11.2       Bit coding using two subcarriers

  11.2.1     High data rate
             A logic 0 starts with eight pulses at 423.75 kHz (fC/32) followed by nine pulses at
             484.28 kHz (fC/28), as shown in Figure 31. Bit coding using two subcarriers is not supported
             for the Fast commands.

                                          Figure 31. Logic 0, high data rate



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             A logic 1 starts with nine pulses at 484.28 kHz (fC/28) followed by eight pulses at
             423.75 kHz (fC/32), as shown in Figure 32. Bit coding using two subcarriers is not supported
             for the Fast commands.

                                          Figure 32. Logic 1, high data rate



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  11.2.2     Low data rate
             A logic 0 starts with 32 pulses at 423.75 kHz (fC/32) followed by 36 pulses at 484.28 kHz
             (fC/28), as shown in Figure 33. Bit coding using two subcarriers is not supported for the Fast
             commands.

                                          Figure 33. Logic 0, low data rate




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             A logic 1 starts with 36 pulses at 484.28 kHz (fC/28) followed by 32 pulses at 423.75 kHz
             (fC/32) as shown in Figure 34. Bit coding using two subcarriers is not supported for the Fast
             commands.

                                          Figure 34. Logic 1, low data rate




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  54/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 239 of 763 PageID #:
                                    2021

  M24LR64E-R                                                             M24LR64E-R to VCD frames


  12        M24LR64E-R to VCD frames

            Frames are delimited by an SOF and an EOF. They are implemented using code violation.
            Unused options are reserved for future use. For the low data rate, the same subcarrier
            frequency or frequencies is/are used. In this case, the number of pulses is multiplied by 4.
            For the Fast commands using one subcarrier, all pulse numbers and times are divided by 2.


  12.1      SOF when using one subcarrier

  12.1.1    High data rate
            The SOF includes an unmodulated time of 56.64 µs, followed by 24 pulses at 423.75 kHz
            (fC/32), and a logic 1 that consists of an unmodulated time of 18.88 µs followed by eight
            pulses at 423.75 kHz, as shown in Figure 35.

                            Figure 35. Start of frame, high data rate, one subcarrier



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            For the Fast commands, the SOF comprises an unmodulated time of 28.32 µs, followed by
            12 pulses at 423.75 kHz (fC/32), and a logic 1 that consists of an unmodulated time of
            9.44 µs followed by four pulses at 423.75 kHz, as shown in Figure 36.

                   Figure 36. Start of frame, high data rate, one subcarrier, fast commands



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  12.1.2    Low data rate
            The SOF comprises an unmodulated time of 226.56 µs, followed by 96 pulses at 423.75
            kHz (fC/32), and a logic 1 that consists of an unmodulated time of 75.52 µs followed by 32
            pulses at 423.75 kHz, as shown in Figure 37.

                            Figure 37. Start of frame, low data rate, one subcarrier



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                                         DocID022712 Rev 12                                         55/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 240 of 763 PageID #:
                                    2022

  M24LR64E-R to VCD frames                                                                  M24LR64E-R


            For the Fast commands, the SOF comprises an unmodulated time of 113.28 µs, followed by
            48 pulses at 423.75 kHz (fC/32), and a logic 1 that includes an unmodulated time of
            37.76 µs followed by 16 pulses at 423.75 kHz, as shown in Figure 38.

                   Figure 38. Start of frame, low data rate, one subcarrier, fast commands



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  12.2      SOF when using two subcarriers

  12.2.1    High data rate
            The SOF comprises 27 pulses at 484.28 kHz (fC/28), followed by 24 pulses at 423.75 kHz
            (fC/32), and a logic 1 that includes nine pulses at 484.28 kHz followed by eight pulses at
            423.75 kHz, as shown in Figure 39.
            Bit coding using two subcarriers is not supported for the Fast commands.

                           Figure 39. Start of frame, high data rate, two subcarriers



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  12.2.2    Low data rate
            The SOF comprises 108 pulses at 484.28 kHz (fC/28), followed by 96 pulses at 423.75 kHz
            (fC/32), and a logic 1 that includes 36 pulses at 484.28 kHz followed by 32 pulses at
            423.75 kHz, as shown in Figure 40.
            Bit coding using two subcarriers is not supported for the Fast commands.

                            Figure 40. Start of frame, low data rate, two subcarriers



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  56/144                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 241 of 763 PageID #:
                                    2023

  M24LR64E-R                                                                          M24LR64E-R to VCD frames


  12.3      EOF when using one subcarrier

  12.3.1    High data rate
            The EOF comprises a logic 0 that includes eight pulses at 423.75 kHz and an unmodulated
            time of 18.88 µs, followed by 24 pulses at 423.75 kHz (fC/32), and by an unmodulated time
            of 56.64 µs, as shown in Figure 41.

                                Figure 41. End of frame, high data rate, one subcarrier



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            For the Fast commands, the EOF comprises a logic 0 that includes four pulses at
            423.75 kHz and an unmodulated time of 9.44 µs, followed by 12 pulses at 423.75 kHz
            (fC/32) and an unmodulated time of 37.76 µs, as shown in Figure 42.

                   Figure 42. End of frame, high data rate, one subcarrier, fast commands



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  12.3.2    Low data rate
            The EOF comprises a logic 0 that includes 32 pulses at 423.75 kHz and an unmodulated
            time of 75.52 µs, followed by 96 pulses at 423.75 kHz (fC/32) and an unmodulated time of
            226.56 µs, as shown in Figure 43.

                                Figure 43. End of frame, low data rate, one subcarrier



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            For the Fast commands, the EOF comprises a logic 0 that includes 16 pulses at 423.75 kHz
            and an unmodulated time of 37.76 µs, followed by 48 pulses at 423.75 kHz (fC/32) and an
            unmodulated time of 113.28 µs, as shown in Figure 44.

                   Figure 44. End of frame, low data rate, one subcarrier, Fast commands



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                                                 DocID022712 Rev 12                                        57/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 242 of 763 PageID #:
                                    2024

  M24LR64E-R to VCD frames                                                               M24LR64E-R


  12.4      EOF when using two subcarriers

  12.4.1    High data rate
            The EOF comprises a logic 0 that includes eight pulses at 423.75 kHz and nine pulses at
            484.28 kHz, followed by 24 pulses at 423.75 kHz (fC/32) and 27 pulses at 484.28 kHz
            (fC/28), as shown in Figure 45.
            Bit coding using two subcarriers is not supported for the Fast commands.

                              Figure 45. End of frame, high data rate, two subcarriers




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                                                                                             069



  12.4.2    Low data rate
            The EOF comprises a logic 0 that includes 32 pulses at 423.75 kHz and 36 pulses at
            484.28 kHz, followed by 96 pulses at 423.75 kHz (fC/32) and 108 pulses at 484.28 kHz
            (fC/28), as shown in Figure 46.
            Bit coding using two subcarriers is not supported for the Fast commands.

                              Figure 46. End of frame, low data rate, two subcarriers



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  58/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 243 of 763 PageID #:
                                    2025

  M24LR64E-R                                                                   Unique identifier (UID)


  13        Unique identifier (UID)

            The M24LR64E-R is uniquely identified by a 64-bit unique identifier (UID). This UID
            complies with ISO/IEC 15963 and ISO/IEC 7816-6. The UID is a read-only code and
            comprises:
            •    eight MSBs with a value of E0h,
            •    the IC manufacturer code “ST 02h” on 8 bits (ISO/IEC 7816-6/AM1),
            •    a unique serial number on 48 bits.

                                               Table 21. UID format
            MSB                                                                                    LSB

            63                 56 55                  48   47                                        0

                     0xE0                  0x02                       Unique serial number


            With the UID, each M24LR64E-R can be addressed uniquely and individually during the
            anticollision loop and for one-to-one exchanges between a VCD and an M24LR64E-R.




                                         DocID022712 Rev 12                                       59/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 244 of 763 PageID #:
                                    2026

  Application family identifier (AFI)                                                            M24LR64E-R


  14          Application family identifier (AFI)

              The AFI (application family identifier) represents the type of application targeted by the VCD
              and is used to identify, among all the M24LR64E-Rs present, only those that meet the
              required application criteria.

                                     Figure 47. M24LR64E-R decision tree for AFI

                                                )NVENTORY REQUEST
                                                    RECEIVED




                                           .O       !&) FLAG
                                                     SET 

                                                         9ES

                                                   !&) VALUE        .O
                                                     

                                                         9ES
                                                                    !&) VALUE    .O
                                                                     )NTERNAL
                                                                     VALUE 

                                                                         9ES


                                          !NSWER GIVEN BY THE -2&            .O ANSWER
                                             TO THE )NVENTORY REQUEST
                                                                                       !)



              The AFI is programmed by the M24LR64E-R issuer (or purchaser) in the AFI register. Once
              programmed and locked, it can no longer be modified.
              The most significant nibble of the AFI is used to code one specific or all application families.
              The least significant nibble of the AFI is used to code one specific or all application
              subfamilies. Subfamily codes different from 0 are proprietary.
              See also ISO 15693-3 documentation.




  60/144                                     DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 245 of 763 PageID #:
                                    2027

  M24LR64E-R                                                      Data storage format identifier (DSFID)


  15        Data storage format identifier (DSFID)

            The data storage format identifier indicates how the data is structured in the M24LR64E-R
            memory. The logical organization of data can be known instantly using the DSFID. It can be
            programmed and locked using the Write DSFID and Lock DSFID commands.


  15.1      CRC
            The CRC used in the M24LR64E-R is calculated as per the definition in ISO/IEC 13239. The
            initial register contents are all 1s: “FFFF”.
            The two-byte CRC is appended to each request and response, within each frame, before
            the EOF. The CRC is calculated on all the bytes after the SOF up to the CRC field.
            Upon reception of a request from the VCD, the M24LR64E-R verifies that the CRC value is
            valid. If it is invalid, the M24LR64E-R discards the frame and does not answer the VCD.
            Upon reception of a response from the M24LR64E-R, it is recommended that the VCD
            verifies whether the CRC value is valid. If it is invalid, actions to be performed are left to the
            VCD designer judgment.
            The CRC is transmitted least significant byte first. Each byte is transmitted least significant
            bit first.

                                          Table 22. CRC transmission rules
                                LSByte                                            LSByte

            LSBit                                     MSBit LSBit                                      MSBit

                             CRC 16 (8 bits)                                  CRC 16 (8 bits)




                                           DocID022712 Rev 12                                          61/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 246 of 763 PageID #:
                                    2028

  M24LR64E-R protocol description                                                             M24LR64E-R


  16        M24LR64E-R protocol description

            The transmission protocol (or simply “the protocol”) defines the mechanism used to
            exchange instructions and data between the VCD and the M24LR64E-R in both directions.
            It is based on the concept of “VCD talks first”.
            This means that an M24LR64E-R does not start transmitting unless it has received and
            properly decoded an instruction sent by the VCD. The protocol is based on an exchange of:
            •      a request from the VCD to the M24LR64E-R,
            •      a response from the M24LR64E-R to the VCD.
            Each request and each response are contained in a frame. The frame delimiters (SOF,
            EOF) are described in Section 12.
            Each request consists of:
            •      a request SOF (see Figure 20 and Figure 21),
            •      flags,
            •      a command code,
            •      parameters depending on the command,
            •      application data,
            •      a 2-byte CRC,
            •      a request EOF (see Figure 22).
            Each response consists of:
            •      an answer SOF (see Figure 35 to Figure 40),
            •      flags,
            •      parameters depending on the command,
            •      application data,
            •      a 2-byte CRC,
            •      an answer EOF (see Figure 41 to Figure 46).
            The protocol is bit-oriented. The number of bits transmitted in a frame is a multiple of eight
            (8), that is an integer number of bytes.
            A single-byte field is transmitted least significant bit (LSBit) first. A multiple-byte field is
            transmitted least significant byte (LSByte) first and each byte is transmitted least significant
            bit (LSBit) first.
            The setting of the flags indicates the presence of the optional fields. When the flag is set (to
            one), the field is present. When the flag is reset (to zero), the field is absent.

                                            Table 23. VCD request frame format
                Request                                                                           Request
                            Request_flags    Command code Parameters      Data     2-byte CRC
                 SOF                                                                               EOF


                                   Table 24. M24LR64E-R Response frame format
                Response                                                                         Response
                            Response_flags     Parameters          Data           2-byte CRC
                  SOF                                                                              EOF




  62/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 247 of 763 PageID #:
                                    2029

  M24LR64E-R                                                            M24LR64E-R protocol description


                                  Figure 48. M24LR64E-R protocol timing


                             Request                                     Request
                  VCD         frame                                       frame
                            (Table 23)                                  (Table 23)
                                                  Response                                    Response
               M24LR64E-R                           frame                                       frame
                                                  (Table 24)                                  (Table 24)



                  Timing                 <-t1->                <-t2->                <-t1->                <-t2->




                                         DocID022712 Rev 12                                                63/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 248 of 763 PageID #:
                                    2030

  M24LR64E-R states                                                                     M24LR64E-R


  17        M24LR64E-R states

            An M24LR64E-R can be in one of four states:
            •   Power-off
            •   Ready
            •   Quiet
            •   Selected
            Transitions between these states are specified in Figure 49 and Table 25.


  17.1      Power-off state
            The M24LR64E-R is in the Power-off state when it does not receive enough energy from the
            VCD.


  17.2      Ready state
            The M24LR64E-R is in the Ready state when it receives enough energy from the VCD.
            When in the Ready state, the M24LR64E-R answers any request where the Select_flag is
            not set.


  17.3      Quiet state
            When in the Quiet state, the M24LR64E-R answers any request except for Inventory
            requests with the Address_flag set.


  17.4      Selected state
            In the Selected state, the M24LR64E-R answers any request in all modes (see Section 18):
            •   Request in Select mode with the Select_flag set
            •   Request in Addressed mode if the UID matches
            •   Request in Non-Addressed mode as it is the mode for general requests




  64/144                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 249 of 763 PageID #:
                                    2031

  M24LR64E-R                                                                                                                M24LR64E-R states


                            Table 25. M24LR64E-R response depending on Request_flags
                                                                          Address_flag                                          Select_flag
                              Flags                              1                       0                                1                 0
                                                             Addressed             Non addressed                       Selected        Non selected
             M24LR64E-R in Ready or
             Selected state (Devices in Quiet                        -                        X                             -                   X
             state do not answer)
             M24LR64E-R in Selected state                            -                        X                            X                     -
             M24LR64E-R in Ready, Quiet or
             Selected state (the device which                     X                            -                            -                   X
             matches the UID)
             Error (03h)                                          X                            -                           X                     -


                                      Figure 49. M24LR64E-R state transition diagram


                                                                           3RZHURII

                                                                                       ,QILHOG
                                                              2XW RI ILHOG
                                                              DIWHUW
                                                                   5)B2))
                                                                      

                                                                                              $Q\RWKHU&RPPDQG
                                                                               5HDG\           ZKHUH6HOHFWB)ODJ
                                                                                                   LVQRWVHW
                   2XWRI5)ILHOG
                   DIWHUW5)B2))
                             
                                                                           '




                                                                                                                                   2XW RI 5) ILHOG
                                                                          8,




                                                                                   6H




                                                                                                                                    DIWHUW 5)B2))
                                                                                                                                               
                                                                                      OH
                                                                         LHW




                                                                                         FW




                                                                                                                                           
                                                                     X




                                                                                          5H HOH HFW


                                                                                            8
                                                                  T




                                                                                             6 HO
                                                                                              VH FWB GLII
                                                                 D\




                                                                                               ,'
                                                       \




                                                                                                6
                                                     DG




                                                                                                 WW )O HU
                                                                6W




                                                                                                    R DJ HQ
                                                  UH




                                                                                                      UH LV W
                                                R




                                                                                                        DG V 8,
                                               WW




                                                                                                          \ HW '
                                             VH




                                                                                                            ZK R
                                           5H




                                                                                                              HU U
                                                                                                                H




                                                           6HOHFW 8,'
                                           4XLHW
                                                                                       6WD\TXLHW 8,'                6HOHFWHG



                               $Q\RWKHUFRPPDQGZKHUHWKH
                                 $GGUHVVB)ODJLVVHW$1'                                                      $Q\RWKHUFRPPDQG
                               ZKHUH,QYHQWRU\B)ODJLVQRWVHW

                                                                                                                                         $,E


            1. The M24LR64E-R returns to the Power Off state if the tag is out of the RF field for at least tRF_OFF. Refer to
               application note AN4125 for more information.
            2. The intention of the state transition method is that only one M24LR64E-R should be in the Selected state at
               a time.




                                                     DocID022712 Rev 12                                                                              65/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 250 of 763 PageID #:
                                    2032

  Modes                                                                                 M24LR64E-R


  18        Modes

            The term “mode” refers to the mechanism used in a request to specify the set of
            M24LR64E-Rs that answers the request.


  18.1      Addressed mode
            When the Address_flag is set to 1 (Addressed mode), the request contains the Unique ID
            (UID) of the addressed M24LR64E-R.
            Any M24LR64E-R that receives a request with the Address_flag set to 1 compares the
            received Unique ID to its own. If it matches, then the M24LR64E-R executes the request (if
            possible) and returns a response to the VCD as specified in the command description.
            If the UID does not match, then it remains silent.


  18.2      Non-addressed mode (general request)
            When the Address_flag is cleared to 0 (Non-Addressed mode), the request does not contain
            a Unique ID. Any M24LR64E-R receiving a request with the Address_flag cleared to 0
            executes it and returns a response to the VCD as specified in the command description.


  18.3      Select mode
            When the Select_flag is set to 1 (Select mode), the request does not contain an M24LR64E-
            R Unique ID. The M24LR64E-R in the Selected state that receives a request with the
            Select_flag set to 1 executes it and returns a response to the VCD as specified in the
            command description.
            Only M24LR64E-Rs in the Selected state answer a request where the Select_flag is set to
            1.
            The system design ensures in theory that only one M24LR64E-R can be in the Select state
            at any given time.




  66/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 251 of 763 PageID #:
                                    2033

  M24LR64E-R                                                                                          Request format


  19        Request format

            The request consists of:
            •      an SOF,
            •      flags,
            •      a command code,
            •      parameters and data,
            •      a CRC,
            •      an EOF.

                                                  Table 26. General request format
            S                                                                                                          E
            O       Request_flags               Command code            Parameters             Data        CRC         O
            F                                                                                                          F



  19.1      Request flags
            In a request, the “flags” field specifies the actions to be performed by the M24LR64E-R and
            whether corresponding fields are present or not.
            The flags field consists of eight bits. Bit 3 (Inventory_flag) of the request flag defines the
            contents of the four MSBs (bits 5 to 8). When bit 3 is reset (0), bits 5 to 8 define the
            M24LR64E-R selection criteria. When bit 3 is set (1), bits 5 to 8 define the M24LR64E-R
            Inventory parameters.

                                           Table 27. Definition of request flags 1 to 4
            Bit No.                 Flag                Level                        Description

                                                                A single subcarrier frequency is used by the
                                                          0
                Bit 1   Subcarrier_flag   (1)                   M24LR64E-R
                                                          1     Two subcarriers are used by the M24LR64E-R
                                                          0     Low data rate is used
                Bit 2   Data_rate_flag(2)
                                                          1     High data rate is used
                                                          0     The meaning of flags 5 to 8 is described in Table 28
                Bit 3   Inventory_flag
                                                          1     The meaning of flags 5 to 8 is described in Table 29
                                                          0     No Protocol format extension
                Bit 4   Protocol_extension_flag(3)
                                                          1     Protocol format extension
            1. Subcarrier_flag refers to the M24LR64E-R-to-VCD communication.
            2. Data_rate_flag refers to the M24LR64E-R-to-VCD communication.
            3. Protocol_extension_flag must be set to 1 for Read Single Block, Read Multiple Block, Fast
               Read Multiple Block, Write Single Block, and Get Multiple Block Security Status commands.
               Get System Info command supports two options: a standard response format when
               Protocol_extension_flag is set to 0, and a rich response when protocol extension is set to 1.




                                                   DocID022712 Rev 12                                           67/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 252 of 763 PageID #:
                                    2034

  Request format                                                                                         M24LR64E-R

             .


                                           Table 28. Request flags 5 to 8 when Bit 3 = 0
             Bit No.          Flag           Level                              Description

                                                     The request is executed by any M24LR64E-R according to the
                                               0
                                                     setting of Address_flag
                 Bit 5    Select flag(1)
                                                     The request is executed only by the M24LR64E-R in Selected
                                               1
                                                     state
                                                     The request is not addressed. UID field is not present. The request
                                               0
                                                     is executed by all M24LR64E-Rs.
                 Bit 6   Address flag(1)             The request is addressed. UID field is present. The request is
                                               1     executed only by the M24LR64E-R whose UID matches the UID
                                                     specified in the request.
                                               0     Option not activated.
                 Bit 7    Option flag
                                               1     Option activated.
                 Bit 8        RFU              0     -
            1. If the Select_flag is set to 1, the Address_flag is set to 0 and the UID field is not present in the
               request.


                                           Table 29. Request flags 5 to 8 when Bit 3 = 1
             Bit No.           Flag          Level                              Description

                                               0     AFI field is not present
                 Bit 5       AFI flag
                                               1     AFI field is present
                                               0     16 slots
                 Bit 6    Nb_slots flag
                                               1     1 slot
                 Bit 7     Option flag         0     -
                 Bit 8         RFU             0     -




  68/144                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 253 of 763 PageID #:
                                    2035

  M24LR64E-R                                                                                     Response format


  20        Response format

            The response consists of:
            •     an SOF,
            •     flags,
            •     parameters and data,
            •     a CRC,
            •     an EOF.

                                             Table 30. General response format
            S                                                                                                      E
            O             Response_flags                   Parameters                  Data                  CRC   O
            F                                                                                                      F



  20.1      Response flags
            In a response, the flags indicate how actions have been performed by the M24LR64E-R and
            whether corresponding fields are present or not. The response flags consist of eight bits.

                                        Table 31. Definitions of response flags 1 to 8
                Bit No.          Flag          Level                           Description

                                                 0     No error
                 Bit 1     Error_flag
                                                 1     Error detected. Error code is in the “Error” field.
                 Bit 2     RFU                   0     -
                 Bit 3     RFU                   0     -
                 Bit 4     Extension flag        0     No extension
                 Bit 5     RFU                   0     -
                 Bit 6     RFU                   0     -
                 Bit 7     RFU                   0     -
                 Bit 8     RFU                   0     -




                                               DocID022712 Rev 12                                              69/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 254 of 763 PageID #:
                                    2036

  Response format                                                                                 M24LR64E-R


  20.2      Response error code
            If the Error_flag is set by the M24LR64E-R in the response, the Error code field is present
            and provides information about the error that occurred.
            Error codes not specified in Table 32 are reserved for future use.

                                     Table 32. Response error code definition
               Error code                                             Meaning

                    03h       The option is not supported.
                    0Fh       Error with no information given.
                    10h       The specified block is not available.
                    11h       The specified block is already locked and thus cannot be locked again.
                    12h       The specified block is locked and its contents cannot be changed.
                    13h       The specified block was not successfully programmed.
                    14h       The specified block was not successfully locked.
                    15h       The specified block is read-protected.




  70/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 255 of 763 PageID #:
                                    2037

  M24LR64E-R                                                                                        Anticollision


  21        Anticollision

            The purpose of the anticollision sequence is to inventory the M24LR64E-Rs present in the
            VCD field using their unique ID (UID).
            The VCD is the master of communications with one or several M24LR64E-Rs. It initiates an
            M24LR64E-R communication by issuing the Inventory request.
            The M24LR64E-R sends its response in the determined slot or does not respond.


  21.1      Request parameters
            When issuing the Inventory Command:
            •        The VCD sets the Nb_slots_flag as desired.
            •        The VCD adds the mask length and the mask value after the command field:
                     –    The mask length is the number of significant bits of the mask value.
                     –    The mask value is contained in an integer number of bytes. The mask length
                          indicates the number of significant bits. LSB is transmitted first.
            •        If the mask length is not a multiple of 8 (bits), as many 0-bits as required are added to
                     the mask value MSB, so that the mask value is contained in an integer number of
                     bytes.
            •        The next field starts at the next byte boundary.

                                             Table 33. Inventory request format
            MSB                                                                                             LSB
                SOF      Request_flags   Command Optional AFI Mask length          Mask value     CRC       EOF
                 -           8 bits        8 bits      8 bits        8 bits        0 to 8 bytes   16 bits     -


            In the example provided in Table 34 and Figure 50, the mask length is 11 bits. Five 0-bits
            are added to the mask value MSB. The 11-bit mask and the current slot number are
            compared to the UID.

                           Table 34. Example of the addition of 0-bits to an 11-bit mask value
                          MSB (b15)                                           LSB (b0)

                            0000 0                                       100 1100 1111
                         0-bits added                                   11-bit mask value




                                                DocID022712 Rev 12                                          71/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 256 of 763 PageID #:
                                    2038

  Anticollision                                                                                                   M24LR64E-R


                  Figure 50. Principle of comparison between the mask, the slot number and the UID

                                                                                                -3"             ,3"
                   -ASK VALUE RECEIVED IN THE )NVENTORY COMMAND                                     B  BITS

                                                                                                      -3"        ,3"
                   4HE -ASK VALUE LESS THE PADDING S IS LOADED                                           B  BITS
                   INTO THE 4AG COMPARATOR


                   4HE 3LOT COUNTER IS CALCULATED                                               -3" ,3"
                     .B?SLOTS?FLAGS    SLOTS 3LOT #OUNTER IS  BITS                         XXXX                      BITS



                   4HE 3LOT COUNTER IS CONCATENED TO THE -ASK VALUE                              -3"            ,3"
                     .B?SLOTS?FLAGS                                                            XXXX    B  BITS




                                                                      B                    5)$                     B
                   4HE CONCATENATED RESULT IS COMPARED WITH            XXXX XXXX  XXXX XXXX X XXX XXXX XXXX XXXX B    BITS
                   THE LEAST SIGNIFICANT BITS OF THE 4A G 5)$
                                                                              "ITS IGNORED              #OMPARE
                                                                                                                          !)

              The AFI field is present if the AFI_flag is set.
              The pulse is generated according to the definition of the EOF in ISO/IEC 15693-2.
              The first slot starts immediately after the request EOF is received. To switch to the next slot,
              the VCD sends an EOF.
              The following rules and restrictions apply:
              •      If no M24LR64E-R answer is detected, the VCD may switch to the next slot by sending
                     an EOF.
              •      If one or more M24LR64E-R answers are detected, the VCD waits until the complete
                     frame has been received before sending an EOF for switching to the next slot.




  72/144                                              DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 257 of 763 PageID #:
                                    2039

  M24LR64E-R                                                  Request processing by the M24LR64E-R


  22        Request processing by the M24LR64E-R

            Upon reception of a valid request, the M24LR64E-R performs the following algorithm:
            •    NbS is the total number of slots (1 or 16)
            •    SN is the current slot number (0 to 15)
            •    LSB (value, n) function returns the n Less Significant Bits of value
            •    MSB (value, n) function returns the n Most Significant Bits of value
            •    “&” is the concatenation operator
            •    Slot_Frame is either an SOF or an EOF


            SN = 0
            if (Nb_slots_flag)
                then NbS = 1
                        SN_length = 0
                        endif
                else NbS = 16
                        SN_length = 4
                        endif


            label1:
            if LSB(UID, SN_length + Mask_length) =
                LSB(SN,SN_length)&LSB(Mask,Mask_length)
                then answer to inventory request
                        endif


            wait (Slot_Frame)


            if Slot_Frame = SOF
                then Stop Anticollision
                        decode/process request
                        exit
                        endif


            if Slot_Frame = EOF
                if SN < NbS-1
                   then SN = SN + 1
                          goto label1
                          exit
                          endif
                endif




                                          DocID022712 Rev 12                                  73/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 258 of 763 PageID #:
                                    2040

  Explanation of the possible cases                                                         M24LR64E-R


  23         Explanation of the possible cases

             Figure 51 summarizes the main possible cases that can occur during an anticollision
             sequence when the number of slots is 16.
             The sequence of steps is as follows:
             •    The VCD sends an Inventory request, in a frame terminated by an EOF. The number of
                  slots is 16.
             •    M24LR64E-R_1 transmits its response in Slot 0. It is the only one to do so, therefore no
                  collision occurs and its UID is received and registered by the VCD.
             •    The VCD sends an EOF in order to switch to the next slot.
             •    In Slot 1, two M24LR64E-Rs (M24LR64E-R_2 and M24LR64E-R_3) transmit a
                  response, thus generating a collision. The VCD records the event and registers that a
                  collision was detected in Slot 1.
             •    The VCD sends an EOF in order to switch to the next slot.
             •    In Slot 2, no M24LR64E-R transmits a response. Therefore the VCD does not detect
                  any M24LR64E-R SOF and switches to the next slot by sending an EOF.
             •    In Slot 3, another collision occurs due to responses from M24LR64E-R_4 and
                  M24LR64E-R_5.
             •    The VCD sends a request (for instance a Read Block) to M24LR64E-R_1 whose UID
                  has already been correctly received.
             •    All M24LR64E-Rs detect an SOF and exit the anticollision sequence. They process this
                  request and since the request is addressed to M24LR64E-R_1, only M24LR64E-R_1
                  transmits a response.
             •    All M24LR64E-Rs are ready to receive another request. If it is an Inventory command,
                  the slot numbering sequence restarts from 0.
  Note:      The decision to interrupt the anticollision sequence is made by the VCD. EOFs could have
             been sent until Slot 16, and the request to M24LR64E-R_1 sent then.




  74/144                                   DocID022712 Rev 12
                            Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 259 of 763 PageID #:
                                                                2041


                                                                        Figure 51. Description of a possible anticollision sequence




                                                                                                                                                                                                 M24LR64E-R
                                                               6ORW                    6ORW             6ORW              6ORW


                                     6              (                         (                         (            (                         6                   (
                                         ,QYHQWRU\                                                                                                  5HTXHVWWR
                             9&'     2              2                         2                         2            2                         2                   2
                                          5HTXHVW                                                                                                  -,2% 2?
                                     )              )                         )                         )            )                         )                   )




                                                                                       5HVSRQVH                              5HVSRQVH
                                                                                                                                


                                                                                                                                                                            5HVSRQVHIURP
                     0/5(5V                                                                                                                                            -,2% 2?
DocID022712 Rev 12




                                                             5HVSRQVH                 5HVSRQVH                              5HVSRQVH
                                                                                                                               




                          7LPLQJ                        W               W       W               W                    W               W                           W

                                                               1R                                         1R
                        &RPPHQW                                                        &ROOLVLRQ                              &ROOLVLRQ
                                                             FROOLVLRQ                                  UHVSRQVH




                                                                                                                                                                                                 Explanation of the possible cases
                            7LPH

                                                                                                                                                                                     069
75/143
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 260 of 763 PageID #:
                                    2042

  Inventory Initiated command                                                                 M24LR64E-R


  24         Inventory Initiated command

             The M24LR64E-R provides a special feature to improve the inventory time response of
             moving tags using the Initiate_flag value. This flag, controlled by the Initiate command,
             allows tags to answer Inventory Initiated commands.
             For applications in which multiple tags are moving in front of a reader, it is possible to miss
             tags using the standard inventory command. The reason is that the inventory sequence has
             to be performed on a global tree search. For example, a tag with a particular UID value may
             have to wait the run of a long tree search before being inventoried. If the delay is too long,
             the tag may be out of the field before it has been detected.
             Using the Initiate command, the inventory sequence is optimized. When multiple tags are
             moving in front of a reader, the ones which are within the reader field are initiated by the
             Initiate command. In this case, a small batch of tags answers to the Inventory Initiated
             command, which optimizes the time necessary to identify all the tags. When finished, the
             reader has to issue a new Initiate command in order to initiate a new small batch of tags
             which are new inside the reader field.
             It is also possible to reduce the inventory sequence time using the Fast Initiate and Fast
             Inventory Initiated commands. These commands allow the M24LR64E-Rs to increase their
             response data rate by a factor of 2, up to 53 Kbit/s.




  76/144                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 261 of 763 PageID #:
                                    2043

  M24LR64E-R                                                                                     Timing definition


  25        Timing definition

  25.1      t1: M24LR64E-R response delay
            Upon detection of the rising edge of the EOF received from the VCD, the M24LR64E-R
            waits for a t1nom time before transmitting its response to a VCD request or switching to the
            next slot during an inventory process. Values of t1 are given in Table 35. The EOF is defined
            in Figure 22.


  25.2      t2: VCD new request delay
            t2 is the time after which the VCD may send an EOF to switch to the next slot when one or
            more M24LR64E-R responses have been received during an Inventory command. It starts
            from the reception of the EOF from the M24LR64E-Rs.
            The EOF sent by the VCD may be either 10% or 100% modulated regardless of the
            modulation index used for transmitting the VCD request to the M24LR64E-R.
            t2 is also the time after which the VCD may send a new request to the M24LR64E-R, as
            described in Figure 48.
            Values of t2 are given in Table 35.


  25.3      t3: VCD new request delay when no response is received
            from the M24LR64E-R
            t3 is the time after which the VCD may send an EOF to switch to the next slot when no
            M24LR64E-R response has been received.
            The EOF sent by the VCD may be either 10% or 100% modulated regardless of the
            modulation index used for transmitting the VCD request to the M24LR64E-R.
            From the time the VCD has generated the rising edge of an EOF:
            •         If this EOF is 100% modulated, the VCD waits for a time at least equal to t3min before
                      sending a new EOF.
            •         If this EOF is 10% modulated, the VCD waits for a time at least equal to the sum of
                      t3min + the M24LR64E-R nominal response time (which depends on the M24LR64E-R
                      data rate and subcarrier modulation mode) before sending a new EOF.

                                                              Table 35. Timing values(1)
                            Minimum (min) values                     Nominal (nom) values   Maximum (max) values

                 t1                318.6 µs                                320.9 µs               323.3 µs
                 t2                309.2 µs                                 No tnom                No tmax
                 t3             t1max   (2)   +   tSOF(3)                   No tnom                No tmax
            1. The tolerance of specific timings is ± 32/fC.
            2.   t1maxdoes not apply for write-alike requests. Timing conditions for write-alike requests are
                 defined in the command description.
            3. tSOF is the time taken by the M24LR64E-R to transmit an SOF to the VCD. tSOF depends on
               the current data rate: High data rate or Low data rate.


                                                            DocID022712 Rev 12                                  77/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 262 of 763 PageID #:
                                    2044

  Command codes                                                                              M24LR64E-R


  26        Command codes

            The M24LR64E-R supports the commands described in this section. Their codes are given
            in Table 36.
             -


                                             Table 36. Command codes
            Command code                              Command code
                                     Function                                          Function
              standard                                   custom

                  01h       Inventory                          2Ch     Get Multiple Block Security Status
                  02h       Stay Quiet                         B1h     Write-sector Password
                  20h       Read Single Block                  B2h     Lock-sector
                  21h       Write Single Block                 B3h     Present-sector Password
                  23h       Read Multiple Block                C0h     Fast Read Single Block
                  25h       Select                             C1h     Fast Inventory Initiated
                  26h       Reset to Ready                     C2h     Fast Initiate
                  27h       Write AFI                          C3h     Fast Read Multiple Block
                  28h       Lock AFI                           D1h     Inventory Initiated
                  29h       Write DSFID                        D2h     Initiate
                  2Ah       Lock DSFID                         A0h     ReadCfg
                  2Bh       Get System Info                    A1h     WriteEHCfg
                   -        -                                  A2h     SetRstEHEn
                   -        -                                  A3h     CheckEHEn
                   -        -                                  A4h     WriteDOCfg




  78/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 263 of 763 PageID #:
                                    2045

  M24LR64E-R                                                                                        Command codes


  26.1      Inventory
            When receiving the Inventory request, the M24LR64E-R runs the anticollision sequence.
            The Inventory_flag is set to 1. The meaning of flags 5 to 8 is shown in Table 29.
            The request contains:
            •      the flags,
            •      the Inventory command code (see Table 36),
            •      the AFI if the AFI flag is set,
            •      the mask length,
            •      the mask value,
            •      the CRC.
            The M24LR64E-R does not generate any answer in case of error.

                                            Table 37. Inventory request format
                Request                                       Optional    Mask       Mask                      Request
                        Request_flags Inventory                                                     CRC16
                 SOF                                            AFI      length      value                      EOF

                   -            8 bits         01h             8 bits    8 bits    0 - 64 bits      16 bits          -


            The response contains:
            •      the flags,
            •      the Unique ID.

                                            Table 38. Inventory response format
            Response                                                                                          Response
                            Response_flags           DSFID                UID                CRC16
              SOF                                                                                               EOF

                   -               8 bits            8 bits              64 bits                 16 bits         -


            During an Inventory process, if the VCD does not receive an RF M24LR64E-R response, it
            waits for a time t3 before sending an EOF to switch to the next slot. t3 starts from the rising
            edge of the request EOF sent by the VCD.
            •      If the VCD sends a 100% modulated EOF, the minimum value of t3 is:
                   t3min = 4384/fC (323.3µs) + tSOF
            •      If the VCD sends a 10% modulated EOF, the minimum value of t3 is:
                   t3min = 4384/fC (323.3µs) + tNRT
            where:
            •      tSOF is the time required by the M24LR64E-R to transmit an SOF to the VCD,
            •      tNRT is the nominal response time of the M24LR64E-R.
            tNRT and tSOF are dependent on the M24LR64E-R-to-VCD data rate and subcarrier
            modulation mode.
            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF
            starting the inventory command to the end of the M24LR64E-R response. If the
            M24LR64E-R does not receive the corresponding slot marker, the RF WIP/BUSY pin
            remains at 0 until the next RF power-off.



                                              DocID022712 Rev 12                                                 79/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 264 of 763 PageID #:
                                    2046

  Command codes                                                                        M24LR64E-R


            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.

                  Figure 52. M24LR64E RF-Busy management following Inventory command

              0/5[UHSOLHVLQVORWQ5)B%XV\LVUHOHDVHGDIWHU0/5[UHVSRQVH

                                         6ORW                6ORWQ
                        6 ,QYHQWRU\ (              (       (            (
                        2           2              2       2            2
                        ) FRPPDQG )                )       )            )      6  ,UHSO\  (
                                                                               2          2
                                                                               ) 0/5[ )

              5)B%XV\

               6ORWQQHYHURFFXUV5)B%XV\LVRQO\UHOHDVHGE\3RZHURII

                                          6ORW               6ORWQ                3RZHURII
                        6 ,QYHQWRU\ (               (      (
                        2           2               2      2
                        ) FRPPDQG )                 )      )


              5)B%XV\



               9&'VHQGVD9DOLGFRPPDQGEHIRUHVORWQ5)B%XV\LVUHOHDVHGDIWHU0/5[
              UHVSRQVH
                                          6ORW
                        6 ,QYHQWRU\ (               (        6   ,1HZ  (
                        2           2               2        2         2          6   ,UHSO\     (
                        ) FRPPDQG )                 )        ) FRPPDQG )          2              2
                                                                                  ) 0/5[     )

              5)B%XV\



                9&'VHQGVD%DGFRPPDQGEHIRUHVORWQ5)B%XV\LVUHOHDVHGDIWHU9&'
               FRPPDQG
                                           6ORW
                         6 ,QYHQWRU\ (                 (     6   ,1HZ  (
                         2           2                 2     2         2
                         ) FRPPDQG )                   )     ) FRPPDQG )

              5)B%XV\



                                                                                            069




  80/144                                DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 265 of 763 PageID #:
                                    2047

  M24LR64E-R                                                                             Command codes


  26.2      Stay Quiet
            Command code = 0x02
            On receiving the Stay Quiet command, the M24LR64E-R enters the Quiet state if no error
            occurs, and does NOT send back a response. There is NO response to the Stay Quiet
            command even if an error occurs.
            When in the Quiet state:
            •     the M24LR64E-R does not process any request if the Inventory_flag is set,
            •     the M24LR64E-R processes any Addressed request.
            The M24LR64E-R exits the Quiet state when:
            •     it is reset (power off),
            •     receiving a Select request. It then goes to the Selected state,
            •     receiving a Reset to Ready request. It then goes to the Ready state.

                                             Table 39. Stay Quiet request format
                Request                                                                        Request
                             Request flags      Stay Quiet            UID           CRC16
                 SOF                                                                            EOF

                   -             8 bits             02h              64 bits        16 bits       -


            The Stay Quiet command must always be executed in Addressed mode (Select_flag is reset
            to 0 and Address_flag is set to 1).

                        Figure 53. Stay Quiet frame exchange between VCD and M24LR64E-R


                                             Stay Quiet
                       VCD         SOF                    EOF
                                              request

                 M24LR64E-R




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 during the Stay
            Quiet command.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.




                                                DocID022712 Rev 12                               81/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 266 of 763 PageID #:
                                    2048

  Command codes                                                                                                        M24LR64E-R


  26.3      Read Single Block
            On receiving the Read Single Block command, the M24LR64E-R reads the requested block
            and sends back its 32-bit value in the response. The Protocol_extension_flag should be set
            to 1 for the M24LR64E-R to operate correctly. If the Protocol_extension_flag is at 0, the
            M24LR64E-R answers with an error code. The Option_flag is supported.

                                             Table 40. Read Single Block request format
                Request                               Read Single                                                           Request
                             Request_flags                                 UID(1)         Block number           CRC16
                 SOF                                    Block                                                                EOF

                   -               8 bits                 20h             64 bits               16 bits          16 bits          -
            1. Gray color means that the field is optional.


            Request parameters:
            •      Request flags
            •      UID (optional)
            •      Block number

                        Table 41. Read Single Block response format when Error_flag is NOT set
                Response                                        Sector security                                            Response
                                   Response_flags                                           Data            CRC16
                  SOF                                              status(1)                                                 EOF

                        -                    8 bits                    8 bits              32 bits          16 bits           -
            1. Gray color means that the field is optional.


            Response parameters:
            •      Sector security status if Option_flag is set (see Table 42)
            •      Four bytes of block data

                                                       Table 42. Sector security status
                  b7          b6            b5          b4        b3             b2        b1                         b0
                 Reserved for future use.             Password control           Read / Write        0: Current sector not locked
                        All at 0.                          bits                 protection bits      1: Current sector locked


                            Table 43. Read Single Block response format when Error_flag is set
            Response                                                                                                       Response
                                   Response_flags                   Error code                        CRC16
              SOF                                                                                                            EOF

                    -                       8 bits                       8 bits                        16 bits                    -


            Response parameter:
            •      Error code as Error_flag is set
                   –        10h: the specified block is not available
                   –        15h: the specified block is read-protected




  82/144                                                DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 267 of 763 PageID #:
                                    2049

  M24LR64E-R                                                                                       Command codes


                Figure 54. Read Single Block frame exchange between VCD and M24LR64E-R


                                      Read Single Block
                 VCD         SOF                              EOF
                                          request
                                                                                       Read Single Block
            M24LR64E-R                                              <-t1->    SOF                              EOF
                                                                                          response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Read Single Block command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.4      Write Single Block
            On receiving the Write Single Block command, the M24LR64E-R writes the data contained
            in the request to the requested block and reports whether the write operation was
            successful in the response. The Protocol_extension_flag should be set to 1 for the
            M24LR64E-R to operate correctly. If the Protocol_extension_flag is at 0, the M24LR64E-R
            answers with an error code. The Option_flag is supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not program correctly the data into the memory. The Wt
            time is equal to t1nom + 18 × 302 µs.

                                      Table 44. Write Single Block request format
             Request                      Write Single                        Block                            Request
                     Request_flags                             UID(1)                     Data     CRC16
              SOF                            Block                           number                             EOF

                 -           8 bits            21h            64 bits        16 bits     32 bits    16 bits          -
            1. Gray color means that the field is optional.


            Request parameters:
            •    Request flags
            •    UID (optional)
            •    Block number
            •    Data

                     Table 45. Write Single Block response format when Error_flag is NOT set
                Response SOF              Response_flags                     CRC16                 Response EOF

                        -                       8 bits                       16 bits                       -


            Response parameter:
            •    No parameter. The response is sent back after the writing cycle.



                                             DocID022712 Rev 12                                                  83/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 268 of 763 PageID #:
                                    2050

  Command codes                                                                                               M24LR64E-R


                               Table 46. Write Single Block response format when Error_flag is set
                     Response                                                                                   Response
                                     Response_flags              Error code                    CRC16
                       SOF                                                                                        EOF

                           -               8 bits                    8 bits                    16 bits                -


                 Response parameter:
                 •     Error code as Error_flag is set:
                       –       0Fh: error with no information given
                       –       10h: the specified block is not available
                       –       12h: the specified block is locked and its contents cannot be changed
                       –       13h: the specified block was not successfully programmed

             Figure 55. Write Single Block frame exchange between VCD and M24LR64E-R


                                 Write Single
           VCD        SOF                       EOF
                                Block request
                                                                        Write Single                 Write sequence when
    M24LR64E-R                                        <-t1-> SOF                            EOF
                                                                       Block response                        error



                                                                                                      Write Single
    M24LR64E-R                                        <------------------- Wt ---------------> SOF                    EOF
                                                                                                     Block response




                 When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
                 starts the Write Single Block command to the end of the M24LR64E-R response.
                 When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
                 duration of the internal write cycle (from the end of a valid write single block command to the
                 beginning of the M24LR64E-R response).




  84/144                                            DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 269 of 763 PageID #:
                                    2051

  M24LR64E-R                                                                      Command codes


                   Figure 56. M24LR64E RF-Busy management following Write command

                0/5[UHSOLHV5)B%XV\LVUHOHDVHGDIWHU0/5[UHVSRQVH

                                                             :W
                         6   :ULWH (
                         2         2
                         ) FRPPDQG )                                           6   ,UHSO\ (
                                                                               2          2
                                                                               ) 0/5[ )
               5)B%XV\


                0/5[UHSOLHVZKHQRSWLRQIODJLVVHW5)B%XV\LVUHOHDVHGDIWHU0/5[
               UHVSRQVH
                                                   :W
                         6   :ULWH (                               (            6          (
                         2         2                               2                ,UHSO\
                           FRPPDQG                                       W     2          2
                         )         )                               )            ) 0/5[ )

               5)B%XV\




                 9&'VHQGVDIRUELGGHQ:ULWH VHFWRUORFNSDVVZRUGSURWHFWHG 5)B%XV\LV
                UHOHDVHGDIWHU0/5[FRPPDQG

                                                             W
                         6   :ULWH (
                         2         2
                         ) FRPPDQG )                                           6   ,UHSO\ (
                                                                               2          2
                                                                               ) 0/5[ )

               5)B%XV\


                                                                                          069




                                        DocID022712 Rev 12                                      85/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 270 of 763 PageID #:
                                    2052

  Command codes                                                                        M24LR64E-R


            When configuring in the RF Write in progress mode, the RF WIP/BUSY pin is tied to 0
            during the Write & verify sequence, as shown in Figure 57.

                    Figure 57. M24LR64E RF-Wip management following Write command

               0/5[UHSOLHV5)B:LSLVUHOHDVHGDIWHU0/5[UHVSRQVH

                                                     :W
                         6   :ULWH (
                         2         2
                         ) FRPPDQG )                                   6   ,UHSO\ (
                                                                       2          2
                                                                       ) 0/5[ )

               5)B:LS

                0/5[UHSOLHVZKHQRSWLRQIODJLVVHW5)B:LSLVUHOHDVHGDIWHU0/5[
               UHVSRQVH
                                                     :W
                         6   :ULWH (                               (            6          (
                         2         2                               2                ,UHSO\
                           FRPPDQG                                       W     2          2
                         )         )                               )            ) 0/5[ )

               5)B:LS




                 9&'VHQGVDIRUELGGHQ:ULWH VHFWRUORFNSDVVZRUGSURWHFWHG 5)B:LSLV
                UHOHDVHGDIWHU0/5[FRPPDQG

                                                      W
                         6   :ULWH (
                         2         2
                         ) FRPPDQG )                                    6   ,UHSO\ (
                                                                        2          2
                                                                        ) 0/5[ )

                5)B:LS


                                                                                          069




  86/144                                DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 271 of 763 PageID #:
                                    2053

  M24LR64E-R                                                                                                             Command codes


  26.5      Read Multiple Block
            When receiving the Read Multiple Block command, the M24LR64E-R reads the selected
            blocks and sends back their value in multiples of 32 bits in the response. The blocks are
            numbered from 00h to 1FFh in the request and the value is minus one (–1) in the field. For
            example, if the “Number of blocks” field contains the value 06h, seven blocks are read. The
            maximum number of blocks is fixed at 32 assuming that they are all located in the same
            sector. If the number of blocks overlaps sectors, the M24LR64E-R returns an error code.
            The Protocol_extension_flag should be set to 1 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 0, the M24LR64E-R answers with an error code. The
            Option_flag is supported.

                                          Table 47. Read Multiple Block request format
             Request Request_ Read Multiple                                               First block Number                            Request
                                                                       UID(1)                                            CRC16
              SOF      flags     Block                                                     number     of blocks                          EOF

                   -           8 bits             23h                  64 bits              16 bits         8 bits           16 bits            -
            1. Gray color means that the field is optional.


            Request parameters:
            •      Request flags
            •      UID (optional)
            •      First block number
            •      Number of blocks

                       Table 48. Read Multiple Block response format when Error_flag is NOT set
                Response        Response_           Sector security                                                                    Response
                                                                                          Data                 CRC16
                  SOF             flags                status(1)                                                                         EOF

                       -            8 bits                 8 bits(2)                   32 bits(2)                  16 bits                  -
            1. Gray color means that the field is optional.
            2. Repeated as needed.


            Response parameters:
            •      Sector security status if Option_flag is set (see Table 49)
            •      N blocks of data

                                                        Table 49. Sector security status
                  b7           b6         b5             b4            b3            b2             b1                         b0
                 Reserved for future use.           Password control                  Read / Write         0: Current sector not locked
                        All at 0.                        bits                        protection bits       1: Current sector locked


                           Table 50. Read Multiple Block response format when Error_flag is set
                Response SOF            Response_flags                 Error code                        CRC16                 Response EOF

                           -                   8 bits                       8 bits                       16 bits                        -




                                                        DocID022712 Rev 12                                                                  87/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 272 of 763 PageID #:
                                    2054

  Command codes                                                                                       M24LR64E-R


            Response parameter:
            •     Error code as Error_flag is set:
                  –       0Fh: error with no information given
                  –       10h: the specified block is not available
                  –       15h: the specified block is read-protected

                 Figure 58. Read Multiple Block frame exchange between VCD and M24LR64E-R


                                        Read Multiple
                       VCD      SOF                   EOF
                                        Block request
                                                                                 Read Multiple
                M24LR64E-R                                  <-t1->    SOF                      EOF
                                                                                Block response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Read Multiple Block command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.6      Select
            When receiving the Select command:
            •     If the UID is equal to its own UID, the M24LR64E-R enters or stays in the Selected
                  state and sends a response.
            •     If the UID does not match its own UID, the selected M24LR64E-R returns to the Ready
                  state and does not send a response.
            The M24LR64E-R answers an error code only if the UID is equal to its own UID. If not, no
            response is generated. If an error occurs, the M24LR64E-R remains in its current state.

                                               Table 51. Select request format
                Request                                                                                  Request
                             Request_flags       Select                UID                  CRC16
                 SOF                                                                                      EOF

                   -              8 bits          25h                 64 bits               16 bits         -


            Request parameter:
            •     UID

                          Table 52. Select Block response format when Error_flag is NOT set
            Response                                                                                    Response
                               Response_flags                              CRC16
              SOF                                                                                         EOF

                   -                  8 bits                                 16 bits                       -




  88/144                                       DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 273 of 763 PageID #:
                                    2055

  M24LR64E-R                                                                                     Command codes


            Response parameter:
            •     No parameter

                                Table 53. Select response format when Error_flag is set
                Response                                                                                 Response
                               Response_flags            Error code                 CRC16
                  SOF                                                                                      EOF

                      -             8 bits                 8 bits                   16 bits                 -


            Response parameter:
            •     Error code as Error_flag is set:
                  –       03h: the option is not supported

                            Figure 59. Select frame exchange between VCD and M24LR64E-R


                                              Select
                      VCD         SOF                    EOF
                                             request
                                                                                  Select
                M24LR64E-R                                     <-t1-> SOF                     EOF
                                                                                response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Select command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.7      Reset to Ready
            On receiving a Reset to Ready command, the M24LR64E-R returns to the Ready state if no
            error occurs. In the Addressed mode, the M24LR64E-R answers an error code only if the
            UID is equal to its own UID. If not, no response is generated.

                                         Table 54. Reset to Ready request format
            Request                                                                                       Request
                    Request_flags Reset to Ready                       UID(1)                  CRC16
             SOF                                                                                           EOF

                  -            8 bits              26h                64 bits                  16 bits          -
            1. Gray color means that the field is optional.


            Request parameter:
            •     UID (optional)




                                                DocID022712 Rev 12                                           89/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 274 of 763 PageID #:
                                    2056

  Command codes                                                                                     M24LR64E-R


                        Table 55. Reset to Ready response format when Error_flag is NOT set
                Response                                                                              Response
                                 Response_flags                               CRC16
                  SOF                                                                                   EOF

                   -                  8 bits                                  16 bits                    -


            Response parameter:
            •      No parameter

                             Table 56. Reset to ready response format when Error_flag is set
            Response                                                                                  Response
                     Response_flags               Error code                       CRC16
              SOF                                                                                       EOF

                   -              8 bits              8 bits                        16 bits              -


            Response parameter:
            •      Error code as Error_flag is set:
                   –     03h: the option is not supported

                    Figure 60. Reset to Ready frame exchange between VCD and M24LR64E-R


                                           Reset to
                       VCD         SOF      Ready      EOF
                                           request
                                                                                  Reset to
                M24LR64E-R                                     <-t1->   SOF        Ready      EOF
                                                                                 response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Reset to ready command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.8      Write AFI
            On receiving the Write AFI request, the M24LR64E-R programs the 8-bit AFI value to its
            memory. The Option_flag is supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not write correctly the AFI value into the memory. The Wt
            time is equal to t1nom + 18 × 302 µs.




  90/144                                       DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 275 of 763 PageID #:
                                    2057

  M24LR64E-R                                                                                              Command codes


                                                   Table 57. Write AFI request format
                Request                                                                                             Request
                             Request_flags          Write AFI              UID(1)             AFI        CRC16
                 SOF                                                                                                 EOF

                   -             8 bits                27h                64 bits             8 bits     16 bits           -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)
            •      AFI

                             Table 58. Write AFI response format when Error_flag is NOT set
               Response                                                                                            Response
                                 Response_flags                                     CRC16
                 SOF                                                                                                 EOF

                       -                  8 bits                                    16 bits                            -


            Response parameter:
            •      No parameter

                               Table 59. Write AFI response format when Error_flag is set
             Response         Response_                                                                            Response
                                                    Error code                         CRC16
               SOF              flags                                                                                EOF

                       -         8 bits                8 bits                           16 bits                        -


            Response parameter:
            •      Error code as Error_flag is set
                   –       12h: the specified block is locked and its contents cannot be changed
                   –       13h: the specified block was not successfully programmed



                           Figure 61. Write AFI frame exchange between VCD and M24LR64E-R


                                            Write AFI
                       VCD        SOF                 EOF
                                            request
                                                                                     Write AFI                Write sequence
                M24LR64E-R                                       <-t1-> SOF                            EOF
                                                                                     response                  when error



                                                                                                              Write AFI
                M24LR64E-R                                       <------------------ Wt --------------> SOF             EOF
                                                                                                              response




                                                    DocID022712 Rev 12                                                 91/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 276 of 763 PageID #:
                                    2058

  Command codes                                                                                              M24LR64E-R


            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Write AFI command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            duration of the internal write cycle (from the end of a valid Write AFI command to the
            beginning of the M24LR64E-R response).


  26.9      Lock AFI
            On receiving the Lock AFI request, the M24LR64E-R locks the AFI value permanently. The
            Option_flag is supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not lock correctly the AFI value in memory. The Wt time is
            equal to t1nom + 18 × 302 µs.

                                                      Table 60. Lock AFI request format
             Request                                                                                            Request
                               Request_flags              Lock AFI             UID(1)              CRC16
              SOF                                                                                                EOF

                  -                 8 bits                  28h                64 bits             16 bits               -
            1. Gray color means that the field is optional.


            Request parameter:
            •     Request Flags
            •     UID (optional)

                                Table 61. Lock AFI response format when Error_flag is NOT set
             Response                                                                                          Response
                                    Response_flags                                  CRC16
               SOF                                                                                               EOF

                      -                      8 bits                                 16 bits                          -


            Response parameter:
            •     No parameter

                                  Table 62. Lock AFI response format when Error_flag is set
                Response                                                                                      Response
                                        Response_flags                   Error code           CRC16
                  SOF                                                                                           EOF

                          -                      8 bits                    8 bits             16 bits            -


            Response parameter:
            •     Error code as Error_flag is set
                  –           11h: the specified block is already locked and thus cannot be locked again
                  –           14h: the specified block was not successfully locked




  92/144                                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 277 of 763 PageID #:
                                    2059

  M24LR64E-R                                                                                Command codes


                     Figure 62. Lock AFI frame exchange between VCD and M24LR64E-R


                                    Lock AFI
                  VCD         SOF            EOF
                                     request
                                                                    Lock AFI                 Lock sequence
               M24LR64E-R                          <-t1-> SOF                      EOF
                                                                    response                   when error



                                                                                            Lock AFI
               M24LR64E-R                          <----------------- Wt -----------> SOF              EOF
                                                                                            response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Lock AFI command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            entire duration of the internal write cycle (from the end of valid Lock AFI command to the
            beginning of the M24LR64E-R response).




                                         DocID022712 Rev 12                                            93/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 278 of 763 PageID #:
                                    2060

  Command codes                                                                                        M24LR64E-R


  26.10     Write DSFID
            On receiving the Write DSFID request, the M24LR64E-R programs the 8-bit DSFID value to
            its memory. The Option_flag is supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not write correctly the DSFID value in memory. The Wt
            time is equal to t1nom + 18 × 302 µs.

                                                Table 63. Write DSFID request format
             Request                                                                                        Request
                     Request_flags               Write DSFID        UID(1)              DSFID    CRC16
              SOF                                                                                            EOF

                 -            8 bits                 29h            64 bits             8 bits   16 bits          -
            1. Gray color means that the field is optional.


            Request parameter:
            •    Request flags
            •    UID (optional)
            •    DSFID

                         Table 64. Write DSFID response format when Error_flag is NOT set
             Response                                                                                      Response
                              Response_flags                                  CRC16
               SOF                                                                                           EOF

                     -                 8 bits                                 16 bits                         -


            Response parameter:
            •    No parameter

                            Table 65. Write DSFID response format when Error_flag is set
             Response                                                                                      Response
                      Response_flags                  Error code                    CRC16
               SOF                                                                                           EOF

                     -           8 bits                    8 bits                   16 bits                   -


            Response parameter:
            •    Error code as Error_flag is set
                 –       12h: the specified block is locked and its contents cannot be changed
                 –       13h: the specified block was not successfully programmed




  94/144                                           DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 279 of 763 PageID #:
                                    2061

  M24LR64E-R                                                                                              Command codes



                           Figure 63. Write DSFID frame exchange between VCD and M24LR64E-R


                                             Write DSFID     EO
                       VCD          SOF
                                               request        F
                                                                           SO     Write DSFID        EO     Write sequence
                M24LR64E-R                                        <-t1->
                                                                            F      response           F      when error



                                                                                                     SO Write DSFID
                M24LR64E-R                                        <---------------- Wt ---------->                  EOF
                                                                                                      F  response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Write DSFID command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            duration of the internal write cycle (from the end of a valid Write DSFID command to the
            beginning of the M24LR64E-R response).


  26.11     Lock DSFID
            On receiving the Lock DSFID request, the M24LR64E-R locks the DSFID value
            permanently. The Option_flag is supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not lock correctly the DSFID value in memory. The Wt time
            is equal to t1nom + 18 × 302 µs.

                                                Table 66. Lock DSFID request format
                Request                                                                                            Request
                              Request_flags         Lock DSFID               UID(1)                  CRC16
                 SOF                                                                                                EOF

                   -              8 bits               2Ah                   64 bits                  16 bits         -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)

                             Table 67. Lock DSFID response format when Error_flag is NOT set
                Response                                                                                         Response
                                  Response_flags                                  CRC16
                  SOF                                                                                              EOF

                       -                   8 bits                                 16 bits                             -




                                                    DocID022712 Rev 12                                                95/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 280 of 763 PageID #:
                                    2062

  Command codes                                                                                           M24LR64E-R


            Response parameter:
            •     No parameter.

                          Table 68. Lock DSFID response format when Error_flag is set
            Response                                                                                          Response
                     Response_flags               Error code                          CRC16
              SOF                                                                                               EOF

                  -            8 bits                8 bits                            16 bits                     -


            Response parameter:
            •     Error code as Error_flag is set:
                  –    11h: the specified block is already locked and thus cannot be locked again
                  –    14h: the specified block was not successfully locked

                      Figure 64. Lock DSFID frame exchange between VCD and M24LR64E-R


                                          Lock
                   VCD         SOF       DSFID     EOF
                                        request
                                                                              Lock DSFID                Lock sequence
                M24LR64E-R                                    <-t1-> SOF                         EOF
                                                                               response                   when error



                                                                                                          Lock
                M24LR64E-R                                    <---------------- Wt -------------> SOF    DSFID     EOF
                                                                                                        response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Lock DSFID command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            duration of the internal write cycle (from the end of a valid Lock DSFID command to the
            beginning of the M24LR64E-R response).


  26.12     Get System Info
            When receiving the Get System Info command, the M24LR64E-R sends back its
            information data in the response. The Option_flag is not supported. The Get System Info
            can be issued in both Addressed and Non Addressed modes.
            The Protocol_extension_flag can be set to 0 or 1. Table 70 and Table 72 show M24LR64E-
            R response to the Get System Info command depending on the value of the
            Protocol_extension_flag.




  96/144                                    DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 281 of 763 PageID #:
                                    2063

  M24LR64E-R                                                                                                 Command codes


                                             Table 69. Get System Info request format
                Request                                                                                                  Request
                               Request_flags      Get System Info                  UID(1)                   CRC16
                 SOF                                                                                                      EOF

                   -                8 bits               2Bh                       64 bits                  16 bits               -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)

                Table 70. Get System Info response format when Protocol_extension_flag = 0 and
                                              Error_flag is NOT set
                Response        Response_       Information                                                            Response
                                                                   UID   DSFID         AFI        IC ref.   CRC16
                  SOF             flags             flags                                                                EOF

                       -            00h            0Bh         64 bits    8 bits      8 bits       5Eh      16 bits           -


            Response parameters:
            •      Information flags set to 0Ch. DSFID, AFI and IC reference fields are present.
            •      UID code on 64 bits
            •      DSFID value
            •      AFI value
            •      M24LR64E-R IC reference: the 8 bits are significant.

                Table 71. Get System Info response format when Protocol_extension_flag = 1 and
                                              Error_flag is NOT set
            Response Response Information                                              Memory         IC                Response
                                                           UID      DSFID     AFI                            CRC16
              SOF     _flags      flags                                                 size          ref                 EOF

                   -              00h           0Fh       64 bits    8 bits   8 bits 03 07FFh 5Eh            16 bits          -


            Response parameters:
            •      Information flags set to 0Fh. DSFID, AFI, Memory Size and IC reference fields are
                   present.
            •      UID code on 64 bits
            •      DSFID value
            •      AFI value
            •      Memory size. The M24LR64E-R provides 2048 blocks (07FFh) of 4 bytes (03h)
            •      IC reference: the 8 bits are significant.

                               Table 72. Get System Info response format when Error_flag is set
                Response                                                                                               Response
                                  Response_flags      Error code                       CRC16
                  SOF                                                                                                    EOF

                           -              01h             8 bits                        16 bits                           -




                                                   DocID022712 Rev 12                                                         97/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 282 of 763 PageID #:
                                    2064

  Command codes                                                                                        M24LR64E-R


            Response parameter:
            •      Error code as Error_flag is set:
                   –      03h: Option not supported
            .
                       Figure 65. Get System Info frame exchange between VCD and M24LR64E-R


                                            Get System Info
                       VCD            SOF                     EOF
                                                request
                                                                                         Get System Info
                 M24LR64E-R                                             <-t1-> SOF                           EOF
                                                                                            response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Get System Info command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.13     Get Multiple Block Security Status
            When receiving the Get Multiple Block Security Status command, the M24LR64E-R sends
            back the sector security status. The blocks are numbered from 00h to 01FFh in the request
            and the value is minus one (–1) in the field. For example, a value of '06' in the “Number of
            blocks” field requests to return the security status of seven blocks.
            The Protocol_extension_flag should be set to 1 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 0, the M24LR64E-R answers with an error code.
            During the M24LR64E-R response, if the internal block address counter reaches 01FFh, it
            rolls over to 0000h and the Sector Security Status bytes for that location are sent back to the
            reader.

                              Table 73. Get Multiple Block Security Status request format
                Request Request Get Multiple Block                        First block   Number          Request
                                                              UID(1)                              CRC16
                 SOF     _flags  Security Status                           number       of blocks        EOF

                   -         8 bits           2Ch             64 bits       16 bits      16 bits   16 bits    -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)
            •      First block number
            •      Number of blocks




  98/144                                        DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 283 of 763 PageID #:
                                    2065

  M24LR64E-R                                                                                                Command codes


            Table 74. Get Multiple Block Security Status response format when Error_flag is NOT
                                                      set
                Response                                                                                           Response
                                Response_flags              Sector security status                CRC16
                  SOF                                                                                                EOF

                   -                  8 bits                         8 bits(1)                    16 bits                    -
            1. Repeated as needed.


            Response parameters:
            •      Sector security status (see Table 75)

                                                      Table 75. Sector security status
                  b7          b6        b5             b4       b3           b2        b1                    b0

                 Reserved for future use          Password control           Read / Write      0: Current sector not locked
                        All at 0                       bits                 protection bits    1: Current sector locked


            Table 76. Get Multiple Block Security Status response format when Error_flag is set
                Response                                                                                           Response
                                    Response_flags                    Error code                 CRC16
                  SOF                                                                                                EOF

                       -                     8 bits                       8 bits                 16 bits                 -


            Response parameter:
            •      Error code as Error_flag is set:
                   –       03h: the option is not supported
                   –       10h: the specified block is not available

                 Figure 66. Get Multiple Block Security Status frame exchange between VCD and
                                                  M24LR64E-R


                                              Get Multiple Block
                       VCD          SOF                               EOF
                                               Security Status
                                                                                              Get Multiple Block
                 M24LR64E-R                                                  <-t1-> SOF                            EOF
                                                                                               Security Status




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Get Multiple Block Security Status command to the end of the M24LR64E-R
            response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.




                                                      DocID022712 Rev 12                                                     99/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 284 of 763 PageID #:
                                    2066

  Command codes                                                                                                 M24LR64E-R


  26.14     Write-sector Password
            On receiving the Write-sector Password command, the M24LR64E-R uses the data
            contained in the request to write the password and reports whether the operation was
            successful in the response. The Option_flag is supported.
            During the RF write cycle time, Wt, there must be no modulation at all (neither 100% nor
            10%), otherwise the M24LR64E-R may not correctly program the data into the memory.
            The Wt time is equal to t1nom + 18 × 302 µs. After a successful write, the new value of the
            selected password is automatically activated. It is not required to present the new password
            value until M24LR64E-R power-down.

                                        Table 77. Write-sector Password request format
            Request Request Write-sector IC Mfg                                   Password                            Request
                                                                         UID(1)                  Data      CRC16
             SOF     _flags  password     code                                     number                              EOF

                  -           8 bits            B1h           02h    64 bits       8 bits        32 bits   16 bits          -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)
            •      Password number (01h = Pswd1, 02h = Pswd2, 03h = Pswd3, other = Error)
            •      Data

                  Table 78. Write-sector Password response format when Error_flag is NOT set
                Response                                                                                             Response
                                       Response_flags                                  CRC16
                  SOF                                                                                                  EOF

                      -                         8 bits                                 16 bits                          -


            Response parameter:
            •      no parameter.

                          Table 79. Write-sector Password response format when Error_flag is set
             Response                                                                                                Response
                                Response_flags                Error code                    CRC16
               SOF                                                                                                     EOF

                      -                8 bits                   8 bits                       16 bits                    -


            Response parameter:
            •      Error code as Error_flag is set:
                   –        10h: the password number is incorrect
                   –        12h: the session was not opened before the password update
                   –        13h: the specified block was not successfully programmed
                   –        0Fh: the presented password is incorrect




  100/144                                                DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 285 of 763 PageID #:
                                    2067

  M24LR64E-R                                                                                           Command codes



               Figure 67. Write-sector Password frame exchange between VCD and M24LR64E-R


                                             Write-
                                             sector
                     VCD            SOF                   EOF
                                           Password
                                            request
                                                                                 Write-sector
                                                                                                        Write sequence
               M24LR64E-R                                       <-t1-> SOF        Password       EOF
                                                                                                         when error
                                                                                  response



                                                                                                          Write-
                                                                                                          sector
               M24LR64E-R                                       <---------------- Wt -------------> SOF             EOF
                                                                                                        Password
                                                                                                        response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Write-sector Password command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            duration of the internal write cycle (from the end of a valid Write sector password command
            to the beginning of the M24LR64E-R response).


  26.15     Lock-sector
            On receiving the Lock-sector command, the M24LR64E-R sets the access rights and
            permanently locks the selected sector. The Option_flag is supported.
            A sector is selected by giving the address of one of its blocks in the Lock-sector request
            (Sector number field). For example, addresses 0 to 31 are used to select sector 0 and
            addresses 32 to 63 are used to select sector 1. Care must be taken when issuing the Lock-
            sector command as all the blocks belonging to the same sector are automatically locked by
            a single command.
            The Protocol_extension_flag should be set to 1 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 0, the M24LR64E-R answers with an error code.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not correctly lock the memory block. The Wt time is equal
            to t1nom + 18 × 302 µs.

                                                Table 80. Lock-sector request format
            Request Request           Lock-        IC Mfg             Sector       Sector security               Request
                                                            UID(1)                                     CRC16
             SOF     _flags           sector        code              number           status                     EOF

                 -         8 bits         B2h       02h     64 bits    16 bits          8 bits         16 bits      -
            1. Gray color means that the field is optional.




                                                   DocID022712 Rev 12                                              101/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 286 of 763 PageID #:
                                    2068

  Command codes                                                                                              M24LR64E-R


            Request parameters:
            •     Request flags
            •     (optional) UID
            •     Sector number
            •     Sector security status (refer to Table 81)

                                                   Table 81. Sector security status
                  b7           b6             b5           b4            b3            b2               b1         b0
                   0           0              0         Password control bits Read / Write protection bits            1


                         Table 82. Lock-sector response format when Error_flag is NOT set
                Response                                                                                      Response
                                    Response_flags                                CRC16
                  SOF                                                                                           EOF

                   -                      8 bits                                  16 bits                         -


            Response parameter:
            •     No parameter

                             Table 83. Lock-sector response format when Error_flag is set
                Response                                                                                       Response
                              Response_flags             Error code                     CRC16
                  SOF                                                                                            EOF

                   -                 8 bits                 8 bits                       16 bits                   -


            Response parameter:
            •     Error code as Error_flag is set:
                  –      10h: the specified block is not available
                  –      11h: the specified block is already locked and thus cannot be locked again
                  –      14h: the specified block was not successfully locked

                       Figure 68. Lock-sector frame exchange between VCD and M24LR64E-R


                                          Lock-sector
                       VCD          SOF               EOF
                                            request
                                                                               Lock-sector               Lock sequence
                M24LR64E-R                                      <-t1-> SOF                 EOF
                                                                                response                   when error



                                                                                                       Lock-sector
                M24LR64E-R                                      <--------------- Wt -----------> SOF               EOF
                                                                                                        response




  102/144                                          DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 287 of 763 PageID #:
                                    2069

  M24LR64E-R                                                                                        Command codes


            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Lock-sector command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
            duration of the internal write cycle (from the end of a valid Lock sector command to the
            beginning of the M24LR64E-R response).


  26.16     Present-sector Password
            On receiving the Present-sector Password command, the M24LR64E-R compares the
            requested password with the data contained in the request and reports whether the
            operation has been successful in the response. The Option_flag is supported.
            During the comparison cycle equal to Wt, there should be no modulation (neither 100% nor
            10%), otherwise the M24LR64E-R Password value may not be correctly compared. The Wt
            time is equal to t1nom + 18 × 302 µs.
            After a successful command, the access to all the memory blocks linked to the password is
            changed as described in Section 4.1: M24LR64E-R block security in RF mode.

                                      Table 84. Present-sector Password request format
                                         Present-
                Request     Request                     IC Mfg              Password                           Request
                                          sector                   UID(1)               Password    CRC16
                 SOF         _flags                      code                number                             EOF
                                        Password

                   -         8 bits            B3h       02h      64 bits    8 bits       32 bits   16 bits             -
            1. Gray color means that the field is optional.


            Request parameter:
            •      Request flags
            •      UID (optional)
            •      Password Number (0x01 = Pswd1, 0x02 = Pswd2, 0x03 = Pswd3, other = Error)
            •      Password

                 Table 85. Present-sector Password response format when Error_flag is NOT set
                Response                                                                                 Response
                                 Response_flags                               CRC16
                  SOF                                                                                      EOF

                       -                8 bits                                16 bits                           -


            Response parameter:
            •      No parameter. The response is sent back after the write cycle.

                       Table 86. Present-sector Password response format when Error_flag is set
                Response                                                                                      Response
                              Response_flags              Error code                    CRC16
                  SOF                                                                                           EOF

                       -              8 bits                   8 bits                   16 bits                     -




                                                     DocID022712 Rev 12                                          103/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 288 of 763 PageID #:
                                    2070

  Command codes                                                                                       M24LR64E-R


            Response parameter:
            •      Error code as Error_flag is set:
                   –     10h: the password number is incorrect
                   –     0Fh: the present password is incorrect

                Figure 69. Present-sector Password frame exchange between VCD and M24LR64E-R


                                    Present-
                                     sector
                                   password
                       VCD     SOF response EOF
                                    OR error
                                    0F (bad
                                   password)
                                                                           Present-
                                                                            sector                   Sequence
                 M24LR64E-R                              <-t1-> SOF                      EOF
                                                                          password                   when error
                                                                          response



                                                                                                   Present-
                                                                                                    sector
                 M24LR64E-R                              <---------------- Wt ------------> SOF                EOF
                                                                                                  password
                                                                                                  response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Present Sector Password command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY remains in high-Z
            state.


  26.17     Fast Read Single Block
            On receiving the Fast Read Single Block command, the M24LR64E-R reads the requested
            block and sends back its 32-bit value in the response. The Option_flag is supported. The
            data rate of the response is multiplied by 2.
            The Protocol_extension_flag should be set to 1 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 0, the M24LR64E-R answers with an error code.
            The subcarrier_flag should be set to 0, otherwise the M24LR64E-R answers with an error
            code.

                                   Table 87. Fast Read Single Block request format
            Request                        Fast Read IC Mfg                          Block                    Request
                    Request_flags                                      UID(1)                     CRC16
             SOF                          Single Block code                         number                     EOF

                  -           8 bits           C0h            02h      64 bits        16 bits     16 bits         -
            1. Gray color means that the field is optional.


  104/144                                    DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 289 of 763 PageID #:
                                    2071

  M24LR64E-R                                                                                       Command codes


            Request parameters:
            •     Request flags
            •     UID (optional)
            •     Block number

                  Table 88. Fast Read Single Block response format when Error_flag is NOT set
            Response                             Sector security                                              Response
                             Response_flags                                Data                CRC16
              SOF                                   status(1)                                                   EOF

                   -              8 bits                8 bits            32 bits              16 bits           -
            1. Gray color means that the field is optional.


            Response parameters:
            •     Sector security status if Option_flag is set (see Table 89)
            •     Four bytes of block data

                                              Table 89. Sector security status
                 b7          b6        b5       b4         b3       b2        b1                         b0
                 Reserved for future use      Password control      Read / Write       0: Current sector not locked
                        All at 0                   bits            protection bits     1: Current sector locked


                       Table 90. Fast Read Single Block response format when Error_flag is set
             Response                                                                                         Response
                      Response_flags                 Error code                      CRC16
               SOF                                                                                              EOF

                   -              8 bits               8 bits                        16 bits                     -


            Response parameter:
            •     Error code as Error_flag is set:
                  –      10h: the specified block is not available
                  –      15h: the specified block is read-protected

                Figure 70. Fast Read Single Block frame exchange between VCD and M24LR64E-R


                                            Fast Read Single
                       VCD         SOF                            EOF
                                             Block request
                                                                                           Fast Read Single
                M24LR64E-R                                               <-t1-> SOF                             EOF
                                                                                            Block response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Fast Read Single block command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


                                               DocID022712 Rev 12                                               105/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 290 of 763 PageID #:
                                    2072

  Command codes                                                                                        M24LR64E-R


  26.18     Fast Inventory Initiated
            Before receiving the Fast Inventory Initiated command, the M24LR64E-R must have
            received an Initiate or a Fast Initiate command in order to set the Initiate_ flag. If not, the
            M24LR64E-R does not answer the Fast Inventory Initiated command.
            The subcarrier_flag should be set to 0, otherwise the M24LR64E-R answers with an error
            code.
            On receiving the Fast Inventory Initiated request, the M24LR64E-R runs the anticollision
            sequence. The Inventory_flag must be set to 1. The meaning of flags 5 to 8 is shown in
            Table 29. The data rate of the response is multiplied by 2.
            The request contains:
            •     the flags,
            •     the Inventory command code,
            •     the AFI if the AFI flag is set,
            •     the mask length,
            •     the mask value,
            •     the CRC.
            The M24LR64E-R does not generate any answer in case of error.

                                    Table 91. Fast Inventory Initiated request format
             Request      Request     Fast Inventory     IC Mfg Optional Mask            Mask                Request
                                                                                                  CRC16
              SOF          _flags        Initiated        code    AFI    length          value                EOF

                                                                                         0 - 64
                  -        8 bits             C1h          02h   8 bits         8 bits            16 bits          -
                                                                                          bits


            The Response contains:
            •     the flags,
            •     the Unique ID.

                                    Table 92. Fast Inventory Initiated response format
                Response                                                                                    Response
                               Response_flags       DSFID                 UID                CRC16
                  SOF                                                                                         EOF

                      -              8 bits            8 bits        64 bits                 16 bits           -


            During an Inventory process, if the VCD does not receive an RF M24LR64E-R response, it
            waits for a time t3 before sending an EOF to switch to the next slot. t3 starts from the rising
            edge of the request EOF sent by the VCD.
            •     If the VCD sends a 100% modulated EOF, the minimum value of t3 is:
                  t3min = 4384/fC (323.3µs) + tSOF
            •     If the VCD sends a 10% modulated EOF, the minimum value of t3 is:
                  t3min = 4384/fC (323.3µs) + tNRT
            where:
            •     tSOF is the time required by the M24LR64E-R to transmit an SOF to the VCD
            •     tNRT is the nominal response time of the M24LR64E-R


  106/144                                       DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 291 of 763 PageID #:
                                    2073

  M24LR64E-R                                                                                      Command codes


            tNRT and tSOF are dependent on the M24LR64E-R-to-VCD data rate and subcarrier
            modulation mode.
            When configured in the RF busy mode, the RF WIP/BUSY pin is driven to 0 from the SOF
            starting the inventory command to the end of the M24LR64E-R response. If the M24LR64E-
            R does not receive the corresponding slot marker, the RF WIP/BUSY pin remains at 0 until
            the next RF power-off.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.19     Fast Initiate
            On receiving the Fast Initiate command, the M24LR64E-R sets the internal Initiate_flag and
            sends back a response only if it is in the Ready state. The command has to be issued in the
            Non Addressed mode only (Select_flag is reset to 0 and Address_flag is reset to 0). If an
            error occurs, the M24LR64E-R does not generate any answer. The Initiate_flag is reset after
            a power-off of the M24LR64E-R. The data rate of the response is multiplied by 2.
            The subcarrier_flag should be set to 0, otherwise the M24LR64E-R answers with an error
            code.
            The request contains:
            •      No data

                                                 Table 93. Fast Initiate request format
                Request                                                                                    Request
                                 Request_flags       Fast Initiate    IC Mfg Code         CRC16
                 SOF                                                                                        EOF

                   -                 8 bits               C2h              02h             16 bits            -


            The response contains:
            •      the flags,
            •      the Unique ID.

                                              Table 94. Fast Initiate response format
                Response                                                                                  Response
                                  Response_flags         DSFID               UID              CRC16
                  SOF                                                                                       EOF

                       -                8 bits            8 bits            64 bits           16 bits        -



                           Figure 71. Fast Initiate frame exchange between VCD and M24LR64E-R


                                                  Fast Initiate
                           VCD        SOF                            EOF
                                                    request
                                                                                          Fast Initiate
                 M24LR64E-R                                                <-t1-> SOF                      EOF
                                                                                           response




                                                    DocID022712 Rev 12                                       107/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 292 of 763 PageID #:
                                    2074

  Command codes                                                                                          M24LR64E-R


            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Fast Initiate command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z state.


  26.20     Fast Read Multiple Block
            On receiving the Fast Read Multiple Block command, the M24LR64E-R reads the selected
            blocks and sends back their value in multiples of 32 bits in the response. The blocks are
            numbered from 00h to 1FFh in the request and the value is minus one (–1) in the field. For
            example, if the “Number of blocks” field contains the value 06h, seven blocks are read. The
            maximum number of blocks is fixed to 32 assuming that they are all located in the same
            sector. If the number of blocks overlaps sectors, the M24LR64E-R returns an error code.
            The Protocol_extension_flag should be set to 1 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 0, the M24LR64E-R answers with an error code.
            The Option_flag is supported. The data rate of the response is multiplied by 2.
            The subcarrier_flag should be set to 0, otherwise the M24LR64E-R answers with an error
            code.

                                    Table 95. Fast Read Multiple Block request format
                                        Fast Read                                 First Number
             Request Request_                           IC Mfg                                       Request
                                         Multiple                    UID(1)       block   of   CRC16
              SOF      flags                             code                                         EOF
                                          Block                                  number blocks

                  -        8 bits            C3h         02h         64 bits      16 bits   8 bits   16 bits       -
            1. Gray color means that the field is optional.


            Request parameters:
            •     Request flag
            •     UID (Optional)
            •     First block number
            •     Number of blocks

                 Table 96. Fast Read Multiple Block response format when Error_flag is NOT set
                Response                             Sector security                                       Response
                           Response_flags                                        Data          CRC16
                  SOF                                   status(1)                                            EOF

                      -             8 bits               8 bits(2)             32 bits(2)      16 bits         -
            1. Gray color means that the field is optional.
            2. Repeated as needed.


            Response parameters:
            •     Sector security status if Option_flag is set (see Table 97)
            •     N block of data




  108/144                                          DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 293 of 763 PageID #:
                                    2075

  M24LR64E-R                                                                                          Command codes


                                     Table 97. Sector security status if Option_flag is set
                  b7          b6      b5      b4         b3      b2        b1                       b0
                Reserved for future use       Password           Read / Write     0: Current sector not locked
                       All at 0               control bits      protection bits   1: Current sector locked


                       Table 98. Fast Read Multiple Block response format when Error_flag is set
                Response SOF          Response_flags          Error code             CRC16                Response EOF

                         -                  8 bits              8 bits                16 bits                    -


            Response parameter:
            •      Error code as Error_flag is set:
                   –         03h: the option is not supported
                   –         10h: block address not available
                   –         15h: block read-protected

            Figure 72. Fast Read Multiple Block frame exchange between VCD and M24LR64E-R


                                               Fast Read
                       VCD            SOF     Multiple Block     EOF
                                                request
                                                                                          Fast Read
                 M24LR64E-R                                              <-t1-> SOF      Multiple Block    EOF
                                                                                          response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Fast Read Multiple Block command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.21     Inventory Initiated
            Before receiving the Inventory Initiated command, the M24LR64E-R must have received an
            Initiate or a Fast Initiate command in order to set the Initiate_ flag. If not, the M24LR64E-R
            does not answer the Inventory Initiated command.
            On receiving the Inventory Initiated request, the M24LR64E-R runs the anticollision
            sequence. The Inventory_flag must be set to 1. The meaning of flags 5 to 8 is given in
            Table 29 on page 68.




                                                     DocID022712 Rev 12                                              109/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 294 of 763 PageID #:
                                    2076

  Command codes                                                                                           M24LR64E-R


            The request contains:
            •      the flags,
            •      the Inventory Command code,
            •      the AFI if the AFI flag is set,
            •      the mask length,
            •      the mask value,
            •      the CRC.
            The M24LR64E-R does not generate any answer in case of error.

                                        Table 99. Inventory Initiated request format
             Request Request Inventory IC Mfg Optional Mask                                                    Request
                                                                                  Mask value        CRC16
              SOF     _flags  Initiated code    AFI    length                                                   EOF

                  -        8 bits        D1h         02h       8 bits   8 bits    0 - 64 bits       16 bits          -


            The response contains:
            •      the flags,
            •      the Unique ID.

                                      Table 100. Inventory Initiated response format
                Response                                                                                      Response
                             Response_flags          DSFID               UID                    CRC16
                  SOF                                                                                           EOF

                      -             8 bits            8 bits            64 bits                 16 bits          -


            During an Inventory process, if the VCD does not receive an RF M24LR64E-R response, it
            waits for a time t3 before sending an EOF to switch to the next slot. t3 starts from the rising
            edge of the request EOF sent by the VCD.
            •      If the VCD sends a 100% modulated EOF, the minimum value of t3 is:
                   t3min = 4384/fC (323.3µs) + tSOF
            •      If the VCD sends a 10% modulated EOF, the minimum value of t3 is:
                   t3min = 4384/fC (323.3µs) + tNRT
            where:
            •      tSOF is the time required by the M24LR64E-R to transmit an SOF to the VCD
            •      tNRT is the nominal response time of the M24LR64E-R
            tNRT and tSOF are dependent on the M24LR64E-R-to-VCD data rate and subcarrier
            modulation mode.
            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF
            starting the inventory command to the end of the M24LR64E-R response. If the M24LR64E-
            R does not receive the corresponding slot marker, the RF WIP/BUSY pin remains at 0 until
            the next RF power-off.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.




  110/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 295 of 763 PageID #:
                                    2077

  M24LR64E-R                                                                                             Command codes


  26.22     Initiate
            On receiving the Initiate command, the M24LR64E-R sets the internal Initiate_flag and
            sends back a response only if it is in the ready state. The command has to be issued in the
            Non Addressed mode only (Select_flag is reset to 0 and Address_flag is reset to 0). If an
            error occurs, the M24LR64E-R does not generate any answer. The Initiate_flag is reset after
            a power-off of the M24LR64E-R.
            The request contains:
            •     No data

                                                 Table 101. Initiate request format
               Request                                                                                          Request
                                Request_flags       Initiate         IC Mfg code               CRC16
                SOF                                                                                              EOF

                  -                 8 bits            D2h               02h                    16 bits                -


            The response contains:
            •     the flags,
            •     the Unique ID.

                                                Table 102. Initiate response format
                Response                                                                                       Response
                                 Response_flags         DSFID                  UID                  CRC16
                  SOF                                                                                            EOF

                      -                8 bits           8 bits                64 bits                16 bits      -



                            Figure 73. Initiate frame exchange between VCD and M24LR64E-R


                                                 Initiate
                          VCD          SOF                     EOF
                                                request
                                                                                         Initiate
                 M24LR64E-R                                           <-t1-> SOF                    EOF
                                                                                        response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the Initiate command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.23     ReadCfg
            On receiving the ReadCfg command, the M24LR64E-R reads the Configuration byte and
            sends back its 8-bit value in the response.




                                                   DocID022712 Rev 12                                             111/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 296 of 763 PageID #:
                                    2078

  Command codes                                                                                                       M24LR64E-R


            The Protocol_extension_flag should be set to 0 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 1, the M24LR64E-R answers with an error code. The
            Option_flag is not supported. The Inventory_flag must be set to 0.

                                                  Table 103. ReadCfg request format
                Request                                                                                                  Request
                                 Request_flags     ReadCfg       IC Mfg code            UID(1)              CRC16
                 SOF                                                                                                      EOF

                   -                 8 bits             A0h              02h            64 bits             16 bits               -
            1. Gray color means that the field is optional.


            Request parameters:
            •      UID (optional)

                                 Table 104. ReadCfg response format when Error_flag is NOT set
                 Response                                                                                             Response
                                         Response_flags                   Data                    CRC16
                   SOF                                                                                                  EOF

                           -                  8 bits                      8 bits                  16 bits                 -


            Response parameters:
            •      One byte of data: Configuration byte

                                   Table 105. ReadCfg response format when Error_flag is set
                Response                                                                                               Response
                                   Response_flags             Error code                     CRC16
                  SOF                                                                                                    EOF

                       -                 8 bits                 8 bits                       16 bits                          -


            Response parameter:
            •      Error code as Error_flag is set
                   –           03h: the option is not supported
                   –           0Fh: error with no information given

                               Figure 74. ReadCfg frame exchange between VCD and M24LR64E-R



                           VCD          SOF       ReadCfg request         EOF


                 M24LR64E-R                                                        <-t1-> SOF      ReadCfg response       EOF




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the ReadCfg command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.



  112/144                                              DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 297 of 763 PageID #:
                                    2079

  M24LR64E-R                                                                                               Command codes


  26.24     WriteEHCfg
            On receiving the WriteEHCfg command, the M24LR64E-R writes the data contained in the
            request to the Configuration byte and reports whether the write operation was successful in
            the response. The Protocol_extension_flag should be set to 0 for the M24LR64E-R to
            operate correctly. If the Protocol_extension_flag is at 1, the M24LR64E-R answers with an
            error code.
            The Option_flag is supported, the Inventory_flag is not supported.
            During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
            otherwise the M24LR64E-R may not program correctly the data into the Configuration byte.
            The Wt time is equal to t1nom + 18 × 302 µs.

                                                 Table 106. WriteEHCfg request format
               Request                                                                                                   Request
                       Request_flags                 WriteEHCfg    IC Mfg code         UID(1)     Data     CRC16
                SOF                                                                                                       EOF

                  -                8 bits                 A1h              02h         64 bits    8 bits   16 bits            -
            1. Gray color means that the field is optional.


            Request parameters:
            •     Request flags
            •     UID (optional)
            •     Data: during WriteEHCfg command, bit 3 of the data is ignored (see Table 14).

                              Table 107. WriteEHCfg response format when Error_flag is NOT set
                Response SOF          Response_flags                             CRC16                     Response EOF

                          -                     8 bits                           16 bits                             -


            Response parameter:
            •     No parameter. The response is sent back after the writing cycle.

                                Table 108. WriteEHCfg response format when Error_flag is set
                Response                                                                                         Response
                                   Response_flags               Error code                   CRC16
                  SOF                                                                                              EOF

                      -                     8 bits                8 bits                     16 bits                      -


            Response parameter:
            •     Error code as Error_flag is set:
                  –           13h: the specified block was not successfully programmed




                                                         DocID022712 Rev 12                                               113/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 298 of 763 PageID #:
                                    2080

  Command codes                                                                                             M24LR64E-R



                  Figure 75. WriteEHCfg frame exchange between VCD and M24LR64E-R


                             WriteEHCfg
        VCD          SOF                     EOF
                              request
                                                                      WriteEHCfg                  WriteEHCfg sequence
    M24LR64E-R                                     <-t1-> SOF                             EOF
                                                                       response                        when error



                                                                                                     WriteEHCfg
    M24LR64E-R                                     <------------------- Wt ---------------> SOF                     EOF
                                                                                                      response




              When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
              starts the WriteEHCfg command to the end of the M24LR64E-R response.
              When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
              entire duration of the internal write cycle (from the end of a valid WriteEHCfg command to
              the beginning of the M24LR64E-R response).


  26.25       WriteDOCfg
              On receiving the WriteDOCfg command, the M24LR64E-R writes the data contained in the
              request to the Configuration byte and reports whether the write operation was successful in
              the response. The Protocol_extension_flag should be set to 0 for the M24LR64E-R to operate
              correctly. If the Protocol_extension_flag is at 1, the M24LR64E-R answers with an error code.
              The Option_flag is supported, the Inventory_flag is not supported.
              During the RF write cycle Wt, there should be no modulation (neither 100% nor 10%),
              otherwise the M24LR64E-R may not program correctly the data into the Configuration byte.
              The Wt time is equal to t1nom + 18 × 302 µs.

                                          Table 109. WriteDOCfg request format
                  Request                                                                                         Request
                            Request_ flags    WriteDOCfg        IC Mfg code      UID(1)     Data      CRC16
                   SOF                                                                                             EOF

                     -          8 bits             A4h             02h          64 bits     8 bits     16 bits       -
              1. Gray color means that the field is optional.


              Request parameters:
              •      Request flag
              •      UID (optional)
              •      Data: during a WriteDOCfg command, bits 2 to 0 of the data are ignored (see Table 14).




  114/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 299 of 763 PageID #:
                                    2081

  M24LR64E-R                                                                                                   Command codes


                               Table 110. WriteDOCfg response format when Error_flag is NOT set
                 Response SOF          Response_flags                             CRC16                         Response EOF

                           -                   8 bits                             16 bits                                -


             Response parameter:
             •     No parameter. The response is sent back after the writing cycle.

                                 Table 111. WriteDOCfg response format when Error_flag is set
                 Response                                                                                             Response
                                    Response_flags               Error code                       CRC16
                   SOF                                                                                                  EOF

                       -                  8 bits                     8 bits                       16 bits                    -


             Response parameter:
             •     Error code as Error_flag is set:
                   –           13h: the specified block was not successfully programmed


                 Figure 76. WriteDOCfg frame exchange between VCD and M24LR64E-R


                                  WriteDOCfg
       VCD             SOF                         EOF
                                   request
                                                                              WriteDOCfg                    WriteDOCfg sequence
    M24LR64E-R                                            <-t1-> SOF                              EOF
                                                                               response                          when error



                                                                                                            WriteDOCfg
    M24LR64E-R                                            <----------------- Wt -------------->   SOF                        EOF
                                                                                                             response




             When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
             starts the WriteEHCfg command to the end of the M24LR64E-R response.
             When configured in the RF write in progress mode, the RF WIP/BUSY pin is tied to 0 for the
             entire duration of the internal write cycle (from the end of a valid WriteDOCfg command to
             the beginning of the M24LR64E-R response).


  26.26      SetRstEHEn
             On receiving the SetRstEHEn command, the M24LR64E-R sets or resets the EH_enable bit
             in the volatile Control register. The Protocol_extension_flag should be set to 0 for the
             M24LR64E-R to operate correctly. If the Protocol_extension_flag is at 1, the M24LR64E-R
             answers with an error code. The Option_flag and the Inventory_flag are not supported.




                                                        DocID022712 Rev 12                                                   115/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 300 of 763 PageID #:
                                    2082

  Command codes                                                                                                  M24LR64E-R


                                                   Table 112. SetRstEHEn request format
               Request                                                                                                     Request
                       Request_flags                SetRstEHEn      IC Mfg code       UID(1)          Data   CRC16
                SOF                                                                                                         EOF

                    -                8 bits              A2h              02h         64 bits     8 bits     16 bits            -
              1. Gray color means that the field is optional.


              Request parameters:
              •     Request flags
              •     UID (optional)
              •     Data: during a SetRstEHEn command, bits 7 to 1 are ignored. Bit 0 is the EH_enable
                    bit.

                                Table 113. SetRstEHEn response format when Error_flag is NOT set
                  Response SOF           Response_flags                         CRC16                        Response EOF

                            -                  8 bits                           16 bits                                -


              Response parameter:
              •     No parameter. The response is sent back after t1.

                                  Table 114. SetRstEHEn response format when Error_flag is set
                  Response                                                                                             Response
                                    Response_flags             Error code                  CRC16
                    SOF                                                                                                  EOF

                        -                 8 bits                 8 bits                    16 bits                          -


              Response parameter:
              •     Error code as Error_flag is set:
                    –           03h: the option is not supported


               Figure 77. SetRstEHEn frame exchange between VCD and M24LR64E-R


                                   SetRstEHEn
        VCD             SOF                         EOF
                                     request
                                                                            SetRstEHEn                  WriteEHCfg sequence
    M24LR64E-R                                             <-t1-> SOF                           EOF
                                                                             response                       when no error



                                                                            SetRstEHEn                  WriteEHCfg sequence
    M24LR64E-R                                             <-t1-> SOF                           EOF
                                                                             response                        when error




              When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
              starts the SetRstEHEn command to the end of the M24LR64E-R response.



  116/144                                               DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 301 of 763 PageID #:
                                    2083

  M24LR64E-R                                                                                  Command codes


            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.


  26.27     CheckEHEn
            On receiving the CheckEHEn command, the M24LR64E-R reads the Control register and
            sends back its 8-bit value in the response.
            The Protocol_extension_flag should be set to 0 for the M24LR64E-R to operate correctly. If
            the Protocol_extension_flag is at 1, the M24LR64E-R answers with an error code. The
            Option_flag is not supported. The Inventory_flag must be set to 0.

                                              Table 115. CheckEHEn request format
                Request                                                                                   Request
                            Request_flags       CheckEHEn         IC Mfg code   UID(1)        CRC16
                 SOF                                                                                       EOF

                   -             8 bits              A3h                02h     64 bits       16 bits              -
            1. Gray color means that the field is optional.


            Request parameters:
            •      UID (optional)

                           Table 116. CheckEHEn response format when Error_flag is NOT set
                Response                                                                                Response
                                   Response_flags                     Data         CRC16
                  SOF                                                                                     EOF

                       -                  8 bits                      8 bits        16 bits                -


            Response parameters:
            •      One byte of data: volatile Control register (see Table 15)

                             Table 117. CheckEHEn response format when Error_flag is set
                Response                                                                                 Response
                               Response_flags              Error code             CRC16
                  SOF                                                                                      EOF

                       -             8 bits                  8 bits               16 bits                      -


            Response parameter:
            •      Error code as Error_flag is set
                   –       03h: the option is not supported




                                                   DocID022712 Rev 12                                          117/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 302 of 763 PageID #:
                                    2084

  Command codes                                                                        M24LR64E-R



                   Figure 78. CheckEHEn frame exchange between VCD and M24LR64E-R



                  VCD        SOF CheckEHEn request EOF

                                                                           CheckEHEn
              M24LR64E-R                                     <-t1-> SOF                  EOF
                                                                            response




            When configured in the RF busy mode, the RF WIP/BUSY pin is tied to 0 from the SOF that
            starts the CheckEHEn command to the end of the M24LR64E-R response.
            When configured in the RF write in progress mode, the RF WIP/BUSY pin remains in high-Z
            state.




  118/144                               DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 303 of 763 PageID #:
                                    2085

  M24LR64E-R                                                                              Maximum ratings


  27        Maximum ratings

            Stressing the device above the rating listed in Table 118 may cause permanent damage to
            the device. These are stress ratings only and operation of the device, at these or any other
            conditions above those indicated in the operating sections of this specification, is not
            implied. Exposure to absolute maximum rating conditions for extended periods may affect
            the device reliability. Refer also to the STMicroelectronics SURE Program and other
            relevant quality documents.

                                         Table 118. Absolute maximum ratings
               Symbol                              Parameter                      Min.         Max.       Unit

                  TA       Ambient operating temperature                          -40           85         °C
                                                                                   15           25         °C
                 TSTG,                                          Sawn wafer          -          9(1)     months
                          Storage conditions
               hSTG, tSTG                                       on UV tape
                                                                                        Kept in its original
                                                                                          packing form
                                                                UFDFPN8 (MLP8),
                 TSTG      Storage temperature                                    -65          150         °C
                                                                SO8, TSSOP8
                                                                UFDFPN8 (MLP8),
                TLEAD      Lead temperature during soldering                       See note (2)            °C
                                                                SO8, TSSOP8
                  VIO      I2C input or output range                              -0.50         6.5        V
                 VCC       I2C supply voltage                                     -0.50         6.5        V
                           DC output current on pin SDA or RF WIP/BUSY (when
                IOL_MAX                                                             -            5        mA
                           equal to 0)
                 ICC(3)    RF supply current AC0 - AC1                              -           50        mA
                           RF input voltage amplitude peak to
               VMAX_1(3)   peak between AC0 and AC1, GND        VAC0-VAC1           -           27         V
                           pad left floating
                           AC voltage between AC0 and GND,      VAC0-GND,
               VMAX_2(3)                                                           -1           11         V
                           or AC1 and GND                       or VAC1-GND

                           Electrostatic discharge voltage      AC0, AC1            -          1000
                           (human body model)(4)                Other pads          -          3500
                 VESD                                                                                      V
                           Electrostatic discharge voltage
                                                                AC0, AC1            -          4000
                           on antenna (5)
            1. Counted from ST shipment date.
            2. Compliant with JEDEC Std J-STD-020C (for small body, Sn-Pb or Pb assembly), the ST
               ECOPACK® 7191395 specification, and the European directive on Restrictions on Hazardous
               Substances (RoHS) 2002/95/EU.
            3. Based on characterization, not tested in production.
            4. AEC-Q100-002 (compliant with JEDEC Std JESD22-A114, C1 = 100 pF, R1 = 1500 Ω,
               R2 = 500 Ω)
            5. Compliant with IEC 61000-4-3 method. (M24LRxxE packaged in S08N is mounted on ST’s
               reference antenna ANT1- M24LRxxE)




                                                DocID022712 Rev 12                                      119/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 304 of 763 PageID #:
                                    2086

  I2C DC and AC parameters                                                                               M24LR64E-R


  28        I2C DC and AC parameters

            This section summarizes the operating and measurement conditions, and the DC and AC
            characteristics of the device in I2C mode. The parameters in the DC and AC characteristic
            tables that follow are derived from tests performed under the measurement conditions
            summarized in the relevant tables. Designers should check that the operating conditions in
            their circuit match the measurement conditions when relying on the quoted parameters.

                                            Table 119. I2C operating conditions
              Symbol                          Parameter                        Min.             Max.           Unit

                VCC        Supply voltage                                       1.8               5.5           V
                 TA        Ambient operating temperature                        -40               85           °C


                                      Table 120. AC test measurement conditions
              Symbol                          Parameter                        Min.             Max.           Unit

                 CL        Load capacitance                                             100                    pF
                tr, tf     Input rise and fall times                               -              50           ns
               Vhi-lo      Input levels                                        0.2 VCC to 0.8 VCC               V
               Vref(t)     Input and output timing reference levels            0.3 VCC to 0.7 VCC               V


                                     Figure 79. AC test measurement I/O waveform
                                  )NPUT ,EVELS                               )NPUT AND /UTPUT
                                                                      4IMING 2EFERENCE ,EVELS
                                  6##
                                                                                        6##

                                                                                        6##
                                  6##
                                                                                       !)"



                                                 Table 121. Input parameters
                Symbol                                 Parameter                         Min.           Max.    Unit

                   CIN         Input capacitance (SDA)                                     -             8       pF
                   CIN         Input capacitance (other pins)                              -             6       pF
                  tNS(1)       Pulse width ignored (Input filter on SCL and SDA)           -            80       ns
            1. Characterized only.




  120/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 305 of 763 PageID #:
                                    2087

  M24LR64E-R                                                                          I2C DC and AC parameters


                                               Table 122. I2C DC characteristics
               Symbol             Parameter                   Test condition              Min.      Max.      Unit

                          Input leakage current              VIN = VSS or VCC
                 ILI                                                                        -        ±2        µA
                          (SCL, SDA)                      device in Standby mode
                                                         External voltage applied on
               ILO_Vout   Vout output leakage current                                       -        ±5        µA
                                                              Vout: VSS or VCC
                                                        SDA in Hi-Z, external voltage
                 ILO      Output leakage current                                            -        ±2        µA
                                                        applied on SDA: VSS or VCC
                                                          VCC = 1.8 V, fc = 100 kHz
                                                                                            -        50
                                                           (rise/fall time < 50 ns)
                                                          VCC = 1.8 V, fc = 400 kHz
                                                                                            -       100
                                                           (rise/fall time < 50 ns)
                 ICC      Supply current   (Read)(1)                                                           µA
                                                          VCC = 2.5 V, fc = 400 kHz
                                                                                            -       200
                                                           (rise/fall time < 50 ns)
                                                          VCC = 5.5 V, fc = 400 kHz
                                                                                            -       400
                                                           (rise/fall time < 50 ns)
                ICC0      Supply current (Write)(1)           VCC = 1.8 - 5.5 V             -       220        µA
                                                              VIN = VSS or VCC
                                                                                            -        30
                                                                 VCC = 1.8 V
                                                              VIN = VSS or VCC
                ICC1      Standby supply current                                            -        30        µA
                                                                 VCC = 2.5 V
                                                              VIN = VSS or VCC
                                                                                            -       100
                                                                 VCC = 5.5 V
                                                                VCC = 1.8 V               -0.45    0.25VCC
                          Input low voltage
                 VIL                                            VCC = 2.5 V               -0.45    0.25VCC      V
                          (SDA, SCL)
                                                                VCC = 5.5 V               -0.45    0.3VCC
                                                                VCC = 1.8 V              0.75VCC   VCC+1
                          Input high voltage
                 VIH                                            VCC = 2.5 V              0.75VCC   VCC+1        V
                          (SDA, SCL)
                                                                VCC = 5.5 V              0.7VCC    VCC+1
                                                        IOL = 2.1 mA, VCC = 1.8 V or
                VOL       Output low voltage                                                -        0.4        V
                                                          IOL = 3 mA, VCC = 5.5 V
            1. SCL, SDA connected to Ground or VCC. SDA connected to VCC through a pull-up resistor.




                                                DocID022712 Rev 12                                           121/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 306 of 763 PageID #:
                                    2088

  I2C DC and AC parameters                                                                          M24LR64E-R


                                                Table 123. I2C AC characteristics
                                               Test conditions specified in Table 119

              Symbol           Alt.                             Parameter                  Min.     Max.         Unit

                 fC            fSCL    Clock frequency                                      25       400         kHz
                                                                                                           (1)
               tCHCL           tHIGH   Clock pulse width high                               0.6    20000         µs
               tCLCH           tLOW    Clock pulse width low                                1.3    20000(2)      µs
             tSTART_OUT          -     I²C timeout on Start condition                       40        -          ms
                        (3)
              tXH1XH2           tR     Input signal rise time                               20       300         ns
                        (3)
              tXL1XL2           tF     Input signal fall time                               20       300         ns
               tDL1DL2          tF     SDA (out) fall time                                  20       100         ns
               tDXCX          tSU:DAT Data in set up time                                  100        -          ns
                tCLDX         tHD:DAT Data in hold time                                      0        -          ns
              tCLQX(4)         tDH     Data out hold time                                  100        -          ns
              tCLQV(5)          tAA    Clock low to next data valid (access time)          100       900         ns
              tCHDX(6)        tSU:STA Start condition set up time                          600        -          ns
                tDLCL         tHD:STA Start condition hold time                             0.6    35000(7)      µs
               tCHDH          tSU:STO Stop condition set up time                           600        -          ns
               tDHDL           tBUF    Time between Stop condition and next Start condition 1300      -          ns
                 tW              -     I²C write time                                        -        5          ms
            1. tCHCL timeout.
            2. tCLCH timeout.
            3. Values recommended by the I²C-bus Fast-Mode specification.
            4. To avoid spurious Start and Stop conditions, a minimum delay is placed between SCL=1 and
               the falling or rising edge of SDA.
            5. tCLQV is the time (from the falling edge of SCL) required by the SDA bus line to reach 0.8VCC in
               a compatible way with the I2C specification (which specifies tSU:DAT (min) = 100 ns), assuming
               that the Rbus × Cbus time constant is less than 500 ns (as specified in Figure 3).
            6. For a reStart condition, or following a write cycle.
            7. tDLCL timeout.




  122/144                                        DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 307 of 763 PageID #:
                                    2089

  M24LR64E-R                                                                              I2C DC and AC parameters


                                            Figure 80. I2C AC waveforms

                        T8,8,            T#(#,
     T8(8(                                                    T#,#(

    3#,

                              T$,#,                                             T8,8,

    3$! )N

               T#($8         T8(8(                    T#,$8    3$! T$8#8                     T#($( T$($,
                   3TART                    3$!                 #HANGE                              3TOP      3TART
                 CONDITION                  )NPUT                                                 CONDITION CONDITION




    3#,



    3$! )N

                                                            T7
                T#($(                                                                      T#($8
                         3TOP                            7RITE CYCLE                             3TART
                       CONDITION                                                               CONDITION


                                   T#(#,

     3#,

                   T#,16                                        T#,18               T$,$,

     3$! /UT                               $ATA VALID              $ATA VALID


                                                                                                               !)E




                                                    DocID022712 Rev 12                                         123/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 308 of 763 PageID #:
                                    2090

  Write cycle definition                                                                                       M24LR64E-R


  29          Write cycle definition

                                               Table 124. Write cycle endurance(1)
               Symbol            Parameter                     Test conditions               Min        Max           Unit

                                                                 TA≤ + 25 °C
                                                                                               -     1000000
                                 Write cycle              VCC(min) < VCC < VCC(max)
               Ncycle   (2)                                                                                       Write cycle
                                endurance(3)                     TA≤ + 85 °C
                                                                                               -      150000
                                                          VCC(min) < VCC < VCC(max)
              1. A write cycle means the simultaneous writing of one byte, two bytes, three bytes or four bytes (one page).
              2. Indicates the total number of write/erase cycles for one memory cell or the overall number of write/erase
                 cycles decoded by the whole memory.
              3. Write cycle endurance is defined by characterization and qualification.




  124/144                                          DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 309 of 763 PageID #:
                                    2091

  M24LR64E-R                                                                               RF electrical parameters


  30             RF electrical parameters

                 This section summarizes the operating and measurement conditions, and the DC and AC
                 characteristics of the device in RF mode.
                 The parameters in the DC and AC characteristics tables that follow are derived from tests
                 performed under the Measurement Conditions summarized in the relevant tables.
                 Designers should check that the operating conditions in their circuit match the measurement
                 conditions when relying on the quoted parameters.

                                          Table 125. RF characteristics(1) (2)
     Symbol                  Parameter                              Condition              Min     Typ      Max      Unit

       fCC       External RF signal frequency                            -                13.553 13.56 13.567 MHz
                                                                                                                     mA/
     H_ISO       Operating field according to ISO              TA = -40 °C to 85 °C        150      -      5000
                                                                                                                     m
                                                            150 mA/m > H_ISO > 1000
                 10% carrier modulation index(3)                                           15       -       30
    MICARRIER                                                        mA/m                                             %
                 MI=(A-B)/(A+B)
                                                               H_ISO > 1000 mA/m           10       -       30
    tRFR, tRFF   10% rise and fall time                                  -                 0.5      -       3.0       µs
     tRFSBL      10% minimum pulse width for bit                         -                 7.1      -       9.44      µs
    MICARRIER    100% carrier modulation index                   MI=(A-B)/(A+B)(4)         95       -       100       %
    tRFR, tRFF   100% rise and fall time                                 -                 0.5      -       3.5       µs
     tRFSBL      100% minimum pulse width for bit                        -                  7       -       9.44      µs
                 Minimum time from carrier
     tMIN CD                                                     From H-field min           -       -        1       ms
                 generation to first data
       fSH       Subcarrier frequency high                            fCC/32                -     423.75     -       kHz
       fSL       Subcarrier frequency low                             fCC/28                -     484.28     -       kHz
        t1       Time for M24LR64E-R response                        4224/fS              318.6   320.9    323.3      µs
        t2       Time between commands                               4224/fS               309    311.5     314       µs
                 RF write time (including internal
        Wt                                                               -                  -      5.75      -       ms
                 Verify)
     ICC_RF      Operating current (Read)(5)               VAC0-VAC1 (4 V peak to peak)     -      20        -       µA
                                                     (6)
       CTUN      Internal tuning capacitor in SO8                 f = 13.56 MHz           24.8     27.5     30.2      pF
                 Backscattered level as defined by
     VBACK                                                         ISO10373-7              10       -        -       mV
                 ISO test
                 RF input voltage amplitude
                 between AC0 and AC1, GND pad
    VMAX_1(3)                                                            -                  -       -       20        V
                 left floating, VAC0-VAC1 peak to
                 peak(7)
                 AC voltage between AC0 and
    VMAX_2(3)                                                            -                 -1       -       8.5       V
                 GND or between AC1 and GND




                                                     DocID022712 Rev 12                                            125/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 310 of 763 PageID #:
                                    2092

  RF electrical parameters                                                                              M24LR64E-R


                                Table 125. RF characteristics(1) (2) (continued)
     Symbol                  Parameter                          Condition                Min     Typ     Max           Unit

                 RF input voltage amplitude           Inventory and Read operations       -         4     4.5            V
                 between AC0 and AC1, GND pad
    VMIN_1(3)
                 left floating, VAC0-VAC1 peak to            Write operations             -       4.5         5          V
                 peak(7)

                 AC voltage between AC0 and           Inventory and Read operations       -       1.8         2          V
    VMIN_2(3)
                 GND or between AC1 and GND                  Write operations             -         2     2.2            V
     tRF_OFF     RF OFF time                                    Chip reset                2         -         -          ms
  1. TA = –40 to 85 °C. Characterized only.
  2. All timing characterizations were performed on a reference antenna with the following characteristics:
     External size: 75 mm x 48 mm
     Number of turns: 5
     Width of conductor: 0.5 mm
     Space between two conductors: 0.3 mm
     Value of the tuning capacitor in SO8: 27.5 pF (M24LR64E-R)
     Value of the coil: 5 µH
     Tuning frequency: 13.56 MHz.
  3. 15% (or more) carrier modulation index offers a better signal/noise ratio and therefore a wider operating
     range with a better noise immunity.
  4. Temperature range 0 °C to 90 °C.
  5. Characterized on bench.
  6. Characterized only, at room temperature only, measured at VAC0-VAC1 = 1 V peak to peak.
  7. Characterized only, at room temperature only.


                                                Table 126. Operating conditions
                    Symbol                     Parameter                        Min.           Max.               Unit

                      TA        Ambient operating temperature                   -40            85                 °C


                Figure 81 shows an ASK modulated signal from the VCD to the M24LR64E-R. The test
                conditions for the AC/DC parameters are:
                •    Close coupling condition with tester antenna (1 mm)
                •    M24LR64E-R performance measured at the tag antenna
                •    M24LR64E-R synchronous timing, transmit and receive




  126/144                                        DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 311 of 763 PageID #:
                                    2093

  M24LR64E-R                                                                          RF electrical parameters


                                              Figure 81. ASK modulated signal



                                                         W5))
                                          $        %                   W5)5
                                                                                      I&&



                                                W5)6%/



                                W0,1&'



                                                                                                    -36




            Table 127 summarizes, respectively, the minimum AC0-AC1 input power level PAC0-AC1_min
            required for the Energy harvesting mode, the corresponding maximum current consumption
            Isink_max, and the variation of the analog voltage Vout for the various Energy harvesting
            fan-out configurations defined by bits b0 and b1 of the Configuration byte.

                                              Table 127. Energy harvesting(1) (2)
               Range       Hmin(3)        Pmin(4)          Vout@I=0       Vout@Isink_max      Isink_max@Pmin

                                                           2.7 V min
                00         3.5 A/m        100 mW                              1.7 V               6 mA
                                                           4.5 V max
                                                           2.7 V min
                01         2.4 A/m        60 mW                               1.9 V               3 mA
                                                           4.5 V max
                                                           2.7 V min
                10         1.6 A/m        30 mW                               2.1 V               1 mA
                                                           4.5 V max
                                                           2.7 V min
                11         1.0 A/m        16 mW                               2.3 V              300 µA
                                                           4.5 V max
            1. Characterized only.
            2. Valid from -40 °C to +85 °C.
            3. Hmin characterized according to ISO10373-7 test method.
            4. Pmin calculated from DC measurements.


            Note:         It is recommended to choose the Energy Harvesting Range according to the
                          maximum current requested by the application to avoid any disabling of Energy
                          Harvesting mode (for example, choose Range 01 for a max consumption of
                          2 mA).




                                               DocID022712 Rev 12                                        127/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 312 of 763 PageID #:
                                    2094

  RF electrical parameters                                                                       M24LR64E-R


                                      Figure 82. Energy harvesting: Vout min vs. Isink

                     7PVU




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                     7
                     7
                     7
                     7



                             N"         N"             N"       N"       *TJOL
                                                                                                      -36




                             Figure 83. Energy harvesting: working domain range 11
               )DQRXW
                 $

                 P$



                                                                       :RUNLQJGRPDLQZKHQ
                                                                       5DQJHLVVHOHFWHG


                 P$




                 P$
                P$

                                       $P $P $P          $P                 $P      )LHOG
                                                                                                         +UPV

                                                                                                        069




  128/144                                     DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 313 of 763 PageID #:
                                    2095

  M24LR64E-R                                                          RF electrical parameters


                         Figure 84. Energy harvesting: working domain range 10

               )DQRXW
                 $

                 P$



                                                            :RUNLQJGRPDLQZKHQ
                                                            5DQJHLVVHOHFWHG


                 P$




                 P$
               P$

                               $P $P $P       $P                 $P    )LHOG
                                                                                            +UPV

                                                                                           069



                         Figure 85. Energy harvesting: working domain range 01

               )DQRXW
                 $

                 P$



                                                            :RUNLQJGRPDLQZKHQ
                                                            5DQJHLVVHOHFWHG


                 P$




                 P$
               P$

                               $P $P $P       $P                 $P     )LHOG
                                                                                             +UPV

                                                                                           069




                                     DocID022712 Rev 12                                      129/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 314 of 763 PageID #:
                                    2096

  RF electrical parameters                                                             M24LR64E-R


                             Figure 86. Energy harvesting: working domain range 00
              )DQRXW
                $
                                                                     :RUNLQJGRPDLQZKHQ
                                                                     5DQJHLVVHOHFWHG
                 P$




                 P$




                 P$
               P$

                                  $P $P $P       $P            $P       )LHOG
                                                                                             +UPV

                                                                                            069




  130/144                                DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 315 of 763 PageID #:
                                    2097

  M24LR64E-R                                                                                                          Package information


  31        Package information

            In order to meet environmental requirements, ST offers these devices in different grades of
            ECOPACK® packages, depending on their level of environmental compliance. ECOPACK®
            specifications, grade definitions and product status are available at: www.st.com.
            ECOPACK® is an ST trademark.


  31.1      SO8N package information
             Figure 87. SO8N – 8-lead plastic small outline, 150 mils body width, package outline

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                                       !                          !
                                                                                                          C
                                                                           CCC
                                            B
                                                    E

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                                                                                                                                    62$B9

            1. Drawing is not to scale.

                       Table 128. SO8N – 8-lead plastic small outline, 150 mils body width,
                                           package mechanical data
                                                    millimeters                                                      inches(1)
               Symbol
                                 Min.                       Typ.                 Max.             Min.                 Typ.      Max.

                   A               -                          -                  1.750             -                     -       0.0689
                  A1             0.100                        -                  0.250           0.0039                  -       0.0098
                  A2             1.250                        -                    -             0.0492                  -         -
                   b             0.280                        -                  0.480           0.0110                  -       0.0189
                   c             0.170                        -                  0.230           0.0067                  -       0.0091
                   D             4.800                      4.900                5.000           0.1890               0.1929     0.1969
                   E             5.800                      6.000                6.200           0.2283               0.2362     0.2441
                  E1             3.800                      3.900                4.000           0.1496               0.1535     0.1575
                   e               -                        1.270                  -               -                  0.0500       -
                   h             0.250                        -                  0.500           0.0098                  -       0.0197
                   k              0°                          -                   8°               0°                    -         8°
                   L             0.400                        -                  1.270           0.0157                  -       0.0500




                                                            DocID022712 Rev 12                                                     131/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 316 of 763 PageID #:
                                    2098

  Package information                                                                            M24LR64E-R


                        Table 128. SO8N – 8-lead plastic small outline, 150 mils body width,
                                      package mechanical data (continued)
                                            millimeters                              inches(1)
               Symbol
                                Min.            Typ.         Max.        Min.          Typ.          Max.

                  L1              -            1.040           -           -          0.0409           -
                 ccc              -               -          0.100         -                -       0.0039
            1. Values in inches are converted from mm and rounded to four decimal digits.


                        Figure 88. SO8N – 8-lead plastic small outline, 150 mils body width,
                                        package recommended footprint

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                                                                                                  2B621B)3B9

            1. Dimensions are expressed in millimeters.




  132/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 317 of 763 PageID #:
                                    2099

  M24LR64E-R                                                                                                         Package information


  31.2      UFDFN8 package information
                     Figure 89. UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch ultra thin profile fine pitch
                                               dual flat package outline

                                                '        $ %
                                      1
                                                                                                    $
                                                                                           FFF 
                                                                                                         $
                        3LQ                                                                                                       &
                        ,'PDUNLQJ
                                                                (                          HHH &
                                                                                       6HDWLQJSODQH                            $
                                                                                                               6LGHYLHZ

                                                          [         DDD &
                        [    DDD &
                                       7RSYLHZ

                                                '                                                                          'DWXP$
                                                 H      E
                                           
                                                                 /
                              /                                                               / /

                        3LQ
                        ,'PDUNLQJ                               (
                                                                                                              H                         /
                                                                                                                       H        7HUPLQDOWLS
                                                                 .
                              /                                                                                 'HWDLO³$´
                                                                                                              (YHQWHUPLQDO
                                          1'[ H
                                      %RWWRPYLHZ                   6HH'HWDLO³$´

                                                                                                                                          =:EB0(B9

            1. Max. package warpage is 0.05 mm.
            2. Exposed copper is not systematic and can appear partially or totally according to the cross section.
            3. Drawing is not to scale.
            4. The central pad (E2 by D2 in the above illustration) is internally pulled to VSS. It must not be connected to
               any other voltage or signal line on the PCB, for example during the soldering process.

                     Table 129. UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch ultra thin profile fine pitch
                                          dual flat package mechanical data
                                                     millimeters                                                    inches(1)
                Symbol
                                      Min               Typ                    Max                 Min                Typ                 Max

            A                        0.450             0.550                   0.600          0.0177                 0.0217           0.0236
            A1                       0.000             0.020                   0.050          0.0000                 0.0008           0.0020
               (2)
            b                        0.200             0.250                   0.300          0.0079                 0.0098           0.0118
            D                        1.900             2.000                   2.100          0.0748                 0.0787           0.0827
            D2                       1.200                  -                  1.600          0.0472                    -             0.0630
            E                        2.900             3.000                   3.100          0.1142                 0.1181           0.1220




                                                       DocID022712 Rev 12                                                                      133/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 318 of 763 PageID #:
                                    2100

  Package information                                                                                         M24LR64E-R


                   Table 129. UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch ultra thin profile fine pitch
                                  dual flat package mechanical data (continued)
                                                  millimeters                                     inches(1)
                 Symbol
                                    Min                Typ                  Max      Min            Typ            Max

             E2                 1.200                      -                1.600   0.0472            -           0.0630
             e                       -                0.500                   -                    0.0197
             K                  0.300                      -                  -     0.0118            -              -
             L                  0.300                      -                0.500   0.0118            -           0.0197
             L1                      -                     -                0.150        -            -           0.0059
             L3                 0.300                      -                  -     0.0118            -              -
             aaa                     -                     -                0.150        -            -           0.0059
             bbb                     -                     -                0.100        -            -           0.0039
             ccc                     -                     -                0.100        -            -           0.0039
             ddd                     -                     -                0.050        -            -           0.0020
                   (3)
             eee                     -                     -                0.080        -            -           0.0031
            1. Values in inches are converted from mm and rounded to four decimal digits.
            2. Dimension b applies to plated terminal and is measured between 0.15 and 0.30 mm from the
               terminal tip.
            3. Applied for exposed die paddle and terminals. Exclude embedding part of exposed die paddle
               from measuring.



  31.3      TSSOP8 package information
                  Figure 90.TSSOP8 – 8-lead thin shrink small outline, 3 x 6.4 mm, 0.65 mm pitch,
                                                 package outline
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            1. Drawing is not to scale.




  134/144                                             DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 319 of 763 PageID #:
                                    2101

  M24LR64E-R                                                                          Package information


               Table 130. TSSOP8 – 8-lead thin shrink small outline, 3 x 6.4 mm, 0.65 mm pitch,
                                         package mechanical data
                                           millimeters                               inches(1)
                Symbol
                                 Min.         Typ.          Max.          Min.          Typ.     Max.

                   A              -             -           1.200           -               -    0.0472
                  A1            0.050           -           0.150        0.0020             -    0.0059
                  A2            0.800         1.000         1.050        0.0315       0.0394     0.0413
                   b            0.190           -           0.300        0.0075             -    0.0118
                   c            0.090           -           0.200        0.0035             -    0.0079
                  CP              -             -           0.100           -               -    0.0039
                   D            2.900         3.000         3.100        0.1142       0.1181     0.1220
                   e              -           0.650           -             -         0.0256       -
                   E            6.200         6.400         6.600        0.2441       0.2520     0.2598
                  E1            4.300         4.400         4.500        0.1693       0.1732     0.1772
                   L            0.450         0.600         0.750        0.0177       0.0236     0.0295
                  L1              -           1.000           -             -         0.0394       -
                   α              0°            -            8°            0°               -      8°
            1. Values in inches are converted from mm and rounded to four decimal digits.




                                           DocID022712 Rev 12                                      135/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 320 of 763 PageID #:
                                    2102

  Part numbering                                                                                      M24LR64E-R


  32        Part numbering

                           Table 131. Ordering information scheme for packaged devices

                   Example:                                      M24LR64E-R     MN     6     T   /2


                   Device type
                   M24LR = dynamic NFC/RFID tag IC
                   64 = memory size in Kbit
                   E = support for energy harvesting


                   Operating voltage(1)
                   R = VCC = 1.8 to 5.5 V


                   Package
                   MN = SO8N (150 mils width)
                   MC = UFDFPN8 (MLP8)
                   DW = TSSOP8
                   SB12I = 120 µm ± 15 µm bumped and sawn
                   inkless wafer on 8-inch frame(2)
                   RUW20 = 725 µm ± 25 µm unsawn inkless
                   8-inch wafer(2)


                   Device grade(1)
                   6 = industrial: device tested with standard
                   test flow over –40 to 85 °C


                   Option(1)
                   T = Tape and reel packing


                   Capacitance(1)
                   /2 = 27.5 pF
                   1. For packaged devices only.
                   2. Delivery type: wafer tested. Bad chip identification by STIF wafer maps available on
                      STMicroelectronics inkless central transfer server.


  Note:     Parts marked as “ES”, “E” or accompanied by an Engineering Sample notification letter, are
            not yet qualified and therefore not yet ready to be used in production and any consequences
            deriving from such usage will not be at ST charge. In no event, ST will be liable for any
            customer usage of these engineering samples in production. ST Quality has to be contacted
            prior to any decision to use these Engineering samples to run qualification activity.



  136/144                                      DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 321 of 763 PageID #:
                                    2103

  M24LR64E-R                                                                       Part numbering


                               Table 132. Ordering and marking information
                                                                         First line marking
                Reference   Package       Ordering code
                                                              Initial revision      Actual revision
                                                                    (0xF)          (0xE and below)

                            TSSOP08     M24LR64E-RDW6T/2          464EU                 4FEUB
                             MLP        M24LR64E-RMC6T/2           464E                 4FEB
               M24LR64E-R    SO8N       M24LR64E-RMN6T/2         24L64ER              24LFERB
                             SB12I      M24LR64E-SB12I/2             -                        -
                            RUW20       M24LR64E-RUW20/2             -                        -




                                      DocID022712 Rev 12                                          137/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 322 of 763 PageID #:
                                    2104

  Anticollision algorithm (informative)                                                M24LR64E-R


  Appendix A                Anticollision algorithm (informative)

              The following pseudocode describes how anticollision could be implemented on the VCD,
              using recursivity.


  A.1         Algorithm for pulsed slots
              function push (mask, address); pushes on private stack
              function pop (mask, address); pops from private stack
              function pulse_next_pause; generates a power pulse
              function store(M24LR64E-R_UID); stores M24LR64E-R_UID


              function poll_loop (sub_address_size as integer)
                 pop (mask, address)
                 mask = address & mask; generates new mask
                               ; send the request
                 mode = anticollision
                 send_Request (Request_cmd, mode, mask length, mask value)
                 for sub_address = 0 to (2^sub_address_size - 1)
                    pulse_next_pause
                    if no_collision_is_detected ; M24LR64E-R is inventoried
                       then
                            store (M24LR64E-R_UID)
                       else ; remember a collision was detected
                            push(mask,address)
                       endif
                    next sub_address


                 if stack_not_empty ; if some collisions have been detected and
                    then       ; not yet processed, the function calls itself
                      poll_loop (sub_address_size); recursively to process the last
              stored collision
                    endif
              end poll_loop


              main_cycle:
                 mask = null
                 address = null
                 push (mask, address)
                 poll_loop(sub_address_size)
              end_main_cycle




  138/144                                 DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 323 of 763 PageID #:
                                    2105

  M24LR64E-R                                                                          CRC (informative)


  Appendix B             CRC (informative)

  B.1       CRC error detection method
            The cyclic redundancy check (CRC) is calculated on all data contained in a message, from
            the start of the flags through to the end of Data. The CRC is used from VCD to M24LR64E-
            R and from M24LR64E-R to VCD.

                                             Table 133. CRC definition
                 CRC type      Length            Polynomial              Direction    Preset    Residue

               ISO/IEC 13239   16 bits    X16 + X12 + X5 + 1 = 8408h     Backward     FFFFh      F0B8h


            To add extra protection against shifting errors, a further transformation on the calculated
            CRC is made. The one’s complement of the calculated CRC is the value attached to the
            message for transmission.
            To check received messages, the two CRC bytes are often also included in the re-
            calculation, for ease of use. In this case, the expected value for the generated CRC is the
            residue F0B8h.


  B.2       CRC calculation example
            This example in C language illustrates one method of calculating the CRC on a given set of
            bytes comprising a message.

            C-example to calculate or check the CRC16 according to ISO/IEC 13239
            #define    POLYNOMIAL0x8408//       x^16 + x^12 + x^5 + 1
            #define    PRESET_VALUE0xFFFF
            #define    CHECK_VALUE0xF0B8

            #define    NUMBER_OF_BYTES4// Example: 4 data bytes
            #define    CALC_CRC1
            #define    CHECK_CRC0

            void main()
            {
              unsigned int current_crc_value;
              unsigned char array_of_databytes[NUMBER_OF_BYTES + 2] = {1, 2, 3, 4, 0x91,
            0x39};
              int            number_of_databytes = NUMBER_OF_BYTES;
              int            calculate_or_check_crc;
              int            i, j;
              calculate_or_check_crc = CALC_CRC;
            // calculate_or_check_crc = CHECK_CRC;// This could be an other example
              if (calculate_or_check_crc == CALC_CRC)
              {
                   number_of_databytes = NUMBER_OF_BYTES;



                                          DocID022712 Rev 12                                       139/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 324 of 763 PageID #:
                                    2106

  CRC (informative)                                                                M24LR64E-R


                 }
                 else       // check CRC
                 {
                        number_of_databytes = NUMBER_OF_BYTES + 2;
                 }

                 current_crc_value = PRESET_VALUE;

               for (i = 0; i < number_of_databytes; i++)
               {
                   current_crc_value = current_crc_value ^ ((unsigned
             int)array_of_databytes[i]);

                        for (j = 0; j < 8; j++)
                        {
                            if (current_crc_value & 0x0001)
                            {
                                 current_crc_value = (current_crc_value >> 1) ^ POLYNOMIAL;
                            }
                            else
                            {
                                 current_crc_value = (current_crc_value >> 1);
                            }
                        }
                 }

                 if (calculate_or_check_crc == CALC_CRC)
                 {
                     current_crc_value = ~current_crc_value;

                        printf ("Generated CRC is 0x%04X\n", current_crc_value);

                        // current_crc_value is now ready to be appended to the data stream
                        // (first LSByte, then MSByte)
                 }
                 else      // check CRC
                 {
                        if (current_crc_value == CHECK_VALUE)
                        {
                             printf ("Checked CRC is ok (0x%04X)\n", current_crc_value);
                        }
                        else
                        {
                             printf ("Checked CRC is NOT ok (0x%04X)\n", current_crc_value);
                        }
                 }
             }




  140/144                                  DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 325 of 763 PageID #:
                                    2107

  M24LR64E-R                                                     Application family identifier (AFI) (informative)


  Appendix C                 Application family identifier (AFI)
                             (informative)

            The AFI (application family identifier) represents the type of application targeted by the VCD
            and is used to extract from all the M24LR64E-Rs present only the one meeting the required
            application criteria.
            It is programmed by the M24LR64E-R issuer (the purchaser of the M24LR64E-R). Once
            locked, it cannot be modified.
            The most significant nibble of the AFI is used to code one specific or all application families,
            as defined in Table 134.
            The least significant nibble of the AFI is used to code one specific or all application
            subfamilies. Subfamily codes different from 0 are proprietary.

                                                    Table 134. AFI coding(1)
                AFI most          AFI least
               significant       significant     Meaning VICCs respond from                 Examples / Note
                 nibble            nibble

                    ‘0’               ‘0’       All families and subfamilies        No applicative preselection
                   ‘X’                 '0       All subfamilies of family X         Wide applicative preselection
                                                            th
                    'X                '‘Y’      Only the Y subfamily of family X    -
                    ‘0’                ‘Y’      Proprietary subfamily Y only        -
                    ‘1              '‘0’, ‘Y’   Transport                           Mass transit, bus, airline,...
                    '2              '‘0’, ‘Y’   Financial                           IEP, banking, retail,...
                    '3              '‘0’, ‘Y’   Identification                      Access control,...
                    '4              '‘0’, ‘Y’   Telecommunication                   Public telephony, GSM,...
                    ‘5’             ‘0’, ‘Y’    Medical                             -
                    '6              '‘0’, ‘Y’   Multimedia                          Internet services....
                    '7              '‘0’, ‘Y’   Gaming                              -
                    8               '‘0’, ‘Y’   Data Storage                        Portable files,...
                    '9              '‘0’, ‘Y’   Item management                     -
                    'A              '‘0’, ‘Y’   Express parcels                     -
                    'B              '‘0’, ‘Y’   Postal services                     -
                    'C              '‘0’, ‘Y’   Airline bags                        -
                    'D              '‘0’, ‘Y’   RFU                                 -
                    'E              '‘0’, ‘Y’   RFU                                 -
                   ‘F’              ‘0’, ‘Y’    RFU                                 -
            1. X = '1' to 'F', Y = '1' to 'F'




                                                DocID022712 Rev 12                                             141/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 326 of 763 PageID #:
                                    2108

  Revision history                                                                                M24LR64E-R


  Revision history

                                        Table 135. Document revision history
                     Date    Revision                                  Changes

               12-Apr-2012      1       Initial release.
                                        Updated Section 7.1: RF communication and energy harvesting on
                                        page 42 and Figure 49: M24LR64E-R state transition diagram on
               08-Jun-2012      2       page 65.
                                        Updated clock pulse width values in Table 123: I2C AC characteristics on
                                        page 122.
               19-Jun-2012      3       Updated notes for Figure 49: M24LR64E-R state transition diagram.
                                        – Number of sectors updated in Section 3.
                                        – Updated Section 4.2.
                                        – Updated Figure 6: Memory sector organization.
                                        – M24LR64E changed into M24LR64x in Figure 52: M24LR64E RF-Busy
              21-Feb-2013       4         management following Inventory command, Figure 56: M24LR64E RF-
                                          Busy management following Write command and Figure 57:
                                          M24LR64E RF-Wip management following Write command.
                                        – Updated Table 15: Control register, Table 17: System parameter
                                          sector, Table 118: Absolute maximum ratings, Table 122: I2C DC
                                          characteristics and Table 125: RF characteristics.
              07-Mar-2013       5       Added Table 132: Ordering and marking information.
                                        Added “Dynamic NFC/RFID tag IC” to the title, Section 1: Description,
                                        and the M24LR definition in Table 131: Ordering information scheme for
                                        packaged devices.
               12-Jun-2013      6
                                        Updated VESD and Note 5 in Table 118: Absolute maximum ratings.
                                        Removed MB package from Figure 88: UFDFPN8 (MLP8) – 8-lead ultra
                                        thin fine pitch dual flat package no lead 2 × 3mm, package outline.
                                        Updated Figure 1: Logic diagram, Figure 14: 100% modulation waveform
                                        and Figure 15: 10% modulation waveform.
              21-Nov-2014       7       Updated footnote 4 in Table 123: I2C AC characteristics.
                                        Added note on Engineering samples marking in Section 32: Part
                                        numbering.
                                        Updated figure on Cover page with new wafer code SB12I.
                                        Updated Figure 10: Write cycle polling flowchart using Ack, Figure 14:
                                        100% modulation waveform and Figure 15: 10% modulation waveform.
              06-Nov-2015       8       Updated Table 118: Absolute maximum ratings and its footnote 4.
                                        Updated Section 31: Package information and its subsections.
                                        Updated Table 131: Ordering information scheme for packaged devices
                                        and added footnotes 1 and 2.
               27-Apr-2016      9       Updated Table 132: Ordering and marking information.
                                        Updated Features.
                                        Updated Figure 51: Description of a possible anticollision sequence and
              09-May-2016      10       Figure 53: Stay Quiet frame exchange between VCD and M24LR64E-R.
                                        Updated Table 118: Absolute maximum ratings.
                                        Added Section 29: Write cycle definition.


  142/144                                    DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 327 of 763 PageID #:
                                    2109

  M24LR64E-R                                                                                 Revision history


                                Table 135. Document revision history (continued)
                  Date       Revision                                  Changes

                                        Updated image on cover page with introduction of RUW20 wafer option.
                                        Updated Features.
               13-Mar-2017     11       Added footnote 4 to Figure 89: UFDFN8 - 8-lead, 2 × 3 mm, 0.5 mm pitch
                                        ultra thin profile fine pitch dual flat package outline.
                                        Updated Table 131: Ordering information scheme for packaged devices
                                        and Table 132: Ordering and marking information.
                                        Updated caption of Figure 90: TSSOP8 – 8-lead thin shrink small outline,
                                        3 x 6.4 mm, 0.65 mm pitch, package outline and of Table 130: TSSOP8 –
               20-Jul-2017     12
                                        8-lead thin shrink small outline, 3 x 6.4 mm, 0.65 mm pitch, package
                                        mechanical data.




                                            DocID022712 Rev 12                                           143/144
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 328 of 763 PageID #:
                                    2110

                                                                                                                             M24LR64E-R




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  144/144                                                   DocID022712 Rev 12
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 329 of 763 PageID #:
                                    2111



     Exhibit G to 12/04/2020 Rowe Declaration
 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 330 of 763 PageID #:
                                     2112


Program Analyzes Spacecraft/Ground Radio Links
NASA’s Jet Propulsion Laboratory, Pasadena, California
   A versatile computer program ana-              needs. The user can specify several as-            database, so that link design can be car-
lyzes the link-design control table neces-        pects of spacecraft telecommunication-             ried out using different ground stations
sary for designing the telecommunica-             subsystem design, including the nature             in a comparative process in an effort to
tion subsystem of a spacecraft in orbit           of the antenna (paraboloidal reflector,            select the best design. The output of the
around the Earth or on a deep-space               patch, dipole, etc.), the power-amplifier          program is in the form of graphs as well
mission. The program helps to calculate           rating, and the link data rate.                    as numbers.
all the important parameter values for               The program enables the use of com-                This program was written by Faiza Lans-
spacecraft-to-ground telemetry links and          parative design procedures and                     ing and Anil Kantak of Caltech for NASA’s
ground-to-spacecraft command links.               includes an extensive database on the              Jet Propulsion Laboratory. Further informa-
The program also enables the design of            capabilities, attributes, and costs of com-        tion is contained in a TSP (see page 1).
turn-around ranging and one-way rang-             mercially available telecommunications                This software is available for commercial
ing links, which are very useful for deter-       equipment. Hence, the program can                  licensing. Please contact Karina Edmonds of
mining the positions of spacecraft and            also perform cost analyses. The software           the California Institute of Technology at
for satisfying various other operational          includes an extensive ground-station               (626) 395-2322. Refer to NPO-40442.




Two-Way Communication Using RFID Equipment and Techniques
Dynamic data could be exchanged, in addition to conventional static RFID data.
NASA’s Jet Propulsion Laboratory, Pasadena, California
   Equipment and techniques used in                  Until now, RFID has been used to ex-            sensory device (e.g., a digital camera)
radio-frequency identification (RFID)             change small amounts of mostly static in-          that includes circuitry that converts sen-
would be extended, according to a pro-            formation for identifying and tracking             sory information to digital data. In addi-
posal, to enable short-range, two-way             assets. Information pertaining to an               tion to the basic sensory device, there
communication between electronic                  asset (typically, an object in inventory to        would be a controller and a memory
products and host computers. In one ex-           be tracked) is contained in miniature              that would store the sensor data and/or
ample of a typical contemplated applica-          electronic circuitry in an RFID tag at-            data from the controller. The device
tion, the purpose of the short-range              tached to the object. Conventional RFID            would also be equipped with a conven-
radio communication would be to trans-            equipment and techniques enable a host             tional RFID chipset and antenna, which
fer image data from a user’s digital still        computer to read data from and, in                 would communicate with a host com-
or video camera to the user’s computer            some cases, to write data to, RFID tags,           puter via an RFID reader.
for recording and/or processing. The              but they do not enable such additional                The controller would function
concept is also applicable to consumer            functions as sending commands to, or               partly as a communication interface,
electronic products other than digital            retrieving possibly large quantities of dy-        implementing two-way communica-
cameras (for example, cellular tele-              namic data from, RFID-tagged devices.              tion protocols at all levels (including
phones, portable computers, or motion             The proposal would enable such addi-               RFID if needed) between the sensory
sensors in alarm systems), and to a vari-         tional functions.                                  device and the memory and between
ety of industrial and scientific sensors             The figure schematically depicts an             the host computer and the memory.
and other devices that generate data.             implementation of the proposal for a               The controller would perform power



                                                                                      RF Link



                                                                   RFID                                    RFID                     Host
                          Memory         Controller
                                                                  Chipset                                 Reader                  Computer


                                                                            Antenna             Antenna
      External                 Sensory Device
    Input/Output



                                                                            Conventional RFID Equipment



An RFID System Extended as Proposed would enable a host computer to control a sensory device and retrieve data stored in the memory of that device.



6                                                                                                                      NASA Tech Briefs, May 2007
 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 331 of 763 PageID #:
                                     2113

management and other tasks essential                 sor memory to the host computer                    In accordance with Public Law 96-517,
to operation, and would encrypt data                 and/or to pass commands from the                the contractor has elected to retain title to this
if necessary.                                        host computer.                                  invention. Inquiries concerning rights for its
   The RFID chipset would handle                        The host computer would control the          commercial use should be addressed to:
RFID communications (including im-                   RFID reader. The host computer would               Innovative Technology Assets Management
plementing RFID protocols in coopera-                contain application software and/or                 JPL
tion with the controller). As in ordinary            firmware that would enable the user to             Mail Stop 202-233
RFID tags, the RFID chipset would ac-                communicate with the sensory device                4800 Oak Grove Drive
cept RF power received via the antenna,              and process data received from the sen-            Pasadena, CA 91109-8099
convert the RF power to DC power, and                sory device.                                       (818) 354-2240
distribute the power both within itself                 This work was done by Thomas Jedry and          E-mail: iaoffice@jpl.nasa.gov
and to any other circuitry as needed.                Eric Archer of Caltech for NASA’s Jet Propul-      Refer to NPO-43144, volume and number
The RFID chipset would interact with                 sion Laboratory. Further information is con-    of this NASA Tech Briefs issue, and the
the controller to pass data from the sen-            tained in a TSP (see page 1).                   page number.




Six-Message Electromechanical Display System
This system would overcome the three-message limit of prior such systems.
Marshall Space Flight Center, Alabama
   A proposed electromechanical display              sage system, a typical conventional             faces, then the number of messages is
system would be capable of presenting                electromechanical display system is lim-        limited to three because three is the max-
as many as six distinct messages. This sys-          ited to three messages.                         imum number of sides of a polygon that
tem would be a more capable and                         The three-message limit arises as fol-       can be placed contiguously with other,
more complex successor to the pro-                   lows: A typical electromechanical display       identical polygons along a common base-
posed system reported in “Four-Message               system contains display elements with           line and that can be rotated without in-
Electromechanical Display System”                    multiple flat faces that are rotated into       terfering with an adjacent polygon.
(MFS-31368), NASA Tech Briefs, Vol. 24,              view to present a message. Each display            In the proposed system (see Figure
No. 4 (April 2000), page 32. In contrast             element can present, for example, an al-        1), each display element would in-
to the now-proposed six-message system               phanumeric character or part of an              clude a cylinder having a regular
and the previously proposed four-mes-                image. If the display elements have flat        hexagonal cross section. The adjacent


                       Front           Back




                                              Gap




                                                                                                               Expansion Through Rotation




                                      Baseline

                        DISPLAY ELEMENTS         DISPLAY ELEMENTS IN     DISPLAY ELEMENTS                       Expansion Through Sliding
                        ROTATING TO NEXT         NEXT POSITION, FACES   IN POSITION, VISIBLE
                            POSITION              NOT YET EXPANDED        FACES EXPANDED

                                                                                                     Figure 2. The Visible Face of Each Hexagonal
Figure 1. Adjacent Hexagonal Cylinders would be rotated to present any of six messages to viewers    Cylinder would effectively be expanded by rota-
looking at the front side.                                                                           tion or sliding of panels.



NASA Tech Briefs, May 2007                                                                                                                           7
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 332 of 763 PageID #:
                                    2114



     Exhibit H to 12/04/2020 Rowe Declaration
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 333 of 763 PageID #:
                                    2115
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 334 of 763 PageID #:
                                       2116




                                                                                          Foreword


                    Back in 1999, we saw the need for an organization with a mission to define a complete,
                    open, global standard for reliable, cost-effective, low-power, wirelessly networked
                    products addressing monitoring and control. While there were other standards that
                    addressed higher data rates or battery-powered networks for a very small number of
                    devices, none of these truly met the needs of this market. Instead, what we needed was
                    something focused on:
                        ●   Large networks (a large number of devices and a large coverage area) that could
                            form autonomously, and operate very reliably and securely for years without
                            operator intervention
                        ●   Very long battery life (years of use from a pair of AA cells), very low
                            infrastructure cost (low device and setup costs), very low complexity, and
                            small size
                        ●   A relatively low data rate
                        ●   A standardized protocol, allowing multiple-vendor, interoperable products for the
                            global market
                    Thus, in 2002, the ZigBee Alliance was born.
                    Now, with over 225 member companies, we are able to draw on a wealth of experience in
                    every aspect of the business. Allowing so many companies the opportunity to have input
                    is not as fast-paced as adopting a single proprietary system and declaring it a standard.
                    Even so, the combined wisdom and the vetting process enable a much better solution to
                    be built, one which meets all of the needs mentioned above. Getting it right is extremely
                    important if a standard is to have a long track record of success.

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FOR-H8597.indd ix                                                                                               7/26/2008 3:03:05 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 335 of 763 PageID #:
                                       2117


                   x     Foreword

                   The ZigBee Alliance slogan, “Wireless Control That Simply Works,” is clearly what is
                   needed for end users and implementers, but achieving that result places a heavy burden
                   on the developers and OEMs. Drew Gislason has the ability to take complex topics and
                   present them in a manner that is cogent and easily digestible to OEMs and developers.
                   This book goes a long way in helping to explain ZigBee concepts, and in explaining how
                   to implement ZigBee in a wide variety of products.
                   Many people do not realize that a quiet revolution is already under way in business, and
                   in our homes. Great emphasis is being placed on reducing natural resource waste and in
                   becoming exponentially more efficient. To achieve global efficiency goals, we must have
                   an extensive, intelligent, easy-to-deploy, low-cost infrastructure to monitor and manage
                   our surroundings. ZigBee is a solid technological solution for this monumental task, and
                   brings with it other benefits and lifestyle improvements, such as increased security and
                   convenience.
                   The momentum is gathering, and we are about to take a leap that brings remarkable
                   savings, not only of resources, but of money and time. History repeatedly demonstrates
                   that companies at the forefront set the mark for their industries. Indeed, many current
                   industry leaders who take a “wait and see” approach are likely to be supplanted by new
                   leaders willing to make an early investment in learning and implementing solutions such
                   as ZigBee into their product lines. This book will help companies move up the learning
                   curve rapidly.
                                                                                         Bob Heile, Ph.D.
                                                                                Chairman, ZigBee Alliance




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FOR-H8597.indd x                                                                                              7/26/2008 3:03:05 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 336 of 763 PageID #:
                                       2118




                                                                                               Preface


                    Intended Audience
                    ZigBee Wireless Networking is for developers who are interested in learning more about
                    ZigBee. The developer who actually has a project at hand may benefit the most from the
                    text and examples, but managers considering using ZigBee on a project will also benefit,
                    especially from Chapter 1, “Hello ZigBee,” and Chapter 2, “Deciding on ZigBee.”
                    No prior experience with embedded programming, 802.15.4, or networking is required,
                    but a working knowledge of the C programming language is helpful.
                    Most of the examples use the Freescale ZigBee platform, but the ideas apply to all
                    ZigBee platform vendors. Occasionally, an example or solution is specific to the
                    Freescale platform. Where this occurs, the text makes it clear that the solution is
                    Freescale-specific, and not a ZigBee requirement, in general.


                    Formatting Conventions
                    Various elements in this book are specially formatted for easier identification while
                    reading. Code samples are printed in a different style on a light gray background.
                    Variables in the text are printed in bold. Each section ends in a brief summary,
                    indicating the key points. For example, Code samples look like this:
                    void BeeAppDataIndication(void)

                    {
                        apsdeToAfMessage_t *pMsg;
                        zbApsdeDataIndication_t *pIndication;
                        zbStatus_t status = gZclMfgSpecific_c;
                        while(MSG_Pending(&gAppDataIndicationQueue)


                    The Book’s Structure
                    This book is designed to be read from cover-to-cover, tutorial style. Each chapter
                    introduces concepts that are used in later chapters. However, the reader is encouraged to

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PRE-H8597.indd xi                                                                                               7/26/2008 3:18:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 337 of 763 PageID #:
                                       2119


                     xii    Preface

                     skip ahead if the concepts of any section are already familiar. To keep the reader oriented
                     in each section, some overlap is necessary.
                     While it is not required, it is helpful to have the ZigBee and IEEE 802.15.4 specifications
                     available when reading this book. I’ll sometimes refer to a section or a concept in those
                     specifications for further reading.
                     To obtain the ZigBee specification, go to http://www.zigbee.org and click on “Download
                     the Specification.” It is free, and comes in PDF format.
                     Go to http://standards.ieee.org/getieee802/802.15.html and select “IEEE 802.15.2-2003”
                     to obtain the 802.15.4 standard in PDF format. There is a new draft standard, IEEE
                     802.15.2-2006, but ZigBee does not currently use that specification.
                     The chapters are organized as follows.
                     Chapter 1, “Hello ZigBee,” lays out the basics of ZigBee and its intended use. It describes
                     the ZigBee Alliance, which is the standards body which defines and promotes the ZigBee
                     standard worldwide. This chapter also provides the developer with several ZigBee
                     networking examples, complete with source code.

                     Chapter 2, “Deciding on ZigBee,” helps the developer make technical and marketing
                     choices about ZigBee, and even helps determine whether ZigBee is the right solution
                     for any given problem. It provides a concise checklist, with all of the ZigBee factors
                     that must be considered throughout the entire product life cycle, from inception through
                     development, deployment, and maintenance.

                     Chapter 3, “The ZigBee Development Environment,” covers the basics of the ZigBee
                     development environment, and walks the reader through an example, step-by-step, to
                     help gain a full understanding of what’s involved in the development and debug phase.
                     This chapter contains information necessary if the reader plans to follow along with the
                     examples using actual hardware.

                     Chapter 4, “ZigBee Applications,” goes in-depth into application development, including
                     the fundamentals of ZigBee networks, nodes, addressing, Application Profiles, and the
                     features provided to the application by the Application Framework (AF) and Application
                     Support Sub-layer (APS).

                     Chapter 5, “ZigBee, ZDO, and ZDP,” describes the ZigBee Device Object (ZDO) and
                     how it interacts with and is used by applications, including how to achieve maximum
                     battery life from ZigBee nodes.

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PRE-H8597.indd xii                                                                                                 7/26/2008 3:18:33 PM
    Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 338 of 763 PageID #:
                                        2120



                                                                                                      Preface         xiii

                      Chapter 6, “The ZigBee Cluster Library,” covers the library of common clusters used for
                      profile and device development. It describes Home Automation in some detail.
                      Chapter 7, “The ZigBee Networking Layer,” goes in-depth into how ZigBee actually
                      delivers packets from one node to another, including mesh and tree networking. It also
                      discusses some of the table management that must occur for ZigBee nodes to last for
                      years (and decades) in the field with no required maintenance. This chapter also describes
                      security in detail.
                      Chapter 8, “Commissioning ZigBee Networks,” describes the commissioning process
                      with ZigBee. This topic is critical to the successful deployment and maintenance of
                      ZigBee networks.
                      Chapter 9, “ZigBee Gateways,” introduces gateways and describes techniques for
                      retrieving information from a ZigBee network, as well as controlling and configuring
                      sensors and actuators from outside the ZigBee network.
                      Appendix A, “ZigBee 2007 and ZigBee Pro,” is a quick reference to the ZigBee
                      application API.
                      Appendix B, “ZigBee Quick Reference,” is a quick reference to ZigBee architecture and
                      commands.
                      Appendix C, “ZigBee Cluster Library Quick Reference,” covers some of the new features
                      in ZigBee to be found in the upcoming ZigBee 2007, a specification that was not quite
                      ready for publication at the time of this writing.

                      Example Source Code
                      Each chapter contains examples designed to enhance understanding of the ZigBee
                      concepts introduced. Only partial source code is included in the text of this book.
                      For full source code, including Freescale CodeWarrior project files, go to the web site:

                      http://www.zigbookexamples.com/code

                      The home page of this site is just an advertisement for the book, so remember to type in
                      /code after the site name. The sample code may be freely used in applications. A standard
                      author’s disclaimer applies:

                         No warrantee is implied or expressed and it’s probably not suitable for anything other
                         than instructional purposes, and maybe not even that. If you use the source code, keep the
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PRE-H8597.indd xiii                                                                                                          7/26/2008 3:18:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 339 of 763 PageID #:
                                       2121


                   xiv     Preface

                   The code on the Web site is organized by chapters. Each example, except for the two in
                   Chapter 1, contain only the application source code, and assume that you use Freescale’s
                   BeeKit to generate the project. The whole process of taking small source code samples
                   and incorporating them into the Freescale solution is described, step-by-step, in
                   Chapter 3, “The ZigBee Development Environment.”




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PRE-H8597.indd Sec1:xiv                                                                                       7/26/2008 3:18:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 340 of 763 PageID #:
                                       2122




                                                                         Acknowledgments


                    There are so many people that contributed to this book. First of all, I’d like to thank my
                    wife, Alicia. Without her countless hours of encouragement and solid support of this
                    arduous process called writing a book, this would not have been possible. And to my
                    daughters, Lita, Genevieve, and Elanor, I love you.

                    To Rachel, my editor at Elsevier, a big thank you, especially for your patience. There is a
                    White Chocolate Frappuccino® waiting for you at Starbucks®, my treat.

                    I’d like to thank all the staff at Freescale, in what’s now called Wireless Commercial
                    Operations (WCO), especially Brett Black for believing in and championing this
                    technology, Darrel Simms for introducing me to Freescale, Mark Williams for always
                    supporting his partners, Walter Young whose command of the English language is
                    greater than Strunk and White, Mads Westergreen—a Danish man who knows more
                    about ZigBee than just about anybody on the planet, Matt Maupin, Ryan Kelly,
                    Shannon Reid, and so many others as well.

                    Also, ZigBee Alliance members deserve many thanks for this book: Bob Heile,
                    Zachary Smith, Ian Marsden, Don Sturek, Phil Jamieson, and Skip Ashton, all of whom
                    have made the ZigBee standard possible. I really appreciate all the time you’ve spent
                    explaining the concepts to me, and discussing the edge cases. You have taught me so
                    much. And to others within the Alliance who have patiently answered my questions:
                    Spiro Sacre, Monique Brown, Wally Burnham, Claudio Borean, Rudi Belliardi,
                    Greg Henry, Silviu Chiricescu, and Bill Wood, thank you.

                    To my good friends and colleagues, Masaru and Blanca Natsu, Christian Garcia, and
                    Dalila Pinedo, thank you for all your help, suggestions, corrections, and insight. And to

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ACK-H8597.indd xv                                                                                                 7/26/2008 3:09:06 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 341 of 763 PageID #:
                                       2123


                     xvi     Acknowledgments

                     Tim Gillman who was the idea man behind many of the stories which open each chapter.
                     Tim, you are a funny guy.
                     Special thanks to Mads Westergreen and Allan McDaniel for the iPod example. I think
                     the readers will love this one.
                     Any mistakes, inaccuracies, or omissions in this text are purely my own.




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ACK-H8597.indd xvi                                                                                          7/26/2008 3:09:06 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 342 of 763 PageID #:
                                       2124




                                                                                                                      CHAPTER 1

                                                                                                           Hello ZigBee


                    Wireless networking standards are everywhere. You’ve heard of WiFi™ and Bluetooth™
                    and cellular technology. Perhaps you’ve heard of Active RFID, Wibree, WiMAX™, or
                    Wireless USB. So, why ZigBee™?
                    The ZigBee wireless networking standard fits into a market that is simply not filled by
                    other wireless technologies (see Figure 1.1). While most wireless standards are striving
                    to go faster, ZigBee aims for low data rates. While other wireless protocols add more
                    and more features, ZigBee aims for a tiny stack that fits on 8-bit microcontrollers.
                    While other wireless technologies look to provide the last mile to the Internet or deliver
                    streaming high-definition media, ZigBee looks to control a light or send temperature
                                                     Faster




                                                                         Video
                                                                                                Da
                                                                        Wireless                  ta
                                                                         USB
                                                                                      WiFiTM                          Vo
                                    Peak Data Rate




                                                                                                                        i ce
                                                                                      802.11
                                                                                      a/b/g/n
                                                                                                       Cellular
                                                                        BluetoothTM
                                                                         802.15.1
                                                                                        ZigBeeTM
                                                                                        802.15.4
                                                     Slower




                                                               Closer                                             Farther
                                                                                            Range

                                                              Figure 1.1: Wireless Technologies Compared

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CH01-H8597.indd 1                                                                                                                 7/28/2008 5:26:24 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 343 of 763 PageID #:
                                       2125


                    2       Chapter 1

                    data to a thermostat. While other wireless technologies are designed to run for hours or
                    perhaps days on batteries, ZigBee is designed to run for years. And while other wireless
                    technologies provide 12 to 24 months of shelf life for a product, ZigBee products can
                    typically provide decades or more of use.

                    The market category ZigBee serves is called “wireless sensor networking and control,”
                    or simply, “wireless control.” In fact, the slogan for ZigBee is, “Wireless Control That
                    Simply Works.”

                    I’ll get to that in a moment (the first code example in this book, “Hello ZigBee,” simply
                    works). The wireless control market has a number of unique needs for which ZigBee is
                    ideally suited, because ZigBee is:
                        ●   Highly reliable
                        ●   Cost-effective
                        ●   Able to achieve very low power
                        ●   Highly secure
                        ●   An open global standard

                    To achieve the low power and low cost criteria, ZigBee added a constraint to the
                    technology:
                        Low data rate
                    Now, why would a networking standard want to encourage low data rates? Because
                    ZigBee is all about wireless monitoring and control. Think of a light switch. How often
                    does it need to communicate? Ten times per day? Or perhaps, not at all, on a given day?
                    How large is that data set? By keeping focused on the appropriate technology for wireless
                    control, ZigBee achieves an elegant solution that makes sense and fits a set of markets
                    very well. Just don’t expect to stream voice or video over ZigBee. Yes, I have seen
                    companies stream voice over ZigBee, but that’s not the intended use, and it consumes
                    way too much bandwidth for most ZigBee networks.

                    “Wireless Control That Simply Works.” Those words, the slogan of the ZigBee Alliance,
                    are oh-so-easy to say and oh-so-hard to do. ZigBee comes pretty close, as you’ll see
                    over the course of this book. Unfortunately, making wireless control that simply works
                    from an end-user perspective requires a fair bit of work from the developer and system
                    designer, with some thought taken on how the application is to be solved. ZigBee has

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CH01-H8597.indd 2                                                                                               7/28/2008 5:26:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 344 of 763 PageID #:
                                       2126



                                                                                                      Hello ZigBee       3

                    the necessary networking primitives to make it possible, and in many cases also has the
                    necessary Application Profiles to make compatibility with other products possible. In this
                    book, I’ll show you how to apply ZigBee appropriately to achieve wireless control that
                    simply works.


                          ZigBee is a standard networking protocol aimed at the wireless control market.
                          The ZigBee protocol fits on 8-bit microcontrollers, with 16- and 32-bit solutions available.




                    1.1     What’s a ZigBee?
                    Before I delve into ZigBee in detail, I’d like to address one question that seems to come
                    up every time I speak about ZigBee in public. Where did the name ZigBee come from?
                    Well, the way I first heard it was at the ZigBee Open House in Seattle, back in 2004.
                    This story was told during a time when ZigBee was often confused with Bluetooth™.
                    Just so you don’t confuse the two: Bluetooth™ is great at point-to-point (as seen in many
                    headsets and cell phones). ZigBee is great at wireless control, where anywhere from two
                    to thousands of nodes are all connected together, in multi-hop mesh network.
                    Bob Heile, Chairman of the ZigBee Alliance explained the origin of ZigBee something
                    like this:
                       A Norwegian legend speaks of a little troll by the name of ZigBee, who lived in the village
                       of Vik far inland on the fjord of Sogn. Now, Norwegian trolls aren’t the big, nasty and
                       smelly, hard-as-rock variety often told of in other tales, at least not always. ZigBee was
                       a kindly, quiet little troll, who didn’t speak much, but when he did speak it was always
                       reliable. A person could count on ZigBee.
                       One time, ZigBee sensed that a decomposing pile of hay stacked up against a barn had
                       become too hot and had begun to smolder. ZigBee, in no time at all, sounded the alarm
                       to every house in the village, and the villagers were able to put out the fire before the barn
                       was lost.
                       Another day, a grandfather left the port of Vik i Sogn in his small fishing boat to catch
                       Salmon with his granddaughter Brita. This day, unlike other days, Brita was not being
                       careful. Bestefar (that is the name Norwegians give to their grandfathers) didn’t notice
                       when Brita fell overboard as he was busy hauling in a net full of fish off the stern of the
                       little boat. ZigBee, sensing immediately that Brita had fallen, alerted Bestefar who was
                       able to save her from drowning.


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CH01-H8597.indd 3                                                                                                            7/28/2008 5:26:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 345 of 763 PageID #:
                                       2127


                    4       Chapter 1

                        Yet another time ZigBee saved the whole village of Vik. And the way I heard it was
                        this. A local villager by the name of Haarold Bluetooth, was far up in the snow-capped
                        mountains, tending his flock of sheep in the early spring. It had been a warm spring that
                        year, following a particularly hard winter.
                        The shepherd, Bluetooth, brought his flock to a stream he knew well, but this year
                        he couldn’t approach it. The steam had turned into a flooding river from the rapidly
                        melting snow. Alarmed, Bluetooth now wished he could let the villagers know about the
                        flood before it reached the village, but the village was too far away for him to be heard.
                        Bluetooth simply didn’t have the range to help the village.
                        ZigBee, sensing there was trouble, saw the flood as well. And ZigBee, like Bluetooth,
                        realized he was too far away for a single shout to be heard. So he immediately began to
                        hop down the mountain, ledge by ledge until he reached the village. He automatically
                        opened the dam and the flood passed through without harm to the village.
                        It was a very lucky thing for Vik i Sogn that they had ZigBee, and that ZigBee knew how to
                        multi-hop.


                    1.1.1     ZigBee Is Highly Reliable
                    Wireless communication is inherently unreliable. Prove this to yourself by walking
                    around with your cell phone, then step into an elevator. Anyone who has used a cell
                    phone has experienced dropped calls or poor reception. It’s all because radio waves are
                    just that: waves. They run into interference patterns, can be blocked by metal, water or a
                    lot of concrete, and vary depending on many complex factors including antenna design,
                    power amplification, and even weather conditions.
                    Wireless control, however, doesn’t usually have the same remedies normally associated
                    with a cell phone call, of moving to find better reception, or waiting to try back later.
                    The ZigBee Alliance understands this, and so the ZigBee specification reflects this need.
                    ZigBee achieves high reliability in a number of ways:
                        ●   IEEE 802.15.4 with O-QPSK and DSSS
                        ●   CSMA-CA
                        ●   16-bit CRCs
                        ●   Acknowledgments at each hop
                        ●   Mesh networking to find reliable route
                        ●   End-to-end acknowledgments to verify data made it to the destination

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CH01-H8597.indd 4                                                                                                    7/28/2008 5:26:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 346 of 763 PageID #:
                                       2128



                                                                                              Hello ZigBee        5

                    The first is relying on a very reliable, low-range wireless technology, the IEEE 802.15.4
                    Specification. This specification is a very modern, robust radio technology built on over 40
                    years of experience by IEEE. It uses what’s called Offset-Quadrature Phase-Shift Keying
                    (O-QPSK) and Direct Sequence Spread Spectrum (DSSS), a combination of technologies
                    that provides excellent performance in low signal-to-noise ratio environments.
                    ZigBee uses what’s called Carrier Sense Multiple Access Collision Avoidance (CSMA-
                    CA) to increase reliability. Before transmitting, ZigBee listens to the channel. When the
                    channel is clear, ZigBee begins to transmit. This prevents radios from talking over one
                    another, causing corrupted data. CSMA-CA is similar to what people do in conversations.
                    (Or at least should!) They wait for the other speaker to finish, and then talk.
                    ZigBee uses a 16-bit CRC on each packet, called a Frame Checksum (FCS). This ensures
                    that the data bits are correct.
                    Each packet is retried up to three times (for a total of four transmissions). If the packet
                    cannot get through after the fourth transmission, ZigBee informs the sending node so
                    something can be done about it.
                    Another way that ZigBee achieves reliability is through mesh networking. Mesh
                    networking essentially provides three enhanced capabilities to a wireless network:
                    extended range through multi-hop, ad-hoc formation of the network, and most
                    importantly automatic route discovery and self healing.
                    With mesh networking, data from the first node can reach any other node in the ZigBee
                    network, regardless of the distance as long as there are enough radios in between to pass
                    the message along (see Figure 1.2). Node 1 wants to communicate to node 3, but is out




                                          1

                                                                         2



                                                                                                    3


                                              4
                                                                              5

                                              Figure 1.2: ZigBee Mesh Networking

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CH01-H8597.indd 5                                                                                                     7/28/2008 5:26:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 347 of 763 PageID #:
                                       2129


                    6     Chapter 1


                                                      Barrier




                                        1

                                                                        2



                                                                                                   3


                                            4
                                                                             5


                                                Figure 1.3: ZigBee Mesh Rerouting


                    of radio range. ZigBee automatically figures out the best path and so node 1 sends the
                    information to node 2, which forwards it on to node 3.

                    Now suppose that over time, something happens to this route. Perhaps node 2 has been
                    removed or dies, or some barrier intervenes, such as a concrete wall or a large tank of
                    water. This doesn’t bother ZigBee at all. ZigBee will automatically detect the route
                    failure and route around the obstruction (see Figure 1.3).

                    In addition to mesh networking, ZigBee provides reliable broadcasting, a technique for
                    distributing a message to many nodes in the network. ZigBee also provides multicasting,
                    which can send a message to any given group of nodes. And, as a back-up routing
                    technique, ZigBee provides tree routing to augment ZigBee mesh networking in RAM
                    limited systems.
                    ZigBee also provides automatic end-to-end acknowledgments. Your application can know
                    whether a particular packet was received by the other node. With all of these retries,
                    ZigBee filters out any duplicate received packets, so your application doesn’t have to.
                    All of these concepts are explained in detail in Chapter 7, “The ZigBee Networking
                    Layer.”


                               ZigBee enhances reliability through mesh networking, acknowledgments and
                               use of the robust IEEE 802.15.4 standard.


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CH01-H8597.indd 6                                                                                             7/28/2008 5:26:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 348 of 763 PageID #:
                                       2130



                                                                                               Hello ZigBee      7

                    1.1.2    ZigBee Is Cost-Effective
                    Obviously, a book is not the place to look for current prices, but at the time of this
                    writing, ZigBee is pretty cheap. And it looks like it is getting even less expensive
                    over time. A quick search for ZigBee chips (I used http://www.DigiKey.com) yielded
                    inexpensive prices (see Table 1.1).
                    Most of the entries in the table are the price for a combination MCU and radio. That’s right,
                    a single chip solution yields prices in the $3 to $5 range, on average. One of the entries, the
                    Freescale MC13203, is a stand-alone radio that can be combined with any MCU or CPU.
                    The final two entries, the Digi International XBee and the Panasonic PAN802154, are
                    complete, ready-to-ship, precertified modules. Connect a couple of AA or AAA batteries
                    and a sensor or actuator to these boards, put it in some plastic enclosure, and ship your
                    product.
                    These prices are for low-volume sales. OEM and higher volume (10,000⫹ units) knock off
                    about a dollar, as a rule of thumb. And, as the competition for the 802.15.4 market stiffens,
                    the prices will likely be brought down even further. Some have predicted that the 802.15.4
                    radio market will see prices around $1 in quantity over the next three to five years.
                    But the low cost of ZigBee isn’t just about low silicon costs. In addition to low MCU and
                    radio costs, developing applications for ZigBee is cheap in other ways:
                        ●   It uses the 2.4 GHz spectrum for worldwide distribution.
                        ●   There are certification houses with expertise in 802.15.4 and ZigBee.

                                            Table 1.1: ZigBee Chip and Module Prices
                                     Chip                              Price      Type
                                     Freescale MC13213                  $4.43     MCU ⫹ radio
                                     Freescale MC13203                  $3.64     Radio only
                                     Texas Instruments CC2420           $4.09     MCU ⫹ radio
                                     ST Microelectronics SN260QT        $7.25     MCU ⫹ radio
                                     Ember EM2420                       $4.70     MCU ⫹ radio
                                     Ember EM260                        $5.77     MCU ⫹ radio
                                     Microchip MF24J40                  $3.72     MCU ⫹ radio
                                     Digi International XBee           $19.00     Module
                                     Panasonic PAN802154HAR00          $27.40     Module


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CH01-H8597.indd 7                                                                                                     7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 349 of 763 PageID #:
                                       2131


                    8       Chapter 1

                        ●   There are module vendors who provide ready-to-go ZigBee boards.
                        ●   Its core technology is free of patent infringements.
                        ●   It requires only low cost development environments.
                        ●   ZigBee experts are available for consulting or custom engineering.
                        ●   There are Application Profiles for ready-made vendor interoperability.

                    The 802.15.4 radios come in both 2.4 GHz and 915 MHz flavors. Radios in the 2.4 GHz
                    band may be shipped worldwide, license-free (that’s governmental RF spectrum license-
                    free, not license-free from the standpoint of vendor licenses). The 915 MHz band is
                    available license-free in the Americas. In either case, new RF boards must be certified
                    by the government to ensure they don’t interfere with other products in the intended
                    markets.

                    Some companies offer easy and relatively low-cost governmental RF certification,
                    including FCC certification in the U.S., IC in Canada, and CE Marking in Europe. Others
                    offer ZigBee certification, such as NTS and TUV.

                    Another cost saver, available because ZigBee is an international standard, is the
                    availability of modules. A module is a single board computer complete with an MCU
                    and ZigBee RF solution. Module vendors, such as Digi International, Panasonic, and LS
                    Research, provide precertified ZigBee modules, ready to communicate out-of-the-box.
                    Using this approach, the only development cost is software, and even that can be reduced
                    by using the sample programs which come with the ZigBee kits, or the built-in software
                    in the modules.

                    One other aspect that keeps the cost of ZigBee low is the ZigBee Alliance’s careful
                    choice of using patent-free technologies. ZigBee uses AES-128 bit encryption for
                    security, a standard that has no patents associated with it and is freely available
                    worldwide. ZigBee also uses AODV, a mesh networking algorithm in the public domain.
                    New members to the ZigBee Alliance must sign a disclosure statement regarding patents
                    in the area of ZigBee to help prevent members from slipping a patented technology into
                    the specification.

                    The development environment is generally inexpensive, and kits are available for around
                    $1,500, including the compiler, the ZigBee stack, some ZigBee boards, and all the
                    software and documentation necessary to develop ZigBee applications.

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CH01-H8597.indd 8                                                                                              7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 350 of 763 PageID #:
                                       2132



                                                                                                Hello ZigBee    9

                    Also, because of the ZigBee Alliance, a lot of expertise is available in the form of
                    consulting companies, training companies, or custom engineering services, saving time
                    for you or your development staff. Developer time can be the single largest expense
                    in a project, and reducing that time can save significant costs. San Juan Software, the
                    company I work for, offers ZigBee services. So does LS Research, Develco, Software
                    Technology Group, and others.
                    The ZigBee Alliance, which is the alliance of companies who developed and support
                    ZigBee as a standard, has also defined what are called Application Profiles. These
                    profiles describe how ZigBee devices interact, specifically between products of certain
                    types and within certain markets. For example, the Home Automation profile describes
                    how switches can control lights, how a temperature sensor sends its data to a thermostat
                    and how that thermostat controls a heating or cooling unit (heater or air conditioner).
                    A well-defined standard saves effort and money when developing products that need to
                    interoperate with other vendors.
                    Development costs are explored in more detail in Chapter 2, “Deciding on ZigBee.”

                                  Multiple silicon and stack vendors, ZigBee modules and many available
                                  resources all contribute to low development costs for ZigBee devices.


                    1.1.3    ZigBee Is Low-Power
                    What does the ZigBee Alliance mean when it says ZigBee is low-power? The simple
                    answer is that devices in a ZigBee network can operate for years on a pair of AA
                    batteries. Depending on the application, these devices can last the entire shelf life of the
                    batteries, which means if you placed the batteries on a shelf at room temperature with
                    nothing connected to them, they would run out of juice just as quickly as they would if
                    they were participating in a ZigBee network, about five years later. No, that doesn’t mean
                    ZigBee radios do not consume power, it just means that if managed correctly, devices can
                    last a long time.
                    Compare this to the time you get on your laptop battery: hours at best. Now, granted, your
                    laptop is powering a bright screen in addition to WiFi™. Compare this to the life of your cell
                    phone battery between recharging, especially one with Bluetooth™ enabled: days at best.
                    The real secret to low power consumption in ZigBee, in addition to radios and
                    microcontrollers that can sleep, is low duty cycle. A node on a ZigBee network does
                    not need to keep in constant contact with the network to remain on the network. In fact,

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CH01-H8597.indd 9                                                                                                    7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 351 of 763 PageID #:
                                       2133


                     10      Chapter 1

                                                                                 Zigbee Security Sensor Battery Life
                                                         20
                                                                                                                Alkaline Battery Nominal
                                                                      Any communication interval                  Shelf Life ⫽ 5 Years
                                                         18
                                                                    exceeding ~13 sec allows sensor
                                                         16       to surpass alkaline battery shelf life

                                                         14
                                  Battery Life (Years)


                                                         12

                                                         10
                                                                                                Two AA Alkaline Batteries
                                                         8

                                                         6

                                                         4

                                                         2

                                                         0
                                                              5      10     15     20     25     30        35      40    45    50    55    60
                                                                                         Check-In Interval (sec)

                                                                            Figure 1.4: ZigBee Battery Life



                     ZigBee networks are often quite silent. A temperature sensor may report only once per
                     hour, unless the temperature suddenly changes. A light switch may be toggled 6 or 10
                     times per day, possibly less.

                     Performing a simple power calculation (see Figure 1.4), demonstrates that a ZigBee node,
                     communicating at once every 13 seconds or less, achieves (or exceeds) the shelf life of the
                     battery. I’ve provided a spreadsheet which will allow you to do the calculation yourself on
                     the ZigBee Wireless Networking Web site at http://www.zigbookexamples.com.

                     I do a demonstration in my training classes where during one part of the lecture, we set
                     up a room-wide ZigBee network with 30 or so nodes. Then, 20 minutes later after I’m
                     finished explaining some ZigBee concepts including the low-duty cycle, I show the class
                     the sniffer that has been running that entire time, capturing all of the over-the-air packets
                     which have been transmitted by the ZigBee nodes. To their surprise, no ZigBee packets
                     have been exchanged over-the-air. Then the class presses buttons to wake the application
                     (switches and lights), and the packets fly. For those experienced with other networking
                     protocols, they are really impressed.

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CH01-H8597.indd 10                                                                                                                              7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 352 of 763 PageID #:
                                       2134



                                                                                                  Hello ZigBee     11

                     How to implement low power in ZigBee devices, and some of the caveats and tricks, are
                     described in Chapter 5, “ZigBee, ZDO, and ZDP.”

                                        ZigBee devices can achieve 5 years on a pair of AA batteries.



                     1.1.4    ZigBee Is Highly Secure
                     For securing the network, ZigBee uses the National Institute of Standards and Technology
                     (NIST) Advanced Encryption Standard (AES). This standard, AES-128, is a block cipher
                     that encrypts and decrypts packets in a manner that is very difficult to crack. It’s one of
                     the best-known and well-respected standards. The reason it was adopted by ZigBee was
                     for the following key reasons:
                         ●   It’s an internationally recognized and trusted standard.
                         ●   It’s free of patent infringements.
                         ●   It’s implementable on an 8-bit processor.
                     From the NIST Web site, I found this text describing the use of AES (also called
                     Rijendael), with regards to patents:
                        I, Joan Daemen, do hereby declare that to the best of my knowledge the practice of the
                        algorithm, reference implementation, and mathematically optimized implementations, I
                        have submitted, known as Rijendael may be covered by the following U.S. and/or foreign
                        patents: none.
                        I do hereby declare that I am aware of no patent applications which may cover the
                        practice of my submitted algorithm, reference implementation or mathematically optimized
                        implementations.

                     ZigBee provides both encryption, which means that packets cannot be understood
                     by listening nodes who are not aware of the key, and authentication, which means a
                     malicious node cannot inject false packets into the network and expect the ZigBee nodes
                     to do anything with them other than throw them away. ZigBee has been very careful to
                     ensure the security solution.
                     To learn more about ZigBee security, see Chapter 7, “The ZigBee Networking Layer.”


                                     ZigBee uses AES 128-bit security for encryption and authentication.



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CH01-H8597.indd 11                                                                                                      7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 353 of 763 PageID #:
                                       2135


                     12      Chapter 1

                     1.1.5    ZigBee Is an Open Global Standard
                     Go ahead, go to http://www.zigbee.org, and download the ZigBee specification right now.
                     Or go to http://www.freescale.com/zigbee and download BeeKit, the Freescale ZigBee
                     solution. Prefer TI? Use the Texas Instruments ZigBee solution instead at http://www.
                     ti.com/zigbee. Prefer a European company? Try http://www.st.com/zigbee. Prefer an
                     Asian company? Try http://www.japan.renesas.com/zigbee.
                     However you look at it, ZigBee is global, ZigBee is open, and ZigBee is standardized.
                     ZigBee uses as its foundation the IEEE 802.15.4 specification for the lower MAC and
                     PHY layers. IEEE defines a reliable radio standard in the 2.4 GHz band that may be used
                     worldwide. This standard may be freely downloaded from www.ieee.org.
                     The ZigBee specification was developed by the ZigBee Alliance, a standards body
                     with over 250 member companies from every continent in the world (except for
                     Antarctica, and the ZigBee Alliance is still looking for a company to participate from
                     there as well).
                     The ZigBee Alliance also specifies a test suite, with test cases that enforce compatibility
                     among vendors. For vendors to receive the coveted ZigBee Compliant Platform (ZCP)
                     certification, they must pass this rigorous test suite. The ZigBee Alliance regularly hosts
                     ZigFests that encourage ZigBee vendors to get together and verify that their stacks and
                     applications work together.
                     In addition to stack-level compatibility, ZigBee also defines application level
                     compatibility through Application Profiles. Application Profiles describe how various
                     application objects connect and work together, such as lights and switches, remotes and
                     televisions. The Application Profiles also specify a test suite for verifying compatibility
                     among applications from various vendors.
                     In fact, a ZigBee network is expected to have products from many vendors that all
                     interoperate. A home network may look like the one shown in Figure 1.5.
                     The remote control, with one touch, dims the Philips lights (and adjusts them from a
                     cool to a warm tone), lowers the Somfy Glystro automated shades, turns on the Panasonic
                     wide-screen television and Sony DVD player, and starts the movie. Each of these
                     devices contains ZigBee radios from different vendors: Freescale, Texas Instruments,
                     Renesas, Ember, and ST Microelectronics. Your wife comes in, says, “Hello,” and touches
                     the light switch. The lights brighten, and she finds her purse and leaves. As she leaves,

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CH01-H8597.indd 12                                                                                                 7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 354 of 763 PageID #:
                                       2136



                                                                                                    Hello ZigBee   13




                                    Figure 1.5: Multiple ZigBee Vendors in Home Automation

                     she touches the light switch again which dims the lights back to your favorite settings for
                     movies.
                     Later, both of you are headed out to dinner. A single press of the “We’re going out”
                     button on the lower left of the light switch turns everything off 30 seconds after sensors
                     detect the last motion in the house, all automatically. The convenience and power savings
                     are all possible due to ZigBee wireless devices.

                             Multiple vendors offer ZigBee stacks, silicon and application solutions.
                             The ZigBee specification can be downloaded for free from http://www.zigbee.org.


                     1.1.6    ZigBee Is Low Data Rate
                     In order to achieve low cost and low power, and considering the application space and
                     markets ZigBee is aiming for, the ZigBee Alliance decided to keep the protocol designed
                     for a low data rate environment.

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CH01-H8597.indd 13                                                                                                      7/28/2008 5:26:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 355 of 763 PageID #:
                                       2137


                     14      Chapter 1

                     ZigBee resides on IEEE 802.15.4 transceivers, which in the 2.4 GHz space communicate
                     at 250 kilobits per second (kbps), but by the time retries, encryption/decryption, and the
                     fully acknowledged mesh protocol is applied, the actual through-put is closer to 25 kbps.
                     The transceivers are half duplex, which means they are either transmitting or receiving,
                     but not both at the same time, which also is a factor in reducing the effective through-put
                     from 250 to 25 kbps. The radios are also expected to share channels, perhaps with other
                     ZigBee networks or other wireless technologies. ZigBee networks enjoy upto 16 channels
                     in the 2.4 GHz space, separated by 5 MHz each. Each channel is physically separated
                     from other channels, but ZigBee is expected to operate in environments where the number
                     of networks might be fairly dense (think of apartments and condominiums).
                     ZigBee transceivers share the 2.4 GHz spectrum with other wireless technologies,
                     including WiFi™, Bluetooth™, some cordless phones and even microwave ovens. To be
                     good spectral citizens, and co-exist with these other technologies, ZigBee has chosen to
                     keep the data rates in applications low. ZigBee is a very quiet protocol.
                     Currently, there are no ZigBee stacks that run on the 802.15.4 915 MHz radios, but that
                     will probably be up and coming when 802.15.4b is adopted, which has higher data rates
                     than the 40 kbps at which the 915 MHz radios currently communicate.

                                          ZigBee through-put is typically 25 kilobits per second.



                     1.2     The ZigBee Alliance
                     The ZigBee Alliance itself was formed in 1997 by eight Promoter companies to “enable
                     reliable, cost-effective, low-power, wirelessly networked monitoring and control products
                     based on an open global standard.” Since that time, the ZigBee Alliance has swelled to
                     over 200 member companies, many of them the market leaders in their respective markets
                     (see Figure 1.6). It continues to grow.
                     Some of you may remember the early days of IEEE 802.11, a wireless networking
                     standard touted as the next great thing for connecting laptop computers to the office
                     network. Only it didn’t work, at least not at first. An 802.11 card purchased from one
                     vendor was likely not to recognize an 802.11 router purchased from another vendor.
                     Security didn’t work well. All that changed when the WiFi Alliance formed and brought
                     the vendors together to standardize their product. Now you can’t throw an iced latté
                     without hitting a WiFi™ hot spot, all due to standards.

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CH01-H8597.indd 14                                                                                                 7/28/2008 5:26:27 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 356 of 763 PageID #:
                                       2138



                                                                                           Hello ZigBee      15




                        Figure 1.6: The ZigBee Alliance Members—Over 200 Companies and Growing!




                     Having learned the past lessons of other standards, the ZigBee Alliance is making sure
                     to roll out the technology in a way that enhances the probability of both technical and
                     market success. First of all, the standard is focused on an appropriate technology for
                     wireless control networks, the IEEE 802.15.4 radio standard with ZigBee networking
                     built on top. The ZigBee Alliance is also controlling the inevitable early hype until the
                     technology is mature enough to meet the market needs and is proven in the field. And the
                     standard is released publicly to allow comments and critical review from those outside
                     the standards body.

                     To obtain a copy of the ZigBee Specification, simply download it from ZigBee Alliance
                     Web site at http://www.zigbee.org (see Figure 1.7). Member companies of the ZigBee
                     Alliance enjoy early access to the specification, and have the opportunity to provide input
                     into the specification to make sure it is right for their markets and products.

                     The ZigBee Alliance maintains a web site with the latest ZigBee news and events, and the
                     latest publicly available technical specification. By early 2008, the ZigBee specification
                     had been downloaded over 73,000 times.

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CH01-H8597.indd 15                                                                                                 7/28/2008 5:26:27 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 357 of 763 PageID #:
                                       2139


                     16      Chapter 1




                              Figure 1.7: The ZigBee Alliance Web Site (http://www.zigbee.org)

                     Each quarter, the ZigBee Alliance hosts an open house that allows potential ZigBee
                     developers a firsthand look at the products and services offered by various ZigBee
                     vendors, as well as a sneak peak at upcoming end-user products from Original Equipment
                     Manufacturers (OEMs). As an international organization, ZigBee hosts these events
                     around the world. Each year, two are in North America, one is in Asia, and one is in
                     Europe. For example, in 2008, one open house was scheduled in Tokyo, Japan, and
                     another was scheduled in Atlanta, GA.
                     The ZigBee Alliance also hosts booths at the many wireless and embedded shows
                     worldwide. If you’re independently wealthy, love ZigBee, and have too much time on
                     your hands, you could spend every week of the year at some ZigBee event!
                     Twice a year, the ZigBee Alliance hosts the ZigBee Developers Conference. This
                     conference is for the serious developer who really wants to understand ZigBee in-depth.

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CH01-H8597.indd 16                                                                                             7/28/2008 5:26:28 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 358 of 763 PageID #:
                                       2140



                                                                                         Hello ZigBee      17

                     Developers get hands-on experience developing a variety ZigBee platforms, and even get
                     a chance to deploy networks around the conference area using standard commissioning
                     techniques.


                     1.2.1    The ZigBee Alliance Ecosystem
                     Probably the single most important reason to use ZigBee in a product is that the
                     technology is standardized. There are already lots of proprietary wireless products
                     that cover various markets, from home automation to industrial automation. There are
                     proprietary mesh networks, even ones that run on the 802.15.4 radios. But standards bring
                     two things that proprietary systems cannot:

                         ●   Many diverse companies using and defining the standard
                         ●   Economies of scale

                     The ZigBee Alliance actively seeks an entire ecosystem of companies These range from
                     silicon vendors (such as Freescale, ChipCon, Atmel, Ember, and others) to original
                     equipment manufacturers (OEMs) which are researching and developing products
                     designs using ZigBee companies (such as Philips Lighting, a world leader in lighting
                     products, Invensys, a world leader in smoke alarms, Mitsubishi, Johnson Controls, Trane,
                     and Eaton, all leaders in heating, ventilation, and air-conditioning (HVAC)). The ZigBee
                     Alliance also comprises of tool vendors, test houses, NRE and consulting companies,
                     training companies, and ready-made ZigBee module vendors which provide precertified
                     modules ready to be incorporated into products.

                     So what does the ZigBee Alliance offer to you? Choices. You have a choice of radio
                     vendors, a choice of stack vendors, and a choice of tool vendors. It also means a broader
                     and deeper technology. Someone out there has probably already written a large portion of
                     the software needed for your product, or a hardware vendor has created a platform which
                     can reasonably meet your field trial needs, allowing you to get to market much more
                     quickly and less expensively than could be done with a proprietary solution.

                     In addition, standards often lead to surprising technologies and markets. Who would have
                     thought of the World Wide Web when TCP/IP was first invented? Now you have email,
                     browsers, Google, Amazon.com, eBay, Voice over IP (VoIP), and blogs. Imagine what
                     might happen when wireless sensor and control networks are cheap and connected to the
                     world via the Internet? What applications might be possible?

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CH01-H8597.indd 17                                                                                               7/28/2008 5:26:28 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 359 of 763 PageID #:
                                       2141


                     18        Chapter 1

                     As one industry pundit put it:
                          Just as the personal computer was a symbol of the ’80s, and the symbol of the ’90s was the
                          World Wide Web, the next nonlinear shift, is going to be the advent of cheap sensors.
                                                                                 —Paul Saffo, Institute for the Future.

                     I just ordered my Apple iPhone™ online. When it arrived, I activated it in minutes
                     over the Web, synced it with iTunes® from my laptop and now have a phone that does
                     everything but wash my dishes.
                     What changes can we expect with wireless sensor and control networks? With ZigBee?

                     1.2.2      ZigBee Alliance Certification
                     The ZigBee Alliance is also the gatekeeper who enforces compliance and compatibility.
                     Through its test houses, the ZigBee Alliance provides certification, both for ZigBee
                     platforms (radio and stack) and for ZigBee end products. The two ZigBee Alliance
                     approved test houses for ZigBee certification are NTS and TUV.
                     ZigBee Certified Platforms (ZCP) mean that the combination of radio and stack have
                     been certified to interoperate with other stack vendors. ZigBee uses four “Golden Units,”
                     each from a different platform vendor to ensure compatibility. The four Golden Units
                     are currently from Freescale, Texas Instruments, Ember, and Integration. There are also
                     ZigBee stacks out there that are not certified, but if you use one of these, don’t count on
                     interoperability with other stacks.
                     Applications interoperate through what is called an Application Profile. With each
                     Application Profile, test suites are defined and used by test houses to ensure that
                     products interoperate with each other if they are within the same application domain, or
                     that they at least do no harm to other ZigBee networks if they are proprietary applications.
                     When an application completes certification, it is then approved to use the ZigBee logo
                     on products. I’ll describe more about the (current) fees and process of certification in
                     Chapter 2, “Deciding on ZigBee.”

                     1.2.3      ZigBee Alliance Membership
                     I can’t say it better, so I’ll just repeat what you see when you look at the “Become a
                     Member” page on the ZigBee Alliance Web site:
                          Help create the future of wireless data networking. As a ZigBee Alliance member, you can
                          actively shape and take advantage of the evolution in wireless monitoring and control

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CH01-H8597.indd 18                                                                                                        7/28/2008 5:26:29 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 360 of 763 PageID #:
                                       2142



                                                                                              Hello ZigBee       19

                        markets worldwide. By participating in member meetings, committees, and working
                        groups, your company can help shape the ZigBee standard for reliable, secure, and low-
                        power wireless communications. Companies from virtually every industry and every
                        country are joining the ZigBee Alliance.

                     Becoming a member of the ZigBee Alliance is easy: simply fill out the online form,
                     sign the license agreement, and pay some money. The price depends on the class of
                     membership. For OEMs that usually means the least expensive Adopter class. There are
                     three classes of ZigBee Alliance membership:
                         ●   Promoter
                         ●   Participant
                         ●   Adopter
                     The Promoter membership class must be approved by vote of the other Promoters within the
                     ZigBee Alliance. Promoters get first-pick of booth location at trade shows, are offered the
                     first chance at sponsorship for various events, and receive the right to vote on all proposals.
                     They can even veto a decision made by the Participants within the Alliance, although I’ve
                     never seen this happen. At the time of this writing there are 12 Promoter members.
                     Participants, along with Promoters, are ZigBee Alliance members who develop the
                     ZigBee specification. They vote on all the specifications produced by the ZigBee
                     Alliance, including the main ZigBee specification, the test suite specifications, the
                     ZigBee Cluster Library and Application Profiles.
                     Adopters make up the bulk of the membership. These members are typically OEMs. They
                     gain early access to the specifications and may participate in the application-working
                     group meetings, but they do not receive voting rights, nor do they actively participate in
                     the ZigBee specification itself, only in the Application Profiles.
                     ZigBee Alliance membership is required in order for OEMs to ship products with ZigBee
                     technology inside. ZigBee can be used free of charge by universities and other non-profit
                     organizations.
                     The ZigBee Alliance is very much a volunteer organization. Not only do members pay to
                     be part of the Alliance, but they pay their own way to the quarterly face-to-face meetings
                     and spend their own time developing and reviewing specifications. The ZigBee Alliance
                     hires Global Inventures to maintain the Web site and market and promote ZigBee as a
                     standard worldwide. The chairman of the ZigBee Alliance is a paid position as well. But
                     the rest of us work for free. And it’s worth it.

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CH01-H8597.indd 19                                                                                                     7/28/2008 5:26:29 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 361 of 763 PageID #:
                                       2143


                     20      Chapter 1

                     The real benefits of membership include early access to the specifications (get that jump
                     on your competition) and ready access to experts who have many years of experience in
                     wireless control, which can help you avoid costly pitfalls.
                     If your company wants to drive a particular market, providing input into the ZigBee
                     Application Profiles can make sure the profile covers your customer’s needs. The ZigBee
                     Alliances encourages multiple vendors in a given market to provide their input into the
                     specifications. The Application Profiles then become stronger and are better suited to their
                     intended markets. In fact, ZigBee won’t approve a specification until at least three vendors
                     provide interoperable products or platforms. Just don’t expect it to happen quickly; it’s
                     usually a year before an Application Profile matures from conception to specification.
                     If your company is planning to provide products or services for the wireless control
                     space, becoming a ZigBee Alliance member can be a good investment.


                           ZigBee Alliance membership is required in order to ship ZigBee technology in products.
                           Alliance membership provides early access to specifications.



                     1.3     ZigBee in the Marketplace
                     ZigBee is beginning to be found in many, many applications.
                     The uses of ZigBee span so many markets it is difficult to categorize them in a single
                     paragraph. Think of the devices around you. How many of them currently have wires
                     to control them? Think of lights and light switches. (Hint: Philips Lighting is heavily
                     involved in ZigBee.) Think of heating, ventilation, and air-conditioning. (Another hint:
                     Schneider Electric, Mitsubishi, Eaton, Trane, and Johnson Controls are also involved in
                     ZigBee.) Think advanced electrical, gas, and water metering (Itron, CellNet), irrigation
                     systems that water on demand rather than on a schedule, industrial plants that monitor
                     and control production, medical devices that free a patient to go home early from a
                     hospital. A week doesn’t go by when I don’t hear of another product concept which is
                     using or could be using ZigBee.
                     As of this writing, ZigBee has not yet started to appear in the Home Depot or Fry’s
                     Electronics, but it has been successfully deployed in both industrial and commercial
                     products, operating in hotels, office buildings, and factories (see Figure 1.8). Over the
                     next few years you can expect to see consumer devices with the ZigBee logo on them in

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CH01-H8597.indd 20                                                                                                  7/28/2008 5:26:29 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 362 of 763 PageID #:
                                       2144



                                                                                                         Hello ZigBee     21

                                           Security
                                                                                                    TV
                                            HVAC
                                                                                                    DVD/CD
                                             AMR
                                                                                                    Remote
                                  Lighting Control
                                                        BUILDING                   CONSUMER         Cell Phone
                                  Access Control
                                                       AUTOMATION                 ELECTRONICS
                                                                                                             Irrigation
                                 Patient                               ZigBee                                Fertilizer
                               Monitoring                      Wireless Control that                         Golf
                                 Fitness                          Simply Works                               Course
                               Monitoring    PERSONAL                                           PRECISION
                                                                                                             Farm &
                                            HEALTH CARE                                        AGRICULTURE
                                                                                                             Ranch

                                                                                                  Security
                                  Asset Management                              RESIDENTIAL/
                                                                                   LIGHT
                                                                                                  HVAC
                                     Process Control      INDUSTRIAL
                                                           CONTROL              COMMERCIAL        Lighting Control
                                      Environmental                              CONTROL          Access Control
                                 Energy Management                                                Lawn & Garden
                                                                                                  Irrigation

                                                       Figure 1.8: ZigBee Markets


                     cell phones and home automation products. The ZigBee Alliance targets a set of markets
                     that make good sense for this technology.
                     While ZigBee cannot (or should not) send video over-the-air, it can control the AV system
                     and in-home theater. ZigBee can also control pool pumps, lights, and HVAC equipment.
                     Wires are notoriously difficult in agriculture and on golf courses. ZigBee fits well with
                     automated control and monitoring in these environments. ZigBee is highly secure, and so
                     works well for markets that target secure access.
                     The ZigBee specification that you download describes how ZigBee works as a
                     networking protocol. What is not included (at least at the time of this writing) is
                     how applications interact through what are called Application Profiles. To access the
                     Application Profile specifications, you must become a member of the ZigBee Alliance.
                     Application Profiles describe the over-the-air behavior of devices in each of the wireless
                     control domains. They include, at the time of this writing:
                         ●   Home Automation
                         ●   Commercial Building Automation
                         ●   Industrial Plant Monitoring
                         ●   Telecommunications Applications

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CH01-H8597.indd 21                                                                                                             7/28/2008 5:26:29 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 363 of 763 PageID #:
                                       2145


                     22       Chapter 1



                                      • Information Services                   Operator
                                          – Information delivery in hot zone   Network
                                          – Public information enquiry
                                          – Location services




                                              ZigBee HotSpot



                                      Figure 1.9: Telecom Application Information Services

                          ●   Automatic Metering Initiative
                          ●   Personal Home and Health Care
                     In Telecommunications Applications (TA), for example, companies are creating products
                     that can introduce location-based services (see Figure 1.9). These services could advertise
                     specials, services, or sales (at your option) based on the location of your cell phone. The
                     cell phone company already knows where your phone is from a cell tower perspective,
                     but that can be a 15-mile radius or more, far too broad for location-based services.
                     ZigBee, as both a low-power and shorter-range protocol, can provide local shops and
                     restaurants a way to reach you as you walk a city or village street. Perhaps you are hungry
                     and your cell phone informs you that a few blocks away, a cozy bistro is open, tucked into
                     an interesting street corner. Normally, you would not have seen this restaurant unless you
                     knew someone locally. Now, you have the most memorable meal of the year due to ZigBee.
                     In the Personal Home and Health Care (PHHC) arena, ZigBee can monitor a patient’s
                     condition, including heart rate, movement (to detect a fall), blood pressure and other
                     medical information and can communicate this data securely to the hospital. The doctors
                     and nurses can be kept apprised of the status of the patient, sending a staff member to the
                     house immediately in the rare case of an emergency. This frees up the hospital bed early
                     on, making medical care both less expensive and more comfortable for the patient.
                     Home Automation, one of the early ZigBee Application Profiles, covers all of the devices
                     ZigBee expects to see in the home (see Table 1.2).

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CH01-H8597.indd 22                                                                                                 7/28/2008 5:26:29 PM
                       Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 364 of 763 PageID #:
                                                           2146
CH01-H8597.indd 23




                                                                      Table 1.2: ZigBee Home Automation Devices
                                       Main Structure (194)                                        Garage (16)
                                       ●   14 Window sensors (battery)                             ●   2 Door sensors (battery)
                                       ●   7 External doors (battery)                              ●   2 Door latches/deadbolts (battery)
                                       ●   4 Door latches/deadbolts (battery/solar)                ●   1 Garage door opener (mains)
                                       ●   11 Internal doors (battery)                             ●   2 Garage door/home remotes (battery)
                                       ●   40 Internal and external light fixtures (mains)         ●   2 Occupancy/parking space/position monitor (battery)
                                       ●   26 Circuit breaker monitors (mains)                     ●   3 Light fixtures (mains)
                                       ●   15 Occupancy/motion sensors (battery)                   ●   3 Remote light switches (battery)
                                       ●   6 Thermostats (battery)                                 ●   1 Driveway monitor (battery/solar)
                                       ●   10 Control dampers (battery or mains)
                                       ●   1 Heat pump (mains)                                     Landscaping (53)
                                       ●   1 Air blower (mains)                                    ●   4 Low-voltage light strings (mains)
                                       ●   4 Pipe/Water monitors (battery)                         ●   20 Sprinkler heads (battery)
                                       ●   1 Oven/Burner sensor (mains)                            ●   3 Pool pump, filter, heater (mains)
                                       ●   3 Ceiling ventilator/heater control/monitors (mains)    ●   10 Spot watering devices (battery)
                                       ●   5 Smoke detectors (battery or mains/battery)            ●   4 Sets semi-permanent holiday lights (mains)
                                       ●   3 CO detectors (battery)                                ●   1 Pool monitor (battery)
                                       ●   6 Controllable outlets (mains)                          ●   1 Gate monitor (battery)
                                       ●   2 Standing water detectors (battery)                    ●   10 Landscape moisture monitors (battery)
                                       ●   1 Earthquake shutoff sensor (battery)
                                       ●   1 Electric meter monitor (mains)                        Other (30)
                                       ●   1 Gas meter monitor (battery)
                                       ●   1 Gas main shutoff (battery)
                                                                                                   ●   6 Exterior hose bib monitors (battery)
                                       ●   1 Water meter monitor (battery)
                                                                                                   ●   1 Mailbox monitor (battery/solar)
                                       ●   1 Water main shutoff (battery)
                                                                                                   ●   1 Water softener monitor (battery/mains)
                                       ●   10-in wall mold/moisture monitors (battery)
                                                                                                   ●   1 Pet door control (battery)
                                       ●   2 Fireplace flue/damper monitors (battery)
                                                                                                   ●   2 Pet ID tags (battery)
                                       ●   2 Attic ventilators (mains)
                                                                                                   ●   1 “Change–the–litter” monitor (battery)
                                       ●   4 Attic temperature/moisture sensors (battery)
                                                                                                   ●   1 Water bowl monitor (battery)
                                       ●   5 Under-house crawl space moisture monitors (battery)
                                                                                                   ●   3 Televisions (mains)
                                       ●   2 Under-house crawl space ventilators (mains)
                                                                                                   ●   5 Major appliances (mains/battery)
                                       ●   3 Ceiling ventilator/heater control/monitors (mains)
                                                                                                   ●   3 Sets remote speakers (mains/battery)
                                       ●   5 Smoke detectors (battery or mains/battery)
                                                                                                   ●   1 Cable settop box (mains)
                                       ●   3 CO detectors (battery)
                                                                                                   ●   1 Sound system (mains)
                                       ●   6 Controllable outlets (mains)
                                                                                                   ●   Many remote controls (battery)
                                       ●   2 Standing water detectors (battery)
                                                                                                   ●   1 Perimeter fence monitor (battery/solar)
                                       ●   1 Earthquake shutoff sensor (battery)
                                       ●   1 Electric meter monitor (mains)
                                       ●   2 Doorbell buttons (battery), 1 doorbell (mains)
                                       ●   2 Video Snapshot security cams (battery)
7/28/2008 5:26:30 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 365 of 763 PageID #:
                                       2147


                     24      Chapter 1

                     At first blush, this list looks ridiculous. Is it realistic to have nearly 300 wireless devices
                     in the home? But read down the list. Many of these devices you already have in your
                     home (and probably wired). What if you were making a new home or doing a remodel
                     and could save thousands of dollars? What if you just want the added convenience of a
                     one-touch “I’m going to work” or “I’m going on vacation” button that would set all the
                     devices in your home to a preset condition, such as turning out all the lights but a few that
                     do a random pattern, or turning down the air-conditioning or heating in all rooms but the
                     one with your prize orchid collection? What if this also saved you money on your energy
                     bill and paid for itself in a few years?

                     What if you wanted the convenience of a TV remote control that with one touch would
                     turn down the lights to your preferred setting, lower the blinds and turn on your surround-
                     sound system, television, and DVD player, and even turn the telephone ringer off? Better
                     yet, what if the act of just inserting the DVD into the player did all that?

                     What if the entire state of your home was accessible to you from the Web? What if you
                     could let your friend or neighbor into the house from your cell phone?

                     Many of these systems are realities today in higher-end systems (just visit http://www.
                     crestron.com for some examples). But, like the cell phone which once was only for the
                     elite, these features will become commonplace in the not-too-distant future. And many of
                     them will be on ZigBee.

                     The next couple of examples are based on the ZigBee Home Automation Profile. They
                     start with the basics: a simple light and a switch. While not all that sophisticated, lights
                     and switches use nearly all the commands that any other device might use, and they
                     provide instant feedback to the user (just press the button, and watch the remote light
                     shine).


                                     ZigBee covers many markets, including home, commercial and
                                     industrial automation, medical and location-based services.



                     1.4      Hello ZigBee (A First ZigBee Network)
                     It wouldn’t be a programming book without a “Hello World” program. And in ZigBee
                     terms, “Hello World” is an on and off light and switch. In this example, you’ll get your

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CH01-H8597.indd 24                                                                                                     7/28/2008 5:26:30 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 366 of 763 PageID #:
                                       2148



                                                                                           Hello ZigBee        25

                     first experience running a ZigBee network and get your first quick first look at ZigBee
                     source code.

                     The concept of this example is very simple: two boards collectively form a ZigBee
                     network, one of which is a switch, and the other, a light (see Figure 1.10). The switch
                     is able to remotely, wirelessly, toggle the light on and off. The networked is formed
                     and a connection is made between the two devices automatically: Simply turn them
                     both on.

                     To find the source code to this example (Example 1-1), go to http://www.
                     zigbookexamples/code.

                     The boards used for this example are Freescale Sensor Remote Boards (SRBs), which
                     are available in a variety of Freescale ZigBee development kits. The kit I used was the
                     Freescale 1321xNSK (Network Starter Kit), which can be found from the Freescale
                     ZigBee home page http://www.freescale.com/zigbee.

                     Look on that page for “Hardware Development Kits,” and it will lead you right to it.
                     I’m making the assumption, of course, that Freescale hasn’t changed the site
                     significantly since I’ve written this. But even if they have, the kit won’t be hard to
                     find anyway.

                     The original version of this demo ran in October 2006 during the development of the
                     Freescale ZigBee Home Automation applications. For fun, rather than blinking an LED




                       HA OnOffSwitch                HA OnOffLight
                           (ZED)                         (ZC)




                                                    Figure 1.10: Hello ZigBee

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CH01-H8597.indd 25                                                                                                  7/28/2008 5:26:30 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 367 of 763 PageID #:
                                       2149


                     26      Chapter 1

                     on and off, the developers controlled a lighted pumpkin (it was close to Halloween) and
                     his nickname was, of course, “Jack.” The developer of the application, Dalila, dutifully
                     made C macro constants for these commands. There was gCmdJackToggle_c to toggle
                     the light, gCmdJackOn_c to turn the light on, and of course gCmdJackOff_c to turn the
                     light off. Correct naming convention or not, our development staff still hasn’t let Dalila
                     live it down.

                     You’ll notice the figure includes the terms (ZED) and (ZC) in parentheses underneath
                     the two nodes. These are ZigBee acronyms which stand for ZigBee End-Device and
                     ZigBee Coordinator. ZigBee End-Devices (ZEDs) are designed to be low-power
                     boards, able to run for years on a pair of AA batteries. A stick-on-the-wall light switch is
                     a classic example of this type of device. ZigBee Coordinators (ZCs) are the only
                     ZigBee device-type that can form (as opposed to join) a network. In this small two-node
                     network, the light, which is probably mains powered, is a natural choice for the
                     ZigBee Coordinator.

                     You’ll also notice the figure includes the terms HA OnOffSwitch and HA OnOffLight.
                     The ZigBee Home Automation (HA) Application Profile describes a large set of standard
                     devices that are expected to be wireless in the home, including switches and lights. Think
                     of an HA OnOffSwitch as the type of switch you put into your wall to control lights, or
                     anything else that has two states.

                     ZigBee is generally like that, defining general-purpose over-the-air interfaces. This same
                     switch could be bound (connected) to a ceiling fan to cool the room, or to your water
                     main to shut off water with the flick of a switch, or to even set your entire home into
                     “vacation” mode: turning down the heat, turning off all the lights but a select few,
                     and arming your security system. More about that in Chapter 6, “The ZigBee Cluster
                     Library.”

                     So go ahead, turn on both devices, then press switch one (SW1) on the HA OnOffSwitch
                     and watch the remote-controlled pumpkin light up! If you don’t have a pumpkin
                     to light, LED2 on the HA OnOffLight will toggle as you press SW1 on the HA
                     OnOffSwitch.

                     If you actually want to control a pumpkin (or any other external light), simply connect
                     the light (with proper circuitry) to the 3V GPIO Port B, pin 6, which physically translates


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CH01-H8597.indd 26                                                                                                  7/28/2008 5:26:31 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 368 of 763 PageID #:
                                       2150



                                                                                              Hello ZigBee    27

                                                                 J103                    Port D/G
                                       VCC      PTD5         1          2    PTD4
                                                PTD7         3          4    PTD6
                                                             5          6    PTG1/XTAL
                                                PTA0/KBD0    7          8    PTA1/KBD1   Port A
                                                PTA2/KBD2    9          10   PTA3/KBD3
                                                PTA4/KBD4   11          12   PTA5/KBD5
                                                PTA6/KBD6   13          14
                                                PTC0/TxD2   15          16   PTC1/RxD2   Port C
                                                PTC2/SDA    17          18   PTC3/SCL
                                                PTB0/AD0    19          20   PTB1/AD1
                                                PTB2/AD2    21          22   PTB3/AD3
                                                PTB4/AD4    23          24   PTB5/AD5    Port B
                                                PTB6/AD6    25          26   PTB7/AD7

                                                                 Jumper_2x13

                                                 Figure 1.11: SRB External Pins



                     to pin 25 on the external 26-pin connector located at the back of the SRB board. The
                     illustration of the pumpkin shows where to connect it (see Figure 1.11). The schematic
                     to the SRB and all other Freescale reference boards are available for download from
                     the Freescale Web site. Also, see the Freescale MC9S08GT60 Data Sheet for more
                     information about GPIO pins on this 8-bit microcontroller.

                     So what happens from a ZigBee perspective?

                         ●   The HA OnOffLight (ZC) forms the network.
                         ●   The HA OnOffSwitch joins the network.
                         ●   The HA OnOffSwitch finds the light and binds to it.
                         ●   The HA OnOffSwitch can toggle the light with SW1.

                     During the first step, the HA OnOffLight, which is the ZigBee Coordinator forms the
                     network. In this case, the light forms the network on channel 25, one of the 16 channels
                     available to 2.4 GHz 802.15.4 ZigBee radios. Channels are numbered 11–26, in ZigBee
                     terms. The network has a particular PAN ID, in this case 0x3bab.

                     During the second step, the HA OnOffSwitch then joins the network, and it receives a
                     short address (also called a network address) from the HA OnOffLight when it joins.



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CH01-H8597.indd 27                                                                                                 7/28/2008 5:26:31 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 369 of 763 PageID #:
                                       2151


                     28      Chapter 1

                     In this case it happens to be 0x796f. You’ll find out why when I discuss CSkip and
                     ZigBee tree routing in Chapter 7, “The ZigBee Networking Layer.”

                     During the third step, the HA OnOffSwitch then looks for a light. In this case it’s
                     using a ZigBee mechanism called Match Descriptor. Match Descriptor returns the
                     address of the ZigBee light, which could be any device in a ZigBee network with
                     hundreds of devices.

                     During the fourth step, the user (you) presses switch one (SW1) on the HA OnOffSwitch.
                     This causes a ZigBee message to be generated and sent over-the-air. This process is called
                     an APSDE-DATA.request, or simply, a data request.

                     The packets generated over-the-air are shown in the screen capture. If you look at packet
                     sequence number (Seq. No.) 5, you’ll see the HA OnOffSwitch joining the network
                     with an Association Request. There is no line to show the HA OnOffLight forming the
                     network as ZigBee is silent when it forms a network, other than issuing a Beacon Request
                     to make sure there are no conflicts.

                     Look at Seq. No. 11 and you’ll see the HA OnOffSwitch sending out the Match
                     Descriptor request. It receives the response on Seq. No. 17, and now knows where the
                     light can be found in the network. Granted, this is overkill for a network of two devices.
                     ZigBee could have just as easily sent directly to node 0x0000, the light, but this code
                     works in the more general case as well with a network of any size.

                     Then, in Seq. No. 22, you can see the HA OnOffToggle command go over-the-air to
                     toggle the remote HA OnOffLight. Really, not very many packets at all considering that
                     ZigBee has formed a two-node network, commissioned the devices to speak to each
                     other, and controlled a remote device:




                     www.n ewn es p res s .c o m




CH01-H8597.indd 28                                                                                                7/28/2008 5:26:31 PM
                                                 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 370 of 763 PageID #:
                                                                                     2152
CH01-H8597.indd 29




                                                Seq                                             Nwk      Nwk
                                                No.   MAC Src              MAC Dest             Src      Dest     Protocol          Packet Type

                                                 1                         0xffff                                 IEEE 802.15.4     Command: Beacon Request
                                                 2                         0xffff                                 IEEE 802.15.4     Command: Beacon Request
                                                 3                         0xffff                                 IEEE 802.15.4     Command: Beacon Request
                                                 4    0x0000                                                      IEEE 802.15.4     Beacon:
                                                 5    0x0050c211dc051801   0x0000                                 IEEE 802.15.4     Command:Association Request
                                                 6                                                                IEEE 802.15.4     Acknowledgment
                                                 7    0x0050c211dc05180    0x0000                                 IEEE 802.15.4     Command: Data Request
                                                 8                                                                IEEE 802.15.4     Acknowledgment
                                                 9    0x0050c210080c9c13   0x0050c211dc051801                     IEEE 802.15.4     Command: Association Response
                                                10                                                                IEEE 802.15.4     Acknowledgment
                                                11    0x796f               0x0000               0x796f   0xfffd   Zigbee APS Data   ZDP:MatchDescReq
                                                12                                                                IEEE 802.15.4     Acknowledgment
                                                13    0x0000               0xffff               0x796f   0xfffd   Zigbee APS Data   ZDP:MatchDescReq
                                                14    0x0000               0xffff               0x796f   0xfffd   Zigbee APS Data   ZDP:MatchDescReq
                                                15    0x796f               0x0000                                 IEEE 802.15.4     Command: Data Request
                                                16                                                                IEEE 802.15.4     Acknowledgment
                                                17    0x0000               0x796f               0x0000   0x796f   Zigbee APS Data   ZDP:MatchDescRsp
                                                18                                                                IEEE 802.15.4     Acknowledgment
                                                19    0x0000               0xffff               0x796f   0xfffd   Zigbee APS Data   ZDP:MatchDescReq
                                                20    0x796f               0x0000                                 IEEE 802.15.4     Command: Data Request
                                                21                                                                IEEE 802.15.4     Acknowledgment
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                                                22    0x796f               0x0000               0x796f   0x0000   Zigbee APS Data   HA:On/off
                                                23                                                                IEEE 802.15.4     Acknowledgment
                                                24    0x796f               0x0000                                 IEEE 802.15.4     Command: Data Request
                                                25                                                                IEEE 802.15.4     Acknowledgment
                                                26    0x796f               0x0000               0x796f   0x0000   Zigbee APS Data   HA:On/off
                                                27                                                                IEEE 802.15.4     Acknowledgment
                                                28    0x796f               0x0000                                 IEEE 802.15.4     Command: Data Request
                                                29                                                                IEEE 802.15.4     Acknowledgment
                                                30    0x796f               0x0000                                 IEEE 802.15.4     Command: Data Request
                                                31                                                                IEEE 802.15.4     Acknowledgment
7/28/2008 5:26:31 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 371 of 763 PageID #:
                                       2153


                     30      Chapter 1

                     There are a lot of other packets shown in the capture, and all of them will become clear to
                     you by the end of this book, but one thing at a time. First, examine the toggle command
                     in a bit more detail. The packet is 30 octets in length.

                     Frame 22 (Length ⫽ 30 bytes)
                        Time Stamp: 14:00:55.739
                        Frame Length: 30 bytes
                        Capture Length: 30 bytes
                        Link Quality Indication: 122
                        Receive Power: -58 dBm
                     IEEE 802.15.4
                        Frame Control: 0x8861
                           .... .... .... .001 ⫽ Frame Type: Data (0x0001)
                           .... .... .... 0... ⫽ Security Enabled: Disabled
                           .... .... ...0 .... ⫽ Frame Pending: No more data
                           .... .... ..1. .... ⫽ Acknowledgment Request: Acknowledgement
                     required
                           .... .... .1.. .... ⫽ Intra PAN: Within the PAN
                           .... ..00 0... .... ⫽ Reserved
                           .... 10.. .... .... ⫽ Destination Addressing Mode: Address field
                     contains a 16-bit short address (0x0002)
                           ..00 .... .... .... ⫽ Reserved
                           10.. .... .... .... ⫽ Source Addressing Mode: Address field
                     contains a 16-bit short address (0x0002)
                        Sequence Number: 57
                        Destination PAN Identifier: 0x3bab
                        Destination Address: 0x0000
                        Source Address: 0x796f
                        Frame Check Sequence: Correct
                     ZigBee NWK
                        Frame Control: 0x0048
                           .... .... .... ..00 ⫽ Frame Type: NWK Data (0x00)
                           .... .... ..00 10.. ⫽ Protocol Version (0x02)
                           .... .... 01.. .... ⫽ Discover Route: Enable route discovery (0x01)
                           .... ...0 .... .... ⫽ Multicast
                           .... ..0. .... .... ⫽ Security: Disabled
                           .... .0.. .... .... ⫽ Source Route
                           .... 0... .... .... ⫽ Destination IEEE Address: Not Included
                           ...0 .... .... .... ⫽ Source IEEE Address: Not Included
                           0. .... .... ⫽ Reserved
                        Destination Address: 0x0000
                        Source Address: 0x796f
                        Radius ⫽ 10
                        Sequence Number ⫽ 190



                     www.n ewn es p res s .c o m




CH01-H8597.indd 30                                                                                                 7/28/2008 5:26:31 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 372 of 763 PageID #:
                                       2154



                                                                                             Hello ZigBee       31

                     ZigBee APS
                        Frame Control: 0x00
                           .... ..00 ⫽ Frame Type: APS Data (0x00)
                           .... 00.. ⫽ Delivery Mode: Normal Unicast Delivery (0x00)
                           ...0 .... ⫽ Indirect Address Mode: Ignored
                           ..0. .... ⫽ Security: False
                           .0.. .... ⫽ Ack Request: Acknowledgement not required
                           0... .... ⫽ Reserved
                        Destination Endpoint: 0x08
                        Cluster Identifier: On/off (0x0006)
                        Profile Identifier: HA (0x0104)
                        Source Endpoint: 0x08
                        Counter: 0xd8
                     ZigBee ZCL
                        Frame Control: 0x01
                           .... ..01 ⫽ Frame Type: Command is specific to a cluster (0x01)
                           .... .0.. ⫽ Manufacturer Specific: The manufacturer code field
                     shall not be included in the ZCL frame. (0x00)
                            .... 0... ⫽ Direction: From the client side to the server side.
                     (0x00)
                            0000 .... ⫽ Reserved: Reserved (0x00)
                        Transaction Sequence Number: 0x42
                        Command Identifier: Toggle (0x02)

                     As is typical of many ZigBee application-level commands, there are four frames in this packet:
                         ●   The IEEE 802.15.4 (or MAC) frame
                         ●   The ZigBee network (NWK) frame
                         ●   The ZigBee application (APS) frame
                         ●   The ZigBee Cluster Library (ZCL) frame
                     The MAC frame is responsible for the PAN ID and the per-hop information. The NWK
                     frame is responsible for multi-hop communication. The APS frame is responsible for the
                     applications and the ZCL frame contains specific application commands.

                     Notice that the Profile Identifier (0x0104) in the ZigBee APS frame is called HA, which
                     stands for Home Automation. This is the same profile used by all devices in the Home
                     Automation specification. The Cluster Identifier indicates which set of commands this
                     particular command belongs to, in this case, the OnOff Cluster. Then, looking in the
                     ZigBee Cluster Library (ZCL) frame, you’ll see the Command Identifier: in this case
                     toggle.



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CH01-H8597.indd 31                                                                                                    7/28/2008 5:26:31 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 373 of 763 PageID #:
                                       2155


                     32      Chapter 1

                     The following code is the (abbreviated) source code for the ZigBee “Hello World,” on
                     the switch side. Notice that it follows the same set of steps as in the preceding outline
                     by using a small-state machine. It starts out by indicating that it wants to join a network.
                     Then, once the network is started, it moves on to finding the light. Then it goes to the
                     application-ready state so SW1 can be used to toggle the remote light.
                     Something that’s interesting, that is not obvious at first with ZigBee, is that it’s irrelevant
                     which device you turn on first. If the HA OnOffSwitch is started first, it will keep trying
                     to join until the HA OnOffLight forms the network, then the switch will join it. This
                     behavior is adjustable, of course, under application control, but it’s a sensible default, and
                     is typical of ZigBee systems. They can be put together in a very ad hoc (random) fashion,
                     and they just work.
                     void BeeAppInit( void )
                     {
                       /* start with all LEDs off */
                       ASL_InitUserInterface(“HaOnOffSwitch”);
                       /* tell the network to join automatically */
                       TS_SendEvent(gAppTaskID, gAppEvtStartNetwork_c);
                     }

                     void BeeAppTask( event_t events )
                     {
                       /* join the network automatically */
                       if(events & gAppEvtStartNetwork_c)
                         ASL_HandleKeys(gKBD_EventSW1_c);
                       /* go find the light */
                       if(events & gAppEvtNetworkStarted_c)
                         ASL_HandleKeys(gKBD_EventSW3_c);
                       /* found the light, go to application mode */
                       if(events & gAppEvtFoundLight_c)
                         ASL_HandleKeys(gKBD_EventLongSW1_c);
                     }

                     The concept of BeeAppInit() and BeeAppTask() are Freescale BeeStack concepts which
                     I’ll describe in some detail in Chapter 3, “The ZigBee Development Environment.”
                     Freescale BeeStack is the ZigBee stack portion of their ZigBee Compliant Platform.
                     Basically, all ZigBee systems operate under some multitasking kernel, because
                     networking and multitasking fit well together.

                     The ASL_HandleKeys() function takes keys as input, and is normally called from the
                     keyboard callback function, BeeAppHandleKeys(). Freescale uses a standard keyboard,
                     LED and LCD interface for all of their sample applications and they call this the

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CH01-H8597.indd 32                                                                                                     7/28/2008 5:26:32 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 374 of 763 PageID #:
                                       2156



                                                                                            Hello ZigBee      33

                     Application Support Library (ASL). This application takes advantage of ASL and
                     feeds it keys to perform the various functions needed (joining the network, finding
                     the light, etc.).

                     If you were following along with hardware (or even if you weren’t), pressing SW1
                     on the HA OnOffSwitch generated a ZigBee toggle command over-the-air to the
                     HA OnOffLight. The code for this begins where all keyboard input begins, in
                     BeeAppHandleKeys().

                     void BeeAppHandleKeys ( key_event_t events )
                     {
                       /* Application-mode keys */
                       if( gmUserInterfaceMode ⫽⫽ gApplicationMode_c )
                     {
                       switch ( events )
                       {
                         /* Sends a Toggle command to the light */
                         case gKBD_EventSW1_c:
                          OnOffSwitch_SetLightState(
                          gSendingNwkData.gAddressMode,
                          aDestAddress,EndPoint,gZclCmdOnOff_Toggle_c,
                          0);
                         break;


                     Now, BeeAppHandleKeys() is not a ZigBee construct, but is specific to the Freescale
                     platform. ZigBee does not deal at all with concepts such as user interface. It is enough for
                     ZigBee that the system has some way of initiating the HA toggle command if the device
                     supports turning things on or off. ZigBee is concerned exclusively with over-the-air
                     behavior.

                     Notice the OnOffSwitch_SetLightState() function in BeeStack takes as its last parameter
                     gZclCmdOnOff_Toggle_c. This is the same value as the toggle command (0x02)
                     observed from the over-the-air capture decoded earlier. The third parameter could also be
                     gZclCmdOnOff_On_c or gZclCmdOnOff_Off_c, both legitimate ZigBee commands for
                     an OnOffSwitch.

                     Following the code down through the common code of the stack, this eventually ends up
                     at an AF_DataRequest() function, which takes as its parameters a payload (which in this
                     case is the ZCL frame seen earlier) and addressing information, which includes among its
                     parameters the cluster identifier, endpoints and, indirectly, the profile.

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CH01-H8597.indd 33                                                                                                  7/28/2008 5:26:32 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 375 of 763 PageID #:
                                       2157


                     34      Chapter 1

                     I’ll be examining that function in detail in Chapter 4, “ZigBee Applications.”


                      ZigBee networks can be put together in a very ad hoc (random) fashion, and they simply work.




                     1.5     ZigBee Home Automation
                     This second example is similar to the first, but rather than simply binding (connecting
                     the wireless wire) to any light arbitrarily, it gives the installer (you) the option of which
                     light(s) to bind to (see Figure 1.12). It also uses three nodes, rather than two, one of each
                     ZigBee node type: A ZigBee Coordinator (ZC), which is used to form the network, a
                     ZigBee Router (ZR) which can route packets, and a ZigBee End-Device (ZED), which
                     can sleep and go into low-power modes.
                     What’s also interesting about this example is that it uses the same ZigBee setup as
                     standard off-the-shelf Home Automation devices. The devices could be plugged into
                     a real ZigBee network, within an actual home or small office and the lights could be
                     controlled by switches in the network and the switch could control other lights in the
                     network, regardless of vendor. Now, there is certainly more to making a commercial
                     product than just this example, but it goes a long way toward it.
                     The Freescale boards don’t actually look like the lights and switches pictured in the
                     figure. After all, they are general purpose development boards, intended to be used with




                                                  Figure 1.12: HA Lights and Switch

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CH01-H8597.indd 34                                                                                                   7/28/2008 5:26:32 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 376 of 763 PageID #:
                                       2158



                                                                                            Hello ZigBee      35

                     almost any application. The three boards that actually come with the NSK are actually
                     displayed in Figure 1.13.

                     One of the Freescale ZigBee boards, the Network Control Board, will be both an HA
                     OnOffLight and the ZigBee Coordinator for the network. One thing that often confuses
                     those new to ZigBee is that the ZigBee node type (ZC, ZR, or ZED) is not directly related
                     to the application that is running in that node. A switch could be mains powered (and be
                     a ZR) or it could be battery-operated (and be a ZED). The same goes for a light. Any of
                     those nodes could be a ZigBee Coordinator (ZC).
                     One of the things I like about the Freescale boards is that they come in a protective
                     plastic case. This makes them easy to handle at trade shows or in the lab, and the
                     plastic case also contains a compartment for two AA batteries, making battery-operated
                     demonstrations easy. The NCB (see Figure 1.13, left) also contains a 2 ⫻ 16 LCD screen
                     which can be used for application display (we’ll use this for a thermostat display later on)
                     or for debugging. The SRB boards also contain a 3-axis accelerometer, and a temperature
                     sensor, as well as exposed GPIO pins for external hardware.
                     In this example, however, the NCB and one of the SRBs will be lights, the other SRB will
                     be a switch.
                     Like the previous example, these nodes will form and join the network automatically.
                     However, they will not bind automatically. For the binding process SW3 will be used.




                                                                         1321x-SRB (ZR)
                                                                         HA OnOffLight



                                                  1321x-NCB (ZC)
                                                  HA OnOffLight


                                                                         131x-SRB2 (ZED)
                                                                         HA OnOffSwitch

                                               Figure 1.13: Freescale NSK Boards

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CH01-H8597.indd 35                                                                                                  7/28/2008 5:26:32 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 377 of 763 PageID #:
                                       2159


                     36      Chapter 1

                     The way it works is this. Start by downloading the three images to the three boards.
                     Chapter 3, “The ZigBee Development Environment,” explains this process step-by-
                     step. For now, just assume that it has happened. You can come back to this section after
                     reading Chapter 3 if you are following along with actual hardware, but the concepts are
                     what are important here.

                     Once all three boards have become part of the network (the flashing lights chasing each
                     other will have stopped), press SW3 on each of the lights. The lights will start flashing
                     LED3 to indicate they are in “Identify” Mode. The NCB will even display this fact on the
                     LCD screen. Identify mode is a standard part of the ZigBee Cluster Library and is used to
                     identify (usually visually) which node will be commissioned. Identify mode can be used in
                     a lot of creative ways, but for now we’ll use it to tell the switch which light(s) to control.

                     While the HA OnOffLights are still in Identify Mode (it lasts about 10 seconds in this
                     case), press and hold SW3 on the HA OnOffSwitch. It will add those lights which are in
                     Identify Mode to what is called a group. The switch and lights are now commissioned
                     and ready to talk to each other.

                     Now press SW1 on the switch and it will toggle all lights in the group. As simple as that.
                     A group can control all devices in the network or any subset of devices. For example, if
                     the network contained 100 lights, 50 could be in one group, 50 could be in another, and
                     all of them could be in an “all of the lights” group. The Home Automation specification
                     allows any given node to belong to up to 16 groups.

                     Take a look at the decode of the over-the-air toggle command. Notice how it looks nearly
                     identical to the toggle decode from the previous example. But it no longer contains a
                     destination endpoint. A group identifier is used instead. One other difference is the destination
                     address in the ZigBee NWK frame. In the former case, it was unicast to node 0x0000. But
                     groups are broadcast which are received by all nodes but only sent to applications which
                     belong to that group. ZigBee uses the special address of 0xffff to indicate a broadcast:

                     Frame 51 (Length ⫽ 31 bytes)
                        Time Stamp: 21:13:44.106
                        Frame Length: 31 bytes
                        Capture Length: 31 bytes
                        Link Quality Indication: 141
                        Receive Power: -52 dBm
                     IEEE 802.15.4
                        Frame Control: 0x8861
                           .... .... .... .001 ⫽ Frame Type: Data (0x0001)


                     www.n ewn es p res s .c o m




CH01-H8597.indd 36                                                                                                       7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 378 of 763 PageID #:
                                       2160



                                                                             Hello ZigBee   37

                           .... .... .... 0... ⫽ Security Enabled: Disabled
                           .... .... ...0 .... ⫽ Frame Pending: No more data
                           .... .... ..1. .... ⫽ Acknowledgment Request: Acknowledgement
                     required
                           .... .... .1.. .... ⫽ Intra PAN: Within the PAN
                           .... ..00 0... .... ⫽ Reserved
                           .... 10.. .... .... ⫽ Destination Addressing Mode: Address field
                     contains a 16-bit short address (0x0002)
                           ..00 .... .... .... ⫽ Reserved
                           10.. .... .... .... ⫽ Source Addressing Mode: Address field
                     contains a 16-bit short address (0x0002)
                        Sequence Number: 93
                        Destination PAN Identifier: 0x0bef
                        Destination Address: 0x0000
                        Source Address: 0x796f
                        Frame Check Sequence: Correct
                     ZigBee NWK
                        Frame Control: 0x0048
                           .... .... .... ..00 ⫽ Frame Type: NWK Data (0x00)
                           .... .... ..00 10.. ⫽ Protocol Version (0x02)
                           .... .... 01.. .... ⫽ Discover Route: Enable route discovery (0x01)
                           .... ...0 .... .... ⫽ Multicast
                           .... ..0. .... .... ⫽ Security: Disabled
                           .... .0.. .... .... ⫽ Source Route
                           .... 0... .... .... ⫽ Destination IEEE Address: Not Included
                           ...0 .... .... .... ⫽ Source IEEE Address: Not Included
                           000. .... .... .... ⫽ Reserved
                        Destination Address: 0xffff
                        Source Address: 0x796f
                        Radius ⫽ 10
                        Sequence Number ⫽ 235
                     ZigBee APS
                        Frame Control: 0x0c
                           .... ..00 ⫽ Frame Type: APS Data (0x00)
                           .... 11.. ⫽ Delivery Mode: Group Addressing (0x03)
                           ...0 .... ⫽ Indirect Address Mode: Ignored
                           ..0. .... ⫽ Security: False
                           .0.. .... ⫽ Ack Request: Acknowledgement not required
                           0... .... ⫽ Reserved
                        Group Address: 0x0001
                        Cluster Identifier: On/off (0x0006)
                        Profile Identifier: HA (0x0104)
                        Source Endpoint: 0x08
                        Counter: 0x91
                     ZigBee ZCL
                        Frame Control: 0x01
                           .... ..01 ⫽ Frame Type: Command is specific to a cluster (0x01)


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CH01-H8597.indd 37                                                                               7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 379 of 763 PageID #:
                                       2161


                     38      Chapter 1

                           .... .0.. ⫽ Manufacturer Specific: The manufacturer code field
                     shall not be included in the ZCL frame. (0x00)
                           .... 0... ⫽ Direction: From the client side to the server side.
                     (0x00)
                           0000 .... ⫽ Reserved: Reserved (0x00)
                        Transaction Sequence Number: 0x44
                        Command Identifier: Toggle (0x02)


                     The ZigBee Home Automation specification recommends that if more than four nodes
                     will be the target of a communication that a group should be used rather than unicasting
                     to each individual node. Group casting (my term, not ZigBee’s) is a very bandwidth-
                     efficient way to control a larger set of nodes.

                     Now reset the boards, or power them off. Power them on again. Notice that they retain
                     the group information and can still be controlled by the HA OnOffSwitch. ZigBee as
                     a specification does not indicate how persistent data should be stored, but the Home
                     Automation Application Profile does specify it must be present. In this case, flash
                     memory is used on the Freescale boards for this purpose.

                     When they are powered on again, there is no flurry of information required over-the-air.
                     In fact, if you look at a decode it is silent until you press SW1 again to toggle the group
                     of lights. The nodes simply come up and continue to operate as they did before they
                     were powered off. Usually nodes also include a way to reset themselves back to factory
                     defaults in case something goes seriously wrong and they no longer function with the
                     current settings.


                                   ZigBee can communicate to individual nodes or groups.
                                   ZigBee devices remember their settings across resets and power outages.




                     1.6     ZigBee Speak
                     ZigBee, like all technologies, has its own language. Those of you familiar with IEEE
                     networking specifications may be familiar with some of them already (e.g., data
                     indications, service access points). You’ve been exposed to a variety of them in the
                     previous sections as well. I’ve included an abridged glossary of terms (see Table 1.3),
                     enough for you to go on in this book. A complete list of terms can be found in the ZigBee
                     2007 specification, Section 1.4 “Glossary.”

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CH01-H8597.indd 38                                                                                                 7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 380 of 763 PageID #:
                                       2162



                                                                                      Hello ZigBee         39

                                       Table 1.3: ZigBee Glossary Terms
                     Term                       Description
                     802.15.4, or simply 15.4   The IEEE 802.15.4-2003 MAC and PHY
                                                specification used as the foundation for all
                                                ZigBee communications.
                     AES 128-bit Security       An application of the Advanced Encryption
                                                Standard to ZigBee authentication and
                                                encryption.
                     Attribute                  A data item within a cluster, for example the
                                                state of an on/off light (is it on or off) or the
                                                current level of a dimmable light.
                     Authentication             Verifying that a packet came from the node it
                                                claims it did.
                     Bandwidth                  Use of the RF spectrum. When the full
                                                bandwidth is used, no more messages may be
                                                transmitted at that time.
                     Broadcast                  A mechanism to send the same packet to some
                                                or all of the nodes in a network.
                     Cluster                    A collected set of commands and attributes.
                                                The ZigBee Cluster Library specifies common
                                                clusters.
                     Command                    A single command within a cluster causing
                                                some specific action.
                     Commissioning              The process of connecting everything together in
                                                the network so that the normal application can
                                                run. For example, connecting a switch to a light,
                                                wirelessly.
                     Data Confirm               A confirmation that a data request has been
                                                delivered.
                     Data Indication            An application (or other portion of the ZigBee
                                                stack) is receiving data from another node.
                                                Basically, the other side of a data request.
                     Data Request               An application (or other portion of the ZigBee
                                                stack) is requesting to send data to another
                                                node in the network.
                     Descriptor                 A description of some object in the node. For
                                                example, a simple descriptor describes an
                                                endpoint, a node descriptor describes a node.


                                                                                                    (continued)


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CH01-H8597.indd 39                                                                                                7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 381 of 763 PageID #:
                                       2163


                     40    Chapter 1

                                                   Table 1.3: continued
                            Term                     Description
                            Encryption               Encoding a packet in such a way it cannot be
                                                     understood by nodes without the security key.
                            Endpoint                 A virtual (wireless) wire connects an endpoint
                                                     on one node to an endpoint on another node. A
                                                     node may contain multiple endpoints.
                            Frame                    An over-the-air sequence of bytes (octets)
                                                     defined by the ZigBee or IEEE standards.
                            Groupcast                Not a ZigBee term. My term used when sending
                                                     a command via groups which is broadcast
                                                     across the network.
                            Hop                      Or single hop. Passing a message from one node
                                                     to a neighboring node.
                            MAC                      Media Access Control. This layer knows about
                                                     networks’ a node addresses, but not much else.
                                                     Defined by IEEE.
                            MAC address              A 64-bit number uniquely identifying this node
                                                     from all other nodes in the world. Also called a
                                                     long address, IEEE address or EUI.
                            Mesh                     The term used for ad-hoc multi-hop networking.
                            Mesh Network             A network which discovers routes to other
                                                     nodes in the network.
                            Multi-hop                The ability for the network to pass messages
                                                     from one node to another, ultimately to the
                                                     final destination node.
                            Neighbors                Other nodes within radio range.
                            NHLE                     Next Higher Layer Entity, basically the layer
                                                     above the current layer being discussed. For
                                                     example, the network layer in ZigBee passes
                                                     information to the NHLE, also known as the
                                                     APS layer.
                            Node                     A device that contains a single 802.15.4 radio.
                                                     A node may control or monitor multiple things.
                                                     For example, a bank of four light switches
                                                     would need only one 802.15.4 radio.
                            OUI                      Organizational Unique Identifier, the top
                                                     24 bits of the MAC address.




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CH01-H8597.indd 40                                                                                      7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 382 of 763 PageID #:
                                       2164



                                                                              Hello ZigBee   41

                                       Table 1.3: continued
                     PAN                 Literally a personal area network. However,
                                         ZigBee often encompasses a whole building
                                         or campus. In some profiles, ZigBee discusses
                                         NANs, or neighborhood area networks, or
                                         HAN, a home area network. PANs, HANs,
                                         NANs, it’s all the same thing to ZigBee: a single
                                         network.
                     PAN ID              A unique 16-bit number identifying the PAN.
                     PHY                 The physical layer. This is basically the radio
                                         which converts a binary sequence into RF and
                                         back again. Defined by IEEE.
                     Profile             Generally referring to an Application Profile, or
                                         an agreed upon set of messages so applications
                                         from different vendors can interact.
                     Route               The path during a unicast from one node to
                                         another.
                     SAP                 Service Access Point, the API between layers
                                         within the ZigBee stack. ZigBee is layered
                                         similarly to the common OSI networking layered
                                         model.
                     Sequence Number     A rolling number to uniquely identify a message.
                                         Also called a counter or transaction ID.
                     Unicast             A bandwidth-efficient mechanism to send a
                                         packet from one node to another node, even if
                                         it multiple-hops away.
                     ZC                  ZigBee Coordinator. A special ZigBee node type
                                         that can form networks.
                     ZCL                 ZigBee Cluster Library. A library of common
                                         clusters.
                     ZED                 ZigBee End-Device. A special ZigBee node type
                                         that can sleep, extending battery life to years.
                     ZigBee              A networking protocol standard aimed at
                                         wireless control.
                     ZR                  ZigBee Router. A special ZigBee node type
                                         that can route packets and understands mesh
                                         networking.




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CH01-H8597.indd 41                                                                                7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 383 of 763 PageID #:
                                       2165


                     42      Chapter 1

                     1.7     ZigBee Architecture
                     Before I end this chapter, I’d like to describe to you the basics of the ZigBee stack
                     architecture. The classic ZigBee architecture diagram, seen in nearly every technical
                     presentation on ZigBee looks something like Figure 1.14.
                     Each layer in the stack knows nothing about the layer above it. The layer above it could
                     be considered a “master” that commands its “slave” below it to do the work. Each layer
                     builds more and more sophistication upon the foundation of the lower layers.
                     ZigBee does not exactly fit the OSI 7-layer networking model, but it does have some of
                     the same elements, including the PHY (physical), MAC (link layer), and NWK (network)
                     layers. Layers 4–7 (transport, session, presentation, and application) are wrapped up in
                     the APS and ZDO layers in the ZigBee model.




                                                          Application Framework

                                                                                                   ZPUI
                                                    Application                  Application              ZigBee Device
                                                    Object 240                    Object 1                Object (ZDO)
                                                   [On Endpoint 240]             [On Endpoint 1]            [On Endpoint 0]
                                                     APSDE-SAP                    APSDE-SAP                APSDE-SAP




                                                                                                                          APSME-SAP
                                       APSSE-SAP




                                                                  Application Support (APS) Sub-Layer
                          Security
                          Service                     NLDE-SAP

                          Provider
                                                                                                                          NLME-SAP
                                       NLSE-SAP




                                                                            Network (NWK) Layer

                                                      MCPS-SAP                                             MLME-SAP



                                                                       Medium Access Layer (MAC) Layer

                                                       PD-SAP                                              PLME-SAP



                                                                             Physical (PHY) Layer


                                                          Figure 1.14: The ZigBee Architecture

                     www.n ewn es p res s .c o m




CH01-H8597.indd 42                                                                                                                    7/28/2008 5:26:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 384 of 763 PageID #:
                                       2166



                                                                                           Hello ZigBee       43

                     Between the layers are Service Access Points (SAPs). SAPs provide an API that isolates
                     the inner workings of that layer from the layers above and below. Like the IEEE 802.15.4
                     specification, ZigBee uses a two-SAP approach per layer, one for data and one for
                     management. For example, all data communications to and from the network layer go
                     through the Network Layer Data Entity Service Access Point (NLDE-SAP). Why the data
                     SAP for the MAC layer is called MAC Common Part Service SAP (MCPS-SAP) instead
                     of the MLDE-SAP is confusing to me, but it is. You’ll see commands in the ZigBee
                     specification that look like APSDE-DATA.request. Now you know that is a request to
                     send data out the radio, but initiated just above APS layer.

                     The two lowest layers, the MAC and PHY, are defined by the IEEE 802.15.4
                     specification. The PHY layer simply translates packets into over-the-air bits and back
                     again. The MAC layer provides the concept of a network, including a PAN ID, and
                     networking discovery through beacon requests and responses. It also provides per-hop
                     acknowledgments and some of the commands for joining and forming a network. The
                     MAC does not multi-hop or mesh.

                     The NWK layer is responsible for mesh networking, which includes broadcasting packets
                     across the network, determining routes for unicasting packets, and generally making sure
                     packets are sent reliably from one node to another. The network layer also has a set of
                     commands for security purposes, including secure joining and rejoining. ZigBee networks
                     are all secured at the NWK layer, and the entire payload of the NWK frame is encrypted.

                     The APS layer is responsible for application meaning. It acts as a filter for the
                     applications running above it on endpoints to simplify the logic in those applications.
                     It understands what clusters and endpoints mean, and checks to see if the endpoint is a
                     member of the Application Profile and (if present) group before sending the message on
                     up. The APS layer also filters out duplicate messages that may have been sent up by the
                     NWK layer. The APS layer keeps a local binding table, a table which indicates the nodes
                     or groups in the network that this node wishes to speak to.

                     The ZDO layer (which includes the ZigBee Device Profile, ZDP), is responsible for local
                     and over-the-air management of the network. It provides services to discover other nodes
                     and services in the network, and is directly responsible for the current state of this node
                     on the network.

                     The Application Framework contains the ZigBee Cluster Library and provides a
                     framework within which applications run. Endpoints are the mechanism used to
                     distinguish one application from another.

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CH01-H8597.indd 43                                                                                                 7/28/2008 5:26:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 385 of 763 PageID #:
                                       2167


                     44      Chapter 1

                     The security services are used by a variety of layers, and can be used by ZDO, APS, or
                     the NWK layer, hence it’s off to the side.
                     All layers have what is called an information base. At the MAC layer, this is called a PAN
                     Information Base (or PIB). At the network layer it’s called a Network Information Base
                     (or NIB), and of course there is an AIB for the APS layer. All “information base” means
                     is the current settings of that layer. How many retries are required? What is the current
                     PAN ID or network address of a particular node? The fields in the information base
                     are generally either set by higher layers or through the use of management commands
                     through the management SAPs.
                     Notice there is nothing in here about interaction with any hardware within a given ZigBee
                     device other than the radio. There is nothing that talks to LEDs, the LCD, speaker, GPIO
                     ports, non-volatile or flash memory. ZigBee is exclusively concerned with the networking
                     protocol and over-the-air behavior. The ZigBee test suites reflect this fact. Since all
                     the over-the-air messages can be interpreted correctly by any other ZigBee node, this
                     approach allows vendors to innovate while still providing complete compatibility between
                     vendors.

                                         ZigBee layers build on each other.
                                         ZigBee is exclusively concerned with over-the-air behavior.




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CH01-H8597.indd 44                                                                                                7/28/2008 5:26:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 386 of 763 PageID #:
                                       2168




                                                                                                CHAPTER 2

                                                                        Deciding on ZigBee

                     One of the first questions I get from an OEM is, “How does ZigBee compare to
                     wireless technology X?” So before I get into the technical details of how ZigBee works,
                     perhaps it would be good to spend a bit of time on what ZigBee is really good for, what
                     it is not good for, and how it compares to some other popular, competing networking
                     technologies. I have seen plenty of companies trying to shoe-horn ZigBee into a problem
                     space that just doesn’t make sense for the technology, and I’d like to help you avoid that.
                     Another common question put to me is, “What does ZigBee cost?” That is a complicated
                     question. Obviously a book is not the right medium to keep current on prices, but it can
                     help you ask the right questions, and describe “hidden” costs, some of which you may
                     not have considered yet. I love ZigBee. ZigBee is great! But I am also an engineer, and
                     I like to consider a variety of factors before deciding on the solution that is right for any
                     particular problem.
                     And yet another question I am often asked is, “So what does ZigBee stand for?” Well, I’ll
                     tell you.
                        There are many people who expect that ZigBee is an acronym and they are actually
                        correct, even though the acronym has been forgotten over time. The acronym represents
                        the attributes associated with the original ZigBee objectives, which sort-of evolved
                        into a mission statement for the technology. “ZIGBEE” originally stood for a “Zonal
                        Intercommunication Global-standard, where Battery life was long, which was Economical
                        to deploy, and which exhibited Efficient use of resources.”
                        Two other objectives were added a short time later: “Reliable” and “Secure.” But by
                        then, of course, it was too late to change the name. In addition there was concern among
                        the promoter member companies that ZigBee might not get taken seriously, and that their
                        respective companies might not pay for travel to the exotic locations hosting the ZigBee
                        Alliance quarterly meetings if they added the other two letters to the original acronym,
                        forming the new one: “ZigBeers.”


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CH02-H8597.indd 45                                                                                                   7/26/2008 12:36:20 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 387 of 763 PageID #:
                                       2169


                     46      Chapter 2

                     2.1 Deciding on the Right Technology
                     This is a book about ZigBee. But ZigBee isn’t always the right solution for a given
                     problem. This section discusses some other possibilities for networking sensors and
                     control devices, and some of the advantages and disadvantages of each approach.

                     2.1.1    Wired Versus Wireless
                     Wireless is inherently unreliable. Does this sound strange coming from a proponent of
                     ZigBee? It’s true. There are so many factors that affect wireless; RF noise coming from
                     machinery, changes in the physical environment, even the vagaries of the atmosphere. In the
                     2.4 GHz spectrum, which is the ISM band used by ZigBee, there is even more interference.
                     Water, people, concrete, metal, foliage can all change the wireless characteristics, causing
                     packet delivery to fail. Now granted, ZigBee, with its mesh networking and per-hop and
                     end-to-end retries and acknowledgments, turns what is an essentially unreliable medium
                     into a very reliable network, but ZigBee is not the only solution to network devices.
                     A wired network doesn’t have any of the above problems. But wires do have problems of
                     their own. Wires have connectors, and connectors get broken over time, especially if they
                     are plugged in frequently. The wires themselves get caught on things and get cut. One
                     major white-goods manufacturer I spoke with was changing over the entire production
                     line to wireless to avoid just this problem. A wireless system can test and inspect the
                     washing machines, dryers and refrigerators coming down the line without any of the
                     drawbacks of wires.
                     Salt and water corrode wires. A wire on a ship corrodes or chafes over time, and so
                     becomes less reliable than a wireless solution in that same environment.
                     Wired solutions can be more expensive per foot. At a recent building construction show,
                     the number used was $10 US per foot (2007 dollars) for wired control. That $10 is not
                     in just the cost of the wire, but the cost of conduit, installation, and maintenance. In a
                     similar situation, ZigBee wireless is generally considered to cost less than $0.10 per foot,
                     including the cost of the wireless boards and installation.
                     But there are many good, prominent wired protocols and hardware out there. Don’t just
                     jump into wireless because it’s the next greatest thing. Determine first if wireless is a
                     great thing for your application.


                              Wires don’t have the interference problems of wireless, but wires need connectors.


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CH02-H8597.indd 46                                                                                                  7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 388 of 763 PageID #:
                                       2170



                                                                                        Deciding on ZigBee         47

                     2.1.2    Other Wireless Technologies
                     802.15.4 is a great MAC and PHY specification, and ZigBee, which relies on the
                     802.15.4 MAC and PHY, is a great networking protocol. ZigBee is well-targeted at the
                     wireless sensor and control network space. But 802.15.4 is not the only radio which
                     targets this space, and ZigBee is not the only networking protocol which runs on the
                     802.15 MAC and PHY:

                        ●    Non-ZigBee 802.15.4 radios are not supported. One thing that is not obvious to the
                             casual observer is the fact that ZigBee runs only on 2.4 GHz (ISM band) 802.15.4
                             radios. The 802.15.4 specification allows for 900 MHz, and 868 MHz radios as
                             well, but ZigBee doesn’t run on those radios, due mainly to data rate. ZigBee
                             requires a higher data rate than the 40 kbps offered by the 900 MHz standard and
                             20 kbps offered by the 868 MHz standard. The 2.4 GHz 802.15.4 specification
                             operates at 250 kbps, a rate sufficient for the ZigBee protocol. The newer 2006
                             802.15.4 specification offers higher data rates in the sub-1 GHz RF spectrum, but
                             those have not yet been adopted by ZigBee. The other reason ZigBee chose the
                             2.4 GHz spectrum is that products can interoperate worldwide in this RF space.
                        ●    Wireless USB is emerging as a great technology for small, battery-operated
                             devices. For example, the Cypress CYWUSB6934 is used in a number of point-
                             to-point devices such as a wireless mouse. This technology is very inexpensive,
                             great on batteries, but is not meant to function on a scale as large as ZigBee can,
                             and doesn’t have the security. Wireless USB is based on Ultra Wideband (UWB)
                             which supports 480 Mbps data rate over a distance of two meters (about 6.6 feet).
                             If the speed is lowered to 110 Mbps, UWB will go a longer distance (up to 10
                             meters or about 30 feet). This technology generally focuses on the PC peripherals,
                             but could be adapted to the sensor and control space.
                        ●    WiFi™ is also starting to see more use in sensor and control networks. WiFi is a
                             ubiquitous, well understood technology that previously targeted the PC and laptop
                             space. It’s a bit more expensive than ZigBee, typically requiring a larger CPU to run
                             the full protocol. WiFi can mesh like ZigBee and if you Google “WiFi mesh” you’ll
                             see a number of vendors that serve this space, but there are no interoperable standards
                             for meshing WiFi. WiFi is not as good with batteries, using up batteries in hours, rather
                             than the months to years of ZigBee, but not all control networks require batteries.
                        ●    Bluetooth™ is very secure, and is used in headsets and cell phones everywhere.
                             Bluetooth is relatively inexpensive, but due to its frequency-hopping technology,

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CH02-H8597.indd 47                                                                                                       7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 389 of 763 PageID #:
                                       2171


                     48       Chapter 2

                              does not have the battery life of a ZigBee device. Think of Bluetooth battery life
                              as days, not the months to years like ZigBee. Also, Bluetooth doesn’t scale well
                              and is typically limited to networks of seven devices or less, whereas ZigBee
                              networks can contain thousands of devices.
                          ●   Wibree falls under the Bluetooth Special Interest Group, and is aimed at watches
                              and body sensors. It’s designed to be very, very low power, but again is limited in
                              the number of nodes in a network. At the time of this writing, Wibree was not in
                              production, but still in the specification stage.
                          ●   Z-Wave, by Zensys (see http://www.zen-sys.com), is useful if you are planning
                              home automation products. Z-Wave is aimed specifically at the home automation
                              space, and while not a standard (Zensys is the only manufacturer of Z-Wave), it
                              is used by some of the large home automation manufacturers, including Danfoss,
                              Leviton, and Universal Electronics. The new ZW0301 contains a 32 K flash 8051
                              CPU, and a radio that operates in the 868 MHz space for Europe and the 908 MHz
                              space for the U.S., at 9 kbps (compared to ZigBee’s 250 kbps).
                              Zensys is naturally worried about ZigBee, because these two technologies
                              compete directly, and so Zensys has formed a group called the Z-Wave Alliance,
                              and regularly releases white papers promoting Z-Wave over ZigBee.
                          ●   Proprietary radios are still the norm today. I remember this used to be the case
                              in operating systems, too. Everyone had their own system, but while there are
                              still quite a number of proprietary operating systems, most OEMs realize it is
                              cheaper in most cases (all things considered) to go with a commercial operating
                              system. I believe this will happen to radios over time in this space.
                              There are so many good radios in various RF frequencies. Texas Instruments
                              makes one called the Dolphin. Nordic Semiconductor makes a variety of low
                              power radios, such as the nRF2401A. The biggest issue with the proprietary
                              radios is the lack of a protocol. So much of RF communication is in the software.
                              If you have to write your own, it can cost significant amounts of development
                              effort, which equals time and money.
                              Which brings me to software protocols.


                                        ZigBee operates in the worldwide 2.4 GHz ISM band.
                                        Proprietary radios are the primary competitor of ZigBee today.


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CH02-H8597.indd 48                                                                                                  7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 390 of 763 PageID #:
                                       2172



                                                                                       Deciding on ZigBee       49

                     2.1.3    Other Software Protocols on 802.15.4 Radios
                     The 802.15.4 radio (MAC & PHY) specification provides the foundation for the ZigBee
                     networking protocol, but ZigBee is not the only protocol that runs on these radios:

                        ●    802.15.4 MAC may work for you. Yes, it’s possible to build a network with only
                             the 802.15.4 MAC and PHY. Most 802.15.4 silicon vendors offer an application
                             development solution on their 802.15.4 MAC. Granted, it’s only point-to-
                             point or a star network. Granted, it doesn’t have device or service discovery or
                             interoperable applications like ZigBee. But, a MAC-only solution does have a
                             smaller footprint than ZigBee and might be enough networking protocol for your
                             application. The MAC uses the same per-hop retry mechanism that ZigBee uses,
                             the same network associate commands, and the same sleepy end-device
                             polling commands. What the MAC-only solution is missing is the application-
                             level compatibility and the higher reliability and multi-hop nature of mesh
                             networking.
                        ●    SimpliciTI™ may work, too. This Texas Instruments protocol is a simple, point-
                             to-point, or repeating protocol for use with their 802.15.4 radios and solutions.
                             This protocol is extremely small (4 K flash), and they tout it as being extremely
                             simple. There are only 6 API calls.
                        ●    Synkro, originally by Freescale Semiconductor, is now an emerging standards-
                             based protocol targeted specifically at the consumer electronics space. This
                             protocol uses 802.15.4 radios and solutions to control televisions, DVD players,
                             stereos, and the like. Sony is one of the early adopters of this technology and it
                             looks as if the standard might take off. It’s still too early to know at the time of
                             this writing, but the consumer electronics manufacturers are looking to avoid
                             the IR fiasco (too many proprietary control methods), and instead focus on
                             standardized RF for the remote. Synkro is point-to-point, not meshing, but does
                             offer a form of frequency agility to avoid potential interference problems.
                        ●    MiWi, by MicroChip, is a peer-to-peer and mesh protocol specifically targeted at
                             the Microchip MRF24J40 radio. This protocol has no cost associated with it if
                             used with the MicroChip solutions.
                        ●    PopNet™, by San Juan Software, is a small-footprint full-mesh solution that
                             could be considered “ZigBee Lite.” Like ZigBee, PopNet supports broadcasting,
                             unicasting, and mesh route discovery. Unlike ZigBee, PopNet fits into 16 K of
                             flash and does not require ZigBee certification.

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CH02-H8597.indd 49                                                                                                   7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 391 of 763 PageID #:
                                       2173


                     50       Chapter 2

                          ●   TinyOS is a mesh networking technology written in a language called NesC. This
                              C-like language allows sensors to be treated as objects. TinyOS was even adopted
                              by one of the ZigBee stack vendors, MeshNetics, as the foundation for their
                              ZigBee solution.
                          ●   6LoWPAN, standardized by IETF.org, is an 802.15.4 networking protocol that
                              looks similar to IPv6. Companies such as ArchRock (http://www.archrock.com)
                              are promoting this emerging standard for interfacing sensors to the World
                              Wide Web.

                     All of these protocols have their own strengths and weaknesses. And there are plenty
                     more protocols! With the exception of PopNet, and a vanilla 802.15.4 MAC, I have not
                     personally written software or produced products using the other protocols, so I won’t
                     try to give advice about which one is best for your particular application. I did, however,
                     want you to be aware that ZigBee isn’t the only networking protocol available on
                     802.15.4.
                     But ZigBee is the primary protocol based on 802.15.4, so if standards or interoperability
                     are important to your application, ZigBee is the route to go.

                                      ZigBee is the primary networking protocol based on 802.15.4 radios,
                                      but many other protocols are also commercially available.



                     2.2       Deciding on a ZigBee Solution
                     Okay, so you’ve decided ZigBee is the right solution for your product. Now, which
                     ZigBee solution is best? Sorry. I can’t answer that. But I can give you a set of questions to
                     think about.
                     At the time of this writing, some of the 802.15.4/ZigBee radio vendors (also called
                     ZigBee silicon providers or platform vendors) include:

                          ●   Atmel
                          ●   Ember
                          ●   Freescale
                          ●   Integration Associates

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CH02-H8597.indd 50                                                                                                   7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 392 of 763 PageID #:
                                       2174



                                                                                      Deciding on ZigBee      51

                         ●   Jennic
                         ●   Microchip
                         ●   NEC
                         ●   Oki
                         ●   Radio Pulse
                         ●   Renesas
                         ●   ST
                         ●   Texas Instruments

                     In general, the easiest way to learn the latest details of the 802.15.4 offerings from
                     these vendors is to go to the World Wide Web. All the vendors include PDF data
                     sheets and various white papers to show why their solution is best. The Web sites for
                     larger corporations (which have vast and often confusing Web sites) tend to include a
                     simple way to find information on their ZigBee products, such as http://www.freescale.
                     com/zigbee, or http://www.ti.com/zigbee, or http://www.st.com/zigbee. For smaller
                     companies, the ZigBee information tends to be found somewhere on their home page.

                     Below I’ve compiled a list of questions you should ask yourself when evaluating each
                     platform vendor:
                         ●   Is the platform certified?
                         ●   Will the product use an integrated MCU/radio or a stand-alone radio?
                         ●   Does the platform have enough memory for the application?
                         ●   Does the price-point make sense for the product?
                         ●   Is the part low-power enough for the power supply?
                         ●   What voltage range does the part support?
                         ●   Does the part support all the required physical characteristics?
                         ●   Are you familiar with the silicon vendor?
                         ●   How good is the stack?
                         ●   What tools are available to support compiling and debugging?

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CH02-H8597.indd 51                                                                                                 7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 393 of 763 PageID #:
                                       2175


                     52       Chapter 2

                          ●   What reference designs are available?
                          ●   What is the availability of the radio?
                          ●   Is an alternate supplier a requirement?
                     Is the ZigBee platform certified?
                     A combination of the radio, MCU, and ZigBee stack software is called a platform by the
                     ZigBee Alliance. Some ZigBee platforms are certified by the ZigBee Alliance, and some
                     are not. Is this important to you?
                     If your product will interact with products from other companies, such as Home
                     Automation, Smart Energy, or Commercial Building Automation, I would say the answer
                     is a resounding, “Yes!” The platform you choose must be certified. If your product will be
                     a stand-alone network, then the range of vendors opens up.
                     Be sure to check when evaluating a vendor. A non-certified stack may not work with
                     other ZigBee stacks.
                     Will the product use an integrated MCU/radio or a stand-alone radio?
                     OEMs using ZigBee often choose an integrated MCU and radio. This combination can be
                     very cost-effective, allowing both the ZigBee networking protocol and the application to
                     reside in a single chip, 8-bit solution.
                     The single chip solution offers the advantage of containing everything required for the
                     application except a power supply and sensors (see Figure 2.1). The MCU will contain
                     memory, UARTs, even LCD, LED, or keyboard controllers, and (hopefully) enough
                     RAM and flash (ROM) to host your application. Most single-chip solutions are built
                     on an 8-bit processor, often an 8051 (although some of the newer parts, such as Freescale’s
                     MC13223 contain a 32-bit ARM7). Check with your vendor for their latest offerings.
                     The single chip solution works fine for many applications. But sometimes, an 8-bit MCU
                     just doesn’t have the memory or raw processing power that is required. It may surprise
                     you (it did me), but variable airflow valves (VAVs), those vents you see in the ceiling of
                     every office building, use a 32-bit CPU with a very complex application to control the
                     opening and closing of the vent.
                     If you are choosing a stand-alone 802.15.4 radio with some host CPU, the main question
                     is whether ZigBee will need to run on that host processor. ZigBee normally runs as
                     software (including a small OS or kernel), much like Windows or MAC OS X runs on

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CH02-H8597.indd 52                                                                                                 7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 394 of 763 PageID #:
                                       2176



                                                                                        Deciding on ZigBee   53

                                                        The Freescale Solution

                                                                   ZigBee

                                        Software                       Hardware
                                                                                 CPU
                                              Application(s)
                                                                                Flash
                                                                               Memory
                                        Gateway (UART) Interface
                                                                                 RAM

                                                                                UARTs
                                              ZigBee Stack
                                                                                 SPI
                                                                             GPIOs & A2D

                                             802.15.4 MAC                   802.15.4 Radio



                                                                    Chip

                      Figure 2.1: ZigBee Chip Solutions Contain Everything Needed for the Application

                     your PC or laptop. If you plan to use, for example, an ARM 9 with a stand-alone 802.15.4
                     radio, does a ZigBee stack run on that combination? The answer is often, surprisingly,
                     “No.” Most ZigBee implementations run really well on the integrated MCU/radio
                     solutions, but may not be portable enough to run on another MCU, or the silicon vendor
                     who supplies the ZigBee stack may not be willing to release full source code. Most don’t.

                     Another way to use whatever CPU you need for your application, and still use
                     ZigBee for the networking communications, is to treat the ZigBee integrated chip
                     as a communication “module” (see Figure 2.2). The ZigBee stack and a small serial



                                                         Host               ZigBee
                                                         MCU                 Chip




                                       Figure 2.2: ZigBee as a Communications Module

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CH02-H8597.indd 53                                                                                                7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 395 of 763 PageID #:
                                       2177


                     54       Chapter 2

                     “gateway” application run in the single chip solution, while the main application runs on
                     the host processor, talking to ZigBee through a UART.
                     Does the platform have enough memory for the application?
                     It might surprise you, but ZigBee is quite large. As a protocol designed for 8-bit devices,
                     ZigBee often stretches the limit, using most of the CPU’s RAM and ROM, leaving only a
                     few kilobytes of flash left over for your application.
                     When evaluating vendors, make sure you first do a code-size estimate for your
                     application. Then, using the development kit from the vendor, build the Home
                     Automation On/Off Light application (nearly every vendor offers this application) for
                     a ZigBee Router device. Check in the .map file to see how much room is left for your
                     application, both in terms of flash (ROM) and RAM. Is there enough?
                     Because there are so many options in ZigBee, it can sometimes be a pretty big task to
                     configure the stack to include only those pieces that your application needs. Feel free to
                     call the vendor’s support line, or to check out their online help. This will also help you
                     evaluate the vendor’s ability to support your product development.
                     Does the price-point make sense for the product?
                     The price of a solution is not just the price of the silicon. I often see customers say, “Well,
                     this chip is $0.05 cheaper!” when the cost of the external components required for the
                     radio to function make it significantly more expensive than the alternatives. Consider the
                     following production costs:
                          ●   What external components are required?
                          ●   Can the board layout be two-layer, or must it be four-layer?
                          ●   What quantity will I ship? This can greatly affect price per unit.
                          ●   Do the cost of the tools make a significant difference?
                          ●   How solid is the software? Will it require significant development or debugging effort?
                     Only after you’ve evaluated all of these questions can you determine the real cost of that
                     particular solution. First, create a bill-of-materials (BOM), and then price them out with
                     one or more distributors.
                     Consider also the cost of manufacturing. Some solutions require only two layers on the
                     board, which makes manufacturing costs less. Others require four layers, which increases
                     manufacturing costs.

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CH02-H8597.indd 54                                                                                                      7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 396 of 763 PageID #:
                                       2178



                                                                                     Deciding on ZigBee       55

                     One cost that is not always considered is the cost of the software. It used to be that
                     hardware was the major cost in any given design. Today, more and more, it is the cost of
                     the software that really makes or breaks a product.

                     Is the part low-power enough for the power supply?

                     All 802.1.54/ZigBee radios can go into low-power modes. When evaluating low power
                     for a particular radio or single-chip solution, consider both the wake power and the
                     sleep power. The sleep power, for most applications, dwarfs the wake power (and makes
                     the wake power almost irrelevant). Put together a little spreadsheet, or use the power
                     calculator provided at http://www.zigbookexamples.com, and you’ll see why this is. If
                     a node only wakes for a few milliseconds every few minutes, then power consumption
                     while sleeping is everything.

                     This may be irrelevant if your application does not require battery-operated nodes.

                     What voltage range does the part support?

                     One thing that might not be readily apparent is that battery supplies vary widely in
                     the voltage they can produce with a given charge. Some of the longer-lasting battery
                     technologies (some that will last 20 years or more) start out providing five volts and end
                     up providing only two volts. Many 802.15.4 radios (or MCUs) cannot deal with such
                     a wide range without a power regulator which completely defeats the long battery life
                     (power regulators consume power). So, make sure to match the batteries to the radio. And
                     don’t forget all the other power consumers on the board, including sensors.

                     Does the part support all the required physical characteristics?

                     Sometimes temperature, shock, or other factors are required for a given application. Will
                     the radio be in the tire of a car? It had better withstand Phoenix heat and Fargo cold. Most
                     ZigBee radios are in the industrial range of ⫺40 to ⫹85 Celsius.

                     Are you familiar with the silicon vendor?

                     One factor that plays into both schedule and cost is familiarity. If your company (or you
                     personally) have worked with a particular vendor before, you may prefer to stay with that
                     vendor; you know the quirks of their parts, tools, and sales processes. This can have a
                     significant impact on both cost and schedule. Start out with the vendors you know. Then
                     evaluate other vendors as appropriate.

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CH02-H8597.indd 55                                                                                                  7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 397 of 763 PageID #:
                                       2179


                     56       Chapter 2

                     How good is the stack?

                     Not all ZigBee stacks are created equal. ZigBee is a complicated specification with
                     many edge cases. I’ve seen many stacks not take care of even the basics, in their first
                     incarnations. Here are a few tests for you to try before wasting your time building an
                     application on an unstable stack:
                          Build a diamond network with a light on one end and a switch on the other.
                          Alternatively, turn off the middle nodes. Does the stack recover a route and turn the
                          light on every time? For more on this, see Chapter 4, “ZigBee Applications.”
                          Turn on 20 nodes at once. Does the stack handle it gracefully, and do all the nodes
                          join the network?
                          Run a test in a secure network, with a node sending a packet via APSDE–DATA.
                          request to another node two hops away. Put a 32-bit incrementing counter in the
                          payload, to show the number of messages sent. Send a packet after every data
                          confirm. Let this test run for a few days. Is the stack still sending the packet? Is the
                          number of messages sent reasonable? Expect at least one message every 100 ms
                          or less.
                          Build a max-depth network for the stack profile (10 hops across in stack profile 0x01,
                          30 hops in stack profile 0x02). Can the stack send from end-to-end?

                     What tools are available to support compiling and debugging?

                     The proper tools can make a significant difference during development of a product. Are your
                     developers already familiar with the tools? Do they allow your developers to debug efficiently
                     or are they wasting significant time fighting tools? Do the tools provide the information
                     needed in a clear, easily understood presentation? It can be so frustrating trying to debug an
                     application that cannot set sufficient breakpoints, or does not detect NULL points.

                     What reference designs are available?

                     Reference designs can save time and money when building custom 802.15.4 boards. All
                     silicon vendors offer reference designs for their radios and MCUs. A reference design
                     will usually include a full schematic and a bill-of-materials.

                     A word of caution to those of you who make your own boards: you may build boards
                     in your sleep, but building RF boards is another thing. I’ve seen so many projects fail

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CH02-H8597.indd 56                                                                                                    7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 398 of 763 PageID #:
                                       2180



                                                                                            Deciding on ZigBee        57

                     because the engineering house thought it knew how to build the RF board, only to find
                     that they couldn’t build it to production quality with a sufficient radio range.
                     Consider outsourcing board layouts to a company that has a proven track record, or
                     consider using modules in your design. Everyone thinks they will ship millions of copies
                     of a given product. But why not get your initial production going using off-the-shelf,
                     precertified boards (aka modules), and then do a cost-reduction phase later? In most
                     cases, you’ll be better off with this approach.
                     What is the availability of the radio?
                     Sometimes companies forget to consider supply carefully enough. Sometimes, a project
                     will begin and plan to use a silicon product not yet in production. The vendor you work
                     with says it will be in production in June, but June comes and goes, July and August
                     come and go, and pretty soon your product is late or canceled or you must scramble to
                     find another solution, because the vendor’s silicon is just not ready. My advice is to only
                     plan products on silicon that is already in production.
                     Also, make sure that the supply will be big enough for you. Sometimes there is supply now,
                     but the silicon manufacturer won’t be making another run for two more years. Perhaps the
                     fab is used for something else in the meantime, or the company uses a third-party fab.
                     It’s a shame to have a successful product, only to run into supply problems.
                     Is an alternate supplier a requirement?
                     Some vendors will not consider a technology without multiple suppliers of that
                     technology. That’s one of the great things about ZigBee. There are so many suppliers.
                     But while ZigBee speaks the same language over-the-air, ZigBee does not have a
                     common software API. If you have a product that requires multiple suppliers, design
                     your application software so that it is portable among stack vendors.

                            Carefully consider all aspects of your design when selecting hardware.
                            See http://www.zigbee.org for a complete list of ZigBee silicon and solution providers.




                     2.3     ZigBee Modules
                     A ZigBee module is a board that is manufactured “application-ready.” The module
                     will almost certainly be government-certified, including CE Marking in Europe,

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CH02-H8597.indd 57                                                                                                         7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 399 of 763 PageID #:
                                       2181


                     58      Chapter 2

                     IC in Canada, and FCC in the U.S. The module will certainly have various I/O pins,
                     including binary GPIOs, and analog-to-digital pins. The module can be battery-operated,
                     and comes in a usable form, sometimes with a common connector to attach the module to
                     a motherboard (see Figure 2.3).

                     I can’t say enough good things about ZigBee modules. Modules save you money and
                     time, and until your production reaches the millions of units, there is rarely a good reason
                     to build your own board (other than it’s fun and you’ve always wanted to build your own
                     RF board, anyway).

                     Figure 2.3 shows a variety of modules. Simply google “ZigBee Modules” to get a
                     sampling of what modules are available. At the time of this writing, some popular ZigBee
                     modules are built by Panasonic, MeshNetics, LS-Research, Digi, Cirronet, AeroComm,
                     and many others, representing all the major ZigBee vendors.

                     Ask your hardware vendor what ZigBee modules they can recommend.

                     All the ZigBee module vendors offer some sort of development kit, which includes
                     a larger development board where power can be easily applied, sensors and other
                     peripherals can be added, and application software can be downloaded.


                                                             ZigBit Module with Dual Chip
                                                                       Antenna




                                                                  Part number: ZDM-A1281-A2

                                                                                                     PAN4555




                      Apex and Apex LT            Freestar



                                           Figure 2.3: A Sampling of ZigBee Modules

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CH02-H8597.indd 58                                                                                                  7/26/2008 12:36:21 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 400 of 763 PageID #:
                                       2182



                                                                                      Deciding on ZigBee       59

                     Other module vendors provide a “wire-replacement” or other application to use ZigBee
                     communications without knowing anything about ZigBee. Simply connect the module
                     to a UART on two more devices, send a few Hayes-style AT commands and you have a
                     mesh network. Easy!

                     Most modules are priced for the under-100 unit OEMs. But generally, if your company
                     will ship volume products, a better price per unit can be negotiated.

                     These same modules can be used with any protocol (802.15.4 MAC, ZigBee, proprietary)
                     that runs on 802.15.4 radios. If you later replace the modules with custom boards, the
                     software does not change, except possibly for a few low-level drivers interacting with
                     LEDs or other pins.

                     Okay, one more plug for modules. I have seen many projects fail because of
                     overconfidence from the hardware design group. They’ve created printed circuit
                     boards in their sleep. They’ve shipped many successful products, and know how to make
                     a board. They’ve looked at modules, but none of them are just perfect. So they embark
                     on making a custom board, only to find six months later that RF is hard. Really hard!

                     Subtle things, such as a technical balan that matches the specification but doesn’t perform
                     as expected, can cause delays. Perhaps the range available from the radio is just not what
                     it should be. Perhaps there is noise near the chip that interferes with the application.
                     Perhaps the antenna design just isn’t doing what the simulations say it should.

                     Do yourself a favor. Use a module, at the very least, through the Beta phase. For many
                     products, modules are cheaper even in the long run. They are certainly cheaper in the
                     short run. Save the custom RF board during the cost reduction phase of the product.


                     2.4      A ZigBee Checklist
                     This is really just a list of things to remember when building a ZigBee application. There
                     is no right or wrong answer, and this certainly isn’t a definitive list, but make sure you’ve
                     thought about each item below. Hopefully they will save you some time and money, more
                     than you’ve spent on this book.

                     Protocol Selection
                     How often does the application need to communicate? Think of all nodes that need to speak
                     and develop a worst-case “bandwidth” simulation. Can the application be less “chatty?”

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CH02-H8597.indd 59                                                                                                   7/26/2008 12:36:22 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 401 of 763 PageID #:
                                       2183


                     60       Chapter 2

                          ●   Does the protocol need to speak 802.15.4? ZigBee?
                          ●   Is simplicity (a shorter learning curve) more important, or is compatibility with
                              industry standards more important?
                          ●   How large will the expected network be? Normal case? Largest configuration? Is
                              it better to ship more quickly with a smaller network size target?
                          ●   Will it interact with products from other OEMs?
                          ●   Will other networks be in the vicinity? Other 802.15.4 networks? Will they cause
                              interference?
                          ●   What security is required by the application?
                          ●   Is low latency more important or low power?
                          ●   How important are gateways? To a host processor? To a PC? The Internet?

                     Hardware Selection
                          ●   Will a ZigBee module work for the Proof-of-concept? Beta? Production?
                          ●   What power supply will be used? Does the hardware selected support the
                              appropriate voltage across the life of the power supply?
                          ●   Develop a power budget. What are all the power consumers on the board?
                          ●   Is size an issue? Does the package need to fit into a small space? How small?
                          ●   Is range important? What type of antenna will be used?
                          ●   Are there any MCU hardware or peripherals that are particularly important to the
                              application? For example, is a second SPI port needed? A UART?
                          ●   Is time important to this application? Is an external crystal needed for accuracy
                              while in low-power mode?
                          ●   Is the price range for the part acceptable?
                          ●   What other hardware is needed beyond the hardware provided by the primary
                              802.15.4 silicon vendor? Will they have any troubles working together?

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CH02-H8597.indd 60                                                                                                7/26/2008 12:36:22 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 402 of 763 PageID #:
                                       2184



                                                                                     Deciding on ZigBee         61

                     Stack Selection
                        ●   Is the ZigBee stack certified? If not, is compatibility important?
                        ●   How easy is it to set up a 12 node network? Set up as large of a network as you
                            can when evaluating a stack. Many problems don’t appear with just a few nodes.
                            Try 20 or more, if possible.
                        ●   Have you done the diamond network test (verify automatic route recovery)? If
                            not, see Chapter 4, “ZigBee Applications,” for a complete explanation.
                        ●   Try turning on all the nodes, to join the network at once. Does the network figure it
                            out and eventually allow all nodes to join? This test can be tough for some stacks.
                        ●   On the selected hardware, how much room does the stack leave for your
                            application? In ROM (Flash)? In RAM?
                        ●   Does the application use a ZigBee public Application Profile? If so, is the one
                            from the stack vendor good enough? How much work is needed to go from a
                            technology demo to commercial quality on this profile?
                        ●   What software is needed, beyond what the stack vendor provides, to complete this
                            application?


                     Application Development
                        ●   How many developers will be on the project? Do they have sufficient tools? Are
                            they familiar with the tools, or will there be a learning curve?
                        ●   Would ZigBee or protocol training be helpful for your staff?
                        ●   Is a protocol analyzer (such as Daintree) budgeted for? Plan at least one for the
                            group, perhaps one per developer.
                        ●   Can the application be developed in parallel to the hardware? If so, are the silicon
                            vendor reference boards good enough? Are ZigBee modules needed?
                        ●   Plan to build a mock-up test in the intended physical environment (at the loading
                            docks, for example). How many nodes are needed? What test software is needed
                            to capture the proper test data? Can a network of proper size be built ahead of
                            time using a mock application?
                        ●   How will the software be tested? Will there be an automated nightly build?

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CH02-H8597.indd 61                                                                                                   7/26/2008 12:36:22 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 403 of 763 PageID #:
                                       2185


                     62       Chapter 2

                          ●   Think about in-field testing? How will this be conducted? How will the
                              application be debugged in the lab? In the field?
                          ●   What debugging diagnostics are needed to ship with the product?
                          ●   Is a watchdog used? Under what conditions?
                          ●   How real-time does the application need to be?
                          ●   How will the application manage non-volatile memory (persistent storage)? Are
                              there other ZigBee tables or memory that must be managed by the application? If
                              so, what are they?
                          ●   Think about designing the application so that it is portable between processors
                              and stacks. Is the application paying attention to the Endian-ness of its
                              own application protocol? Will a mixed network be used with different Endian
                              MCUs?
                          ●   Is any application code that is stack-specific separated from application code that
                              is stack-neutral?
                          ●   Is it better to write the application in-house, or hire a third party already familiar
                              with ZigBee and Networking?

                     Manufacturing
                          ●   Will units be manufactured in-house? If so, how will they be managed?
                          ●   If manufactured out-of-house, can they meet your volume and schedules? What
                              tools do they have for serializing the board images?
                          ●   How will MAC addresses be assigned to each board? How will they be managed?
                              Do they need other information assigned at manufacturing time?
                          ●   How will the nodes be packaged?
                          ●   How will they be shipped? Are the radios excluded from air shipments (which
                              don’t allow RF)?

                     Deployment
                          ●   Who will be the installer(s) of the network? How simple does it need to be?
                          ●   How will the installer(s) know if routers are near enough to each other?

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CH02-H8597.indd 62                                                                                                     7/26/2008 12:36:22 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 404 of 763 PageID #:
                                       2186



                                                                                   Deciding on ZigBee     63

                     ●   Does every node in the network at least have two routers within hearing range?
                         How will the installer know?
                     ●   How will the installer verify that everything is installed correctly?
                     ●   Will the network be built in pieces, such as one hotel room at a time? Or will the
                         network be built out from the center?
                     ●   Does the application take care of all commissioning simply and easily for
                         the user?
                     ●   How will nodes be replaced if they break, or stop functioning over time?




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CH02-H8597.indd 63                                                                                             7/26/2008 12:36:22 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 405 of 763 PageID #:
                                       2187




                                                                                                   CHAPTER 3

                            The ZigBee Development Environment


                     This chapter is for those who want to understand how to develop for ZigBee. It does not
                     describe the ZigBee protocol, just the embedded development process, and in particular,
                     how to build and run the example programs available throughout the book.
                     If you’ve already developed for wireless networks before, and have used tools to
                     compile, download, and debug embedded programs, then some of this will be review.
                     If you’re already very familiar with the Freescale BeeKit development environment,
                     the CodeWarrior IDE, the HCS08, and the Daintree Sensor Network Analyzer, then
                     much of this will be review.
                     If, however, you are setting up a team to develop ZigBee-based products, or are new
                     to embedded development, or if you want to follow along with the examples using
                     actual hardware rather than simply reading about ZigBee, then this chapter contains what
                     you need.
                     As usual, we begin with the real story about how ZigBee got its name.

                        The Aztecs were a Pre-Columbian Mesoamerican people of what is now known as Central
                        Mexico.
                        Chapultepec, “at the grasshopper hill” in the Nahuatl language, is a large hill on the
                        outskirts of central Mexico City. In the days when Tenochtitlán was the island capital of
                        the Aztecs, built on a series of islets in Lake Texcocoth, the city was linked to Chapultepec
                        by a causeway. Aztec chiefs turned the hill and the surrounding forest into a royal retreat.
                        The poet-king Nezahualcóyotl built a palace there in the 1400s, along with an aqueduct
                        to carry spring water to the Aztec capital, and a sculpture of Moctezuma can still be seen
                        carved into the rock of Chapultepec, not far from Huemac’s cave. One of the pleasures the
                        royalty enjoyed during this time was one we take for granted today: ice.


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CH03-H8597.indd 65                                                                                                      7/28/2008 6:00:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 406 of 763 PageID #:
                                       2188


                     66        Chapter 3

                          Ice, as you can imagine, was very difficult to come by in the hot climate of Central
                          America. The Aztecs would cut ice from glaciers in the nearby mountains and runners
                          would carry the ice packed in skins, down to Chapultepec.
                          No single runner could make it all the way with a packet of unmelted ice, so a series of
                          runners were stationed along the route, each to take the ice and pass it along to the next
                          runner, eventually to end up at the final destination—Chapultepec. They called this service
                          Zigibi.
                          Zigibi was similar to how ZigBee functions today: multi-hopping packets along a route
                          from one node, through a series of other nodes to the final destination, ensuring that the
                          packet arrives in a timely manner.
                          The hill of Chapultepec and the surrounding land are now Chapultepec Park, a popular
                          spot both for locals and tourists. The park covers 1,600 acres of land, with centuries-
                          old forest, several small lakes, landscaped areas and outdoor cafes. Chapultepec Zoo is
                          located there, as well as an amusement park, La Feria, and it is the official residence of
                          the President of Mexico, Los Pinos.



                     3.1 Development Hardware
                     ZigBee is a small wireless networking protocol designed for IEEE 802.15.4 radios and
                     8-bit microcontrollers. Together, the radio, ZigBee stack, and microcontroller make
                     what is called a platform. If the platform has been certified by the ZigBee Alliance
                     as compliant (and not all ZigBee platforms are), then the platform is called a ZigBee
                     Certified Platform, or ZCP.
                     Developing for ZigBee is basically the same for all platforms (see Figure 3.1). A PC set
                     of tools builds and compiles applications, which are then downloaded into target boards
                     for debugging, usually through USB or Ethernet (although some platforms allow wireless
                     download).
                     The PC tools required for ZigBee development usually include:
                          ●   An IDE for development, including compiling code into the appropriate form for
                              the target microcontroller
                          ●   A ZigBee stack configuration or application “template” tool
                          ●   A debugger for downloading and stepping through source code lines on the target
                              platform
                          ●   A protocol analyzer for debugging the network over-the-air

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CH03-H8597.indd 66                                                                                                      7/28/2008 6:00:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 407 of 763 PageID #:
                                       2189



                                                                  The ZigBee Development Environment            67




                                           Figure 3.1: ZigBee Development Hardware


                         ●   Hardware for ZigBee development kits usually include:
                         ●   Two or more ZigBee boards
                         ●   A means of connecting target boards to the PC, usually through USB or Ethernet
                         ●   A JTAG or BDM debug device for programming the flash memory in the target
                             boards
                         ●   A sniffer for detecting over-the-air packets and delivering them to the protocol
                             analyzer
                         ●   Power supplies and/or batteries for powering the boards
                     At the time of this writing, some of the main ZigBee platform vendors include:
                         ●   Airbee
                         ●   Atmel
                         ●   Ember

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CH03-H8597.indd 67                                                                                                   7/28/2008 6:00:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 408 of 763 PageID #:
                                       2190


                     68       Chapter 3

                          ●   Freescale
                          ●   Integration Associates
                          ●   Jennic
                          ●   MeshNetics
                          ●   Microchip
                          ●   NEC
                          ●   Oki
                          ●   Renesas/ZMD
                          ●   Silicon Laboratories
                          ●   ST Microelectronics
                          ●   Texas Instruments/ChipCon

                     Of these vendors, only TI, Ember, Integration Associates, and Freescale are considered
                     Golden Units. Golden Units form the ZigBee compatibility test suite sanctioned by the
                     ZigBee Alliance. All other ZigBee Certified Platforms are tested against the Golden Units
                     for compliance. Not all vendors provide ZigBee Certified Platforms, but most do. Make
                     sure to check when evaluating a vendor, as a non-certified stack may not work with other
                     ZigBee stacks (but could still be used as a proprietary mesh-networking stack).
                     Of the ZigBee Certified Platforms, I’ve chosen Freescale for this book, mainly because
                     it’s the one I’m most familiar with. I’ll be delving into many details of that platform, but
                     as you can expect with any book, some information will be out-of-date by the time this
                     is in print. The ZigBee concepts will remain the same, however, as ZigBee, like IP and
                     WiFi™, is a standard protocol designed to be available for many years to come.
                     Of course, the easiest way to learn the current details of each platform is to go to the
                     World Wide Web. The Web sites for larger corporations include a simple way to find
                     information on their ZigBee products, such as http://www.freescale.com/zigbee, http://
                     www.ti.com/zigbee, or http://www.st.com/zigbee. For smaller companies, the ZigBee
                     information tends to be somewhere on their home page (e.g., http://www.ember.com).
                     Some of the platforms are pictured in Figure 3.2. Notice the variety of form factors,
                     antenna designs, and peripherals. And these are just development boards from the silicon
                     vendors. There are also many, many pre-certified module designs for any application.

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CH03-H8597.indd 68                                                                                                  7/28/2008 6:00:52 PM
                                                Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 409 of 763 PageID #:
                                                                                    2191
CH03-H8597.indd 69




                                                                     Freescale                                               Texas                                                  Integration
                                                                      Platform                                            Instruments                                               Associates
                                                                                                                            Platform                                                 Platform

                                                                                                                                                                                                    ZigBit Module




                                                                                                                                                                                                                                 The ZigBee Development Environment
                                                                                 M16C/Tiny MCU                                                                               PCB Antenna
                                                                                                      Ember RF Communication Module                                                                         DIP
                                                                                                                                                                                                            Switches
                                                 Photo sensor                                                                           Low Profile RP-SMA Antenna                                                 LEDs
                                                                                   Thermistor                                                                        Light Sensor
                                                                                                                                                                                                               Reset Button
                                                 In-Circuit debug
                                                 connector (ICD)
                                                                                      RS232
                                                 Power Switch
                                                 Power                                                                                                               Temperature
                                                 connector                       Reset Switch    Ember Emulator /                                                    Sensor                                          DC
                                                                                                                                                                            Battery
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                                                                                                 Debug Module                                                               Holder                                   Connector
                                                 8 character x
                                                                                                                                                                                 USB                             JTAG
                                                 2 lines LCD
                                                                                                                                                                                 Connector                       Connector
                                                                                                                                                                                        Button 1                SPI
                                                 Analog                                                   Carrier Board                                                                  Button 2
                                                                                                                                                                                                              ADC
                                                 Adjust (R44)                                                                                                                              UART
                                                                                                                                                                                                            USART



                                                                    Renesas                                               Ember Platform                                                       MeshNetics
                                                                    Platform                                                                                                                    Platform

                                                                                                   Figure 3.2: Some ZigBee Platforms




                                                                                                                                                                                                                                 69
7/28/2008 6:00:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 410 of 763 PageID #:
                                       2192


                     70      Chapter 3

                                                             The Freescale Solution

                                Transceiver
                                                                                MCU
                                   Analog                             GPIO
                                  Receiver                                      HCS08 CPU      BDM




                                                Digital Transceiver
                                                                       SPI                      8-ch
                                                                                  Flash
                                 Frequency                                                     10-Bit
                                                                                 Memory                     Sensors
                                 Generator                            Timers                   ADC
                                                                                                               and
                                                                                   RAM         2xSCI       Peripherals
                                   Analog                             Control
                                 Transmitter                           Logic       SPI          IIC

                                          Buffer RAM                                  LVI    4-ch 16-bit
                                                                                               Timer
                                     IRQ                                           COP
                                                     RAM Arbiter
                                    Arbiter                                       Internal
                                                                                              Up to
                                   Power                     Voltage               Clock
                                                                                             36 GPIO
                                 Management                 Regulators           Generator



                                                  Figure 3.3: A Typical ZigBee System


                     The heart of a ZigBee platform is the 802.15.4 radio. While it can be sold stand-alone, the
                     radio is often coupled with a microcontroller inside a system-in-package (SIP) or system-
                     on-chip (SOC). Typically the radios and microcontrollers are both good at low power,
                     consuming something below two microAmps (μA) when in low power mode. Due to the
                     low-cost nature of ZigBee, the microcontrollers are usually 8-bit, although 16-bit and
                     32-bit micros are starting to become common and with surprisingly small price tags.
                     A typical diagram for a ZigBee radio and MCU looks something like the arrangement
                     in Figure 3.3. The radio (also called a transceiver) communicates to the MCU through
                     the Serial Peripheral Interface (SPI) port with interrupts signaling events, such as when a
                     packet has been received, or the channel is clear to transmit.
                     The sensors, actuators and other peripherals which make up the full application beyond
                     the ZigBee networking portion tend to be external, and connected through an analog-to-
                     digital converter (ADC) or SPI, IIC or UART (serial port).
                     The ZigBee microcontroller in these single-package systems has a wide set of peripherals
                     and enough RAM and Flash memory to run the ZigBee stack and at least a small ZigBee
                     application. Some have as little as 60 K of flash and 4 K of RAM; others have 128 K of

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CH03-H8597.indd 70                                                                                                       7/28/2008 6:00:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 411 of 763 PageID #:
                                       2193



                                                                   The ZigBee Development Environment            71


                                                               Big                  Big
                                                              MCU                  MCU
                                                            (e.g. x86)           (e.g. x86)



                                          ZigBee             ZigBee               ZigBee
                                            SIP                SIP                Radio


                                       Stand-Alone          ZigBee              MCU ⫹ ZigBee
                                       ZigBee Board      Communication             Radio
                                                            Module

                                            Figure 3.4: ZigBee Board Configurations

                     flash or more, and 8 K of RAM. Check with the vendors for their latest offerings. Generally
                     you will see one of three silicon configurations for ZigBee boards (see Figure 3.4).
                         ●   A stand-alone board with a ZigBee single chip solution, in which the application
                             is completely encapsulated on the board.
                         ●   A communications module in which the ZigBee single chip solution acts as a
                             networking link, but the more complex application resides on another, usually
                             32-bit MCU.
                         ●   A board in which the ZigBee radio is stand-alone, and the ZigBee protocol runs
                             on the larger host CPU.
                     Every silicon vendor who makes ZigBee radios offers some sort of development kit,
                     complete with all the hardware and software necessary to develop ZigBee or 802.15.4
                     applications. These kits come with two or more development boards, a USB, serial or
                     Ethernet connection to the boards, and some kind of debug connection (BDM or JTAG)
                     to download new binary images into the boards and to debug applications. The kits also
                     come with sample applications to get you started.
                     These kits vary quite a bit in pricing, so check the Web for the latest information. They
                     can be purchased directly from the silicon vendor’s site, or through distributors such as
                     DigiKey (http://www.digikey.com).
                     I won’t recommend a particular ZigBee kit, radio or stack here because that landscape
                     changes quickly, and different components are better suited for different projects.
                     A simple, broad recommendation is that you can trust the products from the big name

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CH03-H8597.indd 71                                                                                                    7/28/2008 6:00:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 412 of 763 PageID #:
                                       2194


                     72      Chapter 3

                     silicon vendors. They tend to have large distribution channels, worldwide support,
                     and strong internal testing, and tend to stay in the market for long periods of time. The
                     smaller companies, however, can often offer more personalized and flexible support.
                     Because nearly every 8-bit silicon vendor offers a ZigBee solution, you are probably
                     already familiar with your favorite players. My suggestion is to read the online literature
                     and talk to their customers.


                          Go to www.company.com/zigbee to find information on a company’s ZigBee offerings,
                          for example, http://www.freescale.com/zigbee, or http://www.ti.com/zigbee.


                     3.1.1    Introduction to the Freescale NSK
                     As mentioned previously, the examples in this book are mostly made on the Freescale
                     ZigBee Certified Platform, BeeStack. The choice was made because it’s one of the
                     prominent ZigBee solutions, and also the one this author is most familiar with.
                     To keep things simple, the bulk of the examples throughout this book are designed to
                     work with a particular hardware kit provided by Freescale, the Network Starter Kit
                     (1321xNSK-BDM). This kit comes complete with everything needed to develop ZigBee
                     applications: three ZigBee boards (one NCB and two SRBs), a compiler (CodeWarrior), a
                     debugger, and a ZigBee stack configuration tool (BeeKit). In addition, a trial version of a
                     third-party ZigBee network analyzer is included (the Daintree Sensor Network Analyzer).
                     Look over the NSK components as shown in Figure 3.5. As you can see, the kit includes
                     a set of ZigBee boards, power supplies and batteries for the ZigBee development boards,
                     USB cables to connect to the boards, and the installation software on CD.
                     Each ZigBee board in the Freescale NSK uses the Freescale MC13213 single-chip
                     solution (the radio and MCU in a SIP). Each board comes in a plastic case with a clear
                     cover. Each board hosts four application-driven buttons, a reset button, four LEDs, and a
                     serial connection via the USB port. In addition, each board exposes the GPIOs available
                     from the microcontroller, so that sensors and actuators can be added using a simple
                     connector.
                     The smaller Sensor Remote Boards (SRB) also include a low-g 3-axis accelerometer
                     (MMA7260Q) and a temperature sensor (LM61BI), both of which will be used in
                     examples later on in this book. The larger Network Control Board (NCB) does not
                     include sensors, but does include a 2-line by 16-column LCD display.

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CH03-H8597.indd 72                                                                                                 7/28/2008 6:00:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 413 of 763 PageID #:
                                       2195



                                                                  The ZigBee Development Environment           73




                                      Figure 3.5: The Freescale Network Starter Kit (NSK)




                                             Figure 3.6: ZigBee Is as Small as a Dime


                     Although the development boards themselves are the size of a small PDA, it’s interesting
                     to note that the ZigBee components fit into the area of a U.S. dime (the MC13213 is in
                     a 7 ⫻ 7 mm package). The white rectangle contains all the ZigBee components on the
                     Freescale SRB (see Figure 3.6). This is true of every vendor. ZigBee is small.

                     Each Freescale board is also available as a full reference design, and can be downloaded
                     free-of-charge from the Freescale Web site, complete with schematics and a bill of materials
                     (BOM). Free schematics are pretty typical with the ZigBee platform vendors. They are
                     interested in selling chips so they do everything they can think of to make your life easier.

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CH03-H8597.indd 73                                                                                                   7/28/2008 6:00:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 414 of 763 PageID #:
                                       2196


                     74      Chapter 3


                             The Freescale Network Starter Kit (NSK) is used for the examples in this book.
                             Full hardware reference designs for many platforms are available on the web.


                     3.2     The ZigBee Stack
                     Hardware is important, but the development environment wouldn’t be ZigBee without a
                     ZigBee stack. Every 802.15.4 silicon vendor offers at least one version of a ZigBee stack
                     for their radio (at least in the 2.4 GHz band). Some offer more than one.
                     There are even ZigBee stack vendors who offer a software stack independent of the
                     hardware. These stacks can run across multiple silicon vendors’ products (both MCUs
                     and radios). Airbee offers one such platform.
                     The quality of the ZigBee stack may be the single most important decision you make when
                     selecting a ZigBee vendor. A simple test I like to perform when evaluating a new stack is
                     this: Start with 4 nodes and spread them in a diamond pattern, as shown in Figure 3.7.
                     Make sure that node A is out-of-range of node D. You can test this by having node D
                     try to join the network. It should fail (because it can’t hear node A). Next, bring node B
                     into the network and it should join A. Then node D should join node B (you may need to
                     bring node D a little closer). Toggle the HA On/Off Light at node A using the HA On/Off
                     Switch at node D. Use an acknowledged message so it is retried automatically by ZigBee
                     at node D. I often use a sniffer to make sure that the packet is truly multi-hopping.
                     Next, turn node B off and turn node C on. Attempt to toggle the light. If the stack doesn’t
                     recover within one or two button presses, you have a problem: ZigBee mesh networking




                                                                Node B
                                                                ZR Light

                                    Node A
                                    ZC Light
                                                                                            Node D
                                                                                           ZR Switch

                                                            Node C
                                                            ZR Light

                                               Figure 3.7: ZigBee Diamond Network

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CH03-H8597.indd 74                                                                                                 7/28/2008 6:00:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 415 of 763 PageID #:
                                       2197



                                                                   The ZigBee Development Environment         75

                     is not working for the stack. I am amazed time and again how many stacks fail this
                     basic, simple test. I provide a working example of this test in Chapter 7, “The ZigBee
                     Networking Layer.”

                     Another simple, but related test works this way. Do the same thing, but use two or more
                     different ZigBee vendors. All vendors should have some example of the Home Automation
                     On/Off Light and Switch. The On/Off Light application is the “Hello World” of ZigBee.

                     The ZigBee Alliance only certifies platforms, a combination of the hardware and
                     software. The ZigBee Alliance does not certify the individual components, such as the
                     stack or silicon, independently. If a silicon vendor makes a new chip, they must recertify.
                     If they make a (significantly) new stack, they must recertify.
                     A ZigBee stack usually runs in a small multitasking environment, complete with drivers
                     for the on-board peripherals such as buttons and LEDs, non-volatile, storage and the like.
                     In the 8-bit microcontrollers, these environments are usually cooperative (as opposed to
                     pre-emptive) multitasking and are pretty lightweight.
                     The multitasking kernel (see Figure 3.8) found with ZigBee implementations include
                     multiple timers to allow applications to time various events, and for ZigBee to time
                     random back-offs, retransmissions, acknowledged packets, and other networking



                                                                              Platform
                                                 Application(s)
                                                                             Components

                                                                               Timers

                                                  Multitasking
                                                    Kernel                      NVM


                                                                               Memory

                                                  ZigBee Stack
                                                                               UARTs


                                                                             LEDs, LCD
                                                  802.15.4 Radio
                                                 (MAC and PHY)                Keyboard



                               Figure 3.8: ZigBee Implementations Include a Multitasking Kernel

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CH03-H8597.indd 75                                                                                                 7/28/2008 6:00:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 416 of 763 PageID #:
                                       2198


                     76      Chapter 3

                     operations. The kernel also controls memory allocation for transmitted and received
                     packets.
                     ZigBee typically comes in partial source, with the bulk of the code provided in object or
                     library form. Some vendors offer full code for their ZigBee stacks, either for free or a price.
                     I don’t know of any generic open-source project that is active at this time that supports
                     multiple platforms, but perhaps someone will write one someday and certify it. Hint: If
                     you are interested in working on such a project, contact me and I’ll work to get you the
                     support you need within the ZigBee Alliance.
                     I’ve already covered the ZigBee stack architecture at a high level in Section 1.4,
                     “Hello ZigBee,” and I’ll cover it in depth in Chapters 4 through 7, but for now I’ll recap
                     the Chapter 1 information here. ZigBee is separated into layers, with the lowest layers,
                     the MAC and PHY, adhering to the IEEE 802.15.4 specification. The next layer up
                     is the NWK layer which keeps track of network concepts, such as mesh routing. The
                     highest layers (below the application) are APS and ZDO, which provide application level
                     interoperability and functionality, including the end-to-end acknowledgment of packets
                     and the concept of Application Profiles.
                     So with that overview, I’ll get into a few more details of a specific ZigBee Stack:
                     Freescale BeeStack.

                           Make sure the ZigBee implementation is a ZigBee Certified Platform (ZCP).
                           ZigBee stacks also include a multitasking kernel.
                           Verify that the stack can easily recover routes in the diamond network configuration.


                     3.2.1 Introduction to Freescale BeeStack
                     BeeStack is the name Freescale has given to their ZigBee implementation. It comes as
                     part of a software package called BeeKit, which I’ll discuss in the next section. BeeStack
                     is Golden Unit-certified, which means the ZigBee Alliance uses Freescale BeeStack as
                     part of the test harness to validate other ZigBee solutions.

                     BeeStack implements ZigBee in modules that mirror the ZigBee diagram shown in
                     Figure 3.9, complete with PHY, MAC, NWK, APS, SSP, ZDO, and AF layers. Each layer
                     is connected through what is called a Service Access Point (SAP). And the messages
                     which flow through the SAP handlers look just like the commands in the ZigBee
                     specification.

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CH03-H8597.indd 76                                                                                                     7/28/2008 6:00:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 417 of 763 PageID #:
                                       2199



                                                                                     The ZigBee Development Environment                      77


                                                             Application Framework




                                                                                                      ZPUI
                                                       Application                  Application                  ZigBee Device
                                                       Object 240                    Object 1                    Object (ZDO)
                                                      [On Endpoint 240]             [On Endpoint 1]
                                                                                                                   [On Endpoint 0]
                                                        APSDE-SAP                    APSDE-SAP                    APSDE-SAP
                                         APSSDE-SAP




                                                                                                                                 APSME-SAP
                                                                     Application Support (APS) Sub-Layer
                             Security
                             Service                     NLDE-SAP

                             Provider




                                                                                                                                 NLME-SAP
                                         NLSE-SAP




                                                                               Network (NWK) Layer

                                                         MCPS-SAP                                                 MLME-SAP



                                                                          Medium Access Layer (MAC) Layer

                                                          PD-SAP                                                  PLME-SAP



                                                                                Physical (PHY) Layer


                                                           Figure 3.9: The ZigBee Architecture

                     For example, open up the ZigBee Specification book to page 33 and look at Table 2.2,
                     APSDE-DATA.request. You have already downloaded the ZigBee specification, right? If not,
                     go to http://www.zigbee.org, and download it. The specification will come in very handy for
                     reference if you do any ZigBee development at all. The ZigBee specification is free.
                     Table 3.1 describes a ZigBee command, called APSDE-DATA.request, which is the
                     command that sends data from one node to another at the application level. Since this
                     command is in the APS layer, it starts with APS (there is also an NLDE-DATA.request,
                     but applications don’t interact with that command directly).
                     Now take a look at the C data type used for this command in BeeStack, as seen by the
                     AF-APS SAP handler:
                     typedef struct zbApsdeDataReq_tag {
                       zbAddrMode_t dstAddrMode; /* indirect, group, direct-16,
                                                     direct-64 */
                       zbApsAddr_t dstAddr;       /* short address, long address
                                                     or group (ignored on indirect
                                                     mode) */


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CH03-H8597.indd 77                                                                                                                                7/28/2008 6:00:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 418 of 763 PageID #:
                                       2200


                     78        Chapter 3

                       zbEndPoint_t dstEndPoint;          /* destination endpoint (ignored
                                                             if group mode) */
                       zbProfileId_t aProfileId;          /* application profile (either
                                                             private or public) */
                       zbClusterId_t aClusterId;          /* cluster identifier */
                       zbEndPoint_t srcEndPoint;          /* source endpoint */
                       uint8_t    asduLength;             /* length of payload */
                       uint8_t    *pAsdu;                 /* pointer to payload */
                       zbApsTxOption_t txOptions;         /* options on transmit */
                       uint8_t      radiusCounter;        /* # of hops */
                     } zbApsdeDataReq_t;

                     Notice any similarities? That’s right, they’re identical. Where possible, BeeStack
                     implements exactly what is in the ZigBee specification. See Chapter 4, “ZigBee
                     Applications,” for more discussion on this topic, and to learn about data requests in detail,
                     including the meaning of all the parameters above.
                     If you see the term “higher layer,” think of the data flowing upward in Figure 3.9, from
                     the radio toward the application. If you see the term “lower layer,” think of the data
                     flowing downward from the application toward the radio.
                     BeeStack applications are written in the C programming language, a common language
                     for 8-bit embedded programming. ZigBee does not mandate the C language. One vendor,
                     MeshNetics, uses a proprietary language called NesC. But a ZigBee stack could be

                                                Table 3.1: The APSDE-DATA.request
                     Name             Type            Range             Description
                     DstAddrMode      Integer         0x00–0xff         The addressing mode for the source address…
                     DstAddress       Address         As specified by   The individual device address or group…
                                                      DstAddrMode
                      DstEndpoint     Integer         0x00–0xff         Destination endpoint…
                     ProfileId        Integer         0x0000–0xffff     The identifier of the profile for which this
                                                                        frame is intended
                     ClusterId        Integer         0x0000–0xffff     The identifier of the object…
                     SrcEndpoint      Integer         0x00–0xff         The individual endpoint from which the
                                                                        ASDU is being transferred
                     asduLength       Integer         0x00–0x50         Length of ASDU in octets
                     Asdu             Set of Octets                     Octets comprising ASDU
                      txOptions       Bit-Map         0000 0xxx         The transmission options for ASDU…
                      Radius          Integer         0x00–0xff         Distance, in hops…


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CH03-H8597.indd 78                                                                                                     7/28/2008 6:00:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 419 of 763 PageID #:
                                       2201



                                                                  The ZigBee Development Environment           79

                     written in any language, including Java, Basic or C #. However, because most ZigBee
                     stacks run on 8-bit or 16-bit microcontrollers, C is the natural language of choice.
                     BeeStack is divided into a set of tasks that run in a small multitasking kernel, one task per
                     module. The NWK layer is contained in a task, so is ZDO, APS, and the other ZigBee
                     modules.
                     Each BeeStack application has an application task. This task is initialized through a
                     function called BeeAppInit(). The job of BeeAppInit() is to initialize any platform
                     components that the application needs, such as LEDs, the LCD, the keyboard, sensors
                     and so on, and to register endpoints with BeeStack so the stack can send and receive data
                     on those endpoints, interacting with other ZigBee nodes in the network.
                     A common BeeAppInit() function looks as follows in BeeStack:
                     /***************************************************************
                     *
                     *BeeAppInit
                     *
                     *Initializes the application
                     **************************************************************/
                     void BeeAppInit( void )
                     {
                       index_t i;
                       /* initialize LED driver */
                       LED_Init();
                       /* register to get keyboard input */
                       KBD_Init(BeeAppHandleKeys);
                       /* initialize LCD (NCB only) */
                       LCD_Init();
                       /* initialize buzzer (NCB, SRB only) */
                       BuzzerInit();
                       BuzzerBeep();
                       /* register to get ZDP responses */
                       Zdp_AppRegisterCallBack(BeeAppZdpCallBack);
                       /* flash LED1 to indicate not on network */
                       LED_TurnOffAllLeds();
                       LED_SetLed(LED1, gLedFlashing_c);
                       /* indicate the app on the LCD */
                       LCD_WriteString(2, “CustomApp”);
                       /* register the application endpoint(s) */
                       for(i=0; i<gNum_EndPoints_c; ++i) {
                       (void)AF_RegisterEndPoint(endPointList[i].pEndpointDesc);
                       }


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CH03-H8597.indd 79                                                                                                   7/28/2008 6:00:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 420 of 763 PageID #:
                                       2202


                     80      Chapter 3

                         /* remember first endpoint */
                         appEndPoint=
                         endPointList[0].pEndpointDesc->pSimpleDesc->endPoint;
                         /* remember first cluster */
                         Copy2Bytes(appDataCluster, endPointList[0].
                         pEndpointDesc->pSimpleDesc->pAppInClusterList);
                         /* allocate timers for use by this application */
                         appTimerId = TMR_AllocateTimer();
                     }

                     A mechanism that is used frequently in BeeStack is the concept of callbacks. Take a look
                     at the line of code above which calls KBD_Init(). As a parameter, KBD_Init() is passed
                     the function to call when a key is available, in this case BeeAppHandleKeys().
                     Likewise, the function AF_RegisterEndPoint() is passed an endpoint description
                     which includes, as one of its fields, a function to call when that endpoint receives
                     data from another node in the network. The default callback function is named
                     BeeAppDataIndication(). You may remember from the ZigBee terms discussion in
                     Chapter 1 that a “data indication” means to receive data.
                     The last line in the initialization function above allocates a timer for use by the
                     application. Timers in BeeStack are allocated before they can be used (started and
                     stopped). Timers are used for anything that must be timed, for example to read a sensor
                     at specific intervals or to flash an LED. The timer, when it expires, calls the call-back
                     function provided to the start timer function.
                     void MyLedBlinkFunction(void)
                     {
                       /* flash LED4 for 3 seconds */
                       LED_SetLed(LED4, gLedFlashing_c);
                       TMR_StartSingleShotTimer(appTimerId, 3000, MyTimerCallBack);
                     }
                     void MyTimerCallBack(tmrTimerID_t timerId)
                     {
                       (void)timerId; /* timer ID not used in this case */
                       LED_SetLed(LED4, gLedOff_c);
                     }

                     When the timer of 3,000 milliseconds (3 seconds) expires, the MyTimerCallBack() function
                     is called, which then turns off the flashing LED. Timers can be set up to be repeating by
                     calling TMR_StartIntervalTimer(). There is no limit to the number of timers in the system,
                     other than RAM. Each timer requires six bytes of RAM. They all share and are controlled
                     by a single hardware timer (TPM1, if you are familiar with the Freescale HCS08 MCU).
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CH03-H8597.indd 80                                                                                                7/28/2008 6:00:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 421 of 763 PageID #:
                                       2203



                                                                 The ZigBee Development Environment         81

                     Another callback, the keyboard, is used extensively in the examples, but may not be used
                     as much in commercial applications. Some commercial applications have no buttons at all
                     on the units (not even a reset button).
                     A “key” may not always be a physical button press. For example, one application San
                     Juan Software wrote used the keyboard interface to indicate if a door or window opened
                     or closed for a security system. The keyboard interface on the HCS08 MCU can wake the
                     processor with an interrupt. The interrupt was used to allow the unit to sleep most of the
                     time but to wake instantly if a door or window opened. The unit then woke the radio and
                     used ZigBee to communicate to the security system.
                     Below is an example of a keyboard callback from a Home Automation On/Off Switch.
                     void BeeAppHandleKeys(key_event_t events)
                     {
                       if(gmUserInterfaceMode == gApplicationMode_c) {
                         switch (events) {
                            /* SW1 toggles the remote light */
                            case gKBD_EventSW1_c:
                              OnOffSwitch_SetLightState(
                                gSendingNwkData.gAddressMode,
                                aDestAddress,
                                EndPoint,
                                gZclCmdOnOff_Toggle_c,
                                gApsTxOptionDefault_c);
                              break;
                             /* SW2 turns the remote light on with ZigBee ACK */
                             case gKBD_EventSW2_c:
                               OnOffSwitch_SetLightState(
                                 gSendingNwkData.gAddressMode,
                                 aDestAddress,EndPoint,
                                 gZclCmdOnOff_On_c,
                                 gApsTxOptionDefault_c | gApsTxOptionAckTx_c);
                               break;
                             /* Long SW2 turns remote light off with ACK */
                             case gKBD_EventLongSW2_c:
                               OnOffSwitch_SetLightState(
                                 gSendingNwkData.gAddressMode,
                                 aDestAddress,EndPoint,
                                 gZclCmdOnOff_On_c,
                                 gApsTxOptionDefault_c | gApsTxOptionAckTx_c);
                             /* all other keys are handled by common ASL library */
                             default:
                               ASL_HandleKeys(events);
                               break;
                             }

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CH03-H8597.indd 81                                                                                                7/28/2008 6:00:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 422 of 763 PageID #:
                                       2204


                     82        Chapter 3

                         }
                         /* In configuration mode. Keys are handled by ASL library */
                         else
                           ASL_HandleKeys(events);
                     }

                     The keyboard callback receives control when a key is pressed. In BeeStack, keys can be
                     pressed for a short duration, called a short press, or for a longer duration (about one second
                     by default), called a long press. The application can do anything it likes on a key press. In
                     the code above, the application toggles the remote light on switch 1 (gKBD_EventSW1_c),
                     and turns the light off with end-to-end acknowledgment using long switch 2.
                     In Freescale BeeStack, the Home Automation examples all use a common user interface
                     and library of routines called the Application Support Library (ASL). One of the common
                     UI elements is that the “screen” (which includes LEDs and the LCD), and the keyboard
                     (which includes the four switches) both have two modes: a Configuration Mode and an
                     Application Mode. The Configuration Mode is used for things like joining the network
                     or choosing which channel on which to communicate. The Application Mode has
                     application-specific keys. Think of modes as similar to the caps-lock or num-lock keys
                     on your PC keyboard: They affect the meaning of subsequent key presses.
                     The two modes, and the meaning of key presses in those modes, are summarized in Table 3.2.
                     Probably the most interesting callback, from a ZigBee application standpoint, is
                     BeeAppDataIndication(). This callback receives all incoming ZigBee data for the node.
                     An implementation of this callback is shown below.
                     void BeeAppDataIndication(void)
                     {
                       apsdeToAfMessage_t *pMsg;
                       zbApsdeDataIndication_t *pIndication;
                       zbStatus_t status = gZclMfgSpecific_c;
                         while(MSG_Pending(&gAppDataIndicationQueue))
                         {
                           /* Get a message from a queue */
                           pMsg = MSG_DeQueue(&gAppDataIndicationQueue);
                             /* give ZCL first crack at the over-the-air frame */
                             pIndication = &(pMsg->msgData.dataIndication);
                             status = ZCL_InterpretFrame(pIndication);
                             /* not handled by the ZigBee Cluster Library */
                             if(status == gZclMfgSpecific_c)
                             {
                               /* insert manufacturer specific code here… */
                             }


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CH03-H8597.indd 82                                                                                                    7/28/2008 6:00:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 423 of 763 PageID #:
                                       2205



                                                                  The ZigBee Development Environment          83

                             /* Free memory allocated by data indication */
                             MSG_Free(pMsg);
                         }
                     }

                     This BeeAppDataIndication() routine is from an HA On/Off Light. In this case, the
                     application has nothing to do other than call ZCL_InterpretFrame() because the only
                     commands it supports are those that are already defined in the ZigBee Cluster Library
                     (ZCL), a library of common clusters supported by the ZigBee alliance. ZCL is described
                     in detail in Chapter 6, “The ZigBee Cluster Library.”
                     There are a couple of important points to note. It is up to the application to freeup the
                     memory allocated by BeeStack for the incoming over-the-air packet. This allows the
                     application to keep the packet as long as necessary for processing. RAM is limited, so
                     free the message as soon as possible. Data indications are described in detail in Chapter 4,
                     “ZigBee Applications.”



                                          Table 3.2: Common ASL Keyboard Interface
                                   Mode      Switch     Description
                                   Cfg       SW1        Start network
                                   Cfg       SW2        Join Enable
                                   Cfg       SW3        Bind to another node
                                   Cfg       SW4        Choose channel (use before starting network)
                                   Cfg       LSW1       Switch between Cfg and App mode
                                   Cfg       LSW2       Leave network
                                   Cfg       LSW3       Remove all bindings
                                   Cfg       LSW4       Start network without NVM
                                   App       SW1        --- (application-specific)
                                   App       SW2        --- (application-specific)
                                   App       SW3        Toggle identify
                                   App       SW4        Recall scene
                                   App       LSW1       Switch between Cfg and App mode
                                   App       LSW2       --- (application-specific)
                                   App       LSW3       Add identifying nodes to a group
                                   App       LSW4       Store scene


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CH03-H8597.indd 83                                                                                                  7/28/2008 6:00:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 424 of 763 PageID #:
                                       2206


                     84      Chapter 3

                     In addition to callbacks, the BeeStack multitasking system also uses events to signal tasks
                     that there is some processing to perform. Every layer in BeeStack (MAC, NWK, APS,
                     ZDO, etc. …) is defined by a task.
                     Events are typically used by applications to control state machines. For example, an
                     application might signal to itself that one axis (say the X-axis) on the accelerometer
                     has been read and it’s now time to read the next axis. This code snippet comes from the
                     “Generic Application” template in BeeStack, which uses the accelerometer available on
                     the SRB boards.
                     void AccelerometerStateMachine(accelState_t state)
                     {
                       /* starting a new read */
                       switch(state)
                       {
                         /* read the X channel */
                         case accelStateReadX_c:
                             /* X axis value ready? */
                             if((ATDSC & 0x80) != 0) {
                               gaAccelDemoXYZ[accelDemoX_c] = ATDRH;
                               giAccelDemoState = accelStateReadY_c;
                                /* next channel (Y) */
                                ATDSC = accelAdcChannelY;
                             }
                             /* indicate ready to read Y channel */
                             TS_SendEvent(gAppTaskID, accelEventState_c);
                             break;
                         …
                     void BeeAppTask(event_t events)
                     {
                       /* handle accelerometer events */
                       if(events & accelEventState_c) {
                         AccelerometerStateMachine(giAccelDemoState);
                       }
                         …
                     }

                     Events are sent to the BeeAppTask() callback. One or more event bits may be set (it
                     is a bit mask), so BeeAppTask() must check each event bit it cares about. In addition
                     to creating state machines, events are used to break up processing that might take a
                     relatively long or unknown time to complete, so that the stack can continue with other
                     system processing, such as routing packets. A rule of thumb is don’t use more than 2 ms

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CH03-H8597.indd 84                                                                                                 7/28/2008 6:00:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 425 of 763 PageID #:
                                       2207



                                                                   The ZigBee Development Environment             85

                                                        BeeStack Event Scheduler




                                  Application           ZDO                 APS               NWK
                                    Task                Task                Task              Task




                                                Figure 3.10: BeeStack Event Scheduler

                     for processing at any given time. If the computing will take longer, split it into a state
                     machine so the other tasks are not starved for processing time.
                     The actual data indications from the radio (PHY data indications) are received on interrupts,
                     so these will not be missed even if they come in during application processing. The same
                     goes for timers and the keyboard. But for the NWK layer or other stack components to
                     process the indication, that requires time from the multitasking environment.
                     In BeeStack, each event is a bit in the bit mask of type event_t. At the application task,
                     bits 0 through 11 are available to the application and bits 12–15 are reserved by BeeStack.
                     The multitasking environment in BeeStack is cooperative, not preemptive. That means if
                     a single task (say the application) stays in a while() loop, no other task receives control
                     until the BeeAppTask() function exits.
                     A simple way to look at the event scheduler (see Figure 3.10) in BeeStack is to consider it
                     a simple loop that looks at all of the tasks in the system and checks whether any task has
                     an event ready for that task. If so, control is passed to the task’s event handling function.
                     In the application task, this is BeeAppTask(). The tasks are prioritized, so the NWK task,
                     for example, gains control before any of the other layers do. The priority can be adjusted
                     by the application at compile-time.
                     All the ZigBee stacks I have used for developing include a cooperative event scheduler.
                     Networking as a problem space lends itself to a multitasking environment, and light
                     weight, often 8-bit, MCUs do best with cooperative (rather than preemptive) multitasking.
                     To summarize BeeStack:
                         ●   Freescale BeeStack represents ZigBee as a set of separate tasks, mirroring the
                             modules in the ZigBee architecture.

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CH03-H8597.indd 85                                                                                                     7/28/2008 6:00:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 426 of 763 PageID #:
                                       2208


                     86       Chapter 3

                          ●   The BeeStack ZigBee modules (also called layers) communicate to each other
                              through service access points.
                          ●   Each task may receive callbacks for various physical events such as key presses,
                              serial input, expired timers, and data indications.
                          ●   Each task may also receive logical events, represented by a bit-mask of events
                              passed to the task’s event function. Application events go to BeeAppTask().
                          ●   A common user interface is used for all demo applications.

                                     BeeStack is the name of the Freescale ZigBee stack.
                                     BeeStack uses a cooperative multitasking kernel.
                                     BeeStack includes a common user interface for all demo programs.

                     3.2.2 Introduction to Freescale BeeKit
                     Freescale BeeKit is a Windows PC-based application that creates and configures ZigBee
                     applications (see Figure 3.11). BeeKit is not the compiler and IDE, but BeeKit does create
                     project files that are used by the IDE, CodeWarrior. BeeKit’s main features include:
                          ●   A set of application templates
                          ●   The ability to configure application and stack options through properties
                          ●   An easy-to-use New Project Wizard
                          ●   Full context-sensitive help for properties
                          ●   The ability to easily upgrade to a new code base
                     BeeKit works the same way whether using the ZigBee networking protocol or one of the
                     other Freescale wireless protocols, such as the full IEEE 802.15.4 MAC or SMAC.
                     BeeKit uses the following terms: solution, project, template, code base, and properties:
                          ●   Solution refers to a collection of projects created through BeeKit. For example,
                              a solution may include both a light and a switch. The light and the switch are
                              each separate projects. A single file is created by BeeKit which describes the
                              solution, and is called something like “MySolution.bksln.” The solution file and
                              any source files that have been modified for the application are all that is needed
                              to send between developers or to back up in version control. Everything else can
                              be recreated given the same code base.

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CH03-H8597.indd 86                                                                                                  7/28/2008 6:00:58 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 427 of 763 PageID #:
                                       2209



                                                                The ZigBee Development Environment       87

                                                     BeeKit™ Overview

                                  Windows PC Based Components


                                                            Project editor
                                      BeeKit™ GUI                                    Debugger
                                                             & Compiler




                                  Embedded SW Components (Codebase)


                                                     BeeApps




                                                      BeeStack™                       Platform
                                                                                     Management
                                                                             SMAC      (PLM)

                                       IEEE 802.15.4 MAC/PHY 2.0




                                              Figure 3.11: Freescale BeeKit


                     ●   Template is the source code to demonstration applications for developers to use as
                         a starting point for custom applications. BeeKit copies the chosen template, which
                         includes all the source code and libraries required to build the application to the
                         project directory.
                     ●   Code base refers to a given release of BeeStack. For example, if Freescale fixes
                         some bugs or adds new features to BeeStack, a new code base can be downloaded
                         from the Web and applied to the application. This makes upgrading to new
                         versions of BeeStack very convenient.
                     ●   Properties in BeeKit parlance are settable compile-time options that configure
                         BeeStack or the application. For example, if you are making a ZigBee End Device
                         (a ZigBee node that can sleep) you have a choice as to whether that node will
                         poll its parent or not by setting the property RxOnIdle to TRUE or FALSE. Many
                         options can be set at run-time in addition to compile-time. “Properties” refer
                         specifically to the compile-time options settable through BeeKit.

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CH03-H8597.indd 87                                                                                             7/28/2008 6:00:58 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 428 of 763 PageID #:
                                       2210


                     88      Chapter 3




                                               Figure 3.12: BeeKit Opening Screen



                     The opening screen of BeeKit is shown in Figure 3.12.
                     Step-by-step examples of using Freescale BeeKit, in addition to the Freescale
                     CodeWarrior compiler and IDE are provided in Section 3.5, later in this chapter.


                               BeeKit creates application templates and configures ZigBee applications.
                               Upgrading to new versions of BeeStack is simple using a BeeKit code base.



                     3.3     The Embedded Compiler and Debugger
                     In addition to the ZigBee stack, an embedded compiler and debugger are required to build
                     ZigBee. Some companies, like Freescale, make both the stack and the compiler: CodeWarrior
                     is a Freescale product. Other companies use a commercially available compiler and
                     debugger, for example, IAR in the case of Ember.

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CH03-H8597.indd 88                                                                                               7/28/2008 6:00:58 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 429 of 763 PageID #:
                                       2211



                                                                   The ZigBee Development Environment            89



                                                    PC with
                                                    Compiler




                                                                                 ZigBee Board

                                            Figure 3.13: The ZigBee Download Process


                     A compiler takes the source code of the ZigBee application, the source code of the
                     ZigBee stack, and combines it with ZigBee libraries to create a binary image. The binary
                     image is then downloaded into the ZigBee development (also called target) board for
                     debugging (see Figure 3.13).
                     As part of putting the binary image together, a process called “linking” is used. There is
                     usually a file associated with linking called a locator file, which tells the linker where to
                     place the code and data within the target MCU.
                     A debugger uses a JTAG or BDM connection (through USB) to program the application
                     into flash memory in the target board. Once the download is complete, the JTAG or BDM
                     can be disconnected from the board and the board can now run independently of the PC.

                     3.3.1 Introduction to Freescale CodeWarrior IDE
                     CodeWarrior is an integrated development environment (IDE) which contains both a C
                     compiler and a debugger (see Figure 3.14). The compiler is your usual cross-compiler,
                     with a module that outputs optimized code for the target MCU. In the case of the
                     Freescale MC13213 single chip ZigBee solution, this is the HCS08.
                     CodeWarrior includes a fully colorized editor, but if you have a favorite editor, feel free
                     to use it instead. CodeWarrior also creates nice hyperlinks between code and types, so it’s
                     easy to go to a given function or to the definition of a variable or type.
                     CodeWarrior supports multiple BDMs, so if enough USB ports are available, multiple
                     boards can be debugged at the same time. The CodeWarrior IDE is shown in Figure 3.14.
                     Figure 3.14 shows CodeWarrior with the HA On/Off Light project open. The window to
                     the left shows the project and set of files that make up the application. The window to the

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CH03-H8597.indd 89                                                                                                    7/28/2008 6:00:58 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 430 of 763 PageID #:
                                       2212


                     90       Chapter 3




                                                    Figure 3.14: CodeWarrior IDE


                     right shows the source code. The little icon in the project window that looks like a hand
                     writing on paper is the “make” button, and the little bug with the pointer (which is green
                     in CodeWarrior) is the “debug” button.
                     If you are using an external editor, make sure to click the check mark icon before making
                     the application. This will check file dates to make sure CodeWarrior knows about the
                     external changes.
                     The debugger allows a developer to step through the source code, line by line, to debug
                     the application, and includes windows to examine variables and MCU settings, including
                     all registers.

                     3.3.2 CodeWarrior Tricks and Tips
                     All IDEs and debuggers have their quirks, and CodeWarrior is no exception. This section
                     describes a few of the tricks and tips I’ve learned over the years about CodeWarrior and
                     the debugger:
                          ●   Hyper-links aren’t available until the compiler has compiled a module. The
                              source code editor still has colorization, but right-clicking on a variable, type, or

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CH03-H8597.indd 90                                                                                                    7/28/2008 6:00:59 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 431 of 763 PageID #:
                                       2213



                                                                   The ZigBee Development Environment            91

                             function will not go to the definition until after the source has been compiled. So
                             first compile the original working source code, then make your changes, and it
                             will be easier to navigate.
                         ●   Source code is automatically pulled into the project if it has the same name and
                             is in the project tree. Make sure if you are keeping multiple copies of a source file
                             around (sometimes I keep a backup handy), and place it outside the source code
                             tree or you could be tracking down false compiler or linker errors.
                         ●   The debugger gets stuck in an interrupt handler when single stepping (F10 or
                             F11) through source code. To get out of the interrupt handler, use assembly step
                             (Ctrl-F11), then step out (Shift-F11). The debugger doesn’t have this problem
                             when running to location or stopping on breakpoints.
                         ●   Breakpoints can only be set when the debugger has stopped code execution. The
                             debugger will allow setting a breakpoint through the interface when the code is
                             running, but it won’t actually stop at that location. Instead, halt execution (F6), set
                             the breakpoint, and then continue running (F5).
                         ●   The optimizer can make debugging confusing. The code optimizer will fold lines
                             of C code together or optimize out lines altogether (this is good, as it makes a
                             smaller code image). Look at the assembly code and it will make sense. Just don’t
                             be surprised if the debugger skips around a bit in the C source code when single
                             stepping.


                     3.4      Debugging the Network
                     The IDE-like CodeWarrior allows developers to debug individual nodes in the network,
                     but some bugs are difficult to detect in this manner. Some bugs require looking at the
                     network as a whole, or examining the over-the-air packets in order to solve them. To
                     accomplish this, another type of debugger, a protocol analyzer, is used.
                     One bug that caught me seems like a simple one, but was very difficult to find until I
                     saw the over-the-air behavior. In ZigBee, every application communicates data on an
                     Application Profile. If a packet is sent on a profile which the receiving node doesn’t
                     understand, the packet is dropped by the receiving node before it reaches the application.
                     The sending side says it sent the data. The receiving side receives nothing. Very perplexing!
                     During a class I was teaching once, we had modified the source code on one side of the
                     application (the sending node), changing the profile and some code. But, on the receiving

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CH03-H8597.indd 91                                                                                                     7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 432 of 763 PageID #:
                                       2214


                     92      Chapter 3

                     side, although the code was changed, the profile was not. We pressed the buttons, sent the
                     data, and voila! Nothing.
                     Using the IDE debugger, we could see the data request being sent. All looked correct. Yet
                     we did not see the data indication on the receiving side. A quick examination of the over-
                     the-air data showed the problem. We could see the data going over the air, so we knew
                     for sure the data was being sent. We could see the proper destination node profile and
                     endpoint. All looked correct, so we knew the bug must be on the receiving side.
                     IEEE 802.15.4
                       Frame Control: 0x8841
                       Sequence Number: 57
                       Destination PAN Identifier: 0x0f00
                       Destination Address: 0xffff
                       Source Address: 0x0001
                     ZigBee NWK
                       Frame Control: 0x0048
                       Destination Address: 0x0000
                       Source Address: 0x0001
                       Radius = 10
                       Sequence Number = 121
                     ZigBee APS
                       Frame Control: 0x08
                       Destination Endpoint: 0x08
                       Cluster Identifier: (0x0100)
                       Profile Identifier: (0xc035)
                       Source Endpoint: 0x08
                       Counter: 0xd3
                       APS Data: 03:48:65:6c:6c:6f:20:5a:69:67:42:65:65:00
                     .Hello ZigBee.

                     A quick examination of the endpoint structure in the destination node showed the wrong
                     profile. It was still 0xc021 (Freescale’s private profile ID), but it should have been 0xc035
                     (San Juan Software’s private profile ID).

                     const zbSimpleDescriptor_t Endpoint8_simpleDescriptor =
                        8,           /* Endpoint number */
                        0x21, 0xC0, /* Application profile ID */
                        0xFF, 0xFF, /* Application device ID */
                        0,           /* Application version ID */
                        1,           /* Number of input clusters */
                        (uint8_t *) Endpoint8_InputClusterList,
                        0,           /* Number of output clusters */
                        (uint8_t *) Endpoint8_OutputClusterList,
                     };


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CH03-H8597.indd 92                                                                                                   7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 433 of 763 PageID #:
                                       2215



                                                                   The ZigBee Development Environment              93

                     Other bugs can happen because packets are received out-of-sequence. Sometimes, due to
                     retries or other random latencies in the network, a packet sent after another packet can be
                     received before the first. If an application must sequence packets, make sure to wait for
                     the reply before sending another one.
                     Networks, especially busy ones, can be very difficult to debug without a protocol
                     analyzer. I highly recommend purchasing one. The one I use is called the Daintree Sensor
                     Network Analyzer.

                        A Network Analyzer allows debugging the entire network from an over-the-air perspective.



                     3.4.1 Introduction to Daintree SNA
                     The protocol analyzer used throughout this book is the Daintree Sensor Network
                     Analyzer (see Figure 3.15). This analyzer does a great job of decoding ZigBee and
                     802.15.4 MAC packets, and displays the data in a wide variety of formats, including time
                     line views, network-topology views, packet views, or physical-node-placement views.




                                        Figure 3.15: Daintree Sensor Network Analyzer

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CH03-H8597.indd 93                                                                                                      7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 434 of 763 PageID #:
                                       2216


                     94      Chapter 3

                     This protocol analyzer is so rich that an entire book could be written describing its
                     features. I’ll describe only a few of the highlights here.

                     Figure 3.15 shows some of the features of Daintree, and is my preferred layout for
                     debugging.

                     The window on the upper left (Visual Device Tree) displays the nodes in the network.
                     It may be hard to read in the figure, but on my screen I can see that endpoint 8 on the
                     ZigBee End-Device On/Off Switch (796F) is communicating to endpoint 8 on the ZigBee
                     Coordinator On/Off Light (0000). I sometimes use the Visual Device Layout view
                     instead, which allows me to place nodes in their physical location on a blueprint or map.

                     The window on the bottom (Packet List) lists all of the packets received, and can
                     be sorted and filtered by time, source address, destination address, network, or any
                     combination desired. One nice feature of the Packet List window is the ability to build
                     complex filters. All of the data is still captured, but only those packets of interest are
                     displayed. Filters are very easy to build by simply right-clicking on fields within the
                     packet, or by building them using C syntax.

                     The window on the upper right (Packet Decode) shows the contents of a packet selected
                     in the Packet List window in a more detailed form, including the entire set of octets
                     (bytes) sent over the air, and each ZigBee layer, separated by different colors. I can tell,
                     for example, that packet 21 in Figure 3.15 is the Home Automation Toggle command on
                     the On/Off cluster. The Packet Decode can be extended to understand your application’s
                     specific commands and data by creating XML code for the application profile. This
                     makes reading decodes much easier and faster.

                     Daintree SNA receives its data through what is called a sniffer. Every silicon vendor, such
                     as Freescale or Texas Instruments, offers a sniffer that plugs into a USB port. The sniffer
                     then captures over-the-air data and presents the raw set of packets to Daintree SNA for
                     analysis and display.

                     Daintree also offers its own sniffer hardware that can inject ZigBee data into the wireless
                     network for testing, or capture data over a wider physical area by combining multiple
                     sniffers, and sending the data over some other back haul such as Ethernet.

                     Sniffers generally only sniff a single channel at a time. This is not normally a problem
                     since ZigBee doesn’t channel-hop, but it can be confusing if ZigBee selects a channel you
                     don’t expect when forming the network. One solution is to compile the ZigBee nodes so

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CH03-H8597.indd 94                                                                                                  7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 435 of 763 PageID #:
                                       2217



                                                                   The ZigBee Development Environment           95

                     they select a particular channel during work in the lab. At San Juan Software, we even
                     assign channels to individual developers, so they don’t interfere with each other.

                     Daintree SNA does work with multiple sniffers, so another solution is to plug in multiple
                     sniffers, one sniffer watching each channel. I keep waiting for someone to make a sniffer
                     than can sniff on all 16 IEEE 802.15.4 (ZigBee) channels at the same time.

                     The data is captured to .dcf files. These files are a simple text representation of the over-
                     the-air octets (bytes), along with a packet sequence number and a time stamp. These files
                     are easy to share with colleagues, and can be viewed (and even modified) with a text
                     editor. The Daintree SNA documentation describes these features and more.

                     Of the packet analyzers I’ve used, I prefer Daintree SNA for its easy interface, its robust
                     data views, and excellent support. Daintree SNA provides a very accurate decode of the
                     complex ZigBee protocol and can handle millions of packets in any given capture.


                                The Daintree Sensor Network Analyzer is easy to use and very robust and
                                understands well the complex ZigBee protocol.



                     3.5      Example Development Sessions
                     This section walks you through two complete development sessions, from the out-of-the-
                     box experience, to downloading real applications into ZigBee development boards, and
                     then running and debugging them.

                     To follow along with the examples with hardware, purchase the Freescale Network
                     Starter Kit (NSK) available at http://www.freescale.com/zigbee. This kit has everything
                     required to follow nearly all the examples in this book. The development sessions in this
                     section can also be followed without the hardware, to gain an understanding of how the
                     development process works.

                     Alternatively, other Freescale ZigBee boards may be used, such as the SARD, EVB,
                     SRB, or NCB boards, all available in various kits from Freescale and their distributors.
                     To use other boards than those in the Network Starter Kit the BeeKit Solution files must
                     be modified to support the correct hardware.

                     The process is very similar with any platform, so even if you plan to use another platform
                     vendor, it is still worthwhile to read the following sections.

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CH03-H8597.indd 95                                                                                                   7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 436 of 763 PageID #:
                                       2218


                     96      Chapter 3

                     3.5.1 Example Session 1: The On/Off Light
                     This example session shows you how to build a small two-node network with a light and
                     a switch, similar to the example in Section 1.4 of Chapter 1, “Hello ZigBee.” The switch
                     can turn the light on, off, or toggle it, both with and without end-to-end acknowledgment.
                     The example uses the Freescale common user interface, the one used with all of the
                     Freescale sample programs.
                     The development setup I used for this entire book is depicted in Figure 3.16. I used
                     a Targus four-port USB hub to connect all the ZigBee boards to my laptop, a P&E
                     Microcomputer USB Multilink BDM for debugging, and a Freescale Sniffer for capturing
                     over-the-air packets. I used a Windows XP-based laptop. I haven’t tried Windows Vista
                     yet, but the initial reports aren’t encouraging for compatibility with existing software.
                     The software installed on my laptop was Freescale CodeWarrior (the IDE for editing,
                     compiling, and debugging the code), Freescale BeeKit (the ZigBee stack configuration
                     and template generation tool), and the 30-day evaluation of Daintree Sensor Network
                     Analyzer for capturing over-the-air packets. All of this hardware and software, with the
                     exception of the Targus 4-port USB hub, comes with the Freescale NSK.
                     In Figure 3.16, you can see the NCB board (the larger one with an LCD screen), and
                     three SRB boards. The NSK only comes with two SRBs (the smaller boards), and one
                     NCB (the larger board) but some of the ZigBee concepts (such as mesh route recovery)




                                          Figure 3.16: ZigBee Development Hardware

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CH03-H8597.indd 96                                                                                                7/28/2008 6:01:00 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 437 of 763 PageID #:
                                       2219



                                                                  The ZigBee Development Environment          97

                     require more than three nodes. So I borrowed extra hardware from the San Juan Software
                     labs as I needed it.

                     The steps in creating this very first example include installing the software and hardware,
                     compiling and downloading the code, and running the example. This process is outlined
                     in more detail below. Note that the first step, installing the software and hardware, occurs
                     only once. The other steps are repeated for every example in the book.

                     First, install the software and hardware:
                         ●   Purchase the Freescale Network Starter Kit (NSK)
                         ●   Purchase the Freescale sniffer
                         ●   Install BeeKit
                         ●   Install CodeWarrior
                         ●   Install Daintree SNA
                         ●   Connect and install the BDM
                         ●   Connect and install the Freescale sniffer
                         ●   Connect and install the NCB and two SRB boards
                         ●   Download and install example code
                     Second, create, compile, and download each project:
                         ●   Modify and/or export the solution in BeeKit
                         ●   Import each project into CodeWarrior
                         ●   Compile the code
                         ●   Download (debug) the code
                     Third, run the example:
                         ●   Optionally set up the sniffer
                         ●   Boot the ZigBee boards
                         ●   Bind the application
                         ●   Press buttons and watch the fun

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CH03-H8597.indd 97                                                                                                  7/28/2008 6:01:01 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 438 of 763 PageID #:
                                       2220


                     98       Chapter 3

                     The detail and the lengthy explanations I include make it look more complicated than it
                     really is. Once you’ve been through the process two or three times, it’s really very easy.
                     I do this all day long most every day, and I’ve learned a few tricks that make ZigBee
                     development life easier. I’ve included these helpful hints throughout this book.

                     Install the Software and the Hardware
                     Many studies claim debugging is the longest task in any project. I say installing is longer.
                     For whatever reason, installing always seems to be an arduous task. I recently had to set
                     up a new laptop with all the usual tools and development programs and it took me nearly
                     two days before it was finally set up the way I like it. This was using Windows XP. A
                     business colleague of mine bought a new laptop with Windows Vista, and after many
                     weeks it’s still not right!
                     The initial thing to do is to order the hardware, as shipping can take a few days. This can
                     be ordered directly from the Freescale Web site (http://www.freescale.com/zigbee) or
                     from a distributor such as DigiKey (http://www.digikey.com). Order the NSK with BDM
                     (1321XNSK-BDM). The BDM is used for downloading and debugging. Optionally,
                     order the sniffer (FSL-ZB-SNF), which allows you to use the Daintree Sensor Network
                     Analyzer to decode over-the-air packets. Then, wait, patiently. Perhaps read the rest of
                     this book, and then come back to here.
                     To get the latest copy of Freescale BeeKit, CodeWarrior, and Daintree SNA, feel free to
                     go to the Web site (http://www.freescale.com and http://www.daintree.net), or you can
                     use the version included on the CDs in the NSK. I won’t go through this process, as the
                     Install Wizards are pretty straightforward. Make sure to install all three of the following
                     software packages:

                          ●   Freescale CodeWarrior
                          ●   Freescale BeeKit
                          ●   Daintree Sensor Network Analyzer

                     All of these software packages are trial versions that last for 30 to 90 days. If you
                     continue beyond reading about ZigBee and advance to actual development, they are all
                     available for purchase, but 30 days should be enough to get you through this book.
                     First, unpack the hardware and plug in the NCB and SRB boards into the USB hub. Hint:
                     Mark which boards are plugged into which USB ports, and use the same configuration

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CH03-H8597.indd 98                                                                                                  7/28/2008 6:01:01 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 439 of 763 PageID #:
                                       2221



                                                                  The ZigBee Development Environment            99

                     each time. USB is fussy and will require you to reinstall the hardware if you move it to a
                     new port. Another hint: leave the NCB and SRB boards in the “off” position until after
                     installing them. For some reason, Windows is happier about this.

                     Choose to install the drivers from a specification location, as shown in Figure 3.17.

                     “C:\Program Files\Freescale\Drivers”

                     You’ll have to repeat this twice (Windows needs to install two drivers per board).
                     Windows will complain that this is not a digitally signed driver, but install it anyway.

                     Second, and after installing them, turn the NCB and SRB boards on. The result should
                     be a new COM port for each board, which can be seen in Device Manager shown in
                     Figure 3.18.

                     Third, install the USB Multilink BDM the same way. When installed correctly, it should
                     have a blue light lit as seen in Figure 3.19.

                     Fourth, install the sniffer, shown in Figure 3.20. Now, all the hardware has been installed.
                     If you wish to operate the ZigBee boards on batteries, install two AAs each, but it’s not
                     needed. The USB port supplies all the power required.




                                          Figure 3.17: Installing SRB and NCB Boards

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CH03-H8597.indd 99                                                                                                   7/28/2008 6:01:01 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 440 of 763 PageID #:
                                       2222


                  100     Chapter 3




                           Figure 3.18: Installed NCBs and SRBs Are Seen as COM Ports




                               Figure 3.19: The Installed BDM Has the Blue Light Lit




                                        Figure 3.20: Installed Sniffer Is Lit

                  www.n ewn es p res s .c o m




CH03-H8597.indd 100                                                                     7/28/2008 6:01:02 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 441 of 763 PageID #:
                                       2223



                                                               The ZigBee Development Environment           101

                  The fifth and final step is to install the software examples from this book. I didn’t include
                  a CD with the book because you can go directly to the book’s Web site http://www.
                  zigbookexamples.com\code.
                  From there, download the install package “ZigBeeWirelessNetworking.exe” and save it in
                  an empty directory on your PC. Run the installer, which will by default create a directory
                  called C:\ZWN.
                  The directory is organized into chapters, and includes a .txt file that briefly describes the
                  examples in that chapter. Complete descriptions of each example are in this book. All
                  examples come with full source for the application.

                  Create, Compile, and Download Each Project
                  This first example demonstrates how to create a new solution in BeeKit. In this case, the
                  solution will contain two projects: an HA On/Off Light, and an HA On/Off Switch.
                  From the BeeKit menus, choose “File/New Project…” which will bring up a dialog
                  as shown in Figure 3.21. From the project types, select “ZigBee Home Automation
                  Applications.” Then, from the templates, choose “HA OnOffLight.” Only then adjust the
                  paths and files in the dialog as shown in the figure.




                                            Figure 3.21: A New Project in BeeKit

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CH03-H8597.indd 101                                                                                               7/28/2008 6:01:02 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 442 of 763 PageID #:
                                       2224


                  102      Chapter 3

                  As you can see, I always name projects based on their ZigBee node type (Zc, Zr, or Zed),
                  the board type (Ncb, Srb), and the application name, such as “ZcNcbHaOnOffLight.”
                  Just to keep Freescale terminology clear, a solution is a collection of one or more
                  projects. A project is exactly one downloadable ZigBee application.
                  The location field is one directory above where the solution directory and file will go, in
                  this case, “C:\ZWN\Chapter 03.” The solution name is “OnOffLight.” The project name
                  is “ZcNcbHaOnOffLight.”
                  Click “OK,” and the BeeKit Project Wizard comes up, shown in Figure 3.22. This handy
                  Wizard exposes the common ZigBee options in an easy-to-set format. In the Wizard,
                  click “Next,” to get to the “Platform Type” tab. On this page select NCB and enable the
                  display check-box. The HA On/Off Light application will be placed into an NCB board.
                  At this point, leave the rest at the default settings, and simply click “Finish.”
                  Now add another project to this solution (in this case an HA OnOffSwitch) from the
                  “Solution/Add Project…” menu. Name the project “ZedSrbHaOnOffSwitch.” If you




                                             Figure 3.22: BeeKit Project Wizard

                  www.n ewn es p res s .c o m




CH03-H8597.indd 102                                                                                             7/28/2008 6:01:03 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 443 of 763 PageID #:
                                       2225



                                                              The ZigBee Development Environment           103

                  mistyped the name and have already clicked “OK,” don’t worry. BeeKit allows you to
                  adjust anything through properties, including the name of the projects. In the Project
                  Wizard, choose the SRB board for the on/off switch and click “Finish.” When you’re
                  done, you should see a completed solution with two projects as shown in Figure 3.23.
                  Once the solution is created, save it. Then export it from the “Solution/Export
                  Solution…” menu. Exporting takes copies of the appropriate files from the BeeStack code
                  base, to the solution directory, in this case “C:\ZWN\Chapter03\OnOffLight.” If you look
                  at that directory, you’ll see a 500 K file called “OnOffLight.bksln.” This file, plus any
                  modified application source code files, are all that is needed to archive the application, or
                  send it to a colleague. Every other file can be generated from the code base.
                  Updating to a new code base, that is, to a new version of BeeStack, is as simple as
                  selecting “File/Select Codebase…” from the menu system. Code bases make it easy to
                  get the latest stack fixes or features and add them into your existing projects. Once the
                  solution is exported, all the source code is available for the usual edit/compile/debug cycle.




                                  Figure 3.23: Completed Two-Project Solution in BeeKit

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CH03-H8597.indd 103                                                                                                7/28/2008 6:01:03 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 444 of 763 PageID #:
                                       2226


                  104      Chapter 3




                                       Figure 3.24: Import Project into CodeWarrior


                  Run CodeWarrior and import the project “ZcNcbHaOnOffLight.xml” from the
                  CodeWarrior “File/Import Project…” menu. If you saved the file as described above,
                  the project .xml file can be found in the directory:
                  C:\ZWN\Chapter03\OnOffLight\ZcNcbHaOnOffLight
                  BeeKit provides projects in XML so that they can be archived using text-only version
                  control programs. The import dialog will ask for a name with which to save the project.
                  Choose “ZcNcbHaOnOffLight.mcp,” as shown in Figure 3.24. The .mcp extension stands
                  for Motorola CodeWarrior Project, back from the days when CodeWarrior was owned by
                  Motorola, not Freescale.
                  Once the project is imported, compile it by choosing “Project/Make” from the menu
                  system, pressing F7, or clicking on the icon that looks like a handwriting on paper. The
                  project should make, without warnings or errors.
                  Next, connect the BDM to the NCB board, as shown in Figure 3.25, on the left. Pin 1 (the
                  red portion of the ribbon cable) goes to the left when looking at the back of the board
                  where all the pins are located. Turn the NCB board on (a slider switch is located on the
                  front of the board near the reset switch). Both lights on the BDM should now be lit.
                  Next, choose “Project/Debug” from the menu, or press F5, or click on the icon that looks
                  like a green bug with a pointer. This will open the debugger and download the current
                  application.

                  www.n ewn es p res s .c o m




CH03-H8597.indd 104                                                                                          7/28/2008 6:01:04 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 445 of 763 PageID #:
                                       2227



                                                             The ZigBee Development Environment         105




                             Figure 3.25: The BDM Connected to the NCB and SRB Boards



                  Next, select the “ZedSrbHaOnOffSwitch” project, and follow the same steps. Compile it,
                  and download it.

                  Once both projects are downloaded into their respective boards, boot both boards by
                  pressing the reset button on each. They will both begin blinking LED1. This indicates
                  the Ready state (not yet on the network). As mentioned previously, all Freescale demos
                  use a common user interface with two modes (a Configuration Mode and an Application
                  Mode). Too see the entire list of key presses, see Table 3.2. The boards start out in
                  Configuration Mode.

                  Press SW1 on each (can be either order) and the LEDs will begin chasing each other.
                  Once the network has been formed, the NCB board will have LEDs 1 and 2 lit, and the
                  SRB board will have LED1 lit. Next, press SW3 on each, to bind the switch to the light.
                  This network has only one light and one switch, but if there were more than one you
                  could select which switch is attached to which light(s). LED3 should blink for a few
                  moments, and then become solid. The switch now knows which light to control.

                  Next, press long SW1 (press and hold SW1 for about one second). The application will
                  go from Configuration Mode to Application Mode. Press SW1 on the HA On/Off Switch
                  (the SRB board), and LED2 on the remote HA On/Off Light (the NCB board) will light.

                  You’ve now built your first application using BeeKit! Granted, this may seem like a lot of
                  steps to create and download an application. The process is really quite easy and quick.
                  Reading about it takes longer than actually doing it.

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CH03-H8597.indd 105                                                                                            7/28/2008 6:01:04 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 446 of 763 PageID #:
                                       2228


                  106        Chapter 3


                          The basic steps used to create an application with BeeKit are:
                             ●   Install CodeWarrior, BeeKit, and Daintree (first time only).
                             ●   Create project(s) in BeeKit from templates and export them.
                             ●   Import projects into CodeWarrior, compile and download them.
                             ●   Reset the boards to run the application (most use the Freescale Common UI).



                  3.5.2 Example Session 2: Morse Code
                  The previous example showed how to create an application from an existing BeeKit
                  template. This example shows how to create an application which includes additional
                  source code beyond what is in the template. In Example 3-2 Morse Code, the application
                  communicates Morse Code over ZigBee.
                  For those not familiar with Morse Code, it was originally created by Samuel F. B.
                  Morse for the electric telegraph in the early 1840s. This code uses a series of “dots” and
                  “dashes” to represent the letters in the English alphabet and the numbers 0 through 9.
                  Most of you probably know S-O-S (dot-dot-dot, dash-dash-dash, dot-dot-dot). The code
                  can be transmitted across wires, using lights, taps, or clicks, or in this case, across a
                  wireless ZigBee network. Morse Code is still in use by some HAM radio operators today.
                  Go to http://www.wikipedia.org and look up “Morse Code” if you wish to see the entire
                  set of codes and learn more about it.
                  All the examples in this book use either the previous method (creating the program using
                  BeeKit only), or the method described in this section where additional source code is
                  required for the example. The steps for an example which includes additional source code
                  are as follows:
                      ●   Open the existing BeeKit solution file.
                      ●   Export the solution (the collection of projects).
                      ●   Copy the additional source files from the example source directory to each project
                          directory.
                      ●   Import each project into CodeWarrior.
                      ●   Compile and download each project into the proper board.
                      ●   Run the application.

                  www.n ewn es p res s .c o m




CH03-H8597.indd 106                                                                                            7/28/2008 6:01:05 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 447 of 763 PageID #:
                                       2229



                                                              The ZigBee Development Environment          107

                  In the root folder of each chapter is a text file, which briefly describes the examples (see
                  Figure 3.26). In addition, any capture files for the examples can be found here. Each
                  example is contained in its own subfolder. Each subfolder includes a BeeKit solution file
                  to save the reader the step of configuring each project in the solution.

                  First, open the solution file “C:\ZWN\Chapter03\MorseCode\MorseCode.bksln.”
                  This file contains two projects, both of which use the same Morse Code application.
                  The first, “NcbZcMorseCode,” is targeted for a Freescale NCB board and will be the
                  ZigBee Coordinator for the network (the device that forms the network). The second
                  project, “SrbZrMorseCode” is targeted for a Freescale SRB board and will be a ZigBee
                  Router, capable of routing packets from any ZigBee node, in addition to its Morse Code
                  functionality.

                  Next, export the solution from the “Solution/Export Solution…” menu.

                  In projects like Example 3-2: Morse Code, which contain special source code, at least one
                  “example source” folder can be found inside the example’s folder. In this case that folder
                  is called:

                  C:\ZWN\Chapter03\MorseCode\ExampleSource

                  This folder contains all the necessary source code to build the example. Simply copy this
                  folder over the ones that were created during the export process. This process will replace
                  a single file called BeeApp.c in each project. Note that the same application is used on
                  both the ZigBee Coordinator (NCB) node, and the ZigBee Router (SRB) node. So stated




                                       Figure 3.26: Examples Are Stored in Chapters

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CH03-H8597.indd 107                                                                                              7/28/2008 6:01:05 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 448 of 763 PageID #:
                                       2230


                  108      Chapter 3




                                            Figure 3.27: Compile Each Project

                  plainly, copy the ExampleSource folder (and all the files in it) into the NcbZcMorseCode
                  and SrbZrMorseCode folders. One way to do this in Windows, is to open both the
                  ExampleSource and NcbZcMorseCode folders. Press Ctrl-A to select all items in the
                  ExampleSource folder. Press Ctrl-C to copy everything in that folder (including all sub-
                  folders). Then click on the NcbZcMorseCode folder and press Ctrl-V to paste. These are
                  the folders:
                  C:\ZWN\Chapter03\MorseCode\NcbZcMorseCode
                  C:\ZWN\Chapter03\MorseCode\SrbZrMorseCode
                  Now that the proper application (BeeApp.c) is copied into both project folders, import
                  the projects into CodeWarrior. To do this, run CodeWarrior. Then choose “File/Import
                  Project…” from the menus. Import both projects. Name them NcbZcMorseCode.mcp and
                  SrbZrMorseCode.mcp.
                  Now compile each project by clicking on the “make” button as circled in Figure 3.27.
                  The projects should compile without warning or errors.
                  Finally, download each project into its respective board by clicking on the debug icon, the
                  one to the right of the make icon that looks like a green bug with an arrow. Download the
                  NcbZcMorseCode project into the Freescale NCB board. Download the SrbZrMorseCode

                  www.n ewn es p res s .c o m




CH03-H8597.indd 108                                                                                             7/28/2008 6:01:06 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 449 of 763 PageID #:
                                       2231



                                                                 The ZigBee Development Environment           109

                                                    Table 3.3: Morse Code UI
                                     Switch    Description
                                     SW1       Send “Hello ZigBee” over-the-air to the remote node
                                     SW2       Send a dot over-the-air to the remote node
                                     SW3       Send a dash over-the-air to the remote node
                                     SW4       Display SOS in Morse Code locally


                  project into the Freescale SRB board. The previous section describes the details of
                  installing and connecting the BDM for downloading.
                  To see the over-the-air packets, run Daintree SNA. In the “Source:” drop-down box,
                  choose the Freescale sniffer. In the “Channel:” drop-down box, choose channel 25. This
                  example, like most examples in this book, uses channel 25 and ZigBee PAN ID 0x0f00.
                  The channel and PAN ID can be seen on the NCB board’s LCD screen at startup.
                  If you don’t have a sniffer, you can still see the over-the-air packets by looking at the
                  capture I made. Open the file “MorseCode.dcf ” from the chapter folder by selecting
                  File/Open Capture File…” from the menus.
                  Example 3-2: Morse Code uses a very simple interface. The nodes automatically form a
                  network on startup. Simply press the reset button on both. LED1 will blink for a bit, and
                  then remain lit. At this point the nodes are ready to communicate using Morse Code.
                  Press SW1, SW2, or SW3 to send Morse Code over-the-air, as shown in Table 3.3. Press
                  SW3 to display it locally. LED2 is used for the blinking light and the buzzer is used to
                  beep out the dashes and dots in addition to the LED.
                  These two examples should give you enough to go on to follow the examples in the rest
                  this book. All of them are organized and operate in the same way. The user interface
                  changes some in each example, but that is explained along with the example.


                              The steps to add example source code to a project are:
                                 ●     Export projects from the BeeKit solution.
                                 ●     Copy example source code into the projects.
                                 ●     Import projects into CodeWarrior, compile and download them.
                                 ●     Reset the boards to run the applications.


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CH03-H8597.indd 109                                                                                                 7/28/2008 6:01:06 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 450 of 763 PageID #:
                                       2232




                                                                                                CHAPTER 4

                                                                       ZigBee Applications


                  This chapter describes how ZigBee applications interact with other ZigBee applications.
                  It describes what constitutes a ZigBee network, how individual nodes are addressed, and
                  how to address application objects within a node. Terms such as PAN ID, extended PAN
                  ID, network address, profile ID, cluster, endpoint, attribute, and command will become
                  clear (if I have done my job). This chapter is filled with plenty of examples. If you’re a
                  developer and read only one chapter in this book, read this one.

                  But first, as usual, the real truth about how ZigBee gained its name.

                      ZigBee. Zig… Bee…
                      Bees. The origin of ZigBee came from the peculiar behavior of bees, first noted in
                      the 1960s by Nobel Prize-winner Karl von Frisch. Bees, after zigging and zagging
                      around in the fields, return to the hive, and perform what some call the Waggle Dance
                      to communicate the distance, direction and type of food to others in the hive. After
                      receiving a WAGGLE-DANCE.indication, bees fly off directly to the source of food.
                      “We have solved it once and for all,” said Professor Joe Riley, team leader at Rothamsted
                      Research, an agricultural research center. The team tracked a group of bees as they flew
                      to a food source. To track bees by radar, the researchers first had to create a transponder
                      small enough and light enough so that a bee could carry it. The transponder weighed
                      approximately 10 to 12 milligrams, a fraction of the pollen load bees are accustomed to
                      carrying.
                      Opponents to the Frisch theory have suggested that while the bees dance, it’s not to convey
                      information. They believe bees are actually guided to the food source by odor conveyed by
                      the scout bee. Von Frisch, on the other hand, claimed that recruits understood the dance
                      and flew directly to the food source. But “the bees take five to 10 minutes, not one minute,”
                      said Riley.


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CH04-H8597.indd 111                                                                                                   7/26/2008 1:01:44 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 451 of 763 PageID #:
                                       2233


                  112       Chapter 4

                      To make sure bees were not following a scent, a control group of bees was transported
                      250 meters after seeing a Waggle Dance. When released, the bees flew off in the direction
                      indicated by the dance, the team at Rothamsted Research found.
                      The team’s results show that bees do decode the dance and fly off immediately in the
                      direction indicated. But, “they very rarely get it absolutely right,” said Riley. “The mean
                      error is about 5 to 6 meters.” Once the bees get to the end of the flight, they change their
                      flight pattern, and start zigging and zagging, looking for the food they were instructed to
                      find. That takes time, Riley said, sometimes up to 20 minutes.

                  ZigBee chips do not currently fit onto the back of a Bee, but they do come in 5  5 mm
                  packages, and consume so little power they can last longer than the lifetime of a bee on a
                  couple of AAA batteries.

                  4.1 Sending and Receiving Data
                  The whole point of a wireless network is to send reliable data between nodes in the
                  network, and ZigBee makes it easy. The ZigBee network automatically figures out how
                  to route the data from one node to another with the maximum chance of success.
                  To send data from one node to another in the Freescale platform, for example, simply call:
                  AF_DataRequest(&addrInfo, iDataSize, pPtrToData, NULL);

                  That’s it. ZigBee takes care of the rest!
                  ZigBee uses standard networking terms for data transmission, as defined by IEEE. This
                  includes:
                      ●   Data Request (which means to transmit data)
                      ●   Data Confirm (which means the acknowledgment of a data request)
                      ●   Data Indication (which means to receive data)
                  Data requests are initiated by the application, as shown in Figure 4.1. A data confirm is
                  the direct result of a data request: Each time an application generates a data request, it
                  will receive exactly one data confirm to indicate the success (or failure) of that request.
                  A data indication, however, may arrive at any time.
                  Data requests come in a variety of flavors. The options include:
                      ●   Unicast with end-to-end acknowledgment
                      ●   Unicast without end-to-end acknowledgment

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CH04-H8597.indd 112                                                                                                  7/26/2008 1:01:44 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 452 of 763 PageID #:
                                       2234



                                                                                   ZigBee Applications      113




                                         Da                        Data
                                           ta R
                                               equ                      Con
                                                  est                      firm

                                                                                        Data
                                                                                        Indication


                                              Figure 4.1: ZigBee Data Requests

                      ●   Broadcast
                      ●   Groupcast/Multicast
                  Unicasts are transmitted from one node to exactly one other node. Unless the nodes are
                  neighbors (within radio range of each other), route discovery takes place the first time
                  these nodes speak together. If end-to-end is acknowledged, the unicast will be retried
                  up to three times, perhaps even initiating a new route discovery if the old route is
                  broken.
                  Broadcasts are transmitted from one node to all of the nodes in the network, within a
                  sender-definable radius.
                  Groupcasts, and the upcoming Multicast in ZigBee 2007, broadcast to a specific set of
                  nodes. Any node (actually, any endpoint, but I’ll explain it in detail later) not part of
                  the group will discard the packet. For example, assume the dark nodes in Figure 4.2 all
                  belong to group A. If a node groupcasts to group A, the packet will reach the applications
                  in these specific nodes and no others.
                  The example in the next subsection, Example 1-1 ZigBee Data Requests, demonstrates
                  how to initiate all these various data request mechanisms, and how it looks from the
                  standpoint of data indication.
                  While this chapter describes how to use ZigBee unicasts, broadcasts, and groupcasts, if
                  you would like to understand how they work from a stack standpoint, see Chapter 7, “The
                  ZigBee Networking Layer.”
                  ZigBee is an asynchronous protocol; any node may transmit or receive data at any time.
                  When a user flips a light switch, the data is sent immediately, even if that light switch is a

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CH04-H8597.indd 113                                                                                                7/26/2008 1:01:45 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 453 of 763 PageID #:
                                       2235


                  114      Chapter 4




                                                                      Group A


                                                 Figure 4.2: ZigBee Groups


                  battery-powered device designed to run for years on a couple of AAAs. If you have read
                  the 802.15.4 specification, you may have read about beacons. ZigBee is beaconless.
                  Due to the nature of ZigBee, one thing that is difficult to predict is packet latency. A
                  good rule of thumb is to assume that transmitting a packet requires about 10 milliseconds
                  per hop. The difficulty comes in when retries or route discoveries are needed. Route
                  discoveries require a broadcast across the network and the initiating node must wait until
                  the results are received. Retries come in the form of both per-hop MAC retries and end-
                  to-end APS retries.
                  In Figure 4.3, a node is transmitting to another node, four hops away. Expect the packet to
                  be received 40 ms later (on average) with the acknowledgment returning 80 ms later.
                  When using acknowledged unicast data requests, up to three end-to-end retries occur with
                  approximately a 1.5-second delay between each. This means the latency could be, in the
                  worst case, nearly five seconds for a packet to successfully be delivered, or to indicate
                  to the application that it failed to get through. Freescale BeeStack allows the duration
                  between retries to be adjusted through the gApsAckWaitDuration_c property in
                  BeeStackConfiguration.h.
                  ZigBee applications must allow for a broad range of latency for the worst-case scenarios.
                  The size of the packet doesn’t affect latency much if the channel is fairly clean, as the
                  random wait times dwarf the transmission times. But, if the channel is particularly noisy,

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CH04-H8597.indd 114                                                                                             7/26/2008 1:01:45 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 454 of 763 PageID #:
                                       2236



                                                                                   ZigBee Applications     115


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                                                                                                  s




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                                                                                      0m
                                                                                    ~1
                                   ~1
                                     0m
                                        s

                                                                    s
                                                              ~10 m




                                                  Figure 4.3: ZigBee Latency

                  then the length of the packet exponentially increases the chance of retries, which means
                  an increase in latency.
                  A good policy is to keep the packet length as short as possible for the given transmission.
                  Keeping packets short is good for two reasons: decreasing latency and reducing
                  bandwidth usage, allowing more for other applications. Granted, if you are transferring
                  bulk data, send as much as you can to reduce the number of packets, but for other kinds
                  of data, think about how to keep it short.

                            ZigBee data transmission options include: unicast, broadcast, and groupcast.
                            Keep data transmissions as short as possible.



                  4.1.1    Example 1-1: ZigBee Data Requests
                  In Freescale BeeStack, the C functions which perform data requests, confirms, and
                  indications mirror the ZigBee terms:

                      ●   AF_DataRequest()
                      ●   BeeAppDataConfirm()
                      ●   BeeAppDataIndication()

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CH04-H8597.indd 115                                                                                              7/26/2008 1:01:45 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 455 of 763 PageID #:
                                       2237


                  116      Chapter 4

                  A data request, whether unicast, broadcast or groupcast, is initiated by a call to
                  AF_DataRequest(). This function returns immediately with the data queued up to
                  be sent out the radio and returns of gZbSuccess_c. A return of gZbNoMem_c means
                  the message couldn’t be queued due to lack of memory or other internal resources.
                  A return of gZbInvalidEndpoint_c means that the source endpoint (I’ll get to
                  endpoints later) hasn’t been registered with BeeStack.
                  The C prototype for AF_DataRequest() looks like this:

                  typedef struct afAddrInfo_tag
                  {
                     zbAddrMode_t dstAddrMode;
                     zbApsAddr_t dstAddr;
                     zbEndPoint_t dstEndPoint;
                     zbClusterId_t aClusterId;
                     zbEndPoint_t srcEndPoint;
                     zbApsTxOption_t txOptions;
                     uint8_t    radiusCounter;
                  } afAddrInfo_t;
                  zbStatus_t AF_DataRequest
                  (
                     afAddrInfo_t *pAddrInfo,
                     uint8_t payloadLen,
                     void *pPayload,
                     zbApsCounter_t *pConfirmId
                  );


                  The first parameter to AF_DataRequest(), the afAddrInfo_t includes all the
                  addressing information to indicate from where the packet is coming, and to where it is
                  going. The afAddrInfo_t also contains transmission options, which define whether
                  the packet is acknowledged or not, and the radius to indicate how far the packet should
                  propagate in the network.
                  The field dstAddrMode in afAddrInfo_t has the same meaning as this field does in
                  the ZigBee specification. It may be one of:

                      ●   gZbAddrModeIndirect_c
                      ●   gZbAddrModeGroup_c
                      ●   gZbAddrMode16Bit_c
                      ●   gZbAddrMode64Bit_c

                  www.n ewn es p res s .c o m




CH04-H8597.indd 116                                                                                         7/26/2008 1:01:45 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 456 of 763 PageID #:
                                       2238



                                                                               ZigBee Applications       117

                  The gZbAddrModeIndirect_c is used to indicate if the local binding table is used
                  (I’ll explain more about binding later). The gZbAddrModeGroup_c mode is used
                  when transmitting to a group, and dstAddr field is then used as a group ID. The mode
                  gZbAddrMode16Bit_c is used to transmit directly to a node, and the dstAddr field is
                  used to indicate the 16-bit node address. The gZbAddrMode64Bit_c is used to transmit
                  to a node using its IEEE (or 64-bit) address, and dstAddr will reflect that IEEE
                  address.

                  The second and third parameters to AF_DataRequest() define the application’s data
                  (payload). The payload can be any length up to 80 bytes, and may contain any content.

                  The last parameter, pConfirmId, may take more explanation. Network traffic can
                  be difficult to predict, so care must be taken in applications to either synchronize the
                  data or to allow the data to be received by a node asynchronously. For example, say an
                  application sends two data requests: one to node A, one to node B, in that order, as shown
                  in Figure 4.4.

                  Due to multi-hops, retries, or perhaps the necessity of route discovery, the confirm from
                  the data request to B may actually arrive before the confirm from the data request to A.

                  Freescale BeeStack uses a pointer to the confirm ID, a rolling 8-bit number, to allow the
                  application to keep track of which data request is which. For those of you ZigBee experts,
                  this confirm ID is just the APS counter, an over-the-air field used for the same purpose.
                  Some ZigBee stacks solve the problem by allowing only one message to be in flight at a
                  time, and hence, no need for a confirm ID.


                                                        Node B




                                  Originating
                                    Node

                                                                                      Node A


                                                Figure 4.4: ZigBee Data Confirms

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CH04-H8597.indd 117                                                                                            7/26/2008 1:01:45 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 457 of 763 PageID #:
                                       2239


                  118       Chapter 4

                  Data confirms come into a callback function named BeeAppDataConfirm(). The data
                  type for that function is:
                  typedef struct zbApsdeDataConfirm_tag
                  {
                    zbAddrMode_t dstAddrMode;
                    zbApsAddr_t dstAddr;
                    zbEndPoint_t dstEndPoint;
                    zbEndPoint_t srcEndPoint;
                    zbStatus_t status;
                    zbApsCounter_t confirmId;
                  } zbApsdeDataConfirm_t;

                  Aside from the status and the confirmId, the rest of the source and destination infor-
                  mation is included in the structure, simplifying code logic in applications. And, as is typical
                  with the Freescale solution, it mirrors the ZigBee specification for APSDE-DATA.confirm.
                  A data indication means a node is receiving data from another node, whether the
                  data request was unicast, broadcast, or groupcast. The data structure in BeeStack is
                  shown next. As usual, the fields in the Freescale implementation mirror the ZigBee
                  specification’s fields APSDE-DATA.indication:
                  typedef struct zbApsdeDataIndication_tag
                  {
                    zbAddrMode_t dstAddrMode;
                    zbNwkAddr_t aDstAddr;
                    zbEndPoint_t dstEndPoint;
                    zbAddrMode_t srcAddrMode;
                    zbNwkAddr_t aSrcAddr;
                    zbEndPoint_t srcEndPoint;
                    zbProfileId_t aProfileId;
                    zbClusterId_t aClusterId;
                    uint8_t    asduLength;
                    uint8_t    *pAsdu;
                    bool_t fWasBroadcast;
                    zbApsSecurityStatus_t fSecurityStatus;
                    uint8_t linkQuality;
                    } zbApsdeDataIndication_t;

                  The dstAddrMode field on the data indication may be either:
                  gZbAddrModeGroup_c
                  gZbAddrMode16Bit_c

                  So why not also use indirect or 64-bit mode? Because ZigBee resolves both indirect
                  and 64-bit modes to one of the above, before sending the data request. The over-the-air

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CH04-H8597.indd 118                                                                                                 7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 458 of 763 PageID #:
                                       2240



                                                                                    ZigBee Applications       119

                  packet will always be either group or 16-bit. The srcAddrMode field above is always
                  gZbAddrMode16Bit_c.
                  I realized I haven’t yet explained endpoints, profile IDs, cluster IDs, or security. These
                  fields will become clear before the end of the chapter.
                  The asduLength and pAsdu is the length and pointer to the payload, the data that was
                  transmitted by the data request from the other node. By the way, ASDU stands for APS
                  Service Data Unit, the ZigBee way of referring to the packet’s data payload.
                  You’ll also note that an application can tell if a data indication was broadcast or unicast
                  with the fWasBroadcast field. This field, combined with the aSrcAddr field can be
                  quite useful to determine what type of response (if any) to give to the data request, and
                  where the response should go. The source of any message is always known in ZigBee.
                  There is no anonymity.
                  The last field, linkQuality, is not in the ZigBee specification for data indications, but is an
                  extra for Freescale BeeStack users. The link quality indicator (or LQI) can be used to estimate
                  how close the nodes are: the stronger the LQI, the closer the nodes (well, approximately).
                  This linkQuality field will be used in Chapter 8, “Commissioning ZigBee Networks,” to ease
                  deployment of a network. LQI can also enable some location-based applications.
                  The example in this section, Example 1-1 ZigBee Data Requests, shows how unicasts,
                  groupcasts, and broadcasts are used within an application. The network is composed
                  of three nodes. The ZigBee Coordinator (ZC) and a ZigBee Router (ZR) are lights. A
                  ZigBee End-Device (ZED) is a switch. The lights are controlled via various ZigBee data
                  request methods, to illustrate the use of each see Figure 4.5.



                                                                               ZR Light In
                                                                                Group A




                                            ZC Light
                                           In Group A
                                                                           ZED
                                                                           Switch



                                          Figure 4.5: ZigBee Data Request Example

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CH04-H8597.indd 119                                                                                                 7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 459 of 763 PageID #:
                                       2241


                  120        Chapter 4

                                         Table 4.1: ZigBee Data Request Example UI
                      Switch     Description
                      SW1        Uses address mode gZbAddrMode16Bit_c to toggle the ZC light directly.
                      SW2        Uses address mode gZbAddrModeIndirect_c (the local binding table) to
                                 toggle ZC light.
                      SW3        Uses gZbAddrModeGroup_c to send to group A. Only the ZR light belongs to
                                 group A.
                      SW4        Uses address mode gZbAddrMode16Bit_c to turn all lights on or off via
                                 broadcast (0xffff).
                      LSW2       Uses address mode gZbAddrModeIndirect_c to turn the ZC light on with
                                 acknowledgment.
                      LSW3       Uses address mode gZbAddrModeIndirect_c to turn the ZC light off with
                                 acknowledgment.
                      LSW4       Uses address mode gZbAddrMode64Bit_c to toggle the ZC light.



                  The user interface on the light switch is as follows. SW1 through SW4 are labeled on the
                  Freescale development boards. The term LSW2, or long switch 2, means to press and
                  hold SW2 for about one second or so (see Table 4.1).
                  I ran this example and captured the results. I pressed SW1, SW2, SW3, SW4, LSW2,
                  LSW3, and LSW4 in that order. The full example and capture can be found at http://
                  www.zigbookexamples.com:
                  Frame 19 and 21 (Length=30 bytes)
                  IEEE 802.15.4
                    Frame Control: 0x8861
                    Sequence Number: 61
                    Destination PAN Identifier: 0x0f00
                    Destination Address: 0x0000
                    Source Address: 0x796f
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0x0000
                    Source Address: 0x796f
                    Radius=10
                    Sequence Number=13
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)


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CH04-H8597.indd 120                                                                                          7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 460 of 763 PageID #:
                                       2242



                                                                                ZigBee Applications      121

                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x3f
                  ZigBee ZCL
                    Frame Control: 0x01
                    Transaction Sequence Number: 0x42
                    Command Identifier: Toggle (0x02)


                  W1 generated frame 19, and SW2 generated frame 22. Both look the same, as shown in
                  the capture, even though one is gZbAddrMode16Bit_c and the other is indirect through
                  the local binding table. Why is this? Entries in the binding table always resolve to either
                  gZbAddrModeGroup_c or gZbAddrMode16Bit_c before being sent over-the-air.

                  Notice in the decode, both SW3 and SW4 cause broadcasts (0xffff for the destination
                  node at the NWK layer). SW3 causes a groupcast, so while it looks like a broadcast
                  from the network layer, the APS layer filters the packet by group. Only an endpoint (an
                  application within a node) which is a member of the group will receive the data indication
                  and so, in this case, toggle:

                  Frame 23 (Length = 31 bytes)
                  IEEE 802.15.4
                    Frame Control: 0x8841
                    Sequence Number: 63
                    Destination PAN Identifier: 0x0f00
                    Destination Address: 0xffff
                    Source Address: 0x796f
                    Frame Check Sequence: Correct
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0xffff
                    Source Address: 0x796f
                    Radius = 10
                    Sequence Number = 15
                  ZigBee APS
                    Frame Control: 0x0c
                    Group Address: 0x000a
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x41
                  ZigBee ZCL
                    Frame Control: 0x01
                    Transaction Sequence Number: 0x44
                    Command Identifier: Toggle (0x02)


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CH04-H8597.indd 121                                                                                             7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 461 of 763 PageID #:
                                       2243


                  122      Chapter 4

                  LSW2 and LSW3 are acknowledged data requests, and you can see the ZigBee APS
                  ACKs in frames 36 and 40. Notice also the IEEE 802.15.4 (MAC) acknowledgments
                  below in frames 35, 37, 39, and 41. With unicasts, ZigBee always acknowledges each hop
                  at the MAC level, regardless of whether APS (end-to-end) acknowledgments are enabled
                  on that data request:

                  Frame No MAC Src    MAC Dest NWK Src    NWK Dest   Protocol         Packet Type
                  ----------------------------------------------------------------------------------
                  34        0x796f    0x0000    0x796f    0x0000     Zigbee APS Data HA:On/off
                  35                                                 IEEE 802.15.4    Acknowledgment
                  36        0x0000    0x796f    0x0000    0x796f     Zigbee APS       APS Ack
                  37                                                 IEEE 802.15.4    Acknowledgment
                  38        0x796f    0x0000    0x796f    0x0000     Zigbee APS Data HA:On/off
                  39                                                 IEEE 802.15.4    Acknowledgment
                  40        0x0000    0x796f    0x0000    0x796f     Zigbee APS       APS Ack
                  41                                                 IEEE 802.15.4    Acknowledgment

                  LSW4 uses the 64-bit IEEE address to communicate, in this case, to its parent. But the
                  over-the-air frame uses only the short 16-bit NwkAddr for the destination node. All 64-bit
                  addresses are actually resolved internally to a 16-bit address before transmission. ZigBee
                  does not send data requests to 64-bit destinations. The 64-bit address mode is there for
                  the sake of convenience sake.

                  In Freescale BeeStack, a ZDP.IEEE_addr_req or ZDP.NWK_addr_req must be initiated
                  prior to using the 64-bit address mode (unless the node is a neighbor).

                  There are a few interesting things to notice in this data request example. The destination
                  address, group ID, and any other multi-byte fields are little endian. All multi-byte things
                  in ZigBee are little Endian over-the-air. That is, group 0x000a is byte order 0x0a 0x00.
                  The Freescale HCS08 processor, used in these examples, is big Endian. Freescale solves
                  this problem by insisting that all things over-the-air are stored little Endian, even in
                  memory. For example, setting up group A below uses Set2Bytes(aDestAddress,
                  0x0a00).

                  Another interesting thing to notice is that when using gZbAddrModeIndirect_c, no
                  destination endpoint or NwkAddr is needed. The destination will be resolved from the
                  binding table entry, based on the source endpoint:
                  void BeeAppHandleKeys(key_event_t events)
                  {
                  zbNwkAddr_t aDestAddress;
                  zbEndPoint_t endPoint=appEndPoint;


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CH04-H8597.indd 122                                                                                             7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 462 of 763 PageID #:
                                       2244



                                                                   ZigBee Applications   123

                  /* Application-mode keys */
                  if(gmUserInterfaceMode  gApplicationMode_c) {
                  switch (events) {
                    /* SW1-Uses address mode gZbAddrMode16Bit_c to toggle
                      the ZC light directly. */
                    case gKBD_EventSW1_c:
                      Set2Bytes(aDestAddress, 0x0000);
                      OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                         aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                      break;
                    /* SW2-Uses address mode gZbAddrModeIndirect_c
                      (the local binding table) to toggle ZC light. */
                    case gKBD_EventSW2_c:
                      OnOffSwitch_SetLightState(gZbAddrModeIndirect_c,
                         aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                      break;
                    /* SW3-Uses gZbAddrModeGroup_c to send to group A.
                      Only the ZR light belongs to group A. */
                    case gKBD_EventSW3_c:
                      Set2Bytes(aDestAddress, 0x0a00);
                      OnOffSwitch_SetLightState(gZbAddrModeGroup_c,
                         aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                      break;
                    /* SW4-Uses address mode gZbAddrMode16Bit_c to turn
                      all lights on or off via broadcast (0xffff). */
                    case gKBD_EventSW4_c:
                      Set2Bytes(aDestAddress, 0xffff);
                      OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                         aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                      break;
                    /* LSW2-Uses address mode gZbAddrModeIndirect_c to turn
                      the ZC light on with acknowledgement. */
                    case gKBD_EventLongSW2_c:
                      OnOffSwitch_SetLightState(gZbAddrModeIndirect_c,
                         aDestAddress,endPoint,gZclCmdOnOff_On_c,
                         gApsTxOptionAckTx_c);
                      break;
                    /* LSW3-Uses address mode gZbAddrModeIndirect_c to turn
                      the ZC light off with acknowledgement. */
                    case gKBD_EventLongSW3_c:
                      OnOffSwitch_SetLightState(gZbAddrModeIndirect_c,
                         aDestAddress,endPoint,gZclCmdOnOff_Off_c,
                         gApsTxOptionAckTx_c);
                      break;
                    /* LSW4-Uses address mode gZbAddrMode64Bit_c to toggle
                      the ZC light. */



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CH04-H8597.indd 123                                                                            7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 463 of 763 PageID #:
                                       2245


                  124       Chapter 4

                      case gKBD_EventLongSW4_c:
                        /* IEEE address alrady in gaAppIeeeAddr */
                        OnOffSwitch_SetLightState(gZbAddrMode64Bit_c,
                          aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                        break;
                      /* let ASL handle LSW1 */
                      default:
                        ASL_HandleKeys(events);
                        break;
                      }
                  }
                  else {
                    /* If you are not on Appication Mode, then call
                      ASL_HandleKeys, to be eable to use the Configure Mode */
                    ASL_HandleKeys(events);
                    }
                  }


                  The OnOffSwitch_SetLightState() function simply ends up calling
                  AF_DataRequest(), after setting up the proper ZigBee Cluster Library frame
                  as the payload.

                  The ASL_HandleKeys() function is not directly related to ZigBee. This is the
                  default key handler which provides a common user interface for all of the Freescale
                  applications. Chapter 3, “The ZigBee Development Environment,” describes this
                  common UI pretty well.

                  Source full code is available at http://www.zigbookexamples.com.

                  So this example showed pretty much every type of data request an application could
                  desire. So for unicasts, broadcasts, groupcasts, and indirect data requests through the
                  local binding table, why use any particular mechanism? This will help you decide:

                       ●   Use unicasts when a node will be communicating with another node fairly
                           frequently. Unicasts conserve precious bandwidth if used in this way.
                       ●   Use acknowledged unicasts if the sending application must absolutely know the
                           message got through.
                       ●   Use broadcasts sparingly (that is, not more than once per minute or so), unless
                           radius-limited. Sometimes a broadcast with radius 1 or 2 (neighbors-only) can be
                           very useful. Broadcasts are not acknowledged.

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CH04-H8597.indd 124                                                                                           7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 464 of 763 PageID #:
                                       2246



                                                                                    ZigBee Applications   125

                      ●   Use groupcasts, if controlling a group of five or more nodes. Groupcasts can
                          be delivered faster to a large group of nodes than can unicasts. Groupcasts, like
                          broadcasts, should be used sparingly if not radius-limited. Groupcasts are not
                          acknowledged.

                  Always use the local binding table (gZbAddrModeIndirect_c), unless code space is
                  too tight. Local binding tables allow other external nodes to connect applications. For
                  example, a PC equipped with a ZigBee dongle could connect a switch and a light through
                  a pleasant drag-and-drop interface.


                                Use the local binding table (indirect messages) if code space allows.
                                Use broadcasts and groupcasts sparingly, unless radius limited.



                  4.2      No Common C API
                  Something that surprises many people new to ZigBee is the fact that there is no standard
                  C API for it. What? How can ZigBee be a standard, if there is no standard for the API?

                  In the ANSI C standard, strlen() computes the length of a string in characters, and
                  developers can count on this function being available in the C library. In the POSIX
                  standard, the function open() opens a device or file and returns a handle, and its
                  counterpart, close(), closes that device or file based on the handle. The calls work the
                  same (or nearly so) regardless of the platform.

                  Not so with ZigBee. The only thing that the ZigBee standard requires is correct over-the-
                  air behavior. To the ZigBee Alliance testing houses, a platform or product is a black box,
                  to be tested by octet sequences over-the-air. This is not unique with ZigBee. The practice
                  is actually pretty common with networking protocols: They concentrate on the over-the-air
                  or over-the-wire protocol, and leave improvements in the API up to the vendor.

                  So what does this mean to you as a developer? Once you pick a ZigBee vendor and write
                  code for that platform, at least some code must be rewritten if you decide to switch stack
                  vendors. To minimize that effort, be sure to separate the application code that interacts
                  directly with the ZigBee stack (and MCU for that matter) from the rest of the program
                  logic. If you are hiring a consulting company to do the software and firmware for you,
                  make sure to specify this as part of the requirements.

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CH04-H8597.indd 125                                                                                             7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 465 of 763 PageID #:
                                       2247


                  126      Chapter 4

                  All ZigBee stack vendors provide a way to access the standard ZigBee features. And
                  regardless of how the feature is accessed, it will generate the same data, over-the-air.

                  For example, the ZigBee command APSDE-DATA.request transmits data over-the-air.
                  This command is generated with a call to the C function AF_DataRequest() in the
                  Freescale platform and emberSendDatagram() in the Ember platform. Both functions,
                  although they have different parameters and names, produce exactly the same set of octets
                  over-the-air, as shown in Figure 4.6.

                  Unfortunately, there is no standard way in ZigBee to detect, over-the-air, which brand
                  of ZigBee is implemented on a remote node. You might be able to guess, based on how




                                       Figure 4.6: A ZigBee Over-the-Air Data Frame

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CH04-H8597.indd 126                                                                                           7/26/2008 1:01:46 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 466 of 763 PageID #:
                                       2248



                                                                                  ZigBee Applications        127

                  the node performs optional behavior. For example, some stack vendors rebroadcast all
                  three times, regardless of what the neighbors do. Others rebroadcast only if the neighbors
                  have not. Anything ZigBee-certified is standard, and works in an interoperable way with
                  any other ZigBee node. If you need interoperability, make sure the stack vendor you’ve
                  chosen is a ZigBee Certified Platform.
                  In the following few sections, I’ll show you an API sampling from the four “Golden
                  Unit” vendors: Texas Instruments, Ember, Integration Associates, and Freescale. Golden
                  Units are the official ZigBee boards which make up the ZigBee Compliant Platform test
                  suite, and are the nodes that every certified ZigBee stack must be tested against.
                  Now, let me introduce you to application development on the four Golden Unit platforms.


                        ZigBee contains no standard C API. The API is vendor-specific.
                        ZigBee does specify precise over-the-air behavior for compatibility among vendors.



                  4.2.1 Texas Instruments API
                  Texas Instruments, a ZigBee promoter, makes many worldwide recognized products
                  (see Figure 4.7). For the developer, TI’s microcontrollers and RF products are well




                             Figure 4.7: Texas Instruments SmartRF04EB Evaluation Board

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CH04-H8597.indd 127                                                                                                7/26/2008 1:01:47 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 467 of 763 PageID #:
                                       2249


                  128      Chapter 4

                  known, including the ultralow power MSP430 MCU. In early 2006, TI purchased
                  ChipCon, a small RF and ZigBee company located in Oslo, Norway. TI still uses the
                  ChipCon brand today on their ZigBee products, and in fact calls their ZigBee radios by
                  the original ChipCon names (for example, the CC2430).
                  TI is primarily a silicon company, and you can download the TI ZigBee Solution,
                  Z-Stack, directly from the Web for free. Simply go to http://www.ti.com/zigbee.
                  Z-Stack provides functions that look very similar to the ZigBee specification. The
                  function for transmitting data is AF_DataRequest():

                  afStatus_t AF_DataRequest(afAddrType_t *dstAddr,
                    endPointDesc_t *srcEP,
                    uint16 cID,
                    uint16 len, uint8 *buf, uint8 *transID,
                    uint8 options, uint8 radius);

                  The destination endpoint and node address (or group) is contained in the afAddrType_t
                  structure. The source endpoint and cluster ID are direct parameters. The len and buf
                  parameters are the application payload and the pointer to the transaction ID allows the
                  application to control what the transaction ID will be for the APS layer, over-the-air. The
                  transaction ID is automatically incremented by the AF_DataRequest(), if the message
                  is buffered.
                  TI actually offers two interfaces to Z-Stack, the full interface mentioned previously, and
                  the Simple API for Z-Stack. The Simple API offers fewer commands and options, but
                  makes applications considerably easier for the first-time developer. The prototype for the
                  simple data request is:
                  void zb_SendDataRequest (uint16 destination,
                    uint16 commandId, uint8 len, uint8 *pData,
                    uint8 handle, uint8 ack, uint8 radius);

                  Notice there are no endpoints, and no discussion of clusters or profile IDs; all of these are
                  fixed to a private profile in the Simple API for Z-Stack.
                  The data indications in the Simple API for Z-Stack come in through:
                  void zb_ReceiveDataIndication(uint16 source,
                    uint16 command, uint8 len, uint8 *pData);

                  It can’t get much simpler than that! For a private profile, the TI Simple API for Z-Stack is
                  probably easiest to use for the application developer of all the stack vendors.

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CH04-H8597.indd 128                                                                                               7/26/2008 1:01:47 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 468 of 763 PageID #:
                                       2250



                                                                                   ZigBee Applications     129

                            Texas Instruments offers two ZigBee interfaces: a full one and a simple one.


                  4.2.2 Ember ZigBee API
                  Ember is a small start-up company out of Boston, Massachusetts. They are funded by some
                  heavyweight venture capitalists, such as Vulcan. Bob Metcalf, the inventor of Ethernet, is
                  one of the principal investors. Ember is one of 16 ZigBee promoter companies.
                  Ember makes ZigBee radios, integrated chips, and a ZigBee software stack called
                  EmberZNet. Documentation for the stack can be downloaded from http://www.ember.
                  com. The software is only available in the development kits (see Figure 4.8).




                                        Figure 4.8: Ember EM250 Development Kit

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CH04-H8597.indd 129                                                                                              7/26/2008 1:01:47 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 469 of 763 PageID #:
                                       2251


                  130      Chapter 4

                  Ember takes a slightly different approach to ZigBee than either TI or Freescale. Ember
                  uses the concept of a transport layer, and enhances the functionality found in ZigBee with
                  a series of data request functions:
                      ●   emberSendDatagram()
                      ●   emberSendSequenced()
                      ●   emberSendMulticast()
                      ●   emberSendLimitedMulticast()
                      ●   emberSendUnicast() sends APS unicast messages
                      ●   emberSendBroadcast() sends APS broadcast messages
                  Here is an example of using emberSendDatagram():
                  EmberStatus AppSendDatagram(int8u clusterId, int8u *contents,
                    int8u length)
                  {
                    EmberMessageBuffer message=EMBER_NULL_MESSAGE_BUFFER;
                    EmberStatus status;
                    if (length ! 0) {
                      message=emberFillLinkedBuffers(contents, length);
                      if (message  EMBER_NULL_MESSAGE_BUFFER)
                         return EMBER_NO_BUFFERS;
                    }
                    status=emberSendDatagram(0, clusterId, message);
                    if (message ! EMBER_NULL_MESSAGE_BUFFER)
                      emberReleaseMessageBuffer(message);
                    return status;
                  }

                  Ember uses the concept of linked buffers: a set of 32-byte buffers concatenated to form a
                  larger buffer, for the use of over-the-air message functions.
                  EmberZNet also offers a variety of interesting features, such as over-the-air (or over
                  Ethernet) updates of the software stack. Of course, updating over-the-air is a two-edged
                  sword: On the one hand, it allows a vendor to provide feature enhancements or bug fixes
                  across the ZigBee network. On the other hand, it opens a potential security hole, one that
                  attackers could use to change the behavior of the network through the update mechanism.
                  Also differently than TI or Freescale, Ember uses Ethernet, not USB, to connect the
                  development PC to the ZigBee boards (not surprising, considering Bob Metcalf’s
                  involvement with Ember). An advantage of the Ethernet approach is that a corporation
                  can provide access to the ZigBee devices from anywhere inside the company, if set up

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CH04-H8597.indd 130                                                                                            7/26/2008 1:01:47 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 470 of 763 PageID #:
                                       2252



                                                                                    ZigBee Applications      131

                  correctly by the IT department. A disadvantage lies in price: Ember’s kits tend to be more
                  expensive than their competition.

                  Ember provides the InSight development environment with their kits, which can
                  debug both single nodes, and the entire ZigBee network, over-the-air. InSight allows a
                  developer to:

                      ●   Debug hardware
                      ●   Monitor application or debug data
                      ●   Monitor radio data packets

                  Most other vendors use the Daintree Sensor Network Analyzer I introduced in Chapter 3,
                  “The ZigBee Development Environment.”

                            Ember uses the concept of a transport layer and includes over-the-air updates.


                  4.2.3 Integration Associates ZigBee API
                  Integration Associates is a fab-less semiconductor company offering high performance
                  analog and mixed-signal semiconductor solutions for wireless and wireline
                  communications. Integration also offers turnkey ASIC development for customers,
                  from initial concept development to high volume production.

                  You can download information about EZLink, the Integration ZigBee solution, at
                  http://www.integration.com. The documentation for the ZigBee API can be found in the
                  document “ZigBee Common Interfaces: Revision 06 Version User Guide.”

                  Integration Associates integrates the 802.15.4 MAC directly into hardware. This approach
                  works well because 802.15.4 has been stable since 2003, when the IEEE specification
                  was first released. Placing the MAC in hardware has the advantage that certain activities
                  can be accelerated, like encryption and decryption.

                  Integration offers a popular USB dongle, the IA OEM-DAUB1 2400 (see Figure 4.9) that
                  allows a developer to quickly connect to a ZigBee network via USB port. The dongle can
                  be ordered directly from their Web site.
                  Integration includes a ready-made set of drivers for the USB dongle that allows desktop
                  applications to take full advantage of ZigBee, monitoring or controlling the network as
                  appropriate from a PC or laptop.

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CH04-H8597.indd 131                                                                                                7/26/2008 1:01:47 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 471 of 763 PageID #:
                                       2253


                  132      Chapter 4




                                     Figure 4.9: Integration Associates ZigBee Dongle


                  Integration also offers a ZigBee module, the IA-OEM DAMD1 2400. Like the USB
                  dongle, it comes precertified for CE, FCC, IC, and ETSI, in addition to the ZigBee
                  Compliant Platform certification from the ZigBee Alliance. Integration also preloads
                  the modules with a unique MAC address, a step that is often left to the OEM with other
                  solutions.

                  Integration uses the following functions for sending data:

                      ●   AF_INDIRECT_request()
                      ●   AF_DIRECT_request()


                  void AF_DIRECT_request
                  (
                     ushort DstShort,
                     uchar DstEndpoint,
                     uchar SrcEndpoint,
                     uchar ClusterId,
                     uchar afduLength,
                     uchar *afdu,
                     uchar TxOptions,
                     uchar DiscoverRoute,
                     uchar RadiusCounter,
                     uchar afduHandle
                  );


                  You’ll notice that the parameters also look an awful lot like the ZigBee APSDE-DATA.
                  request.

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CH04-H8597.indd 132                                                                                        7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 472 of 763 PageID #:
                                       2254



                                                                                ZigBee Applications       133

                  The confirm comes in as AF_INDIRECT_confirm() or AF_DIRECT_confirm(), with
                  the usual suspects for parameters:
                  void AF_DIRECT_confirm
                  (
                     ushort DstShort,
                     uchar DstEndpoint,
                     uchar SrcEndpoint,
                     uchar Status,
                     uchar afduHandle
                  );

                  Data indications come in through AF_DIRECT_indication():
                  void AF_DIRECT_indication
                  (
                     uchar DstEndpoint,
                     ushort SrcShort,
                     uchar SrcEndpoint,
                     uchar ClusterId,
                     uchar afduLength,
                     uchar *afdu,
                     uchar WasBroadcast,
                     uchar SecurityStatus
                  );


                        Integration Associates offers pre-certified modules.
                        ZigBee networks may be monitored and controlled from a PC through a USB dongle.


                  4.2.4 Freescale ZigBee API
                  Freescale is a large corporation with sales and technical offices worldwide. They are
                  headquartered in Austin, Texas, and until recently, they were a publicly traded company.
                  They are now owned by private investors, including BlackStone, and are the world’s
                  10th largest chip maker, according to Forbes. Originally, Freescale was Motorola Semi-
                  Conductor, before it spun off into its own company.
                  Freescale is a promoter within the ZigBee Alliance and (as their Web site proclaims) sees
                  the potential for ZigBee applications everywhere. Freescale is helping to build that world
                  with a comprehensive ZigBee solution that includes RF ICs, MCUs, sensors, reference
                  designs, protocol stack software, sample application software, and development tools.
                  Freescale provides a desktop stack configuration tool, called BeeKit, which makes
                  building ZigBee (and other Freescale networking) systems much easier. Freescale offers

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CH04-H8597.indd 133                                                                                             7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 473 of 763 PageID #:
                                       2255


                  134         Chapter 4




                                                Figure 4.10: Freescale MC13213


                  a range of networking protocols to serve not only the ZigBee markets, but other sensor
                  and control markets. For example, Freescale recently announced EC-Net, a protocol stack
                  running on 802.15.4 designed for television control, which may be connected to ZigBee
                  in the home. Freescale also provides a full 802.15.4 MAC solution as a development
                  environment of its own, without ZigBee (see Figure 4.10).
                  The Freescale ZigBee solution, BeeStack, has an architecture which looks just like the
                  ZigBee architecture, and is very true to the specification and includes all of the same
                  service access points (SAPs).
                  I won’t go into detail of the API in this section, because the Freescale solution is used
                  throughout this book.
                  I have to say, I’m a little biased toward the Freescale solution. They make excellent
                  products, have always met the production requirements of my customers, and do a great
                  job supporting San Juan Software as a third-party developer for their platform.


                      Freescale provides a comprehensive ZigBee solution, with RF ICs, MCUs, sensors, reference
                      designs, protocol stack software, sample application software, and development tools.


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CH04-H8597.indd 134                                                                                               7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 474 of 763 PageID #:
                                       2256



                                                                                     ZigBee Applications           135

                  4.2.5 Many Stack Vendors
                  While there is no common C API for ZigBee, the protocol standard makes for a very wide
                  ecosystem. I’ve just shown you four stack and silicon vendors, but there are many others.
                  Nearly every producer of 8-bit silicon makes, or has available, an 802.15.4 solution with
                  ZigBee. There are even ZigBee stack vendors that span silicon solutions, such as Airbee.
                  The important thing is that you, as an OEM, have many, many choices. Before selecting
                  the right solution for your product, take the time to examine the choices out there.
                  And don’t forget to think about the entire solution: silicon, stack, tools, sensors and
                  peripherals, support, price, and many other factors.

                        Consider all the factors when selecting the right ZigBee solution for any given project.



                  4.3      ZigBee PANs
                  ZigBee nodes can only send data requests to other nodes on the same network. A single
                  ZigBee network is called a Personal Area Network (PAN).
                  This section describes PAN IDs, extended PAN IDs, and channels, all concepts which
                  define a single ZigBee network. Application examples are given which show how to
                  adjust these settings in a ZigBee environment.
                  ZigBee PANs are formed by ZigBee Coordinators. Only ZigBee Coordinators (ZCs)
                  may form a PAN. The other ZigBee node types, ZigBee Routers (ZRs) and ZigBee End-
                  Devices (ZEDs) may join a network, but do not form one themselves.
                  There is no reason that a given application can’t choose at run-time whether to be a ZC,
                  ZR, or ZED, but that would be a ZigBee platform choice. At the time of this writing, the
                  Freescale platform requires the developer to choose at compile-time what ZigBee node-
                  type a given device will be.

                  4.3.1 Channels
                  For those of you who haven’t heard it before, the 2.4 GHz band is a worldwide unlicensed
                  portion of the RF spectrum for use by many radio products. This band is also known as
                  the ISM (Industrial, Scientific, and Medical) band. WiFi™ exists in this band. So does
                  Bluetooth™. So do cordless phones and microwave ovens. And so does ZigBee.
                  ZigBee uses the same channel set as specified in 802.15.4. In the 2.4 GHz band, these
                  channels are numbered 11 through 26. Channel numbers 0 through 10 are defined by the

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CH04-H8597.indd 135                                                                                                      7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 475 of 763 PageID #:
                                       2257


                  136       Chapter 4

                  sub-1 GHz 802.15.4 radios, but ZigBee (at least to date), doesn’t run on the sub-1 GHz
                  radios.
                  Note that if you use the Freescale SMAC networking stack (which is not ZigBee, but
                  does use the same Freescale 802.15.4 radios), the channels are numbered 0 through 15.
                  You can translate these numbers into MAC/ZigBee channels 11 through 26.
                  Channels are really just a portion of the RF spectrum. In the case of 802.15.4, each of
                  these channels is separated by 5 MHz in the 2.4 GHz band, as shown in Figure 4.11.
                  802.15.4 uses Direct Sequence Spread Spectrum (DSSS) to spread the packets into
                  symbols and reassemble them on the other end, verifying that the data was decoded
                  correctly through use of a 16-bit CRC. In Chapter 7, “The ZigBee Networking Layer,”
                  I describe the 802.15.4 PHY in a little more detail, but other books describe this PHY
                  standard better than I do. This book is about the ZigBee protocol. If you’d like to learn
                  more about 802.15.4, try IEEE 802.15.4 Low-Rate Wireless Personal Area Networks:
                  Enabling Wireless Sensor Networks, by José A. Gutierrez.
                  The 802.15.4 radio forms the foundation for ZigBee. Two interesting points about this
                  radio is that it is half-duplex (it can listen or talk, but not both at the same time) and
                  accesses one channel at a time. So, a device listening on channel 15 won’t hear anything
                  on channels 11 through 14 or 16 through 26.
                  ZigBee as a protocol does not typically change channels. Bluetooth, like some other
                  wireless technologies, is a channel-hopping protocol and some believe that channel-
                  hopping is required for reliability. Not so. Due to the robust nature of O-QPSK and
                  DSSS, 802.15.4 radios are very robust, even in a noisy RF environment. In fact, tests
                  performed at the ZigBee Alliance with WiFi turned up to maximum on all channels, did


                                                 Channel 0              Channels 1–10
                        868 MHz/915 MHz                                                     2 MHz
                        PHY


                                                868.3 MHz             902 MHz             928 MHz

                        2.4 GHz
                        PHY
                                                            Channels 11–26              5 MHz



                        2.4 GHz                                                                 2.4835 GHz

                                            Figure 4.11: IEEE 802.15.4 Channels

                  www.n ewn es p res s .c o m




CH04-H8597.indd 136                                                                                            7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 476 of 763 PageID #:
                                       2258



                                                                                    ZigBee Applications        137

                  not cause ZigBee to lose even one packet, over a series of thousands of data requests.
                  Occasionally there were some retries, but not a single packet was dropped.

                  So how does a ZigBee device decide what channel to use? It is defined by the Application
                  Profile. In Home Automation, for example, any ZigBee device wishing to join a network
                  must scan all channels, and be able to join any network on any channel. If the profile is a
                  private profile, it may choose to limit the device to one or any set of the 16 available channels.

                  But scanning channels does take time. When forming a network, ZigBee performs two scans:

                      ●   An energy detect scan
                      ●   An active scan

                  The energy detect scan is used to determine which channels are the quietest. The active scan
                  sends out a Beacon Request, and is used to determine what other ZigBee or 802.15.4 PAN
                  IDs are currently in use on that channel within hearing range of the radio. By default, ZigBee
                  chooses the channel with the fewest networks, and which is the quietest (in that order).

                  Only the active scan (detecting other networks) is used when joining a network. If a
                  network is already formed, and the Beacon Response can be heard by the joining node, it
                  is assumed that the channel is quiet enough for communication.

                  The scan duration is defined by 802.15.4 specification, and is an integer between 0 and
                  14. See Table 53—MLME-SCAN.request parameters in the 802.15.4 specification for
                  details. Since the value is used in a formula involving superframe duration, I’ve converted
                  those times to milliseconds for your convenience (see Table 4.2).


                                                Table 4.2: MAC Scan Durations
                                  Value     Scan Duration (ms)       Value    Scan Duration (ms)
                                  0            31                     8          3,948
                                  1            46                     9          7,880
                                  2            77                    10         15,744
                                  3           138                    11         31,473
                                  4           261                    12         62,930
                                  5           507                    13        125,844
                                  6           998                    14        251,674
                                  7         1,981


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CH04-H8597.indd 137                                                                                                    7/26/2008 1:01:48 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 477 of 763 PageID #:
                                       2259


                  138      Chapter 4

                  In the Freescale platform, both channel selection and scan duration are fully under
                  application control. The defaults for these are properties that can be set in BeeKit. The
                  channels are defined by mDefaultValueOfChannel_c in ApplicationConf.h, and the scan
                  duration by gScanDuration_c in BeeStackConfiguration.h. The defaults are channel 25
                  and scan duration 3. Each platform will have its own way of defining the channel set and
                  scan duration.
                  In the example, Example 4-2 ZigBee Channels, I demonstrate scanning all the channels
                  and then scanning a single channel for comparison. Notice how much longer it takes
                  to scan all of the channels versus only one. (It’s actually 16 to 1 in this case, since the
                  example scans all 16 channels, then only 1 channel).
                  This example will use two ZigBee nodes: one to form the network (the ZigBee
                  Coordinator), and one to join the network (a ZigBee End-Device). They happen to be a
                  Home Automation light and switch, but they could be any application for the purposes of
                  channel selection.
                  To follow the example with actual hardware, open the following two projects inside
                  CodeWarrior:

                      ●   Chapter04\Example4-2 ZigBee Channels\NcbZcHaOnOffLight.mcp
                      ●   Chapter04\Example4-2 ZigBee Channels\SrbZedHaOnOffLight.mcp

                  If this process is still new to you, read Chapter 3, “The ZigBee Development Environment,”
                  which describes how to download images to the Freescale boards, step-by-step.
                  Load the two programs into the NCB and SRB boards, respectively. If this process is not
                  familiar to you, go back to Chapter 3 and read about developing for the Freescale platform.
                  Then reset both boards. Press SW1 on both boards to form/join the network. Notice how
                  long the running lights on the LEDs chase each other. This is the amount of time it takes to
                  scan all 16 channels. The actual channel chosen is random (the channel is the third field,
                  line 2 on the NCB board’s LCD display), depending on how noisy each channel is. But,
                  usually, channel 11 (the first one tried) is quiet enough to form the network on that channel.
                  The NCB display may look something like this:
                  Ha OnOffLight
                  Cfg 3bab 11 000
                  Next, reset both boards. This time, press SW4 on the NCB board to select a channel.
                  Select channel 15. The channel number will change on the LCD display. Note also the

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CH04-H8597.indd 138                                                                                                7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 478 of 763 PageID #:
                                       2260



                                                                               ZigBee Applications      139

                  hex pattern on the LEDs. Press SW4 on the other (SRB) board to select the same channel.
                  Since the SRB doesn’t have a display, make sure the channel pattern on the LEDs match
                  what is on the NCB. Only then, press SW1 on both boards to form/join the network.
                  Notice how much more quickly the network forms?
                  In the code, channel selection is made through a bit mask set of channels, decided
                  initially at compile time. This channel mask can also be adjusted at run-time like it
                  was using SW4 in the example. The bit mask uses a set of 32 bits to represent channels.
                  Recall that the channels are numbered 11 through 26 by 802.15.4, so bits 11 through 26
                  are used to represent the channel mask. The comment shows how to set the bits properly,
                  but it’s much easier in BeeKit where it provides a check-box for each channel:

                  /*
                     The default channel list defines which channels to scan when forming or
                     joining a network. Default=0x02000000=channel 25. The channel list is a
                     bitmap, where each bit describes a channel (for example bit 12
                  corresponds to
                     channel 12). Any combination of channels can be included. ZigBee
                  supports
                     channels 11-26.
                     3 2 2 2 1 1 0 0 0
                     1 8 4 0 6 2 8 4 0
                     0000 0000 0000 0000 0000 1000 0000 0000  0x00000800  channel 11
                     0000 0100 0000 0000 0000 0000 0000 0000  0x04000000  channel 26
                     0000 0010 0000 0000 0000 0000 0000 0000  0x02000000  channel 25 (default)
                     0000 0111 1111 1111 1111 1000 0000 0000  0x07fff800  all channels 11-26
                     0000 0000 1000 0000 0001 0000 0000 0000  0x00801000  channels 23 and 12
                  */
                  #ifndef mDefaultValueOfChannel_c
                  #define mDefaultValueOfChannel_c       0x06000800
                  #endif

                  If your application wishes to set this at run-time, and you are not using the common user
                  ASL interface used in all of the Freescale applications, simply set the global variable
                  gSelectedChannel to the desired set of channels prior to calling ZDO_Start().
                  The scan duration is found in BeeStackConfiguration.h and is just a number, 0 through
                  14. See Table 4.2, “MAC Scan Durations,” for how this number translates into actual
                  time. Scan duration is set at compile-time in the Freescale solution. ZigBee does not
                  mandate a particular scan time for nodes:
                  /*Scan Duration*/
                  #ifndef gScanDuration_c


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CH04-H8597.indd 139                                                                                           7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 479 of 763 PageID #:
                                       2261


                  140      Chapter 4

                  #define gScanDuration_c 3
                  #endif

                  Often, when defining a private profile application, I’ll select channels 15, 20, 25, and
                  26, as these channels aren’t the same as on common WiFi installations. I do this not for
                  ZigBee’s sake, but for WiFi’s. If the application gets too chatty, it could cause WiFi to
                  miss a packet or two, and degrade the performance of WiFi.
                  As mentioned before, ZigBee 2007 includes the ability to switch channels. Like forming
                  or joining a network, this is designed to be a rare event for most ZigBee applications. I’ll
                  explain that feature in a bit more detail in Appendix A, “ZigBee 2007 and ZigBee Pro.”


                         Channels are a portion of the RF spectrum.
                         Of the 16 channels, ZigBee selects the channel with the fewest networks by default.



                  4.3.2 PAN IDs
                  ZigBee Personal Area Network identifiers (or PAN IDs) are used to logically separate
                  a collection of ZigBee nodes from other ZigBee nodes in the same vicinity or on the
                  same physical channel. This allows network A and network B to exist in close proximity
                  without interfering with each other, other than consuming over-the-air bandwidth that
                  they both share. For example, take a look at Figure 4.12. The light and dark gray PANs
                  share the same physical space, and in this case the same channel.

                  ZigBee PAN IDs are 16-bit numbers that range from 0x0000 to 0x3fff. Note this is
                  different than the 802.15.4 specification, which allows PAN IDs from 0x0000 to 0xfffe.

                  Generally, ZigBee PAN IDs won’t conflict (there are 16 K of them, and stacks are
                  encouraged to choose random PAN IDs). ZigBee does not expect to have anything near
                  16,000 different networks, all within radio range. In our office, we may perhaps have
                  10 to 20 going at any given time on various channels, and we are developing ZigBee
                  projects. That’s a 1 in 13,107 (16  16 K/20) chance of a conflict in our case. Not very
                  likely.

                  In ZigBee 2006, PAN IDs are unique on a given channel: that is, PAN ID 0x1234 could
                  exist on channel 11 and a separate pan 0x1234 could exist on channel 12. In ZigBee
                  2007, that is disallowed because of the Frequency Agility feature, which allows a network
                  to switch channels if it determines that the current channel is no longer appropriate.

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CH04-H8597.indd 140                                                                                              7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 480 of 763 PageID #:
                                       2262



                                                                               ZigBee Applications      141




                                                Nwk A                        Nwk B


                         Figure 4.12: Separate ZigBee PANs May Coexist on the Same Channel


                  When forming a network, ZigBee specifies that PAN ID 0xffff means the application
                  doesn’t care what the PAN ID is, and is requesting the ZigBee stack to pick one at random
                  that does not conflict with any existing PAN IDs in the vicinity. When joining a network,
                  PAN ID 0xffff means the node doesn’t care which network it joins. Any PAN ID will do.
                  So how does an application decide which PAN ID to use, either for forming or joining?
                  The simple answer is that the Application Profile decides. In Home Automation, the
                  default PAN ID is 0xffff for all devices. For a private profile, any PAN ID may be used.
                  The following example, Example 4-3 ZigBee PAN IDs, shows how to pick which PAN
                  ID a node will join. In the example, two PANs are formed on the same channel, PAN IDs
                  0x000a and 0x000b. I’ll use channel 11 for the demo. Then a switch is started, which
                  joins a PAN. The switch is initially compiled to search for PAN ID 0x000b, so it will
                  always join that PAN (the Ncb Light). Notice the switch can control the NcbLight (see
                  Figure 4.13).
                  Next, the switch is recompiled to search for PAN ID 0x000a (or, if another SRB board is
                  available, a second switch is started). Reset the switch and notice how it now joins PAN
                  0x000b this time, and controls the SrbLight, as opposed to the NcbLight (see Figure 4.14).
                  Like most examples in the book, the example can be followed using the three-node
                  Freescale Network Starter Kit. The BeeKit Solution file, capture file, and source code to
                  the application can be found at http://www.zigbookexamples.com. See Chapter 3, “The

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CH04-H8597.indd 141                                                                                            7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 481 of 763 PageID #:
                                       2263


                  142      Chapter 4


                                                                      NcbZcLight
                                             SrbZcLight




                                                                         SrbZedSwitch




                                                 Nwk A                          Nwk B


                                              Figure 4.13: Switch Joins PAN A

                  ZigBee Development Environment,” for a full explanation of how to download examples
                  into the hardware. Download the following three projects to the respective boards:
                      ●   Chapter04\Example4-3 ZigBee PAN IDs\NcbZcLightPanA.mcp
                      ●   Chapter04\Example4-3 ZigBee PAN IDs\SrbZcLightPanB.mcp
                      ●   Chapter04\Example4-3 ZigBee PAN IDs\SrbZedSwitchPanA.mcp
                  Boot all three boards. Once they come up, press SW1 on the switch, and notice that it
                  controls the NCB light, and not the SRB light. If you are sniffing over-the-air, you should
                  see something like this:


                                                                   NcbZcLight
                                          SrbZcLight




                                                                      SrbZedSwitch




                                                 Nwk A                          Nwk B


                                              Figure 4.14: Switch Joins PAN B

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CH04-H8597.indd 142                                                                                             7/26/2008 1:01:49 PM
                                                 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 482 of 763 PageID #:
                                                                                     2264
CH04-H8597.indd 143




                                                Seq No MAC Src              MAC Dest             NWK Src NWK Dest Protocol           Packet Type
                                                -----------------------------------------------------------------------------------------------------------------
                                                1                           0xffff                                   IEEE 802.15.4   Command: Beacon Request
                                                2                           0xffff                                   IEEE 802.15.4   Command: Beacon Request
                                                3       0x0000                                                       IEEE 802.15.4   Beacon: BO: 15, SO: 15, PC: 1,
                                                                                                                                       AP: 1, Nwk RC: 1, Nwk EDC: 1
                                                4                           0xffff                                   IEEE 802.15.4   Command: Beacon Request
                                                5       0x0000                                                       IEEE 802.15.4   Beacon: BO: 15, SO: 15, PC: 1,
                                                                                                                                      AP: 1, Nwk RC: 1, Nwk EDC: 1
                                                6       0x0050c209cc066801  0x0000                                   IEEE 802.15.4   Command: Association Request
                                                7                                                                    IEEE 802.15.4   Acknowledgment
                                                8       0x0050c209cc066801  0x0000                                   IEEE 802.15.4   Command: Data Request
                                                9                                                                    IEEE 802.15.4   Acknowledgment
                                                10      0x0050c20d10046400  0x0050c209cc066801                       IEEE 802.15.4   Command: Association Response
                                                11                                                                   IEEE 802.15.4   Acknowledgment
                                                12      0x796f              0x0000               0x796f   0xfffd     Zigbee APS Data ZDP:MatchDescReq
                                                13                                                                   IEEE 802.15.4   Acknowledgment
                                                14      0x0000              0xffff               0x796f   0xfffd     Zigbee APS Data ZDP:MatchDescReq
                                                15      0x0000              0xffff               0x796f   0xfffd     Zigbee APS Data ZDP:MatchDescReq
                                                16      0x796f              0x0000                                   IEEE 802.15.4   Command: Data Request
                                                17                                                                   IEEE 802.15.4   Acknowledgment
                                                18      0x0000              0x796f               0x0000   0x796f     Zigbee APS Data ZDP:MatchDescRsp
                                                19                                                                   IEEE 802.15.4   Acknowledgment
                                                20      0x0000              0xffff               0x796f   0xfffd     Zigbee APS Data ZDP:MatchDescReq
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                                                21      0x796f              0x0000               0x796f   0x0000     Zigbee APS Data HA:On/off
                                                22                                                                   IEEE 802.15.4   Acknowledgment
7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 483 of 763 PageID #:
                                       2265


                  144      Chapter 4

                  Take a closer look at packet 6. Notice that the switch is attempting to associate with PAN A,
                  not PAN B (see Destination PAN Identifier below):

                  Frame 6 (Length = 21 bytes)
                  IEEE 802.15.4
                    Frame Control: 0xc823
                    Sequence Number: 59
                    Destination PAN Identifier: 0x000a
                    Destination Address: 0x0000
                    Source PAN Identifier: 0xffff
                    Source Address: 0x0050c209cc066801
                    MAC Payload
                      Command Frame Identifier = Association Request: (0x01)
                      Capability Information: 0x84
                         ... ...0. = Alternate PAN Coordinator: Not capable of becoming PAN
                  Coordinator
                         .... ..0. = Device Type: RFD
                         .... .1.. = Power Source: Receiving power from alternating current
                  mains
                         .... 0... = Receiver on when idle: Disables receiver when idle
                         ..00 .... = Reserved
                         .0.. .... = Security Capability: Not capable of using security
                  suite
                         1... .... = Allocate Address: Coordinator should allocate short
                  address
                    Frame Check Sequence: Correct


                  Now, have a switch join PAN B. Leave both PAN coordinators running (both the NCB
                  light and SRB light). If you have another SRB board like I do, then download the
                  following project into a second board. Otherwise, reuse the SrbZedSwitchPanA from
                  above and place the following project into that board:

                      Chapter04\Example4-3 ZigBee PAN IDs\SrbZedSwitchPanB.mcp

                  Boot the switch for PAN B. Notice that it associates with PAN B and controls the SRB
                  light which is on PAN B, not the NCB light on PAN A as the first switch did.
                  The default PAN ID is simply a property in BeeKit. Set it as you would other properties,
                  or examine the constant directly in ApplicationConf.h:

                  #ifndef mDefaultValueOfPanId_c
                  #define mDefaultValueOfPanId_c                           0x0B,0x00
                  #endif


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CH04-H8597.indd 144                                                                                               7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 484 of 763 PageID #:
                                       2266



                                                                                   ZigBee Applications           145

                  Notice the PAN ID (in this case for network B) is a sequence of bytes, little Endian.
                  Everything in ZigBee is little Endian over-the-air. Little Endian (as opposed to big
                  Endian) simply means the lowest byte(s) come first. This may or may not be true of your
                  application data (it is up to the application), but for everything the ZigBee generates, it’s
                  little Endian.

                  It’s also easy enough to select the PAN ID under application control at run-time by
                  modifying the variable gNwkData.aPanId. Do not adjust the PAN ID if already on a
                  network—the NWK layer and MAC have some communication which occurs only at
                  form/join time.

                  It’s interesting to note that the ZigBee specification is rather vague on the topic of which
                  channel on which to form or join a network. It says the node will scan the given set of
                  channels and “choose the best one.” This allows each OEM to have some flexibility, but
                  still form and join in a standard way. On the Freescale platform, this process to “choose
                  the best one” is exposed to the application in the file AppStackImpl.c. An algorithm
                  could be made, for example, to only look for PAN IDs in the range 0x2000 through
                  0x20ff. See the function SearchForSuitableParentToJoin().

                  Sometime a PAN ID is just not enough. A particular application may want to only join
                  a network that has a particular (probably private profile) application on it. One way is to
                  use a special PAN ID and hope, but that’s not a very sure way to join the right network.
                  Another way is to join the network and see if the application is on it, but this takes time to
                  join the other network, and may require special code to be implemented.

                  ZigBee thought of this and provided a mechanism to join only those PANs which are
                  released by your corporation, which leads us to extended PAN IDs.


                       The 16-bit PAN IDs allow separate ZigBee networks to share a channel.
                       The same PAN ID may be used in a different physical locality or on a different channel.




                  4.3.3 Extended PAN IDs
                  Extended PAN IDs (EPIDs) are 64-bit numbers that uniquely identify a PAN. ZigBee
                  communicates using the shorter 16-bit PAN ID for all communication except one. The

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CH04-H8597.indd 145                                                                                                    7/26/2008 1:01:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 485 of 763 PageID #:
                                       2267


                  146      Chapter 4

                  beacon response issued as the result of a beacon request contains an Extended PAN ID to
                  allow a node that wishes to join a network to pick exactly the right one.
                  Every time a ZigBee node wishes to join a network, it sends out a beacon request. It then
                  pays attention to all of the beacon responses, and picks the “best” network (if any) out
                  of these responses. Take a look at the beacon response (also just called a beacon) from
                  the switch in the last example (packet # 3 from Example 4-1 ZigBee Extended PAN IDs,
                  available on-line):

                  Frame 3 (Length=24 bytes)
                    Time Stamp: 14:10:23.413
                    Frame Length: 24 bytes
                    Capture Length: 24 bytes
                    Link Quality Indication: 115
                    Receive Power: -60 dBm
                  IEEE 802.15.4
                    Frame Control: 0x8000
                      .... .... .... .000 = Frame Type: Beacon (0x0000)
                      .... .... .... 0... = Security Enabled: Disabled
                      .... .... ...0 .... = Frame Pending: No more data
                      .... .... ..0. .... = Acknowledgment Request: Acknowledgement not
                  required
                      .... .... .0.. .... = Intra PAN: Not within the PAN
                      .... ..00 0... .... = Reserved
                      .... 00.. .... .... = Destination Addressing Mode: PAN identifier
                  and address field are not present (0x0000)
                      ..00 .... .... .... = Reserved
                      10.. .... .... .... = Source Addressing Mode: Address field contains
                  a 16-bit short address (0x0002)
                    Sequence Number: 221
                    Source PAN Identifier: 0x000a
                    Source Address: 0x0000
                    MAC Payload
                      Superframe Specification: 0xcfff
                         .... .... .... 1111 = Beacon Order (0x000f)
                         .... .... 1111 .... = Superframe Order (0x000f)
                         .... 1111 .... .... = Final CAP Slot (0x000f)
                         ...0 .... .... .... = Battery Life Extension: Disabled
                         ..0. .... .... .... = Reserved
                         .1.. .... .... .... = PAN Coordinator: Transmitter is a PAN
                  Coordinator
                         1... .... .... .... = Association Permit: Coordinator accepting
                  Association Requests
                      GTS Specification: 0x00
                         .... .000 = GTS Descriptor Count (0x00)


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CH04-H8597.indd 146                                                                                           7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 486 of 763 PageID #:
                                       2268



                                                                                ZigBee Applications      147

                         .000 0... = Reserved
                         0... .... = GTS Permit: Coordinator not accepting GTS Requests
                  Pending Address Specification: 0x00
                         .... .000 = Number of short Addresses pending: 0
                         .... 0... = Reserved
                         .000 .... = Number of extended Addresses pending: 0
                         0... .... = Reserved
                      Beacon Payload
                         Protocol ID: ZigBee NWK (0x00)
                    Frame Check Sequence: Correct
                  NWK Layer Information: 0x8421
                    .... .... .... 0001 = Stack Profile (0x1)
                    .... .... 0010 .... = nwkcProtocolVersion (0x2)
                    .... ..00 .... .... = Reserved (0x0)
                    .... .1.. .... .... = Router Capacity: True
                    .000 0... .... .... = Device Depth (0x0)
                    1... .... .... .... = End Device Capacity: True
                    Extended PAN ID: 0x0050c20d10046400


                  The Source PAN Identifier is 0x000a, but notice the contents of the final field above: the
                  Extended PAN ID (0x0050c20d10046400). This field by default uses the Freescale OUI
                  (0x0050c2) for the top 24 bits, and adds some random numbers for the rest.

                  EPIDs are not managed by any standards body. I recommend using your OUI, a unique
                  24-bit number issued by IEEE to companies making networking products, for the top
                  24 bits of the EPID. See MAC Addresses in Chapter 7, “The ZigBee Networking Layer,”
                  for more details on the OUI.

                  It’s also interesting to note that Extended PAN IDs are completely unrelated to PAN IDs,
                  and also to MAC addresses. They are a unique 64-bit number, used solely for helping
                  nodes find the right network.

                  In this next example, both the NcbZcLightExtPan and the SrbZcSwitchExtPan projects
                  will use the extended PAN ID of 0x1122334455667788. The PAN ID will be set to 0xffff
                  so that the NcbZcLightExtPan will form a random PAN ID and the SrbZcSwitchExtPan
                  will find it. The example will look very similar from a user perspective to the previous
                  one, but the over-the-air mechanism used is quite different (see Figure 4.15).

                  As in the previous example, this one can be followed using the three-node Freescale
                  Network Starter Kit. The BeeKit Solution file, capture file, and source code to the
                  application can be found in the usual place: http://www.zigbookexamples.com. Download

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CH04-H8597.indd 147                                                                                            7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 487 of 763 PageID #:
                                       2269


                  148      Chapter 4


                                                               NcbZcLight
                                     SrbZcLight




                                                                 SrbZedSwitch




                                           Ext Pan ID                       Ext Pan ID
                                          0x0000000000000000                0x1122334455667788

                                  Figure 4.15: Switch Finds the Right Extended PAN ID



                  the following three projects to the respective boards (you can save yourself a step if you
                  still have the SrbZcLightPanB from the previous example):

                      ●   Chapter04\Example4-4 Extended PAN IDs\NcbZcLightExtPan.mcp
                      ●   Chapter04\Example4-4 Extended PAN IDs\SrbZcLightPanB.mcp
                      ●   Chapter04\Example4-4 Extended PAN IDs\SrbZedSwitchExtPan.mcp

                  Boot all the boards. Notice the switch always joins the network based on Extended PAN
                  ID, and not PAN B, which has the wrong Extended PAN ID.

                  An application could look for a range of extended PAN IDs to join. For example, it might
                  look for all EPIDs with the mask of 0x0050c237b0xxxx to ensure that it’s any one of a
                  set of EPIDs from a particular manufacturer. To modify Freescale BeeStack to look for a
                  range of EPIDs, modify the routine SearchForSuitableParentToJoin() found in
                  AppStackImpl.c:



                             Use Extended PAN IDs (EPIDs) to force nodes to join a specific network.




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CH04-H8597.indd 148                                                                                            7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 488 of 763 PageID #:
                                       2270



                                                                                 ZigBee Applications     149

                                            Table 4.3: ZigBee Addressing Ranges
                            Name           Range           Description
                            Channel        11–26           A physical portion of the RF spectrum
                            PAN ID         0x0000–0x3fff   The address of a network within a channel
                            NwkAddr        0x0000–0xfff7   The address of a node within a network
                            Endpoint       1–240           The address of an application within a node
                            Cluster        0x0000–0xffff   The object within the application
                            Command        0x00–0xff       An action to take within the cluster
                            Attribute      0x0000–0xffff   A data item within the cluster




                  4.4       ZigBee Addressing
                  Addressing is the way in which a message gets from one place to another in a network.
                  Postal (snail) mail uses one type of address that many are familiar with:
                      San Juan Software
                      221 Wood Duck Lane
                      Friday Harbor, WA 98250
                      USA

                  Internet Protocol (IP) addressing is another addressing method:
                  155.213.123.01
                  ZigBee addressing takes into account all the information shown in Table 4.3.
                  There are other ZigBee addressing features that simply translate into one or more of the
                  items shown in the table. For example, Extended PAN IDs really merely determine which
                  PAN ID to join. Another is groups, described later in this section, which defines a set of
                  nodes in the network to address (see Table 4.4).

                  4.4.1 ZigBee Node Types
                  Before going into more ZigBee addressing, I’d like to address a concept I’ve been skirting
                  but need to define formally: ZigBee node types.




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CH04-H8597.indd 149                                                                                            7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 489 of 763 PageID #:
                                       2271


                  150           Chapter 4

                                               Table 4.4: More ZigBee Addressing Features
                      Name                           Range                       Description
                      Extended PAN ID                0x0000000000000000–         A unique 64-bit identifier for the PAN
                                                     0xffffffffffffffff
                      Group                          0x0000–0xffff               A collection of nodes in a network
                      Application Profile ID         0x0000–0xffff               Defines a particular application domain


                  Every node in a ZigBee network is one of three types: a ZigBee Coordinator (ZC), a
                  ZigBee Router (ZR), or a ZigBee End-Device (ZED). In IEEE 802.15.4-speak, both ZCs
                  and ZRs are full-function devices, and a ZED is a reduced-function device (see Table 4.5).

                  Use a ZigBee Coordinator to form a network. This is the only device type that can. If
                  the network is secure, the ZC must be present to add nodes to the network. Otherwise,
                  once the network starts, it’s just a router. The ZC is also the root of the tree when using
                  tree routing in stack profile 0x01, so if the ZC is gone, only mesh routing is available
                  across branches of the tree. Tree routing is explained in-depth in Chapter 7, “The ZigBee
                  Networking Layer.”

                  The ZigBee Coordinator is not needed for normal operation of the network, but is
                  required to allow nodes to join or leave the network, as it contains the Trust Center. Only
                  the Trust Center can decide whether to allow a node on a ZigBee network, or to deny it
                  access.


                                                      Table 4.5: ZigBee Node Types
                              Node Type          Features
                                                 Forms network
                                 ZC              Routes packets
                                                 Security Trust Center
                                                 Allows nodes to join network
                                                 Joins network
                                ZED              Routes Packets
                                                 Allows nodes to join network
                                                 Joins network
                                                 Battery operated and may sleep
                                 ZR
                                                 Smallest code size
                                                 Can be RxOnIdle  true (no polling) or RxOnIdle  false (polling)


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CH04-H8597.indd 150                                                                                                        7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 490 of 763 PageID #:
                                       2272



                                                                                ZigBee Applications        151

                  Use a ZigBee Router to enhance the mesh in the network. ZigBee Routers can extend the
                  range of the network and increase its reliability. ZRs like the ZigBee Coordinator route
                  packets, and also allow other nodes to join the network.
                  Use a ZigBee End-Device if the node must be battery-operated and sleep during network
                  inactivity. A ZED may be RxOnIde or not. When RxOnIdle is false, ZEDs may sleep
                  for long periods of time. There is no ZigBee-imposed limit on sleeping, but some
                  Application Profiles define a maximum, such as one hour in the Home Automation
                  profile. When an RxOnIdle is false, ZED wakes up. It may transmit immediately, poll its
                  parent to see if any messages are waiting for it, then go back to sleep. When RxOnIdle is
                  true, ZEDs receive messages immediately. In either case, a ZED may transmit any time it
                  wishes. Use an RxOnIdle ZED when an application needs more RAM or flash memory
                  because ZEDs make the smallest code image.
                  Any application can reside in any ZigBee node type. For example, a ZC, ZR, or ZED
                  could contain a light, switch, temperature sensor, thermostat, gateway, or whatever is
                  appropriate for the physical device.
                  The following example, Example 4-5 ZigBee Node Types, contains one ZigBee node of
                  each type: a ZC, a ZR, and a ZED. In this case, the ZC will be the switch, the ZR and
                  ZED will be lights.
                  This example can be followed using the three-node Freescale Network Starter Kit. The
                  BeeKit Solution file, capture file, and source code to the application can be found in
                  the usual place: http://www.zigbookexamples.com. To follow the example, download
                  the following three projects to the respective boards:

                      ●   Chapter04\Example4-5 ZigBee Node Types\ZcNcbSwitch.mcp
                      ●   Chapter04\Example4-5 ZigBee Node Types\ZrSrbLight.mcp
                      ●   Chapter04\Example4-5 ZigBee Node Types\ZedSrbLight.mcp

                  After they are all programmed, turn the nodes on, in any order. Once the ZigBee
                  Coordinator forms the network the other devices will join, in this case on channel 25,
                  PAN ID 0x0f00. Now press SW1 on the ZcNcbOnOffSwitch to toggle the lights.
                  Notice the delay on the ZED! Over-the-air, you can see the reason for the delay: the
                  ZED doesn’t receive the message until it polls its parent for the message. By default, this
                  occurs once every three seconds. I’ve included time in the following capture so you can
                  see how often the ZED polls its parent for messages. The ZigBee polling command looks
                  like an 802.15.4 Command: Data Request in the captures:

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CH04-H8597.indd 151                                                                                              7/26/2008 1:01:50 PM
                                                         Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 491 of 763 PageID #:
                                                                                             2273
CH04-H8597.indd 152




                       www.n ewn es p res s .c o m

                                                     Seq No Time             MAC Src          MAC Dest             NWK Src NWK Dest Protocol         Packet Type
                                                     ---------------------------------------------------------------------------------------------------------------------
                                                     1        11:42:16.000                    0xffff                                 IEEE 802.15.4   Command: Beacon Request
                                                     2        11:42:17.604                    0xffff                                 IEEE 802.15.4   Command: Beacon Request
                                                     3        11:42:17.609 0x0000                                                    IEEE 802.15.4   Beacon: BO: 15, SO: 15,
                                                                                                                                                     PC: 1, AP: 1, Nwk RC: 1,
                                                                                                                                                     Nwk EDC: 1
                                                     4        11:42:19.629 0x0050c237b0040002 0x0000                                 IEEE 802.15.4   Command: Association
                                                                                                                                                     Request
                                                     5        11:42:19.630                                                           IEEE 802.15.4   Acknowledgment
                                                     6        11:42:20.126 0x0050c237b0040002 0x0000                                 IEEE 802.15.4   Command: Data Request
                                                     7        11:42:20.127                                                           IEEE 802.15.4   Acknowledgment
                                                     8        11:42:20.130 0x0050c237b0040001 0x0050c237b0040002                     IEEE 802.15.4   Command: Association
                                                                                                                                                     Response
                                                     9        11:42:20.131                                                           IEEE 802.15.4   Acknowledgment
                                                     10       11:42:21.087                    0xffff                                 IEEE 802.15.4   Command: Beacon Request
                                                     11       11:42:21.089 0x0000                                                    IEEE 802.15.4   Beacon: BO: 15, SO: 15,
                                                                                                                                                     PC: 1, AP: 1, Nwk RC: 1,
                                                                                                                                                     Nwk EDC: 1
                                                     12       11:42:21.093 0x0001                                                    IEEE 802.15.4   Beacon: BO: 15, SO: 15,
                                                                                                                                                     PC: 0, AP: 1, Nwk RC: 1,
                                                                                                                                                     Nwk EDC: 1
                                                     13       11:42:23.112 0x0050c237b0040003 0x0000                                 IEEE 802.15.4   Command: Association
                                                                                                                                                     Request
                                                     14       11:42:23.113                                                           IEEE 802.15.4   Acknowledgment
                                                     15       11:42:23.609 0x0050c237b0040003 0x0000                                 IEEE 802.15.4   Command: Data Request
                                                     16       11:42:23.610                                                           IEEE 802.15.4   Acknowledgment
                                                     17       11:42:23.612 0x0050c237b0040001 0x0050c237b0040003                     IEEE 802.15.4   Command: Association
                                                                                                                                                     Response
                                                     18       11:42:23.613                                                           IEEE 802.15.4   Acknowledgment
                                                     19       11:42:26.688   0x796f           0x0000                                 IEEE 802.15.4   Command: Data Request
                                                     20       11:42:26.689                                                           IEEE 802.15.4   Acknowledgment
                                                     21       11:42:26.867   0x0000           0xffff               0x0000   0xffff   Zigbee APS Data HA:On/off
                                                     22       11:42:26.880   0x0001           0xffff               0x0000   0xffff   Zigbee APS Data HA:On/off
                                                     23       11:42:29.758   0x796f           0x0000                                 IEEE 802.15.4   Command: Data Request
                                                     24       11:42:29.759                                                           IEEE 802.15.4   Acknowledgment
                                                     25       11:42:29.761   0x0000           0x796f               0x0000   0xffff   Zigbee APS Data HA:On/off
                                                     26       11:42:29.762                                                           IEEE 802.15.4   Acknowledgment
                                                     27       11:42:32.831   0x796f           0x0000                                 IEEE 802.15.4   Command: Data Request
                                                     28       11:42:32.832                                                           IEEE 802.15.4   Acknowledgment
7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 492 of 763 PageID #:
                                       2274



                                                                                ZigBee Applications    153

                  Notice that the broadcast toggle command, initiated by the ZC (address 0x0000) in packet
                  21, is repeated by the router (address 0x0001) in packet 22. Then, three seconds later,
                  the polling ZED asks node 0x0000 (its parent) if there are any messages waiting for
                  it. The parent responds, “Why, yes, there are,” and promptly sends down the broadcast to
                  the child:

                  Frame 25 (Length = 30 bytes)
                  IEEE 802.15.4
                    Frame Control: 0x8861
                    Sequence Number: 254
                    Destination PAN Identifier: 0x0f00
                    Destination Address: 0x796f
                    Source Address: 0x0000
                    Frame Check Sequence: Correct
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0xffff
                    Source Address: 0x0000
                    Radius=10
                    Sequence Number = 217
                  ZigBee APS
                    Frame Control: 0x08
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x13
                  ZigBee ZCL
                    Frame Control: 0x01
                    Transaction Sequence Number: 0x42
                    Command Identifier: Toggle (0x02)


                  Note how the 802.15.4 (MAC) frame indicates a unicast from the parent to the child, but
                  the NWK frame indicates that it’s a broadcast (destination 0xffff) from node 0x0000, the
                  ZcNcbOnOffSwitch.



                              Any application may reside in any ZigBee node type: ZC, ZR, or ZED.




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CH04-H8597.indd 153                                                                                          7/26/2008 1:01:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 493 of 763 PageID #:
                                       2275


                  154      Chapter 4

                  4.4.2 The Network Address
                  The network address, also called NwkAddr, short address, or node address, is a
                  16-bit number used to uniquely identify a particular node on a ZigBee network.
                  The ZigBee Coordinator is always NwkAddr 0x0000. Yes, two ZigBee coordinators
                  can exist on the same channel with NwkAddr 0x0000, because they are on different
                  PAN IDs.
                  If using stack profile 0x01, which uses tree routing in addition to mesh, the NwkAddr
                  reflects its position in the network. For example, NwkAddr 0x0001 is the first ZR
                  that joined the network, and NwkAddr 0x796F is the first ZED. In stack profile
                  0x02 (with ZigBee 2007), the NwkAddr is assigned randomly.
                  Most of the examples so far have used service discovery and binding to determine which
                  nodes in the network with which to communicate, such as using Match Descriptor or
                  End-Device-Bind command.
                  But service discovery and binding are not required in ZigBee. Once a node is on
                  the network, it can communicate to any other node in the network. Simply transmit
                  a packet to that node address. It is very common to send something to the ZigBee
                  Coordinator (NwkAddr 0x0000), because that node address is the same in every
                  ZigBee network.
                  In this three-node example, the switch application already knows the topology of the
                  network and the addresses of nodes in the network. It knows that one light will be at
                  node 0x0001 (the first ZR), and the other light will be at node 0x143e (the second ZR).
                  SW1 will toggle the light at NwkAddr 0x0001, and SW2 will toggle the light at
                  NwkAddr 0x143e. No other binding or instructions are needed. Take a look at the
                  very simple capture:




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CH04-H8597.indd 154                                                                                         7/26/2008 1:01:51 PM
                                                 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 494 of 763 PageID #:
                                                                                     2276
CH04-H8597.indd 155




                                                Seq No MAC Src               MAC Dest            NWK Src NWK Dest    Protocol         Packet Type
                                                ----------------------------------------------------------------------------------------------------------------
                                                1                            0xffff                                  IEEE 802.15.4    Command: Beacon Request
                                                2                            0xffff                                  IEEE 802.15.4    Command: Beacon Request
                                                3                            0xffff                                  IEEE 802.15.4    Command: Beacon Request
                                                4       0x0000                                                       IEEE 802.15.4    Beacon: BO: 15, SO: 15,
                                                                                                                                      PC: 1, AP: 1, Nwk RC: 1,
                                                                                                                                      Nwk EDC: 1
                                                5                            0xffff                                  IEEE 802.15.4    Command: Beacon Request
                                                6       0x0000                                                       IEEE 802.15.4    Beacon: BO: 15, SO: 15,
                                                                                                                                      PC: 1, AP: 1, Nwk RC: 1,
                                                                                                                                      Nwk EDC: 1
                                                7       0x0050c237b0040002   0x0000                                  IEEE 802.15.4    Command: Association
                                                                                                                                      Request
                                                8                                                                    IEEE 802.15.4    Acknowledgment
                                                9       0x0050c237b0040002   0x0000                                  IEEE 802.15.4    Command: Data Request
                                                10                                                                   IEEE 802.15.4    Acknowledgment
                                                11      0x0050c237b0040001   0x0050c237b0040002                      IEEE 802.15.4    Command: Association
                                                                                                                                      Response
                                                12                                                                   IEEE 802.15.4    Acknowledgment
                                                13      0x0050c237b0040003   0x0000                                  IEEE 802.15.4    Command: Association
                                                                                                                                      Request
                                                14                                                                   IEEE 802.15.4    Acknowledgment
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                                                15      0x0050c237b0040003   0x0000                                  IEEE 802.15.4    Command: Data Request
                                                16                                                                   IEEE 802.15.4    Acknowledgment
                                                17      0x0050c237b0040001   0x0050c237b0040003                      IEEE 802.15.4    Command: Association
                                                                                                                                      Response
                                                18                                                                   IEEE 802.15.4    Acknowledgment
                                                19      0x0000               0x0001              0x0000   0x0001     Zigbee APS Data HA:On/off
                                                20                                                                   IEEE 802.15.4    Acknowledgment
                                                21      0x0000               0x0001              0x0000   0x0001     Zigbee APS Data HA:On/off
                                                22                                                                   IEEE 802.15.4    Acknowledgment
                                                23      0x0000               0x143e              0x0000   0x143e     Zigbee APS Data HA:On/off
                                                24                                                                   IEEE 802.15.4    Acknowledgment
                                                25      0x0000               0x143e              0x0000   0x143e     Zigbee APS Data HA:On/off
                                                26                                                                   IEEE 802.15.4    Acknowledgment
7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 495 of 763 PageID #:
                                       2277


                  156       Chapter 4

                  Packets 1 through 18 are the packets needed for the nodes to join the network. But notice
                  that at packet 19, the switch begins to send data to the first light, 0x0001. No discovery
                  occurred, the switch just “assumed” the light would be there.
                  This is a perfectly acceptable practice for a private profile, because the topology and
                  relationships between nodes could be set up in advance. Public profiles require more
                  sophisticated discovery techniques because the network topology is never known in advance.
                  To run this demo, download the following three projects into their respective boards:
                       ●   Chapter04\Example4-6 ZigBee NwkAddr\ZcNcbHaOnOffSwitch.mcp
                       ●   Chapter04\Example4-6 ZigBee NwkAddr\ZrSrbHaOnOffLight1.mcp
                       ●   Chapter04\Example4-6 ZigBee NwkAddr\ZrSrbHaOnOffLight2.mcp
                  Once the code is downloaded and the boards are booted (any order), press SW1 to
                  toggle the SrbZrLight1 (NwkAddr 0x0001). Then press SW2 to toggle the SrbZrLight2
                  (NwkAddr 0x143e). It’s as simple as that.
                  Take a look at the source code on the switch. It just makes a data request like you’ve seen
                  before, setting the address to the desired node. It doesn’t matter if the node is many hops
                  away: ZigBee will discover a route automatically and find the node. The NwkAddr is all
                  that is needed:
                  void BeeAppHandleKeys(key_event_t events)
                  {
                    zbNwkAddr_t aDestAddress;
                    zbEndPoint_t endPoint = appEndPoint;
                      switch(events) {
                      /* SW1 – send toggle to node 0x0001 */
                      case gKBD_EventSW1_c:
                        Set2Bytes(aDestAddress, 0x0100);
                        OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                          aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                        break;
                      /* SW2 – send toggle command to node 0x143e */
                      case gKBD_EventSW2_c:
                      Set2Bytes(aDestAddress, 0x3e14);
                        OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                          aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                        break;
                      }
                  }


                  www.n ewn es p res s .c o m




CH04-H8597.indd 156                                                                                             7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 496 of 763 PageID #:
                                       2278



                                                                                 ZigBee Applications      157

                  Note that the addresses are little Endian (lowest byte first). So address 0x0001 is
                  represented as 0x0100. All ZigBee data types are little Endian over-the-air. It is up to the
                  stack vendor to choose how to implement this in source code. Freescale uses little Endian
                  for all the ZigBee types, even though the HCS08 processor used in the MC13213 is
                  big Endian.


                                  The 16-bit NwkAddr uniquely identifies a node in the network.



                  4.4.3 MAC Addresses
                  The MAC address, also called IEEE address, long address, or extended address, is a 64-
                  bit number that uniquely identifies this board from all other ZigBee boards in the world.
                  This number is large enough to allow for about 4 billion ZigBee boards for every square
                  meter of land on earth. ZigBee believes that will be a large enough address space for the
                  foreseeable future.
                  The top 24 bits of this address consist of the Organizational Unique Identifier (OUI). The
                  lower 40 bits are managed by the OEM producing the boards. For example, all Freescale
                  development boards use the OUI 0x0050c2. The rest of the bits 0x37b001xxxx define the
                  specific ZigBee development board (see Figure 4.16).
                  The 64-bit MAC addresses have no direct relationship to the 16-bit NwkAddr. If a node
                  leaves one ZigBee network and joins another, its MAC address will remain the same, but
                  the NwkAddr will likely change.


                                                       1
                                                                                             MAC
                                                                   14ED                     Address
                                                           0
                                                796F
                                                                                            0050C2
                                                                                          37B001010D
                                                       2                    4
                               MAC
                              Address
                                                               3
                             0050C2                                  7970
                           37B000C45F



                                                Figure 4.16: MAC Addresses

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CH04-H8597.indd 157                                                                                              7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 497 of 763 PageID #:
                                       2279


                  158      Chapter 4

                  ZigBee radios do not contain a MAC address. It is up to the OEM producing boards
                  to procure these and place them in flash memory into the board’s MCU. The OUI is
                  obtained from IEEE (http://www.IEEE.org). At the time of this writing, an OUI
                  costs a one-time fee of around $1,600 US. If your company already ships networking
                  products (WiFi, Ethernet, etc.) it probably already has an OUI and manages these
                  numbers.

                  It’s interesting to note that no standards body truly polices MAC addresses. If your
                  company places duplicate MAC addresses into nodes that go out in the field, it will
                  confuse the networks and your products won’t work, but IEEE won’t come after your
                  company. So I guess, in a way, this is self-policing.

                  In the Freescale solution, for ease of development in the labs, the MAC address is set to
                  a random value by default (address 0x0000000000000000 means to pick a random MAC
                  address). Do not continue to use random MAC addresses in shipping products, or even in
                  field trials.

                  MAC addresses are used in a number of ZigBee calls, most conspicuously in binding.
                  The reason MAC addresses are used for binding is in case a node is mobile in the
                  network, and it changes its short address. An example of this would be a handheld
                  remote control that moves throughout the house. If the remote moves out of radio range
                  of its parent, it must pick a new parent so that any node which wants to send data to the
                  remote can find where the remote polls for its messages. When a ZED picks a new parent
                  like this, it sends out a device to indicate its new NwkAddr, along with its unique MAC
                  address. Any other node in the network that cares updates its internal tables to reflect this
                  new NwkAddr for the node.

                  MAC addresses are also used by ZigBee in every secure packet as part of the nonce (the
                  unique number that identifies the packet from all others for authentication reasons).

                  In the Freescale solution, the MAC address is located in flash memory in the structure
                  gHardwareParametersInit. In the Freescale MC13213 (MCU  radio), this
                  structure is at a fixed location at 0xFF72 which places the MAC address at 0xff81. The
                  function which retrieves the MAC address, BUtl_CreateExtendedAddress() , which
                  is found in BeeUtil.c, can also be overridden to get or to create the MAC address in
                  any way you wish.

                  www.n ewn es p res s .c o m




CH04-H8597.indd 158                                                                                               7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 498 of 763 PageID #:
                                       2280



                                                                                  ZigBee Applications      159

                  Remember that the MAC address, like all over-the-air entities, is little endian. So the
                  MAC address 0x0050c237b0011234 would be represented as the following sequence of
                  bytes in flash memory:

                  0x34 0x12 0x01 0xb0 0x37 0xc2 0x50 0x00

                  At compile-time, the MAC address can be set through Freescale BeeKit or directly in
                  ApplicationConf.h:
                  #ifndef mDefaultValueOfExtendedAddress_c
                  #define mDefaultValueOfExtendedAddress_c
                    0x00,0x00,0x00,0x00,0x00,0x00,0x00,0x00
                  #endif

                  When going to production, you’ll need a way to manage the MAC address numbers
                  if your company does not already have such a system. A simple spreadsheet with
                  production run ranges will do.
                  The production boards must be programmed with these unique MAC addresses, in
                  addition to any other serial numbers, model identifiers, or anything else that should be
                  in flash memory. If you outsource your production, most production facilities offer this
                  “serialization” service.


                                    MAC addresses can be obtained from http://www.IEEE.org.
                                    Every board must have a 64-bit MAC address.


                  4.4.4 Groups
                  Groups are a way of collecting a set of nodes into a single addressable entity. A
                  single data request can reach every node in a group. Groups are an optional feature
                  in the ZigBee specification, but are mandatory in some profiles, such as in the Home
                  Automation Profile.
                  Groups are interesting in that an entire set of devices can perform an action all at once.
                  A ZigBee-enabled home theater system could dim the lights, turn on the DVD player,
                  television, and surround-sound speakers, lower the shades, and turn off the telephone
                  ringer, all with a single over-the-air command.
                  In another example, all the devices in the entire house could be part of the “I’m going to
                  work” group, which could turn off all lights, and lower the heat in all rooms except the

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CH04-H8597.indd 159                                                                                              7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 499 of 763 PageID #:
                                       2281


                  160      Chapter 4



                                                                               ZR Light




                                           ZC Light


                                                                          ZED
                                                                          Switch



                                            Figure 4.17: ZigBee Groups Example


                  sun-porch which contains a collection of prized orchids. Over the course of one year, the
                  system pays for itself in reduced energy bills.
                  Within nodes, applications reside on endpoints. When a groupcast is received, a node checks
                  its endpoints to see if any are members of that group ID. If none match, then the packet is
                  discarded by ZigBee. If there is a match, then the packet is sent to the relevant endpoint(s).

                  In this three-node example, Example 4-7 ZigBee Groups, two lights belong to the same
                  group, but on different endpoints. The switch sends a data request to that group to toggle
                  the light (see Figure 4.17).

                  To follow the example with hardware, download the source from http://www.zigbook
                  examples.com and then download the following three projects in their relevant boards:

                      ●   Chapter04\Example4-7 ZigBee Groups\NcbZcLightGroupA.mcp
                      ●   Chapter04\Example4-7 ZigBee Groups\SrbZrLightGroupA.mcp
                      ●   Chapter04\Example4-7 ZigBee Groups\SrbZedSwitch.mcp

                  Only the receiving node(s) need to be part of the group. The sending node needs to know
                  which group to transmit to, but does not need to be a member of that group.

                  In this example, the lights add themselves to group A with the local function
                  APSME_AddGroupRequest(), but this could be done over-the-air using the Groups
                  Cluster, perhaps by a commissioning tool. By default, BeeStack allows up to

                  www.n ewn es p res s .c o m




CH04-H8597.indd 160                                                                                                7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 500 of 763 PageID #:
                                       2282



                                                                                ZigBee Applications      161

                  16 groups to be defined per node, distributed among any set of endpoints, as this
                  number is what the ZigBee Home Automation Profile requires:
                  typedef struct zbApsmeAddGroupReq_tag {
                    zbGroupId_t aGroupId;
                    zbEndPoint_t endPoint;
                  } zbApsmeAddGroupReq_t;

                  zbStatus_t APSME_AddGroupRequest(zbApsmeAddGroupReq_t *pRequest);

                  The application adds itself to Group A automatically on start-up, then instructs the
                  network to form automatically. This same code resides in both lights:
                  void BeeAppInit (void)
                  {
                    index_t i;
                    zbApsmeAddGroupReq_t groupReq;
                      …
                      /* add the app endpoint to group A */
                      groupReq.aGroupId[0] = 0x0 A;
                      groupReq.aGroupId[1] = 0;
                      groupReq.endPoint = appEndPoint;
                      APSME_AddGroupRequest(&groupReq);
                      /* form the network automatically */
                      TS_SendEvent(gAppTaskID, gAppEvtStartNetwork_c);
                  }

                  On the switch side, it automatically joins the network. When the user (you) presses SW1,
                  the switch sends out a toggle command via Groupcast:
                  void BeeAppHandleKeys(key_event_t events)
                  {
                    zbNwkAddr_t aDestAddress={0x00,0x00};
                    zbEndPoint_t EndPoint=0;

                      switch (events) {

                          /* send toggle command to group A */
                          case gKBD_EventSW1_c:
                            aDestAddress[0]=0x0 A;
                            aDestAddress[1]=0;

                            OnOffSwitch_SetLightState(gZbAddrModeGroup_c,
                              aDestAddress,EndPoint,gZclCmdOnOff_Toggle_c, 0);
                            break;
                      }
                  }


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CH04-H8597.indd 161                                                                                            7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 501 of 763 PageID #:
                                       2283


                  162      Chapter 4

                  Notice that when sending to a group, there is no destination endpoint in the APS frame,
                  only a Group Address. ZigBee assumes the broadcast endpoint (0xff) when groupcasts
                  are used. ZigBee, inside the receiving node, then checks all endpoints to see if they are a
                  member of the group. In this case, endpoint 0x08 in the ZC is a member of group A, and
                  endpoint 0x09 in the ZR is also a member of group A. They match, so the light toggles:

                  Frame 24 (Length=31 bytes)
                  IEEE 802.15.4
                         Frame Control: 0x8841
                         Sequence Number: 1
                         Destination PAN Identifier: 0x1aaa
                         Destination Address: 0xffff
                         Source Address: 0x0000
                         Frame Check Sequence: Correct
                  ZigBee NWK
                         Frame Control: 0x0048
                         Destination Address: 0xffff
                         Source Address: 0x796f
                         Radius=9
                         Sequence Number = 245
                  ZigBee APS
                         Frame Control: 0x0c
                                .... ..00 = Frame Type: APS Data (0x00)
                                .... 11.. = Delivery Mode: Group Addressing (0x03)
                                ...0 .... = Indirect Address Mode: Ignored
                                ..0. .... = Security: False
                                .0.. .... = Ack Request: Acknowledgement not required
                                0... .... = Reserved
                         Group Address: 0x000a
                         Cluster Identifier: On/off (0x0006)
                         Profile Identifier: HA (0x0104)
                         Source Endpoint: 0x08
                         Counter: 0x6b
                  ZigBee ZCL
                         Frame Control: 0x01
                         Transaction Sequence Number: 0x42
                         Command Identifier: Toggle (0x02)


                  Groupcasts use the underlying ZigBee broadcast mechanism to deliver the packet to all
                  nodes in the network. Notice the Destination Address in the 802.15.4 (MAC) and ZigBee
                  NWK layers: it is 0xffff, the broadcast address.

                  As with all broadcasts, ZigBee does not send acknowledgments with groupcasts. A
                  confirm does come back, but it simply means that ZigBee sent the groupcast. If a sending

                  www.n ewn es p res s .c o m




CH04-H8597.indd 162                                                                                             7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 502 of 763 PageID #:
                                       2284



                                                                                    ZigBee Applications    163

                  node needs ACKs, it should either use unicasts (where ACKs can occur), or instruct the
                  receiving node to send a unicast back to the initiator of the groupcast.
                  By the way, the term groupcast is one in common usage but is not part of the ZigBee
                  specification’s official terminology.


                            Groups allow a single data request to reach an arbitrary set of nodes.
                            Groups are added in the receiving nodes only, and are attached to endpoints.




                  4.4.5 Using Broadcasts
                  A broadcast is used to send a data request from one node to the entire ZigBee network, at
                  least within a given radius. Broadcasts come in three flavors:

                      ●   0xffff — Broadcast to all nodes
                      ●   0xfffd — Broadcast to all non-sleeping nodes
                      ●   0xfffc — Broadcast to routers only (including the ZigBee Coordinator)

                  Broadcasts are used by some underlying ZigBee management functions, such as route
                  discovery or NWK_addr_req, and may be also used by applications.

                  Think of broadcasts as the waves spreading out from a stone dropped in a still pond. The
                  ripples move away from the center. Unlike waves in a pond, broadcasts ripple out with
                  the same strength to a certain number of hops, defined by the radius, and then stop.

                  Broadcasts should be used with caution, however. A ZigBee network can support only
                  a limited number of them at any given time. Each broadcast is tracked in what’s called
                  the Broadcast Transaction Table (BTT). The minimum number of BTT entries is defined
                  by the stack profile. In the case of stack profile 0x01 used for Home Automation, the
                  minimum is nine. ZigBee does not specify maximums for settings, so this number could
                  be larger, but applications can’t count on that.

                  The number of BTT entries can be set through a property in BeeKit, within the
                  Freescale solution. Set MaxBroadcastTransactionTableEntries_c found in
                  BeeStackConfiguration.h (see Figure 4.18).


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CH04-H8597.indd 163                                                                                              7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 503 of 763 PageID #:
                                       2285


                  164      Chapter 4




                                                    Node A




                                              Broadcast, radius  1

                                     Figure 4.18: Node A Making a Radius 1 Broadcast


                  The broadcast radius is specified as part of a data request that initiates the broadcast.
                  In the Freescale solution, it is part of the afAddrInfo_t type passed as the first
                  parameter to AF_DataRequest():
                  typedef struct afAddrInfo_tag
                  {
                      zbAddrMode_t dstAddrMode;
                      zbApsAddr_t dstAddr;
                      zbEndPoint_t dstEndPoint;
                      zbClusterId_t aClusterId;
                      zbEndPoint_t srcEndPoint;
                      zbApsTxOption_t txOptions;
                      uint8_t radiusCounter;
                  } afAddrInfo_t;
                  zbStatus_t AF_DataRequest(afAddrInfo_t *pAddrInfo,
                    uint8_t payloadLen, void *pPayload, zbApsCounter_t,
                    *pConfirmId);

                  A simple function using broadcast with radius 1 is below. The function assumes the
                  application has already set global variables appCluster and appEndPoint:
                  void BroadCastRadius1(uint8_t payloadLen, void *pPayload)
                  {
                    afAddrInfo_t addrInfo;


                  www.n ewn es p res s .c o m




CH04-H8597.indd 164                                                                                           7/26/2008 1:01:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 504 of 763 PageID #:
                                       2286



                                                                                 ZigBee Applications      165

                      addrInfo.dstAddrMode = gZbAddrMode16Bit_c;
                      Set2Bytes(addrInfo.dstAddr.aNwkAddr, 0xffff); /* all nodes */
                      addrInfo.dstEndPoint = 0xff; /* all endpoints */
                      Set2Bytes(addrInfo.aClusterId, appCluster);
                      addrInfo.srcEndPoint = appEndPoint;
                      addrInfo.txOptions = afTxOptionsDefault_c;
                      addrInfo.radiusCounter = 1;
                      (void)AF_DataRequest(&addrInfo, payloadLen, pPayload, NULL);
                  }

                  A radius of 1 or 2 is often useful in communicating to nodes in close proximity. The
                  network might be 20 hops in diameter, but if a broadcast is limited to radius 1 it affects
                  only the neighboring nodes.

                  One use of this technique I’ve seen was in hotel rooms. Each room had a small set of
                  nodes that monitored and controlled various devices in the room (air-conditioner,
                  card-key lock, etc.). The room controller had all of the intelligence and would instruct the
                  other devices to go into “active” or “sleep” modes, depending on whether the room was
                  occupied. Since the developer of this application knew all of the nodes would be in
                  close proximity, a single message, broadcast, was able to accomplish the job quickly,
                  and efficiently.

                  If a message will be sent out repeatedly, broadcasts must be paced within the network.
                  ZigBee nodes that propagate the broadcast may not have enough resources (RAM)
                  or entries in the Broadcast Transaction Table (BTT) to accommodate a large set of
                  broadcasts. This is one of the common mistakes with programmers new to ZigBee.
                  Use broadcasts sparingly, or in a controlled manner, and avoid deployment problems.
                  Remember that route requests use broadcasts.

                  While highly reliable, broadcasts are not guaranteed to get through. Unlike unicasts,
                  broadcasts have no acknowledgment mechanism. If you need to be absolutely sure that a
                  message got through, use a unicast with acknowledgment, or instruct the nodes receiving
                  the broadcast to reply back to the sender to indicate they received the message.

                  Broadcasts are also useful for advanced commissioning. In Chapter 8, “Commissioning
                  ZigBee Networks,” I’ll show you an example of using broadcasts to go beyond the
                  ZigBee mechanisms for finding the correct node and endpoint to bind to.

                  In Freescale BeeStack, broadcasts are initiated with a call to AF_DataRequest(),
                  just like all other data requests. Use address mode gZbAddrMode16Bit_c, and set the

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CH04-H8597.indd 165                                                                                              7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 505 of 763 PageID #:
                                       2287


                  166        Chapter 4

                                                          Switch

                                                            ZC


                                                                            ZR   Light

                                                 ZED

                                                             ZED    Light
                                             RxOnIdle
                                               Light

                                          Figure 4.19: ZigBee Broadcast Example

                  destination address to one of the three broadcast modes: 0xffff, 0xfffd, 0xfffc. Remember,
                  as with all over-the-air fields, to store the field little Endian. For example:
                  Set2Bytes(aBroadCastMode, 0xfdff);

                  This example, Example 4-8 ZigBee Broadcasts, again uses lights and a switch. In this case,
                  there will be four nodes: a ZC, a ZR, and two ZEDs, one of which is RxOnIdle = TRUE.
                  What RxOnIdle does is inform the parent that this node won’t be sleeping, so to send
                  messages to it at any time. The broadcast address 0xfffd will reach this node, whereas the
                  sleepy ZED will only be reached with a standard 0xffff broadcast address (see Figure 4.19).
                  The ZC is the switch. The other three nodes are lights. The user interface is simple, as
                  shown in Table 4.6.
                  Download the following four projects into the respective boards. If using the Freescale
                  NSK, which only has three boards, use just one of the ZEDs.
                      ●    Chapter04\Example4-8 ZigBee Broadcasts\ZcNcbHaOnOffSwitch.mcp
                      ●    Chapter04\Example4-8 ZigBee Broadcasts\ZrSrbHaOnOffLight.mcp

                                          Table 4.6 ZigBee Broadcast Example UI
                          Switch   Description
                          SW1      Sends an on/off toggle command via broadcast address 0xffff (This will
                                   toggle all lights.)
                          SW2      Sends an on/off toggle command via broadcast address 0xfffd (This will
                                   toggle ZR and RxOnIdle ZED.)
                          SW3      Sends an on/off toggle command via broadcast address 0xfffc (This will
                                   toggle only the ZR.)


                  www.n ewn es p res s .c o m




CH04-H8597.indd 166                                                                                             7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 506 of 763 PageID #:
                                       2288



                                                                                 ZigBee Applications       167

                      ●   Chapter04\Example4-8 ZigBee Broadcasts\ZedSrbHaOnOffLight.mcp
                      ●   Chapter04\Example4-8 ZigBee Broadcasts\ZedSrbRxOnIdleHaOnOffLight.mcp

                  Once the boards have booted and joined the network, press SW1 on the
                  ZcNcbHaOnOffSwitch. All the lights in the network toggle!

                  But something strange happened. The sleepy ZED didn’t turn on its light for three
                  seconds. Why? The sleepy (non RxOnIdle) ZED polls its parent once every three
                  seconds, so there will be a delay before the message is received. Its parent has held the
                  message before delivery. This only works if the polling rate is fairly fast (once every six
                  seconds or less), since the MAC will purge the message after this amount of time. I’ll
                  describe in-depth sleepy ZigBee devices in the next chapter when I discuss low power.

                  Now press SW2. Notice that the sleepy ZED doesn’t receive this message at all, but the
                  awake (RxOnIdle) ZED does, and so does the ZR.

                  Now press SW3. Neither of the ZEDs receives this toggle command; it is only for routers,
                  so only the ZR toggles.

                  Here is the over-the-air capture:

                  Seq No MAC Src MAC Dest NWK Src NWK Dest Protocol               Packet Type
                  -------------------------------------------------------------------------------------
                  34      0x0000   0xffff    0x0000   0xffff     Zigbee APS Data HA:On/off
                  35      0x0001   0xffff    0x0000   0xffff     Zigbee APS Data HA:On/off
                  36      0x796f   0x0000                        IEEE 802.15.4    Command: Data Request
                  37                                             IEEE 802.15.4    Acknowledgment
                  38      0x0000   0x796f    0x0000   0xffff     Zigbee APS Data HA:On/off
                  39                                             IEEE 802.15.4    Acknowledgment
                  40      0x0000   0xffff    0x0000   0xfffd     Zigbee APS Data HA:On/off
                  41      0x0001   0xffff    0x0000   0xfffd     Zigbee APS Data HA:On/off
                  42      0x796f   0x0000                        IEEE 802.15.4    Command: Data Request
                  43                                             IEEE 802.15.4    Acknowledgment
                  44      0x0000   0xffff    0x0000   0xfffc     Zigbee APS Data HA:On/off
                  45      0x0001   0xffff    0x0000   0xfffc     Zigbee APS Data HA:On/off
                  46      0x796f   0x0000                        IEEE 802.15.4    Command: Data Request
                  47                                             IEEE 802.15.4    Acknowledgment




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CH04-H8597.indd 167                                                                                              7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 507 of 763 PageID #:
                                       2289


                  168        Chapter 4

                  Notice when the first (0xffff) broadcast is initiated (packet 34), it is repeated by the ZR
                  (packet 35). In fact, broadcasts are repeated by all routers in a ZigBee network, within
                  the given radius. Not until the sleepy ZED polls its parent (packet 36) does the parent
                  give the broadcast to the sleeping light (packet 38). The parent only indicates there is a
                  message waiting on broadcast to all nodes (0xffff). The other two broadcast modes, 0xfffd
                  and 0xfffc do not go to sleeping children.
                  From the over-the-air capture it’s hard to see the RxOnIdle ZED interact with the toggle
                  command, because it does not repeat broadcasts, but if you try this example with real
                  hardware, you’ll see the light toggle on the ZedRxOnIdleSrbHaOnOffLight with both
                  broadcast modes 0xffff and 0xfffd, but not with 0xfffc. 0xfffc is only received by ZRs:
                  void BeeAppHandleKeys(key_event_t events)
                  {
                    zbNwkAddr_t aDestAddress;
                    zbEndPoint_t endPoint = appEndPoint;
                      switch (events) {
                          /* SW1-toggle via broadcast 0xffff */
                          case gKBD_EventSW1_c:
                            Set2Bytes(aDestAddress, 0xffff);
                            OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                              aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                            break;

                          /* SW2-toggle via broadcast 0xfffd */
                          case gKBD_EventSW2_c:
                            Set2Bytes(aDestAddress, 0xfdff);
                            OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                              aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                            break;

                          /* SW3-toggle via broadcast 0xfffc */
                          case gKBD_EventSW3_c:
                            Set2Bytes(aDestAddress, 0xfcff);
                              OnOffSwitch_SetLightState(gZbAddrMode16Bit_c,
                                 aDestAddress,endPoint,gZclCmdOnOff_Toggle_c, 0);
                            break;
                      }
                  }

                  Broadcasts don’t need specific commissioning. There is no “binding” to a broadcast
                  destination address. A node simply broadcasts to a specified radius. The default radius for
                  a broadcast spans the entire network.

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CH04-H8597.indd 168                                                                                             7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 508 of 763 PageID #:
                                       2290



                                                                                        ZigBee Applications           169

                          Broadcasts can reach many ZigBee nodes with a single data request.
                          There are three broadcast types: 0xffff (all), 0xfffd (awake), and 0xfffc (routers only).




                  4.5       Addressing Within the Node
                  The ZigBee addressing discussed so far, PAN IDs, unicasts, groupcasts, and broadcasts,
                  are all about getting data to a node. But ZigBee goes beyond a networking protocol.
                  ZigBee also offers application-level compatibility. To achieve this, ZigBee contains a
                  variety of concepts I’ll explain in detail here: endpoints, clusters, command, attributes,
                  and profiles.
                  Addressing within ZigBee includes all of the following components:
                      ●    PAN ID (MAC)
                      ●    NwkAddr (NWK)
                      ●    Endpoint (APS)
                      ●    Profile ID (APS)
                      ●    Cluster (APS)
                      ●    Command and/or attribute (ZCL)
                  Take a look at this packet decode for the toggle command. All of the above components
                  are included. The PAN ID is found in the IEEE 802.15.4 (MAC) portion of the frame,
                  the source, and destination NwkAddr are found in the NWK frame, the source and
                  destination endpoint, profile ID, and cluster ID are found in the APS frame. The
                  command is found in the ZCL frame:
                  Frame 38 (Length = 30 bytes)
                  IEEE 802.15.4
                         Frame Control: 0x8861
                         Sequence Number: 67
                         Destination PAN Identifier: 0x0f00
                         Destination Address: 0x0000
                         Source Address: 0x796f
                  ZigBee NWK
                         Frame Control: 0x0048
                         Destination Address: 0x0000
                         Source Address: 0x796f


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CH04-H8597.indd 169                                                                                                         7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 509 of 763 PageID #:
                                       2291


                  170      Chapter 4

                         Radius = 10
                         Sequence Number = 19
                  ZigBee APS
                         Frame Control: 0x40
                         Destination Endpoint: 0x08
                         Cluster Identifier: On/off (0x0006)
                         Profile Identifier: HA (0x0104)
                         Source Endpoint: 0x08
                         Counter: 0x45
                  ZigBee ZCL
                         Frame Control: 0x01
                         Transaction Sequence Number: 0x48
                         Command Identifier: Off (0x00)


                  4.5.1 Endpoints
                  Within each node are endpoints. Endpoints, identified by a number between 1 and 240,
                  define each application running in a ZigBee node (yes, a single ZigBee node can run
                  multiple applications).
                  Imagine a virtual wire connecting an endpoint on one node to an endpoint on another
                  node, from endpoint 1 on node A to endpoint 99 on node B (see Figure 4.20).




                             Figure 4.20: Endpoints Are Virtual Wires Between Applications

                  www.n ewn es p res s .c o m




CH04-H8597.indd 170                                                                                      7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 510 of 763 PageID #:
                                       2292



                                                                                ZigBee Applications      171

                  A node may contain any number of endpoints (up to 240), with any set of endpoint
                  identifiers. For example, a single node might contain just one endpoint, numbered 55. Or
                  a node might contain 20 endpoints, numbered 1 through 10 and 201 through 210.

                  Endpoints serve three purposes in ZigBee:

                      ●   Endpoints allow for different application profiles to exist within each node
                      ●   Endpoints allow for separate control points to exist within each node
                      ●   Endpoints allow for separate devices to exist within each node

                  Perhaps a switch may be sold in both commercial and home (or light commercial)
                  markets. This switch, then, might support two Application Profiles: Home Automation
                  and Commercial Building Automation. If so, it would contain two endpoints, one for each
                  profile.

                  Perhaps a bank of three switches, as depicted in Figure 4.20, contains a single radio. Each
                  of the switches would reside on a separate endpoint within that node, so that the switches
                  operate independently of each other.

                  Perhaps a single widget contains three separate devices from a ZigBee standpoint.
                  A common example of this is a thermostat. ZigBee defines at least three separate
                  devices to heat or cool a home or office, each of which may be controlled or monitored
                  independently: a thermostat, which includes a human interface, a temperature sensor
                  which informs the thermostat how warm it is, and a heating/cooling unit which physically
                  controls the heater or air-conditioner unit. All three of these devices might be separated,
                  spread out across the office, or they might be together in one widget as is common in
                  homes. In the latter case, each of these devices would reside on a separate endpoint,
                  within a single ZigBee node.

                  There is a special endpoint called a broadcast endpoint (0xff). Sending a data request to
                  the broadcast endpoint will reach all endpoints within the node that matches the profile
                  ID. The broadcast endpoint is implied when groupcasting (sending a data request with
                  address mode gZbAddrModeGroup_c).

                  The example in this section, Example 4-9 ZigBee Endpoints, shows how a single node
                  can support multiple endpoints. This example only uses two nodes, a ZC light and
                  a ZR switch, but three different endpoints exist within each node. The ZC light has
                  three separately controllable lights in one node, while the ZR switch has three separate

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CH04-H8597.indd 171                                                                                             7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 511 of 763 PageID #:
                                       2293


                  172      Chapter 4



                               ZR Switch
                                                                                           ZR light




                                           Figure 4.21: ZigBee Endpoints Example

                  toggle switches in the other (see Figure 4.21). In this case, I’ve numbered the endpoints
                  1 through 3 on the switch, and 11, 22, and 33 on the light, just to show exactly which
                  endpoint numbers are used doesn’t matter much to ZigBee.
                  The user interface on this example is pretty simple (see Table 4.7). Each switch, SW1-
                  SW3, toggles a light. Each long switch, LSW1 – LSW3, binds that switch to the light
                  when pressed on both nodes (light and switch). Feel free to bind any light to any switch.
                  If binding a switch to multiple lights, use multiple End-Device-Bind sequences.
                  Compile and download the following projects into their respective boards:
                      ●   Chapter04\Example4-9 ZigBee Endpoints\ZcNcbHaOnOffLight.mcp
                      ●   Chapter04\Example4-9 ZigBee Endpoints\ZrSrbHaOnOffSwitch.mcp

                                           Table 4.7: ZigBee Endpoints Example UI
                                     Switch      Use
                                     SW1         Toggles remote light bound on this endpoint
                                     LSW1        Binds EP1
                                     SW2         Toggles remote light bound on this endpoint
                                     LSW2        Binds EP2
                                     SW3         Toggles remote light bound on this endpoint
                                     LSW3        Binds EP3
                                     SW4         Sends to the broadcast endpoint, which will
                                                 toggle all three remote lights


                  www.n ewn es p res s .c o m




CH04-H8597.indd 172                                                                                           7/26/2008 1:01:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 512 of 763 PageID #:
                                       2294



                                                                                 ZigBee Applications      173

                  Next, press LSW1 on both the switch and the light to bind SW1 on the switch to LED1
                  on the light. Do the same with LSW2 and LSW3, on both boards. Now, press SW1 to
                  toggle LED1, press SW2 to toggle LED2, and press SW3 to toggle LED3. Notice they
                  are all independent of each other.
                  Feel free to reboot and bind them in any way you choose. These nodes don’t keep track
                  of binding after a reset, as a production-ready node might do. I often find it handy to have
                  nodes forget what they know after a reset when making example code. The next chapter
                  will describe how to save all of the information using Non-Volatile Memory.
                  Notice how the ZDO End-Device-Bind request, shown below and sent when LSW1 was
                  pressed, includes which endpoint will be bound and which clusters the device is looking for:

                  Frame 42 (Length = 53 bytes)
                  IEEE 802.15.4
                         Frame Control: 0x8861
                         Sequence Number: 39
                         Destination PAN Identifier: 0x0f00
                         Destination Address: 0x0000
                         Source Address: 0x0001
                         Frame Check Sequence: Correct
                  ZigBee NWK
                         Frame Control: 0x0048
                         Destination Address: 0x0000
                         Source Address: 0x0001
                         Radius=10
                         Sequence Number = 135
                  ZigBee APS
                         Frame Control: 0x00
                         Destination Endpoint: 0x00
                         Cluster Identifier: EndDeviceBindReq (0x0020)
                         Profile Identifier: ZDP (0x0000)
                         Source Endpoint: 0x00
                         Counter: 0x1d
                  ZigBee ZDO
                         Transaction Seq Number: 0x04
                         End Device Bind Request
                                Binding Target: 0x0001
                                Source IEEE Address: 00:50:c2:37:b0:04:00:02
                                Source Endpoint: 0x03
                                Profile ID: HA (0x0104)
                                Number Of Input Clusters: 4
                                Input Cluster List
                                       Cluster 1: Basic (0x0000)
                                       Cluster 2: Identify (0x0003)


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CH04-H8597.indd 173                                                                                              7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 513 of 763 PageID #:
                                       2295


                  174       Chapter 4

                                          Cluster 3: Groups (0x0004)
                                          Cluster 4: On/off Switch Configuration (0x0007)
                                   Number Of Output Clusters: 1
                                   Output Cluster List
                                          Cluster 1: On/off (0x0006)

                  In the Freescale solution, the list of endpoints is defined in EndPointConfig.c in
                  a structure called, strangely enough, endPointList. Most nodes support just
                  one endpoint. Some have a handful. This one has three on/off lights. A node could
                  support a temperature sensor, thermostat, and light switch, or could support a variety
                  of applications on different application profiles, including a private profile. Again,
                  remember the three purposes of endpoints:
                      ●   Endpoints allow for different application profiles to exist within each node
                      ●   Endpoints allow for separate control points to exist within each node
                      ●   Endpoints allow for separate devices to exist within each node
                  const endPointList_t endPointList[3]={
                     {&HaOnOffLight1_EndPointDesc, &gHaOnOffLightDeviceDef1},
                     {&HaOnOffLight2_EndPointDesc, &gHaOnOffLightDeviceDef2},
                     {&HaOnOffLight3_EndPointDesc, &gHaOnOffLightDeviceDef3}
                  };

                  The EndPointDesc field points to an endpoint descript which in turn points to a
                  SimpleDescriptor. Simple Descriptors are a ZigBee construct that describes the endpoint
                  in detail:
                  const zbSimpleDescriptor_t HaOnOffLight3_SimpleDescriptor={
                     12,   /* Endpoint number */
                     0x4, 0x1, /* Application profile ID */
                     0x0, 0x1, /* Application device ID */
                     0,   /* Application version ID */
                     5,   /* Number of input clusters */
                     (uint8_t *)HaOnOffLightInputClusterList,
                     0,   /* Number of output clusters */
                     (uint8_t*)HaOnOffLightOutputClusterList,
                  };

                  Freescale also requires a device definition as part of their ZigBee Cluster Library support.
                  If ZCL is not used, a device definition is not required. The device definition, among other
                  things, points to common cluster routines and an instantiation of data for that endpoint.
                  Different instantiations of data allow the three on/off lights to be controlled independently
                  of each other.

                  www.n ewn es p res s .c o m




CH04-H8597.indd 174                                                                                               7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 514 of 763 PageID #:
                                       2296



                                                                                ZigBee Applications       175

                  One thing that’s very important in Freescale’s BeeStack: Be sure to register the endpoints.
                  If an endpoint is not registered, then no data can be sent or received on that endpoint.
                  The standard BeeAppInit() automatically registers all of the endpoints defined in the
                  endpoint list:
                  void BeeAppInit(void)
                  {
                    index_t i;
                      /* register the application endpoint(s) */
                      for(i=0; i< gNum_EndPoints_c;++i) {
                        (void)AF_RegisterEndPoint(endPointList[i].pEndpointDesc);
                      }
                      ...
                  }

                  The on/off light (ZcNcbHaOnOffLight) determines which LED to toggle based on the
                  incoming endpoint. The incoming frame comes into BeeAppDataIndication(). Then
                  the code is parsed by the ZCL function, ZCL_InterpretFrame(), which in turn calls
                  on BeeAppUpdateDevice(). The application doesn’t have to worry about data coming
                  in on an unregistered endpoint: If the endpoint is not registered, the packet is thrown
                  away. BeeAppUpdateDevice() is where the real work happens for turning the light on
                  and off. It doesn’t matter to the code in this example whether the endpoint starts at 1, 10,
                  or 193, but it does assume the endpoints are contiguous:
                  void BeeAppUpdateDevice
                  {
                    (
                    zbEndPoint_t endPoint,   /* IN: endpoint update happend on */
                    zclUIEvent_t event        /* IN: state to update */
                    )
                  {
                    static const uint8_t aiLeds[]={LED1, LED2, LED3};
                    static const char acLeds[]={‘1’, ‘2’, ‘3’};
                    static char szLightStr[]=“Light1 Off”;
                    uint8_t iLedIndex;
                      /* get an index into the endpoints */
                      iLedIndex = endPoint-appEndPoint;
                      if(iLedIndex >= gNum_EndPoints_c)
                        iLedIndex=0;
                      szLightStr[5]=acLeds[iLedIndex];
                      switch (event) {
                        case gZclUI_Off_c:
                          ASL_SetLed(aiLeds[iLedIndex],gLedOff_c);


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CH04-H8597.indd 175                                                                                              7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 515 of 763 PageID #:
                                       2297


                  176        Chapter 4

                            FLib_MemCpy(&szLightStr[7], “Off”, 3);
                            ASL_LCDWriteString(szLightStr);
                            ExternalDeviceOff();
                            break;
                          case gZclUI_On_c:
                            ASL_SetLed(aiLeds[iLedIndex],gLedOn_c);
                            FLib_MemCpy(&szLightStr[7], “On”, 3);
                            ASL_LCDWriteString(szLightStr);
                            ExternalDeviceOn();
                            break;
                          default:
                              ASL_UpdateDevice(endPoint,event);
                      }
                  }

                  This example showed how to use endpoints for multiple control points within a single
                  node, both on the sending (switch) and receiving (light) side.
                  So why pick a particular endpoint number for any given application purpose, whether
                  defining a control point, a new device, or a new profile within the node? If using a ZigBee
                  public profile, such as Home Automation or Commercial Building Automation, the
                  choice is completely arbitrary. I suggest starting at endpoint 1 and going up from there. If
                  you are supporting multiple control points, keep them contiguous (e.g., 1, 2, 3) to make
                  the C coding easier based on the destination endpoint number.
                  If using a private application profile, it is easiest to use a fixed endpoint for all devices in
                  the network. The default endpoint in Freescale demo applications is 8. If using only one
                  endpoint, just leave it there for private profiles. The network can then avoid the initial
                  start-up discovery of endpoints and event save code-size by not including those functions.
                  I’ll talk more about endpoint discovery functions in Chapter 5, “ZigBee, ZDO, and ZDP.”

                                  Think of endpoints as virtual wires connecting applications.
                                  Endpoints allow for separate profiles, devices, and control points
                                  to exist within a single node.


                  4.5.2 Clusters
                  Clusters, defined by a 16-bit identifier, are application objects. Whereas the NwkAddr
                  and endpoint are addressing concepts, the cluster defines application meaning. The
                  cluster that has been used for many examples in this book is the OnOffCluster

                  www.n ewn es p res s .c o m




CH04-H8597.indd 176                                                                                                  7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 516 of 763 PageID #:
                                       2298



                                                                                  ZigBee Applications       177

                                               Table 4.8: Some ZigBee Clusters
                                        Cluster Name                           Cluster ID
                                        Basic Cluster                          0x0000
                                        Power Configuration Cluster            0x0001
                                        Temperature Configuration Cluster      0x0002
                                        Identify Cluster                       0x0003
                                        Groups Cluster                         0x0004
                                        Scenes Cluster                         0x0005
                                        OnOff Cluster                          0x0006
                                        OnOff Configuration Cluster            0x0007
                                        Level Control Cluster                  0x0008
                                        Time Cluster                           0x000a
                                        Location Cluster                       0x000b



                  (ID 0x0006). This cluster knows how to turn something on or off. It doesn’t matter
                  whether the something is a light, a pump, a doorbell, or is a mechanism to open and close
                  a door. All of these things have a binary state: on or off, open or closed.
                  Clusters encapsulate both commands and data. A ZigBee application can determine
                  whether the light is on or off by querying the OnOffAttribute within the OnOffCluster,
                  or it can set the state of that light by commanding the cluster to turn the light on, off, or
                  to toggle it. A small subset of the clusters defined by the ZigBee Cluster Library includes
                  the information shown in Table 4.8.
                  Clusters only have meaning within a particular profile. For example, a private profile
                  may define cluster 0x0000 as the “shut down the network” cluster, whereas cluster
                  0x0000 is the Basic Cluster in the Home Automation profile. To keep things simple, all
                  profiles which support the ZigBee Cluster Library use the same cluster IDs. That is, any
                  ZigBee public profile which turns something on or off will use cluster ID 0x0006 for that
                  purpose.
                  Clusters, in addition to the identifier, have direction. In the SimpleDescriptor which
                  describes an endpoint, a cluster is listed as either input or output. This is used only for the
                  purposes of service discovery: a switch, which has cluster 0x0006 as an output, can find
                  a light, which has cluster 0x0006 as an input. But a switch doesn’t find another switch, as
                  they are both outputs on cluster 0x0006 and don’t match.

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CH04-H8597.indd 177                                                                                                 7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 517 of 763 PageID #:
                                       2299


                  178      Chapter 4

                                              Table 4.9: Morse Code Clusters
                               Profile ID    Cluster Name      Cluster ID     Data
                               0xc035        MorseBlink        0x0100         short (0) or long (1)
                               0xc035        MorseString       0x0101         ASCII string



                  Clusters contain both code (commands) and data (attributes). Commands cause action.
                  Attributes keep track of the current state of that cluster. A good example of this is the HA
                  DimmingLight. It supports both the OnOff Cluster (0x0006) and the LevelControl Cluster
                  (0x0008). There are commands to turn the light on, off, or toggle it on the OnOff Cluster;
                  but to control the dimming function, commands on the LevelControl Cluster are used.
                  The data on the OnOff Cluster is simply a field: Is the light on, or off. The data on the
                  LevelControl Cluster indicates what dimming level the light is (or will be) at when it is in
                  the “on” state.

                  Clusters in a private profile may communicate any kind of data. ZigBee places no
                  restrictions. Attributes and commands, which are part of the ZigBee Cluster Library
                  specification, may not even be used at all. For example, San Juan Software uses a private
                  profile, 0xc035, for all of our training and demo programs. You’ve seen one of these
                  demo programs already in “Example 3-2: Morse Code,” from Chapter 3, “The ZigBee
                  Development Environment.” The Morse Code program uses two clusters, shown in
                  Table 4.9

                  The Morse Code program does not use the ZigBee Cluster Library, so the meanings of
                  the clusters are completely open. San Juan Software maintains a database of clusters
                  for the training applications on the SJS private profile 0xC035, so the applications can
                  be used together on the same network without conflict.

                  The following source code shows how the data indication is handled with these clusters
                  from the SJS private profile. Notice that the code needs only to check the cluster ID.
                  Endpoint and profile ID are already handled by the ZigBee stack:
                  void BeeAppDataIndication(void)
                  {
                    apsdeToAfMessage_t *pMsg;
                    zbApsdeDataIndication_t *pIndication;

                      while(MSG_Pending(&gAppDataIndicationQueue))
                      {


                  www.n ewn es p res s .c o m




CH04-H8597.indd 178                                                                                              7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 518 of 763 PageID #:
                                       2300



                                                                                      ZigBee Applications         179

                          /* Get a message from a queue */
                          pMsg=MSG_DeQueue(&gAppDataIndicationQueue);

                          /* ask ZCL to handle the frame */
                          pIndication=&(pMsg- > msgData.dataIndication);

                          /* user wants to blink (short or long) */
                          if(pIndication- > aClusterId  gClusterMorseBlink)
                            MorseBlink(pIndication- > pAsdu[0]);

                          /* user passed a string to */
                          else if(pIndication- > aClusterId  gClusterMorseString)
                            MorseString(pIndication- > asduLength, pIndication- > pAsdu);

                          /* Free memory allocated by data indication */
                          MSG_Free(pMsg);
                      }
                  }


                          Think of clusters as an object, including both code (commands) and data (attributes).
                          Clusters may have any meaning in a private profile.


                  4.5.3 Commands
                  Public profiles use the ZigBee Cluster Library. ZCL introduces two new concepts
                  into ZigBee that you won’t find in the main ZigBee stack specification: commands
                  and attributes. ZCL makes it easy to get or to set attributes through a common set of
                  commands, and provides a simple mechanism for issuing cluster-specific commands.
                  Commands are identified by an 8-bit number, and are either cluster-specific, or cross-
                  cluster. Cluster-specific commands depend on the cluster number, and generally start at
                  0x00. For example, 0x00 is the “off” command in the OnOff Cluster, whereas 0x00 is
                  “move-to-level” command in the LevelControl Cluster.
                  ZCL is used in (nearly) all of the ZigBee public profiles, but is not required for private
                  profiles. Considerable code space can be saved by leaving out ZCL, but then of course,
                  the features of ZCL are left out, too.
                  Over-the-air, ZCL frames are the payload of the APS frame. Take a look at the
                  following ZCL:
                  ZigBee APS
                         Frame Control: 0x00
                         Destination Endpoint: 0x08


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CH04-H8597.indd 179                                                                                                     7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 519 of 763 PageID #:
                                       2301


                  180       Chapter 4

                         Cluster Identifier: On/off (0x0006)
                         Profile Identifier: HA (0x0104)
                         Source Endpoint: 0x08
                         Counter: 0x3f
                  ZigBee ZCL
                         Frame Control: 0x01
                             .... ..01=Frame Type: Command is specific to a cluster (0x01)
                             .... .0..=Not Manufacturer Specific
                             .... 0...=Direction: From the client side to the server side
                             0000 ....=Reserved: Reserved (0x00)
                         Transaction Sequence Number: 0x48
                         Command Identifier: Off (0x00)

                  Notice that the command in the ZCL frame is the identifier for “Off.” Command 0x00 is
                  only “Off” in this case because it is the On/Off Cluster (0x0006), as identified in the APS
                  frame. If it were a different cluster, such as the Level Control Cluster, command 0x00
                  would be “Move to level.”
                  Clusters may work together to form a complete application. For example, a dimming light
                  supports both the On/Off Cluster and the Level Control Cluster, and the on/off behavior
                  has specific meaning when related to a dimming light. For example, “on” turns the device
                  on to the last non-zero level.


                                                Commands cause action on a cluster.



                  4.5.4 Attributes
                  You’ve seen the command “toggle” many times throughout this book. But what if the
                  application wants to know whether the light is on or off, after toggling it? That’s where
                  attributes come in. An application simply needs to read the attribute on that cluster.

                  Attributes store the current “state” of a given cluster. Collectively, a set of attributes on
                  all clusters supported by a device define the state of that device. There are generic ZCL
                  commands to read and write attributes on any given cluster.

                  Attributes are identified by a 16-bit number, and may be any value between 0x0000 and
                  0xffff. In the ZigBee Cluster Library, they tend to start at 0x0000 for any given cluster.

                  Attributes can even be set up to report automatically at regular intervals, if they change,
                  or both. I’ll describe the ZigBee Cluster Library in a lot more detail in Chapter 6, “The

                  www.n ewn es p res s .c o m




CH04-H8597.indd 180                                                                                               7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 520 of 763 PageID #:
                                       2302



                                                                                    ZigBee Applications   181

                  ZigBee Cluster Library.” It is there I’ll include plenty of examples on reading, writing,
                  and reporting attributes.


                                            Attributes show the state of a given cluster.



                  4.6     Profiles
                  Every data request in ZigBee is sent (and received) on an Application Profile. Application
                  Profile IDs are 16-bit numbers and range from 0x0000 to 0x7fff for public profiles and
                  0xbf00 to 0xffff for manufacturer specific profiles.
                  Think of a profile as a domain space of related applications and devices. Public profiles
                  are those specified by the ZigBee Alliance (as opposed to private profiles specified by
                  individual OEMs). Home Automation is a public application profile which defines a wide
                  range of ZigBee networked devices intended for use in the home, including lights and
                  switches, wall outlets, remotes, thermostats, air-conditioners, and heaters. Another public
                  profile, Commercial Building Automation, defines ZigBee devices such as advanced
                  lights and switches, and keyless entry and security systems.
                  Any number of Application Profiles, both public and manufacturer-specific, may exist in
                  a single ZigBee network. In fact, any number of profiles may exist in a single node on the
                  network, separated on different endpoints.
                  The ZigBee Alliance continues to work on public profiles to ensure they match the needs
                  of OEMs producing products. It is the OEMs in the ZigBee Alliance who define the
                  profile in the first place. Table 4.10 shows a short list of the ZigBee public profiles.


                                            Table 4.10: ZigBee Public Profile IDs
                                    Profile ID     Profile Name
                                    0101           Industrial Plant Monitoring (IPM)
                                    0104           Home Automation (HA)
                                    0105           Commercial Building Automation (CBA)
                                    0107           Telecom Applications (TA)
                                    0108           Personal Home & Hospital Care (PHHC)
                                    0109           Advanced Metering Initiative (AMI)


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CH04-H8597.indd 181                                                                                             7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 521 of 763 PageID #:
                                       2303


                  182        Chapter 4

                  Public profiles are designed so that products from one manufacturer (X) can work, right
                  out-of-the-box, with products from another manufacturer (Y). For example, a thermostat
                  from Honeywell can work with a variable-airflow-valve from Trane, or a light from
                  Philips can work with a switch from Leviton.
                  ZigBee members may also apply for what is called a private profile. Private profiles,
                  officially called Manufacturer Specific Profiles (or MSPs), are not defined by the ZigBee
                  Alliance, but instead are defined by the OEMs making the products. Private profiles are
                  used for those applications that do not need to interact with other vendors’ products.

                  4.6.1 Public Profiles
                  All of the devices pictured in Figure 4.22 are part of the Home Automation profile. Once
                  commissioned, all these devices perform their appropriate actions, simply and effectively.




                                       On/Off Light




                                                        On/Off Switch


                                                                                        Combined Interface



                                                      O
                                                      °C
                                              Temperature Sensor
                                                                                                         Thermostat



                                                                        Dimmer Switch


                      Dimmable Light


                                             Figure 4.22: Devices in a ZigBee Public Profile

                  www.n ewn es p res s .c o m




CH04-H8597.indd 182                                                                                                   7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 522 of 763 PageID #:
                                       2304



                                                                                 ZigBee Applications        183

                  The light switches (both on/off and dimmer) just work as light switches should, and
                  the temperature is sent dutifully to the thermostat once each minute, which controls
                  the heating and/or cooling unit. Lights may be dimmable or not, and may be three-way
                  (toggle) or two-way (on/off).
                  The Freescale solution supports the Home Automation public profile out-of-the-box,
                  including a large same of ready-made HA devices such as lights, thermostats, and temp
                  sensors. All the devices can be monitored by the PC through the ZigBee Environment
                  Demo (ZeD). I’ll not describe the ZigBee Environment Demo more here, since the
                  Freescale documentation already does an adequate job.
                  Nearly all public profiles use the ZigBee Cluster Library, so I’ll leave the example and
                  details to Chapter 6, “The ZigBee Cluster Library.”


                  4.6.2 Manufacturer-Specific Profiles
                  Manufacturer-specific profiles (MSPs) allow the OEM to define any set of clusters,
                  endpoints, and devices. ZigBee places no restrictions on what type of data is transmitted,
                  other than requesting that the data rate remain reasonable, so the application doesn’t flood
                  the channel.
                  The ZigBee Alliance assigns MSP identifiers upon requests from member companies.
                  As explained before, San Juan Software has been assigned an MSP that we use for
                  training and demo purposes: 0xc035. Feel free to use this MSP for your own demos,
                  keeping in mind that it’s not suitable for shipping products. At the time of this writing,
                  there is no charge for a Manufacturer Specific Profile ID. Simply join the ZigBee
                  Alliance and request one.
                  To define clusters in a private profile, start by mapping out all of the devices that will
                  exist in the network, and all the information they must communicate. Define the payloads
                  to be as small as possible. It is often just fine to assume some information on both sides.
                  For example, a single command byte might suffice.
                  The example in this section, Example 4-10 iPod Controller, shows how to use a
                  manufacturer-specific profile in an application. It sends a single command byte over
                  the air on a particular cluster. That command byte is translated into a series of bytes
                  that are sent over the serial port to control an iPod.
                  You’ve probably noticed most of the examples in this book are purely software examples.
                  That’s appropriate because this text is really about ZigBee, which aside from the radio,

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CH04-H8597.indd 183                                                                                               7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 523 of 763 PageID #:
                                       2305


                  184         Chapter 4

                  is all about software. But no embedded book is ever truly complete without at least one
                  hardware project. To make it more fun, this one involves both a ZigBee network and an
                  Apple iPod.

                      Warning and Disclaimer: This example involves modifying hardware and connecting a
                      Freescale SRB board to an iPod. While this example worked well for the author, no warranty of
                      any kind is implied or expressed that this will actually work in your case. Any damage to your
                      hardware, loss of productivity or loss of life and limb is strictly your responsibility.



                  Seriously, if you implement this example, do be careful so you don’t damage either your
                  Apple iPod or your Freescale SRB board.
                  The concept is fairly simple. Use ZigBee to control an iPod (see Figure 4.23). One
                  ZigBee node will act as an iPod controller and is wired directly to a connector plugged
                  into the iPod dock connector port. Another ZigBee node will act as the remote control.
                  The following commands are implemented in this simple remote control:
                        ●   Play/Pause
                        ●   Skip Forward
                        ●   Skip Backward
                        ●   Volume Up
                        ●   Volume Down
                  As seen in the figure, the ZED is the remote control. This is appropriate because a real
                  remote control is likely to be battery-operated, and so should be a ZigBee End-Device.
                  The iPod Controller is a ZigBee Coordinator only to keep the example small, with only




                                         iPod Remote            iPod Controller
                                            (ZED)                    (ZC)



                                               Figure 4.23: iPod Controller Concept

                  www.n ewn es p res s .c o m




CH04-H8597.indd 184                                                                                                    7/26/2008 1:01:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 524 of 763 PageID #:
                                       2306



                                                                                ZigBee Applications      185

                  two nodes. This same example could work across any size ZigBee network, and the iPod
                  controller could be an RxOnIdle ZED, or a ZigBee Router.

                  To obtain an iPod connector, I used an on-line store headquartered in Sweden (strange
                  how the world is so small these days) at http://home.swipnet.se/ridax/connector.htm.
                  They also have a U.S. office and phone number.

                  To obtain more information on the iPod connector and the commandset available, take a
                  look at my old favorite, Wikipedia: http://en.wikipedia.org/wiki/Dock_connector, or go to
                  http://ipodlinux.org/Dock_Connector.

                  To prepare an SRB board for the iPod Controller node, remove the battery pack from the
                  back. There is some double-sided sticky tape, and also the thin wire connection between
                  the battery pack and the board. I simply used my hands and applied pressure. The SRB
                  board doesn’t care if the battery pack is gone as it can also receive power through the
                  USB connector.

                  You will also need a soldering iron. I used my own, but you may have a coworker or
                  friend who can do the soldering.

                  Assuming you’ve been following along with examples using the Freescale development
                  kit, the NSK, this example can be completed with the following steps:

                      1. Buy a connector (this may take a few days to deliver)
                      2. Buy an iPod (Okay, you probably already have one)
                      3. Open the case and remove the battery pack from the SRB
                      4. Solder the two-wire connector to the SRB as pictured
                      5. Program the modified SRB as the Controller, and another SRB as the remote
                      6. Enjoy controlling the iPod with the remote SRB board

                  Pictured in Figure 4.24 are an SRB board on the left, and an iPod on the right, with the
                  dock connector hardwired to the SRB board and plugged into the iPod. The black wire
                  is the ground. Any ground will do, but I used the ground from the BDM (J101, pin 2).
                  Only the Tx wire needs to be connected for this demo, as the SRB will control the iPod,
                  but not receive any information from it. I’ve included a close-up picture of the soldering
                  in Figure 4.25.

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CH04-H8597.indd 185                                                                                            7/26/2008 1:01:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 525 of 763 PageID #:
                                       2307


                  186     Chapter 4




                                           Figure 4.24: iPod Connector




                           Figure 4.25: Solder Red Wire to TP131 (Tx), Black to Ground

                  www.n ewn es p res s .c o m




CH04-H8597.indd 186                                                                      7/26/2008 1:01:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 526 of 763 PageID #:
                                       2308



                                                                                ZigBee Applications       187

                  To run the example, compile and download the following two projects into two SRB
                  boards onto the one which you have soldered the iPod connector:
                      ●   Chapter04\Example4-10 iPodController\SrbZciPodController
                      ●   Chapter04\Example4-10 iPodController\SrbZediPodRemote

                  These operate on channel 25, PAN ID 0x1aaa, but any set of channels or PAN IDs
                  will do. The application is the same whether it is on the controller or the remote. If
                  the application receives an over-the-air command, that is, a data indication, it sends a
                  corresponding set of bytes to the serial port. If a button is pressed, it sends the command
                  over-the-air via a data request to node 0x0000.
                  Assuming node 0x0000 for the destination (the ZC) made the application a little simpler,
                  with a bit of work the application could be made more robust complete with binding.
                  I also show a close-up of the wiring configuration in Figure 4.25. Make sure to solder the
                  red wire to the Tx pin on the UART (TP131 at the back of the SRB board). Make sure to
                  solder the black wire to ground. I used pin 2 of J101, but any ground pin will do.
                  When the command is sent over-the-air, it looks like the following. This decode depicts
                  command 0x01 which instructs the iPod to skip forward one song:
                  Frame 18 (Length=28 bytes)
                  IEEE 802.15.4
                         Frame Control: 0x8861
                         Sequence Number: 205
                         Destination PAN Identifier: 0x1aaa
                         Destination Address: 0x0000
                         Source Address: 0x796f
                         Frame Check Sequence: Correct
                  ZigBee NWK
                         Frame Control: 0x0048
                         Destination Address: 0x0000
                         Source Address: 0x796f
                         Radius=10
                         Sequence Number=219
                  ZigBee APS
                         Frame Control: 0x00
                         Destination Endpoint: 0x01
                         Cluster Identifier: (0x0001)
                         Profile Identifier: (0xc035)
                         Source Endpoint: 0x01
                         Counter: 0x4d
                         Unknown APS Data: 01


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CH04-H8597.indd 187                                                                                             7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 527 of 763 PageID #:
                                       2309


                  188         Chapter 4

                  Note the profile ID in the ZigBee APS frame (0xc035). This is a private profile assigned
                  to San Juan Software by the ZigBee Alliance. In this profile, cluster 0x0001 means the
                  “iPod” cluster. This cluster is defined to contain a single command byte in the payload,
                  called “APS Data.” The commands mirror the features available to the iPod controller.
                       ●    Play/Pause      (cmd 0x00)
                       ●    Skip Forward    (cmd 0x01)
                       ●    Skip Backward   (cmd 0x02)
                       ●    Volume Up       (cmd 0x03)
                       ●    Volume Down     (cmd 0x04)
                  The data indication on the iPod Controller simply takes this command byte in and passes
                  it along to the function SendiPodRemoteCommand(), which sends a corresponding
                  command string over the serial port at 19,200 baud. The serial port is connected to the
                  iPod via the 2-wire interface:

                  void BeeAppDataIndication(void)
                  {
                    apsdeToAfMessage_t *pMsg;
                    zbApsdeDataIndication_t *pIndication;

                      while(MSG_Pending(&gAppDataIndicationQueue))
                      {
                        /* Get a message from a queue */
                        pMsg=MSG_DeQueue(&gAppDataIndicationQueue);
                        pIndication=&(pMsg-  msgData.dataIndication);

                           /* is the cluster for the application */
                           if(pIndication-  aClusterId  appDataCluster)
                             SendiPodRemoteCommand(pIndication-  pAsdu[0]);

                           /* Free memory allocated by data indication */
                           MSG_Free(pMsg);
                    }
                  }
                  void SendiPodRemoteCommand(iPodRemoteCommand_t cmd)
                  {
                    uint8_t *pCmdPtr;

                      switch(cmd) {
                        case gPlayPause_c:
                          pCmdPtr=PlayPause;
                          break;


                  www.n ewn es p res s .c o m




CH04-H8597.indd 188                                                                                          7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 528 of 763 PageID #:
                                       2310



                                                                             ZigBee Applications     189

                          case gSkipForward_c:
                            pCmdPtr=SkipForward;
                            break;
                          case gSkipReverse_c:
                            pCmdPtr=SkipReverse;
                            break;
                          case gVolumeDown_c:
                            pCmdPtr=VolumeDown;
                            break;
                          case gVolumeUp_c:
                            pCmdPtr=VolumeUp;
                            break;
                          default:
                            pCmdPtr=ButtonRelease;
                            break;
                      }
                      /* send command-all commands are the same size */
                      (void)UartX_Transmit(pCmdPtr, sizeof(PlayPause), NULL);
                      while (!UartX_TxCompleteFlag);
                      /* delay 100 microseconds before sending button release */
                      DELAY_100US();
                      /* Button release must always be sent after a command */
                      UartX_Transmit(ButtonRelease, sizeof(ButtonRelease), NULL);
                      while (!UartX_TxCompleteFlag);
                  }

                  On the sending end, the application simply creates a data request with the command-byte
                  associated with the particular button:
                  void BeeAppHandleKeys(key_event_t keyEvent)
                  {
                    switch(keyEvent) {
                          /* play/pause */
                          case gKBD_EventSW1_c:
                            SendiPodRemoteCommandOTA(gPlayPause_c);
                            break;
                          /* skip one song forward */
                          case gKBD_EventSW2_c:
                            SendiPodRemoteCommandOTA(gSkipForward_c);
                            break;
                          /* skip one song reverse */
                          case gKBD_EventLongSW2_c:
                            SendiPodRemoteCommandOTA(gSkipReverse_c);
                            break;


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CH04-H8597.indd 189                                                                                         7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 529 of 763 PageID #:
                                       2311


                  190        Chapter 4

                          /* volume down */
                          case gKBD_EventSW3_c:
                            SendiPodRemoteCommandOTA(gVolumeDown_c);
                            break;
                          /* volume up */
                          case gKBD_EventSW4_c:
                            SendiPodRemoteCommandOTA(gVolumeUp_c);
                            break;
                      }
                  }

                  void SendiPodRemoteCommandOTA(iPodRemoteCommand_t cmd)
                  {
                    afAddrInfo_t    addrInfo;
                    uint8_t         TransmitBuffer[1];

                      /* copy iPod command to TransmitBuffer */
                      TransmitBuffer[0]=cmd;

                      /* set up address information */
                      addrInfo.dstAddrMode=gZbAddrMode16Bit_c;
                      Set2Bytes(addrInfo.dstAddr.aNwkAddr, 0x0000);
                      addrInfo.dstEndPoint=appEndPoint;
                      addrInfo.srcEndPoint=appEndPoint;
                      Copy2Bytes(addrInfo.aClusterId, appDataCluster);
                      addrInfo.txOptions=gApsTxOptionNone_c;
                      addrInfo.radiusCounter=afDefaultRadius_c;
                      /* send the data request */
                      (void)AF_DataRequest(&addrInfo, sizeof(TransmitBuffer),
                        TransmitBuffer, NULL);
                  }


                  Notice the data request is sent to node 0x0000. In a private profile the main application
                  could be on node 0x0000, the ZigBee Coordinator, such as a gateway to the PC, or in
                  this case, the iPod controller, making node discovery unnecessary. The application uses
                  appEndPoint for both the source and destination endpoints. Using a fixed endpoint
                  makes private profiles a little easier, as no endpoint discovery is required. The cluster in
                  this example is appDataCluster, the first cluster in the output cluster list.



                          Manufacturer Specific Profile IDs are obtained from the ZigBee Alliance.
                          MSPs can use fixed endpoints and cluster IDs to make service discovery unnecessary.


                  www.n ewn es p res s .c o m




CH04-H8597.indd 190                                                                                              7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 530 of 763 PageID #:
                                       2312



                                                                                 ZigBee Applications     191

                  4.6.3 Device IDs
                  Every endpoint includes a profile identifier and a device identifier. Think of a device as
                  a physical thing: a light, temperature sensor, thermostat, or the like. One physical widget
                  might contain multiple devices. For example, a ZigBee thermostat sold at Home Depot
                  may contain a temperature sensor, a thermostat, and a heating/cooling unit controller.
                  From ZigBee’s standpoint, these are separate devices. From a packaging standpoint, they
                  are all in one SKU (Shelf-Keeping Unit).
                  ZigBee Device IDs range from 0x0000 to 0xffff. A short list of device IDs available in
                  the Home Automation Profile are shown in Table 4.11.
                  Device IDs serve two purposes:
                      ●   To allow human-readable displays (your PC, the TV, etc.) to show a proper icon
                          for the device in question.
                      ●   To allow ZigBee commissioning tools to be more intelligent.
                  For example, consider an On/Off Light and a Mains Power Outlet (or switchable
                  outlet, as they are called in some homes). Both devices are identical in the way they are
                  controlled and monitored over-the-air. They both use cluster 0x0006, the OnOff Cluster.
                  But users expect to see an outlet in a commissioning tool when they are connecting a
                  switch to that outlet, and they expect to see a light when they are connecting a switch to
                  that light.
                  Keep in mind that ZigBee does not specify the human interface to devices. A switch
                  might be a push button, a rocker switch, an e-field sensor plate, accelerometer, or
                  anything else the manufacturer can imagine.


                            Table 4.11: Device IDs Available in the Home Automation Profile
                            Name                   Identifier    Name                     Identifier
                            Range Extender         0x0008        Light Sensor             0x0106
                            Mains Power Outlet     0x0009        Shade                    0x0200
                            On/Off Light           0x0100        Shade Controller         0x0201
                            Dimmable Light         0x0101        Heating/Cooling Unit     0x0300
                            On/Off Light Switch    0x0103        Thermostat               0x0301
                            Dimmer Switch          0x0104        Temperature Sensor       0x0302


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CH04-H8597.indd 191                                                                                             7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 531 of 763 PageID #:
                                       2313


                  192       Chapter 4

                  Each ZigBee Public Profile contains a specific list of devices. Manufacturers are welcome
                  to extend that list with their own devices, provided that they use the “Manufacturer
                  Specific Extension” field provided as part of the ZigBee Cluster Library interface. Or
                  they can make a device on another (MSP) profile that can interact with specific public
                  profile devices, by using the existing device IDs and clusters.


                                    Device IDs are mainly used for commissioning tools.
                                    ZigBee performs service discovery based on profile IDs and
                                    cluster IDs, not device IDs.



                  4.6.4 The Simple Descriptor
                  The simple descriptor ties everything together on an endpoint, and an endpoint defines
                  an application. Why the simple descriptor is not simply called an endpoint descriptor,
                  I don’t know.
                  The simple descriptor contains many of the fields I’ve been describing: an endpoint ID, a
                  profile ID, cluster IDs, and a device ID. Its format is as follows:
                  typedef struct zbSimpleDescriptor_tag
                  {
                    zbEndPoint_t endPoint;
                    zbProfileId_t aAppProfId;
                    zbDeviceId_t aAppDeviceId;
                    uint8_t appDevVerAndFlag;
                    zbCounter_t appNumInClusters;
                    uint8_t *pAppInClusterList;
                    zbCounter_t appNumOutClusters;
                    uint8_t *pAppOutClusterList;
                  }zbSimpleDescriptor_t;

                  The simple descriptor of any endpoint can be retrieved over-the-air with the ZDP
                  command Simple_Desc_req, and is used when performing service discovery (which
                  I’ll describe in detail in the next chapter).
                  The simple descriptor does not list the commands and/or attributes available on any given
                  cluster. It is expected that a device “just knows” the capabilities of the cluster, if, say, the
                  OnOff Cluster is supported on this endpoint. As a protocol for 8-bit devices (at least at
                  the low end), ZigBee attempts to balance flexibility with implementation size.

                  www.n ewn es p res s .c o m




CH04-H8597.indd 192                                                                                                  7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 532 of 763 PageID #:
                                       2314



                                                                                     ZigBee Applications      193

                  Within any given device, some clusters are mandatory, and some may be optional. By
                  asking for the simple descriptor, any device in the network can determine which clusters
                  are supported by any other device, and can then make an informed decision about
                  optional functionality. The response to a Simple_Desc_req is mandatory in all devices.
                  You’ll notice there is both an input and output cluster list in the simple descriptor. This
                  is how ZigBee determines which devices match. If one side has an output cluster (say a
                  dimmer switch) and the other side has the same cluster as an input cluster (say, a dimming
                  light), then they match. Any overlap indicates a match, so if an application is looking for a
                  particular cluster, it can send a “simplified” simple descriptor to match just that one cluster.

                            The simple descriptor ties all the endpoint information together in one place.



                  4.7      ZigBee Application Support Sublayer (APS)
                  Okay. Don’t ask me why the Application Support Sublayer uses the three-letter acronym
                  APS. It’s obvious, but don’t ask me.
                  The Application Support Sublayer, or APS, sits above the NWK layer, and is the layer in
                  ZigBee which understands applications. The APS frame over-the-air includes endpoints,
                  clusters, profile IDs, and even groups.
                  APS is responsible for the following activities:
                      ●   Filtering out packets for non-registered endpoints, or profiles that don’t match
                      ●   Generating end-to-end acknowledgment with retries
                      ●   Maintaining the local binding table
                      ●   Maintaining the local groups table
                      ●   Maintaining the local address map
                  APS has the job of filtering out packets for endpoints that don’t exist in the node. APS
                  filters packets that don’t match profile IDs. APS also filters duplicate packets, which can
                  happen in a network that supports automatic retries.
                  It’s the job of APS to perform automatic retries, if acknowledgment is requested by the
                  sender, to maximum the chance of successful transmission and to inform the sender
                  whether or not the packet was delivered.

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CH04-H8597.indd 193                                                                                                  7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 533 of 763 PageID #:
                                       2315


                  194      Chapter 4

                  APS also maintains a variety of application-level tables. Binding is all about connecting
                  an endpoint on this node to one or more endpoints on other nodes. Groups are all about
                  an arbitrary collection of applications residing on an arbitrary set of nodes throughout
                  the network. The address map associates a 64-bit MAC address with a ZigBee 16-bit
                  NwkAddr.
                  APS and the Application Framework (AF) together form the ZigBee interface used by
                  applications (see Figure 4.26). Lower layers are not called upon directly, but are used by
                  APS and ZDO.
                  The Application Framework does not have an over-the-airframe of its own, but instead
                  is the set of routines, or API, that the ZigBee stack vendor has chosen for applications
                  to interact with ZigBee. This includes how endpoints are implemented, and how data
                  requests, confirms, and indications are implemented for that particular vendor. In the



                                                       Application Framework
                                                                                           ZPUI

                                                Application              Application              ZigBee Device
                                                Object 240                Object 1                Object (ZDO)
                                               [On Endpoint 240]         [On Endpoint 1]            [On Endpoint 0]
                                                 APSDE-SAP                APSDE-SAP                 APSDE-SAP




                                                                                                                      APSME-SAP
                                   APSSE-SAP




                                                              Application Support (APS) Sub-Layer
                      Security
                      Service                     NLDE-SAP

                      Provider
                                                                                                                      NLME-SAP
                                   NLSE-SAP




                                                                     Network (NWK) Layer

                                                 MCPS-SAP                                           MLME-SAP



                                                               Medium Access Layer (MAC) Layer

                                                   PD-SAP                                            PLME-SAP



                                                                     Physical (PHY) Layer


                                         Figure 4.26: Application Support Sublayer (APS)

                  www.n ewn es p res s .c o m




CH04-H8597.indd 194                                                                                                               7/26/2008 1:01:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 534 of 763 PageID #:
                                       2316



                                                                                                          ZigBee Applications   195

                  Freescale solution, you’ve already seen the Application Framework at work with
                  the functions:
                      ●   AF_DataRequest()
                      ●   BeeAppDataConfirm()
                      ●   BeeAppDataIndication()
                  And with the endPointList found in EndPointConfig. c.

                  4.7.1 APS ACKs
                  While the MAC layer provides per-hop acknowledgments, the APS layer is what provides
                  end-to-end acknowledgments, also called ACKs.
                  To illustrate, take a look at Figure 4.27. Suppose a switch (the ZED) wants to turn on a
                  light (the ZR), and it wants to verify that the light received the command. The switch uses
                  the optional ACK feature in the AF_DataRequest() txOptions field.
                  The distance between the nodes is irrelevant. They could be neighbors, or 10 hops away.
                  The effect is the same. Suppose the initial data request got through to the ZR. It then
                  processes that command immediately, perhaps toggling the light. But the APS ACK did
                  not make it back, for some reason. So APS will automatically retry after the time-out
                  period (which defaults to 1.5 seconds). But this retry, labeled (2), doesn’t make it through.
                  APS tries again, and this time it succeeds. Only then does APS inform the sender that the
                  results were successful.
                  By the way, this scenario is extremely unlikely. It is used merely as an illustration.
                  ZigBee uses up to three MAC ACKs per hop, so unless the channel is so noisy that


                                       ZR
                                                                    APS ACK




                                                                                                              APS ACK
                                              APSDE-DATA.req




                                                                              APS Retry




                                                                                              APS Retry




                                                               1                          2               3
                                       ZED



                                                                   Figure 4.27: APS Retries

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CH04-H8597.indd 195                                                                                                                   7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 535 of 763 PageID #:
                                       2317


                  196       Chapter 4

                  communication is impossible, or the path is broken because one node has dropped off the
                  network, or the physical environment has changed (one of the routers along the route can
                  no longer hear its neighbors), APS ACKs are rarely called into play.

                  APS is smart enough not to send the packet up to the application twice. In Figure 4.27,
                  both (1) and (3) make it through, but because the data request was already heard at (1),
                  the copy at (3) will be dropped by the APS layer after it sends the ACK to the sender.
                  Your application doesn’t have to have any special logic to handle duplicates. ZigBee
                  does it for you.


                  4.7.2 APS Binding
                  Binding in ZigBee allows an endpoint on one node to be connected, or “bound” to one or
                  more endpoints on another node. Think of a switch controlling a light, or a temperature
                  sensor sending its data to a thermostat. The sender (switch or temperature sensor) is
                  “bound” to the receiving device (light or thermostat).
                  Binding is unidirectional, in that the switch is bound to the light, but the light isn’t bound
                  to the switch.
                  Bindings are stored locally by the sending node (the switch or temperature sensor). Each
                  binding table entry stores the following information:

                      ●   Source endpoint

                      ●   Destination NwkAddr and endpoint or destination group

                      ●   Cluster ID

                  The binding table size defaults to five entries in BeeStack, and can be set by changing
                  gMaximumApsBindingTableEntries_c in BeeStackConfiguration.h.

                  If multiple entries from the same source endpoint exist in the table, then multiple
                  destinations will be sent also. For example, say the binding table contains the entries
                  shown in Table 4.12.

                  If the application then issues an AF_DataRequest() from endpoint 5 with address
                  mode gZbAddrModeIndirect_c, then three data requests will be sent over the air, one


                  www.n ewn es p res s .c o m




CH04-H8597.indd 196                                                                                                7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 536 of 763 PageID #:
                                       2318



                                                                                  ZigBee Applications      197

                                              Table 4.12: ZigBee Binding Table
                             Src EP      Destination Addr      Addr/Grp      Dst EP      Cluster ID
                             5           0x1234                A             12          0x0006
                             6           0x796F                A             240         0x0006
                             5           0x9999                G             –           0x0006
                             5           0x5678                A             44          0x0006




                  to node 0x1234 endpoint 12, one broadcast to group 0x9999, and one to node 0x5678
                  endpoint 44 in that order:

                  afAddrInfo_t ad drInfo;
                  addrInfo.dstAddrMode=gZbAddrModeIndirect_c;
                  addrInfo.srcEndPoint=5;
                  addrInfo.txOptions=gApsTxOptionDefault_c;
                  addrInfo.radiusCounter=afDefaultRadius_c;
                  Set2Bytes(addrInfo.aClusterId, 0x0006);

                      (void)AF_DataRequest(&addrInfo, 10, “ToggleLed2”, NULL);

                  Is it starting to become clear just how powerful binding is?

                  Unless constrained by too little memory, there is no reason not to include binding in all
                  ZigBee devices. Binding, coupled with the over-the-air ZDP binding commands, allows
                  any endpoint on any node to be connected easily with any endpoint on any other node.
                  Binding (or determining which nodes in the network talk together) is one of the critical
                  steps when setting up a ZigBee network. Binding makes it just that much easier.

                  Local binding commands are supported by the APS layer. Over-the-air binding
                  commands are supported by the ZigBee Device Profile (ZDP).

                  The local (APSME) binding calls (shown in Table 4.13) return immediately in the
                  Freescale solution. After all, they just manipulate in-memory tables. The over-the-air
                  (ZDP) binding calls issue a callback, but I’ll describe that in detail in Chapter 5, “ZigBee,
                  ZDO, and ZDP.”

                  Binding is not required, at least not in Manufacturer Specific Profiles. Feel free to send
                  directly to individual nodes, groups, or to use a broadcast mode, but binding does make
                  the commissioning process easier and more flexible.

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CH04-H8597.indd 197                                                                                               7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 537 of 763 PageID #:
                                       2319


                  198      Chapter 4


                                       Use binding to simplify the commissioning process.



                  4.7.3 APS Groups
                  As explained previously, groups provide a filter for data indications. If an endpoint
                  doesn’t belong to the group, it doesn’t receive the incoming over-the-air message.
                  In addition to matching the group ID, APS also matches the profile ID for that endpoint.
                  If both IDs match, the message is sent through to the endpoint. If not, the packet is
                  dropped. When debugging, if you see a packet going over-the-air, but the packet is not
                  received at the data indication, check both these fields first. Having the wrong group or
                  profile ID has caused me debugging grief a number of times.


                                          Table 4.13: ZigBee Binding Commands
                                ZigBee Name                 Freescale Prototype
                                APSME-BIND.request            zbStatus_t
                                                            APSME_BindRequest(zbApsmeBind
                                                            Req_t *pUnbindReq);
                                APSME-UNBIND.request          zbStatus_t
                                                            APSME_UnbindRequest(zbApsme
                                                            UnbindReq_t *pUnbindReq);
                                ZDP. Bind_req                 void
                                                            APP_ZDP_BindUnbindRequest
                                                              (
                                                                 zbCounter_t *pSequenceNumber,
                                                                 zbNwkAddr_t aDestAddress,
                                                                 zbMsgId_t BindUnbind,
                                                                 zbBindUnbindRequest_t
                                                            *pBindUnBindRequest
                                                              );
                                ZDP.Unbind_req                void
                                                            APP_ZDP_BindUnbindRequest
                                                              (
                                                                 zbCounter_t *pSequenceNumber,
                                                                 zbNwkAddr_t aDestAddress,
                                                                 zbMsgId_t BindUnbind,
                                                                 zbBindUnbindRequest_t
                                                            *pBindUnBindRequest
                                                              );


                  www.n ewn es p res s .c o m




CH04-H8597.indd 198                                                                                           7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 538 of 763 PageID #:
                                       2320



                                                                                     ZigBee Applications      199

                                          Table 4.14: APS Group Management Commands
                      ZigBee Name                                Freescale Equivalent Function
                      APSME-ADD-GROUP.request                    zbStatus_t ApsmeAddGroup(
                                                                   zbApsmeAddGroupReq_t *pRequest);
                      APSME-REMOVE-GROUP.request                 zbStatus_t ApsmeRemoveGroup(
                                                                   zbApsmeRemoveGroupReq_t *pRequest);
                      APSME-REMOVE-ALL-GROUPS.request            zbStatus_tApsmeRemoveAllGroups(
                                                                   zbApsmeRemoveAllGroupsReq_t *pRequest);
                      (none)                                     bool_tApsGroupIsMemberOfEndpoint(
                                                                   zbGroupId_t aGroupId, zbEndPoint_t endPoint);


                  BeeStack keeps track of groups in a small table, the size of which is defined by the
                  BeeKit property gApsMaxGroups_c found in BeeStackConfiguration.h.
                  The local commands for manipulating groups are shown in Table 4.14. These
                  commands are pretty self-explanatory. The ApsmeAddGroup() function adds a group
                  to an endpoint. ApsmeRemoveGroup() function removes a group from an endpoint.
                  ApsmeRemoveAllGroups() function removes all groups from an endpoint. The
                  ApsGroupIsMemberOfEndpoint() checks to see whether an endpoint is a member of
                  a particular group.
                  In addition to the APS local group management functions, there are over-the-air
                  commands group management functions as part of the ZigBee Cluster Library. These
                  commands include AddGroup, RemoveGroup, RemoveAllGroups, AddGroupIfIdentifying
                  and others, and are described in Chapter 6, “The ZigBee Cluster Library.”


                               APS provides local group commands. ZCL provides over-the-air group commands.


                  4.7.4 APS Address Map
                  The APS layer contains a table called the address map. This table associates the 16-bit
                  ZigBee NwkAddr with the 64-bit IEEE (or MAC) address, as shown in Table 4.15.
                  Some ZigBee commands, such as binding, use only the IEEE address, but ZigBee needs
                  the 16-bit NwkAddr to communicate, so it must somehow associate these two addresses
                  internally. Also, some nodes may be mobile in a ZigBee network, such as ZigBee End-
                  Devices, and these mobile devices may change their 16-bit NwkAddr. If they do, they

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CH04-H8597.indd 199                                                                                                 7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 539 of 763 PageID #:
                                       2321


                  200      Chapter 4

                                               Table 4.15: APS Address Map
                                              NwkAddr        IEEE Addr
                                              0x0000         0x0050c237b0040102
                                              0x0001         0x0050c237b0045ae3
                                              0x796f         0x0050c237b004c290



                  announce this fact to the network with a Device Announce command. Every node then
                  updates its internal tables and the binding is preserved.
                  The size of the address map table is set with the gApsMaxAddrMapEntries_c property
                  found in BeeStackConfiguration.h in the Freescale solution.
                  In BeeStack, there is no reason to add entries to the address map directly. Instead, use the
                  ZDP commands ZDP.IEEE_addr_req or ZDP.NWK_addr_req, either of which will
                  add that entry into the address map, if it is not there already. The application may need to
                  clear unused entries from the address map if it will be speaking to many different nodes
                  over time. Usually, though, an application is commissioned to talk to a small set of nodes,
                  and stays that way for years, possibly the lifetime of the network.
                  In BeeStack, if you’d like to manipulate the address map, use:
                  addrMapIndex_t APS_AddToAddressMap(zbIeeeAddr_t aExtAddr,
                                                     zbNwkAddr_t aNwkAddr);
                  void APS_RemoveFromAddressMap(zbIeeeAddr_t aExtAddr);
                  addrMapIndex_t APS_FindIeeeInAddressMap(zbIeeeAddr_t aExtAddr);

                  The zbIeeeAddr_t is the 64-bit MAC address. The zbNwkAddr_t is the 16-bit
                  NwkAddr. The addrMapIndex_t returns the index (0-n) in the address map for the
                  entry, or gNotInAddressMap_c if not found, or gAddressMapFull_c if it couldn’t
                  be added.


                  4.8      ZigBee AES 128-Bit Security
                  The ZigBee security suite is built on the Advanced Encryption (AES-128 bit) Standard,
                  a well-respected block cipher algorithm published by the National Institute of Standards
                  and Technology (NIST). To read more about AES, go to http://www.nist.gov.
                  If you read the security section in the ZigBee specification, you might get a headache.
                  The language is pretty thick, and there are a lot of security options, including security

                  www.n ewn es p res s .c o m




CH04-H8597.indd 200                                                                                              7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 540 of 763 PageID #:
                                       2322



                                                                                       ZigBee Applications    201

                                                           Security suite adds auxiliary
                                                            header and integrity code


                                 MAC    NWK     AUX       APS
                                                                   ZDP / ZCL / APP payload     MIC
                                 HDR    HDR     HDR       HDR




                                                         Entire NWK payload is encrypted


                                                      Entire frame is authenticated

                                           Figure 4.28: ZigBee Secure Data Frame


                  levels, a variety of key types, CCM*, and so on. Security encompasses 120 pages of the
                  534-page ZigBee specification. But from an application standpoint, ZigBee security is
                  simple. It is always there.
                  That’s right! There are no code changes or special parameters to set on a data request to
                  include security. It’s just there (see Figure 4.28).
                  ZigBee both encrypts and authenticates packets. The encrypted portion (the NWK
                  payload), cannot be understood by any nodes sniffing the air. This includes sensitive
                  customer data, such as billing or medical records, or any other application payload,
                  including what clusters, profile, and endpoints are used.
                  ZigBee authenticates the entire frame. Authentication is required in order to prevent
                  replay attacks and to prevent any node from falsely injecting a packet into the network.
                  A replay attack is simple to perform. Set an 802.15.4 device listening on a channel or set
                  of channels. When a packet is heard, replay it byte-for-byte. ZigBee will simply throw
                  away these packets, perhaps after a delay.
                  Denial of service is another type of wireless attack, and is something that’s very difficult
                  to prevent. I can write a small bit of code (no, I’m not providing it in the book!) that
                  constantly transmits. Any radios within hearing range will not be able to transmit because
                  all of the bandwidth is used. This is the equivalent to someone cutting the power to a
                  building, or cutting the office broadband connection to the Internet. With ZigBee, using
                  signal strength (LQI) makes it fairly easy to track down the culprit.
                  ZigBee uses a 128-bit key for the entire network, called a network key. It is assumed
                  that if a node is allowed on a ZigBee network, it is trusted. This is similar to allowing
                  someone in your home. You at least trust them not to steal the silver.

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CH04-H8597.indd 201                                                                                                 7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 541 of 763 PageID #:
                                       2323


                  202      Chapter 4

                  Some applications require additional security beyond the network key, for example, if
                  multiple customers will be sharing the same network, but each customer may have his
                  own sensitive data. In order to secure data on shared networks of this type, some vendors
                  use a different AES 128-bit key to secure the APS payload. (this method is available to
                  both ZigBee 2006 and ZigBee 2007 stacks.) Others use a link key, as described in ZigBee
                  2007 specification.
                  In short, ZigBee provides a very strong, solid, security solution.
                  Here is a challenge. Using only the over-the-air octets below, determine the AES 128-bit
                  key. Just to make it easier, the following command is an HA OnOff Toggle command,
                  that is, a switch is toggling a Home Automation Light:
                  0000:     61   88   2c   aa   1a   00   00   6f   a.,*...o
                  0008:     79   48   02   00   00   6f   79   0a   yH...oy.
                  0010:     3c   28   03   00   00   00   00   3c    (.....
                  0018:     03   98   07   c2   50   00   00   8f   ...BP...
                  0020:     8b   0d   f3   67   15   08   5a   11   ..sg..Z.
                  0028:     da   03   83   09   9c   ae   ..   ..   Z.......

                  The example in this section, Example 4-11 ZigBee Security, uses the standard HA
                  on/off light and switch. Notice that there is no special source code for this example
                  on the Web site or in this book, just the BeeKit solution file and the capture file. No
                  special source code is required to demonstrate security, because ZigBee secures
                  packets automatically.
                  To follow the example with hardware using the Freescale NSK Kit, compile and
                  download the following projects into the respective boards:
                      ●   Chapter04\Example4-11 ZigBee Security\NcbZcHaOnOffLight.mcp
                      ●   Chapter04\Example4-11 ZigBee Security\SrbZedHaOnOffSwitch.mcp

                  The example is on channel 25, PAN ID 0x0f00. Follow these steps (this example uses the
                  standard Freescale user interface):

                      1. After downloading the images, boot both boards
                      2. Press SW1 on both nodes to form/join the network
                      3. Once joined, press SW3 on both nodes to bind them
                      4. Press LSW1 on both nodes to go to application mode
                      5. Press SW1 on the switch (SRB board) to toggle the remote light, securely

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CH04-H8597.indd 202                                                                                           7/26/2008 1:01:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 542 of 763 PageID #:
                                       2324



                                                                                ZigBee Applications        203

                  When creating new projects in BeeKit, be sure to enable security in the BeeKit Project
                  Wizard as seen in Figure 4.29.
                  Due to code-size restrictions on the HCS08, Freescale disables security by default, so it
                  can include more of the other features of ZigBee. If you enable security, especially in the
                  Home Automation applications, you will probably need to disable some other features.
                  Look at the ZDP and HA over-the-air commands for likely candidates. Many of these
                  may not be required by your application. Or you can use the generic application as a
                  starting point.
                  BeeKit allows you to export the entire project, or just properties. Unlike setting the
                  channel list or PAN ID, which only requires exporting properties (a relatively fast
                  operation), changing the security setting requires exporting the entire project again.
                  In the case of this example, security was enabled from the start.




                                          Figure 4.29: Including Security in BeeKit

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CH04-H8597.indd 203                                                                                              7/26/2008 1:01:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 543 of 763 PageID #:
                                       2325


                  204      Chapter 4

                  Some public profiles, like Home Automation, transmit the key in the clear to joining
                  nodes to allow any node to join any network, simply and easily. Another mechanism,
                  called Join Enable, is used to prevent unauthorized nodes from joining the network.
                  If using a more restrictive public profile, such as Commercial Building Automation or a
                  private profile, ZigBee allows the use of a pre-configured key. Pre-configured keys are
                  never sent over the air. The node must already “know” the key, usually through some
                  configuration tool, or as pre-installed at the factory.
                  If the protocol analyzer (such as Daintree SNA) doesn’t know the key, the decode will
                  look similar to the following code:

                  Frame 40 (Length=48 bytes)
                         Frame Length: 48 bytes
                         Link Quality Indication: 145
                  IEEE 802.15.4
                         Frame Control: 0x8861
                         Sequence Number: 44
                         Destination PAN Identifier: 0x1aaa
                         Destination Address: 0x0000
                         Source Address: 0x796f
                         Frame Check Sequence: Correct
                  ZigBee NWK
                         Frame Control: 0x0248
                           .... .... .... ..00 = Frame Type: NWK Data (0x00)
                           .... .... ..00 10.. = Protocol Version (0x02)
                           .... .... 01.. .... = Discover Route: Enable route discovery
                  (0x01)
                           .... ...0 .... .... = Multicast
                           .... ..1. .... .... = Security: Enabled
                           .... .0.. .... .... = Source Route
                           .... 0... .... .... = Destination IEEE Address: Not Included
                           ...0 .... .... .... = Source IEEE Address: Not Included
                           000. .... .... .... = Reserved
                         Destination Address: 0x0000
                         Source Address: 0x796f
                         Radius=10
                         Sequence Number=60
                  ZigBee AUX
                         Security Control: 0x28
                                 .... .101 = Security Level: 5
                                 ...0 1... = Key Identifier: Network (0x01)
                                 ..1. .... = Extended Nonce: Sender Address Field: Present
                  (0x01)
                                00.. .... = Reserved: (0x00)


                  www.n ewn es p res s .c o m




CH04-H8597.indd 204                                                                                         7/26/2008 1:01:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 544 of 763 PageID #:
                                       2326



                                                                              ZigBee Applications      205

                         Frame Counter: 0x03
                         Source Address: 0x0050c20798033c00
                         Key Sequence Number: 0x00
                         MIC: ae:9c:09:83
                  NWK Payload Decryption Failed: 8f:8b:0d:f3:67:15:08:5a:11:da:03

                  Did you notice that decryption failed? MAC, NWK, and AUX headers are not encrypted.
                  Only the payload of the NWK frame is encrypted (the APS and ZCL frames). However,
                  the entire frame is authenticated. Not a single bit can change without re-authenticating
                  using the proper 128-bit key. Note that the security bit is enabled in the NWK Frame
                  Control field.
                  Once the sniffer knows the key, the packet can be properly decoded. Take a look at the
                  same packet when the sniffer knows the key:
                  Frame 40 (Length=48 bytes)
                    Frame Length: 48 bytes
                    Link Quality Indication: 145
                  IEEE 802.15.4
                    Frame Control: 0x8861
                    Sequence Number: 44
                    Destination PAN Identifier: 0x1aaa
                    Destination Address: 0x0000
                    Source Address: 0x796f
                    Frame Check Sequence: Correct
                  ZigBee NWK
                         Frame Control: 0x0248
                           .... .... .... ..00 = Frame Type: NWK Data (0x00)
                           .... .... ..00 10.. = Protocol Version (0x02)
                           .... .... 01.. .... = Discover Route: Enable route discovery
                  (0x01)
                           .... ...0 .... .... = Multicast
                           .... ..1. .... .... = Security: Enabled
                           .... .0.. .... .... = Source Route
                           .... 0... .... .... = Destination IEEE Address: Not Included
                           ...0 .... .... .... = Source IEEE Address: Not Included
                           000. .... .... .... = Reserved
                         Destination Address: 0x0000
                         Source Address: 0x796f
                         Radius=10
                         Sequence Number=60
                  ZigBee AUX
                    Security Control: 0x28
                      .... .101 = Security Level: 5
                      ...0 1... = Key Identifier: Network (0x01)
                      ..1. .... = Extended Nonce: Sender Address Field: Present (0x01)
                      00.. .... = Reserved: (0x00)


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CH04-H8597.indd 205                                                                                          7/26/2008 1:01:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 545 of 763 PageID #:
                                       2327


                  206      Chapter 4

                         Frame Counter: 0x03
                         Source Address: 0x0050c20798033c00
                         Key Sequence Number: 0x00
                         MIC: ae:9c:09:83
                  ZigBee APS
                         Frame Control: 0x00
                         Destination Endpoint: 0x08
                         Cluster Identifier: On/off (0x0006)
                         Profile Identifier: HA (0x0104)
                         Source Endpoint: 0x08
                         Counter: 0x22
                  ZigBee ZCL
                         Frame Control: 0x01
                                .... ..01 = Frame Type: Command is specific to a cluster
                  (0x01)
                                .... .0.. = Manufacturer Specific=false (0x00)
                                .... 0... = Direction: From the client server (0x00)
                                0000 .... = Reserved: Reserved (0x00)
                         Transaction Sequence Number: 0x42
                         Command Identifier: Toggle (0x02)

                  Now the frame looks like the standard toggle command on the HA OnOff Cluster in the
                  decoded APS and ZCL frames above.
                  To summarize, ZigBee security both encrypts, which prevents rogue nodes from listening
                  to sensitive data, and authenticates, to prevent rogue nodes from injecting false data or
                  commands into the network. If a node is allowed to join the network, it is considered
                  “trusted.” However, applications that share a network infrastructure that contain data that
                  should not be seen by other nodes in the network can further encrypt using a link key, or
                  with application-level security.

                          ZigBee both authenticates and encrypts packets using the AES 128-bit standard.
                          ZigBee supports security automatically. No special coding necessary.




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CH04-H8597.indd 206                                                                                             7/26/2008 1:01:57 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 546 of 763 PageID #:
                                       2328




                                                                                                 CHAPTER 5

                                                               ZigBee, ZDO, and ZDP

                  It’s all well and good to know how to transmit data to another node through an APSDE-
                  DATA.request, and what endpoints and groups are all about, but how does a node in a
                  ZigBee network decide which other node(s) in the network to talk to? How is the network
                  set up and maintained?
                  ZigBee contains two sets of services for network commissioning and maintenance:
                      ●   The ZigBee Device Object (together with the ZigBee Device Profile)
                      ●   The ZigBee Cluster Library
                  This chapter describes the ZigBee Device Object (ZDO) and the ZigBee Device Profile
                  (ZDP). The next chapter (Chapter 6) describes the ZigBee Cluster Library (ZCL).
                  But first, before delving into ZDO, the real story behind the ZigBee name.
                      “Hey, Big Z! Come look at this!” Ford Prefect shouted, staring down at his computer console.
                      Zaphod Beeblebrox swiveled one of his two heads toward Ford, saying, “Is it about me?”
                      “Nah. More interesting than that. Take a look at the new Heart of Gold Mark II! Remember
                      the last one with that annoying personality that was always asking you to say ‘please’
                      before it would open a door, or giving you extra tidbits of information you didn’t ask for
                      every time you queried the computer? Well, in the Mark II they got rid of it. They replaced
                      it with some new wireless technology that automatically handles, well—everything! It
                      opens doors automatically, it makes the lights follow you around the ship, and quiets the
                      music down when you start talking, it says here, almost like it reads your mind.”
                      “Yeah, baby, but I’m of two minds, and I can’t seem to get them to agree. For example, my
                      second head is sleeping right now, you see.” In fact, Zaphod’s other head was snoring, loudly.
                      “Well, Big Z, I’m going to steal it,” said Ford, matter-of-factly.
                      “What, my head?” asked Zaphod.


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CH05-H8597.indd 207                                                                                                    7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 547 of 763 PageID #:
                                       2329


                  208       Chapter 5

                      “The HoG Mark II.”
                      “Not cool,” quipped Zaphod. “Already been done. I stole the first Heart of Gold,
                      remember? Anyway, how would you do it?”
                      “Toss me another Pan Galactic Gargle Blaster, while you toss yours down. We’re hitching
                      a ride.” Ford fingered his electronic thumb.
                      “You can’t hitch a ride on the most expensive ship in the Galaxy with just an electronic
                      thumb. It will never work. Impossible!”
                      “That’s exactly why it is going to work,” said Ford calmly. “It’s just so amazingly
                      improbable that it’s nearly impossible. Probability drive. Remember?”
                      It’s a well-known fact to anyone who has ever read The Hitchhiker’s Guide to the Galaxy
                      that the only way to handle hitching a ride on a passing space ship and still keep your
                      mind was to be out-of-your-mind drunk when it happened. This fact was almost as well-
                      known as the use of the electronic thumb, the interstellar equivalent of extending your
                      thumb on the side of the road on 1960s Earth (a planet somewhere in the unpopular arm
                      of a small spiral galaxy). It was significantly less well-known that the Heart Of Gold, and
                      subsequently, the Heart Of Gold Mark II, achieved interstellar travel through the use of a
                      probability drive, a drive which ignored very likely and very constant things such as the
                      speed of light, and instead landed you, quite improbably, exactly where you didn’t even
                      know you wanted to go, and did it in almost no time at all.
                      After a few more Pan Galactic Gargle Blasters (Ford stopped counting after three), Ford
                      Prefect said “Big Z, are you ready?” It actually sounded more like, “BigZeeuready,” what
                      with the slurring and all.
                      “And why are we stealing it, exactly?” asked Zaphod, talking mostly to the floor, which
                      wasn’t talking back. Ford answered instead.
                      “We’re stealing it to get Trillian back.”
                      “Ah. Trillian?” queried Zaphod.
                      “Yes, Big Z, Trillian. Remember her? You picked her up from Earth many years ago. She
                      was with us on the last Heart of Gold.”
                      “Ah. And what’s the name of that there ol’ thingy in the Heart of Gold Mark II that
                      automatically handles, doors an’ lights and well, everything?” asked Zaphod.
                      Ford, who was now also staring mostly at the floor, slurred “Hmm, Zig B? What?”
                      “Ah. ZigBee. Strange name for a technology, ZigBee.”
                      At that moment, the electronic thumb started beeping and blinking madly. For some reason,
                      engineers love to make gadgets beep and blink. In addition to beeping and blinking, the
                      electronic thumb did what it was actually designed to do and winked them out of existence,
                      to reappear right in the cargo hold somewhere inside the Heart of Gold Mark II.

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CH05-H8597.indd 208                                                                                                 7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 548 of 763 PageID #:
                                       2330



                                                                                                 ZigBee, ZDO, and ZDP              209

                  The ZigBee Device Object (ZDO, shown in Figure 5.1) is simply the application running
                  on endpoint 0 in every ZigBee device. (Remember, application endpoints are numbered
                  1 through 240.)
                  This application, ZDO, keeps track of the state of the ZigBee device on and off the
                  network, and provides an interface to the ZigBee Device Profile (ZDP), a specialized
                  Application Profile (with profile ID 0x0000) for discovering, configuring, and
                  maintaining ZigBee devices and services on the network.
                  As you can see from the figure, ZDO not only interacts with APS, but also interacts
                  directly with the network layer. ZDO controls the network layer, telling it when to form
                  or join a network, and when to leave, and provides the application interface to network
                  layer management services. For example, ZDO can be configured to continue attempting
                  to join a network until it is successful, or until a user-specified number-of-retries has
                  occurred before giving up, and informing the application of the join failure.



                                                       Application Framework
                                                                                                       ZigBee Device
                                                                                                       Object (ZDO)
                                                                                          ZPUI



                                                Application             Application
                                                Object 240               Object 1
                                                                                                         [On Endpoint 0]
                                               [On Endpoint 240]        [On Endpoint 1]

                                                 APSDE-SAP               APSDE-SAP                      APSDE-SAP



                                                                                                                       APSME-SAP
                                   APSSE-SAP




                                                             Application Support (APS) Sub-Layer
                      Security
                      Service                    NLDE-SAP

                      Provider
                                   NLSE-SAP




                                                                                                                       NLME-SAP




                                                                    Network (NWK) Layer

                                                 MCPS-SAP                                               MLME-SAP



                                                              Medium Access Layer (MAC) Layer

                                                   PD-SAP                                               PLME-SAP



                                                                    Physical (PHY) Layer


                                               Figure 5.1: ZDO Is a ZigBee Application Object

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CH05-H8597.indd 209                                                                                                                      7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 549 of 763 PageID #:
                                       2331


                  210      Chapter 5

                  The over-the-air Application Profile supported by ZDO, called the ZigBee Device Profile
                  (ZDP), is no different than any other, and in most stacks is handled just like any other
                  application object on an endpoint. ZDP services are separated into client and server.
                  Client side services (also called requests), are always optional in ZigBee, but many of the
                  server side ZDP services (also called responses), are mandatory.
                  Nearly every service follows the same pattern when used. A client device (the node which
                  is doing the asking) first makes a request. The server device then sends the response back
                  to the client device. The cluster number for the response is exactly the same as the cluster
                  number for the request, but with the high bit set. For example, the ZDP command IEEE_
                  addr_req is cluster 0x0001, and IEEE_addr_rsp is cluster 0x8001.
                  It doesn’t matter how many hops the nodes are from each other. The nodes A and B could
                  be 10 hops away from each other, and the ZDP request/response mechanism will work
                  in exactly the same way, just as it does for applications sending data on an application
                  endpoint (see Figure 5.2).
                  Many ZDP requests must be either explicitly unicast or broadcast. Others can unicast or
                  broadcast at the client node’s discretion (typically with different responses). If a ZDP
                  request is broadcast, only the node that has the requested information returns any data.
                  For example, NWK_Addr_req is broadcast, but only the node that matches the IEEE
                  address, provided in the request, responds.
                  Every ZDP response starts with a status byte. If the particular optional service is not
                  supported by the receiving node, the status returned will be gZdoNotSupported_c (0x84).
                  For sleeping devices, the parents of the device keep track of the IEEE and short address
                  of the child, and will respond for them. However, all other information about the sleeping
                  device, such as the list of active endpoints, are not recorded by the parent and must be
                  retrieved directly from the devices themselves. In Chapter 8, “Commissioning ZigBee
                  Networks,” I’ll discuss the means of commissioning sleeping devices.
                  In this chapter, I’ve organized the ZDP services slightly differently than in the ZigBee
                  specification. For one thing, I’ve put the request and responses in the same section. The

                                                          ZDP NWK_addr_req

                                           (Client)   A                      B   (Server)

                                                          ZDP NWK_addr_rsp

                                          Figure 5.2: ZDP Request and Response

                  www.n ewn es p res s .c o m




CH05-H8597.indd 210                                                                                              7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 550 of 763 PageID #:
                                       2332



                                                                            ZigBee, ZDO, and ZDP           211

                  ZigBee specification organizes the services numerically, so the request and responses are
                  many pages apart. Also, I’ve organized the ZDP services by usage; so, for example, all
                  the node-wide services are together.

                  ZDP services include the following categories:
                      ●   Device discovery services
                      ●   Service discovery services
                      ●   Binding services
                      ●   Management services

                  After discussing ZDP, I’ll discuss how applications interact with ZDO, including:
                      ●   Starting and stopping the network through ZDO
                      ●   ZDO and low power nodes


                  5.1 Device Discovery
                  The ZigBee Device Profile (ZDP) contains a set of commands for discovering various
                  aspects about nodes in the network. The ZigBee specification calls these “device
                  discovery services,” which can be confusing because endpoints contain device IDs which
                  really describe individual ZigBee applications running in that node. So, when you see
                  ZDP Device Discovery, think node-wide (not application/endpoint specific) services.

                  Device discovery services have a few things in common:
                      ●   They provide additional information about a node.
                      ●   They are all optional from the client side, but some server side processing is
                          mandatory (a common subset among all ZigBee devices).
                      ●   They are node-wide, and do not represent any particular application, or
                          Application Profile residing on an endpoint in the node.

                  The ZDP device discovery services are listed below in Table 5.1. Notice that all the
                  ZDP services on the client side are optional. ZigBee does not require that a node be able
                  to send NWK_addr_req, for example. But on the server side of this equation (a node
                  receiving a NWK_addr_req and responding to it), the ZDP service is mandatory.

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CH05-H8597.indd 211                                                                                              7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 551 of 763 PageID #:
                                       2333


                  212         Chapter 5

                                     Table 5.1: ZigBee Device Profile Device Discovery Services
                      Device Discovery           Unicast (U), Broadcast   Client Transmission   Server Processing
                      Services                   (B) or Either (U,B)      (Request)             (Response)
                      NWK_addr_req               U,B                      O                     M
                      IEEE_addr_req              U                        O                     M
                      Node_Desc_req              U                        O                     M
                      Power_Desc_req             U                        O                     M
                      Complex_Desc_req           U                        O                     O
                      User_Desc_req              U                        O                     O
                      User_Desc_set              U                        O                     O
                      Device_annce               B                        O                     M



                  This makes sense if you think about how the service is used. A tool may want to collect
                  the IEEE (aka MAC) address of every node in the network (using IEEE_addr_req, for
                  example) so all nodes in the network must support the server side (IEEE_addr_rsp). But
                  only the tool needs to support the client side.
                  What happens if a given client issues two ZDP requests in a row? How does the client
                  application know which response belongs to which request? Some stack vendors have
                  solved this problem by only allowing a single request to be issued at any one time. Other
                  stack vendors, such as Freescale, provide a transaction ID which correlates the request
                  with the response. This rolling 8-bit transaction ID is sent with each request, meaning, in
                  theory, that a single application could have up to 256 requests in flight at once. Normally,
                  however, an application makes one or two requests, and then waits for the response.
                  In the Freescale ZigBee solution, all ZDP requests begin with the prefix ASL_ (for
                  example, ASL_NWK_addr_req()). Simply look up the particular ZDP request in the
                  table, or the ZigBee specification, and prefix it with ASL_. Why ASL, and not ZDP?
                  ASL stands for Application Support Library, which is the prefix used for all optional
                  application-level commands in Freescale BeeStack.
                  The response to a ZDP request may take some time to come back, because, perhaps, the
                  responding node may be many hops away. In a BeeStack application, this occurs through
                  a C callback function registered with Zdp_AppRegisterCallBack().
                  Each ZDP request in BeeStack requires a destination address, which may be unicast or
                  broadcast, as the ZigBee specification allows.

                  www.n ewn es p res s .c o m




CH05-H8597.indd 212                                                                                                 7/26/2008 2:16:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 552 of 763 PageID #:
                                       2334



                                                                                  ZigBee, ZDO, and ZDP             213

                  void ASL_NWK_addr_req
                  (
                    zbCounter_t *pSequenceNumber,
                    zbNwkAddr_t aDestAddress,
                    zbIeeeAddr_t aIeeeAddr,
                    uint8_t requestType,
                    index_t startIndex
                  );

                  One thing that is not always obvious with Freescale BeeStack (and this is true of other
                  stack vendors as well) is that optional ZDP services are not enabled by default. In fact,
                  they are compiled-out by default. Often ZigBee stacks run in systems that are very
                  limited by RAM and Flash (ROM), which means every byte can be precious. Services
                  that might not be used by the application are turned off to conserve space.
                  To enable the optional ZDP services, enable either the client-side service, server-side
                  service, or both. For example, to enable both the server and client for NWK_addr_req,
                  enable both gNWK_addr_req_d and gNWK_addr_rsp_d in BeeStack. All the ZDP
                  services, even the mandatory ones, can be enabled or disabled through Freescale BeeKit,
                  the graphical BeeStack configuration tool.
                  Although Freescale BeeKit allows it, I don’t recommend disabling the mandatory ZDP
                  services unless your company controls all the nodes in the ZigBee network, and you are
                  willing to live with a (slightly) incompatible ZigBee stack. Certainly, the product cannot
                  be certified by ZigBee if the mandatory ZDP services are disabled.
                  For some application profiles, such as Home Automation, some of the ZDP services
                  listed as optional by the ZigBee specification are mandatory for certain devices in that
                  profile. ZDP binding is a good example of this.

                          Use ZDP to discover which nodes to talk to in a ZigBee network.
                          Optional ZDP services may be mandatory in the application profile.
                          Remember to enable the optional services if they are needed by a BeeStack application.




                  5.1.1     NWK_addr_req and IEEE_addr_req
                  Use ZDP network address request (NWK_addr_req) when you already know the MAC
                  address of a node (also called its IEEE or long address), but want to find its short, 16-bit
                  address on the network. This service request can be broadcast or unicast.

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CH05-H8597.indd 213                                                                                                      7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 553 of 763 PageID #:
                                       2335


                  214         Chapter 5

                                                  Table 5.2: NWK_addr_req/rsp
                      NWK_addr_req                              NWK_addr_rsp
                      typedef struct zbNwkAddrRequest_tag       typedef struct zbExtendedDevResp_tag
                      {                                         {
                        zbIeeeAddr_t aIeeeAddr;                   zbStatus_t iStatus;
                        uint8_t requestType;                      zbIeeeAddr_t aIeeeAddrRemoteDev;
                        zbIndex_t startIndex;                     zbNwkAddr_t aNwkAddrRemoteDev;
                      } zbNwkAddrRequest_t;                       zbCounter_t numAssocDev;
                                                                  zbIndex_t startIndex;
                                                                  zbNwkAddr_t
                                                                aNwkAddrAssocDevList[1];
                                                                } zbExtendedDevResp_t;



                  For example, say the gateway in a particular ZigBee network (which may or may not
                  be on the ZigBee Coordinator) is known to be IEEE address 0x0050c237b0041234.
                  Issue a NWK_addr_req and the gateway will respond with its short address on the
                  network.
                  Unfortunately, there is no ZigBee-standard way to find nodes within a range of IEEE
                  addresses.
                  IEEE_addr_req is the converse of NWK_addr_req (see Tables 5.2 and 5.3). It returns
                  the IEEE address of a node, given a 16-bit short address. This command is unicast to the
                  destination. The responses are exactly the same for the two commands, and the requests
                  are quite similar.


                                                  Table 5.3: IEEE_addr_req/rsp
                      IEEE_addr_req                             IEEE_addr_rsp
                      typedef struct zbIeeeAddrRequest_tag      typedef struct zbExtendedDevResp_tag
                      {                                         {
                        zbNwkAddr_t aNwkAddrOfInterest;           zbStatus_t iStatus;
                        uint8_t requestType;                      zbIeeeAddr_t aIeeeAddrRemoteDev;
                        zbIndex_t startIndex;                     zbNwkAddr_t aNwkAddrRemoteDev;
                      } zbIeeeAddrRequest_t;                      zbCounter_t numAssocDev;
                                                                  zbIndex_t startIndex;
                                                                  zbNwkAddr_t aNwkAddrAssocDevList[1];
                                                                } zbExtendedDevResp_t;


                  www.n ewn es p res s .c o m




CH05-H8597.indd 214                                                                                          7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 554 of 763 PageID #:
                                       2336



                                                                                ZigBee, ZDO, and ZDP         215

                  Notice that the first byte of the response is a status byte. This will be 0x00 (success) if the
                  response is valid. If this contains an error code, then the rest of the information will not
                  be included in the response. Every ZDP response begins with a status code, so be sure to
                  check it in your applications before assuming that the rest of the information is valid.

                  Both NWK_addr_req and IEEE_addr_req contain a requestType field. The request
                  type field affects whether the extended information is included in the response. Use
                  requestType 0x00 to get only the IEEE and NWK address for one node. Use the
                  extended requestType 0x01 to get the information for the node and for all its children
                  as well. Remember, only routers will have children.

                  This particular request is generally broadcast across the network. If the request is
                  broadcast, and the targeted NWK or IEEE address does not exist on the network, then no
                  over-the-air response is issued. The client application should set up a time-out to let itself
                  know that the node couldn’t be found, perhaps to try again at another time.

                  Why unicast this command? It’s a good way to see if a particular device is the child of a
                  given parent. For example, say that you want to ensure that node XYZ is a child of the
                  room controller in a hotel room. Issue a unicast to that room controller (a ZigBee Router)
                  and it will respond either with an error code, or with the short address of the child.

                  A start index is normally used if the response can’t fit in a single over-the-air packet
                  (a payload of about 80 bytes). This field isn’t actually needed in NWK_addr_req or
                  IEEE_addr_req because the response will always fit, so always set it to 0.

                  The example in this section, Example 5-1—ZDP NWK_addr_req, uses NWK_addr_req
                  to find the short address of a particular node, in this case the node with the IEEE address
                  of 0x0050c237b0040002 (see Figure 5.3). The application on the ZC sends a broadcast
                  across the network, and the node with proper IEEE address responds with its short
                  address.


                                            ZC                             ZC
                                                 NWK_addr_req                    NWK_addr_rsp


                                      ZR1        ZR2                ZR1         ZR2

                                                                          IEEE Addr :
                                                                          0x0050c237b0040002

                                      Figure 5.3: Example 5-1—ZDP NWK_addr_req

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CH05-H8597.indd 215                                                                                                 7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 555 of 763 PageID #:
                                       2337


                  216       Chapter 5

                  The BeeKit solution file for this example, found in the directory “Chapter05\Example
                  5-1-ZDP NWK_addr_req,” contains three projects: one for an NCB ZigBee Coordinator
                  (ZC)—the node making the request, and two for ZigBee Routers (ZR)—one of which is
                  the node we’re looking for.

                  To run the example, program the three boards (ZcNcb, Zr1Srb, Zr2Srb, respectively).
                  Next, form the network with the ZcNcb (ZigBee Coordinator) board by pressing SW1.
                  Join the other two nodes in any order, pressing SW1 on each of them. When the LEDs
                  have finished chasing each other, the nodes are on the network. Then, press SW2 on the
                  NCB board. The NCB will send out the NWK_addr_req and should display the short
                  address of the node we’re looking for. In the figure, this would be 0x143e.

                  Try booting all the nodes, joining the routers in the opposite order (so that ZR2 boots
                  first). Notice the NwkAddr returned is now 0x0001.


                          Use NWK_addr_req and IEEE_addr_req to find nodes based on short or long address.
                          NWK_addr_rsp and IEEE_addr_rsp populate the address map.



                  5.1.2    ZigBee Descriptors
                  ZigBee uses descriptors to describe a node and its properties, allowing other applications
                  running in the network to discover these properties over-the-air. Node-wide descriptors
                  include the node descriptor, the power descriptor, the complex descriptor, and the user
                  descriptor.

                  Of these descriptors, I find the Node_Desc_req the most useful (see Table 5.4). The
                  results of this include the ZigBee node type (ZR, ZC, or ZED) and the manufacturer ID
                  (a 16-bit ZigBee assigned number that uniquely identifies the manufacturer of the
                  device).

                  The node descriptor contains a variety of fields, including the node type of the device
                  (whether the node is a ZigBee Coordinator, Router, or End-Device), the manufacturer’s
                  code, whether the optional user and complex descriptors are present, and whether the
                  node supports fragmentation.

                  Use this command when the application needs to know the manufacturer ID, whether the
                  destination node can support the optional fragmentation, or if any other optional service

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CH05-H8597.indd 216                                                                                            7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 556 of 763 PageID #:
                                       2338



                                                                              ZigBee, ZDO, and ZDP           217

                                      Table 5.4: Node Descriptor Request and Response
                      Node_Desc_req                              Node_Desc_rsp
                      typedef struct                             typedef struct
                      zbNodeDescriptorRequest_tag                zbNodeDescriptorResponse_tag
                      {                                          {
                        zbNwkAddr_t aNwkAddrOfInterest;            zbStatus_t status;
                      } zbNodeDescriptorRequest_t;                 zbNwkAddr_t
                                                                 aNwkAddrOfInterest;
                                                                   zbNodeDescriptor_t nodeDescriptor;
                                                                 } zbNodeDescriptorResponse_t;
                                                                     typedef struct zbNodeDescriptor_tag
                                                                 {
                                                                   uint8_t logicalType;
                                                                   uint8_t apsFlagsAndFreqBand;
                                                                   uint8_t macCapFlags;
                                                                   uint8_t aManfCodeFlags[2];
                                                                   uint8_t maxBufferSize;
                                                                   uint8_t aMaxTransferSize[2];
                                                                   zbServerMask_t aServerMask;
                                                                 } zbNodeDescriptor_t;




                  is present. I rarely use this command in actual applications, except perhaps to find the
                  manufacturer ID. That can be useful if a particular application wants to use extended
                  commands only available from a particular manufacturer.

                  The other descriptors include the power descriptor, which defines which power modes
                  this node supports, and the user descriptor, which contains a user definable string to
                  identify the location (such as living room or office). These descriptors are all optional
                  in the ZigBee spec. The user descriptor is settable over-the-air, the rest are only
                  gettable.

                  Tables 5.5, 5.6, and 5.7 describe each of the other descriptors. By and large, these
                  descriptors (with the exception of the Node descriptor) have been supplanted by the
                  ZigBee Cluster Library (ZCL) Basic Cluster. If you are using a profile such as Home
                  Automation (HA), or Automatic Metering (AMI), which use the ZigBee Cluster Library,
                  use the Basic Cluster mechanism instead.

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CH05-H8597.indd 217                                                                                                7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 557 of 763 PageID #:
                                       2339


                  218           Chapter 5

                                       Table 5.5: Power Descriptor Request and Response
                      Power_Desc_req                                  Power_Desc_rsp
                      void ASL_Power_Desc_req                         typedef struct zbPowerDescriptor_tag
                      (                                               {
                           zbCounter_t *pSequenceNumber,                uint8_t currModeAndAvailSources;
                           zbNwkAddr_t aDestAddress                     uint8_t currPowerSourceAndLevel;
                      );                                              } zbPowerDescriptor_t;


                                        Table 5.6: User Descriptor Request and Response
                      User_Desc_req                                   User_Desc_rsp
                      void ASL_User_Desc_req                          typedef struct
                      (                                               zbUserDescriptorResponse_tag
                           zbCounter_t *pSequenceNumber,              {
                           zbNwkAddr_t aDestAddress                     zbStatus_t status;
                      );                                                zbNwkAddr_t aNwkAddrOfInterest;
                                                                        uint8_t aUserDescriptor[16];
                                                                      } zbUserDescriptorResponse_t;


                                      Table 5.7: Complex Descriptor Request and Response
                      Complex_Desc_req                                Complex_Desc_rsp
                      void ASL_User_Desc_req                          typedef struct
                      (                                               zbComplexDescriptor_tag
                           zbCounter_t *pSequenceNumber,              {
                           zbNwkAddr_t aDestAddress                     uint8_t fieldCount;
                      );                                                uint8_t aLanguageAndCharSet[4];
                                                                        uint8_t aManufacturerName[6];
                                                                        uint8_t aModelName[6];
                                                                        uint8_t aSerialNumber[6];
                                                                        uint8_t aDeviceUrl[17];
                                                                        uint8_t aIcon[4];
                                                                        uint8_t aIconUrl[9];
                                                                      } zbComplexDescriptor_t;


                                            Descriptors describe the node.
                                            Use the ZigBee Cluster Library (ZCL) basic cluster
                                            rather than the power, complex and user descriptors.


                  www.n ewn es p res s .c o m




CH05-H8597.indd 218                                                                                          7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 558 of 763 PageID #:
                                       2340



                                                                             ZigBee, ZDO, and ZDP         219

                                             Table 5.8: Device Announce Fields
                                             Device_annce
                                             typedef struct zbEndDeviceAnnounce_tag
                                             {
                                               zbNwkAddr_t aNwkAddress;
                                               zbIeeeAddr_t aIeeeAddress;
                                               macCapabilityInfo_t capability;
                                             } zbEndDeviceAnnounce_t;


                  5.1.3    Device Announce
                  The ZDP Device_annce command is issued by the ZigBee stack, not by the applications.
                  Occasionally in a network, a device must change its short address while still on the network.
                  In Stack profile 0x01, this occurs when an end-device loses track of its parent and needs to
                  find a new one. In Stack profile 0x02, this occurs when an address conflict is detected.
                  Device_annce can also occur if an end-device wants to tell its parent to start buffer
                  packets for it while it sleeps (called an RxOnIdle ⫽ FALSE device), or wants its parent
                  to quit buffering packets because the device won’t be sleeping anymore. (Perhaps it was
                  plugged into mains power.)
                  All the Device_annce command accomplishes is to instruct any node in the network that
                  cares about this node to update its internal tables, such as the neighbor table, address
                  map, and binding table (see Table 5.8). The over-the-air device announce structure is
                  fairly simple: a short address, IEEE address, and MAC capabilities flags.

                  The example in this section, Example 5-2 Device_annce, demonstrates device announce
                  occurring when a child changes to a new parent (see Figure 5.4). A node is set up to look

                                          HaOnOffSwitch                 HaOnOffSwitch
                                    ZC     Node 0x0000            ZC     Node 0x0000




                                    ZR                            ZR       ZED    HaOnOffLight
                                                                                  Node 0x796f


                                          HaOnOffLight
                                   ZED
                                          Node 0x1430

                                          Figure 5.4: Example 5-2—Device_annce

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CH05-H8597.indd 219                                                                                               7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 559 of 763 PageID #:
                                       2341


                  220      Chapter 5

                  for a new parent after it has lost contact with its original parent for three polling periods
                  in a row. In the left portion of the figure, the ZED has a ZigBee router for a parent.
                  But for some reason (Okay, because I turned it off), the ZED loses contact with its parent.
                  The node then looks for a new parent, and finds the ZigBee Coordinator, shown on
                  the right.

                  This same thing would happen if the ZED were, perhaps, a roaming remote control
                  device. The same thing could occur if something happened to the link, such as if a large
                  wall of metal or body of water was placed between the ZED and its parent.

                  To run the example shown above, use the BeeKit solution found in the folder
                  “Chapter05\Example 5-2 Device_annce.” This BeeKit solution contains three projects:
                  a ZcNcbSwitch, a ZrSrbRangeExtender, and a ZedSrbLight. Export the solution, and
                  import, compile, and download each project into their respective boards.

                  The steps to see the demo (and produce a capture) are:

                      1. Turn on Daintree to record on channel 25.

                      2. Boot and form a network with the ZcNcbSwitch and ZrSrbRangeExtender
                         boards, by pressing SW1.

                      3. Turn off joining the ZcNcbSwitch by pressing SW2.

                      4. Join the network with ZedSrbLight by pressing SW1.

                      5. Bind the switch and light, by pressing SW3 (in any order) on both ZcNcbSwitch
                         and ZedSrbLight.

                      6. Go to Application (as opposed to Configuration) Mode on both light and switch,
                         by pressing and holding switch 1 (LSW1).

                      7. Toggle the light, by pressing SW1 on the ZcNcbSwitch.

                      8. Force the light to move to a new parent, by turning off ZcSrbRangeExtender.

                      9. Toggle the light again, by pressing SW1.

                  Notice the ZcNcbSwitch knows where to find the light (at 0x796f), even though it has
                  moved (from 0x1430).

                  www.n ewn es p res s .c o m




CH05-H8597.indd 220                                                                                               7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 560 of 763 PageID #:
                                       2342



                                                                             ZigBee, ZDO, and ZDP             221

                  To see this action over-the-air, take a look at the following excerpts from the Daintree
                  capture. First of all, notice that the switch (node 0x0000) is sending to the light (node
                  0x1430), which is a child of the range extender (node 0x0001):

                  87 +00:00:00.571 0x0000           0x0001    0x0000     0x1430    0x50    Zigbee APS Data
                  HA:On/off
                  88 +00:00:00.001                                                         IEEE 802.15.4
                  Acknowledgment
                  89 +00:00:00.452 0x1430           0x0001                                 IEEE 802.15.4
                  Command: Data Request
                  90 +00:00:00.001                                                         IEEE 802.15.4
                  Acknowledgment
                  91 +00:00:00.003 0x0001           0x1430    0x0000     0x1430    0x75    Zigbee APS Data
                  HA:On/off


                  Now, the child has lost track of its parent. So, it issues a rejoin request to join a new
                  parent. And then it announces via a broadcast its new short address to the network with
                  Device_annce, called ZDP:EndDeviceAnnce:

                  138 +00:00:00.421 0x1430 0x0000               0x1430    0x0000    0x1a    Zigbee NWK
                  NWK Command: Rejoin Request
                  139 +00:00:00.001                                                         IEEE 802.15.4
                  Acknowledgment
                  140 +00:00:00.409 0x1430 0x0000                                           IEEE 802.15.4
                  Command: Data Request
                  141 +00:00:00.001                                                         IEEE 802.15.4
                  Acknowledgment
                  142 +00:00:00.005 0x0000 0x1430               0x0000    0x1430    0x51    Zigbee NWK
                  NWK Command: Rejoin Response
                  143 +00:00:00.002                                                         IEEE 802.15.4
                  Acknowledgment
                  144 +00:00:00.005 0x796f 0x0000               0x796f    0xffff    0x1b    Zigbee APS Data
                  ZDP:EndDeviceAnnce
                  145 +00:00:00.002                                                         IEEE 802.15.4
                  Acknowledgment
                  146 +00:00:00.018 0x0000 0xffff               0x796f    0xffff    0x1b    Zigbee APS Data
                  ZDP:EndDeviceAnnce


                  Finally, notice that the ZcNcbSwitch still knows where to find the light. Instead of
                  sending to address 0x1430, it sends to address 0x796f, the light’s new short address:

                  164 +00:00:00.002        0x0000    0x796f     0x0000    0x796f    0x52    Zigbee APS Data
                  HA:On/off


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CH05-H8597.indd 221                                                                                                 7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 561 of 763 PageID #:
                                       2343


                  222      Chapter 5

                  One thing to be aware of: Device_annce is a broadcast, and every ZigBee network is
                  limited by the number of broadcasts it can sustain at any given time. Don’t design a
                  network where children need to move constantly or the network may be overloaded.

                  5.2     Service Discovery
                  In addition to the services related to devices, or nodes, ZDP also contains a variety
                  of standard services for querying the applications within those nodes (see Table 5.9).
                  As with the device discovery services, most of the ZDP service discovery services are
                  optional. Only a few service side responses are required.

                  5.2.1 Discovering and Matching Endpoints
                  Discovering application endpoints and the services they support is a common
                  commissioning step in ZigBee. Different manufacturers may choose different endpoints
                  for their applications. For example, a manufacturer of a switch (Leviton, perhaps) may
                  choose endpoint 3 for their switch. Philips may choose endpoint 8 for their light. So how
                  does an application which needs to bind this switch to the light find these endpoints?

                                         Table 5.9: ZDP Service Discovery Services
                        Service Discovery Services              Client Transmission Server Processing
                                                                (Request)           (Response)
                        Simple_Desc_req (unicast)               O                    M
                        Extended_Simple_Desc_req (unicast)      O                    O
                        Active_EP_req (unicast)                 O                    M
                        Extended_Active_EP_req (unicast)        O                    O
                        Match_Desc_req (broadcast)              O                    M
                        System_Server_Discover_req              O                    O
                        Find_node_cache_req (broadcast)         O                    O
                        Discovery_Cache_req (unicast)           O                    O
                        Discovery_store_req (unicast)           O                    O
                        Node_Desc_store_req (unicast)           O                    O
                        Power_Desc_store_req (unicast)          O                    O
                        Active_EP_store_req (unicast)           O                    O
                        Simple_Desc_store_req (unicast)         O                    O
                        Remove_node_cache_req (unicast)         O                    O


                  www.n ewn es p res s .c o m




CH05-H8597.indd 222                                                                                           7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 562 of 763 PageID #:
                                       2344



                                                                            ZigBee, ZDO, and ZDP         223

                                        Table 5.10: Active Endpoint Request and Response
                      Active_EP_req                             Active_EP_rsp
                      void ASL_Active_EP_req                    typedef struct zbActiveEpResponse_tag
                      (                                         {
                           zbCounter_t *pSequenceNumber,          zbStatus_t status;
                           zbNwkAddr_t aDestAddress               zbNwkAddr_t aNwkAddrOfInterest;
                      );                                          zbCounter_t activeEpCount;
                                                                  zbEndPoint_t pActiveEpList[1];
                                                                } zbActiveEpResponse_t;



                  ZDP can locate active endpoints through Active_EP_req (see Table 5.10). This
                  call returns a list of the active endpoints in a node. The application then calls
                  Simple_Desc_req, which returns a description of the endpoint (see Table 5.11). The
                  simple descriptor really should have been called the endpoint descriptor, as that is
                  the object it describes.


                                       Table 5.11: Simple Descriptor Request and Response
                      Simple_Desc_req                           Simple_Desc_rsp
                      void ASL_Simple_Desc_req                  typedef struct zbSimpleDescriptor_tag
                      (                                         {
                         zbCounter_t *pSequenceNumber,            zbEndPoint_t endPoint;
                         zbNwkAddr_t aDestAddress,                zbProfileId_t aAppProfId;
                         zbEndPoint_t endPoint                    zbDeviceId_t aAppDeviceId;
                      );                                          uint8_t appDevVerAndFlag;
                                                                  zbCounter_t cNumInClusters;
                                                                  zbClusterId_t *pInClusterList;
                                                                  zbCounter_t cNumOutClusters;
                                                                  zbClusterId_t *pOutClusterList;
                                                                } zbSimpleDescriptor_t;
                                                                typedef struct
                                                                zbSimpleDescriptorResponse_tag
                                                                {
                                                                  zbStatus_t status;
                                                                  zbNwkAddr_t aNwkAddrOfInterest;
                                                                  zbSize_t length;
                                                                  zbSimpleDescriptor_t sSimpleDescriptor;
                                                                } zbSimpleDescriptorResponse_t;


                                                                             w w w.ne w nespress.com




CH05-H8597.indd 223                                                                                            7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 563 of 763 PageID #:
                                       2345


                  224         Chapter 5

                  The simple descriptor basically describes everything there is to know about the endpoint:
                  its Application Profile ID, and its list of endpoints, both input and output.
                  The Extended_Simple_Desc_req and Extended_Active_EP_req were added in ZigBee
                  2007 in case the simple descriptor or active endpoint list were too large to fit into a
                  single packet. For example, assume that a node supports all 240 endpoints. Each active
                  endpoint returned in an Active_EP_req requires one byte. That’s at least 240 bytes, far
                  too large to fit into the 127 byte 802.1.54 PHY. Likewise, if the cluster list is too long, an
                  Extended_Simple_Desc_req might be needed. Normally, however, the standard versions
                  are sufficient. It’s a rare ZigBee network that contains nodes with that many endpoints or
                  clusters on an endpoint.
                  Match_Desc_req can be used to find a particular service anywhere across the network
                  (see Table 5.12). As input, it takes a simple descriptor, and as output it provides a
                  matching list of endpoints from any node that matches. It matches both profile ID and
                  input/output cluster lists. The profile ID must be the same, and at least one input must
                  match one output cluster, or vice versa. Any overlap will do. Think of it this way.


                                             Table 5.12: Match Descriptor Request
                      Match_Desc_req                              Match_Desc_rsp
                      typedef struct                              typedef struct
                      zbSimpleDescriptor_tag                      zbMatchDescriptorResponse_tag
                      {                                           {
                         zbEndPoint_t endPoint;                     zbStatus_t status;
                         zbProfileId_t aAppProfId;                  zbNwkAddr_t aNwkAddrOfInterest;
                         zbDeviceId_t aAppDeviceId;                 zbSize_t matchLength;
                         uint8_t appDevVerAndFlag;                  zbEndPoint_t matchList[1];
                         zbCounter_t cNumInClusters;              } zbMatchDescriptorResponse_t;
                         zbClusterId_t *pInClusterList;
                         zbCounter_t cNumOutClusters;
                         zbClusterId_t *pOutClusterList;
                      } zbSimpleDescriptor_t;
                      void ASL_MatchDescriptor_req
                      (
                         zbCounter_t *pSequenceNumber,
                         zbNwkAddr_t aDestAddress,
                         zbSimpleDescriptor_t
                      *pSimpleDescriptor
                      );


                  www.n ewn es p res s .c o m




CH05-H8597.indd 224                                                                                                7/26/2008 2:16:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 564 of 763 PageID #:
                                       2346



                                                                             ZigBee, ZDO, and ZDP           225

                  A switch has an On/Off Cluster (0x0006) as an output. A light has an On/Off Cluster as
                  an input. They match. Two lights would not match.
                  Match_Desc_req may be broadcast (with 0xfffd) or unicast. Here is a simple experiment
                  to cause a flurry of route requests and unicasts in a ZigBee network. Send out a
                  Match_Desc_req with the Basic Cluster (0x0000) listed as an output cluster, on profile
                  ID 0x0104. Every node in the network on the Home Automation profile will respond.

                  5.2.2 Backing Up and Caching Discovery Information
                  ZigBee utilizes the concepts of backing up and also caching the discovery information.
                  This includes the following ZDP commands:
                      ●   System_Server_Discover_req
                      ●   Find_node_cache_req
                      ●   Discovery_Cache_req
                      ●   Discovery_store_req
                      ●   Node_Desc_store_req
                      ●   Power_Desc_store_req
                      ●   Active_EP_store_req
                      ●   Simple_Desc_store_req
                      ●   Remove_node_cache_req
                  The concept is fairly simple. The System_Server_Discovery_req permits nodes in the
                  network to find the primary cache for everything from endpoints, to simple descriptors,
                  to node descriptors, assuming nodes in the network stored copies of their information on
                  the cache. Then, a commissioning tool or other node can retrieve the information. The
                  trouble with this is that no vendors actually implement the primary discovery cache in a
                  network. In fact, at the time of this writing, Freescale is the only vendor that has actually
                  implemented these optional ZDP commands in their stack.
                  My advice is not to use them. Get the information directly from the nodes themselves. Or
                  do without.

                  If you would like to use these commands anyway, here’s how to do it. Use a
                  Discovery_store_req first to allocate the space on the discovery cache for the various

                                                                               w w w.new nespress.com




CH05-H8597.indd 225                                                                                               7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 565 of 763 PageID #:
                                       2347


                  226      Chapter 5


                                       A                           Store                           B

                                            Discovery_store_req

                                            Active_EP_store_req

                                           Simple_Desc_store_req




                                                                              Active_EP_req
                                                                           NwkAddr of Interest ⫽
                                                                                Node A




                                                Figure 5.5: Discovery_store_req


                  items, including endpoints and simple descriptors, as seen in Figure 5.5. Then use the
                  various store commands (e.g., Simple_Desc_store_req) to actually store the data on the
                  cache. Using System_Server_Discovery_req, other nodes in the network can find the cache
                  and request the sleeping node’s information using commands such as Active_EP_req.


                  5.3     Binding
                  In Chapter 4, “ZigBee Applications,” you learned all about APS (local) binding. I’ll give
                  a quick refresher here, and then talk about ZDP binding.
                  Binding provides a mechanism for attaching an endpoint on one node to one or more
                  endpoints on another node. Binding can even be destined for groups of nodes. Then,
                  when using APSDE-DATA.request, simply use the “indirect” addressing mode, and the
                  request will be sent to each endpoint or group listed in the local binding table.
                  The binding table is smart, and keeps track of both the short (16-bit NwkAddr) and long
                  (IEEE) address of a node. If a destination device has changed its short address (either
                  due to a ZigBee End-Device moving from one parent to another in ZigBee stack profile
                  0x01, or due to a address conflict in ZigBee Pro), the binding table entry is updated
                  automatically to point to that new address (see Figure 5.6).
                  As shown in Table 5.13, if the local application sent application data using indirect mode
                  from endpoint 12, the packet would simply be dropped, as there is no source endpoint

                  www.n ewn es p res s .c o m




CH05-H8597.indd 226                                                                                            7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 566 of 763 PageID #:
                                       2348



                                                                           ZigBee, ZDO, and ZDP         227




                      Figure 5.6: Binding Connects One Endpoint to One or More Other Endpoints


                  12 in the table. If the local application sent a APSDE-DATA.request using indirect mode
                  from endpoint 5, it would go to three destinations: node 0x1234 endpoint 12, broadcast to
                  group 0x9999, and to node 0x5678 endpoint 44.
                  ZDP provides over-the-air binding services to complement the local APS binding
                  services. This allows a third-party tool (such as a remote control, or PC with a ZigBee
                  dongle) to connect one application to another. It’s easy to envision a drag-and-drop
                  interface to bind switches to lights throughout a house, an office, or a hotel.
                  All ZDP binding services are optional. They are shown in Table 5.14.


                                             Table 5.13: Sample Binding Table
                             Src EP     Destination Addr     Addr/Grp       Dst EP     Cluster ID
                             5          0x1234               A              12         0x0006
                             6          0x796F               A              240        0x0006
                             5          0x9999               G              --         0x0006
                             5          0x5678               A              44         0x0006


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CH05-H8597.indd 227                                                                                           7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 567 of 763 PageID #:
                                       2349


                  228      Chapter 5

                                             Table 5.14: ZDP Binding Services
                               ZDP Binding Services        Client Transmission         Server Processing
                                                           (Req)                       (Rsp)
                               End_Device_Bind_req         O                           O
                               Bind_req                    O                           O
                               Unbind_req                  O                           O


                  End_Device_Bind_req (see Figure 5.7) uses an optional state machine on the ZigBee
                  Coordinator to bind or unbind two devices. This service can be useful in a “press-the-
                  button-on-two-nodes-to-bind-them” operation, useful on some Home Automation
                  products, but it’s not generally useful in most ZigBee networks. One of the things I don’t
                  like about this command is that if it returns success, the caller has no idea if the targets
                  were bound or unbound. It’s a toggle!
                  The example in this section, Section 5-3 Binding, demonstrates a third-party node binding
                  a switch to a light over-the-air. Granted, it’s pretty simple, but it shows the concept of
                  ZigBee commissioning with a third-party tool.
                  To run the example, simply compile and download the three targets (ZcNcbTool,
                  ZedSrbSwitch, andZrSrbLight) from the BeeKit solution, and boot them all. Press SW1
                  on all of them to join each node to the network. Go to Application Mode on all three
                  nodes by pressing and holding SW1 (long SW1). Press SW1 on the switch. Notice
                  nothing happens. Then press SW2 in the tool to bind the switch to the light. Now press
                  SW1 on the switch again and notice the light toggles.
                  There is one thing about over-the-air binding that is not obvious. The ZDP bind
                  commands require an IEEE address, not a short address for the destination of the binding.
                  If a node receives a ZDP bind command and it doesn’t know about the destination
                  address, it will issue a ZDP NWK_Addr_req to find the node, because it actually needs
                  both long and short addresses to complete the operation.

                                                                        Tool

                                                      ZDP Bind_req


                                                               Switch          Light



                                               Figure 5.7: ZDP Bind Request

                  www.n ewn es p res s .c o m




CH05-H8597.indd 228                                                                                              7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 568 of 763 PageID #:
                                       2350



                                                                             ZigBee, ZDO, and ZDP         229

                                          Table 5.15: ZDP Management Services
                        Network Management Services             Client Transmission   Server Processing
                                                                (Req)                 (Rsp)
                        Mgmt_NWK_Disc_req (unicast)             O                     O
                        Mgmt_Lqi_req (unicast)                  O                     O
                        Mgmt_Rtg _req (unicast)                 O                     O
                        Mgmt_Bind_req (unicast)                 O                     O
                        Mgmt_Leave_req (unicast)                O                     O
                        Mgmt_Direct_ Join_req (unicast)         O                     O
                        Mgmt_Permit_ Joining _req (unicast or   O                     M
                        broadcast)
                        Mgmt_Cache_req (unicast)                O                     O
                        Mgmt_NWK_Update_req (unicast)           O                     O


                  5.4     ZDP Management Services
                  The ZDP Management services are really handy optional services used for reading the
                  various tables contained within ZigBee nodes, and to request certain common actions (see
                  Table 5.15).

                  5.4.1 Network Discovery
                  The ZDP command Mgmt_NWK_Disc_req was implemented both to support frequency
                  agility, which is the ability for the ZigBee network to change channels, and to help
                  prevent PAN ID conflicts. A managing application can determine remotely what networks
                  and nodes are in the vicinity of any node on the network.
                  PAN ID conflict happens when one network grows toward another. Perhaps they were
                  both out of hearing range of each other when they started, and through chance happened
                  to pick the same PAN ID, such as 0x1234. Now they’ve grown over time, and are
                  beginning to overlap.
                  Changing channels in ZigBee is a fairly catastrophic event, and not one to be undertaken
                  lightly. ZigBee is not a channel-hopping network, like Bluetooth™, for example.
                  Instead, ZigBee relies on its robust CSMA-CA and O-QPSK technologies to continue to
                  communicate even in noisy environments. But sometimes it’s just necessary to change
                  channels, and it would be a major hardship to tear down the network and rebuild it on
                  another channel. This is the sort of thing that might happen at a hospital. The wireless

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CH05-H8597.indd 229                                                                                             7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 569 of 763 PageID #:
                                       2351


                  230      Chapter 5

                  networks in a hospital are very carefully managed, and they do not want other wireless
                  channels on the same frequency as their WiFi™ networks. If the WiFi network needed
                  to change channels for some reason, it’s possible the ZigBee network might have to
                  as well.

                  The ZDP Mgmt_NWK_Disc_req command does exactly the same thing that ZDO
                  does locally, when it determines what networks are nearby. It sends out a beacon
                  request and reports the beacons that responded to a higher layer, that can then do
                  something intelligent. In this case, the “higher layer” just happens to be on a remote
                  managing node.


                  5.4.2 Table Management Services
                  ZDP contains services to read the various tables from remote ZigBee nodes. This can be
                  useful in diagnostics during commissioning, or even at run-time. For example, the routing
                  tables of various routers can be checked, and if one node in particular is always full while
                  the other routers are not, perhaps a choke-point has been detected in the network. Another
                  router may be needed in the vicinity.

                  ZigBee Table Management Services in ZDP:
                      ●   Mgmt_Lqi_req—the neighbor table
                      ●   Mgmt_Rtg_req—the routing table
                      ●   Mgmt_Bind_req—the (optional) binding table
                  Notice that there isn’t any way to set these tables directly over ZigBee. Of course, an
                  application specific cluster could be written to do this, but the proper way is to use the
                  various other commands available that populate these tables. The binding table, for
                  instance, is populated or cleared using the ZDP-Bind and ZDP-Unbind commands.

                  These tables can be quite large. To accommodate this, ZigBee allows them to be read
                  from a starting index. For example, to read the entire neighbor table, use Mgmt_Lqi_req
                  with a starting index of 0 to begin. Then, after it returns five or so entries, send another
                  Mgmt_Lqi_req with a starting index of 5. That does mean that the operation is not
                  always atomic, and can look strange if something has changed between the previous
                  request and the next one.

                  The ZDP table requests and responses are listed in Tables 5.16, 5.17, and 5.18.

                  www.n ewn es p res s .c o m




CH05-H8597.indd 230                                                                                              7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 570 of 763 PageID #:
                                       2352



                                      Table 5.16: Management Neighbor Table Request
                      Mgmt_Lqi_req                         Mgmt_Lqi_rsp
                      void ASL_Mgmt_Lqi_req                typedef struct zbNeighborTableList_tag
                      (                                    {
                         zbCounter_t *pSequenceNumber,       zbIeeeAddr_t aExtendedPanId;
                         zbNwkAddr_t aDestAddress,           zbIeeeAddr_t aExtendedAddr;
                         index_t index                       zbNwkAddr_t aNetworkAddr;
                      );                                     uint8_t deviceProperty;
                                                             bool_t permitJoining;
                                                             uint8_t depth;
                                                             uint8_t lqi;
                                                           } zbNeighborTableList_t;
                                                           typedef struct zbMgmtLqiResponse_tag
                                                           {
                                                             zbStatus_t status;
                                                             zbCounter_t neighbourTableEntries;
                                                             zbIndex_t startIndex;
                                                             zbCounter_t neighbourTableListCount;
                                                             zbNeighborTableList_t neighbourTableList[1];
                                                           } zbMgmtLqiResponse_t;




                                      Table 5.17: Management Routing Table Request
                      Mgmt_Rtg_req                           Mgmt_Rtg_rsp
                      void ASL_Mgmt_Rtg _req                 typedef struct routingTableList_tag
                      (                                      {
                         zbCounter_t *pSequenceNumber,         zbNwkAddr_t aDestinationAddress;
                         zbNwkAddr_t aDestAddress,             uint8_t status;
                         index_t index                         zbNwkAddr_t aNextHopAddress;
                      );                                     } routingTableList_t;
                                                             typedef struct
                                                               zbMgmtRtgResponse_tag
                                                             {
                                                               zbStatus_t status;
                                                               zbCounter_t routingTableEntries;
                                                               index_t startIndex;
                                                               zbCounter_t routingTableListCount;
                                                               routingTableList_t routingTableList[1];
                                                             } zbMgmtRtgResponse_t;




                                                                          w w w.new nespress.com




CH05-H8597.indd 231                                                                                         7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 571 of 763 PageID #:
                                       2353


                  232        Chapter 5

                                       Table 5.18: Management Binding Table Request
                      Mgmt_Bind_req                             Mgmt_Bind_rsp
                      void ASL_Mgmt_Bind_req                    typedef struct zbApsmeBindReq_tag {
                      (                                           zbIeeeAddr_t aSrcAddr;
                         zbCounter_t *pSequenceNumber,            zbEndPoint_t srcEndPoint;
                         zbNwkAddr_t aDestAddress,                zbClusterId_t aClusterId;
                         index_t index                            zbAddrMode_t dstAddrMode;
                      );                                          zbIeeeAddr_t aDstAddr;
                                                                  zbEndPoint_t dstEndPoint;
                                                                } zbApsmeBindReq_t;
                                                                typedef struct zbMgmtBindResponse_tag {
                                                                  zbStatus_t status;
                                                                  zbCounter_t bindingTableEntries;
                                                                  zbIndex_t startIndex;
                                                                  zbCounter_t bindingTableListCount;
                                                                  zbApsmeBindEntry_t
                                                                aBindingTableList[1];
                                                                } zbMgmtBindResponse_t;




                  Don’t confuse Mgmt_Bind_req (which retrieves a remote binding table) and Bind_req
                  (which binds a remote node to another node).


                  5.4.3 Informing Other Nodes to Leave the Network
                  One of the other interesting things ZDP can do is to tell other nodes to leave the network.
                  Why would you do this? Sometimes, such as when using the Commissioning Cluster
                  from the ZigBee Cluster Library, a node might be commissioned with certain values on
                  a commissioning network, and then told to go join a different network where it will do
                  its work. Imagine a handheld device that an installer uses to make sure all of the lights,
                  switches, thermostats, etc., are all functioning properly in each hotel room, before moving
                  on to the next. Use Mgmt_leave_req for this purpose.
                  Mgmt_Direct_join_req is not used much. It’s easier to simply use the network rejoin
                  command, available through ZDO.
                  Mgmt_permit_joining_req can be very useful for disabling joining all throughout the
                  network. Typically, this is the last step when commissioning a network. It closes it down
                  to prevent other nodes getting on the network without permission.

                  www.n ewn es p res s .c o m




CH05-H8597.indd 232                                                                                             7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 572 of 763 PageID #:
                                       2354



                                                                            ZigBee, ZDO, and ZDP           233

                  5.5      Starting and Stopping ZigBee with ZDO
                  ZDO is the local-state machine that controls the state of the ZigBee node on and off the
                  network. When a node boots up, it does not necessarily join a network right away. It may
                  go into low-power mode, and wait for a button-press, or some other event that causes the
                  node to decide it needs to network.

                  The Freescale platform uses a function called ZDO_Start() to join a node to the network.
                  ZDO_Start() can start with any of the following options:
                      ●   gStartWithOutNvm_c
                      ●   gStartAssociationRejoinWithNvm_c
                      ●   gStartNwkRejoinWithNvm_c
                      ●   gStartSilentRejoinWithNvm_c

                  Starting without non-volatile memory (NVM) ensures that the node does not use anything
                  it remembers from the last time it was booted and joined a network. Association join
                  (or rejoin) uses the MAC association commands to join the network. Rejoin with NVM
                  rejoins the network using the same PAN and channel selected previously. The node
                  may get a new short address. The silent rejoin is very useful when nodes are reset after
                  a battery change, or after a mains-powered network has reset after a power outage. The
                  nodes do not actually say anything over the air, they simply start up and are capable of
                  routing in a few tens of milliseconds.

                  To leave the network, Freescale uses one of two functions:
                      ●   ZDO_Stop()
                      ●   ZDO_Leave()

                  Stop leaves the network silently. Leave informs the node’s parent so that the parent’s
                  internal tables can be cleaned up.

                  The example in this section, Example 5-4 ZDO, forces a node to leave one network
                  and to rejoin the other. This operation is done fairly frequently in ZigBee network
                  commissioning. A node doesn’t know anything about the network it joins, other than the
                  IEEE address of the parent it joined. Many times a ZigBee node needs to know more
                  before deciding to remain on that network. It may, for example, query the network for a
                  particular service.

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CH05-H8597.indd 233                                                                                              7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 573 of 763 PageID #:
                                       2355


                  234       Chapter 5

                  In this example, the NCB board will attempt to join (randomly) one of the SRB boards.
                  If it does, it will ask the SRB whether it supports the On/Off Cluster. If not, it will leave
                  that network and attempt to join another. It continues doing this until it finds an On/Off
                  Cluster that responds, and in this case, the light turns on.
                  Which of the networks issues the beacon response first is random, so the actual over-the-
                  air capture may vary until the node finds the right parent.


                  5.6      ZDO, ZigBee, and Low Power
                  One of the most interesting aspects of ZigBee is the ability of nodes in a ZigBee
                  network to last, not hours, not days, but for years on battery power. In fact, it’s normal
                  for a sleeping ZigBee device to last the shelf life of a couple of AA batteries (about
                  five to seven years). Consider Figure 5.8. The ZigBee routers (in gray) and the ZigBee
                  Coordinator (in black) are typically mains-powered. The ZigBee End Devices (in white)
                  are ZigBee node types, which can sleep.
                  ZigBee End Devices can sleep, because they do not route. That is why they are called end
                  devices: the route stops here. Notice the end devices in the figure below (for example,
                  node 25) only have one connection to the ZigBee Network: the end-device’s parent. The
                  routers must have at least two connections. In reality, it’s likely that all the routers in
                  this house floor plan can all hear each other, but to simplify the figure, only some of the
                  possible routes are shown.


                                                    33
                      1                 29


                                                         0          43

                      19       22




                      2         63

                                                                    44


                      3               25


                                        Figure 5.8: ZigBee End Devices Do Not Route

                  www.n ewn es p res s .c o m




CH05-H8597.indd 234                                                                                               7/26/2008 2:16:42 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 574 of 763 PageID #:
                                       2356



                                                                             ZigBee, ZDO, and ZDP          235

                  ZigBee is an asynchronous protocol. That is, a node may choose to transmit at any time.
                  This makes sense when you think about how ZigBee is used. A light switch (let’s use
                  node 25 again, for example), can wake up and send a command to turn on the lights any
                  time a user flips the switch. Or a factory automation system might need to send an alarm
                  immediately. That is why routers must be awake all the time and ready to route a message.
                  Within the ZigBee Alliance, work is being done on an all-battery powered network for
                  use in situations where latency doesn’t matter, but eliminating mains-powered devices
                  does, such as in a vineyard, or another agricultural setting. It doesn’t matter if the
                  temperature or moisture content is communicated now, or two minutes later. It would
                  matter if the lights didn’t turn on for two minutes! At the time of this writing, that work
                  has not made it into any official ZigBee specifications.
                  So, let’s go back to the example above. Someone flips a battery-powered ZigBee light
                  switch. The switch causes an interrupt which wakes the CPU, which in turn wakes the
                  radio. Once the system is fully powered (we’re talking approximately a millisecond, here)
                  the ZigBee End Device sends the command to turn the set of lights it controls on or off,
                  and then it goes immediately back to sleep. Immediately is a relative term, so I’ll go into
                  the exact sequence of events with calculations, in a bit.
                  So what happens if you send the end-device a message while it is asleep? How does
                  that end device receive it? That’s where the special parent-child relationship comes in.
                  In a ZigBee network, the parent will actually buffer messages for the sleeping child,
                  delivering them when it wakes up.
                  However, the message is not buffered forever. The MAC generally buffers messages
                  for about seven seconds. Some ZigBee stacks, like Freescale, are limited to this MAC
                  timeout. Others are not. There is one other thing to note. If a given parent has many
                  sleeping children, and many messages to deliver, the messages may time out before they
                  are all delivered to the sleeping children. Generally, sleeping devices should wake up and
                  communicate with some node in the network periodically, if the sleeping node can be
                  configured or is to normally receive packets. Otherwise, just treat the end device as a
                  low-power command, or data initiator. It wakes up when it wants, transmits data, then
                  sleeps again.
                  One common question I get is this, “Can the radio wake the CPU upon receiving a valid
                  ZigBee packet?” The answer is “Yes it can, but it doesn’t make sense for a low-powered
                  system.” If the radio is awake enough to decode a signal, it is awake. That means it is
                  consuming full power, somewhere in the neighborhood of 20–23 mA, which means the
                  batteries won’t last a very long time (days at best).

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CH05-H8597.indd 235                                                                                              7/26/2008 2:16:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 575 of 763 PageID #:
                                       2357


                  236           Chapter 5

                                                Table 5.19: ZigBee Battery Life Calculator
                      Battery capacity (mAh)                        1900         1900 ⫽ 2 AA batteries
                      Supply efficiency (%)                         100%
                      System capacity (mAh)                         1900
                      Tx current (Radio) (mAh)                      34           MC13193
                      Application payload size (bytes)              10           add 18–30 bytes for security
                      Packet frequency(s)                           15
                      Tx duration per packet (ms)                   1.31         With security
                      Tx packets per day                            5760         Calculated from packet frequency
                      PA current (or other Tx on) (mA)              0
                      Rx current (Radio) (mA)                       37           MC13193
                      Rx duration per packet (ms)                   10           Waits for ACK (and msg) from
                                                                                 parent
                      Rx packets per day                            5760
                      LNA current (or other Rx on) (mA)             0
                      Radio sleep current (mA)                      0.002        MC13193 sleep current
                      MCU active current (mA)                       14           HCS08 Stop Mode 3
                      MCU sleep current (mA)                        0.001
                      MCU activity time in addition to radio (%)    20%
                      MCU total activity time                       120%
                      MCU with AtoD on current                      0
                      MCU active time for AtoD per sample (ms)      0
                      Number of samples per day                     0
                      Calculated radio duty cycle                   0.08%
                      Capacity used per day (mAh/day)               1.04
                      Battery life in days                          1828
                      Battery life in years                         5.0


                  Table 5.19 is a battery calculator, and is included in Excel form on-line. As you can see
                  from the calculations, it’s very possible for a ZigBee node to last an entire five years on a
                  pair of AA batteries.
                  Identifying all the power consumers in a system is not always easy. Some are obvious.
                  A power regulator, consuming power to reduce the voltage from 9 volts down to 3, or that

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CH05-H8597.indd 236                                                                                                 7/26/2008 2:16:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 576 of 763 PageID #:
                                       2358



                                                                             ZigBee, ZDO, and ZDP          237




                         Figure 5.9: The Panasonic PAN802154HAR Low-Power ZigBee Board


                  TTL to RS2332 serial chip, or that blazing LED, is easy to figure out. But other power
                  consumers are not so obvious.

                  For example, consider the Freescale HCS08GT60 microcontroller used both in the
                  Freescale system-in-package MC13213, and in the two-chip solution with the MC13193
                  radio. This microcontroller uses the same core as the GB60, a part with significantly
                  more GPIO pins brought out on the package. In the core on the GT60, the one used for
                  the ZigBee nodes, those extra pins which aren’t brought out on the smaller package are
                  floating, and must be initialized to low output to prevent power consumption. If you don’t
                  turn them off, you’ll wonder why your board is not achieving that 1.9 μA low-power sleep
                  that the radio and MCU can.

                  The final example in this chapter is a low-power On/Off Switch. One thing that’s very
                  important to note in the Freescale solution is that it won’t go into deep sleep unless all
                  application timers have been stopped.

                  To run the demo, compile and download the ZcNcbOnOffLight and ZedPanOnOffSwitch.
                  The “PAN” stands for the Panasonic PAN802154HAR. This board, pictured in Figure 5.9,
                  can achieve 2 μA while asleep. Press the button, and the board wakes up, sends a toggle
                  command to the light, and then goes back to sleep.

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CH05-H8597.indd 237                                                                                              7/26/2008 2:16:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 577 of 763 PageID #:
                                       2359


                  238       Chapter 5

                  Alternately, use the Freescale SRB boards. The SRBs, while they are nice development
                  boards, cannot achieve true low power under software control. This isn’t due to the radio
                  and MCU, but because other power consumers on the SRB board, such as the power
                  regulator and USB chip, cannot be shut off.
                  When planning your project, always plan much more time than you think for low power.
                  It seems so simple in concept, but there are always gotchas. One example is that the BDM
                  debugger, used to debug programs in the Freescale environment, doesn’t function once
                  the MCU goes into low power. Low power is always more difficult than you think.


                        ZigBee provides no low power API. The API is always vendor-specific.

                        ZigBee End-Devices are the only nodes in a ZigBee network that achieve long battery life.




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CH05-H8597.indd 238                                                                                                 7/26/2008 2:16:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 578 of 763 PageID #:
                                       2360




                                                                                               CHAPTER 6

                                                     The ZigBee Cluster Library


                  The ZigBee Cluster Library was the brainchild of Phil Jamieson, chairman of the
                  Application Framework Group. The library, like the ANSI C library, is a set of useful
                  functions from which to build ZigBee applications and profiles.
                  The ZigBee Cluster Library is released under its own specification, separate from
                  the ZigBee specification. See http://www.zigbee.org to download a copy of the ZCL
                  specification. All ZigBee Alliance Public Profiles use the ZigBee Cluster Library, but
                  private profiles may choose to use it or not.
                  Before describing how to develop applications using the ZigBee Cluster Library, let me tell
                  you the real, untold story of the origin of the ZigBee name. Not many have heard this tale.
                      On June 21, 1860, the Army of the United States of America adopted a system of visual
                      communications called “wigwag,” and in the process created a separate, trained
                      professional military service: the Signal Corps.
                      The inventor, Albert James Myer, first tested his visual signaling system in active service
                      during the 1860–1861 Navajo expedition to New Mexico. Using flags for daytime signaling
                      and a torch at night, wigwag was used in active combat during the Civil War on June 1861,
                      to direct the fire of a harbor battery against the Confederate positions at Fort Calhoun.
                      By 1879, the electric telegraph, in addition to visual signaling, had become a Signal Corps
                      responsibility. The Signal Corps constructed, maintained, and operated some 4,000 miles
                      of telegraph lines along the country’s western frontier.
                      In the late 1930s, during World War II, Company B of the Signal Corp, part of the 49th
                      Signal Heavy Construction Battalion, was selected for a very important assignment: the
                      installation of a large communication system for the Navy under Admiral Nimitz and the
                      20th Air Force under the command of General Spaatz, on the island of Guam.
                      Guam was to become the coordination point for all air and sea communications in the
                      Central Pacific during the war, due in part to this highly reliable wireless system.


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CH06-H8597.indd 239                                                                                                 7/26/2008 2:37:10 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 579 of 763 PageID #:
                                       2361


                  240         Chapter 6


                      ZigBee Cluster Library                                   ZigBee Public Profiles

                         General
                         General        Lighting
                                        Lighting                                     Home
                                                                                      Home              Commercial
                                                                                                        Commercial
                                                                                     Automation
                                                                                      Automation        Building
                                                                                                        Building
                             HVAC
                             HVAC               Sensors
                                                Sensors                                                 Automation
                                                                                                        Automation
                                   Industrial
                                   Industrial       Security
                                                    Security                                Automatic
                                                                                            Automatic          Telecom
                                                                                                               Telecom
                                                                                            Meter
                                                                                            MeterInitiative
                                                                                                  Initiative   Applications
                                                                                                               Applications




                      ZigBee cluster library specifies functional domains      ZigBee profiles specifiy application domains
                      Each specification specifies the cluster sets for that   Each profile collects related elements from
                      functional domain                                        the cluster library into application domains
                      Each specification defines mandatory and optional        Each profile defines device descriptions for
                      clusters, attributes, commands, and functional           each required device
                      descriptions
                                                                               Each profile specifies the cluster identifiers
                      Explicit device descriptions are not defined             for each cluster used from the cluster library

                                                   Figure 6.1: The ZigBee Cluster Library

                       Signal Corp Company B, or SigB (ZigBee) as it was called colloquially became famous
                       for providing wireless communications that simply worked. The Signal Corp is still in
                       operation today.

                  The ZigBee Cluster Library (ZCL) shown in Figure 6.1, is nothing more than a set of
                  clusters and cross-cluster commands used in the public profiles produced by the ZigBee
                  Alliance to speed the development and standardization of the public profiles. Some of those
                  clusters are general purpose and enhance the functionality of the ZigBee specification. An
                  example of this would be the Groups Cluster (cluster ID 0x0004), which includes the ability
                  to add and remove groups over-the-air (whereas the APS group commands are for local
                  in-node access only). Other clusters are general purpose to many applications, such as the
                  On/Off Cluster (cluster ID 0x0006) which can turn on or off … well, just about anything.
                  The ZigBee Cluster Library is organized into functional domains, such as General,
                  Closures, HVAC, and Lighting. Clusters from these functional domains are used in the
                  ZigBee Public Profiles to produce descriptions of devices, such as a dimming light, a
                  dimmer switch, or a thermostat. Each Public Profile may also define its own specialized
                  clusters, such as the Automatic Metering (later renamed to Smart Energy) Price Cluster.
                  Is ZCL required? If you are making a public profile device, such as a power meter
                  intended to be compatible with the Automatic Metering profile, or a thermostat intended

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CH06-H8597.indd 240                                                                                                             7/26/2008 2:37:10 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 580 of 763 PageID #:
                                       2362



                                                                                  The ZigBee Cluster Library     241

                           ZCL: Cross Profile Clusters                Residential Devices
                                  General cluster for basic              Light Source         Occupancy Sensor
                                  manipulation and common tasks
                                                                        General                General
                                  Mandatory clusters for                Load Control           Basic OS ctrl
                                  fundamental functionality
                                                                        OccSensor ctrl         PropExtCluster2
                                  Optional clusters for enhanced        PropExtCluster1
                                  functionality

                                  Proprietary extensions can be       Commercial Devices
                                  added by individual manufacturers
                                                                         Ballast Unit         Occupancy Sensor

                                                                        General                General

                                                                        Load Control           Basic OS ctrl

                                                                        OccSensor ctrl         Adv. OS ctrl
                                                                                          s
                                                                        LightSensor ctrl       PropExtCluster2

                                                                        Ballast Control
                                                                        PropExtCluster1


                                      Figure 6.2: Clusters Extend Device Functionality

                  to be compatible with the Home Automation or Commercial Building Automation Profile,
                  then the answer is “Yes.” That’s what public profiles are all about: interoperability. With
                  private Application Profiles, however, ZCL is not mandatory. Many private application
                  profiles do not use the ZigBee Cluster Library at all, or only use a few clusters from the
                  library (see Figure 6.2).
                  The public profiles which use the ZigBee Cluster Library organize the use of clusters into
                  three categories:
                      ●   Clusters which are mandatory for all devices within the profile
                      ●   Clusters which are mandatory for a particular device within the profile
                      ●   Clusters which are optional for a particular device within the profile
                  The ZigBee Cluster Library also allows devices to be extended by manufacturer-specific
                  extensions, allowing manufacturers to produce value-added features available only to
                  their brand.
                  Think of a light. In the simplest case, it can support the ability to turn on or off (wirelessly
                  of course). Perhaps that same light fixture may be sold in both residential and commercial

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CH06-H8597.indd 241                                                                                                    7/26/2008 2:37:10 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 581 of 763 PageID #:
                                       2363


                  242       Chapter 6

                  (or high-end residential) markets where the ability to sense ambient light in order to
                  adjust the brightness is important. In this case, the device could support both the simple
                  residential and the more complex commercial profile on two separate endpoints, allowing
                  the manufacturer to save money on development and production costs by creating one
                  part instead of two. Both profiles use the same On/Off Cluster (0x0006). But only the
                  commercial profile would support the Illuminance Level Sensing Cluster (0x0401).

                  The clusters in the ZigBee Cluster Library incorporate the concept of a client, who
                  initiates the transaction, and the server, who performs the work. For example, a light
                  switch (the client) initiates the transaction when someone taps the light switch. One
                  or more lights (the server) complete the transaction by turning on or off and perhaps
                  reporting the status change to some monitoring device(s).

                  From the perspective of the endpoint’s simple descriptor, the client side lists the cluster
                  ID as an output cluster, and the server side lists the same cluster ID as an input cluster.

                  Figure 6.3 shows a small network with five nodes, including two lights and two switches,
                  plus a configuration tool. This figure is found in the ZigBee Cluster Library specification,
                  labeled there as “Figure 3.2.” Notice the client (output) side of a cluster talks to the server
                  (input) side of the cluster—the output from the switch becomes the input on the light.
                  Notice also that the same Cluster ID (and code) can be used for different device types.
                  Both the On/Off Switch and Dimmer Switch use an On/Off Cluster (cluster ID 0x0006) to
                  control the remote light. But only the dimmable light supports the Level Control Cluster.


                                 Configuration Tool                   On/Off Switch                     On/Off Light

                                                                                      On/Off Cluster
                                                        Switch                                         S
                                                      Configuration
                                                                                 C
                                                        Cluster
                                               C                      S


                            C     ⫽ Client
                                                                      Dimmer Switch                    Dimmable Light
                             S    ⫽ Server
                                                                                      On/Off Cluster
                                  ⫽ Over-the-air                                 C                     S
                                    communication
                                                                      S          C                     S
                                                                                      Level Control
                                                                                         Cluster

                                 Figure 6.3: Clusters Contain Client and Server Components

                  www.n ewn es p res s .c o m




CH06-H8597.indd 242                                                                                                     7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 582 of 763 PageID #:
                                       2364



                                                                               The ZigBee Cluster Library           243

                  The configuration tool in this figure is able to configure both types of switches. In a
                  home, an on/off light switch sometimes controls a single set of lights, such as porch
                  lights. A switch can also be used as a toggle, also called a three-way switch, where two or
                  more switches control the same set of lights (common in kitchens and hallways). ZigBee
                  ensures that the same physical device (the HA On/Off Switch) can be configured to
                  accomplish either configuration in a simple compatible way, over-the-air. This allows the
                  installer or home owner to adjust a system to personal preferences. The interface for the
                  installer could be as simple as a drag-and-drop application on your PC.
                  The ZigBee Cluster Library describes each cluster in detail, so independent vendors can
                  create compatible products that interoperate. It doesn’t matter whether the light switch
                  or lights come from Philips or Schneider Electric, or whether a thermostat comes from
                  Siemens, Honeywell, Trane, or Johnson Controls. They all work together. A certification
                  process ensures that vendors adhere to the standard described by the ZigBee Cluster
                  Library and the Application Profile.
                  In this chapter, I’ll describe the ZigBee Cluster Library in detail, starting with the ZCL
                  foundation, a set of cross-cluster commands that can read and write what are called
                  attributes.
                  Next I’ll describe the ZCL general clusters, a common set of useful clusters across all
                  public profiles. Then I’ll describe some details of the current ZigBee public profiles,
                  including Home Automation and Automatic Metering (also called ZigBee Smart Energy).
                  Finally, I’ll describe when to use and when not to use ZCL in private profiles, and
                  provide some examples of extending ZCL with your own clusters and attributes.
                  There is just not enough room in this chapter to describe every single cluster in the ZigBee
                  Cluster Library. Instead, I’ll focus on the general concepts and give examples using a few
                  of the clusters and profiles. I leave examining the details of every cluster to you. It’s all
                  available in the ZigBee Cluster Library specification, available at http://www.zigbee.org.


                          The ZigBee Cluster Library is a set of common clusters for use in application profiles.
                          ZCL ensures interoperable products from the application level.



                  6.1 ZCL Foundation
                  The ZigBee Cluster Library introduces the concept of attributes and commands to the
                  ZigBee specification.

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CH06-H8597.indd 243                                                                                                       7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 583 of 763 PageID #:
                                       2365


                  244      Chapter 6

                  Attributes are data items or states defined within a cluster. Commands are actions the
                  cluster must perform. For example, a Home Automation On/Off Light uses the On/Off
                  Cluster, cluster ID 0x0006. An attribute of the On/Off Cluster indicates whether the light
                  is on (0x01) or off (0x00). However there are also commands which turn the light on
                  (0x01), off (0x00), or toggle it (0x02), which affect the state of the OnOff attribute.
                  Here’s another way to look at it if you’ve ever done object-oriented programming.
                  A cluster in the ZigBee Cluster Library is an object, containing both methods (commands)
                  and data (attributes). These objects do not support inheritance, however. They are simply
                  stand-alone objects that device may use or not, as specified by the particular Application
                  Profile. A single endpoint on a device may support any number of clusters, up to 64 K,
                  though in practice a device usually supports a handful, or at most a dozen. A single
                  cluster on an endpoint may support up to 64 K attributes and 256 commands.
                  Attributes may be read from, written to, and reported over-the-air with standard, cross-
                  cluster ZCL commands. These cross-cluster commands are called the ZCL foundation.
                  Table 6.1 lists the ZCL cross-cluster commands. These commands work across any
                  cluster in the ZCL. For example, the “read attributes” cross-cluster command can read
                  the attributes from the On/Off Cluster (cluster ID 0x0006) and the Level Control Cluster
                  (cluster ID 0x0008). Nearly all these commands (with the exception of the default
                  response) deal with attributes: reading, writing, and reporting them.
                  This mechanism is very powerful. A third-party device, perhaps a gateway widget, one
                  with a ZigBee Dongle and a fancy PC program that runs on your computer or television,
                  can show the entire state of the network in a nice, graphical way to the home owner, or
                  the hotel owner, or the 70-story office building management system.
                  Notice that while any given command is optional, the responses are not. This makes
                  sense if you think about it. A given endpoint may or may not need to ask another endpoint
                  the state of its attributes. But all applications must allow others to query their attribute
                  state. Notice that I used the term endpoint, not node. It’s possible for a single node to
                  contain endpoints that use the ZigBee Cluster Library, and to have other endpoints on a
                  private profile that don’t. Only those endpoints that support the ZigBee Cluster Library
                  support the ZCL foundation commands.
                  The read attributes command can read one or more attributes (as many as will fit into
                  a single payload, which depends on the size of the attributes). The write attributes
                  command also can write one or more attributes. Configure reporting essentially
                  configures another node to report one or more attributes, just as if those attributes

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CH06-H8597.indd 244                                                                                              7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 584 of 763 PageID #:
                                       2366



                                                                          The ZigBee Cluster Library        245

                                   Table 6.1: ZCL Cross-Cluster Commands (Foundation)
                       Cmd Id         Command Name                    M/O       Description
                       0x00           Read attributes                 O         Read one or more
                                                                                attributes
                       0x01           Read attributes response        M         Return value of one or
                                                                                more attributes
                       0x02           Write attributes                O         Write one or more
                                                                                attributes
                       0x03           Write attributes undivided      O         Write one or more
                                                                                attributes as a set
                       0x04           Write attributes response       M         Return success status of
                                                                                write attributes
                       0x05           Write attributes no response    M         Write one or more
                                                                                attributes, no response
                       0x06           Configure reporting             O         Configure attributes for
                                                                                reporting
                       0x07           Configure reporting response    M         Status of configure
                                                                                attributes
                       0x08           Read reporting configuration    O         Read current reporting
                                                                                configuration
                       0x09           Read reporting configuration    M         Return current reporting
                                      response                                  configuration
                       0x0a           Report attributes               O         Attribute report, depends
                                                                                on configuration
                       0x0b           Default response                M         Unsupported command
                                                                                response
                       0x0c           Discover attributes             O         Determine supported
                                                                                attributes on remote node
                       0x0d           Discover attributes response    M         Results of discover
                                                                                attributes command
                       0x0e–0xff      Reserved                                  For future use by ZCL

                  were read using read attributes, but they report on conditions (changing values or
                  time-based). Discover attributes allow a node to discover the attributes on another node,
                  which is useful when some of the attributes are optional for a given device.
                  To understand attributes, consider a light switch and a light. A very simple switch may not
                  care if the light is on or off. It simply sends the command to turn the light on or off, and
                  given the high reliability of ZigBee, assumes the best. This is how normal wired systems

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CH06-H8597.indd 245                                                                                               7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 585 of 763 PageID #:
                                       2367


                  246         Chapter 6

                  work. The user is the only one who knows if the light actually goes on. If it doesn’t, the
                  user determines whether to change the light bulb or call the electrician. ZigBee does not
                  require a switch to be smart, so having a “dumb” wireless switch is perfectly acceptable.
                  A smarter switch could use the ZCL cross-cluster commands to determine whether
                  the light actually turned on, and if not, to do something about it. Perhaps the response
                  should be to proceed through a diagnostic cycle to determine whether the problem was
                  a burned-out light bulb, a loss of communication, or a hardware failure. ZigBee allows
                  the manufacturer to make the decision on how smart to make the light switch. But since
                  every ZigBee light supports the common set of attributes and ZCL foundation commands,
                  systems can become smarter without changing the existing devices.
                  ZCL allows for both “push” and “pull” methods (report attribute and read attribute methods),
                  for determining the state of any given cluster’s attributes. Take a look at Figure 6.4.
                  In the “push” method, the devices themselves send reports when the attribute changes. The
                  report can be configured to be time-based, change-in-value-based, or both. For example, an
                  on/off light could be configured to report every time the light changes state (on or off).
                  A temperature sensor could be configured to report once every minute, or if the temperature


                          A                                B             A                              B


                                   Configure Reporting                            Read Attributes

                                                                             Read Attributes Response
                                 Configure Reporting Rsp



                                                                                  Read Attributes
                                    Report Attributes
                                                                             Read Attributes Response


                                    Report Attributes
                                                                                  Read Attributes

                                    Report Attributes                        Read Attributes Response




                                    “Push” method                                 “Pull” method
                                   Attribute reporting                           Attribute reading

                                          Figure 6.4: Attribute Reporting and Reading

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CH06-H8597.indd 246                                                                                              7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 586 of 763 PageID #:
                                       2368



                                                                          The ZigBee Cluster Library        247

                  raises or lowers by five degrees, whichever comes first. A settable minimum reporting interval
                  ensures that if the temperature flutters between two values, a report isn’t sent too often.
                  In the “pull” method, the device that needs the information asks the other devices for their
                  current values. For example, when someone picks up the TV remote control, the current
                  outside temperature could be read from the external temperature sensor, and reported on
                  the remote’s display or the television screen. A Home Automation management system
                  could ask each node for the manufacturer information and display a systemwide view
                  each time a PC application starts up.
                  The example in this section, Example 6-1 Reading Attributes, shows how to use both
                  “push” and “pull” methods for reading attributes. The example uses three nodes: one
                  ZcNcbOnOffLight and two ZedSrbOnOffSwitches. The on/off light switch A will use the
                  “push” method. It will configure the light to report to it every time the light changes state.
                  The second on/off light switch (switch B) will use the “pull” method and ask for the state
                  of the light any time the user wants (see Figure 6.5).
                  The example source code can be found in “Chapter06\Example 6-1 Reading Attributes”
                  at http://www.zigbookexamples.com. To program the example into Freescale boards
                  create a solution with three projects:
                      ●   A ZigBee Coordinator, NCB Board, HA On/Off Light
                      ●   Two ZigBee End-Devices, SRB Board, HA On/Off Switch with RxOnIdle=TRUE




                                     Switch A configures the          Switch B queries the light
                                     light for attribute reporting    each time for its attribute


                                        Figure 6.5: Example 6-1 Reading Attributes

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CH06-H8597.indd 247                                                                                                7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 587 of 763 PageID #:
                                       2369


                  248       Chapter 6

                  Export the solution, copy the SwitchA_BeeApp.c and SwitchB_BeeApp.c source code to
                  the respective SRB projects under the name BeeApp.c. To run the example, perform the
                  following procedures:

                         1. Boot all three boards (in any order).
                         2. Press SW1 on all boards (in any order) to form the three-node network.
                            I pressed SW1 on the On/Off Switch A first, so it obtained the address
                            0x796f, with On/Off Switch B being 0x7970.
                         3. Press SW3 on the light and on switch A, to bind them.
                         4. Press SW3 on the light and on switch B, to bind them as well. Now both
                            switches are bound to the light. Either one may toggle the light.
                         5. Press long SW1 (LSW1) to go to Application Mode on all three boards.
                         6. Press SW1 on light switch A. Notice that the light toggles (LED2 on the NCB
                            board).
                         7. Press SW1 on light switch B. Notice that the light also toggles. This is called a
                            three-way switch. Either switch toggles the light.
                         8. Now, press SW2 on light switch A, to instruct the node to configure the light for
                            reporting the on/off attribute.
                         9. Now, press SW1 on either switch. Notice that on/off light switch A mirrors the
                            state of the light with its own LED2, regardless of which switch toggles the light.
                        10. Now, press SW2 on on/off switch B. This will obtain the on/off attribute from
                            the light and display it on LED2, but only at that moment in time. It does not
                            continuously read the state of the on/off attribute in the light.

                  Below is the packet that is sent to configure the light to report to node 0x796f (On/Off
                  Switch A):

                  IEEE 802.15.4
                  ZigBee NWK
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x40


                  www.n ewn es p res s .c o m




CH06-H8597.indd 248                                                                                               7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 588 of 763 PageID #:
                                       2370



                                                                        The ZigBee Cluster Library       249

                  ZigBee ZCL
                    Frame Control: 0x00
                    Transaction Sequence Number: 0x44
                    Command Identifier: Configure Reporting (0x06)
                      Configure Reporting Frame
                        Reporting Configuration List
                          Reporting Configuration 1
                          Attribute Identifier: OnOff (0x0000)
                          Direction: Server to Client to configure reporting (0x00)
                          Minimum Reporting Interval: None (0)
                          Maximum Reporting Interval: None (0)

                  This command sets the light to report only when it changes. It is not time-based. To add
                  in a time base, set the minimum and maximum reporting interval to some number of
                  seconds. To turn off reporting, set the maximum reporting interval to 0xffff. The report
                  goes to any nodes that are bound on that endpoint in the light. This may be a single node,
                  a set of individual nodes, or a group of nodes.
                  Now that the switch is configured, every time the light is toggled (from either light
                  switch) the information is sent to On/Off Switch A, as seen below. From this decode,
                  we can see that the toggle command turned the light on. If the light had turned off, the
                  Attribute Data field would indicate 0x00 (Off):
                  Seq
                  No MACSrc MACDst NWKSrc NWKDst Protocol Packet Type
                  ------------------------------------------------------------------
                  182 0x7970 0x0000 0x7970 0x0000 ZigBee       APS HA:On/off:Toggle
                  186 0x0000 0x796f 0x0000 0x796f ZigBee       APS HA:On/off:Read
                                                               Attribute Response

                  The below packet is the details of the Attribute Response:
                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0x796f
                    Source Address: 0x0000
                    Radius ⫽ 30
                    Sequence Number ⫽ 133
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0xb7


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CH06-H8597.indd 249                                                                                            7/26/2008 2:37:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 589 of 763 PageID #:
                                       2371


                  250      Chapter 6

                  ZigBee ZCL
                    Frame Control: 0x08
                    Transaction Sequence Number: 0x43
                    Command Identifier: Read Attribute Response (0x01)
                    Read Attribute Response Frame
                      Read Attributes Status List
                        Read Attributes Status 1
                          Attribute Identifier: OnOff (0x0000)
                          Status: Success (0x00)
                          Attribute Data Type: Boolean (0x10)
                          Attribute Data: On (0x01)

                  Now take a look at what happens with switch B. It doesn’t require the initial configure
                  reporting setup, but each time it needs the state of the light, it must read the attribute
                  explicitly, as shown below:
                  Seq
                  No   MACSrc MACDst NWKSrc NWKDst Protocol Packet Type
                  --------------------------------------------------------------------
                  192 0x7970 0x0000 0x7970 0x0000 ZigBee APS HA:On/off:Toggle
                  194 0x0000 0x7970 0x0000 0x7970 ZigBee APS HA:On/off:Read
                                                                   Attribute
                  196 0x0000 0x7970 0x0000 0x7970 ZigBee APS HA:On/off:Read
                                                                   Attribute Response

                  Configuring an attribute for reporting and or for reading are fairly similar procedures.
                  In the Freescale solution, they are calls to ZCL_ConfigureReportingReq() and
                  ZCL_ReadAttributeReq(). Some attributes may also be written to, which is
                  accomplished in a similar manner using ZCL_WriteAttrReq().
                  Note that, in general, attributes which represent the state of some physical object (such as
                  a light), or sense the state of the physical world (such as a temperature), cannot be written
                  to. To cause an effect, a command must be used instead, such as the OnOff command
                  used to toggle a light. The kinds of attributes normally written to in ZCL are things like
                  textual descriptions of the node or location (e.g., Kitchen). An example will be shown in
                  the next section of writing to an attribute in the Identify Cluster.
                  The ZCL specification clearly indicates which attributes in any given cluster may be
                  read, written to, or reported. For example, the OnOff attribute of the OnOff Cluster may
                  be read and reported, but not written to, as shown in the excerpt from the ZigBee Cluster
                  Library Specification (see Table 6.2).
                  This cluster shall support attribute reporting using the Report Attributes command and
                  according to the minimum and maximum reporting interval settings described in the ZCL
                  Foundation specification (Section 2.4.7). The following attribute shall be reported: OnOff.

                  www.n ewn es p res s .c o m




CH06-H8597.indd 250                                                                                               7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 590 of 763 PageID #:
                                       2372



                                                                            The ZigBee Cluster Library         251

                                     Table 6.2: Attributes of the On/Off Server Cluster
                        Identifier   Name     Type        Range         Access        Default     Mandatory/
                                                                                                  Optional
                        0x0000       OnOff    Boolean     0x00-0x01     Read only     0x00        M



                                     Attributes in ZCL are data items defined within a cluster.
                                     Commands in ZCL cause action for the cluster to perform.



                  6.2      ZCL General Clusters
                  There are a set of ZCL clusters called the “general” clusters, named so because they
                  are so useful they are generally found in every ZigBee public application profile. These
                  clusters include the data shown in Table 6.3.
                  The Basic and Power clusters are found in every device. The Identify, Groups, and Scenes
                  clusters are used to commission the network, and are found in most devices. Device
                  Temperature Configuration, On/Off, On/Off Switch Configuration, Level Control, and
                  Alarms are used in some devices (but definitely not all). Time is used in a network that is
                  time-aware, and RSSI is used in a network that is location-aware.
                  There has actually been a lot of work on using 802.15.4 RSSI to locate nodes
                  (approximately) in a network. Motorola even has some patents in this area that are used
                  in the ZigBee solution from Texas Instruments. I saw a demonstration of this in Milan,
                  Italy, at the ZigBee Open House, but the located item was often located in the “wrong”
                  place. Still, it did provide some useful information. The nice thing about the RSSI cluster
                  is that it permits any method for producing the location information, independently of
                  communicating it. Expect to see interesting developments in location-based services.
                  As you read the ZCL specification, you’ll notice a table listing attribute sets for each
                  cluster. This often confuses people. What are attribute sets, and how do they differ from
                  attribute IDS?
                  An Attribute ID is the 16-bit number (from 0x0000 up to 0xffff) that defines each
                  attribute in a given cluster. Attributes IDs are always numbered, starting at 0x0000 for
                  every cluster in ZCL. For example, the Basic Cluster (cluster ID 0x0000) attribute ID
                  0x0000 is the ZCL Version attribute. The On/Off Cluster (cluster ID 0x0006) attribute ID
                  0x0000 is the OnOff state attribute. Attribute IDs only have meaning within the cluster.

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CH06-H8597.indd 251                                                                                                  7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 591 of 763 PageID #:
                                       2373


                  252          Chapter 6

                                                   Table 6.3: ZCL General Clusters
                      Cluster ID   Cluster Name     Description
                      0x0000       Basic            Attributes for determining basic information about a device, setting
                                                    user device information such as location, and enabling a device
                      0x0001       Power            Configuration Attributes for determining more detailed
                                                    information about a device’s power source(s), and for configuring
                                                    under/over voltage alarms
                      0x0002       Device           Attributes for determining information about a device’s internal
                                   Temperature      temperature, and for configuring under/over temperature alarms
                                   Configuration
                      0x0003       Identify         Attributes and commands for putting a device into Identification
                                                    Mode (e.g., flashing a light)
                      0x0004       Groups           Attributes and commands for group configuration and
                                                    manipulation
                      0x0005       Scenes           Attributes and commands for scene configuration and manipulation
                      0x0006       On/Off           Attributes and commands for switching devices between “On” and
                                                    “Off” states
                      0x0007       On/Off Switch    Attributes and commands for configuring On/Off
                                   Configuration
                      0x0008       Level Control    Attributes and commands for controlling devices that can be set
                                                    to a level between fully “On” and fully “Off ”
                      0x0009       Alarms           Attributes and commands for sending notifications and
                                                    configuring alarm functionality
                      0x000a       Time             Attributes and commands that provide a basic interface to a real-
                                                    time clock
                      0x000b       RSSI             Location Attributes and commands that provide a means for
                                                    exchanging location information and channel parameters among
                                                    devices



                  Attribute sets are simply the organization of attribute IDs in the ZCL document. Over-the-
                  air there is only the attribute ID (not sets), and ZigBee stacks interact with attributes using
                  the 16-bit attribute ID. Another way to look at attribute sets is that they are the top 12 bits
                  of the 16-bit attribute ID. For example, the attributes in the Basic Cluster are organized as
                  shown in Table 6.4.
                  The attribute sets are organized so attribute IDs 0x0000 through 0x000f are the device’s
                  information (read only), whereas attribute ID’s 0x0010 through 0x001f are settable (read/
                  write) parameters.

                  www.n ewn es p res s .c o m




CH06-H8597.indd 252                                                                                                        7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 592 of 763 PageID #:
                                       2374



                                                                                     The ZigBee Cluster Library      253

                                                          Table 6.4: Attribute Sets
                                            Attribute Set Identifier        Description
                                            0x000                           Basic Device Information
                                            0x001                           Basic Device Settings


                                                      Table 6.5: Basic Cluster Attributes
                      Identifier   Name                     Type            Range         Access    Default   Mandatory/
                                                                                                              Optional
                      0x0000       ZCL Version              Unsigned        0x00–0xff Read          0x00      M
                                                            8-bit integer             only
                      0x0001       Application Version      Unsigned        0x00–0xff Read          0x00      O
                                                            8-bit integer             only
                      0x0002       Stack Version            Unsigned        0x00–0xff Read          0x00      O
                                                            8-bit integer             only
                      0x0003       HW Version               Unsigned        0x00–0xff Read          0x00      O
                                                            8-bit integer             only
                      0x0004       Manufacturer Name        Character       0 – 32        Read      Empty     O
                                                            string          bytes         only      String
                      0x0005       Model Identifier         Character       0 – 32        Read      Empty     O
                                                            string          bytes         only      string
                      0x0006       Date Code                Character       0 – 16        Read      Empty     O
                                                            string          bytes         only      string
                      0x0007       Power Source             8-bit           0x00–0xff Read          0x00      M
                                                            Enumeration               only
                      0x0010       Location Description     Character       0 – 16        Read/     Empty     O
                                                            string          bytes         write     string
                      0x0011       Physical Environment 8-bit               0x00–0xff Read/         0x00      O
                                                        Enumeration                   write
                      0x0012       Device Enabled           Boolean         0x00–0x01 Read/         0x01      M
                                                                                      write
                      0x0013       Alarm Mask               8-bit Bitmap    000000xx Read/          0x00      O
                                                                                     write


                  The Basic Cluster (cluster ID 0x0001) is present in every device that supports the ZigBee
                  Cluster Library. This cluster contains a set of attributes that defines common information
                  and device settings, such as ZCL version, hardware and software version, manufacturer
                  ID, and location. Table 6.5 shows the complete list of attribute IDs in the Basic Cluster.

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CH06-H8597.indd 253                                                                                                        7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 593 of 763 PageID #:
                                       2375


                  254       Chapter 6

                                             Table 6.6: Basic Cluster Commands
                                Command Identifier        Description                   Mandatory/
                                                                                        Optional
                                0x00                      Reset to Factory Defaults     O


                  Not all of the attributes for the Basic cluster are mandatory. Some attributes are optional, like
                  the manufacturer name or model identifier, as seen in the final column of Table 6.5. If your
                  application uses the ZigBee Cluster Library, I recommend that all the fields be included, as it
                  allows others (or even your own products) to query this information over-the-air.
                  Although it has many attributes, the Basic cluster only has a single command: Reset to
                  Factory Defaults (see Table 6.6). This command is optional, but again it is a good idea to
                  support it if you are making a ZCL device. If there is trouble in the network and a device
                  is behaving erratically, a reset can cure the problem. You’ve probably done this with your
                  wireless modem, or even desktop computer.
                  The Basic cluster reset command does not reset the ZigBee settings, such as to which
                  network the node is connected, to what groups it belongs, or the local bindings. It only
                  resets the attributes to factory defaults. To reset the rest of the device to pure factory
                  settings the commissioning cluster must be used. I’ll say more on that in Chapter 8,
                  “Commissioning ZigBee Networks.”
                  The ZCL rule for clusters is that attributes represent data, and commands cause action.
                  There are a few exceptions to this (notably in the Identify cluster), but it is the general
                  rule. So don’t try to write to the on/off attribute to turn a light on or off. Instead, use the
                  on, off, or toggle command for that cluster. The attribute will turn on or off, accordingly.
                  Attributes in the Freescale solution are read to or written from using a set of cross-
                  cluster functions. The parameters to these commands mirror the ZigBee Cluster Library
                  Specification. The code snippet below shows the ZCL_ReadAttribute() command. Its
                  first parameter is the usual afAddrInfo, which specifies source and destination endpoint,
                  destination node, and all the usual APS data request parameters. For a full explanation of
                  data requests, see Chapter 4, “ZigBee Applications.” The next two parameters are merely
                  a list of attribute IDs (count and array). Notice that more than one attribute can be read at
                  one time. Feel free to read attributes 0x0000, 0x0005, and 0x0013 all in one call:
                  //[R2] 7.1.1 Read attributes command frame format
                  typedef struct zclCmdReadAttr_tag
                  {
                    zclAttrId_t aAttr[3]; //variable length array of attributes


                  www.n ewn es p res s .c o m




CH06-H8597.indd 254                                                                                                   7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 594 of 763 PageID #:
                                       2376



                                                                        The ZigBee Cluster Library         255

                  } zclCmdReadAttr_t;
                  typedef struct zclReadAttrReq_tag
                  {
                    afAddrInfo_t addrInfo; //IN: dst address, cluster, etc…
                    uint8_t count; //IN: how many attrs to read?
                    zclCmdReadAttr_t cmdFrame; //IN: list of attrs
                  } zclReadAttrReq_t;
                  zclStatus_t ZCL_ReadAttrReq
                    (
                    zclReadAttrReq_t *pReq
                    );

                  The results of the ZCL_ReadAttrReq(), the Read Attribute Response, is returned to
                  the application through the ZCL response handler that was initially registered via the
                  ZCL_Register() command:
                  void ZCL_Register
                    (
                    /* IN: pointer to a response handler function */
                    fnZclResponseHandler_t fnResponseHandler
                    )

                  Commands depend on the cluster. For example, the command shown below will turn a
                  light (or another on/off device) on, off, or toggle it:
                  typedef   zclCmd_t zclOnOffCmd_t;
                  #define   gZclCmdOnOff_Off_c      0x00 /* M-turn device off */
                  #define   gZclCmdOnOff_On_c       0x01 /* M-turn device on */
                  #define   gZclCmdOnOff_Toggle_c   0x02 /* M-toggle device */
                  typedef struct zclOnOffReq_tag
                  {
                    afAddrInfo_t addrInfo; //IN: dst address, cluster, etc…
                    zclOnOffCmd_t command; //IN: on, off or toggle
                  } zclOnOffReq_t;
                  zbStatus_t ASL_ZclOnOffReq
                  (
                      zclOnOffReq_t *pReq
                  );

                  From a programming standpoint, the ZigBee Cluster Library is really just an add-on
                  to what you’ve learned already in Chapter 4 about endpoints, profile IDs, and cluster
                  IDs. In fact, in the Freescale solution, it truly is just an add-on in the form of a
                  number of functions to call for ZCL requests, and a function call inside the APSDE-
                  DATA.indication to handle the ZCL responses. If the incoming message is for an
                  endpoint which supports ZCL, the call is handled automatically: reading attributes,

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CH06-H8597.indd 255                                                                                              7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 595 of 763 PageID #:
                                       2377


                  256      Chapter 6

                  writing attributes, and reporting attributes. If the ZCL cluster supports commands,
                  those are also handled automatically. Take a look at a sample Freescale BeeStack data
                  indication below:
                  void BeeAppDataIndication(void)
                  {
                    //call ZCL to handle the cluster
                    status=ZCL_InterpretFrame(pIndication);
                    if(status !=gZbSuccess_c)
                    {
                      //cluster not handled by ZCL. Handle it by the application…
                    }
                  }

                  Notice that all the application has to do is pass the indication to ZCL_InterpretFrame(),
                  and all the ZCL work is done. If a particular ZCL command causes something like a light
                  to turn on or off, the application is notified through the BeeAppUpdateDevice() function
                  with the particular event, such as turning on the light, going into Identify Mode, and so on:
                  void BeeAppUpdateDevice
                    (
                    zbEndPoint_t endPoint, /* IN: endpoint update happened on */
                    zclUIEvent_t event /* IN: state to update */
                    )
                  {
                    switch(event)
                    {
                      case gZclUI_Off_c:
                         AppTurnOffLocalLight();
                         break;
                      case gZclUI_On_c:
                         AppTurnOnLocalLight();
                         break;
                    }
                  }

                  The specific code details above are not important unless you’ll be using the Freescale
                  solution, but the concept is the same across all platforms. There are a set of cross-cluster
                  commands to read, write, and report attributes, and a set of cluster-specific commands to
                  cause actions such as turning a light on or off. The ZigBee Cluster Library supported by
                  the platform will do most of the work for you.
                  Take a look at the next decode of an over-the-air packet using the ZCL On/Off Cluster.
                  Notice how all the normal APS stuff is there: the source and destination endpoints, the
                  application profile ID, and the cluster ID. But notice the extra three bytes at the end,

                  www.n ewn es p res s .c o m




CH06-H8597.indd 256                                                                                               7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 596 of 763 PageID #:
                                       2378



                                                                        The ZigBee Cluster Library       257

                  listed as the ZCL Frame. This cluster, because of the Home Automation profile (0x0104),
                  is interpreted by Daintree (the protocol analyzer used to produce this decode) as the On/
                  Off Cluster. The command in the ZCL frame is 0x02, which will toggle to a remote light,
                  pump, door bell, or anything else that can be turned on, off, or toggled:
                    Frame 22 (Length = 30 bytes)
                  + IEEE 802.15.4 Frame
                  + ZigBee NWK Frame
                  - ZigBee APS Frame
                         Frame Control: 0x00
                         Destination Endpoint: 0x08
                         Cluster Identifier: On/off (0x0006)
                         Profile Identifier: HA (0x0104)
                         Source Endpoint: 0x08
                         Counter: 0xbe
                  - ZigBee ZCL Frame
                         Frame Control: 0x01
                         Transaction Sequence Number: 0x42
                         Command Identifier: Toggle (0x02)

                  Remember that the application profile ID (0x0104 above) defines what the cluster
                  means, which in turn defines what the application payload means. The same cluster ID
                  in a different profile can mean something radically different. For example, take a look at
                  the next decode with the private profile 0xc021. Notice that the Daintree tool no longer
                  decodes the same sequence of bytes: 0x01, 0x42, 0x02 from the application payload
                  as the ZCL toggle command, but instead simply calls it APS data. Notice also that the
                  cluster is no longer called On/off. The meaning is now up to the application profile
                  designer, who made the private profile 0xc021.

                  An analogy for application profiles is in human languages: one person may speak English
                  while another speaks Japanese, and they can’t understand each other. If you speak the
                  same language (profile), the sentences (clusters) will now make sense:
                  Frame 22 (Length = 30 bytes)
                  + IEEE 802.15.4 Frame
                  + ZigBee NWK Frame
                  - ZigBee APS Frame
                         Frame Control: 0x00
                         Destination Endpoint: 0x08
                         Cluster Identifier: (0x0006)
                         Profile Identifier: (0xc021)
                         Source Endpoint: 0x08
                         Counter: 0xbe
                  - APS Data: 01:42:02


                                                                             w w w.new nespress.com




CH06-H8597.indd 257                                                                                            7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 597 of 763 PageID #:
                                       2379


                  258              Chapter 6

                                                 Table 6.7: Identify Cluster Attributes
                      Identifier      Name       Type                Range         Access        Default   Mandatory/
                                                                                                           Optional
                      0x0000          Identify   Unsigned            0x0000–       Read/write    0x0000    M
                                      Time       16-bit integer      0xffff


                  That being said, all ZigBee public profiles use the same cluster IDs so that code can be
                  shared for those devices that speak more than one public profile. Cluster ID 0x0006 is always
                  the On/Off Cluster in any public profile. But in private profiles, it could mean anything.
                  There are two clusters in particular I’d like to focus on in this section about the ZCL
                  General Clusters: Identify and Groups. These two clusters are very useful during
                  commissioning of a network.
                  The example coming up in this section, Example 6-2 Identify and Groups, shows how
                  the identify command works together with groups to make connecting devices such as
                  switches and lights easy.

                  6.2.1 The Identify Cluster
                  The Identify cluster contains only a single attribute: Identify Time (see Table 6.7).
                  This attribute defines the amount of time, in seconds that the device is in Identify Mode.
                  Identify Mode is usually indicated by a short flash of light, or perhaps by an audio signal.
                  So why place a node in Identify Mode? Think of someone installing a lighting system in an
                  auditorium. Many of the lights are high up in the ceiling, 20 or more feet above the floor.
                  Now imagine that the installer wants to connect a switch to a certain set of the lights up
                  there. One way to accomplish this with ZigBee is to ask each light, in turn, to go into Identify
                  Mode. As they flash, the installer could press a button meaning, “Yes, that’s one of the lights
                  I want to control with this switch.” The entire system can be set up in just a minute or so.
                  The Identify cluster contains two commands: Identify and Identify Query (see Table 6.8).

                                                 Table 6.8: Identify Cluster Commands
                                                 Command          Description       Mandatory/
                                                 Identifier                         Optional
                                                 0x00             Identify          M
                                                 0x01             Identify Query    M


                  www.n ewn es p res s .c o m




CH06-H8597.indd 258                                                                                                     7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 598 of 763 PageID #:
                                       2380



                                                                          The ZigBee Cluster Library        259

                  The Identify command on the Identify cluster is the same as writing to the attribute. This
                  is one of those rare cases where writing the attribute has some immediate effect, but I
                  recommend using the command, not writing to the attribute. Set the field to 0x0000 to
                  turn identify off, or set it to 0x0001–0xffff to turn it on for that number of seconds. Hint:
                  Don’t turn it on for longer than 20 to 30 seconds. Identify can get really annoying on
                  most devices.

                  The Identify Query command on the Identify cluster only has an effect if the device is
                  in Identify Mode. If it is, then the device will respond with an identify query response.
                  This command is normally broadcast to the network. When should you use this
                  command?

                  Think about that light and switch installer again. This time he puts two, or maybe even
                  10 lights into Identify Mode at the same time, rather than in series. Then, with a single
                  command over the air (identify query), they all respond to the sending node who then
                  uses the information to bind the switch to each of those lights. The install program then
                  turns off Identify Mode to all those lights.


                  6.2.2 The Groups Cluster
                  Now we come to the Groups cluster. This cluster is so amazingly useful it should have
                  been placed in the ZigBee Device Profile. Unfortunately, the ZigBee Specification was
                  already set in stone before this cluster was written.

                  While group support is optional in the ZigBee specification, it is mandatory for particular
                  devices in many public profiles. Groups allow a single over-the-air command to be
                  addressed to many nodes and endpoints at once. If the endpoint is a member of the group,
                  it will process the command. If the endpoint is not a member of the group, it won’t.

                  The Groups cluster contains only a single attribute, the NameSupport attribute (see Table
                  6.9). This read-only attribute simply allows other nodes to inquire if this node supports


                                                 Table 6.9: Group Cluster Attributes
                      Identifier   Name            Type     Range      Access       Default       Mandatory/
                                                                                                  Optional
                      0x0000       NameSupport     8-bit    x0000000   Read only    –             M
                                                   bitmap


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CH06-H8597.indd 259                                                                                               7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 599 of 763 PageID #:
                                       2381


                  260      Chapter 6

                  UTF-8 text names for the group in addition to 16-bit Group IDs. In practice, group
                  naming tends to be turned off. Instead the names are kept on a PC, or installation PDA.
                  You’ll probably have noticed by now that all attribute IDs for every cluster start with
                  0x0000, even though they are different attributes, such as NameSupport for the Group
                  cluster, IdentifyTime for the Identify cluster, and so on. This is perfectly acceptable since
                  an attribute ID is within the scope of a specific cluster, just as a cluster ID is within the
                  scope of a specific Application Profile ID.
                  The group cluster commands are very powerful (see Table 6.10). APS (see Chapter 4,
                  “ZigBee Applications”) has a set of commands for manipulating groups locally in a node,
                  but how does a commissioning tool do this over-the-air? (Yes. You’re very smart.) The
                  answer is the Groups cluster.
                  The Add Group command adds a group to an endpoint over-the-air. The View
                  Group command determines which group(s) the endpoint belongs to. The Get Group
                  Membership command can determine which nodes in the network are members of,
                  for instance, group 0x0005. The Remove Group command removes a group from an
                  endpoint (remember also from Chapter 4 that endpoints belong to groups). The Remove
                  All Groups removes all groups from the endpoint, and you can send this to the broadcast
                  endpoint to remove all groups from all endpoints. In fact, you can send a broadcast
                  message on the broadcast endpoint to remove all groups from all nodes in the network
                  with a single command.
                  The Add Group If Identifying is the command that will be used in the example in the next
                  subsection. This command will only add the group ID to the endpoint if that endpoint is
                  in currently Identify Mode.


                                            Table 6.10: Groups Cluster Commands
                                     Command        Description                 Mandatory/
                                     Identifier                                 Optional
                                     0x00           Add Group                   M
                                     0x01           View Group                  M
                                     0x02           Get Group Membership        M
                                     0x03           Remove Group                M
                                     0x04           Remove All Groups           M
                                     0x05           Add Group If Identifying    M


                  www.n ewn es p res s .c o m




CH06-H8597.indd 260                                                                                               7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 600 of 763 PageID #:
                                       2382



                                                                       The ZigBee Cluster Library      261

                  Okay. That’s enough for you to go on about clusters in the ZigBee Cluster Library. The
                  other clusters operate in much the same vein: a set of attributes and commands. You
                  can read about them in the ZigBee Cluster Library specification, and for the particular
                  implementation, in the platform documentation available from your favorite platform
                  vendor—Freescale, Texas Instruments, Ember, etc.


                  6.2.3 Example 6-2: Identify and Groups
                  Now you know how ZCL works, and you know how some clusters work, particularly
                  the Identify and the Groups cluster. The example in this section should solidify that
                  understanding. The concept behind Example 6-2 Identify and Groups is simple. The
                  network contains one switch (an NCB board) and two lights (SRB boards) and the user
                  (you) will decide which light(s) to connect to the switch, wirelessly.

                  The steps are as follows:

                      1. Find the example source code and solution at http://www.zigbookexamples.com,
                         in the Example 6-2 Identify and Groups folder.
                      2. Download the images to the respective boards, and boot them.
                      3. Press SW1 on all boards (in any order) to form the network.
                      4. Press long SW1 (LSW1) to go to Application Mode on all boards.
                      5. Press SW3 on one or both of the On/Off Lights (SRB boards). Doing this places
                         the light(s) into identify mode for 20 seconds.
                      6. Press long SW3 (LSW3) on the NCB/light switch to instruct the lights to add
                         themselves to the group.
                      7. Press SW1 to toggle the remote light(s).

                  The over-the-air capture shows the how the Add Group If Identifying command looks
                  over the air (which happened when you pressed LSW3 on the NCB/light switch
                  previously). This command is broadcast, which means that any number of lights may
                  become part of the group as a result of this single command.

                  As you can see, any endpoints in Identify Mode are now added to group 0x0001. I say
                  endpoints and not nodes, because a single node may support a number of separately

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CH06-H8597.indd 261                                                                                          7/26/2008 2:37:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 601 of 763 PageID #:
                                       2383


                  262      Chapter 6

                  addressable devices on different endpoints. For example, think of a single node
                  controlling a set of four independent lights:
                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0xffff
                    Source Address: 0x796f
                    Radius ⫽ 10
                    Sequence Number ⫽ 181
                  ZigBee APS
                    Frame Control: 0x08
                    Destination Endpoint: 0xff
                    Cluster Identifier: Groups (0x0004)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x63
                  ZigBee ZCL
                    Frame Control: 0x01
                    Transaction Sequence Number: 0x42
                    Command Identifier: Add Group If Identifying (0x05)
                      Add Group If Identifying
                         Group ID: 0x0001
                         Group Name Length: 0 (No Name)

                  From now on, a single command groupcast (a form of broadcast) or multicast (another
                  form of broadcast) across the network will toggle any number of lights. Add every light
                  in the network to a group, and a single over-the-air command can turn on or turn off every
                  light in the network. It’s as simple as that. Wireless control that simply works:
                  Seq
                  No   MACSrc MACDst    NWKSrc   NWKDst   Protocol   Packet Type
                  -----------------------------------------------------------------------
                  14   0x796f 0xffff    0x796f   0xffff   ZigBee     APS HA:On/off:Toggle


                           Attribute and command IDs are within the scope of the cluster, just as cluster IDs
                           are within the scope of a profile.
                           The ZCL General Clusters are supported across all ZigBee Profiles.



                  6.3     ZCL and Public Profiles
                  The ZigBee Cluster Library is used in all ZigBee public Application Profiles, including
                  Home Automation (HA), Commercial Building Automation (CBA), ZigBee Smart

                  www.n ewn es p res s .c o m




CH06-H8597.indd 262                                                                                             7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 602 of 763 PageID #:
                                       2384



                                                                          The ZigBee Cluster Library         263

                  Energy (ZSE, formerly called Automatic Metering), Telecommunications Applications
                  (TA), and Personal Home and Hospital Care (PHHC). A ZigBee public profile is a
                  separate document from the ZigBee and the ZigBee Cluster Library specifications.

                  Some of the public profiles have been posted to the ZigBee Web site at http://www.
                  zigbee.org, but others are not available to the public (yet). One benefit of joining the
                  ZigBee Alliance is early access to profiles.

                  In ZigBee, Application Profiles describe everything about how devices behave in that
                  domain space. Home Automation talks about lights, switches, thermostats, heating and
                  cooling units (air conditioners), security systems, and more. The Telecommunications
                  Profile describes how cellular phones interact with ZigBee, including clusters for
                  payment systems and social networking. I’ll give you a look at some profile-specific
                  clusters in this chapter.

                  The public profile describes how the ZigBee stack is used, putting some restrictions on
                  how often a ZigBee End-Device must poll its parent, or how often a node is allowed to
                  unicast or broadcast.

                  In particular, public profiles describe:
                      ●   The application domain (what problem space the profile is addressing)
                      ●   A list of specific devices supported in the profile
                      ●   A list of clusters supported by those devices
                      ●   A list of what clusters are mandatory and optional for each device
                      ●   A list of what attributes are mandatory and optional for each cluster
                      ●   Which stack profiles are supported by the Application Profile (more on stack
                          profiles in Chapter 7, “The ZigBee Networking Layer”)
                      ●   Anything that overrides the ZigBee specification, stack profile, or the ZigBee
                          Cluster Library specification
                      ●   Suggestions on commissioning techniques
                      ●   Best practices for using the profile, including any restrictions on the frequency of
                          unicasts and broadcasts
                      ●   Any changes required by the ZigBee stack feature set

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CH06-H8597.indd 263                                                                                                7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 603 of 763 PageID #:
                                       2385


                  264      Chapter 6


                                                     ZigBee Application Framework

                                       INTRP-SAP                     APSDE-SAP


                                                       ZigBee Application Support Sub-Layer (APS)


                                       Stub APS               NLDE-SAP           NLME-SAP


                                                  Inter-PAN    ZigBee Network (NWK) Layer


                                              MCPS-SAP                           MLME-SAP

                                     IEEE 802.15.4.2003 Medium Access Control (MAC) Sub-Layer

                                          PD-SAP                                 PLME-SAP

                                              IEEE 802.15.4.2003 Physical (PHY) Layer



                                          Figure 6.6: ZigBee Stack with Stub APS


                  The goal of every ZigBee public profile is to allow devices manufactured by different
                  companies to interact with each other seamlessly. Application Profiles are allowed to
                  describe new clusters not found in the general ZCL specification, and even to define new
                  features in the “stack,” in some extreme cases.
                  An example of adding a new feature to the stack is demonstrated in the ZSE profile, a
                  mechanism called inter-PAN communication. Inter-PAN communication (that is, between
                  two or more PANs) is not normally allowed by ZigBee, but this feature was required by
                  ZSE. So the ZSE profile extended the ZigBee architecture, as shown in Figure 6.6.

                  This “Stub APS,” available in the ZSE profile, allows one ZigBee PAN to communicate
                  with another ZigBee PAN (single-hop only), essentially a poor-man’s gateway. This
                  interface was created for the ZSE profile to allow pricing information to be sent from the
                  ZSE network to ZigBee Home Automation networks, a feature required by the electrical
                  utility companies.

                  Table 6.11 shows a list of the new clusters defined by the ZSE profile. Because these
                  clusters are specific to the needs of Automatic Metering, they are defined in the ZSE
                  Specification, but not in the ZigBee Cluster Library Specification.

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CH06-H8597.indd 264                                                                                            7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 604 of 763 PageID #:
                                       2386



                                                                        The ZigBee Cluster Library      265

                                          Table 6.11: Automatic Metering Clusters
                                 Domain      Cluster Name                           Cluster ID
                                 AMI         Price                                  0x0700
                                 AMI         Demand Response and Load Control       0x0701
                                 AMI         Simple Metering                        0x0702
                                 AMI         Message                                0x0703
                                 AMI         Registration                           0x0704
                                 AMI         AMI Tunneling (Complex Metering)       0x0705
                                 AMI         Pre-Payment                            0x0706


                  The Price cluster communicates the current price of electricity for those areas where the
                  price varies to the consumer by demand or by time of day. The Demand Response and
                  Load Control cluster actually allows the utility company to control non-safety-critical
                  devices in a home or business to reduce power usage during peak times. The Simple
                  Metering covers the common metering commands and responses, while the Complex
                  Metering covers vendor-specific metering commands. Pre-Payment allows customers to
                  pay for electricity prior to using it.
                  An example decode from the ZSE profile (0x0109) is shown below. Notice that this is
                  a different Application Profile ID from the Home Automation Profile (0x0104) used
                  through most of this book. Note also the frame is secured (it contains an AUX header), as
                  all frames are required to be in the ZSE profile specification:
                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0248
                    Destination Address: 0x0000
                    Source Address: 0x4c93
                    Radius = 5
                    Sequence Number = 13
                  ZigBee AUX
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x01
                    Cluster Identifier: Simple Metering (0x0702)
                    Profile Identifier: ZSE (0x0109)
                    Source Endpoint: 0x50
                    Counter: 0x3f
                  ZigBee ZCL
                    Frame Control: 0x01


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CH06-H8597.indd 265                                                                                           7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 605 of 763 PageID #:
                                       2387


                  266          Chapter 6

                        Transaction Sequence Number: 0x43
                        Command Identifier: Get Profile Request (0x00)
                          Get Profile Request Command Payload
                          Interval Channel: Consumption received (0x01)
                          End Time: 1 second since January 1 2000, 12:00:00am (UTC)
                          Number of Periods: 0x01

                  The ZSE profile is a result of huge market pressure from the utility companies. The idea
                  behind ZSE is to limit electrical usage at any given moment in time to a level under the
                  maximum amount that the grid can handle. For power generation, average usage doesn’t
                  matter, but peak usage does. If everyone turns on their air conditioner, all their lights,
                  and all their appliances at once, the grid would overload and need to shut down, causing
                  brown-outs or black-outs (a very bad thing). So the utility companies work very hard to
                  keep the peak usage below what the grid can handle.

                  By pricing electricity differently (and letting customers know about it) and by an
                  opt-in feature to control non-critical devices, the utility can delay the need for new power
                  plants, a large cost savings to both the consumer and utility company. The whole system
                  is monitored and controlled by a back-end ZSE server for the particular utility company
                  (see Figure 6.7).
                  Figure 6.7 shows how ZigBee is used in the Automatic Metering environment. Some
                  back-end server has the real brains and monitors (or allows control of) the devices in
                  the network. The area in gray in Figure 6.7 is the ZigBee portion. How it gets from
                  the Energy Service Portal to the back-end server is not ZigBee, but probably cellular,
                  power-line, WiMAX™ or other technologies. The Home Area Network, or HAN, may


                                                     Utility Private HAN
                                                                                                                 Customer
                                                                                       e                         Utility
                                                                                   sag
                                                                             m er U als                          Shared
                                                                          to      gn
                                                                       Cus ice Si               Home Display
                                                                           r
                                                                        &P
                                   Non-ZigBee
                                   Link to Utility
                                                                                       Contro
                                                                                             l Messa
                                                                                                     ges
                                                      Energy Service
                      AMI Server                          Portal

                                                                                                               Load Control
                                                                                                                 Device


                                                           Figure 6.7: Utility Private HAN

                  www.n ewn es p res s .c o m




CH06-H8597.indd 266                                                                                                           7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 606 of 763 PageID #:
                                       2388



                                                                              The ZigBee Cluster Library   267

                  talk to display or load control devices to inform the user of price increases or to control
                  devices in a user’s home, office, or commercial space. ZigBee forms a mesh network and
                  basically serves for the last few hundred yards, or perhaps even a network as big as a few
                  miles across.
                  As I write this, one of the first ZSE interoperability events is commencing with 38
                  different companies participating in various aspects of this application space. My
                  own company, San Juan Software, is there as a stack expert helping some of our ZSE
                  customers, while other companies are manufacturing the actual end products sold to
                  consumers and to the utility companies. At the end of a series of these events, the profile
                  will be solidified, field tested, and vetted with customers. Then it becomes widely
                  deployed with millions of ZigBee units helping to reduce energy consumption and cost, a
                  thing that helps our environment, and lowers consumer energy bills.


                                  ZigBee Public Profiles define profile specific clusters and devices.
                                  All ZigBee Public Profiles use the ZigBee Cluster Library.



                  6.4     When to Use ZCL
                  The ZigBee Cluster Library is very powerful, with many features. Unfortunately, that also
                  means the size of the ZigBee Cluster Library is quite large, at least from an 8-bit MCU
                  perspective. On the Freescale implementation, it requires about 3.8 K of code for a basic
                  set of clusters, and more if many clusters are used.
                  Public ZigBee Application Profiles mandate the use of ZCL. There is no question about
                  that. It must be used to make a compatible product that can be certified as compliant
                  by the ZigBee Alliance. This includes Home Automation (HA), Commercial Building
                  Automation (CBA), ZigBee Smart Energy (formerly known as Automatic Metering
                  Initiative, or ZSE), Telecommunications Applications (TA), Wireless Sensor Applications
                  (WSA), and Personal Home and Hospital Care (PHHC).
                  But what if you’re making a private Application Profile? Should you use ZCL then? The
                  answer depends on several factors. Generally, if the profile is very simple, or requires
                  only a dozen or so clusters, it is usually more flash and RAM-efficient to build it all
                  without the cluster library. But, if attributes would make the application very convenient,
                  then why write and debug proprietary code, when it’s already done for you in the ZigBee
                  Cluster Library?

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CH06-H8597.indd 267                                                                                              7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 607 of 763 PageID #:
                                       2389


                  268      Chapter 6

                  To make this decision for your project, think about the level of compatibility. Will the
                  project eventually be shared? Do you hope someday for this to become a ZigBee public
                  Application Profile? If the answer is, “Yes,” then definitely use ZCL.
                  Does the application rely heavily on reading and writing data items? Would these be
                  convenient as attributes, and possibly need the report attribute feature? If the answer
                  again is “Yes,” then you should probably use ZCL.
                  Is your application short on size, in either RAM or flash memory? This depends on
                  which processor is used, whether security is needed, if the device is a ZigBee Router (the
                  largest), or ZigBee End-Device (the smallest), and how large the actual application code
                  is estimated to be. If the answer is “Yes, it might be short on flash memory,” then don’t
                  use ZCL in your private Application Profile.
                  To get a good feeling for whether this will be the case in the Freescale solution, compile
                  the Thermostat application, and check the sizes in the .map file. On the MC13213, a
                  secure, mesh, ZCL-enabled thermostat application will not fit into a ZigBee router. All the
                  options simply require more than the 60 K of flash memory available. If the device will be
                  an end device (thermostats are often battery-powered), then it will fit. Or, if you are using
                  the newer Freescale QE128 or MC13223 parts, it will fit just fine as a ZigBee Router.
                  In this following example, Example 6-3 Private Profile with ZCL, which I like to call
                  “Tilt-o-Rama,” a ZigBee device will send an alert if the “box” has tilted too far. Think
                  of those packages you receive from UPS, FedEx, or another carrier that show up on your
                  doorstep with the “This Side Up” arrow pointing down. By watching the Z-axis using an
                  accelerometer, this application will send an attribute report if the box tips too far.
                  This example uses the ZigBee Cluster Library in a private profile. For an example of a
                  private profile without the ZigBee Cluster Library, see Example 4-10 iPod Controller in
                  Chapter 4, “ZigBee Applications.”
                  A more robust version of this application could be used commercially to determine if
                  goods were transported safely throughout the entire journey (see Figure 6.8), including
                  signals if they were subject to out-of-range G forces from being dropped.
                  The example uses two Freescale boards: an NCB, which will be the alert-display, and an
                  SRB, which will be the tilt detection mechanism.
                  The example uses a very simple UI. Simply boot both boards, and then tilt the cardboard
                  box. There are no buttons to press. The SRB board represents the cardboard box shown
                  on the right in Figure 6.8. If a tilt is detected, the NCB board, on the left, will begin to

                  www.n ewn es p res s .c o m




CH06-H8597.indd 268                                                                                               7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 608 of 763 PageID #:
                                       2390



                                                                            The ZigBee Cluster Library        269




                                                                                        This Side
                                                                                           Up




                                             Figure 6.8: Private Profile with ZCL                                       f0080

                  beep and will display “Tilt” in the LCD screen, to alert the UPS truck driver (or whoever
                  is monitoring the package) of the problem.
                  The application was coded to simply use the standard ZigBee Cluster Library “on/off”
                  cluster to indicate “tilt or not tilt.” The “on/off” cluster contains an “on/off” attribute. This
                  attribute can be read from, or it can be set up to report. In fact, that’s all this demo does. It
                  sets up the TiltDetector (the SRB) to report when the attribute changes state (from tilt to
                  not-tilt and vice versa). The report is sent to the TiltDisplay (the NCB) which then starts
                  madly beeping (to indicate tilt) or goes quiet again (to indicate no-tilt).
                  The following code fragment shows how the clusters are defined in Freescale BeeStack.
                  This file is called TiltDetectorEndPoint.c, and replaces the file HaOnOffLightEndPoint.c.
                  It appears as follows:
                  /* attributes for the Tilt Detector in RAM (an instance) */
                  typedef struct sTiltDetectorAttrsRAM_tag
                  {
                    uint8_t    reportMask[1];
                    zclOnOffAttrsRAM_t onOffAttrs;
                  } sTiltDetectorAttrsRAM_t;
                  /* one copy of this structure per instance of this device */
                  sTiltDetectorAttrsRAM_t gTiltDetectorData;
                  /* one copy for all instances of this device type */
                  afClusterDef_t const gaTiltDetectorClusterList[] ⫽
                  {
                    { { gaZclClusterBasic_c }, ZCL_BasicClusterServer,
                    (void *)(&gZclBasicClusterAttrDefList) },
                    { { gaZclClusterIdentify_c }, ZCL_IdentifyClusterServer,
                    (void *)(&gZclIdentifyClusterAttrDefList) },
                    { { gaZclClusterGroups_c }, ZCL_GroupClusterServer, NULL },


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CH06-H8597.indd 269                                                                                                   7/26/2008 2:37:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 609 of 763 PageID #:
                                       2391


                  270       Chapter 6

                       { { gaZclClusterOnOff_c }, ZCL_OnOffClusterServer,
                       (void *)(&gZclOnOffClusterAttrDefList),
                       MbrOfs(sTiltDetectorAttrsRAM_t,onOffAttrs) }
                  };
                  /* one copy for all instances of this device type */
                  zclReportAttr_t const gaTiltDetectorReportList[] ⫽
                  {
                     { { gaZclClusterOnOff_c }, gZclAttrOnOff_OnOffId_c }
                  };
                  /* one copy per instance of this device type */
                  afDeviceDef_t const gTiltDetectorDeviceDef ⫽
                  {
                     ZCL_InterpretFoundationFrame,
                     NumberOfElements(gaTiltDetectorClusterList),
                     (afClusterDef_t *)gaTiltDetectorClusterList,
                     NumberOfElements(gaTiltDetectorReportList),
                     (zclReportAttr_t *)gaTiltDetectorReportList,
                     &gTiltDetectorData
                  };

                  In the code fragment, begin with the last structure first and work your way up. The “device
                  definition” describes which clusters are supported by the device, a list of reportable attributes
                  for that device, and the instance data. The cluster list describes C functions to handle the
                  cluster-specific commands and lists the cluster’s attributes. All of this together allows the
                  BeeStack ZigBee Cluster Library to read, write, and report attributes automatically.

                  When an APSDE-DATA.indication comes in, the application code simply passes the
                  indication to the ZigBee Clustesr Library to interpret the frame. The cluster or cross-
                  cluster command is handled automatically as shown below:
                  status ⫽ ZCL_InterpretFrame(pIndication);

                  Full source code to the example, including the BeeKit solution file, is found in the usual
                  place at http://www.zigbookexamples.com. There is nothing new to learn from the
                  over-the-air capture (as the application simply sets up attribute reporting), so I have not
                  included it in the book, but it is available online along with the source code.

                  Adding in custom clusters to the Freescale ZigBee Cluster Library is fairly easy. Simply
                  add a new C route to the list of potential clusters (in your application is fine). Provide the
                  definition structures, and add it to the device definition.

                  Remember, although this example is shown using the Freescale solution, the concept
                  applies equally well to all ZigBee stacks. Every one that passes certification for any

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CH06-H8597.indd 270                                                                                                   7/26/2008 2:37:14 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 610 of 763 PageID #:
                                       2392



                                                                              The ZigBee Cluster Library      271

                  ZigBee public profile also supports the ZigBee Cluster Library, and all of them make it
                  extensible in some way.
                  So, to sum up, the ZigBee Cluster Library is a set of clusters for use in public Application
                  Profiles, which may also come in handy for private profiles. ZCL introduces the concept
                  of attributes and commands. Attributes are data items, and commands cause action. The
                  commands may be either cross-cluster (such as reading and writing attributes), or specific
                  to the cluster (such as on/off toggle). Without ZCL, there are no attributes or commands,
                  just clusters with payloads defined by the private profile.
                  The ZigBee Cluster Library is used in all ZigBee public profiles. Some of the clusters
                  are common across all devices on all profiles, such as the groups or basic clusters,
                  but other clusters are unique to a specific device or Application Profile, such as the
                  Simple Metering Cluster in ZSE. The clusters described in the ZigBee Cluster Library
                  Specification are available to all profiles. Clusters private to a particular profile are in that
                  Application Profile’s specification.


                                    Use ZCL in private profiles to gain attributes and commands.

                                    Don’t use ZCL in private profiles if code or RAM space is tight.




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CH06-H8597.indd 271                                                                                                   7/26/2008 2:37:14 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 611 of 763 PageID #:
                                       2393




                                                                                                CHAPTER 7

                                              The ZigBee Networking Layer


                  So far this book has concentrated on how applications interact with ZigBee. After all, as
                  OEMs, applications are what you are typically building. This chapter describes what goes
                  on under the hood, especially at the network layer.
                  Do you need to know what goes on in a ZigBee mesh network underneath those
                  application-level commands? Technically, no, you don’t have to, just as you can drive a
                  car and work the stereo without knowing how the fuel injection or the radiator works. But
                  a good understanding of how ZigBee accomplishes networking is really, really helpful
                  when things go wrong. Is the application sending too many broadcasts? Will a route be
                  established when this packet is sent? Why, and through what nodes? As engineers, you
                  want to know. Besides, mesh networking is really, really interesting.
                  But first, you’ve probably been wondering how ZigBee really got its name. I’ll tell you.
                      There are many, many people who have contributed to the excellent standard called
                      ZigBee. I’ve mentioned a very few throughout this book, and yet can’t come close to listing
                      all of the intelligent, dedicated people who made this standard possible. One person
                      stands out: Zachary Brightlea Smith. No one person has contributed more technically (and
                      perhaps spiritually) to the specification than Zachary.
                      I first met Zachary at the ZigBee Open House in Seattle in 2004. He was representing one
                      of the ZigBee stack vendors at the time. Other than reading an article, this was the first
                      introduction I had had to the wireless technology, and I was impressed—amazed, actually.
                      Zachary painted a picture of wireless sensor and control networks helping us everywhere:
                      working to save energy, make our environment safer and more convenient, helping the
                      elderly to stay out of hospitals, and making new social networking possible.
                      It’s interesting that these predictions have largely come true. ZigBee now has profiles
                      for ZigBee Smart Energy, Home Automation, Personal Home and Health Care, and
                      Telecommunication Applications.


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CH07-H8597.indd 273                                                                                                 7/26/2008 2:41:33 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 612 of 763 PageID #:
                                       2394


                  274       Chapter 7

                      Zachary himself is an unusual man. He has eyes in the back of his head (literally, in the
                      form of a tattoo). When his head is shaved, a hairstyle he often favors, you find them
                      staring back at you. He is Buddhist, and spends long hours staring at a single point on
                      the wall (on both walls?). It is rumored that he has attended the Burning Man festival, an
                      annual self-expression art experience in the Nevada desert (www.burningman.com).
                      My wife and I had the opportunity to prowl Paris one evening with Zachary. He took us
                      to a restaurant, hidden away in a small alley along the Seine, where he spoke French and
                      we ate the best foie gras we’ve ever tasted. Zachary had lived in Paris and knew it well.
                      Zachary also lived in Milan, Italy (he looks good in an Italian suit), and I am sure helped
                      instigate a ZigBee Alliance quarterly meeting there that culminated in an amazing dining
                      experience at a Leonardo da Vinci museum. He even taught the ZigBee Alliance proper
                      cappuccino etiquette.
                      Time and again Zachary will drop a pithy, insightful email on a ZigBee reflector, which
                      changes how the group views a problem, often resulting in a specification change or
                      clarification. During its primary development, Zachary was technical editor of the
                      Network Working Group (NWG), the group that defined the networking layer within
                      ZigBee, and was intimately involved in the routing algorithms. I would even go so far as to
                      say that Zachary is the father of ZigBee.
                      Hmmm… Zachary Brightlea (Smith). Z.B. ZigBee. Coincidence?



                  7.1 ZigBee and IEEE 802.15.4
                  The terms “ZigBee” and 802.15.4 (or simply 15.4) are often confused, and are all too
                  often used interchangeably. They are not the same.
                  The 802.15.4 specification was created and is maintained by IEEE (http://www.ieee.org).
                  This specification defines the physical (PHY) and media access control (MAC) layers
                  of a personal area, low-power, wireless network. All IEEE 802.x.x specifications define
                  networking standards. You may have heard of 802.3 (Ethernet), or 802.11 (WiFi™), or
                  802.15.1 (Bluetooth™).
                  IEEE 802.15.4 defines:

                      ●   Mechanisms for discovering networks
                      ●   Mechanisms for forming and joining networks
                      ●   Mechanisms for changing channels
                      ●   Mechanisms for detecting interference and “noise” on a particular channel

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CH07-H8597.indd 274                                                                                                 7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 613 of 763 PageID #:
                                       2395



                                                                       The ZigBee Networking Layer           275

                      ●   An acknowledged, single-hop, data-packet delivery method, using CSMA-CA to
                          avoid collisions
                      ●   An unacknowledged, single-hop data-broadcast method

                  What 802.15.4 does not specify is anything to do with multi-hop communications,
                  address assignment, or application level interoperability.
                  If the network you have in mind to build only needs a single hop (that is, all radios in the
                  network can hear each other), then the 802.15.4 MAC/PHY may be all that you need. In
                  fact, Freescale and other silicon vendors offer an 802.15.4 application environment that
                  doesn’t require ZigBee at all.
                  Aside from ZigBee, many other network protocols have been built on the 802.15.4
                  standard, some which are mesh or multi-hop, some which are single-hop or star networks.
                  Some examples of non-ZigBee network protocols on 802.15.4 include MicroChip
                  MiWi™, Synap SNAP, 6LoWPAN (an IETF standard), Tiny O/S (an open source
                  project), and San Juan Software PopNet™.
                  But ZigBee is the primary protocol which builds on the 802.15.4 standard, adding
                  a network layer capable of peer-to-peer multi-hop mesh networking, a security
                  layer capable of handling complex security situations, and an application layer for
                  interoperable application profiles.
                  Below is the standard ZigBee architecture diagram, seen in nearly every technical
                  discussion of ZigBee. Notice how the MAC and PHY layers are under IEEE control,
                  while the rest are under ZigBee control (see Figure 7.1).
                  The PHY (physical) layer’s job is to translate the packets from a series of bytes to the
                  RF spectrum, and back again. The MAC (medium access) layer allows a network to
                  be formed, for channels to be shared, and for data to be transferred (single-hop) in a
                  reasonably reliable way.
                  ZigBee specifies all the layers above MAC and PHY, including the NWK (network)
                  layer, APS, ZDO, and security layers. It’s ZigBee that provides the mesh networking
                  and multi-hop capabilities, enhances the reliability of data packet delivery, and specifies
                  application-to-application interoperability.
                  ZigBee does not use all of the 802.15.4 MAC/PHY specification; only a small subset.
                  This allows stack vendors to offer smaller solutions (less RAM and flash) by providing
                  a limited MAC for their ZigBee stacks. For example, ZigBee does not use any of the

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CH07-H8597.indd 275                                                                                                7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 614 of 763 PageID #:
                                       2396


                  276        Chapter 7


                                                     Application Framework

                                              Application                 Application




                                                                                            ZPUI
                                                                                                   ZigBee Device
                                              Object 240                   Object 1
                                                                                                   Object (ZDO)
                                             [On Endpoint 240]            [On Endpoint 1]
                                                                                                     [On Endpoint 0]
                                               APSDE-SAP                   APSDE-SAP                APSDE-SAP                         ZigBee




                                                                                                                   APSME-SAP
                                 APSSE-SAP




                                                            Application Support (APS) Sub-Layer
                      Security
                      Service                   NLDE-SAP

                      Provider




                                                                                                                   NLME-SAP
                                 NLSE-SAP




                                                                      Network (NWK) Layer

                                               MCPS-SAP                                             MLME-SAP



                                                             Medium Access Layer (MAC) Layer

                                                 PD-SAP                                             PLME-SAP                   IEEE

                                                                      Physical (PHY) Layer


                                                                 Figure 7.1: ZigBee and IEEE 802.15.4


                  802.15.4 beaconing methods, or guaranteed time slots. ZigBee is asynchronous.
                  Any node may transmit at any time. Only the CSMA-CA (carrier-sense multiple-access
                  with collision avoidance), a MAC-level mechanism, prevents nodes from talking over
                  each other.
                  CSMA-CA works the same way as a human conversation in a social setting. One
                  person talks while the others wait. When there is a pause in conversation, then it is
                  someone else’s turn to talk. Occasionally two people talk over each other. They back off
                  (randomly) and try again. Always keep that in mind: Only one radio is talking at any
                  given time on any given channel in any given vicinity. Also keep in mind all 802.15.4
                  radios are half-duplex: They are either talking or listening, but not both at the same time.
                  ZigBee also makes some slight modifications to the 802.15.4 standard. One of these
                  is the security model. The MAC defines something called CCM, which spelled out in
                  its long form is “counter-mode cipher-block chaining-message authentication code.”
                  CCM requires different security for every layer. Because of performance constraints on

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CH07-H8597.indd 276                                                                                                                            7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 615 of 763 PageID #:
                                       2397



                                                                      The ZigBee Networking Layer        277

                  small processors, ZigBee doesn’t. The ZigBee security model is called CCM (a slight
                  modification of MAC CCM security).

                  One of the more interesting areas where ZigBee differs from the 802.15.4 specification
                  is the time-out for beacon responses. By the way, beacon requests and beacon responses
                  (just called beacons) have nothing to do with whether the network is a beaconing network
                  or not. Confusing, I know. I wish IEEE had used different terms for beacons that start a
                  guaranteed time-slot frame versus the beacons used to join and form networks, but
                  there it is.

                  A beacon (which I’ll explain in excruciating detail later in this chapter) is simply a
                  packet that contains information about the node and network. This is used in ZigBee to
                  discover networks. In dense networks, with 30 or more nodes all within hearing range,
                  the default 802.15.4 time-outs for responses to beacon requests don’t allow enough time
                  for all nodes to respond. The 802.15.4 specification was just not built with large networks
                  in mind, but ZigBee is.

                  The 802.15.4 MAC specification has been stable since October 2003. Some silicon
                  vendors even offer the 802.15.4 MAC in ROM. But IEEE doesn’t stand still. In 2006,
                  IEEE released another 802.15.4 specification, called, of course, 802.15.4-2006.

                  Probably the biggest change in the IEEE 802.15.4-2006 standard is a better PHY for
                  sub-1 GHz radios. In the 802.15.4-2003 specification, the 868 MHz and 900 MHz PHYs
                  were limited to 20 kbps (kilobits per second) and 40 kbps respectively. The data transfer
                  rate at sub 1 GHz were simply too slow for ZigBee; all ZigBee radios are 2.4 GHz, which
                  operate at 250 kbps.

                  IEEE 802.15.4-2006 changed all that. The specification added two new optional PHYs
                  for sub 1 GHz allowing up to 250 kbps in those bands as well. I expect to see some
                  ZigBee chips over the next couple of years operating in these bands. The sub 1 GHz
                  bands still do not operate in the worldwide unlicensed spectrum, so restrictions apply
                  on where they can be exported. But if your market is mainly the U.S., 900 MHz will do
                  nicely. The upside of 900 MHz is that it penetrates water (plus plants, foliage, and people)
                  more easily than the 2.4 GHz.

                  As of this writing, ZigBee continues to use the IEEE 802.15.4-2003 specification, but
                  there have been discussions within the ZigBee Alliance to update ZigBee to the newer,
                  largely backward-compatible IEEE 802.15.4-2006 specification.

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CH07-H8597.indd 277                                                                                              7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 616 of 763 PageID #:
                                       2398


                  278      Chapter 7


                             IEEE 802.15.4-2003 specifies the MAC and PHY layers in a ZigBee stack.
                             ZigBee specifies the NWK, application, and all higher layers.



                  7.2     Forming, Joining, and Rejoining ZigBee Networks
                  Over the next few sections I’ll describe the entire process of a ZigBee network starting
                  up and establishing communications, including how ZigBee nodes form a network, join
                  a network, are assigned addresses on the network, and how they route packets from one
                  node to another.
                  Before any ZigBee node may communicate on a network, it must either form a new
                  network or join an existing network. Only the ZigBee Coordinator may form a network.
                  Only ZigBee Routers and ZigBee End-Devices may join a network. Many stack vendors
                  offer the ability to have a node designated as a ZC, ZR, or ZED at compile time (to save
                  code and RAM) or at run-time (to reduce OEM-manufactured parts).
                  Every node starts out with a unique 64-bit IEEE (aka MAC or long) address, assigned by
                  the OEM during manufacturing. During the process of joining the network, each node is
                  assigned a unique (within that network) 16-bit short address (aka NwkAddr) to use when
                  communicating to other nodes across the network. The 16-bit address is used for nearly
                  all communications, to reduce over-the-air protocol overhead, leaving more room for
                  application payload.

                  7.2.1 Forming Networks
                  ZigBee Coordinators (ZCs) form networks. The process of forming a network is really
                  about determining a unique identifier for the network, called a PAN ID, and choosing one
                  of the sixteen 802.15.4 channels (11–26) on which to operate the network. By the time
                  the ZC has formed the network, the network is established (see Figure 7.2).
                  Granted, a network of one node is not very useful. It’s not until other nodes join the
                  network that networking becomes possible.


                                                                ZC



                                                Figure 7.2: A Network of One

                  www.n ewn es p res s .c o m




CH07-H8597.indd 278                                                                                          7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 617 of 763 PageID #:
                                       2399



                                                                          The ZigBee Networking Layer      279

                  During the forming process, a single packet is sent over-the-air on each channel: a MAC
                  active scan (aka beacon request). If no other ZigBee networks are on the channel, this
                  will be the only packet seen by a ZigBee sniffer:

                  Seq No         MAC Dst         Protocol                Packet Type
                  ---------------------------------------------------------------
                  1              0xffff          IEEE 802.15.4           Command: Beacon equest

                  So how do you know which channel and PAN ID the ZC has chosen? I’ll get into that in a
                  moment.
                  A ZigBee Coordinator has the following duties:

                      ●    It forms a network.
                      ●    It establishes the 802.15.4 channel on which the network will operate.
                      ●    It establishes the extended and short PAN ID for the network.
                      ●    It decides on the stack profile to use (compile or run-time option).
                      ●    It acts as the Trust Center for secure applications and networks.
                      ●    It acts as the arbiter for End-Device-Bind (a commissioning option).
                      ●    It acts as a router for mesh routing.
                      ●    It acts as the top of the tree, if tree routing enabled.

                  Does having a single device, the ZigBee Coordinator, create a single point-of-failure
                  in a ZigBee network? Well, not really. The ZigBee Coordinator is really just a router
                  unless the network is being commissioned. And there are ways to replace the ZigBee
                  Coordinator after a network is running, if the device fails for some reason. I’ll explore
                  ways to do this in Chapter 8, “Commissioning ZigBee Networks.”
                  It’s the application running on the ZigBee Coordinator node that actually decides when
                  it’s time to form a network, from which set of channels, and from which set of PAN IDs.
                  The application running in the ZC can be anything: a gateway connected to the Internet,
                  a controller box, a thermostat, light, or electric meter. The possibilities are endless. When
                  power is applied to the device that contains the ZigBee Coordinator, it may immediately
                  form a network, or may wait for some event (such as a button-press or a command from
                  a host processor) before forming the network. It might even check to see what networks

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CH07-H8597.indd 279                                                                                               7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 618 of 763 PageID #:
                                       2400


                  280      Chapter 7

                  are already out there, and decide to become a ZigBee Router rather than a Coordinator, if
                  another node has already formed the desired network.

                  However the application is coded, at some time a ZigBee Coordinator will form a
                  network. The process is shown in Figure 7.3.

                  Notice that first there is an NLME-NETWORK-FORMATION.request. This is initiated
                  by ZDO, which in turn was told to form a network by the application. In Freescale’s
                  BeeStack, telling ZDO to form the network is very simple, as seen in the code fragments
                  below. The first code fragment forms the network immediately on power-up. The second
                  forms the network on a key-press (although this could be on any event):

                  /* form network immediately upon power-up */
                  void BeeAppInit(void)
                  {
                    ZDO_Start(gStartSilentRejoinWithNvm_c);
                  }
                  /* form network on key-press */
                  void BeeAppHandleKeys (key_event_t keyEvent)
                  {
                    switch(keyEvent)
                    {
                      case gKBD_EventSW1_c:
                      ZDO_Start(gStartWithOutNvm_c);
                      break;
                    }
                  }

                  Next, as seen in Figure 7.3, ZigBee calls on the MAC layer to perform two scans: an
                  energy scan, and an active scan. The energy scan is used to determine which channel
                  is the quietest channel from the set of channels specified in the APS information base
                  variable, apsChannelMask. The energy scan lasts about a half-second on each channel,
                  and is just a “moment-in-time” check. The channel could have been really noisy one
                  hour before, and this process wouldn’t detect it. Scanning all 16 channels takes about
                  8 seconds, so be patient.

                  Next, an active scan, which is simply a MAC beacon request followed by zero or more
                  beacon responses, is used to discover what other networks are in the vicinity. Active scans
                  ensure ZigBee does not form a network on the same PAN ID as another network already
                  in the vicinity. The active scan also takes time, waiting for potential beacon responses
                  from other nodes.

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CH07-H8597.indd 280                                                                                             7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 619 of 763 PageID #:
                                       2401



                                                                              The ZigBee Networking Layer        281

                        Coordinator                                ZigBee                           802.15.4
                        APL Layer                                 NWK Layer                        MAC Layer
                                        NLME-NETWORK-
                                       FORMATION.request
                                                                         MLME-SCAN.request

                                                                                                     Perform
                                                                                                   energy scan
                                                                        MLME-SCAN.confirm



                                                                         MLME-SCAN.request

                                                                                                     Perform
                                                                                                   active scan
                                                                        MLME-SCAN.confirm

                                      Select channel and PAN ID
                                                                         MLME-START.request


                                   NLME-NETWORK-                        MLME-START.confirm
                                  FORMATION.confirm



                                              Figure 7.3: ZigBee Forming a Network


                  Next in Figure 7.3, there is this magic box labeled “Select channel and PAN ID.” After
                  receiving the information about how noisy the channels are, and which networks are
                  already out there, the application is free to chose the “correct” channel and PAN ID. So
                  what is the “correct” channel and PAN ID?
                  The way this works with the Freescale solution is to pick the quietest channel that does
                  not already contain the PAN ID specified by the application. The functions which do this
                  are SelectLogicalChannel() and SelectPanId(), found in the file AppStackImpl.c. These
                  functions can be replaced by anything appropriate to the application. Check your stack
                  vendor’s documentation for how to choose the “correct” channel and PAN ID for that
                  stack implementation.
                  The NWK information base variable, nwkPanID, specifies the PAN ID, which by default
                  is 0xffff (meaning ZigBee is free to choose a random PAN ID). The application can
                  also set nwkPanID to anything else from 0x0000 through 0x3fff, if the intent is to pick a
                  particular PAN ID rather than a random one. The top two bits are reserved for future use.
                  I don’t recommend specifying a particular PAN ID. Let ZigBee do it for you, by setting

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CH07-H8597.indd 281                                                                                                    7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 620 of 763 PageID #:
                                       2402


                  282        Chapter 7

                  nwkPanID to 0xffff and specifying the apsUseExtendedPANID instead. The extended
                  PAN ID is a unique 64-bit number, usually set to the MAC address of the ZigBee
                  Coordinator, but could instead be anything set up by the commissioning process.

                  In the Freescale solution, the nwkPanID, the apsUseExtendedPANID, and the
                  apsChannelMask stack variables can be set at run-time using the NLME-SET.request and
                  APSME-SET.request functions. Other stacks have a similar way to set them:

                  NlmeSetRequest(gNwkPanId_c, 0x1234);
                  ApsmeSetRequest(gApsUseExtendedPANID_c, aMyExtendedPANID);
                  ApsmeSetRequest(gApsChannelMask_c, aMyChannelMask);

                  The ZC node can ascertain which channel and PAN ID was chosen by calling
                  NlmeGetRequest(). If you have been following the examples, you’ve already seen this
                  occur on the Freescale NCB boards. After they form or join a network, they display the
                  PAN ID and channel on the LCD display. The code for getting the chosen PAN ID and
                  channel looks like the following in the Freescale platform:

                  zbPanId_t aPanId;
                  zbChannel_t channel;
                  Copy2Bytes(aPanId, NlmeGetRequest(gNwkPanId_c));
                  channel ⫽ NlmeGetRequest(gNwkLogicalChannel_c);

                  Once a network is formed, the next step in creating a network is for other nodes to join.


                          apsChannelMask defines which set of channels to consider when forming a network.
                          nwkPANID of 0xffff indicates choose random PAN ID.
                          Use apsUseExtendedPANID to specify the 64-bit extended PAN ID.


                  7.2.2 Joining Networks
                  ZigBee Routers (ZRs) and ZigBee End-Devices (ZEDs) join networks. ZRs are usually
                  mains-powered, always on, listening for packets to route. ZEDs are usually battery-
                  powered and sleeping, waking up only to communicate briefly before going back to
                  sleep. ZigBee Routers are responsible for:
                      ●    Finding and joining the “correct” network
                      ●    Perpetuating broadcasts across the network

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CH07-H8597.indd 282                                                                                           7/26/2008 2:41:34 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 621 of 763 PageID #:
                                       2403



                                                                         The ZigBee Networking Layer       283

                      ●   Participating in routing, including discovering and maintaining routes
                      ●   Allowing other devices to join the network (if permit-join enabled)
                      ●   Storing packets on behalf of sleeping children
                  ZigBee End-Devices are responsible for:
                      ●   Finding and joining the “correct” network
                      ●   Polling their parents to see if any messages were sent to them while they were
                          asleep
                      ●   Finding a new parent if the link to the old parent is lost (NWK rejoin)
                      ●   Sleeping most of the time to conserve batteries when not in use by the
                          application.
                  Joining a network is a process of discovering what networks and nodes are in the vicinity,
                  and then choosing one of them to join. Provided the association is acceptable to the
                  network, the join will be completed, and the joining node will now have an address on
                  that network.
                  The joining node initiates the process, shouting “Hey, is anyone out there?” using a
                  beacon request (see Figure 7.4). Any ZCs and ZRs in the vicinity respond, saying “Here



                                                             Anybody
                                                            out there?




                                               Here I
                                                am!




                                     Figure 7.4: ZigBee Beacon Request and Response

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CH07-H8597.indd 283                                                                                              7/26/2008 2:41:35 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 622 of 763 PageID #:
                                       2404


                  284      Chapter 7

                  I am” using a beacon. Although not technically accurate according to the 802.15.4
                  specification, I often call the beacons “beacon responses,” because that’s how they
                  are processed: A node sends out a beacon request, other nodes respond with a beacon
                  response.
                  The beacon response is issued by all ZigBee Routers and Coordinators on the channel
                  where the beacon request was issued, regardless of PAN ID. So, for example, if a beacon
                  request was sent on channel 15, all router nodes (including ZigBee Coordinators) on
                  channel 15 respond with a beacon response, as seen in the partial capture below. Notice
                  the multiple PAN IDs and short addresses:
                  SrcPAN     MACSrc     MACSeq     Protocol Type
                  ---------------------------------------------------------------------
                  0x1aaa     0x0001     05         Beacon: AP: 1, Nwk RC: 1, Nwk EDC: 1
                  0x1bbb     0x0000     188        Beacon: AP: 0, Nwk RC: 1, Nwk EDC: 1
                  0x1aaa     0x0000     200        Beacon: AP: 1, Nwk RC: 1, Nwk EDC: 1

                  Beacons contain quite a bit of information about the ZigBee network, including PAN ID,
                  extended PAN ID, join enable, and whether the node has capacity (room) for routers or
                  end devices to join. What the beacon lacks is any application-level information. For that,
                  a seeking node must first join the network, look for the application and, if it cannot find
                  it, leave the network and try another.
                  Take a look at a typical beacon below:
                  Frame 3 (Length = 24 bytes)
                  IEEE 802.15.4
                    Frame Control: 0x8000
                    .... .... .... .000 = Frame Type: Beacon (0x0000)
                    .... .... .... 0... = Security Enabled: Disabled
                    .... .... ...0 .... = Frame Pending: No more data
                    .... .... ..0. .... = Acknowledgement not required
                    .... .... .0.. .... = Intra PAN: Not within the PAN
                    .... ..00 0... .... = Reserved
                    .... 00.. .... .... = Destination Address: not present
                    ..00 .... .... .... = Reserved
                    10.. .... .... .... = Source Address: 16-bit short address
                    Sequence Number: 205
                    Source PAN Identifier: 0x0bef
                    Source Address: 0x0000
                    MAC Payload
                    Superframe Specification: 0xcfff
                    .... .... .... 1111 = Beacon Order (0x000f)
                    .... .... 1111 .... = Superframe Order (0x000f)


                  www.n ewn es p res s .c o m




CH07-H8597.indd 284                                                                                             7/26/2008 2:41:35 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 623 of 763 PageID #:
                                       2405



                                                                       The ZigBee Networking Layer         285

                      .... 1111 .... .... = Final CAP Slot (0x000f)
                      ...0 .... .... .... = Battery Life Extension: Disabled
                      ..0. .... .... .... = Reserved
                      .1.. .... .... .... = PAN Coordinator: yes
                      1... .... .... .... = Association Permit: enabled
                      GTS Specification: 0x00
                      Pending Address Specification: 0x00

                    Beacon Payload
                    Protocol ID: ZigBee NWK (0x00)
                  NWK Layer Information: 0x8421
                    .... .... .... 0001 = Stack Profile (0x1)
                    .... .... 0010 .... = nwkcProtocolVersion (0x2)
                    .... ..00 .... .... = Reserved (0x0)
                    .... .1.. .... .... = Router Capacity: True
                    .000 0... .... .... = Device Depth (0x0)
                    1... .... .... .... = End Device Capacity: True
                    Extended PAN ID: 0x0050c211dc051801

                  From this beacon, I can tell that it’s a ZigBee node (as opposed to another network),
                  specifically the ZigBee stack profile 0x01. I can tell that the node is the ZigBee
                  Coordinator, and that it is allowing joining, and has the capacity to accept either router or
                  end devices as children. I can tell that the PAN ID is 0x0bef, and the extended PAN ID is
                  a Freescale extended PAN ID, 0x0050c211dc051801.
                  The first field, the MAC frame control, will always be 0x8000, a beacon. The security-
                  enabled bit will always be 0, even in a secure network, as ZigBee uses NWK layer
                  security (not MAC layer security). The next field, the sequence number, is a rolling
                  counter. It’s not really needed, but this uniquely identifies the frame. The source PAN
                  ID and short address of the node will always be present. In this case the short address is
                  0x0000, so it’s the ZigBee Coordinator. Any other address would be a router (end devices
                  do NOT issue beacons).
                  The next field, the superframe specification, indicates whether permit joining is enabled
                  on this node (see the Association Permit bit). If it is not, then the node will not accept
                  joining. The rest of the MAC payload fields will always be the same for all ZigBee
                  nodes. Notice that beacon order is 0xf, that is, non-beaconed. ZigBee is not a beaconing
                  network, and does not support guaranteed time slots. Instead, ZigBee is asynchronous,
                  with routers always enabled to route packets, using CSMA-CA to avoid collisions on the
                  network.
                  The network layer information follows the MAC payload and includes which ZigBee
                  stack profile (0x01 or 0x02) is supported by this node, and whether it has capacity to

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CH07-H8597.indd 285                                                                                               7/26/2008 2:41:35 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 624 of 763 PageID #:
                                       2406


                  286      Chapter 7

                  accept routers or end-devices. In stack profile 0x01, the total number nodes that can join
                  a particular node as a child is 20, 6 of which can be routers and 14 of which can be end
                  devices.

                  ZRs and ZEDs join a specific node, not a network in general, using 64-bit MAC
                  addresses for the source and destination addresses of the MAC association request. The
                  node doing the joining is called a child. The node receiving the association request is
                  called the parent.

                  ZigBee Routers and the ZigBee Coordinator can be the parent of other nodes, but ZigBee
                  End-Devices will never be a parent. ZEDs are always children.

                  Keep in mind this parent/child relationship has nothing to do with mesh routing. Any
                  router may route through any other router within hearing range on the same network. All
                  ZigBee Routers (and the ZC) are peers in this respect. If a router’s parent or child goes
                  away (perhaps even leaving the network) no harm is done to routes, other than to those
                  specific devices (assuming a network has sufficient density). ZigBee Routers do not route
                  through other networks, only those within the same PAN ID and channel.

                  To ZigBee End-Devices, however, the parent/child relationship is very special. ZEDs,
                  while they can communicate to any node on the network, communicate only to their
                  parent directly. Another way to put it is that the next hop of a ZED is always to its parent.
                  If a ZED loses the link with its parent, it must (at some point) find another parent in order
                  to keep communicating on the network, a process called rejoining.

                  It is not often that a ZED child loses contact with its parent, but it does happen. Say,
                  perhaps the office furniture was moved and a fish tank now resides directly in front of the
                  ZED. Communications at 2.4 GHz are affected by water, and the link is now broken. No
                  problem: Within a few seconds, the ZED finds a new parent, announces to the network
                  that it has moved, and communications continue. I’ll show an example of this in the
                  rejoin section below.

                  The join process for a ZigBee Router or ZigBee End-Device is depicted in the ZigBee
                  specification, as shown in Figure 7.5.

                  First, an active scan (beacon request) is sent out on each channel. The ZC or ZED then
                  waits for a time for beacon responses. The time can be set by the application, but it
                  defaults to about a half-second per channel. Once the beacons are collected, then they are
                  analyzed in the “select channel and PAN ID” box. This function is application-specific.

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CH07-H8597.indd 286                                                                                               7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 625 of 763 PageID #:
                                       2407



                                                                            The ZigBee Networking Layer          287

                           Router                               ZigBee                              802.15.4
                          APL layer        NLME-NETWORK-       NWK layer                            MAC layer
                                          DISCOVERY.request
                                                                             MLME-SCAN.request

                                          NLME-NETWORK-                      MLME-SCAN.confirm Perform active scan
                                          DISCOVERY.confirm

                      Select channel and PAN ID
                                          NLME-JOIN.request                MLME-ASSOCIATE.request


                                          NLME-JOIN.confirm                MLME-ASSOCIATE.confirm

                      Authentication Procedure
                                      NLME-START-ROUTER.request
                                                                             MLME-START.request


                                                                             MLME-START.confirm
                                      NLME-START-ROUTER.confirm



                                                 Figure 7.5: ZigBee Joining a Network


                  Freescale BeeStack includes an application-specific function called by ZDO whenever
                  a node is told to join a network, called SearchForSuitableParentToJoin(). This function
                  looks for any node which matches the apsUseExtendedPANID or, if that’s set to all 0x00s,
                  any node which matches the nwkPANID stack variable. A nwkPANID of 0xffff means to
                  join any PAN. This same setting is what is used by the Home Automation Application
                  Profile: Join any PAN ID (and any extended PAN ID) on any channel.
                  In addition to the correct extended PAN ID, PAN ID and channel, the potential parent
                  must also have permit-join enabled. Permit-join can be used to “close off” a network,
                  preventing other nodes from joining it. Permit-join can also be used to force nodes to pick
                  a particular parent during network bring-up.
                  After the active scan is complete and a suitable parent is selected, the authentication
                  procedure begins. Note that the node actually has an address on the network (at least
                  temporarily) by the time authentication begins. Authentication is only present in secure
                  networks, and gives the trust center the right to refuse to allow this node to join. A rogue
                  node which only pretends to already have an address on the PAN will not receive the
                  network key, and so cannot communicate to other nodes. If the authentication does not

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CH07-H8597.indd 287                                                                                                    7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 626 of 763 PageID #:
                                       2408


                  288      Chapter 7

                  complete successfully, the parent will tell the unauthenticated child to leave and mark that
                  address as available for use by another node that wishes to join.

                  In stack profile 0x01, nodes join as high up the tree as possible (this is the Device Depth
                  field in the beacon). This keeps the tree short, to minimize the number of hops required to
                  traverse the tree when not using mesh.

                  Okay, so now devices have joined the network. How many can join? In stack profile
                  0x01, up to 31,100 nodes can join a network, 9,330 of which can be routers. In stack
                  profile 0x02, the limit is 64 K nodes.

                  So how does a ZigBee network, once set up, prevent other nodes from joining? Trust
                  Center (TC) authentication is one such mechanism. The trust center can simply deny
                  access to any new nodes which attempt to join. I’ll describe the TC in a bit more detail in
                  Chapter 8, “Commissioning ZigBee Networks.”

                  Another, perhaps easier, mechanism for closing off the network is called “permit joining.”
                  The permit joining flag is only relevant to the ZigBee Coordinator and ZigBee Routers,
                  which are the only node types that can have children. The NWK layer allows permit
                  joining to be locally enabled or disabled through the NLME-PERMIT-JOINING.request,
                  and ZDP provides the ability to send this command over-the-air to any or all nodes in the
                  network using Mgmt_Permit_Joining_req. Either request allows joining to be turned on
                  (0xff), off (0x00), or turned on for a number of seconds from 1 through 254 (0x01–0xfe)
                  before being turned off.

                  In the Freescale solution, the permit joining commands are available through:

                  /* turn permit joining on or off locally */
                  void APP_ZDP_PermitJoinRequest
                    (
                    uint8_t iPermitFlag    /* 0x00 = off, 0xff = on */
                    );
                  /* turn permit joining on or off remotely */
                  void ASL_Mgmt_Permit_Joining_req
                  (

                        zbCounter_t *pSequenceNumber,
                        zbNwkAddr_t aDestAddress,   /* usually gaBroadcastZCnZR */
                        zbCounter_t permitDuration, /* 0x00 ⫽ off, 0xff ⫽ on */
                        uint8_t TC_Significance     /* TC will not authenticate */
                  );


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CH07-H8597.indd 288                                                                                              7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 627 of 763 PageID #:
                                       2409



                                                                       The ZigBee Networking Layer        289

                  In this first example, Example 7-1 Permit Joining, the NLDE-PERMIT-JOINING.request
                  will be used to disallow nodes to join, and then to force nodes to join either in a small
                  three-node tree, or in a three-node straight line, as depicted in Figure 7.6.

                  As with all examples in this book, code is provided for the Freescale platform, but the
                  concepts and over-the-air captures apply to all ZigBee platforms. See Chapter 3, “The
                  ZigBee Development Environment,” for an introduction to the Freescale platform, if you
                  are interested in following along with actual hardware.

                  If you do follow along with actual Freescale hardware, the steps to run the example are:
                      1. Open the Example 7-1 Permit Joining solution with BeeKit.
                      2. Export the solution. Import the three projects into CodeWarrior.
                      3. Compile and download the three images (ZcNcbOnOffLight, ZrSrbOnOffLight,
                         and ZedSrbOnOffSwitch) into the three respective boards.
                      4. Start a capture on channel 25 with Daintree SNA (if available).
                      5. Press SW1 on the ZC (ZcNcbOnOffLight) to form the network.
                      6. Press SW2 on the ZC to turn off local join enable (LED2 should go out).




                                                                                            ZC




                               ZC                          ZC
                                                                                            ZR



                                                 ZR                   ZED
                                                                                           ZED



                           Permit Join                 Permit Join                 Permit Join disabled
                         disabled at ZC               enabled at ZC                at ZC after ZR joins


                                          Figure 7.6: Example 7-1—Permit Joining

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CH07-H8597.indd 289                                                                                             7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 628 of 763 PageID #:
                                       2410


                  290        Chapter 7

                        7. Press SW1 on the ZR (ZrSrbOnOffLight). Notice that it can’t join the network,
                           because joining is disabled on the ZC. The capture below shows how it repeatedly
                           attempts to join by repeatedly issuing beacon requests.
                        8. Press SW2 on the ZC to enable joining again. Notice the ZR now joins (LED 1
                           and 2 go solid).
                        9. Press SW1 on the ZED (ZedSrbOnOffSwitch). Notice that it, too, joins the
                           network. The network now looks like the middle of Figure 7.4, with the ZR and
                           ZED as children of the ZC.
                  Now reset all three boards.
                        1. Press SW1 on the ZC again to form the network.
                        2. Press SW1 on the ZR again. Notice it joins the network immediately this time.
                        3. Press SW2 on the ZC, after the ZR has joined, to disable joining on the ZC.
                  Now press SW1 on the ZED. Notice that it now joins the ZR (not the ZC), as seen at the
                  end of the capture below.
                  From the standpoint of communicating on the network, it’s usually irrelevant which
                  parent a node joins. Sometimes it can be useful in the real world. For example, in a hotel
                  it is helpful to have all ZEDs in a given room join a router in that room. That way, if
                  the other rooms around it are under construction, the lights, heating, cooling, etc. all
                  continue to work. Each room is essentially autonomous.
                  Turning joining on or off throughout the entire network is almost always useful. After a
                  network has been set up, it’s usually undesirable to allow new nodes to join without the
                  installer’s permission. This is essentially why most WiFi networks in urban environments
                  are password-protected. Imagine if a rogue, drive-by node could turn the lights or heating
                  on or off in your home or business!
                  This first capture shows what happened when the ZR attempted to join, but the ZC had
                  joining disabled (the left most image in Figure 7.6). Notice how the joining node simply
                  keeps repeating the beacon request, as it found no beacon that is accepting joining:

                  Seq      Time        SrcPAN    MACSrc     MACDst    Packet Type
                  ------------------------------------------------------------------------
                  1                                 0xffff  IEEE 802.15.4 Beacon Request
                  2     +05.359                     0xffff  IEEE 802.15.4 Beacon Request
                  3     +00.003   0x0f00   0x0000           IEEE 802.15.4 Beacon: AP: 0


                  www.n ewn es p res s .c o m




CH07-H8597.indd 290                                                                                            7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 629 of 763 PageID #:
                                       2411



                                                                    The ZigBee Networking Layer       291

                  4     +02.019                           0xffff    IEEE   802.15.4   Beacon Request
                  5     +00.003   0x0f00       0x0000               IEEE   802.15.4   Beacon: AP: 0
                  6     +02.207                           0xffff    IEEE   802.15.4   Beacon Request
                  7     +00.004   0x0f00       0x0000               IEEE   802.15.4   Beacon: AP: 0
                  8     +02.019                           0xffff    IEEE   802.15.4   Beacon Request
                  9     +00.005   0x0f00       0x0000               IEEE   802.15.4   Beacon: AP: 0
                  ... and so on ...


                  This next capture shows the middle image in Figure 7.6, where both the ZR and ZED join
                  the ZC. Notice both children associate (join) to the ZC in packets 4 and 13, sending the
                  request to node 0x0000 of PAN 0x0f00. Note that the MAC (IEEE) addresses of the three
                  nodes are as follows:
                  ZC-0x0050c237b0040001
                  ZR-0x0050c237b0040001
                  ZED-0x0050c237b0040001

                  Seq Time     SrcPAN MACSrc     MACDst        Packet Type
                               DstPAN MACDst     (if 2 line)
                  -------------------------------------------------------------------------
                  1                              0xffff        IEEE 802.15.4 Beacon Request
                  2   +02.780                    0xffff        IEEE 802.15.4 Beacon Request
                  3   +00.003 0x0f00 0x0000                    IEEE 802.15.4 Beacon: AP: 0
                  4   +02.022 0xffff 00:50:c2:37:b0:04:00:02
                               0x0f00 0x0000                   Association Request
                  5   +00.001                                  Acknowledgment
                  6   +00.494          00:50:c2:37:b0:04:00:02
                               0x0f00 0x0000                   Data Request
                  7   +00.001                                  Acknowledgment
                  8   +00.003          00:50:c2:37:b0:04:00:01
                               0x0f00 00:50:c2:37:b0:04:00:02 Association Response
                  9   +00.001                                  Acknowledgment
                  10 +00.593                     0xffff        IEEE 802.15.4 Beacon Request
                  11 +00.003 0x0f00 0x0001                     IEEE 802.15.4 Beacon: AP: 0
                  12 +00.006 0x0f00 0x0000                     IEEE 802.15.4 Beacon: AP: 0
                  13 +02.014 0xffff 00:50:c2:37:b0:04:00:03
                               0x0f00 0x0000                   Association Request
                  14 +00.001                                   Acknowledgment
                  15 +00.496           00:50:c2:37:b0:04:00:03
                               0x0f00 0x0000                   Data Request
                  16 +00.001                                   Acknowledgment
                  17 +00.003           00:50:c2:37:b0:04:00:01
                               0x0f00 00:50:c2:37:b0:04:00:03 Association Response
                  18 +00.001                                   Acknowledgment


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CH07-H8597.indd 291                                                                                          7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 630 of 763 PageID #:
                                       2412


                  292      Chapter 7

                  This final capture shows the rightmost image in Figure 7.6, in which the ZR joins the
                  ZC, and the ZED joins the ZR forming a multi-hop straight line. Notice that the ZR still
                  associates with the ZC (node 0x0000), but the ZED associates with the ZR (node 0x0001):

                  Seq Time     SrcPAN MACSrc   MACDst         Packet Type
                               DstPAN MACDst   (if 2 line)
                  -------------------------------------------------------------------------
                  1                            0xffff         IEEE 802.15.4 Beacon Request
                  2   +02.780                  0xffff         IEEE 802.15.4 Beacon Request
                  3   +00.003 0x0f00 0x0000                   IEEE 802.15.4 Beacon: AP: 0
                  4   +02.022 0xffff 00:50:c2:37:b0:04:00:02
                               0x0f00 0x0000                  Association Request
                  5   +00.001                                 Acknowledgment
                  6   +00.494         00:50:c2:37:b0:04:00:02
                               0x0f00 0x0000                  Data Request
                  7   +00.001                                 Acknowledgment
                  8   +00.003 0x0f00 00:50:c2:37:b0:04:00:01
                                      00:50:c2:37:b0:04:00:02 Association Response
                  9   +00.001                                 Acknowledgment
                  10 +00.593 0xffff                           IEEE 802.15.4 Beacon Request
                  11 +00.002 0x0f00 0x0000                    IEEE 802.15.4 Beacon: AP: 0
                  12 +00.007 0x0f00 0x0001                    IEEE 802.15.4 Beacon: AP: 0
                  13 +02.014 0xffff 00:50:c2:37:b0:04:00:03
                               0x0f00 0x0001                  Association Request
                  14 +00.001                                  Acknowledgment
                  15 +00.496          00:50:c2:37:b0:04:00:03
                               0x0f00 0x0000                  Data Request
                  16 +00.001                                  Acknowledgment
                  17 +00.003          00:50:c2:37:b0:04:00:02
                               0x0f00 00:50:c2:37:b0:04:00:03 Association Response
                  18 +00.001                                  Acknowledgment


                  Once a node has joined a network, it can communicate with any other node in the entire
                  network. There is no requirement for binding or other mechanisms. Simply send the data
                  from one node to another, as long as you know the short address of the node. Of course,
                  for the application to see the packet, the Application Profile must be the same on both
                  sides, and the source endpoint on the sending node and the destination endpoint on the
                  receiving node must be registered. See Chapter 4, “ZigBee Applications,” for a good
                  explanation of Application Profiles, binding, and addressing within a node.
                  When building custom (private) profiles, I often set it up so that all the nodes in the
                  network have the same endpoint on both ends, and the same private profile on all
                  endpoints. It keeps life simple.

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CH07-H8597.indd 292                                                                                          7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 631 of 763 PageID #:
                                       2413



                                                                           The ZigBee Networking Layer            293

                          ZRs and ZEDs join networks.
                          Joining also includes authentication, giving the network a chance to reject the node.
                          Use permit-join enable and disable to turn joining on or off in a network.



                  7.2.3 Rejoining Networks
                  Rejoining assumes that the node has already joined the network, that the node has a
                  proper PAN ID, extended PAN ID, security key, and short address. There are several
                  reasons why a node might need to rejoin the network:

                      ●   A ZED has lost contact with its parent
                      ●   Power has been cycled, and many or all nodes in the network rejoin “silently”
                      ●   Joining a secure network if permit-joining is off

                  ZEDs always communicate directly to their parents. If the parent no longer responds, the
                  child must, eventually, find a new parent in order to keep communicating on the network.
                  The child itself decides when it has been orphaned, not the parent. ZigBee does not
                  mandate a specific number of failed polls or messages before a ZED assumes it can no
                  longer communicate with its parent; it is up to the application.
                  In the Freescale solution, a settable option called gMaxFailureCounter_c defaults to two
                  poll periods. If the ZED misses two poll periods (or attempts to send two messages that
                  fail to get through), it will automatically initiate a network rejoin procedure. This number
                  can be set to anything: 5, 10, 100, or set to 0 to indicate the application itself will initiate
                  the rejoin if needed.
                  The example in this section shows a ZED rejoining and finding a new parent, while
                  continuing its normal networking functions, as seen in Figure 7.7.
                  The rejoin process starts with a beacon request to find suitable parents. It is irrelevant
                  whether the potential parent nodes have permit-joining enabled or not. The only thing
                  that matters is that they have end-device capacity. After the beacon request, the ZED
                  picks one of the nodes (on the same PAN) to be a parent, performs the rejoin, receives a
                  new short address (stack profile 0x01 only), and then finally issues a device-announce
                  to tell the network that this node has moved. This last step is very important to preserve
                  bindings across the network.

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CH07-H8597.indd 293                                                                                                     7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 632 of 763 PageID #:
                                       2414


                  294      Chapter 7




                                                ZC
                                                                                ZR



                                      ZR                    ZED
                                                                               ZED



                                           ZED has ZC for               ZED has rejoined to
                                              parent                         the ZR


                                  Figure 7.7: Example 7-2 ZED Rejoins to a New Parent



                  In this example, Example 7-2 ZED Rejoin, the ZR is an HA On/Off Switch, and the ZED
                  is an HA On/Off Light. The network is initially formed in the usual three-node triangle,
                  as depicted in Figure 7.7. The ZR switch is bound to the ZED light. Then, at some point,
                  the ZC drops off the network. (I simply turned it off.) The ZED realizes that it can no
                  longer communicate with its parent and so initiates the rejoin procedure, establishing
                  the ZR as its new parent and announcing its new short address (it moved from NwkAddr
                  0x796f to 0x1430) to the network. The binding is preserved, and the light can still be
                  toggled on or off. The steps to run this example are:

                      1. Open the Example 7-2 ZED Rejoin solution with BeeKit.
                      2. Export the solution. Import the 3 projects into CodeWarrior.
                      3. Compile and download the 3 images (ZcNcbOnOffLight, ZrSrbOnOffSwitch, and
                         ZedSrbOnOffLight) into the 3 respective boards.
                      4. Press SW1 on all three boards to form/join the network.
                      5. Press SW3 on the ZR On/Off switch and the ZED On/Off light to bind them.
                      6. Press long SW1 on the ZR and ZED to go to application mode.
                      7. Press SW1 on the ZR to toggle the ZED light. Notice the light takes up to
                         1 second to toggle. This is the poll rate of the ZED to its parent (the ZC).

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CH07-H8597.indd 294                                                                                          7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 633 of 763 PageID #:
                                       2415



                                                                       The ZigBee Networking Layer         295

                      8. Turn off the ZC. Press SW1 on the ZR immediately. Notice the light doesn’t
                         toggle.
                      9. After a few seconds, press SW1 on the ZR again. Notice the light now toggles.
                         The ZED has found a new parent and announced its new short address.
                  Take a look at the capture below. I’ve inserted the step enumeration between the captured
                  packets. Step 4 is when the nodes both join the ZC. In Step 5, the ZR switch binds with
                  the ZED light. In Step 7, the ZR switch toggles the ZR light (note it goes through the
                  ZC). In Steps 8 and 9 the ZED realizes it can’t communicate to its parent, so it finds a
                  new one (the ZC) and because of the EndDeviceAnnce, the binding between the switch
                  and light continues without interruption on the new ZED short address, 0x1430:

                  Seq Time        SrcPAN    MACSrc    MACDst    Packet Type
                                  DstPAN    MACDst    (if 2 line)
                  ------------------------------------------------------------------------
                  STEP 4
                  4    +02.022    0xffff    00:50:c2:37:b0:04:00:02
                                  0x0f00    0x0000              IEEE:Association Request
                  13   +02.014    0xffff    00:50:c2:37:b0:04:00:03
                                  0x0f00    0x0000              IEEE:Association Request
                  STEP   5
                  25     +05.892      0x0f00       0x0001       0x0000       ZDP:EndDeviceBindReq
                  29     +00.766      0x0f00       0x796f       0x0f00       ZDP:EndDeviceBindReq
                  35     +00.094      0x0f00       0x0000       0x0001       ZDP:BindReq
                  STEP 7
                  67   +03.989        0x0f00       0x0001       0x0000       HA:On/off:Toggle
                  71   +00.004        0x0f00       0x0000       0x796f       HA:On/off:Toggle
                  STEPS 8 & 9
                  119 +03.003                                   0xffff       IEEE:Beacon Request
                  120 +00.002         0x0f00       0x0001                    IEEE:Beacon: AP: 0
                  125 +01.006         0x0f00       0x796f       0x0001       NWK:Rejoin Request
                  129 +00.003         0x0f00       0x0001       0x796f       NWK:Rejoin Response
                  131 +00.005         0x0f00       0x1430       0xffff       ZDP:EndDeviceAnnce (0x796f)
                  150 +05.004         0x0f00       0x0001       0x1430       HA:On/off:Toggle

                  Another type of rejoining is silent rejoin. Silent rejoin is something you won’t find in the
                  ZigBee specification, but all stack vendors provide it because it is necessary in a deployed
                  network of any size. For example, imagine that the power is cycled to all the routers in
                  a 1,000-node network, during a temporary outage in a building. When the power comes
                  back on, if all nodes attempted to join (or rejoin) at once, the networking in all probability
                  would largely fail: there would simply be too much traffic.

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CH07-H8597.indd 295                                                                                                7/26/2008 2:41:36 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 634 of 763 PageID #:
                                       2416


                  296       Chapter 7

                  But since routers already know their network information (PAN ID, Extended PAN
                  ID, NwkAddr, security key), they can simply start silently, without saying anything.
                  Remember, ZigBee nodes don’t need to talk to maintain status on the network. The power
                  outage can be looked at as equivalent to the network simply not talking for a while. As
                  power comes back on, each router goes into receive mode on the exact PAN ID, Extended
                  PAN ID, NwkAddr and security, as if the network had never been turned off. This is
                  called “Silent Rejoin.”
                  Here’s an over-the-air capture of a silent rejoin:




                  That’s right. It’s silent!
                  Silent rejoin is also used when the network moves to a new channel, as described in
                  Appendix A, “ ZigBee 2007 and ZigBee Pro,” under “Frequency Agility,” a feature new
                  to ZigBee 2007 and ZigBee Pro.
                  Silent rejoin only works if the nodes have some sort of permanent storage. In the case
                  of Freescale, this storage is called NVM (non-volatile memory), and is stored in flash
                  memory. Storage may be anything: flash memory, battery-backed RAM, a hard disk,
                  whatever storage can survive power outages. Most ZigBee devices use a portion of the
                  flash memory for storage to remember all of the ZigBee and application-level information
                  that must survive power outages.
                  Even with sleeping ZEDs, NVM (flash) storage is present. After all, batteries may last
                  many years in a ZigBee device, but eventually they must be changed. Why recommission
                  the node just to change batteries?
                  One other use of rejoin, that is not always obvious, is the use of NWK-Rejoin to join
                  a network that has permit-joining off. This is used sometimes if the commissioning
                  process already has the network key, PAN ID, etc., already programmed into a node. The
                  NWK-Rejoin procedure will give that device and address on the network, and the ZDP:
                  DeviceAnnce will let all the nodes in the network know that it has joined.
                  This “joining-using-rejoin” can be useful in certain commissioning situations. One
                  example is with HA. In Stack Profile 0x01, as configured for Home Automation, the
                  network key is sent in the last hop to a joining node. This is done because the joining

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CH07-H8597.indd 296                                                                                          7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 635 of 763 PageID #:
                                       2417



                                                                           The ZigBee Networking Layer              297

                  node (perhaps a light switch that you bought at Home Depot) has no knowledge of your
                  network key. In general, because joining is rare, this method is acceptable for home
                  use. The window is small, so the risk of someone intercepting the key is also small. But
                  perhaps your home is Bill Gates’s home, and you don’t even want that small a window
                  for security reasons. Simply buy little fancier nodes that allow you to program the
                  security key into them (perhaps through a USB or some other connection, or with a key-
                  fob like that available through Eaton’s Home Heartbeat products), then voila! The node
                  simply issues a NWK-Rejoin command and receives an address on the network.


                        Rejoin is used to help ZEDs find a new parent if they lose contact with their old parent.
                        Silent rejoin is used when the node is power-cycled.
                        NWK-Rejoin does not need permit-joining on.



                  7.3      ZigBee Address Assignment
                  Addressing is crucial in a network. Similar to your post office address, the address of
                  each node must be unique for ZigBee, or any other network, to function. Imagine the
                  confusion if your post office address wasn’t unique, and your bills ending up going to
                  someone else? Granted, this might be nice for spam, advertisements, and catalogs,
                  but for any data that you care about, a unique address for each node is critical.

                  ZigBee uses two unique addresses per node: a long address (aka IEEE or MAC address)
                  and a short address (aka NwkAddr).

                  The long address, also called the IEEE or MAC address, is assigned by the manufacturer
                  of a device using an 802.15.4 radio (not the chip manufacturer), and does not change
                  for the life of the device. The long address uniquely identifies the widget from all other
                  802.15.4 widgets in the world. In fact, the 64 bits (8 bytes) of this address space are large
                  enough to include 123,853 devices for every square meter on earth. The IEEE address
                  space, surprisingly enough, is controlled by IEEE. A block of them can be purchased by
                  the manufacturer at http://www.ieee.org.

                  Each IEEE address uniquely identifies this node from any other node in the world. The
                  top three bytes (24 bits) are called the Organizational Unique Identifier (OUI), and the
                  bottom five bytes (40 bits) are managed by the Original Equipment Manufacturer (OEM),
                  as shown in Figure 7.8.

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CH07-H8597.indd 297                                                                                                       7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 636 of 763 PageID #:
                                       2418


                  298      Chapter 7

                                        OUI (3 bytes)        Managed by OEM (5 bytes)


                           Figure 7.8: 64-bit MAC Address (AKA Long, IEEE, or EUI Address)


                  If you are an OEM about to manufacture a widget using ZigBee, be sure to obtain
                  a block of MAC addresses. Check with whoever in your department is in charge of
                  such things. They may already have an OUI (the top 24 bits of the MAC address). If
                  not, you can purchase an OUI from IEEE. The other 40 bits must be managed by your
                  organization. If you don’t already have a system in place, you need one. Every widget
                  that comes off the factory floor should be uniquely identified. Most manufacturing
                  services also offer placing code in the microcontrollers, and allow one or more “serial
                  numbers” to uniquely identify each widget. The MAC address can be entered
                  this way.

                  Short (16-bit) addresses are assigned to a node at the time the node joins a ZigBee
                  network. Why the dual addresses? Consider ZigBee addressing, as shown in Figure 7.9.

                  Notice that both the MAC layer header and the NWK layer header have both a source and
                  a destination address. If the 8-byte MAC addresses were used, this would use up 32 bytes
                  of the 127-byte over-the-air packet for node addressing alone! Instead, ZigBee uses a
                  2-byte network address, reducing these fields to 8 bytes total, allowing 24 more bytes for
                  application use.

                  Why have these addressing fields in both the MAC header and the NWK header? This
                  will be discussed in more detail in the next section on packet routing, but here are the
                  basics. If sending a packet from node “A” to node “Z,” the first hop would be from “A”
                  to “B,” the next hop from “B” to “C,” and so on, until the final hop from “Y” to “Z.” The
                  nwkSrc and nwkDst always indicate “A” to “Z,” while the macSrc and macDst would be
                  the per-hop addresses, “A” to “B,” and so on.

                  This section is about ZigBee address assignment, and when I talk about ZigBee address
                  assignment, I’m really talking about the short address. The short address is assigned by


                                       MAC HDR addressing fields   NWK HDR addressing fields
                                         macSrc         macDst       nwkSrc        nwkDst


                                       Figure 7.9: MAC and NWK Addressing Fields

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CH07-H8597.indd 298                                                                                            7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 637 of 763 PageID #:
                                       2419



                                                                      The ZigBee Networking Layer            299

                  ZigBee at the time a node joins (or forms) a ZigBee network, and has no relation to the
                  IEEE address. ZigBee uses one of two address schemes to assign the short address:
                      ●   Cskip
                      ●   Stochastic (random)
                  Cskip address assignment, available in stack profile 0x01 (the stack profile simply called
                  ZigBee), is described in full detail here in this section, including all its ramifications.
                  I’ll describe stochastic address assignment in detail in Appendix A, “ZigBee 2007 and
                  ZigBee Pro,” but a quick description is this: A node joining a network chooses its own
                  address. It then sends a broadcast announcement to the network to see if any other node
                  already has that address. If so, then the node chooses another address. If not then the
                  node keeps that address. Stochastic addressing is available in stack profile 0x02 (the stack
                  profile called ZigBee Pro).
                  In stack profile 0x01, addresses are assigned with a parent-child relationship that forms a
                  symmetrical tree. The addressing scheme for stack profile 0x01 uses a calculated number
                  for each “depth” (the number of hops from the ZigBee Coordinator), called Cskip (child
                  skip).
                  In tree (Cskip) addressing, the ZigBee Coordinator (who forms the network) is node 0
                  (0x0000), by definition. The next node to join the network will receive an address from
                  the parent node, as you can see in the association response below. The address that this
                  node is assigned depends on whether the child is a router, which can have children of its
                  own, or an end-device, which cannot:
                  IEEE 802.15.4
                    Frame Control: 0xcc63
                    Sequence Number: 53
                    Destination PAN Identifier: 0x0bef
                    Destination Address: 0x0050c2047800fc12
                    Source Address: 0x0050c211dc051801
                    MAC Payload
                      Command Frame Identifier = Association Response: (0x02)
                         Short Address: 0x0001
                         Association Status: Association Successful (0x00)

                  Notice the short address in the association response payload. Also note the full 8-byte
                  MAC addresses used as both the source and destination addresses. The MAC address
                  must be used because the node is not yet on the network, and there is no other way to
                  address it. But once the node receives the association response, it then knows its short

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CH07-H8597.indd 299                                                                                                7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 638 of 763 PageID #:
                                       2420


                  300       Chapter 7

                                          Cskip level 0   0⫻143d      maxDepth        5
                                          Cskip level 1   0⫻035d      maxChildren    20
                                          Cskip level 2   0⫻008d      maxRouters      6
                                          Cskip level 3   0⫻0015
                                          Cskip level 4   0⫻0001
                                          Cskip level 5   0⫻0000


                                    Figure 7.10: Cskip Calculated for Stack Profile 0x01

                  address, in this case, 0x0001. (I can tell from that address that this node joining was a
                  router.)
                  Cskip uses three parameters to determine addressing: maxDepth, maxChildren,
                  and maxRouters (see Figure 7.10). Using these parameters, Cskip can determine
                  mathematically both what a newly joining child address should be, and also how to route
                  a packet along the symmetrical tree. Stack profile 0x01 uses the values of maxDepth(5),
                  maxChildren(20), and maxRouters(6), which limits the total number of nodes in the
                  network to 31,101 nodes (out of a possible address space of 64 K).
                  Basically, the concept is this: The tree is split into “levels,” level 0 being the ZigBee
                  Coordinator, level 1 being its children, level 2 being its children’s children, and so on.
                  The first router that joins the ZigBee Coordinator receives address 0x0001. The next
                  router that joins the ZC gets address 0x0001 ⫹ Cskip at that level, so the next router in
                  stack profile 0x01 will be 0x143e, because the Cskip at level 0 is 0x143d. This number,
                  0x143d, is large enough for that router and all its children and grandchildren to fully
                  fill out that branch of the symmetrical tree. Whether it does or not (which is unlikely) is
                  irrelevant. Enough address space is reserved so it could.
                  The first ZigBee End-Device that joins at level 0 gets an address after all the routers,
                  which is address 0x796f in stack profile 0x01. The formula to obtain this number is:

                        1 [ZC takes 1 address] ⫹ 6 [maxRoute rs] ⫻ 0x143d [Cskip at level 0] ⫽ 0 x 796f

                  The concept of Cskip is more easily explained with a network using smaller Cskip
                  parameters, even though this is not compatible with stack profile 0x01. Take a
                  look at Figure 7.11. The parameters are set to maxDepth(3), maxChildren(5), and
                  maxRouters(3). This only allows for a total of 66 nodes in a network (not very
                  many!) Remember, these numbers are artificially small to make the explanation of the
                  symmetrical tree easier to understand.

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CH07-H8597.indd 300                                                                                             7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 639 of 763 PageID #:
                                       2421



                                                                          The ZigBee Networking Layer                   301

                                                                              63             Cskip calculated
                                                           64                                at each depth
                                Tree              65                 43                         Depth           CSkip
                                links
                                                                                                   0             21
                                                                                  44               1             6
                                Mesh links                  0                                      2             1
                                                                                                   3             0
                                          19           1


                                                                     22                 29
                      Example
                      Cskip settings


                                                                             23
                        MaxDepth          3
                        MaxChildren       5
                                                                     24                25
                        MaxRouters        3
                        MaxNodes         66


                              Figure 7.11: Cskip Address Assignment Assumes a Symmetrical Tree



                  To understand the tree addressing, it’s easiest to start at the bottom (maxDepth),
                  and work our way up the tree to the root (or level 0). Consider node 24. Because it is
                  already at maxDepth, three hops away from the ZigBee Coordinator, it cannot have any
                  children, so the Cskip at this level is 0. Now look at its parent, node 23. This node is
                  at level 2, that is, two hops away (along the tree) from node 0, so it has a Cskip of 1.
                  Each of its children will consume exactly one address. Node 23 may have up to five
                  children, so its own address (23) plus its five children (24–28) could potentially consume
                  a total of six addresses. That’s why the Cskip for its parent node, node 22 (which is at
                  level 1), is 6.
                  Node 22 and all of its children and grandchildren can consume a total of 21 addresses:
                  1 ⫹ (3 ⫻ 6) ⫹ 2 ⫽ 21. Where did the “2” come from? This is how many ZigBee End-
                  Devices can join the node:

                                        maxChildren (5) ⫺ maxRouters (3) ⫽ maxEndDevices (2)

                  Hence, the Cskip at level 0, for the ZigBee Coordinator in this network, is 21. Each router
                  child at level 0 can consume 21 addresses for itself and all of its family. ZigBee End

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CH07-H8597.indd 301                                                                                                           7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 640 of 763 PageID #:
                                       2422


                  302         Chapter 7

                  Devices never have children, so they consume the remaining two addresses. The formula
                  for the total number of nodes allowed in a tree network with these parameters is:

                                                         1 ⫹ (3 ⫻ 21) ⫹ 2 ⫽ 66

                  By assuming a symmetrical tree, ZigBee can know, using simple mathematics, whether
                  the node address is a child (including all grandchildren) or not. If it is a child, the packet
                  is sent to the next hop below, either to a router or the address itself. If the address is not
                  a child address, the packet is sent to the parent. Node 22 in Figure 7.11 knows that any
                  node address from 23 through 42 must be a child. Anything else (for example, address
                  43) is not, and so would be sent to the parent.
                  The problem with Cskip, and the reason it wasn’t used in ZigBee Pro (stack profile 0x02),
                  is that it doesn’t scale well beyond maxDepth(5), which allows a maximum of 10 hops
                  in a network (2 ⫻ maxDepth). What if more hops are desired? Just changing maxDepth
                  to 6, and leaving the other parameters alone in stack profile 0x01, maxChildren(20), and
                  maxRouters(6) allows up to 186,621 nodes, a number too large to fit in the 16-bit short
                  address, which makes them illegal values for Cskip. Play around with different Cskip
                  parameters with the ZigBee Calculator provided on http://www.zigbookexamples.com,
                  and you’ll see that 10 hops is really all Cskip can handle without major restrictions to the
                  number of nodes that can join any given router.
                  In Figure 7.11, I included both tree links (black lines) and mesh links (dotted gray lines).
                  ZigBee is always a mesh network. The tree may be used as a backup routing scheme
                  if the mesh is busy or full, but it does not replace mesh. Tree routing (available only in
                  stack profile 0x01) augments mesh routing, which, of course, leads to the topic of packet
                  routing in ZigBee.

                      Stack profile 0x01 uses Cskip address assignment which allows tree routing in addition to mesh.
                      Stack profile 0x02 uses stochastic (random) addressing, which does not.



                  7.4        ZigBee Packet Routing
                  ZigBee employs a variety of methods for routing packets from one node to another:
                        ●   Broadcasting (from one to many nodes)
                        ●   Mesh routing (unicast from one node to another)

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CH07-H8597.indd 302                                                                                                     7/26/2008 2:41:37 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 641 of 763 PageID #:
                                       2423



                                                                         The ZigBee Networking Layer       303

                      ●   Tree routing (unicast from one node to another, stack profile 0x01 only)
                      ●   Source routing (unicast from one node to another, stack profile 0x02 only)

                  Each of these distinct methods has advantages and disadvantages, as seen in Table 7.1.
                  For the purposes of this table, multicast, available in ZigBee Pro, has the same advantages
                  as broadcast.

                  Broadcasting essentially allows one node to reach many other nodes with a single data
                  request. This method is not acknowledged (the originating node has no assurance it was
                  received) and is very resource-intensive. Use broadcasts sparingly.

                  Mesh routing is table-driven and is very efficient (in terms of time, bandwidth, and
                  memory resources), once the route is established. Packets sent along the mesh are
                  acknowledged, so the sending node can know whether or not the packet was received.
                  Mesh routes are distributed, which reduces the over-the-air packet overhead. ZigBee
                  mesh can deliver packets up to 30 hops away.

                  Tree routing, also acknowledged, is only available in Stack Profile 0x01. It was described
                  in the previous section on Cskip. Tree is just as bandwidth-efficient as mesh, and more
                  efficient in terms of memory. But it has a major drawback: If links between parent and
                  children break, it has no recovery. So ZigBee uses mesh by default.

                  Source routing, like mesh and tree, is acknowledged. This type of routing is available
                  only in Stack Profile 0x02. It is used primarily when a data concentrator (or gateway)
                  needs to communicate with many nodes, perhaps hundreds, or thousands. With mesh



                                                  Table 7.1: ZigBee Routing Methods
                                                      Broadcast   Mesh         Tree       Source Route
                          Multi-hop                   Up to 30    Up to 30     Up to 10   Up to 5 hops
                          Multiple destinations       Yes         No           No         No
                          One-to-one                  No          Yes          Yes        Yes
                          Bandwidth efficient         No          Yes          Yes        Yes
                          Payload efficient           Yes         Yes          Yes        No
                          Acknowledged                No          Yes          Yes        Yes


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CH07-H8597.indd 303                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 642 of 763 PageID #:
                                       2424


                  304      Chapter 7

                  routing, each route needs a table entry, and ZigBee nodes typically don’t have the RAM
                  for a thousand routes. In source routing, a single (more expensive) node can have the
                  RAM to store all the routes. The route for any particular communication is then sent as
                  part of the over-the-air packet. Its major drawback is that it is limited to a maximum of
                  five hops.

                  One other type of unicast routing, not really mentioned in the ZigBee specification, is
                  neighbor routing. If the node is a neighbor (that is, within radio range), and the sending
                  node knows that the destination node is a neighbor, the packet is simply delivered
                  directly. No route is required. While not required by the ZigBee specification, nearly all
                  stack vendors do this for efficiency. Why bother to discover a route, if the node is right
                  next to you? This method only works if the neighbor is a router, or a child end-device. If
                  the neighbor is some other router’s child, then the route must go through that other router.
                  I’ll describe each of these routing methods in more detail below.


                  7.4.1 Broadcasts
                  Broadcasts are really the foundation for reliable multi-hop communication in ZigBee.
                  Without broadcasting, even mesh networking is not possible.

                  When a node initiates a broadcast, the message is repeated by all the neighboring
                  routers of that node, up to a certain radius from the center of the broadcast, as shown
                  in Figure 7.12.

                  The area in gray in the figure below represents the broadcast as it expands across the
                  network, like ripples in a pond. Each node that receives the broadcast decrements the




                                  Figure 7.12: Broadcasts Expand Like Ripples in a Pond

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CH07-H8597.indd 304                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 643 of 763 PageID #:
                                       2425



                                                                       The ZigBee Networking Layer         305

                  radius, and if there is any radius left, adds the broadcast to the Broadcast Transaction
                  Table (BTT) and repeats it. If a node receives a broadcast with a radius set to 1, then
                  it will pass the broadcast up to the application, but will not repeat it. This radius set
                  from 0x01 to 0xff, to indicate an actual maximum distance. The broadcast in the figure
                  above must have been sent with a radius of at least 3 for the nodes above to have
                  repeated it.

                  In Freescale BeeStack it is common to use either afDefaultRadius_c (the entire network)
                  or 1 (for immediate neighbors only).

                  ZigBee does allow a radius of 0x00, which is a special flag that means to repeat the
                  broadcast for the entire network. If a router node receives a broadcast of radius 0x00
                  (which it hasn’t heard before), it will add it to the BTT and repeat it, and it will not
                  decrement the radius. I find this confusing, and wish ZigBee had chosen 0xff to mean
                  “forever” (as it does in so many other things, like permit-joining), but that’s how it goes
                  in specifications. They are not always internally consistent.

                  The Broadcast Transaction Table is a critical component of broadcasting. Not only does
                  the BTT keep track of the over-the-air packet so that the node can repeat it, but the BTT
                  keeps track of the unique identifier of the broadcast so the broadcast is only passed up to
                  the application once, and is not added to the BTT again. The default number of entries in
                  the BTT is 9, and the timeout for a broadcast across the network is nine seconds, which
                  means a network can sustain a rate of 1 broadcast per second: not very many. If the BTT
                  is full, the broadcast will be dropped by the receiving node.

                  Use broadcasts sparingly in your application. If quicker, more constant communication
                  is required, use unicasts instead. Keep in mind that route discoveries are also broadcasts,
                  as are some ZDP commands such as Device_annce. ZDP-Device_annce is sent every
                  time a node joins a network. So is a route discovery to the Trust Center if the TC is not a
                  neighbor. This means that nodes may join at a rate of one per every two seconds. If you
                  attempt to join 100 nodes all at once, multiple attempts will have to be made.

                  If discovering routes constantly, the network could “fill up” on broadcasts, and the route
                  discoveries would be dropped, causing them to fail. The application will know if the
                  route discovery failed, as the data confirm will tell it (BeeAppDataConfirm() in Freescale
                  BeeStack). The application must either give up on the route, or wait a few seconds and
                  try again.

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CH07-H8597.indd 305                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 644 of 763 PageID #:
                                       2426


                  306         Chapter 7

                  Below is an over-the-air capture of a broadcast in progress:

                      Time         MACSrc   MACDst   NWKSrc    NWK Seq    R        NWKDst   Packet Type
                      ---------------------------------------------------------------------------------------
                      31 +00.110   0x143e   0xffff   0x143e    12         5        0xffff   ZDP:EndDeviceAnnce
                      32 +00.022   0x0000   0xffff   0x143e    12         4        0xffff   ZDP:EndDeviceAnnce
                      33 +00.049   0x0001   0xffff   0x143e    12         3        0xffff   ZDP:EndDeviceAnnce
                      34 +00.090   0x143e   0xffff   0x143e    12         5        0xffff   ZDP:EndDeviceAnnce
                      35 +00.102   0x143e   0xffff   0x143e    12         5        0xffff   ZDP:EndDeviceAnnce
                      36 +00.030   0x0000   0xffff   0x143e    12         4        0xffff   ZDP:EndDeviceAnnce
                      37 +00.150   0x0001   0xffff   0x143e    12         3        0xffff   ZDP:EndDeviceAnnce
                      38 +00.013   0x0000   0xffff   0x143e    12         4        0xffff   ZDP:EndDeviceAnnce


                  Note the originating network source address (NWKSrc) and network sequence number
                  (NWKSeq). These two fields, taken together, uniquely identify the broadcast in the
                  network. The MAC fields change as the broadcast propagates, so you can tell which node
                  is repeating it, but the NwkSrc and NwkSeq remain the same. Note the radius (R) field
                  in the broadcast and see how it’s decremented (look at packet 31 versus 32 above) as the
                  broadcast propagates across the network.
                  Notice also the time difference between the repeated broadcasts. This random amount of
                  time is called jitter. The broadcast jitter makes broadcasts relatively slow compared to
                  unicasts. It will take on the order of 1,000 milliseconds to propagate a broadcast across
                  ten hops. Unicasts can be sent across ten hops in about 50 to 100 milliseconds.
                  Only routers (the ZC and ZRs) repeat broadcasts. ZEDs may receive them, but do not
                  participate in any kind of routing, including broadcasts. If initiating a broadcast, sleepy
                  ZEDs do not broadcast directly (after all, they are going back to sleep immediately).
                  Instead they unicast the broadcast to their parent, and then their parent initiates the
                  broadcast on their behalf.
                  It is up to the stack vendor how many times (up to three) that the broadcast is repeated.
                  Some stack vendors provide some intelligence in dense networks, so as not to repeat the
                  broadcasts so many times. This conserves bandwidth.
                  There are three special ZigBee broadcast modes:
                         ●   0xffff—broadcast to all nodes (even sleeping ZEDs)
                         ●   0xfffd—broadcast to all awake devices (including RxOnIdle ⫽ TRUE ZEDs)
                         ●   0xfffc—broadcast to all routers (excludes all ZEDs)

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CH07-H8597.indd 306                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 645 of 763 PageID #:
                                       2427



                                                                          The ZigBee Networking Layer           307

                  The broadcast modes are used by various ZigBee ZDP, APS, and NWK layer commands,
                  but can also be used by applications. Simply place this number in the destination field on
                  the APSDE-DATA.request. For more information on using broadcasts in applications, see
                  Chapter 4, “ZigBee Applications.”
                  A broadcast of radius 1 is particularly useful to send data to all neighbors, assuming the
                  nodes this application wants to talk to are all within hearing range.
                  There is also another form of broadcasting called “multicast.” In short, multicast, like a
                  broadcast, propagates across the network. But multicast stays within a predefined group of
                  nodes, not the entire network. Where broadcasts are circular, multicasts can be any shape
                  (oblong, square, or a strange, stretchy amoeba). I’ll describe this method in detail in Appendix
                  A, “ZigBee 2007 and ZigBee Pro, “ which discusses the ZigBee Pro and 2007 features.

                           Broadcasting transmits from one node to many nodes, up to the entire network.
                           Use broadcasts sparingly, as they consume a lot of bandwidth and resources.
                           Broadcasts are slow compared to unicasts.


                  7.4.2 Mesh Routing
                  Mesh routing is at the heart of ZigBee. A wireless solution servicing large office
                  buildings, electric meters distributed across cities, hospitals, and yes, even the cattle
                  industry (see http://www.zigbeef.com) needs the ability to send a signal farther than a
                  radio can speak, especially one communicating at one watt or less.
                  The concept of ZigBee meshing is simple but powerful. A route is discovered from
                  one node in the network to another. This route passes through any number of
                  intermediate nodes (up to 30 hops in ZigBee Pro). If something happens to the route
                  over time, such as if a node goes down, or a barrier blocks part of the route, then a
                  new route is automatically discovered around the barrier or interference, as shown in
                  Figure 7.13.
                  In this section, I’ll go into the details of routing tables, route discovery process, route
                  errors, and route maintenance.

                  In ZigBee mesh:
                      ●   The algorithm is based on the publicly available Advanced Ad-hoc On-Demand
                          Distance Vectoring (AODV).

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CH07-H8597.indd 307                                                                                                   7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 646 of 763 PageID #:
                                       2428


                  308         Chapter 7


                                                                                  Barrier


                          1
                                                                         1
                                              2
                                                                                             2

                                                              3
                                                                                                          3
                              4
                                                   5                         4
                                                                                                   5



                                  Figure 7.13: Mesh Networking Automatically Reroutes Packets


                      ●   All routers are peers.
                      ●   The route is distributed: Each node in the route keeps track of the next hop for the
                          route in a routing table.
                      ●   Routes are unidirectional (a route must be discovered each way for bidirectional
                          communication).
                      ●   Routes are like goat trails: they continue to be used until they fail.
                      ●   Failed routes are communicated back to the originating node, allowing it to
                          discover a new route.
                  AODV is a well-known, publicly available mesh routing technique (there are many). A
                  variation of this was chosen by ZigBee because it scales well for systems with serious
                  RAM limitations. Remember, ZigBee fits on 8-bit nodes with only 2 to 4 K of RAM.
                  One question I’m often asked is, “What’s so great about meshing? Why not use repeating,
                  broadcasting, source routing, or another form of routing?”
                  Repeating (a simplified form of broadcasting) and broadcasting are bandwidth and
                  resource-intensive. They require nodes to keep the message around for a longer period
                  of time because all the neighbors must repeat it. With mesh, only the nodes along the
                  path repeat it, not the entire network, saving both time and bandwidth. Mesh networking
                  is also per-hop-acknowledged, whereas repeating and broadcasting are not, providing
                  higher reliability and lower bandwidth usage. There is no point in repeating something
                  that has been acknowledged. With mesh, a sending node can know whether the message
                  was received.

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CH07-H8597.indd 308                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 647 of 763 PageID #:
                                       2429



                                                                         The ZigBee Networking Layer          309

                  True source routing (like TCP/IP) requires setup ahead of time. Someone (a human
                  being) must know the next hop in the network, and set up in advance. This takes planning
                  and more complicated commissioning. With mesh, the nodes can be placed ad-hoc,
                  anywhere the installer likes, and the routes will be figured out automatically by the
                  network. ZigBee does offer a source routing option that uses mesh-like route discovery
                  in ZigBee Pro.

                  Source routing also has higher over-the-air overhead for the protocol. The 802.15.4 PHY
                  is limited to 127 octets. With the ZigBee protocol overhead, actual application payload
                  is reduced to about 100 bytes, whereas with source routing, especially where many hops
                  are involved, the application payload size can be reduced even further, down to 80 or even
                  60 bytes. Source routing is normally used where the PHY packet size is larger. Again,
                  ZigBee does offer source routing, but it is limited to five hops to reduce this effect.

                  So, back to ZigBee mesh networking. As mentioned in the previous list, all routers are
                  peers. Any node in the network may discover a route, and every router becomes, at least
                  temporarily, a potential route. This process is called “route discovery.” ZigBee keeps a
                  route discovery table (distinct from the routing table) during this process to find the most
                  efficient route, in terms of time.

                  The route discovery process begins with a broadcast from the node wishing to discover
                  a route to another node. In ZigBee mesh networking, initially, there is no information.
                  The code could be anywhere: up, down, left, or right. The network doesn’t know, so it
                  broadcasts throughout the entire network to find the node.

                  Along the way, a “path cost” is kept. Every hop adds a number from one to seven to
                  indicate the strength of this hop, or link, as it’s sometimes called. For example, in Figure
                  7.14, node 1 wants to send a packet to node 10. Node 1 doesn’t have node 10 as a
                  neighbor, and does not already have a route to node 10, so it initiates a route discovery.
                  This broadcast goes in all directions. As the past cost is added up along each hop, the best
                  route is found. If another, lower, path cost comes along to any given router, it sends that
                  route on.

                  Note that the least path cost is not the same as the fewest number of hops. If a link is
                  good, it will have a path cost for that link of 1. But if a link is particularly spotty (the two
                  nodes often have to retry), it will be higher, perhaps as high as 7.

                  For simplicity’s sake, let’s assume that all the links above are good (with a path cost
                  of 1). Each dashed line represents a link (that is, which nodes are neighbors, within

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CH07-H8597.indd 309                                                                                                  7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 648 of 763 PageID #:
                                       2430


                  310      Chapter 7

                                  ZC
                                                                                                  8
                                  ZR

                                  ZED                                                7


                                                                    0



                              3              2             1                 6                9




                                                                                         10
                                                       4            5



                                                                                                      11


                           Figure 7.14: Route Discovery Is Broadcast Throughout the Network


                  hearing range of each other). Each circle represents a node. The route discovery broadcast
                  propagates across the network, and the path cost is added up at each hop. The lowest one
                  reaching 10 will be a path cost of two, the route from node 1 to 5, and then to 10.

                  Node 10 waits for a while to see if any lower path costs come in a bit later. A lower path
                  cost could come in later due to the randomness of the broadcast algorithm (each node
                  waits a random amount of time before repeating the broadcast).

                  Node 10 then issues a unicast route reply back to the originating node, as seen in
                  Figure 7.15.

                  The other nodes which were recording the best path cost for this route request keep track
                  of it for a while (a few seconds). They eventually drop the route request, clearing up that
                  entry in the route discovery table. But nodes 1 and 5 keep track of the route. Depending
                  on the setting of the Network Information Base (NIB) variable, nwkSymLink, the route
                  is either considered bidirectional or unidirectional. ZigBee stack profile 0x01 assumes
                  unidirectionality. ZigBee Pro assumes bidirectionality.

                  One thing that it is very important for ZigBee routing to work is that the links must
                  be mostly symmetrical, in radio terms. If one node can shout very loud, but can’t hear
                  anything, it will have very poor links with its neighbors. So, if creating hardware with a

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CH07-H8597.indd 310                                                                                             7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 649 of 763 PageID #:
                                       2431



                                                                        The ZigBee Networking Layer        311

                                    ZC
                                                                                                  8
                                    ZR

                                    ZED                                              7


                                                                   0



                              3              2            1                   6               9




                                                                                         10
                                                      4             5



                                                                                                      11


                                  Figure 7.15: Route Replies Are Unicast Back to Originator


                  power amplifier (PA), then either ensure that all nodes in the network have the PA, or
                  ensure that the PA-enabled node also has an equally powerful Low-Noise Amplifier (LNA).

                  Now, let’s assume that the link between nodes 1 and 5 is not very good. Say a path cost
                  of three, as shown in Figure 7.16. ZigBee will discover a route with more hops (say from
                  1 ⬍--⬎ 0 ⬍--⬎ 6 ⬍--⬎ 10), rather than one with fewer hops, and a link that will require
                  retries. You can see this makes sense in terms of time. If ZigBee must retry, it is much
                  more time expensive than if ZigBee merely needs to add an extra hop or two.

                  What if the route that worked before doesn’t work now? ZigBee sends a route error back to
                  the originating node. For example, in Figure 7.16, perhaps the original route was 1 ⬍--⬎
                  0 ⬍--⬎ 6 ⬍--⬎ 10. But for some reason the link between nodes 6 and 10 breaks. Since
                  node 6 can no longer deliver the packet, it will send a route error back to the originating
                  node (1) who will then issue a new route request, automatically finding a new available
                  path. This feature of mesh networking is often called self-healing.

                  ZigBee does not actively try to find the best route on every packet sent. Packets will
                  continue to use a route, like goats continue to use a goat trail, as long as it works. But
                  your application can, if you specify. Simply tell the APSDE-DATA.request to force route
                  discovery, and a new “best route” will be found. Keep in mind the route discovery can

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CH07-H8597.indd 311                                                                                              7/26/2008 2:41:38 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 650 of 763 PageID #:
                                       2432


                  312      Chapter 7

                                  ZC
                                                                                                      8
                                  ZR

                                  ZED                                                    7


                                                                    0
                                                               1         1

                              3              2             1                 6                    9
                                                                                     1

                                                               3
                                                                                             10
                                                       4            5
                                                                                 1


                                                                                                          11


                              Figure 7.16: ZigBee Chooses the Lowest Path Cost for Route


                  take up to one or two seconds, and it generates a broadcast, so use it sparingly. Generally,
                  your application should do this only if it has been off and not communicating, for some
                  time. Usually, the best route found initially will remain the best route, perhaps even for
                  the life of the network.
                  Each router in a ZigBee network contains a routing table to keep track of routes. Each
                  node only keeps track of the next hop in any given route. For example, the route table
                  shown in Figure 7.17 shows the route we found from node 1 to node 10. The next hop to
                  get there from node 1 is node 0. The ultimate destination is node 10 (0x000a).
                  We can also see that another route is pending discovery to node 9 (that is the route
                  discovery has started but not completed).
                  ZigBee doesn’t define route table maintenance well. It is really up to the stack vendor or
                  application to decide when (or if) to retire routes.
                  A typically routing table is from 6 to 20 entries. Usually that’s enough for most networks.
                  Nodes tend to communicate to other nodes close to them, or to a gateway, so the actual
                  number of routes through any given node is usually small. If the routing table is full, then
                  that node won’t participate in route discovery which tends to spread the routes out evenly
                  through a network that requires a lot of routes.

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CH07-H8597.indd 312                                                                                              7/26/2008 2:41:39 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 651 of 763 PageID #:
                                       2433



                                                                       The ZigBee Networking Layer         313

                                              Destination   Next Hop     IsValid
                                                0x000a       0x0000       Yes
                                                0x0009        ----       Pending
                                                  ----        ----         No


                                              Figure 7.17: ZigBee Route Table


                  If the routing table is full, what should you do about it? Some vendors use a least-
                  recently-used algorithm, some leave it up to the application, and some use a timeout to
                  retire routes. Think about the typical route usage of your network and be sure to leave
                  some room. Perhaps you should increase the size of the routing table (which uses more
                  RAM), or actively manage the routes.

                  Another thing that is important to understand about routes is that ZigBee End Devices do
                  not participate in routing. If finding a route to a ZED, the router parent will respond on
                  the end device’s behalf. The ZED doesn’t need to know anything about routes: It simply
                  receives packets from its parent and sends packets to its parent.

                  For the example in this section, I’ll use a network organized into what I call the Southern
                  Cross (see Figure 7.18). This network has all ZigBee node types and it has multiple
                  possible routes.

                  The entire capture of Example 7-3 The Southern Cross is available online at
                  http://www.zigbookexamples.com/code. See Chapter 3, “The ZigBee Development
                  Environment,” for general instructions on how to download and use the source code with
                  actual hardware.

                  In this case, the wakeful ZED is going to find a route to the sleepy ZED. The sleepy ZED is
                  an HA On/Off Light. The wakeful ZED is an HA On/Off Switch which can toggle the light.

                  To make it easy to capture routing from a single location (my desk), I’ve used a
                  mechanism available in Freescale BeeStack called the “I-Can-Hear-You” table. This table
                  allows certain nodes to hear only certain other nodes. Otherwise, all the nodes would
                  be neighbors, if they were on the desk. The I-Can-Hear-You table is very convenient for
                  trade shows, and for developing. The command SetICanHearYouTable() fills the tables
                  with the particular neighbors I want.
                  Take a look at the relevant packets from the capture below. Initially, the wakeful ZED
                  (0x351) sends the ZDP:EndDeviceBindReq to the ZC, through its parent ZC3 (node

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CH07-H8597.indd 313                                                                                              7/26/2008 2:41:39 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 652 of 763 PageID #:
                                       2434


                  314      Chapter 7


                                                             ZC




                                                ZR           ZR           ZED

                                                                       Sleepy ZED


                                                             ZR




                                                            ZED

                                                         Wakeful ZED

                                       Figure 7.18: Example 7-3 The Southern Cross


                  0x0002), but it doesn’t know the route to the ZC. A route is discovered. Notice the route
                  reply comes back almost immediately, before the rest of the broadcast has a chance to
                  finish. Routes can be discovered very quickly.

                  Then the message can finally be sent in packets 64 and 65. Notice the multi-hop from
                  node 0x0351 to 0x0002 to 0x0001 to 0x0000 (see page 315).

                  It’s interesting that later on, in packet 146, the same source node (0x0351) wants to find
                  a route to node 0x679f, a child of node 0x0000. But this time, due to random jitter, the
                  route goes through node 0x143e instead of node 0x0001. See packets 146, 154, 156, and
                  162 for the entire route from node 0x0351 to 0x0002 to 0x143e to 0x0000 to 0x796f
                  (see page 316).

                  The binding process completes and the application communicates data: the usual HA:
                  On/Off:Toggle. I toggle the light a few times. No new route discovery is needed. The
                  packet simply multi-hops to the right destination, node 0x796f.

                  Next, I break the route used by the light switch (node 0x0351) by shutting off node
                  0x143e (ZR2). Then I toggle the light again. But this time the route is broken. So, ZR3
                  (the parent of node 0x0351) discovers a new route. Now, the route goes from node
                  0x0351 to 0x0002 to 0x0001 to 0x0000 to 0x796f (see page 317).

                  www.n ewn es p res s .c o m




CH07-H8597.indd 314                                                                                            7/26/2008 2:41:39 PM
                                                 Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 653 of 763 PageID #:
                                                                                     2435
CH07-H8597.indd 315




                                                Seq   Time            SrcPAN   MACSrc   DstPAN   MACDst MACSeq   NwkSrc   NwkDst   NwkSeq APSCtr          Packet Type
                                                --------------------------------------------------------------------------------------------------------------------------------
                                                56    +00:00:00.315   0x0351   0x0f00   0x0002   151    0x0351   0x0000   181      0x07   Zigbee APS Data ZDP:EndDeviceBindReq
                                                57    +00:00:00.002                              151                                      IEEE 802.15.4   Acknowledgment
                                                58    +00:00:00.006   0x0002   0x0f00   0xffff   69     0x0002   0xfffc   113             Zigbee NWK      NWK Command: Route Request
                                                59    +00:00:00.069   0x0001   0x0f00   0xffff   48     0x0002   0xfffc   113             Zigbee NWK      NWK Command: Route Request
                                                60    +00:00:00.005   0x0000   0x0f00   0x0001   100    0x0000   0x0001   133             Zigbee NWK      NWK Command: Route Reply
                                                61    +00:00:00.001                              100                                      IEEE 802.15.4   Acknowledgment
                                                62    +00:00:00.003   0x0001   0x0f00   0x0002   49     0x0001   0x0002   45              Zigbee NWK      NWK Command: Route Reply
                                                63    +00:00:00.001                              49                                       IEEE 802.15.4   Acknowledgment
                                                64    +00:00:00.005   0x0002   0x0f00   0x0001   70     0x0351   0x0000   114      0x07   Zigbee APS Data ZDP:EndDeviceBindReq
                                                65    +00:00:00.002                              70                                       IEEE 802.15.4   Acknowledgment
                                                66    +00:00:00.004   0x0001   0x0f00   0x0000   50     0x0351   0x0000   46       0x07   Zigbee APS Data ZDP:EndDeviceBindReq
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                                                67    +00:00:00.002                              50                                       IEEE 802.15.4   Acknowledgment
                                                68    +00:00:00.013   0x0000   0x0f00   0xffff   101    0x0002   0xffc    113             Zigbee NWK      NWK Command: Route Request
                                                69    +00:00:00.030   0x143e   0x0f00   0xffff   203    0x0002   0xfffc   113             Zigbee NWK      NWK Command: Route Request
7/26/2008 2:41:39 PM
                                                     Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 654 of 763 PageID #:
                                                                                         2436
CH07-H8597.indd 316




                       www.n ewn es p res s .c o m




                                                     Seq   Time            SrcPAN   MACSrc   DstPAN   MACDst   MACSeq   NwkSrc   NwkDst   NwkSeq   APSCtr          Packet Type
                                                     ----------------------------------------------------------------------------------------------------------------------------------
                                                     146   +00:00:01.248   0x0351   0x0f00   0x0002   155      0x0351   0x796f   185      0x0b     Zigbee APS Data HA:On/off:Toggle
                                                     147   +00:00:00.001                              155                                          IEEE 802.15.4   Acknowledgment
                                                     148   +00:00:00.005   0x0002   0x0f00   0xffff   80       0x0002   0xfffc   122               Zigbee NWK      NWK Command: Route Request
                                                     149   +00:00:00.036   0x143e   0x0f00   0xffff   211      0x0002   0xfffc   122               Zigbee NWK      NWK Command: Route Request
                                                     150   +00:00:00.006   0x0000   0x0f00   0x143e   109      0x0000   0x143e   140               Zigbee NWK      NWK Command: Route Reply
                                                     151   +00:00:00.001                              109                                          IEEE 802.15.4   Acknowledgment
                                                     152   +00:00:00.004   0x143e   0x0f00   0x0002   212      0x143e   0x0002   206               Zigbee NWK      NWK Command: Route Reply
                                                     153   +00:00:00.001                              212                                          IEEE 802.15.4   Acknowledgment
                                                     154   +00:00:00.003   0x0002   0x0f00   0x143e   81       0x0351   0x796f   123      0x0b     Zigbee APS Data HA:On/off:Toggle
                                                     155   +00:00:00.001                              81                                           IEEE 802.15.4   Acknowledgment
                                                     156   +00:00:00.005   0x143e   0x0f00   0x0000   213      0x0351   0x796f   207      0x0b     Zigbee APS Data HA:On/off:Toggle
                                                     157   +00:00:00.001                              213                                          IEEE 802.15.4   Acknowledgment
                                                     158   +00:00:00.010   0x0001   0x0f00   0xffff   57       0x0002   0xfffc   122               Zigbee NWK      NWK Command: Route Request
                                                     159   +00:00:00.005   0x0000   0x0f00   0xffff   111      0x0002   0xfffc   122               Zigbee NWK      NWK Command: Route Request
                                                     160   +00:00:01.742   0x796f   0x0f00   0x0000   54                                           IEEE 802.15.4   Command: Data Request
                                                     161   +00:00:00.001                     54                                                    IEEE 802.15.4   Acknowledgment
                                                     162   +00:00:00.004   0x0000   0x0f00   0x796f   110      0x0351   0x796f   141      0x0b     Zigbee APS Data HA:On/off:Toggle
7/26/2008 2:41:39 PM
                                                Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 655 of 763 PageID #:
                                                                                    2437
CH07-H8597.indd 317




                                                Seq   Time            SrcPAN   MACSrc   DstPAN   MACDst   MACSeq   NwkSrc   NwkDst NwkSeq   APSCtr            Packet Type
                                                ---------------------------------------------------------------------------------------------------------------------------------
                                                245   +00:00:00.003   0x0002   0x0f00   0x143e   85       0x0351   0x796f   127   0x0f      Zigbee APS Data   HA:On/off:Toggle
                                                246   +00:00:00.005   0x0002   0x0f00   0xffff   86       0x0002   0xfffc   128             Zigbee NWK        NWK Command: Route Request
                                                247   +00:00:00.039   0x0001   0x0f00   0xffff   58       0x0002   0xfffc   128             Zigbee NWK        NWK Command: Route Request
                                                248   +00:00:00.005   0x0000   0x0f00   0x0001   114      0x0000   0x0001   144             Zigbee NWK        NWK Command: Route Reply
                                                249   +00:00:00.001                              114                                        IEEE 802.15.4     Acknowledgment
                                                250   +00:00:00.002   0x0001   0x0f00   0x0002   59       0x0001   0x0002   49              Zigbee NWK        NWK Command: Route Reply
                                                251   +00:00:00.001                              59                                         IEEE 802.15.4     Acknowledgment
                                                252   +00:00:00.028   0x0000   0x0f00   0xffff   115      0x0002   0xfffc   128             Zigbee NWK        NWK Command: Route Request
                                                253   +00:00:00.262   0x0000   0x0f00   0xffff   116      0x0002   0xfffc   128             Zigbee NWK        NWK Command: Route Request
                                                254   +00:00:00.261   0x0000   0x0f00   0xffff   117      0x0002   0xfffc   128             Zigbee NWK        NWK Command: Route Request
                                                255   +00:00:01.087   0x796f   0x0f00   0x0000   82                                         IEEE 802.15.4     Command: Data Request
                                                256   +00:00:00.001                              82                                         IEEE 802.15.4     Acknowledgment
                                                257   +00:00:02.654   0x0351   0x0f00   0x0002   160      0x0351   0x796f   190   0x10      Zigbee APS Data   HA:On/off:Toggle
                                                258   +00:00:00.001                              160                                        IEEE 802.15.4     Acknowledgment
                                                259   +00:00:00.004   0x0002   0x0f00   0x0001   87       0x0351   0x796f   129   0x10      Zigbee APS Data   HA:On/off:Toggle
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                                                260   +00:00:00.001                              87                                         IEEE 802.15.4     Acknowledgment
                                                261   +00:00:00.004   0x0001   0x0f00   0x0000   60       0x0351   0x796f   50    0x10      Zigbee APS Data   HA:On/off:Toggle
                                                262   +00:00:00.001                              60                                         IEEE 802.15.4     Acknowledgment
                                                263   +00:00:00.406   0x796f   0x0f00   0x0000   83                                         IEEE 802.15.4     Command: Data Request
                                                264   +00:00:00.001                              83                                         IEEE 802.15.4     Acknowledgment
                                                265   +00:00:00.003   0x0000   0x0f00   0x796f   118      0x0351   0x796f   145   0x10      Zigbee APS Data   HA:On/off:Toggle
7/26/2008 2:41:39 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 656 of 763 PageID #:
                                       2438


                  318      Chapter 7

                  Routes generally are discovered once when initially commissioning the network. The
                  installer tests the lights and switches, and from then on they just continue to work along
                  the same routes. But occasionally the environment changes. A new appliance might be
                  installed, a fixture moved. No worries. ZigBee will simply discover a new route at that
                  time, and the node will continue performing the application that it was programmed to do.

                        Routes are discovered automatically by ZigBee.
                        ZigBee Mesh route discovery is initiated when a node sends a packet to another node.
                        Routes are discovered along the least cost path.



                  7.5      ZigBee Over-the-Air Frames
                  An essential part of understanding ZigBee is understanding over-the-air frames. In fact,
                  over-the-air frames are all that the ZigBee Alliance cares about for compatibility testing.
                  Certain frames are sent over-the-air and certain replies are expected, but the rest is a
                  black box.
                  Understanding over-the-air frames also greatly aids in debugging the network. (Why
                  didn’t that data packet get delivered?) Is there a problem with bandwidth? Is there a bug
                  in the application or in the ZigBee stack?
                  There are a variety of “layers” involved in any given over-the-air packet, including the
                  MAC, NWK, APS, ZCL, and data. Over-the-air, these layers create a series of bytes,
                  framing (on either side) the rest of the bytes in the packet. That’s why it’s called a frame.
                  The next higher layer frame is always inside the lower layer frame over-the-air. So the
                  NWK frame is inside the MAC frame, the APS frame is inside the NWK frame, and so on.
                  A full ZigBee data packet could contain all of the following frames (MAC, NWK, APS,
                  and ZCL), as shown in Figure 7.19.


                                              NWK            APS                       APS   NWK
                               MAC    NWK             APS            ZCL
                                              AUX            AUX             Payload   AUX   AUX   FCS
                               HDR    HDR             HDR            HDR
                                              HDR            HDR                       MIC   MIC



                                                Entire data frame may be up to 127 octets

                                Figure 7.19: ZigBee Data Frame Contains up to 127 Octets

                  www.n ewn es p res s .c o m




CH07-H8597.indd 318                                                                                               7/26/2008 2:41:39 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 657 of 763 PageID #:
                                       2439



                                                                                         The ZigBee Networking Layer                     319

                  The size of each frame header (MAC, NWK, APS, etc.) is variable, depending on
                  parameters. Every frame header begins with what is called a frame control (FC) field,
                  which describes the optional fields in that frame.
                  The MAC frame ends with the Frame Check-Sum (FCS). The NWK frame ends with
                  the optional NWK Auxiliary Message Integrity Code (MIC). The NWK AUX HDR and
                  NWK MIC are present only in a secure network. The APS frame also may have security
                  applied, with an APS AUX HDR and APS MIC.
                  The first two headers are node-oriented: that is, the MAC and NWK headers. The MAC
                  header controls the per-hop protocol, and the NWK header controls the end-to-end
                  protocol (see Figure 7.20).
                  Notice how both the MAC and NWK headers contain destination and source addresses.
                  Think of node A sending a packet multi-hop to node F. The first hop would be from A to B.
                  The next hop would be from B to C, and so on. The final hop would be from E to F. The
                  MAC source and destination would change along this entire journey, but the NWK source
                  and destination addresses would not.


                                                           Format of Individual Frame Types

                      NWK data frame format
                         Octets:2             2                 2                    1                  1                Variable
                      Frame Control    Destination           Source              Radius          Sequence          Data payload
                                        address              address                              number

                                                                    Routing fields
                                                           NWK header                                              NWK payload


                      MAC data frame format
                       Octets:2        1             0/2              0/2/8          0/2       0/2/8          Variable               2
                        Frame       Sequence      Destination    Destination     Source       Source        Data payload            FCS
                        Control      number        PAN ID         address        PAN ID       address
                                                                     Data payload
                                                      MAC header                                            MAC payload         MFR




                                                                      127 Octet MTU

                                              Figure 7.20: ZigBee MAC and NWK Headers

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CH07-H8597.indd 319                                                                                                                            7/26/2008 2:41:39 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 658 of 763 PageID #:
                                       2440


                  320             Chapter 7

                                                            Format of Individual Frame Types

                      APS data frame format
                      Octets:1     0/1     0/2          2            2        1         1         0/1/2       Variable
                      Frame        Dst    Group    Cluster ID    Profile ID   Src     APS        Extended   Data payload
                      Control      EP    address                              EP     counter      Header

                                                        In-Node Addressing fields
                                                            APS header                                      APS payload


                      ZCL data frame format
                        Octets:1         0/2            1                1          Variable
                        Frame       Manufacturer   Transaction    Command         Data payload
                        Control         ID          Sequence        ID
                                                     Number

                                           ZCL header                             ZCL payload


                                                 Figure 7.21: ZigBee APS and ZCL Headers

                  All ZigBee data packets are sent using the 16-bit short addresses, but other packets are
                  not. For example, when joining a network, the association request and response are sent
                  with the long (64-bit IEEE) addresses.

                  The next two headers, APS and ZCL, are application-level headers (see Figure 7.21).
                  They describe application-level information including endpoints, application profile,
                  and for ZCL, the specific command for the cluster (reading and writing attributes, or
                  commanding the application to do something such as turning on a light).

                  All of the addressing fields in APS are within the node, so as to send the packet to the
                  right application, as opposed to the NWK layer which addresses between nodes. The ZCL
                  frame is optional, but is present in all ZigBee public profiles.

                  All of the over-the-air packets were built using Example 7-4 ZigBee Over-the-Air Frames.
                  To make the example easier to understand, the four-node network is depicted graphically
                  in Figure 7.22.

                  This ZigBee network is a secure network. The wakeful ZigBee End Device, labeled node
                  0x1430 ED above, an HA On/Off Switch, toggles the light on the sleepy ZigBee End-
                  Device, labeled 0x796f SED.

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CH07-H8597.indd 320                                                                                                        7/26/2008 2:41:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 659 of 763 PageID #:
                                       2441



                                                                     The ZigBee Networking Layer        321

                                                               0x0000 C




                                                                                           0x796f SED
                                 0x0001 R




                                 0x1430 ED




                        0                    8                  0                 0                     8




                                 Figure 7.22: Example 7-4 ZigBee Over-the-Air Frames



                  Below is a typical data packet. This one is shown many times throughout this book (the
                  HA:OnOff:Toggle) but this time I’ll go into detail:

                  IEEE 802.15.4
                    Frame Control: 0x8861
                      .... .... .... .001        =   Frame Type: Data (0x0001)
                      .... .... .... 0...        =   Security Enabled: Disabled
                      .... .... ...0 ....        =   Frame Pending: No more data
                      .... .... ..1. ....        =   Acknowledgement Request: Acknowledgement
                                                     required
                       .... .... .1.. .... =         Intra PAN: Within the PAN
                       .... ..00 0... .... =         Reserved
                       .... 10.. .... .... =         Destination Addressing Mode: Address field
                                                     contains a 16-bit short address (0x0002)
                       ..00 .... .... .... =         Reserved
                       10.. .... .... .... =         Source Addressing Mode: Address field contains
                                                     a 16-bit short address (0x0002)


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CH07-H8597.indd 321                                                                                           7/26/2008 2:41:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 660 of 763 PageID #:
                                       2442


                  322     Chapter 7

                    Sequence Number: 230
                    Destination PAN Identifier: 0x0f00
                    Destination Address: 0x0000
                    Source Address: 0x0001
                    Frame Check Sequence: Correct
                  ZigBee NWK
                    Frame Control: 0x0248
                      .... .... .... ..00 = Frame Type: NWK Data (0x00)
                      .... .... ..00 10.. = Protocol Version (0x02)
                      .... .... 01.. .... = Discover Route: Enable route discovery (0x01)
                      .... ...0 .... .... = Multicast: Unicast or broadcast (0x00)
                      .... ..1. .... .... = Security: Enabled
                      .... .0.. .... .... = Source Route: Not present (0x00)
                      .... 0... .... .... = Destination IEEE Address: Not Included
                      ...0 .... .... .... = Source IEEE Address: Not Included
                      000. .... .... .... = Reserved
                    Destination Address: 0x796f
                    Source Address: 0x1430
                    Radius = 9
                    Sequence Number = 174
                  ZigBee AUX
                    Security Control: 0x28
                      .... .000 = Security Level: Attributes: None; Encryption: Off; MIC:
                                  No (M ⫽ 0) (0x00)
                      ...0 1... = Key Identifier: Network (0x01)
                      ..1. .... = Extended Nonce: Sender Address Field: Present (0x01)
                      00.. .... = Reserved: (0x00)
                    Frame Counter: 0x09
                    Source Address: 0x0050c237b0040002
                    Key Sequence Number: 0x00
                    MIC: 00:fd:30:14
                  ZigBee APS
                    Frame Control: 0x00
                      .... ..00 = Frame Type: APS Data (0x00)
                      .... 00.. = Delivery Mode: Normal Unicast Delivery (0x00)
                      ...0 .... = Reserved
                      ..0. .... = Security: False
                      .0.. .... = Ack Request: Acknowledgement not required
                      0... .... = Extended Header Present: Extended header is not present
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x27
                  ZigBee ZCL
                    Frame Control: 0x01



                  www.n ewn es p res s .c o m




CH07-H8597.indd 322                                                                         7/26/2008 2:41:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 661 of 763 PageID #:
                                       2443



                                                                      The ZigBee Networking Layer        323

                        .... ..01 = Frame Type: Command is specific to a cluster (0x01)
                        .... .0.. = Manufacturer Specific: The manufacturer code field shall
                                    not be included in the ZCL frame. (0x00)
                        .... 0... = Direction: From the client side to the server side.
                                    (0x00)
                        ...0 .... = Disable Default Response: Default response command will
                                    be returned. (0x00)
                        .... = Reserved: Reserved (0x00)
                      Transaction Sequence Number: 0x42
                      Command Identifier: Toggle (0x02)


                  The first frame, titled “IEEE 802.15.4,” gives information about the MAC (IEEE) frame
                  in this packet. You can see by the first three bits of the frame control (FC) that this is a
                  data packet. The next FC bit says security is disabled, but this is a secure packet! ZigBee
                  always secures the packet at the network layer, not the MAC layer. Another interesting bit
                  is the “acknowledgment required” bit. This tells the receiving node to send a MAC ACK,
                  ensuring reliability per-hop. The MAC will try up to three times to deliver the packet
                  before giving up and informing the sender that the unicast failed on this hop. Broadcasts
                  always have the AC-required bit off.

                  There is also a MAC sequence number. Every frame has a sequence number including
                  the NWK sequence number, APS counter, and ZCL transaction ID. They all serve the
                  same purpose: to uniquely identify this packet. The sequence number is just a rolling
                  8-bit number, making the assumption that 256 packets from the same node will never
                  be in flight at the same time. The destination PAN ID is the PAN on which this node is
                  operating. The source and destination are the per-hop source and destination.

                  The rest of the MAC bits merely indicate which network this is on, and which nodes
                  are involved. Notice that the source and destination address in the MAC differ from the
                  source and destination address in the NWK layer. Why is this? This is packet is multi-
                  hopping its way to its final destination.

                  The next frame, titled “ZigBee NWK,” contains the NWK layer information. Notice the
                  protocol version is “2.” It’s always 2 for ZigBee. This does not indicate stack profile,
                  only that its version 2 of ZigBee. The previous version was ZigBee 2004. ZigBee 2006
                  and ZigBee 2007/Pro are both protocol 2. Notice now that the NWK layer says security
                  is enabled. This FC also informs whether routing should be enabled or disabled for this
                  packet.


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CH07-H8597.indd 323                                                                                              7/26/2008 2:41:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 662 of 763 PageID #:
                                       2444


                  324       Chapter 7

                  Because the security bit is set at the NWK layer, the next frame, “ZigBee AUX,” is
                  present. This is NWK layer security in ZigBee and includes a 32-bit field called the
                  Frame Counter. If the frame counter is old (stale, that is), then the packet will be rejected.
                  This field prevents replay attacks. In addition there is a Message Integrity Code (MIC).
                  This field prevents anyone from altering the packet. The MIC is generated using the 128-
                  bit security key. Any change will cause the decrypt to fail.

                  The next frame, titled “ZigBee APS,” contains application-level information. From this
                  frame, we can tell that it is unicast (as opposed to groupcast). Security is FALSE, so
                  there is no link key, and no following APS AUX frame. The bit, “extended header” is not
                  present, indicating that there is no fragmentation with this packet. It is all in one piece.

                  APS ACK is also false, indicating this packet will not generate an end-to-end
                  acknowledgment. If this bit were true, a state machine would keep retrying to send the
                  packet from the original source, and would indicate success or failure to the application.
                  The APS counter would be the same for every APS retry on this same packet. You can
                  tell it’s the same transaction if the APS counter is the same. If this bit is false, the only
                  thing that the application knows is that the packet left the originating node (0x1430)
                  successfully.

                  Notice that the APS layer contains the source endpoint, destination endpoint, cluster, and
                  profile. These uniquely identify which application this packet is for. If the application
                  doesn’t match, the packet is rejected.

                  The final frame, titled “ZigBee ZCL,” contains the ZigBee Cluster Library information.
                  This frame tells us that this command is specific to the on/off cluster (0x0006), not
                  general to all clusters such as read/write attribute commands. It also indicates there is no
                  manufacturer-specific ID, so this packet is general to all manufactures. The direction bit
                  indicates whether this packet is traveling from a client to a server (a request) or from a
                  server to a client (response). The command is the toggle command (0x02).

                  Whew! That’s a lot of information to look at (48 bytes worth). And that’s just one packet.

                  Okay, I won’t go into such detail in each of the rest of the packets, but I want to show
                  you some common sequences of packets so they make sense when you look at a ZigBee
                  decode.


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CH07-H8597.indd 324                                                                                                7/26/2008 2:41:40 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 663 of 763 PageID #:
                                       2445



                                                                     The ZigBee Networking Layer         325

                  The basic sequence of events in Example 7-4 ZigBee Over-the-Air Frames, are as
                  follows:
                      ●   The ZigBee Coordinator (ZC) node forms the network.
                      ●   The ZigBee Router (ZR) and two ZigBee End-Devices (ZEDs) join the
                          network.
                      ●   The wakeful ZED (0x1430), an HA On/Off Switch, sends a toggle command to
                          the sleepy ZED (0x796f), an HA On/Off Light.

                  I won’t go over forming and joining the network again. You’ve already seen these packets
                  in detail. Instead, take a look at this new packet:

                  Frame 10 (Length = 56 bytes)
                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0008
                    Destination Address: 0x0001
                    Source Address: 0x0000
                    Radius = 10
                    Sequence Number = 185
                  ZigBee APS
                    Frame Control: 0x01
                    Counter: 0x2b
                    APS Payload
                    APS Command Identifier = Transport Key: (0x05)
                    KeyTransport.CommandPayload
                    Key Type: Network Key (0x01)
                    Key: 04:03:02:01:04:03:02:01:04:03:02:01:04:03:02:01
                    Sequence Number: 0
                    Destination Address: 00:50:c2:37:b0:04:00:02
                    Source Address: 00:50:c2:37:b0:04:00:01


                  This packet is the transport key. When ZigBee is a secure network, it can either be set up
                  to know the key ahead of time (called a Pre-configured key), or to learn the key at join
                  time with the key given over-the-air. That’s what the APS Transport Key command is all
                  about.

                  The next interesting set of packets centers around the toggle command, sent from node
                  0x1430:


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CH07-H8597.indd 325                                                                                            7/26/2008 2:41:40 PM
                                                      Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 664 of 763 PageID #:
                                                                                          2446
CH07-H8597.indd 326




                       www.n ewn es p res s .c o m




                                                     Seq   Time           Time Delta      Length   MAC      MAC      MAC   NWK      NWK      NWK   APS       Protocol          Packet Type
                                                     No                                            Src      Dest     Seq   Src      Dest     Seq   Counter
                                                                                                                     No                      No
                                                     -----------------------------------------------------------------------------------------------------------------------------------
                                                     137   15:45:46.014   +00:00:01.462   48       0x1430   0x0001   19    0x1430   0x796f   189   0x27      Zigbee APS Data   HA:On/off:Toggle
                                                     138   15:45:46.016   +00:00:00.002   5                 19                                               IEEE 802.15.4     Acknowledgment
                                                     139   15:45:46.028   +00:00:00.012   48       0x0001   0x0000   230   0x1430   0x796f   174   0x27      Zigbee APS Data   HA:On/off:Toggle
                                                     140   15:45:46.030   +00:00:00.002   5                 230                                              IEEE 802.15.4     Acknowledgment
                                                     141   15:45:47.623   +00:00:01.593   12       0x796f   0x0000   52                                      IEEE 802.15.4     Command: Data Request
                                                     142   15:45:47.624   +00:00:00.001   5                 52                                               IEEE 802.15.4     Acknowledgment
                                                     143   15:45:47.625   +00:00:00.002   48       0x0000   0x796f   80    0x1430   0x796f   193   0x27      Zigbee APS Data   HA:On/off:Toggle
7/26/2008 2:41:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 665 of 763 PageID #:
                                       2447



                                                                      The ZigBee Networking Layer        327

                  Notice that the packet is sent from 0x1430 to 0x0001, then to node 0x0000 (packets 137
                  and 139). Each packet is acknowledged with a MAC ACK (same sequence number). Then
                  something special happens. The packet sits inside node 0x0000 until node 0x796f sends
                  a “Data Request.” This is the method ZigBee uses to deliver packets to sleeping children.
                  The child wakes up and asks its parent, “Got anything for me?” That’s the IEEE Data
                  Request (packet 141). The MAC ACK that comes back has a special bit set. It says it has
                  more data for the node (in packet 142). Then the sleepy ZED receives the data in packet
                  143. Until that sleepy ZED requests it, the parent will buffer the packet. ZigBee only
                  specifies up to seven seconds, but any given implementation may keep it longer. How
                  often the ZED polls its parent with data requests is strictly up to the ZED.
                  Sometimes you’ll see a NWK:NoData packet sent from the parent to a sleepy ZED.
                  These are perfectly normal. They just mean that the parent has data for one of its sleeping
                  children, just not this one.
                  And that’s basically it. By now you have enough information to read every packet sent
                  over-the-air by ZigBee. Or, at least, you have the background from which to understand
                  them. If you encounter a packet you don’t understand, feel free to send me an email. My
                  email address is available in the ReadMe.txt at http://www.zigbookexamples.com/code.

                              ZigBee packets are built in layered frames: MAC, NWK, APS, and ZCL.



                  7.6      ZigBee Stack Profiles
                  One thing not obvious from reading the ZigBee specification (Okay, perhaps there are
                  many) is that ZigBee actually comes in two configurations, that while not incompatible
                  have certain characteristics the OEM needs to be aware of. These configurations are
                  called stack profiles.
                  Stack profile 0x01, also called ZigBee 2006, ZigBee 2007, or just plain ZigBee, is the
                  original ZigBee stack profile. This stack profile supports not only mesh routing, but also
                  tree routing as described in the previous section. Stack profile 0x01 tends to be used in
                  applications where cost is one of the major concerns. Its main characteristics are:
                      ●   Predictable address assignment
                      ●   Tree routing
                      ●   Smaller code size
                      ●   Up to 10 hops in the network

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CH07-H8597.indd 327                                                                                             7/26/2008 2:41:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 666 of 763 PageID #:
                                       2448


                  328      Chapter 7

                  Stack profile 0x02, also called ZigBee Pro, is a later addition to ZigBee, added in the
                  2007 specification. It does not include tree routing, but includes the feature of source
                  routing for dealing with data concentrators (or gateways). Stack profile 0x02 tends be
                  used where cost is less of an issue, and larger networks are more important. Its main
                  characteristics are:

                      ●   Random (stochastic) address assignment
                      ●   Source routing
                      ●   Multicast
                      ●   Larger code size
                      ●   Up to 30 hops in the network

                  Both stack profiles support unicasting, broadcasting, groups, endpoints, clusters,
                  the ZigBee public application profiles, and every ZDO and application-level feature
                  described so far in this document. Really, the major differences between the two stack
                  profiles are address assignment and optional routing methods, and the maximum number
                  of hops.

                  The over-the-air beacon payload describes which stack profile on which the given
                  network is running. You’ve seen plenty of examples of stack profile 0x01 beacons. Here
                  is a stack profile 0x02 beacon:

                  IEEE 802.15.4
                  NWK Layer Information: 0x8422
                    .... .... .... 0010 = Stack Profile (0x2)
                    .... .... 0010 .... = nwkcProtocolVersion (0x2)
                    .... ..00 .... .... = Reserved (0x0)
                    .... .1.. .... .... = Router Capacity: True
                    .000 0... .... .... = Device Depth (0x0)
                    1... .... .... .... = End Device Capacity: True
                    Extended PAN ID: 0x0050c237b0040001


                  An entire ZigBee network is either stack profile 0x01 or stack profile 0x02. Nodes from
                  a stack profile 0x02 network may join a stack profile 0x01 network and vice versa, but
                  the joining nodes will conform to the stack profile that they are joining. ZigBee Routers
                  which are not capable of doing the proper routing methods for the given stack profile
                  must join as ZigBee End Devices.

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CH07-H8597.indd 328                                                                                           7/26/2008 2:41:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 667 of 763 PageID #:
                                       2449



                                                                         The ZigBee Networking Layer     329

                  Some ZigBee stack vendors allow a run-time choice of stack profile, while others allow
                  compile-time choice only. If run-time choice is important to your application (perhaps to
                  reduce the number of manufactured parts), check with your stack and/or chip vendor.


                           There are two ZigBee stack profiles: 0x01 (ZigBee) and 0x02 (ZigBee Pro).
                           Stack Profiles define alternate routing methods and maximum number of hops.
                           ZigBee nodes may join either stack profile.




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CH07-H8597.indd 329                                                                                            7/26/2008 2:41:41 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 668 of 763 PageID #:
                                       2450




                                                                                                 CHAPTER 8

                                        Commissioning ZigBee Networks

                  Commissioning is the process of connecting ZigBee applications to each other. This
                  process, while simple in concept, can be fairly complicated to do well and can involve
                  quite a few steps. Commissioning includes:
                      ●   Searching for appropriate networks to join
                      ●   Joining the correct network
                      ●   Determining which nodes on the network to talk to
                      ●   Determining how to talk to those other nodes (groups, bindings, or directly)
                      ●   Determining if communication has stopped and what to do about it, perhaps even
                          searching for the network on a different channel
                  Before diving into commissioning, it’s worthwhile to talk about a man who served on
                  another commission, and is rumored to have been the inspiration for the name ZigBee.
                      Zbigniew Brzezinski, Born in Warsaw Poland in 1928, was the National Security Advisor
                      to Jimmy Carter. He later served during Ronald Reagan’s administration on the NSC-
                      Defense Department Commission on Integrated Long-Term Strategy for the United States.
                      Always a human rights activist, in 1989 Brzezinski toured Russia and visited a memorial
                      to the Katyn Massacre. He asked the Soviet government to acknowledge the truth about the
                      event for which he received a standing ovation from the Soviet Academy of Sciences. The
                      Berlin Wall fell not ten days later, significantly changing the political landscape in Eastern
                      Europe.
                      Brzezinski participated in the formation of the Trilateral Commission during the 1970s
                      and 1980s, in order to more closely cement U.S.-Japanese-European relations, just as
                      the ZigBee Alliance works toward an international standard developed and supported by
                      companies in all these regions.


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CH08-H8597.indd 331                                                                                                    7/26/2008 2:53:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 669 of 763 PageID #:
                                       2451


                  332       Chapter 8

                      Brzezinski is currently a professor of American foreign policy at Johns Hopkins
                      University’s School of Advanced International Studies.
                      The rumor goes that in his concern for national security he conceived of a network of
                      sensor devices that could be easily deployed, and if a device was destroyed or removed,
                      the network would continue to operate. It was his inspiration, along with a grant to MIT,
                      which was the kernel of an idea that was later to be named for him. But since no one
                      would be able to spell or pronounce Zbigniew Brzezinski, they shortened it to Zig B.
                      or ZigBee.



                  8.1 Commissioning Overview
                  Commissioning is the process of configuring the nodes in the network so they can
                  communicate data to each other. Imagine that you are a ZigBee node. You want to join a
                  network, find an application to talk with, and get to work. So you send out a beacon request.
                  Perhaps dozens of ZigBee networks respond, all within hearing range (see Figure 8.1).
                  Which one should you join?




                                              Figure 8.1: Which Network to Join?

                  www.n ewn es p res s .c o m




CH08-H8597.indd 332                                                                                               7/26/2008 2:53:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 670 of 763 PageID #:
                                       2452



                                                                     Commissioning ZigBee Networks          333

                  Okay, so somehow, magically (to be explained in this chapter), you join the right network.
                  You also need some security so you don’t control the neighbor’s network and they don’t
                  control yours. Somehow you obtain a security key for the network. Now, how do you find
                  which other nodes in that network to talk to? Perhaps you are a light switch. Well, if you
                  searched the network you would see there are 43 lights on it. Should you control them all?
                  A group of them? Only one? Which one? How is a simple switch to decide?
                  ZigBee provides a robust set of primitives to accomplish all aspects of commissioning. To
                  help understand these primitives in common usage, I’ll describe three distinct scenarios
                  which cover the majority of commissioning issues:
                      ●   Simple commissioning
                      ●   Butterfly commissioning
                      ●   Custom commissioning
                  The first two scenarios deal with devices that must interoperate between multiple
                  manufacturers (or OEMs), without knowledge of which other devices may be in the
                  network before they join. The last one assumes the manufacturer knows something about
                  the network, and perhaps even defines all the nodes in it.
                  ZigBee commissioning follows a concept called the “Butterfly Model” (see Figure 8.2).
                  The idea is that a device is “born” with whatever information can reasonably be configured
                  in a static manner and at manufacturing time. At its most basic, and in the absence of any
                  other configuration information, a fresh device will join the first network that offers itself.
                  After joining, it “digests” information that prepares it for its next life, and so on. After
                  some number of these phases it arrives at its stable operational state.




                                  Figure 8.2: ZigBee Commissioning Uses Butterfly Mode

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CH08-H8597.indd 333                                                                                                 7/26/2008 2:53:11 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 671 of 763 PageID #:
                                       2453


                  334      Chapter 8

                  Every device has the ability to get back to the original “factory” state, in case
                  something goes wrong, or the installer wants to start over (perhaps to move the device
                  to another network). This is often called a factory reset. Remember, ZigBee devices
                  store their current state in non-volatile memory to survive power outages, so
                  just removing power and rebooting won’t do it. The device has to forget what it
                  has learned.

                  The commissioning primitives can be found in a variety of ZigBee components, including
                  the NWK layer, APS, ZDO, ZDP, and the ZigBee Cluster Library. An application running
                  in a node has full access to all of these primitives. Most commissioning primitives are
                  available in both local and over-the-air forms:
                      ●   ZigBee Device Object (ZDO) contains methods for finding and joining the
                          network in various ways, calling on the NWK layer to do some of this work.
                      ●   ZigBee Device Profile (ZDP) contains device (node) and service (application)
                          discovery, as well as remote table-management functions.
                      ●   ZigBee Cluster Library (ZCL) provides over-the-air group and scene
                          management.
                      ●   The Commissioning Cluster provides a standard over-the-air means for setting up
                          security keys, PAN IDs, the channel mask, and manager addresses.
                  ZDP and ZDO were largely written by Don Sturek, currently of Texas Instruments. He
                  was the technical editor for the APS, ZDP, and ZDO portions of the ZigBee specification,
                  and was chair of The Architecture Committee (TAG) for ZigBee.

                  ZDO is really the portion of ZigBee that decides which network to join. It bases this
                  decision on a set of fields from the various information bases found in the ZigBee layers.
                  If a commissioning tool (such as a remote PC or a handheld) is used, the commissioning
                  cluster can remotely instruct ZDO to start up in various ways, but it’s always ZDO that
                  does the work inside the node.

                  The fields used by ZDO to form or join the network are shown in Table 8.1.

                  For ZigBee public profiles, these are normally set at the factory to include nothing but a
                  MAC address in a widget. Other fields are set to all 0x00s, or all 0xffs (to indicate that
                  they are not set). But, in a private profile, they may be set.

                  ZDP, ZCL, and the Commissioning Cluster are used only after a node is on a network.

                  www.n ewn es p res s .c o m




CH08-H8597.indd 334                                                                                            7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 672 of 763 PageID #:
                                       2454



                                                                      Commissioning ZigBee Networks                 335

                                                 Table 8.1: ZDO Startup Fields
                      Field                               Description
                      MAC Address                         The MAC address is a unique 64-bit number assigned at
                                                          manufacturing time. It is never changed.
                      apsChannelMask                      The channel mask describes which channels should
                                                          be scanned when forming or joining. The field is a 32-
                                                          bit bit-mask of 802.15.4 channels. Only channels 11
                                                          through 26 are valid for ZigBee, which operates in the
                                                          2.4 GHz RF spectrum.
                                                          Examples:
                                                          0x00000800 ⫽ channel 11 (bit 11)
                                                          0x04001000 ⫽ channels 12 and 26 (bits 12 and 26)
                                                          0x07fff800 ⫽ all channels (11–26)
                      apsUseExtendedPANID                 This is a 64-bit address (similar to the MAC address).
                                                          Set this to all 0x00s for ZigBee Application Profiles. It is
                                                          sometime set to a specific number for private profiles.
                      nwkPANId                            Always set to 0xffff (no PAN ID). This will choose a
                                                          random PAN ID.
                      nwkNetworkAddress                   Set to 0xffff to indicate no short address.
                      nwkStackProfile                     Set this to the preferred stack profile (0x01 or 0x02).
                                                          Most Application Profiles allow the node to join either
                                                          stack profile.
                      TrustCenterAddress                  Normally set to 0x0000. Can be set to a different short
                                                          address if the TC is not on the ZigBee Coordinator.
                      NetworkKey                          Set to all 0x00s if no network key. Set to a specific
                                                          network key for preconfigured keys. Usually given to the
                                                          node by the network in Home Automation.
                      NwkKeySeqNum                        Only relevant to over-the-air commissioning tools.
                      TrustCenterMasterKey                Only relevant High Security networks. This is defined
                                                          either by the Application Profile or a commissioning tool.




                  The major ZDP commissioning commands are shown in the following list. See Chapter 5,
                  “ ZigBee, ZDO, and ZDP,” for a more detailed explanation:
                         ●    ZDP-Bind, ZDP-Unbind, and ZDP-End-Device-Bind add and remove entries
                              from remote binding tables.
                         ●    ZDP-Simple-Descriptor-Request and ZDP-Active-Endpoint-Request and
                              ZDP-Match-Descriptor determine which applications exist on remote nodes.

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CH08-H8597.indd 335                                                                                                       7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 673 of 763 PageID #:
                                       2455


                  336        Chapter 8

                       ●   ZDP-IEEE-Address-Request can find all the nodes on the network (just start at
                           the ZC).
                       ●   ZDP-Mgmt-Bind can determine which applications are bound to which.
                       ●   ZDP-Permit-Joining-Request enables and disables permit-join in the network.
                  The major ZCL commissioning commands include the following. See Chapter 6 for a
                  more detailed explanation of these commands.
                       ●   ZCL-Add-Group-Request and ZCL-Remote-Group-Request allow nodes to
                           add and remove groups
                  Use a combination of ZDP-Mgmt-Bind and ZCL-Get-Group-Membership to
                  determine which groups are used in the network.
                  ZCL-Add-Scene and ZCL-Remove-Scene and ZCL-Remove-All-Scenes to add and
                  remove scenes for disparate devices (a switch, thermostat, and window shade can all react
                  in some way to a scene).
                  Which brings us to the Commissioning Cluster, and the next section.

                      Commissioning is the process of setting up ZigBee nodes so that they can communicate data.


                  8.2       The Commissioning Cluster
                  The specification for ZDP did not include the ability to query or set the various startup
                  parameters used by ZDO, including PAN ID, extended PAN ID, security key, and
                  network address. This was done purposely, because in simple commissioning (see the
                  next section) it is not needed. Since ZDP is required in every ZigBee device, it was
                  decided to keep ZDP small and instead add this optional feature to the ZigBee Cluster
                  Library as the Commissioning Cluster.
                  The Commissioning Cluster is very useful in commercial building environments.
                  Network deployment and operation in these environments are often planned to a high
                  degree and they often involve multiple, simultaneous installers during construction or
                  retrofit. They often have more nodes in a given network and often contain many separate,
                  but overlapping networks.
                       ●   Startup Attribute Set (SAS)
                       ●   Join Parameters Attribute Set

                  www.n ewn es p res s .c o m




CH08-H8597.indd 336                                                                                                7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 674 of 763 PageID #:
                                       2456



                                                                     Commissioning ZigBee Networks           337

                      ●   End-Device Parameters Attribute Set
                      ●   Concentrator Parameters Attribute Set
                  The startup attribute set is used to find the right network and to set up any preconfigured
                  security material. The join parameters control the frequency of joining. The end device
                  parameters determine how often the end device polls its parent and when it searches for a
                  new parent. The concentrator parameters are unique to data concentrators (or gateways as
                  they are sometimes called).
                  The following table briefly describes the SAS parameters. Although the Commissioning
                  Cluster is optional, every node contains these fields, as they are needed to form or join a
                  network. They are set through the APSME-SET or NLME-SET functions, which affect
                  the APS and NWK information bases.
                  The SAS parameters (see Table 8.2) only take effect after the node is reset by the
                  Commissioning Cluster command Restart Device Request. Until then, they are merely
                  settings in a table in RAM in the remote node.
                  The startup control is the most interesting field. It contains instructions on the way to
                  reset the node. Mode 0x00 means silent join, which is the node contains everything it
                  needs to know, just as if it had already joined that new network, including all security
                  keys, etc. … Mode 0x01 is for ZC capable nodes, and tells it to form a network. Mode
                  0x02 tells it to rejoin, as if the node had lost contact with its parent. The nice thing about
                  this mode is permit-join can be disabled and the node can still “join.” Mode 0x03 tells the
                  node to join from scratch. Permit-join must be enabled for the node to join.
                  If the node will be joining, the Join Parameters attributes may also be set (see Table 8.3).
                  The rejoin interval determines how often the node will attempt the join or rejoin. Usually,
                  the node will attempt this frequently at first, then gradually slow down so as not to flood the
                  air with useless rejoin attempts, in essence, assuming that the network will come back later.
                  The End Device Parameters Attribute set (see Table 8.4) is used only on ZigBee end
                  devices.
                  Sleepy (RxOnIdle ⫽ FALSE) ZigBee End devices (ZEDs) poll their parent at intervals
                  for messages. This allows the Commissioning Cluster to determine the interval, which
                  affects battery life. The ParentRetryThreshold applies to both sleepy and wakeful ZEDs.
                  If they just can’t communicate with their parent (their only link to the network), then they
                  must eventually find a new parent.

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CH08-H8597.indd 337                                                                                                 7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 675 of 763 PageID #:
                                       2457


                  338          Chapter 8

                                              Table 8.2: Startup Attribute Set
                      SAS Attribute                   Description
                      ShortAddress                    This is the 16-bit network short address. Set to 0x0000–
                                                      0xfff7 for valid addresses, or 0xffff to indicate it is not yet
                                                      established.
                      ExtendedPANId                   Which extended PAN ID will the node form or join when
                                                      reset? ExtendedPANId 0x00f0c27710000000 is the
                                                      commissioning extended PAN. Set to all 0x00s to indicate
                                                      any extended PAN.
                      PANId                           Normally starting out as 0xffff, which means choose a
                                                      random PAN ID. Most applications care only about the
                                                      extended PAN ID. Both PANId and ExtendedPANId are
                                                      found in beacons.
                      ChannelMask                     A 32-bit mask for deciding which channels to search when
                                                      forming or joining. Only bits 11–26 may be set. It takes
                                                      time (about 1/3 to 1 second) for each channel scanned.
                      ProtocolVersion                 Always set to 0x02.
                      StackProfile                    Set to 0x01 or 0x02, the preferred stack profile.
                      StartupControl                  0x00—silent join.
                                                      0x01—form a network.
                                                      0x02—rejoin a network.
                                                      0x03—associate join a network.
                      TrustCenterAddress              A short address to find the trust center. This is required in
                                                      high security. Normally 0x0000 (the ZC).
                      TrustCenterMasterKey            The master key is used to establish a link key with the trust
                                                      center through SKKE.
                      NetworkKey                      The network key
                      UseInsecureJoin                 Set to TRUE for standard security, FALSE for high security.
                      PreconfiguredLinkKey            Assumes SKKE has already been performed.
                      NetworkKeySeqNum                Key sequence number for the network key. A node may
                                                      have more than 1 network key (old and new).
                      NetworkKeyType                  Set to 0x01 for standard security, 0x05 for high security.
                      NetworkManagerAddress           Normally set to 0x0000 (the ZC). This node is in charge of
                                                      frequency agility, if enabled.


                  ZigBee has the concept of a gateway. Many-to-one routing allows concentrators to
                  easily operate as a gateway without consuming too many mesh-networking resources.
                  This process is described in detail in Appendix A, “ZigBee 2007 and ZigBee Pro.”

                  www.n ewn es p res s .c o m




CH08-H8597.indd 338                                                                                                     7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 676 of 763 PageID #:
                                       2458



                                                                          Commissioning ZigBee Networks               339

                                              Table 8.3: Join Parameters Attribute Set
                      Join Parameters Attribute             Description
                      ScanAttempts                          From 1 to 0xff. 0xff means forever.
                      TimeBetweenScans                      From 1 to 0xffff, in milliseconds.
                      RejoinInterval                        Lower bounds for rejoining, in seconds. Defaults to 60.
                      MaxRejoinInterval                     Upper bounds for rejoining, in seconds. Defaults to 1 hour.


                                           Table 8.4: End Device Parameters Attribute Set
                      End Device Parameters Attribute Set     Description
                      IndirectPollRate                        The rate, in milliseconds, to poll the parent
                      ParentRetryThreshold                    The number of failed attempts to contact a parent that
                                                              will cause a “find new parent” procedure to be initiated


                  Any router node may serve as a gateway. Data concentrators, or gateways, have a few
                  special parameters, as shown in Table 8.5.
                  The idea behind using the commissioning cluster is so that a commissioning tool (either
                  a handheld or PC) can act as a commissioning network. This network then uses the
                  Commissioning Cluster (via the ZCL-Set-Attributes command) to set up the new node.
                  Then the commissioning tool tells the new node to reset using one of the Commissioning
                  Cluster commands shown in Table 8.6.
                  Restart Device tells the remote node to restart using the parameters set up in the
                  commissioning attributes. Some nodes can handle more than one attribute set for the
                  commissioning cluster. If this is the case, then the save/restore save and restore to

                                          Table 8.5: Concentrator Parameters Attribute Set
                      Concentrator Parameters Attribute Set            Description
                      ConcentratorFlag                                 After restarting, will this node be a concentrator
                                                                       or not? Assumes that the commissioning tool
                                                                       already knows.
                      ConcentratorRadius                               To what radius will this discover the many-to-
                                                                       one route? The default (and maximum) is 5.
                      ConcentratorDiscoveryTime                        Many-to-one route discovery can occur
                                                                       automatically (1 through 0xffff seconds) or
                                                                       manually (0x0000).


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CH08-H8597.indd 339                                                                                                         7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 677 of 763 PageID #:
                                       2459


                  340      Chapter 8

                                       Table 8.6: Commissioning Cluster Commands
                              ID        Command                                    Mandatory/Optional
                              0x00      Restart Device Request                     Mandatory
                              0x01      Save Startup Parameters Request            Optional
                              0x02      Restore Startup Parameters Request         Optional
                              0x03      Reset Startup Parameters Request           Mandatory


                  the primary commissioning cluster attribute sets. The Reset Startup Parameters restores
                  the “factory” defaults.

                             The Commissioning Cluster allows over-the-air setup of the startup procedure.
                             The Commissioning Cluster is optional.



                  8.3      Example 1: Simple Commissioning
                  One of the simplest commissioning techniques is that employed by the ZigBee Home
                  Automation Application Profile. The installer of this network is expected to be either a
                  home owner or a professional installer. Either way, the installer is definitely not expected
                  to be computer expert. In the simplest case, the installer turns on the devices and they just
                  work. In more complicated situations, pressing a few buttons does the trick.
                  As an example, assume I just bought a ZigBee system from The Home Depot. The “Porch
                  Light” starter pack comes with two battery-operated switches, four lights, and a remote
                  control (see Figure 8.3). The purpose of this simple home automation system is to turn
                  on the front and back porch lights when I drive home (for safety), and then to turn them
                  off automatically after I’ve left (for energy savings). The porch lights can also be turned
                  on or off from either of the switches or from the remote. One switch is to be placed just
                  inside the front door, and the other is placed in my bedroom. The next time I go to bed
                  and realize that I didn’t turn out the porch lights (again), pressing a bedside button solves
                  the problem.
                  Since this is a retro-fit system, the ZigBee lights are little gizmos that screw into an
                  existing light socket (probably ceiling cans), and then the light bulb screws into the
                  gizmos. The switches look like normal wall switches and can either be stuck on a cement
                  or brick wall, or recessed into the drywall by cutting a small square hole. The remote unit
                  clips onto the sun visor in my car.

                  www.n ewn es p res s .c o m




CH08-H8597.indd 340                                                                                               7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 678 of 763 PageID #:
                                       2460



                                                                   Commissioning ZigBee Networks          341




                                         Figure 8.3: ZigBee Simple Commissioning

                  The kit also comes with a small little box, called a ZigBee Network Controller. The ZNC
                  plugs into my DSL modem, cable modem, or WiFi™ router, if I have one. If not, it just
                  plugs into the wall.
                  The user instructions that might come with the kit could be quite simple:
                      1. Warning! Remove power to the porch lights (either at the circuit breaker or wall
                         switch).
                      2. Plug the ZigBee Network Controller into a wall socket. A green LED comes on,
                         to indicate that everything is okay.
                      3. Unscrew the existing light bulbs. Screw the ZigBee Light Base-Units into
                         sockets. Screw the light bulbs back into the ZigBee Light Base-Units.
                      4. Remove the clear plastic tab from the battery holders on the switch units.
                      5. Press the “Add ZigBee Devices” button on the ZigBee Network Controller. The
                         green LED will flicker. When it becomes solid again, all the ZigBee devices are
                         connected to the network.
                      6. Test each light switch. Be sure each switch turns the lights on and off. If not, see
                         the troubleshooting section.
                      7. Install one light switch by the door. Install one light switch in the bedroom. Place
                         the remote control in the car.

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CH08-H8597.indd 341                                                                                             7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 679 of 763 PageID #:
                                       2461


                  342       Chapter 8

                  Even if the purchaser lost the instructions, they’d probably try what’s described above:
                  plug everything in, turn it on, and start pressing buttons. It’s that simple.
                  So how does this work from a ZigBee developer perspective? It starts with setting up the
                  right commissioning parameters. The Home Automation Application Profile specifies this
                  very clearly.
                  The node starts out knowing nothing but its own MAC address and Application Profile. It
                  has no PAN ID (set to 0xffff), it has no extended PAN ID (set to 0x0000000000000000),
                  it has no channel (channel mask is set to 0x07fff800), it has no network key, and it has no
                  profile ID (it will join either stack profile 0x01 or 0x02).
                  When power is applied, the node begins scanning for networks. As soon as it finds one
                  with permit-join enabled, it joins that network and receives its short address and network
                  key (in the clear with a transport key) from its parent.
                  The only widget which forms a ZigBee network in the example above is the ZigBee
                  Network Coordinator (ZC). The ZC will form a network using its MAC address as its
                  extended PAN ID, and a random PAN ID. It will form the PAN randomly on one of the
                  preferred channels for HA: 11, 14, 15, 19, 20, 24, or 25. The ZC will leave permit-join
                  enabled for two minutes when it is first plugged in or after the user presses the “Add
                  ZigBee Devices.” Once it has formed the network, it saves this information to non-
                  volatile memory, so that power can be interrupted with no harm to the network. It also
                  includes a recessed “reset” switch that can put it back into factory reset.
                  The switches and remote control devices are sleepy ZigBee End devices (ZEDs). The
                  lights are ZigBee Routers (ZRs), both of which are device types that attempt to join
                  a ZigBee network. Remember, they will join any network, any PAN ID, any channel.
                  The ZRs and ZEDs will scan for networks on all the channels and then attempt to join.
                  They’ll repeat this several times before backing off to trying once a minute. If the user
                  presses a switch and it still hasn’t joined a network, then it will attempt to do so right then
                  (immediate user response).
                  The only potential problem with this easy-joining scheme occurs if two or more installers
                  (perhaps neighbors in an apartment or condominium) attempt to add ZigBee devices
                  to their network at the same time. This is unlikely, but possible. The troubleshooting
                  solution is simply to reset the joining devices and try again.
                  Once on the network, the ZRs and ZEDs record the channel, PAN ID, extended PAN ID,
                  network (short) address, and network security key into non-volatile memory. They can be

                  www.n ewn es p res s .c o m




CH08-H8597.indd 342                                                                                                 7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 680 of 763 PageID #:
                                       2462



                                                                     Commissioning ZigBee Networks            343

                  powered off or the batteries can be changed, and they still retain the knowledge of which
                  network they are on.
                  The ZED switches have been preconfigured in their binding tables to use a specific group
                  ID for the destination of the HA:On/Off:Toggle command. A hard-coded group ID can be
                  used because group IDs are unique to each network.
                  The smart automobile remote takes more explanation. How can a remote automatically
                  turn on the lights when I drive home, without pressing any buttons? There is a fairly easy
                  way to do this.
                      The device has two modes: “home” and “away.”
                      Every 30 seconds, the device wakes up and attempts to communicate with its parent.
                      If it was “home” and can no longer communicate, it goes to “away” state. If it is
                      “away” and it can now communicate, it goes to “home” state.
                      If “away,” it will attempt a rejoin every 30 seconds, which may get the same parent or
                      not. When rejoin is successful, the node goes to “home” state.
                      When the device goes from “away” to “home,” it sends the HA:On/Off:On command.
                      Voilà!
                  Later, this system could be expanded to include more lights and switches, heating and
                  cooling control, and a complete home theater system. The devices are standardized,
                  regardless of who the manufacturer might be. They all work the same way, and they can
                  all be configured over-the-air with bindings, groups, and scenes.
                  Even the original devices from that starter pack can be reconfigured to include new
                  bindings. Remember how the lights began as belonging to a group, and the switches sent
                  to the group? Well, the switches can be set to control other devices with simple button
                  presses. Press a button on a light, another on a switch, and they can be bound using ZDP-
                  End-device-Bind. The same goes for a thermostat and a temperature sensor.
                  The ZigBee Network Coordinator, because it has an Ethernet connection to plug into a
                  wireless router or DSL modem, can be monitored or controlled by a laptop, PC, or even
                  over the Internet with a little bit of PC software. A nice drag-and-drop, menu-driven
                  program on the PC (with a ZigBee USB dongle) or a television (ZigBee-enabled) makes
                  reconfiguring the house easy, even for novices.
                  The primitives are all there. It just takes a little imagination to use them to great effect.
                  You’ve seen all these ZigBee primitives before. See Chapter 5, “ZigBee, ZDO, and ZDP,”
                  for ZDP (binding) commands; Chapter 6, “The ZigBee Cluster Library,” for ZCL (groups

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CH08-H8597.indd 343                                                                                                 7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 681 of 763 PageID #:
                                       2463


                  344       Chapter 8

                  and scene) commands; Chapter 5, “ZigBee, ZDO, and ZDP;” and Chapter 7,
                  “The ZigBee Networking Layer,” for ZDO and NWK (joining) commands.
                  To see the “Porch Lights” example in full source code, complete with an over-the-air
                  capture, go to the http://www.zigbookexamples.com Web site. Keep in mind the source
                  code is for the Freescale platform, but the concepts apply to all ZigBee platforms.
                  The example uses four ZigBee boards, all NVM-enabled so they will remember their
                  settings even across battery changes or reboots:
                      ●   ZcNcbZnc: The ZigBee network controller. It starts up automatically. SW1 opens
                          the network for one minute to add other devices.
                      ●   ZrSrbLight: A porch light. Uses a random MAC address, so multiple lights can
                          be programmed. It has no switches.
                      ●   ZedSrbSwitch: The switch that is placed by the front door, or in the bedroom.
                          SW1 toggles the remote light.
                      ●   ZedSrbCarRemote: The remote that operates in the same way as the switch,
                          except that it automatically turns on the light when in range. To get it out of range,
                          use a coffee can to cover it.
                  LSW4 puts all of these devices back to factory reset (forgetting what they learned in NVM).

                             Simple commissioning nodes will join any network.
                             Binding applications is often preconfigured or handled through button presses.



                  8.4      Example 2: Commercial Commissioning
                  Simple commission works well for the small, unplanned network. For larger networks, or
                  large groups of multiple networks, such as those found in commercial buildings, hotels,
                  and hospitals, simple commissioning is just, well, too simple.
                  Networks need to be more secure to operate in a commercial environment. Networks also
                  must be planned, both for the installation process, and for operations and maintenance.
                  Down time or delays in deployment can be very expensive.
                  For these applications, the network is planned out ahead of time. Blueprints are used to
                  decide where the network components will go. Tests are run ahead of time to make sure
                  there is sufficient ZigBee Router coverage. The rooms are usually built one-by-one as

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CH08-H8597.indd 344                                                                                                7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 682 of 763 PageID #:
                                       2464



                                                                    Commissioning ZigBee Networks          345

                  autonomous units, and the installer must not only verify that the network is functioning,
                  but that all the equipment installed (lights, switches, thermostats, heating and cooling
                  units, door locks, etc.) works as expected. A very detailed checklist is built and written
                  with the training of the installer in mind who will usually be an electrician.
                  In larger installations, it is common to have multiple installers all working in the same
                  area. Figure 8.4 shows a typical set of hotel rooms. Two installers are setting up adjacent
                  rooms, taking devices from their boxes, installing them and then commissioning them to
                  network together.
                  Each device is tested, repaired if there is a problem, and replaced if the problem can’t be
                  resolved. The installation tool may have a bar code scanner on it, so they can scan the
                  device when getting it out of the box. In this way the commissioning tool knows about
                  the device and can check it off a list, or do other intelligent behavior.
                  These devices (lights, switches, door locks, thermostats, etc.), which may originate from
                  multiple OEMs (perhaps Philips lights, Trane thermostats, and Schneider Electric air
                  conditioners) are set up out-of-the-box to automatically join the commissioning network
                  on extended PAN ID 0x00f0c27710000000. ZigBee defines this special Extended PAN
                  ID so that devices built by many OEMs can all be commissioned in the same way.
                  Think of it as two step process. First, get on the commissioning network and receive the
                  commissioned data. Then, reset the node to join the operating network, and complete the
                  commissioning process (see Figure 8.5).
                  If it is expected that there will only be multiple installers in any given vicinity, then the
                  ZigBee standard commissioning extended PAN ID, 0x00f0c27710000000, is used only to




                                      Figure 8.4: ZigBee Commercial Commissioning

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CH08-H8597.indd 345                                                                                               7/26/2008 2:53:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 683 of 763 PageID #:
                                       2465


                  346      Chapter 8

                                                Step 1                       Step 2

                                      Join Commissioning Network     Join Operating Network




                                      Get Commissioning Settings     Finalize Commissioning


                          Figure 8.5: Commercial Commissioning Requires at Least Two Steps


                  get the extended PAN ID of the commissioning tool itself. Then the node is reset (via the
                  Commissioning Cluster) to go onto the commissioning tool’s PAN. ZigBee reserves the
                  Extended PAN ID range of 0x00f0c27710000001 to 0x00f0c2771000ffff for the purpose
                  of commissioning tools.

                  In ZigBee Stack Profile 0x01, the node usually receives its network short address when
                  the node rejoins the new network via the Commissioning Cluster Reset Device command
                  (with StartupControl set to mode 0x02).

                  But in stack profile 0x02, also called ZigBee Pro, it is possible to set the network short
                  address explicitly. In this case, the commissioning tools would know the short address
                  to assign to each node, perhaps based on some formula involving hotel room number.
                  Then, when the node is reset, it can either use the rejoin as above, or even silent join
                  (with StartupControl set to mode 0x00) so that it can be done a little faster (no waiting
                  for negotiation with the trust center). It’s assumed in this case that the tool has all the
                  necessary keys and has communicated them to the nodes.

                  The example in this section, “CommercialCommissioning,” uses the following nodes:
                      ●   ZcNcbCommissioningTool: Commissions (over-the-air) the light and switch. The
                          LCD displays which node joined the commissioning network. A press of SW1
                          commissions the joined node and informs it to reset to the operating network. It
                          has permit-joining on.
                      ●   ZcSrbOperatingNetwork: Pre-commissioned as the operating network. It has
                          permit-joining off.
                      ●   ZrSrbLight: “Generic” light that is commissioned over-the-air.
                      ●   ZrSrbSwitch: “Generic” switch that is commissioned over-the-air.

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CH08-H8597.indd 346                                                                                             7/26/2008 2:53:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 684 of 763 PageID #:
                                       2466



                                                                     Commissioning ZigBee Networks               347

                  To see the full source code and capture, go to the http://www.zigbookexamples.com
                  website. As usual, the source code is for the Freescale platform. See Chapter 3, “The
                  ZigBee Development Environment,” for general instructions on using the source code.
                  The basic steps for the demo are:
                      1. Download all the images. Turn all boards off.
                      2. Capture with Daintree (optional) on channel 25.
                      3. Boot the ZcSrbOperatingNetwork board. This lights all LEDs to indicate that it’s
                         the operating network.
                      4. Boot the ZcNcbCommissioningTool. This displays that information on the LCD.
                      5. Boot either the light or the switch. The LCD on the commissioning tool displays
                         the fact that a light or switch has joined the commissioning network.
                      6. Note in the over-the-air capture that the node is associated with the
                         commissioning cluster.
                      7. Press SW1. Watch as the new extended PAN ID is communicated over-the-air,
                         and the node is instructed to reset. If the node is a switch, notice that the binding
                         command is also given to it.
                      8. Boot the other board (either light or switch). Press SW1 on the commissioning
                         tool again to provide the information to the other board, and to reset it.
                      9. Press SW1 on the ZrSrbSwitch. Notice that it toggles the light! This node is
                         commissioned.
                  This is the basic process. Of course, there is much more to it, and commercial tools are
                  beginning to come out from various vendors. At the time of this writing, both Daintree
                  and Atalum sell commissioning tools.

                      Commercial Commissioning allows full planning of the network.
                      A special commissioning tool and a temporary commissioning network complete the process.




                  8.5     Example 3: Custom Commissioning
                  Devices that work with ZigBee public Application Profiles must work in a specific and
                  generic way in order for them to interoperate with devices made by other OEMs. ZigBee

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CH08-H8597.indd 347                                                                                                    7/26/2008 2:53:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 685 of 763 PageID #:
                                       2467


                  348      Chapter 8

                  specifies how commissioning works in each public profile very clearly. Private profiles do
                  not have this restriction.

                  A private profile may commission the network in much more creative ways. For example,
                  the entire network can work right out-of-the-box. Just order a kit: It forms a unique
                  network on a unique PAN, and everything in the box is already connected and ready to
                  communicate.

                  An application of this could be a manoverboard system for small pleasure craft and
                  commercial fishing boats. Every router and battery-operated man-overboard device
                  knows in advance exactly which network it is on, which extended PAN ID, which node
                  address, which network key, everything. All the nodes essentially “silent join,” and the
                  network begins operating correctly the moment the devices are turned on.

                  The example for custom commissioning is a merchandise quality-tracking system. In this
                  system, a variety of sensors monitor the physical environment inside tractor trailer trucks,
                  perhaps including temperature, humidity, and shock. The goal is to ensure that a load of
                  frozen salmon arrived frozen, and has stayed frozen the entire journey, or that a cargo of
                  produce (such as lettuce) was never too warm, too cold, or too dry (see Figure 8.6).

                  Today, the majority of these systems depend on manual spot-check inspection. An
                  inspector will open boxes, examine some of the fish or lettuce, and make an educated
                  guess as to whether the goods are within specification or not. This process is both




                              Figure 8.6: Loading Bays Could Use Custom Commissioning

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CH08-H8597.indd 348                                                                                              7/26/2008 2:53:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 686 of 763 PageID #:
                                       2468



                                                                    Commissioning ZigBee Networks          349

                  time-consuming and is subject to error. Placing sensors in the vehicles to do this work
                  makes sense. But how do we get that sensor data out of the truck? In this case, wireless
                  monitoring makes perfect sense.

                  The sensors record data during the journey, and when the rear doors are opened, the
                  sensor nodes automatically connect to a network in the docking bay, and download the
                  data to a gateway, which is attached to a PC and a central tracking system.

                  All the nodes in this system are produced by the same manufacturer. So how do these
                  nodes travel from one network to another? How do they get on the network in the loading
                  bay and automatically download information? The procedure makes a few assumptions,
                  an acceptable variation because it is a private profile:
                      ●   The gateway (to where the data will be sent) is assumed to be node 0x0000.
                      ●   Sensors, while in sensing mode, gather data once each minute.
                      ●   Once every three minutes, the sensors also send a beacon request (active scan) to
                          scan for networks.
                      ●   Only networks in Extended PAN ID range 0x12345678xxxxABCD will be
                          considered as potential networks to join.
                      ●   If the same network that was exited previously is found within 30 minutes, it is
                          not joined.
                      ●   If a new network is found, or the same network is found 30 minutes or more after
                          the sensor lost contact with all networks, the new network will be joined using the
                          NWK-Rejoin command. This NWK-Rejoin is used so that permit-joining may
                          always remain off, in the networks in the loading bays.
                      ●   Once joined, the sensors send all their data to the gateway (acknowledged). After
                          the data is transmitted, it is forgotten, and the node leaves the network to go back
                          into sensing mode.
                  Using these simple rules, the sensor nodes will always join a proper network for
                  transmitting their data. They conserve power while not on the network, saving it for
                  sensing operations and occasional data transmission.

                  Notice there is no binding. Nodes just send directly to the gateway (node 0x0000). Notice
                  there is no over-the-air commissioning. The nodes know what they want to do before
                  they are even started. These nodes don’t even need the standard ZigBee non-volatile

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CH08-H8597.indd 349                                                                                              7/26/2008 2:53:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 687 of 763 PageID #:
                                       2469


                  350      Chapter 8

                  memory to be enabled, except perhaps as storage for the data. But probably another
                  storage mechanism, such as serial flash, will be used for data storage. Everything was
                  commissioned into the nodes at the time of manufacture.
                  The example in this section, “Commercial Commissioning,” uses the following nodes:
                      ●   ZcNcbGateway: Gathers the data. It transmits the data over the serial port (simple
                          ASCII).
                      ●   ZedSrbSensor: Gathers temperature data once each minute and transmits it when
                          it gets in range of the gateway.

                  Simply set the ZedSrbSensor outside, down the hall, or anywhere away from the Gateway
                  node. Attach the Gateway and use HyperTerminal on that USB/COM port (mine is
                  COM4) at 38,400 baud, 8N1. When the sensor comes within range, it will download the
                  gathered data.
                  I’ve accelerated the process so that it works better for a demo. The demo gathers data
                  once every 20 seconds, and only needs to be away from the gateway for one minute
                  before it will link to it again.
                  “Custom Commissioning” is very flexible. All the ZigBee Device Object (ZDO), ZigBee
                  Device Profile (ZDP), and ZigBee Cluster Library (ZCL) commands are at your disposal.
                  Use them creatively. If you like, tell me about them. I love hearing of new applications
                  for ZigBee, and new creative ways to use it. My email address is drewg@sanjuansw.com.


                                Custom Commissioning allows a wide range of commissioning options.
                                Use Custom Commissioning in private application profiles.




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CH08-H8597.indd 350                                                                                            7/26/2008 2:53:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 688 of 763 PageID #:
                                       2470




                                                                                                    CHAPTER 9

                                                                                ZigBee Gateways


                  So far in this book, the chapters have centered on how ZigBee nodes communicate with
                  other ZigBee nodes. However, many ZigBee networks are not stand-alone: They need to
                  interact with other networks or at least with some data concentrator such as a PC. This
                  chapter explains how gateways work in ZigBee, and describes some common pitfalls
                  when deploying them in the field.

                  Before continuing with ZigBee gateways, consider this final story about how ZigBee got
                  its name.
                      A narrow cobblestone alleyway winds its way through Amsterdam, leading past an ancient
                      house built sometime in the 17th century. Through lighted windows, gleaming copper
                      cookware, rustic beams, and romantic artwork can be seen adorning the interior, and
                      fresh flowers cover the tables and entryway. A sign hangs on wrought-iron outside the
                      door, which reads, “The Black Sheep.” The old house, now a restaurant, boasts a menu
                      encompassing both French-inspired dishes and updated Dutch fare. It is late at night, nearly
                      closing time. This night is special, for it is the last night: the restaurant is closing for good.
                      This night is also special for another reason. Around one of the last occupied tables, a
                      man named Bob Heile sits with four other men. The last of the plates have been cleared
                      and the empty wine bottles have been pushed to one side. A shout of laughter erupts as
                      the men shout out strange-sounding words. This group of men is trying to come up with a
                      name for a new technology, a new wireless technology aimed at low power, low cost, and
                      low speed networking. The late night and alcohol help. The original concept came from
                      Philips, called Firefly. But the goal has moved far beyond Firefly, far beyond lighting, in
                      fact, to general purpose wireless sensor and control networks.
                      What you are witnessing is the real story of the birth of ZigBee technology and the
                      ZigBee Alliance. Eventually, over more wine and more laughter, a name emerges for this
                      technology, a name that is unique, easy to say, and most importantly, can be trademarked.
                      “To ZigBee,” toasts the group. “To ZigBee!”


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CH09-H8597.indd 351                                                                                                        7/26/2008 3:48:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 689 of 763 PageID #:
                                       2471


                  352       Chapter 9

                      If you travel to a ZigBee Open House, you will see Bob Heile, the chairman of the ZigBee
                      Alliance, wearing a business suit (one of the few times he does). Around his neck is a tie,
                      adorned with many white sheep and one black sheep. Ask him about it, and you will hear
                      an interesting tale.
                      For those of you who travel to Amsterdam, you may be interested to learn that the
                      restaurant has reopened. The Black Sheep can be found at Korte Leidsedwarsstraat 24,
                      Amsterdam, Netherlands 1017 RC · 020-622-3021.

                  A ZigBee gateway, quite simply, is a means of transferring data between a ZigBee
                  network and devices on another network. In illustrations, the other networks are usually
                  depicted as clouds, while the interested devices and the ZigBee network are attached to
                  the cloud (see Figure 9.1).




                                       Server(s)


                                                                                           Client
                                                                                          Device(s)

                                                          Other
                                                         Network
                                                                                                           63



                                                                                                      44


                                                                                      2


                                                                        0                      43          29

                                                                                                      3
                                                                               24
                                                                   33


                                                                            ZigBee
                                                                            Network                             25


                                                   Figure 9.1: A ZigBee Gateway

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CH09-H8597.indd 352                                                                                                  7/26/2008 3:48:49 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 690 of 763 PageID #:
                                       2472



                                                                                ZigBee Gateways        353

                  One interesting example of an existing gateway is a device found in the Home
                  Automation Profile, called a Combined Interface Device (device ID 0x0007 in the HA
                  application profile). The hardware for this device is normally a USB ZigBee dongle,
                  which connects to a PC, TV, or a similar display. Through a menu-driven program, the
                  home owner can monitor or control devices in the ZigBee network: turn off the lights,
                  check the status of the security system, or remotely allow someone into the home. Often,
                  this PC program provides some kind of Internet experience, allowing the ZigBee network
                  to be controlled or monitored over the Web, as well as from local PCs, wall displays, or
                  the television.
                  Figure 9.2 is a screen shot that shows one view of a ZigBee network as seen inside
                  the Control4 Composer Home Edition. Control 4 (http://www.control4.com) designs,
                  manufactures, and sells ZigBee and other Home Automation products.




                                      Figure 9.2: Control4 Composer Home Edition

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CH09-H8597.indd 353                                                                                          7/26/2008 3:48:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 691 of 763 PageID #:
                                       2473


                  354      Chapter 9

                  Another example of a gateway would be a commercial building automation system. One
                  that I’ve worked with is a building management system that provides energy savings and
                  statistics through monitoring and control of energy-consuming devices within a hotel,
                  such as the heating, ventilation, and air conditioning (HVAC) systems. These networks
                  are deployed in hotels ranging from very small mom-and-pop businesses to the very large
                  Mandalay Bay in Las Vegas, Nevada. Systems of this nature typically pay for themselves
                  in a matter of months.
                  One simple application of a gateway that interacts with ZigBee is the automatic printing
                  of a list each morning of all the battery-operated ZigBee devices with low battery charge.
                  For a large network, with many thousands of nodes, this can be a huge time and cost-
                  saver for the maintenance personnel. The ZigBee gateway in this case is connected
                  to an Ethernet backbone, which in turn communicates to one or more PCs sitting in a
                  maintenance room in the basement of the hotel.
                  A third example (which actually requires two gateways) is automatic meter reading
                  (AMR). The utility meters may be networked with ZigBee, but ZigBee won’t make it
                  all the way back to the utility company. For this other networks are used, sometimes
                  power-line networks, in other cases cellular networks, WiFi™, or proprietary networks.
                  A gateway is used between the ZigBee network and this back-haul. Usually the gateway
                  takes the form of serial communication from the ZigBee processor to some other host
                  processor that is attached to the other, longer-range network. The data is then sent back to
                  the central office for processing and even billing.
                  The other gateway required in the AMR system is the one from ZigBee to ZigBee. The
                  AMR system, in addition to reading the meter, may need to monitor or control a Home
                  Automation (HA) or Commercial Building Automation (CBA) network. That home
                  network isn’t likely to be part of the AMR network, but a stand-alone network that the
                  home owner controls. To connect to that network in a way that allows for the disparate
                  security protocols (light security in HA, heavy security for AMR), two separate networks
                  are used (see Figure 9.3).
                  The California Energy Commission (doesn’t it always start in California?) is putting
                  together standards that will ensure significant energy savings for consumers, and also
                  allow the electric companies the ability to control electrical usage in homes that have
                  been signed up for an optional program to reduce peak usage. Reducing peak usage
                  means not having to build extra power plants. Not having to build extra power plants
                  means a huge savings for the utility companies, and reduced power bill for consumers. If
                  you are interested in this effort, you can read more by googling “Title 24.”

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CH09-H8597.indd 354                                                                                              7/26/2008 3:48:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 692 of 763 PageID #:
                                       2474



                                                                                                          ZigBee Gateways   355


                                                                                    CIS /
                                                                                    MDMS



                                                   Today’s                         Collected
                                                Meter Readings                  Meter Readings
                                                  To Collect                      delivered at
                                                                                 the end of the
                                                                                      day.


                                                                    Meter
                                                                    Reading
                                                                    Host
                                                                    Processor                     ZigBee Network

                                                Wide Area Network




                                                        ZigBee Network




                                                  Figure 9.3: AMR Gateway

                  Within the topic of Gateways, there are three specific areas which are important to
                  understand:
                      ●   Lack of current ZigBee gateway standards
                      ●   Data concentration
                      ●   Bandwidth problems at the data concentrator
                  All three of these problems are discussed in detail in the following sections.
                  In this chapter, forgive me if I use the terms data concentrator and gateway somewhat
                  interchangeably. The difference is subtle: A data concentrator collects data from a ZigBee
                  network, while a gateway is a data concentrator that also communicates this data to
                  another network. Either can inject data into the ZigBee network.
                  One common misconception is that the gateway must be the ZigBee Coordinator (ZC).
                  The truth is, any node in the network can be a gateway, and in fact multiple nodes in
                  the network can be gateways at the same time. If you need room for a more complex

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CH09-H8597.indd 355                                                                                                               7/26/2008 3:48:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 693 of 763 PageID #:
                                       2475


                  356      Chapter 9

                  application in the gateway node, but still want to use an inexpensive 8-bit MCU, choose
                  an RxOnIdle ZigBee End Device (ZED), as they have the most room for application
                  space. ZigBee Routers (ZRs) or the ZigBee Coordinators (ZCs) are also a good choice.
                  In this chapter, I’ll show examples for all three: a ZED, a ZR, and a ZC gateway.
                  Do NOT use a sleeping (RxOnIdle ⫽ FALSE) ZED for the gateway, as its parent would
                  not be able to keep up with the messages. Sleeping devices poll their parent for messages
                  and are not normally expected to receive many messages.

                           Gateways communicate between a ZigBee network and a PC or other network.
                           Any ZigBee node type (ZC, ZR, or ZED) may be a gateway.



                  9.1 A UART ZigBee Gateway
                  So, with all this talk of gateways, where in the ZigBee specification is the gateway
                  section? Well, there isn’t one. At least, it hasn’t happened yet. The ZigBee Alliance is
                  continuing to improve the technology, but gateways have not yet been standardized.
                  (There is a ZigBee Bridge Device specification that has passed initial ballot as of the time
                  of this writing, but a bridge is not a gateway.)
                  Every ZigBee implementation, from both stack and silicon vendors, includes some way to
                  interface between the ZigBee board and a development PC via a serial, USB or Ethernet
                  port, to allow the node to be programmed and debugged. In this section, I’ll propose a
                  small but effective ZigBee Serial Gateway Interface (ZSGI) that takes advantage of this
                  serial port.
                  The main goal behind this gateway interface is, first of all, to keep it simple and easy
                  to implement on an 8-bit MCU, which is typical of ZigBee nodes. For example, the
                  Freescale, Texas Instruments, Renesas, Atmel, and Integration platforms offer a serial
                  port (or a USB port that acts like a serial port). There is nothing to prevent this protocol
                  from being used on Ethernet-based systems such as Ember’s, with a little bit of IP
                  wrapper around it.
                  Typically, in a serial gateway the small 8-bit ZigBee device communicates to a
                  host processor or PC. It may be that the host is a regular desktop or laptop, and the
                  communication stops there. It may be that the host processor is an ARM or other
                  embedded processor, residing on a motherboard within the embedded widget. (I’ve seen
                  this in WiFi routers and AMR meters.) The communication to the host processor may

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CH09-H8597.indd 356                                                                                              7/26/2008 3:48:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 694 of 763 PageID #:
                                       2476



                                                                                    ZigBee Gateways       357


                                                     PC with
                                                     Compiler




                                                                         ZigBee
                                                                         Board

                                         Figure 9.4: A Common ZigBee Serial Gateway

                  be a serial or USB cable, as shown in Figure 9.4, or it may simply use the Tx/Rx pins
                  between two MCUs on the same motherboard.
                  This proposal assumes only Tx/Rx lines, and does not specify any hardware flow control.
                  Note that on the Freescale platform, the MCU serial port goes through an FTDI USB chip
                  so that it can be connected to a PC as a USB-serial device, because real serial ports are
                  getting to be scarce these days on laptop or desktop computers.
                  On the host side, the ZSGI protocol could be extended to work over any network,
                  including TCP/IP, WiFi, a cellular connection, or any other network which may want to
                  communicate with nodes in a ZigBee network. Those extensions are not discussed here,
                  however.

                  9.1.1         The ZigBee Serial Gateway Interface
                  The ZigBee Serial Gateway Interface is a half-duplex protocol, in which a serial message
                  is sent, and a response is received. The over-the-serial-port frame is shown in Table 9.1.
                  The same frame format is used either for commands (packets sent from the host processor
                  to the ZigBee processor) or events (packets sent from the ZigBee processor to the host
                  processor).
                  Every packet begins with an STX (byte value 0x02). Next follows a GroupID, which
                  indicates which category of message the packet belongs to (for example, which SAP

                           Table 9.1: ZigBee Serial Gateway Interface (Over-the-Serial-Port Frame)
                      Bytes:1        1           1              1                 Variable    1
                      STX (0x02)     GroupID     MsgID          Length            Payload     Checksum


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CH09-H8597.indd 357                                                                                             7/26/2008 3:48:50 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 695 of 763 PageID #:
                                       2477


                  358          Chapter 9

                  handler must respond to this call). The GroupID can be seen below in the Gateway
                  Commands section. The MsgID indicates the specific message within that message
                  group. The length indicates the length of the following payload field, in bytes. Next
                  follows the actual payload, which varies depending on the combination of GroupID and
                  MsgID. For example, RegisterEndpoint.req requires a full simple descriptor for data,
                  whereas DeregisterEndpoint.req requires only a single byte of data, the EndPoint number.
                  Finally a checksum follows, which is a simple XOR checksum (all bytes, from STX
                  through checksum byte must checksum to 0x00, when all bytes are added).
                  The protocol can be expanded to support up to approximately 65,000 different commands
                  (the combination of the 8-bit Group ID and 8-bit Message ID). Don’t confuse the Group
                  ID in the gateway interface with ZigBee groups. The Group ID in the gateway is simply a
                  way of associating similar commands in the serial protocol.

                  9.1.2       Gateway Commands
                  Table 9.2 lists the commands and events for the ZigBee Serial Gateway Interface (ZSGI).
                  The parameters of the interface match what’s in the ZigBee specification. This keeps it
                  vendor-independent and makes it easy to implement. Remember, the implementation in
                  the 8-bit ZigBee MCU will be different for each stack vendor, because ZigBee does not
                  specify APIs, only over-the-air behavior.



                                               Table 9.2: ZigBee Serial Gateway Interface
                      Name                          GroupID      MsgID      Parameters
                      RegisterEndpoint.req          A3           0B         See SimpleDescriptor (Table 2.35)
                      RegisterEndpoint.rsp          A4           0B         Status
                      DeregisterEndpoint.req        A3           0A         Endpoint #
                      DeregisterEndpoint.rsp        A4           0A         Status
                      StartNetwork.req              A3           E0         See NLME-JOIN.request (Table 3.16)
                      StartNetwork.rsp              A4           E0         Status
                      StopNetwork.req               A3           DC         See NLME-LEAVE.request (Table 3.22)
                      StartNetwork.rsp              A4           DC         Status
                      APS_Data.req                  9C           00         APSDE-DATA.request (Table 2.2)
                      APS_Data.cnf                  9D           00         APSDE-DATA.confirm (Table 2.3)
                      APS_Data.ind                  9D           01         APSDE-DATA.indication (Table 2.4)


                  www.n ewn es p res s .c o m




CH09-H8597.indd 358                                                                                               7/26/2008 3:48:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 696 of 763 PageID #:
                                       2478



                                                                                 ZigBee Gateways          359

                  You’ll note that this simple gateway interface does not include the ZigBee Cluster Library
                  (ZCL) commands. These commands are higher-level than this gateway, and are expected
                  to be implemented on the host processor side of this gateway connection, if needed by the
                  Gateway application, by using the APS_Data.req command.
                  You’ll also notice that there are no ZDP or configuration commands. This interface
                  assumes that endpoint 0 can be used for sending and receiving ZDP commands, and that
                  any configuration (such as channel list, adding groups, etc.) can be accomplished by
                  using over-the-air commands. The interface also assumes that a node can send an over-
                  the-air style command to itself, for example, by using ZDP to retrieve a node’s own IEEE
                  or NWK address.


                  9.1.3    Using the ZigBee Serial Gateway Interface
                  So, how does the host processor “application” actually use this set of commands to
                  create a gateway, and to monitor and control the network? The typical order of events is
                  described below.
                      1. The host processor registers an application endpoint (0x01 – 0xF0), using the
                         appropriate simple descriptor for the application. The example in this chapter
                         uses the Home Automation OnOffLight.
                      2. The host processor starts the network by using the StartNetwork.req command.
                         Note that “starting the network” may actually mean joining a network (as
                         opposed to forming a network), depending on whether the gateway node is a ZC,
                         ZR, or ZED. (Yes, a gateway can be an RxOnIdle ZED!)
                      3. ZigBee data can then be communicated on the ZDP and application endpoint.
                         Note that there can be multiple application endpoints, supporting a variety of
                         Application Profiles. Optionally, the gateway node may leave that network, and
                         possibly even join a new one. The leave command resets all the layers.
                  This following example uses a PC to toggle an HA OnOffLight, through a ZigBee Serial
                  Gateway Interface. The PC is connected to the gateway (a Freescale SRB board) via a
                  USB port. From the PC side the USB connection appears to be a COM port, as seen from
                  Windows Device Manager.
                  The ZigBee Serial Gateway Example comes with two projects, a Gateway and an HA
                  OnOffLight. The Gateway image was created using BeeKit, by selecting an SRB board,
                  ZigBee Coordinator with the ZigBee Test Client (ZTC) enabled. ZTC is Freescale’s

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CH09-H8597.indd 359                                                                                             7/26/2008 3:48:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 697 of 763 PageID #:
                                       2479


                  360      Chapter 9



                                         Host PC




                                                               ZigBee                HA
                                                               Gateway            OnOffLight

                                        Figure 9.5: ZigBee Serial Gateway Example


                  version of the ZigBee Serial Gateway Interface. The HA OnOffLight image was also
                  created with BeeKit, selecting an NCB board with display enabled. Both boards are on
                  channel 25, PAN ID 0x0f00.
                  If you wish to follow along with actual hardware, then program the SrbZcGateway.mcp
                  project into the SRB board, and program the NcbZedHaOnOffLight.mcp project into the
                  NCB board. For a description of the boards and development environment, see Chapter 3,
                  “The ZigBee Development Environment.”
                  To run the example, you must first enable a USB port as a serial port. This entails a few
                  steps, but is only required once, just like enabling any new hardware in Windows:
                      1. Connect the SRB board which will be the gateway to the PC using a USB cable.
                      2. Turn on the SRB board.
                      3. Windows will indicate that it has found new hardware. Install the drivers from
                         “C:\Program Files\Freescale\Drivers.”
                      4. Windows will ask twice.
                      5. After the new hardware is connected, open Windows Device Manager to
                         determine which COM port was assigned. On my system, it is COM7.
                  Next, download and install the Freescale TestTool. This tool is a GUI that understands the
                  ZigBee Serial Gateway Interface, and will interact on the PC side of the serial gateway
                  connection.
                  To ensure TestTool understands the ZSGI, follow these steps. These steps only need to
                  occur once during setup.

                  www.n ewn es p res s .c o m




CH09-H8597.indd 360                                                                                            7/26/2008 3:48:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 698 of 763 PageID #:
                                       2480



                                                                                 ZigBee Gateways        361

                      1. Be sure that ZigBee2006.xml is in the “C:\Program Files\Freescale\Test Tool\
                         Xml” directory.
                      2. Run Test Tool.
                      3. From the menus, select Tools/Communication Settings… You must type in the
                         COM number and choose 38,400 baud.
                      4. From the menus, select View/Command Console. This brings up the main screen
                         for interacting with ZSGI.
                      5. On the Command Console screen is a drop-down box that is titled “Loaded
                         Command Set.” Choose ZigBee2006.
                  Test Tool is now set up.
                  To run the gateway example, reset both boards. LED1 should blink on both of them,
                  indicating the normal Freescale “waiting to start” state. Press SW1 on both boards. This
                  will start the network.
                  In Test Tool, there is a button labeled All Commands. Press this button, and select “APS
                  Layer commands/APSDE-DATA.request.” This is shown in Figure 9.6.




                                          Figure 9.6: Test Tool Command Console

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CH09-H8597.indd 361                                                                                           7/26/2008 3:48:51 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 699 of 763 PageID #:
                                       2481


                  362      Chapter 9

                  So what happened to commissioning? What happened to finding active endpoints, to
                  looking for the particular HA OnOffLight to control? For the sake of clarity, I made
                  some assumptions. I know that the gateway is the ZigBee Coordinator, so it will be
                  node 0. I know that the default Freescale endpoint is endpoint 8. And I know that the
                  HA OnOffLight is the first ZED in the network (0x796f). So, I simply tell the gateway
                  node, through the serial port, to send an APSDE-DATA.request directly to node 0x796f.
                  The payload is three octets: 0x01 0x42 0x02, which is the ZCL Toggle command.
                  Send this command and the light toggles!
                  The actual screen in Test Tool is shown in Figure 9.7.
                  Any ZigBee command can be sent from the gateway. For example, change the
                  DstEndpoint to 0x00, the ProfileId to 0x0000, the ClusterId to 0x0001, the asduLength to
                  0x05, and the Asdu contents to 0x00 0x6f 0x79 0x00 0x00, and the gateway will issue an
                  IEEE address request to the ZDP of the HA OnOffLight. The results will come back to
                  the gateway through endpoint 0x00.




                                        Figure 9.7: APSDE-DATA.req in Test Tool

                  www.n ewn es p res s .c o m




CH09-H8597.indd 362                                                                                          7/26/2008 3:48:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 700 of 763 PageID #:
                                       2482



                                                                                      ZigBee Gateways       363

                  The source code to the Freescale serial gateway (called ZTC), which implements the
                  ZigBee Simple Gateway Interface plus many more commands, is too complicated to go
                  into in detail here. The concept, however, is fairly simple.
                  The program in the gateway enables a serial port in the 8-bit MCU (in this case, at 38,400
                  baud, 8N1). The serial port is interrupt-driven, both on transmit and receive. When data
                  is received over the serial port, it is decoded. If an entire ZSGI packet complete with
                  accurate checksum is received, it is formatted and passed to the appropriate Service
                  Access Point (SAP) handler, in this case, the APSDE SAP handler.
                  When data flows up through a SAP handler (data that comes from the radio), then it is
                  formatted into a ZGSI packet and sent out the serial port. There are quite a few BeeKit
                  options available to fine tune ZTC, enabling and disabling various features, but the simple
                  way is to just check the ZTC box on the Advanced Features pane of the BeeKit Project
                  Wizard.
                  ZigBee stack vendors which run on MCUs with serial ports tend to have serial support
                  built into the stack. They usually have an initialization function, a serial transmit function,
                  and a serial receive function.

                                          ZigBee currently lacks gateway standards.
                                          A serial gateway is easy to implement and use.



                  9.2      The Data Concentrator Problem
                  You may remember that ZigBee uses routing tables to route packets. If you don’t
                  remember this, go back and read Chapter 7, “The ZigBee Networking Layer.”
                  Each routing table entry contains two significant fields: the final destination, and the
                  next hop to use to get there. For example, if node 43 wants to communicate to node 19,
                  its final destination would be node 19 and the next hop toward node 19 would be 2 (as
                  shown in Figure 9.8).
                  What if all the nodes in the network want to communicate with node 19 (if node 19 was
                  the gateway, for example)? Node 2 in the figure above would have a next hop of zero to
                  get to node 19. Node 43 and node 44 would both have a next hop of two, but node 2 still
                  only needs the one routing table entry to get to node 19, the next hop of zero. In fact, if
                  a hundred nodes were all communicating through node 2 to get to node 19, it still needs

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CH09-H8597.indd 363                                                                                                 7/26/2008 3:48:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 701 of 763 PageID #:
                                       2483


                  364      Chapter 9

                                                                                       63


                                                                              44

                                                                 2


                                  19          1            0            43             29



                                                                                   3
                                                      33         24


                                                                                            25


                                       Figure 9.8: Sending Data to the Concentrator

                  only one routing table entry. Regardless of how many nodes there are in the ZigBee
                  network, each node needs only one entry to communicate to the data concentrator.
                  So what’s the problem? Ah, but what if the data concentrator needs to communicate to all
                  those nodes in the ZigBee network, and not just receive data from them?
                  In Figure 9.9, node 19 would need to have enough routing table entries for every node
                  in the network! And so would nodes 1 and 0. If the ZigBee network only has a dozen,
                  or even a few dozen nodes, that’s no problem, but what if the ZigBee network contains

                                                                                       63


                                                                              44

                                                                 2


                                  19          1            0            43             29



                                                                                   3
                                                      33         24


                                                                                            25


                            Figure 9.9: The Data Concentrator Sending Data to the Network

                  www.n ewn es p res s .c o m




CH09-H8597.indd 364                                                                                          7/26/2008 3:48:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 702 of 763 PageID #:
                                       2484



                                                                                  ZigBee Gateways        365

                  6,000 nodes? Then node 19 would need 6,000 ⫻ 5 bytes per routing table entry, or 30 K
                  of RAM just for the routing tables. Considering ZigBee is targeted at 8-bit MCUs which
                  have only 4 K RAM, you can see that this approach is not very practical.
                  One solution is of course to run ZigBee on a processor with more RAM, say some 32-bit
                  processor such as an Intel x86, or ARM 9 with eight megabytes of RAM. But ZigBee is
                  designed to be inexpensive, and that would mean every router would need enough RAM
                  for any routes which pass through it. This could significantly increase the price of the
                  ZigBee network.
                  ZigBee Pro, an upcoming version of the ZigBee specification, also has a solution to
                  this problem, called many-to-one route discovery which employs the strategy of source
                  routing in addition to table-driven mesh routing. The ZigBee Pro method assumes that
                  the data concentrator (or the PC it talks to) has enough RAM to store a large set of source
                  routes to all the nodes. I’ll describe this ZigBee Pro concept and others in more detail in
                  Appendix A, “ZigBee 2007 and ZigBee Pro.”
                  Another practical solution that uses the current ZigBee specification that has been
                  adopted in ZigBee networks employs “Island Controllers.” This solution assumes that
                  the network designer has control over at least some of the routers in the system. In this
                  approach, communication is from the data concentrator to islands of nodes, rather than to
                  each node directly. Again the host PC must have enough RAM to store the information
                  about which islands lead to which nodes, Standard ZigBee mesh routing is used between
                  islands, and between the last island and the final destination nodes.
                  To understand how this works, consider a hotel. In this example, each hotel room may
                  contain up to 16 ZigBee nodes, all of which communicate to a room controller. The room
                  controller is used so that each room can operate independently of every other room,
                  regardless of what happens to the ZigBee network. Assume that there are 3,000 nodes in
                  the ZigBee network. Perhaps there are many ZigBee networks in a large hotel, one per
                  floor, but each one has a gateway. The networks are considered independent networks for
                  the purposes of this discussion.
                  To communicate to all nodes in this network, the gateway would require 3,000 routing
                  table entries, if using the brute force of communicating directly from the gateway to each
                  node in the network. That clearly won’t work with only 4 K of RAM in the gateway.
                  So instead, a set of islands are defined on the PC side of the gateway. Assuming just 14
                  routing table entries per router (using 70 bytes of RAM), each “Island Controller” can
                  handle up to 14 “island children.” Each Island Controller has an application that will
                  examine packets delivered on a special cluster, and deliver it to the next island in the

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CH09-H8597.indd 365                                                                                             7/26/2008 3:48:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 703 of 763 PageID #:
                                       2485


                  366        Chapter 9



                                                                12a          12b




                                                                      11a          12c

                                                                                         RC88
                                    19          1           0




                                                      11b             11c




                                          Figure 9.10: Islands Within the Network

                  chain, and eventually to the proper cluster on the proper node. With 3,000 nodes, two
                  tiers of islands would be needed:
                                                      (16 ⫻ 14 ⫻ 14 ⫽ 3, 136)
                      Gateway → IslandController1 → IslandController 2 → Room Controller → End-Node

                  As an example, if the back-end building management system needs to deliver a packet to
                  Room Controller 88 (RC88), or to one of its children, it would first deliver the packet to
                  Island1a (I1a), which would in turn deliver it to Island2c (I2c), which would then deliver
                  it to RC88, which would then deliver to one of its children.
                  It’s interesting to note this looks something like the tree networking you learned about in
                  Chapter 7, “The ZigBee Networking Layer.” But the system actually uses ZigBee mesh
                  networking to get to each Island Controller in the most efficient manner. This is not tree
                  routing, but it does assume that the Island Controllers are fairly stable units, and can be
                  accessed, somehow, through a path in the mesh network. The islands do not need to be
                  a single hop away from each other, as the ZigBee mesh networking will find the most
                  efficient path between islands.
                  This method also requires a special application in the Island Controllers, but none of the
                  other ZigBee nodes need to know anything special about the delivery of packets from the
                  gateway. In the next section, I’ll provide simple source code that delivers the packets as
                  described through an Island Controller system.

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CH09-H8597.indd 366                                                                                             7/26/2008 3:48:52 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 704 of 763 PageID #:
                                       2486



                                                                                     ZigBee Gateways         367

                  There is one more thing to be aware of. The ZigBee specification has no specific policy
                  about retiring routes. To quote the spec, “The aging and retirement of routing table entries
                  in order to reclaim table space from entries that are no longer in use is a recommended
                  practice; it is, however, out of scope of this specification.” This means your application
                  should do some sort of aging if the stack implementation does not. Ask your stack vendor
                  how this is accomplished in their implementation. If you don’t age routes, the network
                  could eventually stop routing packets if links have broken enough times, which, as a
                  consequence of Murphy’s Law, wouldn’t be discovered until your network has been in the
                  field for months, or even years.

                  9.2.1 Island Controller Example Program
                  This section describes a simple example of an “Island Controller” application. It uses a
                  unique cluster, 0x15AD (a number that looks kind of like the word “island” if you stare at
                  it long enough), to send data through a series of islands. It’s up to the sender (gateway, or
                  PC on the other side of the gateway) to determine which Island Controllers to use and in
                  what order.
                  In this example, I’ll use four nodes, as shown in Figure 9.11. The Island Gateway node
                  (an SRB) is connected to a PC via the USB port. A PC program from Freescale, called
                  Test Tool, sends a special packet into the network through the Island Gateway to inform
                  the Home Automation OnOffLight to toggle.
                  This same configuration will scale to over 3,000 nodes with just 14 routing table entries,
                  and the devices being monitored or controlled (the OnOffLight) do not need to know
                  anything about the “Island Controller” concept.
                  I’ll show you the relevant lines from the over-the-air capture, but the plan works like this.
                  Whatever is to be sent by the Island Gateway to any node in the network is preceded by a
                  header, and sent to cluster 0x15AD. The header format is shown in Table 9.3.
                  The first field, NumIslands, indicates how many “NextIsland” short address fields follow.
                  If this is 0, then there are no more islands and the packet is delivered directly to the final
                  node, cluster, and endpoint indicated by the NwkAddr, Cluster, and EP fields. The Island
                  Controllers all use endpoint 8 for simplicity’s sake (no need to discover active endpoints
                  and read simple descriptors).
                  Each island controller that receives a packet decrements the number of Island fields and
                  strips off the first “NextIsland” field in the island chain, then delivers the packet to that
                  next Island Controller.

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CH09-H8597.indd 367                                                                                                7/26/2008 3:48:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 705 of 763 PageID #:
                                       2487


                  368      Chapter 9


                                     Host
                                   Processor



                                                              Island Gateway
                                                              (ZC)



                                                                               Island Controller1
                                                                               (ZR)



                                                                                             Island Controller2
                                                                                             (ZR)



                                                                                                            OnOffLight
                                                                                                            (ZR)




                                                       Figure 9.11: Island Controller

                  Note that when the actual end node receives the command, it will look like it came from
                  the last island in the chain (also called the room controller). When the end node wants to
                  send something back to the gateway, it would send directly to the gateway. Remember
                  that sending information upstream toward the gateway uses very few routes; it is only
                  downstream communication that needs to be addressed by the application.
                  The over-the-air message sent to the end node is an HA OnOff Toggle command to toggle
                  the light. In the real world, this would probably be some configuration information such
                  as informing the node not to go into power-saving mode even if the room is unoccupied.
                  The information sent is irrelevant for the example.
                  So, what does this example look like over-the-air? The capture is shown in Table 9.4. The
                  .dcf version of the capture can be found on-line at http://www.zigbookexamples.com.

                                                   Table 9.3: Island Controller Header
                        Octets:1               2 x Variable       2                  2                 1          Variable
                        NumIslands             NextIsland         NwkAddr            ClusterId         EP         actual packet


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CH09-H8597.indd 368                                                                                                               7/26/2008 3:48:53 PM
                                                Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 706 of 763 PageID #:
                                                                                    2488
CH09-H8597.indd 369




                                                                                             Table 9.4: Island Controller Capture
                                                Seq Time       MAC Src              MAC Dst                NWK     NWK    Protocol        Packet Type
                                                No. Delta                                                  Src     Dst
                                                1    –         –                    0xffff                 –       –      IEEE 802.15.4   Command: Beacon Request
                                                2    ⫹02.776   –                    0xffff                 –       –      IEEE 802.15.4   Command: Beacon Request
                                                3    ⫹00.004   0x0000               –                      –       –      IEEE 802.15.4   Beacon: BO: 15, SO: 15, PC: 1, AP: 1,
                                                                                                                                          Nwk RC: 1, Nwk EDC: 1
                                                4    ⫹02.020   0x0050               0x0000                 –       –      IEEE 802.15.4   Command: Association Request
                                                               c203dc
                                                               0f4411
                                                5    ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                6    ⫹00.493   0x0050               0x0000                 –       –      IEEE 802.15.4   Command: Data Request
                                                               c203dc
                                                               0f4411
                                                7    ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                8    ⫹00.002   0x0050c2050005c800   0x0050c203dc0f4411     –       –      IEEE 802.15.4   Command: Association Response
                                                9    ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                10   ⫹12.383   –                    0xffff                 –       –      IEEE 802.15.4   Command: Beacon Request
                                                11   ⫹00.002   0x0000               –                      –       –      IEEE 802.15.4   Beacon: BO: 15, SO: 15, PC: 1, AP: 0,
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                                                                                                                                          Nwk RC: 1, Nwk EDC: 1
                                                12   ⫹00.005   0x0001               –                      –       –      IEEE 802.15.4   Beacon: BO: 15, SO: 15, PC: 0, AP: 1,
                                                                                                                                          Nwk RC: 1, Nwk EDC: 1
                                                13   ⫹02.018   0x0050c20d10046400   0x0001                 –       –      IEEE 802.15.4   Command: Association Request
                                                14   ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                15   ⫹00.493   0x0050c20d10046400   0x0001                 –       –      IEEE 802.15.4   Command: Data Request
                                                16   ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                17   ⫹00.002   0x0050c203dc0f4411   0x0050c20d10046400     –       –      IEEE 802.15.4   Command: Association Response
                                                18   ⫹00.001   –                    –                      –       –      IEEE 802.15.4   Acknowledgment
                                                                                                                                                                        (continued)
7/26/2008 3:48:53 PM
                                                     Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 707 of 763 PageID #:
                                                                                         2489
CH09-H8597.indd 370




                       www.n ewn es p res s .c o m

                                                                                                       Table 9.4: continued
                                                     Seq Time       MAC Src              MAC Dst              NWK      NWK      Protocol          Packet Type
                                                     No. Delta                                                Src      Dst
                                                     19   ⫹50.906   –                    0xffff               –        –        IEEE 802.15.4     Command: Beacon Request
                                                     20   ⫹00.003   0x0002               –                    –        –        IEEE 802.15.4     Beacon: BO: 15, SO: 15, PC: 0, AP: 1,
                                                                                                                                                  Nwk RC: 1, Nwk EDC: 1
                                                     21   ⫹00.004   0x0001               –                    –        –        IEEE 802.15.4     Beacon: BO: 15, SO: 15, PC: 0, AP: 0,
                                                                                                                                                  Nwk RC: 1, Nwk EDC: 1
                                                     22   ⫹03.055   –                    0xffff               –        –        IEEE 802.15.4     Command: Beacon Request
                                                     23   ⫹00.003   0x0000               –                    –        –        IEEE 802.15.4     Beacon: BO: 15, SO: 15, PC: 1, AP: 0,
                                                                                                                                                  Nwk RC: 1, Nwk EDC: 1
                                                     24   ⫹00.004   0x0002               –                    –        –        IEEE 802.15.4     Beacon: BO: 15, SO: 15, PC: 0, AP: 1,
                                                                                                                                                  Nwk RC: 1, Nwk EDC: 1
                                                     25   ⫹00.001   0x0001               –                    –        –        IEEE 802.15.4     Beacon: BO: 15, SO: 15, PC: 0, AP: 0,
                                                                                                                                                  Nwk RC: 1, Nwk EDC: 1
                                                     26   ⫹03.063   0xaaaaaaaaaaaaaaaa   0x0002               –        –        IEEE 802.15.4     Command: Association Request
                                                     27   ⫹00.001   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
                                                     28   ⫹00.496   0xaaaaaaaaaaaaaaaa   0x0002               –        –        IEEE 802.15.4     Command: Data Request
                                                     29   ⫹00.001   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
                                                     30   ⫹00.004   0x0050c20d10046400   0xaaaaaaaaaaaaaaaa   –        –        IEEE 802.15.4     Command: Association Response
                                                     31   ⫹00.001   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
                                                     32   ⫹47.731   0x0351               0x0002               0x0351   0x0002   Zigbee APS Data   HA:Reserved
                                                     33   ⫹00.002   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
                                                     34   ⫹00.003   0x0002               0x0001               0x0002   0x0001   Zigbee APS Data   HA:Reserved
                                                     35   ⫹00.002   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
                                                     36   ⫹00.003   0x0001               0x0000               0x0001   0x0000   Zigbee APS Data   HA:On/off
                                                     37   ⫹00.001   –                    –                    –        –        IEEE 802.15.4     Acknowledgment
7/26/2008 3:48:53 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 708 of 763 PageID #:
                                       2490



                                                                                      ZigBee Gateways       371

                                                                             0000 C



                                                                  0001 R


                                                    8002 R



                                         0801 ED



                                         1                    8              8            8




                                      Figure 9.12: Island Gateway as Seen in Daintree


                  Packets 1 through 31 are the usual association requests and responses required to join all
                  the nodes to the network.

                  Where things get interesting is at packet 32. Before examining the packets in detail, it’s
                  useful to understand the sequence of events. Look at Figure 9.12. The gateway is node
                  0x0351 (ZED) as seen on the left. A command issued from the gateway island hops
                  through island 0x0002 (ZR), and then island 0x0001 (ZR) to reach the final destination,
                  an HA OnOffLight at node 0x0000 (ZC) on the right.

                  It is irrelevant which routers in the network are Island Controllers, and those routers can
                  even have other functions (in this case, they also act as an HA OnOffSwitch). ZigBee will
                  use its mesh capability to find a route from island to island, and the overall scheme keeps
                  the number of routes to a minimum, even when there are thousands of nodes which the
                  gateway must communicate with.

                  Examining the details, notice that the packet 32 is initiated from the gateway. The
                  destination address is not the final node it wants to speak to. Instead, the destination is the
                  next island in the chain (0x0002):
                  Packet 32 Decode

                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                     Destination Address: 0x0002
                     Source Address: 0x0351
                     Radius = 5
                     Sequence Number = 113


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CH09-H8597.indd 371                                                                                                 7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 709 of 763 PageID #:
                                       2491


                  372            Chapter 9

                                     Table 9.5: Island Controller Header from Island Gateway
                      Octets:1          2 x Variable   2            2             1         Variable
                      NumIslands        NextIsland     NwkAddr      ClusterId     EP        actual packet
                      0x01              0x0001         0x0000       0x0006        0x08      0x01 0x42 0x02




                  ZigBee APS
                     Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: Reserved (0x15ad)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x01
                    Counter: 0xbf
                  ZigBee APS Data
                    0000: 61 88 12 00 0f 02 00 51 03 48 00 02 00 51 a......Q.H...Q
                    000e: 03 05 71 00 08 ad 15 04 01 01 bf 01 01 00 ..q..-...?...
                    001c: 00 00 06 00 08 01 42 02                   ......B...


                  Pay attention also to the contents of the ZigBee APS Data portion of the frame in packet
                  32 highlighted above: It is an Island Controller frame header. Look at the Island Controller
                  frame header below with the numbers plugged into the Island Controller Header table
                  (see Table 9.5). As with all ZigBee communications, all 2-byte fields are little Endian.

                  At the next hop, packet 34, notice the NumIslands field has been reduced to 0. This means
                  that the receiving node will be the last island in the chain.

                  Packet 34 Decode

                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0x0001
                    Source Address: 0x0002
                    Radius = 10
                    Sequence Number = 245
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: Reserved (0x15ad)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0x6b


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CH09-H8597.indd 372                                                                                              7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 710 of 763 PageID #:
                                       2492



                                                                                  ZigBee Gateways        373

                  ZigBee APS Data
                  0000: 61 88 26 00 0f 01 00 02 00 48 00 01 00 02a.&......H....
                  000e: 00 0a f5 00 08 ad 15 04 01 08 6b 00 00 00..u..-...k...
                  001c: 06 00 08 01 42 02                         ....B...

                  And finally, with the last hop, notice that this looks like any other HA OnOffToggle
                  command:
                  Packet 36 Decode

                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0x0000
                    Source Address: 0x0001
                    Radius = 10
                    Sequence Number = 93
                  ZigBee APS
                    Frame Control: 0x00
                    Destination Endpoint: 0x08
                    Cluster Identifier: On/off (0x0006)
                    Profile Identifier: HA (0x0104)
                    Source Endpoint: 0x08
                    Counter: 0xe7
                  ZigBee ZCL
                    Frame Control: 0x01
                    Transaction Sequence Number: 0x42
                    Command Identifier: Toggle (0x02)

                  And voilà! The light toggles.
                  There are three images created in BeeKit for this project:
                      ●   IslandGateway (node 0x0351, project SrbZedIslandGateway.mcp)
                      ●   IslandController (nodes 0x0002, 0x0001, project SrbZrIslandController.mcp)
                      ●   Application (node 0x0000, project NcbZcHaOnOffLight.mcp)

                  The IslandGateway and Application use standard BeeKit templates. Only the
                  IslandController contains any special source code. As discussed previously, the Island
                  Controller implements a special cluster (0x15AD) and a special header for that cluster.
                  The C code is pretty straightforward:
                  /* Island cluster ID, 0x15AD in little endian order */
                  #define gIslandCluster_c 0xAD15


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CH09-H8597.indd 373                                                                                            7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 711 of 763 PageID #:
                                       2493


                  374       Chapter 9

                  /* header for island hopping */
                  typedef struct islandHeader_tag
                  {
                    uint8_t numIslands;
                    zbNwkAddr_t nextIsland[1];
                  } islandHeader_t;

                  /* header for final destination node */
                  typedef struct islandFinalHeader_tag
                  {
                    uint8_t numIslands;
                    zbNwkAddr_t nwkAddr;
                    zbClusterId_t clusterId;
                    zbEndPoint_t endPoint;
                    uint8_t aData[1];
                  } islandFinalHeader_t;

                  In C it is common for variable length fields to be listed as if they were an array of [1],
                  such as nextIsland[1] above, which really represents the list of next islands, the number of
                  which is defined by numIslands. The length of the aData[1] field is really indicated by the
                  APSDE-DATA.indication asduLength field. The data indication is shown below:
                  void BeeAppDataIndication
                    (
                    void
                    )
                  {
                    apsdeToAfMessage_t *pMsg;
                    zbApsdeDataIndication_t *pIndication;
                    zbStatus_t status;
                    afToApsdeMessage_t *pMsgOut;
                    islandHeader_t *pIslandHeader;
                    islandFinalHeader_t *pFinalHeader;
                    uint8_t *pAsdu;
                    static afAddrInfo_t addrInfo;
                    uint8_t iPayloadLen;

                      while(MSG_Pending(&gAppDataIndicationQueue))
                      {
                        /* Get a message from a queue */
                        pMsg = MSG_DeQueue(&gAppDataIndicationQueue);

                       /* ask ZCL to handle the frame */
                       pIndication = &(pMsg->msgData.dataIndication);

                       /* sent to island cluster. Either send it on to next island,
                       or directly to node. */
                       if(IsEqual2BytesInt(pIndication->aClusterId,


                  www.n ewn es p res s .c o m




CH09-H8597.indd 374                                                                                              7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 712 of 763 PageID #:
                                       2494



                                                                           ZigBee Gateways   375

                          gIslandCluster_c))
                            {
                            /* allocate a message for forwarding */
                            pMsgOut = AF_MsgAlloc();
                            if (!pMsgOut)
                            {
                              MSG_Free(pMsg); /* can’t forward, no memory */
                              continue;
                          }

                          /* prepare message */
                          pAsdu = ((uint8_t *)pMsgOut + ApsmeGetAsduOffset());

                          /* set up default destination */
                          Set2Bytes(addrInfo.aClusterId, gIslandCluster_c);
                          addrInfo.dstAddrMode = gZbAddrMode16Bit_c;
                          addrInfo.radiusCounter = afDefaultRadius_c;
                          addrInfo.srcEndPoint = addrInfo.dstEndPoint = appEndPoint;
                          addrInfo.txOptions = gApsTxOptionNormal_c;
                          iPayloadLen = pIndication->asduLength;

                          /* more island hops to go? */
                          pIslandHeader = (void *)pIndication->pAsdu;
                          if(pIslandHeader->numIslands)
                          {
                            /* decrement the count and copy in entire packet minus
                              one island hop */
                              pAsdu[0] = pIslandHeader->numIslands-1;
                              FLib_MemCpy(pAsdu + sizeof(pIslandHeader->numIslands),
                                &(pIslandHeader->nextIsland[1]),
                                pIndication->asduLength-sizeof(islandHeader_t));

                           /* send to next hop */
                           Copy2Bytes(addrInfo.dstAddr.aNwkAddr,
                             pIslandHeader->nextIsland[0]);

                           /* payload has shrunk by 2 bytes */
                           iPayloadLen -= szeof(zbNwkAddr_t);
                      }

                      /* send directly to application */
                      else
                      {
                        /* send payload to final destination node */
                        pFinalHeader = (void *)pIslandHeader;
                        addrInfo.dstEndPoint = pFinalHeader->endPoint;
                        Copy2Bytes(addrInfo.aClusterId, pFinalHeader->clusterId);
                        Copy2Bytes(addrInfo.dstAddr.aNwkAddr,
                          pFinalHeader->nwkAddr);


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CH09-H8597.indd 375                                                                                7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 713 of 763 PageID #:
                                       2495


                  376       Chapter 9

                     /* copy in the data */
                     iPayloadLen -= (sizeof(islandFinalHeader_t)-
                  sizeof(pFinalHeader->aData));
                     FLib_MemCpy(pAsdu, pFinalHeader->aData, iPayloadLen);
                  }

                  /* send data on to next node in the island chain
                    (which may be final node) */
                    (void)AF_DataRequestNoCopy(&addrInfo, iPayloadLen,
                       pMsgOut, NULL);
                  }

                  /* this is still a switch. Handle switch code */
                  else
                  {
                    status = ZCL_InterpretFrame(pIndication);

                      /* not handled by ZCL interface, handle cluster here… */
                      if(status == gZclMfgSpecific_c)
                        {
                          /* insert manufacturer specific code here… */
                        }
                      }

                      /* Free memory allocated by data indication */
                      MSG_Free(pMsg);
                      }
                  }

                  This application simply checks for the cluster ID 0x15AD. If it’s any other cluster the
                  data indication is passed to the ZigBee Cluster Library (ZCL) to handle. If the cluster is
                  0x15AD (the IslandController cluster) then the first field is checked to see whether the
                  packet should be forwarded to the next island in the chain, or sent to the final destination.
                  The determination of whether it should be forwarded depends on whether there are any
                  remaining islands in the chain, determined by this statement:
                  if(pIslandHeader->numIslands)

                  Notice that when forwarded to the next island, the number of islands remaining is
                  decremented, and that island hop is removed:
                  pAsdu[0] = pIslandHeader->numIslands - 1;

                  As usual, the complete source code can be found on http://www.zigbookexamples.com.
                  The advantage of this “Island Controller” technique is that very few routes are needed
                  to support very large networks (thousands of nodes) from a single gateway. The

                  www.n ewn es p res s .c o m




CH09-H8597.indd 376                                                                                               7/26/2008 3:48:54 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 714 of 763 PageID #:
                                       2496



                                                                                       ZigBee Gateways    377

                  disadvantage is that a human must plan the network and determine which nodes will be
                  Island Controllers. Planning of this nature typically takes place in commercial buildings,
                  in any case. Another disadvantage is that the receiving node can’t tell who sent the
                  packet, as the packet appears to come from the last Island Controller. Commissioning can
                  make sure the data is sent to the proper gateway.

                                Inbound traffic to a gateway requires only one route per hop.
                                Outbound traffic from gateway requires many routes, Island Hopping,
                                or ZigBee Pro.


                  9.3      Bandwidth and the Gateway
                  Okay, so now there are enough routes to communicate from the gateway to any node in
                  the network and back again. But there is something else to consider besides just routes. Is
                  there enough bandwidth?
                  2.4 GHz 802.15.4 radios communicate at 250 kbps (kilobits per second). This is
                  considered the maximum bandwidth of any given radio. But all radios in a given vicinity
                  share that same bandwidth, so don’t expect applications to communicate at 250 kbps.
                  For determining average bandwidth available for applications, consider the following:
                      ●   Interferers
                      ●   Density of the network
                      ●   ZigBee protocol overhead
                      ●   Communication patterns

                  9.3.1    Interferers
                  All radios experience some form of interference. In fact, wireless often has a reputation
                  as an unreliable medium, one which ZigBee spends much effort to correct. A basic rule
                  of thumb is to assume that 50% of the bandwidth is taken up by interferers at any given
                  moment in time. Of course, this formula is much too general to apply in all situations, but
                  it provides a starting point for discussion.
                  One of the most common interferers is WiFi. WiFi is prevalent in many areas where
                  ZigBee is installed, and will only get more so with time. By using CSMA-CA
                  and retries, ZigBee is able to continue to communicate, even if the WiFi traffic is

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CH09-H8597.indd 377                                                                                             7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 715 of 763 PageID #:
                                       2497


                  378        Chapter 9

                                                       TM
                                                   WiFi speaks at less than 100% duty cycle




                                            ZigBee uses CSMA-CA to speak during the quiet periods

                                           Figure 9.13: ZigBee and WiFi interference


                  particularly heavy. Take a look at Figure 9.13. There are periods of silence, even when
                  WiFi is communicating continually. ZigBee takes advantage of these silent periods to
                  communicate or to retry packets. Tests conducted by the ZigBee Alliance had a 0%
                  packet error rate, even with the ZigBee radio within one foot of the WiFi router! That’s
                  not to say that ZigBee didn’t need to use its retry mechanism, but no packets were lost
                  from an application perspective.
                  It is worth noting, however, that ZigBee did not test 802.11.n (only a/b and g). A copy of
                  this white paper will be available on the ZigBee Web site (http://www.zigbee.org).
                  One of the other interesting things about WiFi and ZigBee is that usually WiFi channels
                  1, 6, or 11 are used, which means that many ZigBee channels will be free, given any single
                  implementation of WiFi. As seen in Figure 9.14, ZigBee (802.15.4) channels 15, 20, 25,
                  and 26 are always free from WiFi interference, regardless of which WiFi channel is used.


                                     802.11b       802.15.4         802.11b               802.11b
                                    Channel 1     Channel 15       Channel 6             Channel 11                24535
                                                                                                             (end of ISM Band)




                      2.40   2.41   2.42        2.43        2.44       2.45    2.46     2.47          2.48


                                                 802.11b Channel (North America)

                                                 802.11b Spectrum Occupancy (Typical)

                                                 802.15.4 Channel

                                            Figure 9.14: ZigBee and WiFi Channels

                  www.n ewn es p res s .c o m




CH09-H8597.indd 378                                                                                                              7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 716 of 763 PageID #:
                                       2498



                                                                                     ZigBee Gateways       379

                  Many radio technologies, such as Bluetooth™, also share the 2.4 GHz space. Empirically,
                  ZigBee has shown itself to be very robust in noisy RF environments. At trade shows
                  I routinely see many wireless technology demos break or have trouble in the chaotic
                  environment. Not so with ZigBee. The ZigBee demos just keep working.
                  Other common interferers are cordless telephones, microwave ovens (yes, microwaves
                  operate in the 2.4 GHz band), and general RF noise. I’m told even sunspots can cause
                  some interference. Modern microwave ovens are built to screen most of their RF
                  interference. In fact, at San Juan Software, we use microwave ovens as a way of
                  isolating ZigBee nodes. (Yes, we are careful not to turn the oven on while a ZigBee
                  board is inside!)

                                   Assume 50% of the available bandwidth is used by interferers.


                  9.3.2    ZigBee Protocol Overhead
                  ZigBee consumes bandwidth to enhance reliability, extend network range, and to
                  commission the network.
                  For example, the 802.15.4 MAC will retry up to three times (for a total of four
                  transmissions) to send a message to the next hop. If ZigBee APS retries are used (one of
                  the TxOptions on an APSDE-DATA.request), then ZigBee will retry up to three times as
                  well, for a total of 16 possible transmissions of a single packet.
                  ZigBee uses unicasts to send data along a route, but every node in the vicinity of each hop
                  can hear that unicast. It is rejected by all but the intended node, but the transmission still
                  consumes bandwidth.
                  ZigBee broadcasts may repeat up to two times (a total of three times) and each node in the
                  network or within the radius of that broadcast repeats it. Broadcasts can consume a lot of
                  bandwidth. Most reasonably sized networks (100-plus nodes) can only handle about four
                  to five broadcasts at any given time. Where practical, try to use unicasts, either mesh or
                  along the tree, instead of broadcasts. Unicasts use far less resources in terms of bandwidth
                  and RAM. But remember that commands like ZDP-NWK-ADDR.request require a
                  broadcast. So does discovering a route. Likewise, groupcasts are a form of broadcast.
                  One of the most difficult times for ZigBee functioning is during commissioning. Many
                  nodes are competing for the same resources, and applications tend to be a lot chattier
                  during this period. Ideally, it is best to commission the network one device at a time. This

                                                                               w w w.new nespress.com




CH09-H8597.indd 379                                                                                                7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 717 of 763 PageID #:
                                       2499


                  380      Chapter 9

                  includes joining, as well as determining which of the various nodes any given node needs
                  to speak with.
                  One thing that consumes bandwidth that is often forgotten is ZigBee End-Device polling.
                  Sleeping (RxOnIdle ⫽ FALSE) ZEDs poll their parent to see if their parent is keeping
                  any messages for them while they were asleep. This poll rate by default is often set up to
                  something like two seconds, because that’s a useful rate during commissioning. Set this
                  poll rate to as long as possible. The Home Controls Stack Profile (stack profile 0x01)
                  allows this poll rate to be as slow as once per hour. It’s really up to what the application
                  can bear. Remember, this does not affect the transmission rate of the device (the light
                  switch can still send the on/off command immediately when switched), only the
                  receiving rate. And most implementations poll for a message shortly after transmitting.
                  Polling once every 6.5 seconds is a good poll rate because it matches well with the
                  MAC purge rate.

                        Use unicasts, not broadcasts (or groupcasts) where possible.
                        Commission nodes one at a time.
                        Reduce poll-rate for ZigBee End-Devices. Once every 6.5 seconds is a good poll rate.



                  9.3.3    Density of the Network
                  Too many ZigBee nodes in the same vicinity can interfere with each other. In a typical
                  home, the ZigBee network may contain 50 to 100 nodes, all within hearing range of
                  each other. In a commercial network, such as building automation, this number can be
                  significantly higher. The bandwidth in any given vicinity is limited (only one node may
                  be speaking at any given time) and is shared by all the nodes in that vicinity. Each node
                  uses Carrier-Sense-Multiple-Access Channel-Assessment (CSMA-CA) before speaking,
                  so there must be some silence between packets.
                  Network density is determined by the number of nodes that a given node can hear, based
                  on the transmit power of the other nodes, and the receiving node’s ability to hear those
                  transmissions.
                  802.15.4, including ZigBee, requires from 1 to 4 milliseconds, depending on the size of
                  the packet. Assuming a 50% duty cycle (which allows enough quiet time for CSMA-CA
                  to work) this allows an average of about 250 packets per second. Because ZigBee is an
                  acknowledged protocol, this is really a maximum of 125 application packets per second,

                  www.n ewn es p res s .c o m




CH09-H8597.indd 380                                                                                              7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 718 of 763 PageID #:
                                       2500



                                                                                       ZigBee Gateways      381

                  shared by all nodes. So if there are 50 nodes in the vicinity, this equates to two packets
                  per second per node.
                  Remember, that some of this bandwidth will be taken up by other portions of the ZigBee
                  protocol. For example, if a node in this or another part of the network is performing a
                  route discovery, the packets are repeated three times by each router in the network. A
                  group or multicast likewise eats up bandwidth. ZigBee end devices poll their parents for
                  information, which also consumes bandwidth.
                  My rule of thumb is to allow 50% of the bandwidth average for ZigBee protocol
                  overhead. So I don’t write applications that send data any more frequently than one
                  packet per second, on average. I also work to minimize over-the-air traffic wherever
                  possible, keeping in mind the density of the network.

                            Reduce network density, or reduce over-the-air traffic for a healthy network.



                  9.3.4    Communication Patterns
                  One of the aspects of bandwidth consumption that is often forgotten is communication
                  pattern. Even if there is a very noisy RF channel (lots of bandwidth consumed by
                  interferers), and a very dense network (hundreds of nodes in the vicinity), ZigBee
                  applications can still continue to communicate reliably. How? They do this by reducing
                  the traffic, and randomizing when the traffic occurs.
                  Consider this scenario. Perhaps 100 nodes must report their status to a data concentrator
                  or gateway. If all of them attempt to communicate once every minute, once every
                  hour, or even once every day, they can overload the ZigBee network should they try to
                  communicate at the same time.
                  For the purposes of most applications, it is not necessary to specify the precise moment
                  at which to transmit data; a measurement from anywhere during a specified interval is
                  sufficient. For example, sending in a temperature reading can occur at any time within
                  a given minute, for home or commercial building automation. The temperature won’t
                  change that rapidly even if the heating or cooling units come on right away.
                  Adding a little bit of randomization (called jitter) can go a long way toward helping an
                  application be a team player in larger networks. ZigBee uses randomization in repeating
                  broadcasts or sending unicast retries. The Smart Energy application profile, which monitors
                  and regulates electrical power usage, contains a whole section (E.3.5) on randomization.

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CH09-H8597.indd 381                                                                                               7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 719 of 763 PageID #:
                                       2501


                  382      Chapter 9

                  The following code shows what a random jitter in a temperature sensor application might
                  look like:

                  void TimerCallback (tmrTimerID_t timerID)
                  {
                    if(timerID == gTemperatureTimerId)
                    {
                    GetCurrentTemperature();      //read from temp sensor
                    TransmitTemperatureReading(); //send reading to gateway
                    StartRandomTemperatureReadingTimer();
                    }
                  }

                  void StartRandomTemperatureReadingTimer(void)
                  {
                    uint16_t randomJitter;
                    randomJitter = 1000 * (50 + GetRandomRange(0, 20));
                    TMR_StartSingleShotTimer(mTimer, randomJitter, TimerCallback);
                  }


                  This procedure tends to spread the messages out over time very well. Just a jitter of a few
                  milliseconds can be enough to make even a large network function better.

                  Another way to help messages flow more smoothly in a ZigBee network is to combine
                  data when possible. Take that same example of a temperature sensor. The sensor might
                  take 10 or even 100 readings, average them, and then send out a single number at the end
                  of a minute, rather than sending out many readings at shorter intervals. Or perhaps the
                  application might only send a reading when the temperature has changed by five degrees,
                  or after two minutes have passed, whichever comes first.

                  In another application I was involved with, battery-operated ZigBee nodes were worn by
                  crew members on commercial ships as “man overboard” detectors. These nodes, called
                  “tags,” sent a message to the gateway once every two seconds to indicate that the node
                  (that is, the person) was still on the network. If any node didn’t check in, it could mean
                  that the crew member was in the water. Even for very small networks (under 50 nodes)
                  the system would sometimes overload and give false man overboard readings (no check-
                  in) over a 24-hour period. The solution was to collate the incoming information on the
                  receiving routers, and only send one message to the gateway for every 50 nodes. This
                  greatly reduced the traffic, allowing the network to scale much higher (into the hundreds
                  of nodes), while still allowing a very quick transmit rate (in ZigBee terms) from each of
                  the battery-operated nodes.

                  www.n ewn es p res s .c o m




CH09-H8597.indd 382                                                                                             7/26/2008 3:48:55 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 720 of 763 PageID #:
                                       2502



                                                                                            ZigBee Gateways   383

                                          Reduce over-the-air traffic when possible.
                                          Use jitter to communicate in a more distributed pattern.



                  9.4      Custom Gateways
                  The ZigBee Serial Gateway Interface introduced in Section 9.1 works well if simply
                  communicating ZigBee messages, but what if the gateway itself must have special
                  functionality?
                  In this final example, I’ll revisit controlling the iPod over ZigBee, this time with a PC
                  interface to the iPod, as well as a remote control. In this example, an NCB is used for the
                  gateway, which will show commands as they are sent to the iPod, and indicate volume on
                  the LEDs (see Figure 9.15).
                  A PC program written in Visual Basic for .Net brings up an iPod image on the screen
                  where the following can be controlled:
                      ●   Play/Pause
                      ●   Next Song
                      ●   Previous Song
                      ●   Volume Down
                      ●   Volume Up




                                                                                iPod
                                                                              Controller
                                                                                (ZC)
                             iPod PC
                            Application

                                                            iPod
                                                           Gateway             iPodRemote
                                                        (RxOnIdle ZED)            (ZED)

                                                      Figure 9.15: iPod Gateway

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CH09-H8597.indd 383                                                                                                 7/26/2008 3:48:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 721 of 763 PageID #:
                                       2503


                  384       Chapter 9

                  As with most examples in this book, the channel selected is channel 25, PAN ID 0x0f00,
                  if you wish to capture this with Daintree SNA.
                  The iPod can be controlled either by the remote or through the gateway. The whole thing is
                  shown in the figure. It’s interesting to note, this three-node example will work even in a full
                  Home Automation network with any number of nodes, with just the following changes:
                       ●   The iPod Controller would need to be changed from the ZigBee Coordinator to an
                           RxOnIdle ZED.
                       ●   The channel mask must be set to all channels (currently it’s channel 25 only).
                       ●   The PAN ID must be set to 0xffff to allow joining any PAN.

                  If desired, enable NVM in BeeKit and export the properties again (not the project, or
                  you’ll overwrite the BeeApp.c), to remember the PAN settings after joining a network.
                  I won’t show an over-the-air capture of this again, because it looks exactly the same
                  as the capture in Chapter 4, “ZigBee Applications.” The interesting part is how the PC
                  application interfaces with the gateway.
                  To enable the gateway, I enabled the ZigBee Test Client (ZTC) in the project, just as I did
                  when making the ZigBee Serial Gateway Interface. The way to extend ZTC is, as usual,
                  through the use of a register call and a callback. Take a look at the code fragment below,
                  found in BeeAppInit():
                  …

                      /* indicate the app on the LCD */
                      LCD_WriteString(2, “iPodGateway”);

                      /* register with ZTC */
                      ZTC_RegisterAppInterfaceToTestClient(ReceiveZtcMessage);

                  …

                  A string is written to the LCD to indicate that this NCB board is an iPodGateway. Then
                  the callback function, ReceiveZtcMessage() is registered with ZTC. In this way, any
                  command that ZTC doesn’t already know about will go here. The PC application takes
                  advantage of this, and uses a special group ID (0x60) to indicate that this is an iPod
                  command. Group IDs 0x80 and above are reserved for BeeStack.
                  The header information, in addition to the iPod over-the-air messages, includes a
                  prototype for ReceiveZtcMessage(). Note the enum iPodRemoteCommand_t. This enum

                  www.n ewn es p res s .c o m




CH09-H8597.indd 384                                                                                                 7/26/2008 3:48:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 722 of 763 PageID #:
                                       2504



                                                                                 ZigBee Gateways         385

                  has values for Play/Pause, Skip Forward, etc. We use the values from this enum to be
                  message IDs from the gateway. Recall when the ZigBee Serial Gateway Interface was
                  described earlier. The interface included both a Group ID and a Message ID. For
                  Play/Pause, that would be 0x60 0x00:
                  /* also used for Msg IDs */
                  typedef enum {
                    gPlayPause_c = 0,
                    gSkipForward_c,
                    gSkipReverse_c,
                    gVolumeDown_c,
                    gVolumeUp_c,
                    ButtonRelease_c
                  } iPodRemoteCommand_t;

                  /*
                       iPod Request/Response Message
                       field size value
                       header 2 0xff 0x55
                       length 1 size of mode + command + parameter
                       mode 1 the mode the command is referring to
                       command 2 the two byte command
                       parameter 0..n optional parameter, depending on the command
                       checksum 1 0x100-( (sum of all length/mode/command/parameter bytes)
                       & 0xFF)
                  */

                  uint8_t   PlayPause[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x01, 0xFA};
                  uint8_t   SkipForward[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x08, 0xF3};
                  uint8_t   SkipReverse[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x10, 0xEB};
                  uint8_t   VolumeDown[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x04, 0xF7};
                  uint8_t   VolumeUp[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x02, 0xF9};
                  uint8_t   ButtonRelease[] = {0xFF, 0x55, 0x03, 0x02, 0x00, 0x00, 0xFB};

                  /* poor man’s delay, assumes 16MHz */
                  #define DELAY_100US() { {uint8_t i ⫽ 200; do {} while(--i);} }

                  /* Group ID for ZTC interface */
                  #define gZtcGroupID_c 0x60

                  void SendiPodRemoteCommandOTA(iPodRemoteCommand_t cmd);
                  void ReceiveZtcMessage(ZTCMessage_t * pMsg);

                  The actual code to send to the iPod Controller is very simple. See SendiPodRemote
                  CommandOTA() below. (By the way, OTA stands for over-the-air.)
                  Notice that the destination is always the ZigBee Coordinator (node 0x0000). This code
                  is okay for an example in a book or a test in the lab, but would not be sufficient in a

                                                                            w w w.new nespress.com




CH09-H8597.indd 385                                                                                            7/26/2008 3:48:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 723 of 763 PageID #:
                                       2505


                  386         Chapter 9

                  commercial product. A commercial product would use correct binding to find the right
                  services. The exception to this rule would be if all the nodes in the ZigBee network will
                  be controlled by you or the OEM. In that case, a shortcut such as assuming that the iPod
                  Controller is the ZC is perfectly acceptable. This saves over-the-air traffic, and keeps the
                  application simple.

                  Also notice that the cluster used is not even specified here. The code simply picks the
                  first cluster out of the application SimpleDescriptor’s output cluster list. This allows the
                  developer to change his or her mind about the cluster ID without having to change code.
                  Simply adjust the cluster in BeeKit:
                    /***************************************************************
                  SendIpodRemoteCommand
                    *
                    *This function sends a simple remote control command to the ipode
                    **************************************************************/
                    void SendiPodRemoteCommandOTA(iPodRemoteCommand_t cmd) {
                      afAddrInfo_t addrInfo;
                      uint8_t TransmitBuffer[1];

                          /*copy iPod command to TransmitBuffer */
                          TransmitBuffer[0] = cmd;

                          /* set up address information */
                          addrInfo.dstAddrMode = gZbAddrMode16Bit_c;
                          /*Always send packet to coordinator*/
                          /* should be updated to use binding */
                          addrInfo.dstAddr.aNwkAddr[1] = 0x00;
                          addrInfo.dstAddr.aNwkAddr[0] = 0x00;
                          addrInfo.dstEndPoint = appEndPoint;
                          addrInfo.srcEndPoint = appEndPoint;
                          addrInfo.txOptions = gApsTxOptionNone_c;
                          addrInfo.radiusCounter = afDefaultRadius_c;

                          /* set up cluster */
                          addrInfo.aClusterId[0] =
                            endPointList[0].pEndpointDesc->pSimpleDesc
                            ->pAppOutClusterList[0];
                          addrInfo.aClusterId[1] =
                            endPointList[0].pEndpointDesc->pSimpleDesc
                          ->pAppOutClusterList[1];

                          /* send the data request */
                          (void)AF_DataRequest(&addrInfo, sizeof(TransmitBuffer),
                            TransmitBuffer, NULL);
                      }


                  www.n ewn es p res s .c o m




CH09-H8597.indd 386                                                                                              7/26/2008 3:48:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 724 of 763 PageID #:
                                       2506



                                                                                        ZigBee Gateways         387

                    /***************************************************************
                  ReceiveZtcMessage
                    *
                    *Receive the ZTC message and send it over the air.
                    **************************************************************/
                    void ReceiveZtcMessage
                    (
                        ZTCMessage_t* pMsg /* IN: message from ZTC/UART (Test Tool)*/
                    )
                    {
                      uint8_t messageID;
                      static const char *sziPodCmd[] =
                      {
                        “Play/Pause”,
                        “Skip Forward”,
                        “Skip Backward”,
                        “Volume Down”,
                        “Volume Up”
                      };

                          /* ignore invalid opcodes */
                          if(pMsg->opCode != gZtcGroupID_c)
                            return;

                          /* display command on NCB screen */
                          messageID = pMsg->opCodeId;
                          LCD_WriteString(2, sziPodCmd[messageID]);

                          /* determine which message to send to iPod Controller */
                          SendIpodRemoteCommandOTA(messageID);
                      }

                  The final function, ReceiveZtcMessage() actually takes the incoming serial message,
                  which has already been validated by ZTC, and uses the Message ID as the command
                  to be sent to the iPod Controller. The command is displayed on the LCD screen, so it’s
                  obvious which commands came through the gateway. ZTC will pass along any message it
                  doesn’t already understand.

                            Custom gateways are easy to create and extend through ZTC.

                            Binding is not necessary if the OEM controls all the nodes in the ZigBee network.




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CH09-H8597.indd 387                                                                                                   7/26/2008 3:48:56 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 725 of 763 PageID #:
                                       2507




                                                                                      APPENDIX A

                                             ZigBee 2007 and ZigBee Pro


                  This appendix covers the features added to the new ZigBee 2007 specification.



                  A.1      ZigBee 2006, 2007, and ZigBee Pro
                  ZigBee is really three, three, yes three stacks in one: ZigBee 2006, ZigBee 2007 (often
                  called just ZigBee) and ZigBee Pro. Originally, there was also ZigBee 2004, but that
                  stack is considered deprecated, and is no longer in use (except in legacy systems).

                  The three ZigBee stacks have more similarities than they do differences, and indeed they
                  can join networks that were started with the other stacks. Some stack vendors offer only
                  one, while others offer all three stacks with a choice at compile and/or run-time. When
                  evaluating a stack or a stack vendor, be sure you know which stack configuration you are
                  looking for. The three ZigBee stacks are compared in Table A.1.

                  Why choose one stack over the other? The simple answer is size, cost, Application
                  Profile, and vendor.

                  When using 128 K flash parts or less, not much room is left over for an application
                  using ZigBee Pro. This varies, of course, between vendors. On the other hand, if you are
                  using a hardware platform with plenty of room, ZigBee Pro does have the most features
                  and the highest security model. I suggest during evaluation that you build one of the
                  sample applications to see how much ROM (flash) and RAM is taken up by the
                  ZigBee stack on a particular platform. You can also ask the vendor for a map file
                  (the output of the compile/link process), which will show the size of the stack vs. the
                  application.

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APP A-H8597.indd 389                                                                                         7/26/2008 3:11:24 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 726 of 763 PageID #:
                                       2508


                  390            Appendix A

                                                Table A.1: ZigBee Stacks Compared
                       Feature                             ZigBee 2006       ZigBee 2007         ZigBee Pro
                       Size in ROM/RAM                     Smallest          Small               Bigger
                       Stack Profile                       0x01              0x01                0x02
                       Maximum hops                        10                10                  30
                       Maximum nodes in network            31,101            31,101              65,540
                       Mesh networking                     ✓                 ✓                   ✓
                       Broadcasting                        ✓                 ✓                   ✓
                       Tree routing                        ✓                 ✓                   –
                       Frequency Agility                   –                 ✓                   ✓
                       Bandwidth Used By Protocol          Least             More                Most
                       Fragmentation                       –                 ✓                   ✓
                       Multicasting                        –                 –                   ✓
                       Source routing                      –                 –                   ✓
                       Symmetric Links                     –                 –                   ✓
                       Standard Security (AES 128 bit)     ✓                 ✓                   ✓
                       High Security (SKKE)                –                 –                   ✓

                  If cost is a significant factor in your product, you may be better off using ZigBee 2007 or
                  ZigBee 2006. These are the smallest of the stacks, and so a less expensive part with less
                  RAM and less Flash memory may be used.
                  Some Application Profiles require link-keys, or fragmentation. If so, the OEM must
                  choose a stack profile that supports the feature. For example, Smart Energy (formerly
                  Automatic Metering) requires fragmentation. Only ZigBee 2007 and ZigBee Pro support
                  this feature, so ZigBee 2006 is not an option if the OEM is making an automatic meter or
                  energy service portal.
                  The final factor is your choice of vendor. We all have our favorite vendors. Perhaps we
                  have worked with their parts for years, and so we trust them. Perhaps we already have
                  the necessary tools, or they have a really great support rep. Perhaps their part meets our
                  hardware requirements in voltage range, supply availability, etc., better than the one from
                  the other vendors. Whatever the reason, we all have vendors we prefer. Sometimes that’s
                  good enough. Any vendor that offers a certified stack is likely to have a good product.
                  If the particular vendor does not offer a ZigBee certified stack, well, I would simply
                  consider that product a proprietary solution.

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APP A-H8597.indd 390                                                                                            7/26/2008 3:11:24 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 727 of 763 PageID #:
                                       2509



                                                                        ZigBee 2007 and ZigBee Pro          391

                  A.2      Stochastic Addressing
                  Address assignment in stack profile 0x02 is very different than in stack profile 0x01. The
                  artificial number-of-hop-limitation imposed by the tree/Cskip address assignment scheme
                  was deemed too restricting for ZigBee Pro networks, so a new address scheme was
                  chosen: Stochastic Addressing.

                  The algorithm is simple. The parent of a joining node picks a random address for the
                  joining child. When the child joins, a device announce is broadcast across the network,
                  and if a conflict is detected, the conflict detection notification is broadcast back. Then the
                  process is attempted again.

                  The statistics for collisions are the same as for hashing tables, and for the Birthday
                  Problem. The address space is 64 K. The probability of a pair of nodes choosing the same
                  address reaches 50% at around 300 nodes, and 99% at 777 nodes, so you’re pretty much
                  guaranteed a conflict within about 800 nodes or so. That’s alright. ZigBee will take care
                  of the conflict using the address conflict resolution procedure. A good explanation of this
                  effect can be found on Wikipedia. Look up the “Birthday Paradox.”

                  For sleepy children, the parent will take care of the address conflict resolution, and
                  will send a rejoin response to the child (just as if the child had asked to rejoin to a new
                  parent), but with the new (and hopefully non-conflicting) address. All devices that are
                  awake (RxOnIdle ⫽ TRUE) will take care of the address conflict themselves.

                  Generally, address conflicts are rare. They occur only when a node joins (or rejoins) a
                  network, because nodes keep their addresses for their entire life on the network.
                  When conflicts do occur, the address conflict resolution takes care of the problem
                  fairly quickly.

                  The biggest issue is the number of potential broadcasts in the system. This means that
                  every joining node must broadcast at least once. There is the potential for another
                  broadcast or two detecting an address conflict, with another broadcast resolving it.
                  So plan for the worst case: four broadcasts every time a node joins (or rejoins)
                  the network.

                  Another common way to assign addresses in ZigBee Pro that circumvents the address
                  conflict altogether is to choose unique addresses ahead of time, with a commissioning
                  tool. That way, all addresses are unique by design. See Chapter 8, “Commissioning
                  ZigBee Networks,” for more on commissioning.

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APP A-H8597.indd 391                                                                                               7/26/2008 3:11:24 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 728 of 763 PageID #:
                                       2510


                  392      Appendix A

                  A.3      Source Routing
                  Mesh routing is a great method for distributed, ad-hoc routing. One of its weaknesses is
                  that routes require tables in each node. This is not a problem if the device has sufficient
                  RAM, but in ZigBee devices, RAM is often very precious.
                  A routing table entry is pretty small: six bytes per route in most implementations. If
                  a given router needs to keep track of 50, or even 100 routes, that’s not too bad in a device
                  with 4 K RAM. But what if a node needs to keep track of 1,000 routes? As 1,000 routes
                  times 6 bytes equals 6,000 bytes, it suddenly becomes problematic.
                  In ZigBee, this problem usually only comes into play with gateways (sometimes called
                  data concentrators). Most normal communication occurs between devices that are fairly
                  near, so the distributed route scheme works really well.
                  But consider the gateway. For example, say that ZigBee devices in hotel rooms need to
                  send status information continuously back to some back-end service, so that the hotel
                  management can better supervise the cleaning staff, monitor energy, and determine room
                  occupancy. (By the way, there are a number of ZigBee installations in hotels around
                  the world.)
                  As shown in Figure A.1, many nodes might be sending data into the gateway. This is not
                  a problem for ZigBee mesh routes, as there is only one route table entry in each node to
                  the single destination, the gateway. Remember, routes in ZigBee only store the next hop
                  to the final destination in each node, so even if 2,000 different nodes are all routing to the
                  gateway, only one entry is needed to find that single destination. If the gateway (the large
                  node at the top) was NwkAddr 0x1111, then every router in the network need only use
                  one routing table entry inbound to find the next hop toward node 0x1111.




                                           Inbound uses normal      Outbound uses source
                                             mesh route tables            routing

                                 Figure A.1: Source Routing Solves the Gateway Problem

                  www.n ewn es p res s .c o m




APP A-H8597.indd 392                                                                                               7/26/2008 3:11:24 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 729 of 763 PageID #:
                                       2511



                                                                         ZigBee 2007 and ZigBee Pro         393

                  The problem comes in if the gateway needs to communicate back to every node in
                  the network, outbound. Now there are many routes required, because there are many
                  destinations. If the gateway needs to communicate with 2,000 nodes, there needs to be
                  2,000 routes in the gateway, and something close to that in the routers near the gateway.
                  This can simply require too much memory for a typical ZigBee device.
                  ZigBee source routing solves this problem. What ZigBee source routing does is make the
                  assumption that the gateway (or data concentrator) has plenty of memory and can store
                  the entire route (each hop) to all those 2,000 destination nodes.
                  The basic procedure for setting up source routing is this:
                       1. The gateway (concentrator) broadcasts a many-to-one route request out to a
                          certain radius (limited to five in ZigBee Pro).
                       2. All the routers that hear the many-to-one route request record the shortest path to
                          the gateway with a route table entry. Effectively, this means all routers within a
                          certain radius now have a route back to the gateway.
                       3. When a device initiates a unicast to the gateway, the routing table entry is
                          checked, and if this is the first time, the device will initiate a route record
                          command to record all the hops to the gateway.
                       4. The gateway receives the route record command prior to receiving the data
                          indication.
                       5. Now anytime the gateway needs to communicate to the device, it can send the
                          unicast with source routing enabled.
                  For example, assume node “A” is a gateway. It sends out a many-to-one route request,
                  radius 5. This many-to-one route request reaches all nodes within this radius, in
                  particular, node “E” which now has a route back to node “A”:

                                                       E→D→C→B→A


                  Now “E” communicates something to “A,” unicast. Because this is the first time “E”
                  has spoken to “A,” some bits in the route entry indicate “E” should send a NWK
                  route record command prior to sending the data. The application doesn’t need to do
                  anything special, as the route record occurs automatically within the NWK layer of the
                  ZigBee stack.

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APP A-H8597.indd 393                                                                                              7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 730 of 763 PageID #:
                                       2512


                  394             Appendix A

                                                         Format of Individual Frame Types

                   NWK data frame format with source routing
                       Octets:2      2      2        1          1         1      1          2-n        Variable
                   Frame Control DstAddr SrcAddr   Radius     Seq.     Relay    Relay   Relay List   Data payload
                                                             number     Cnt      Idx

                                                               Routing fields

                                                          NWK header                                 NWK payload


                                                   Figure A.2: Source Routing Frame

                  The NWK route record command records the route along the way, which results in a route
                  record indication at the gateway. Now, the gateway knows the route back to node “E.”


                                                              A→B→C→D→E



                  When the gateway transmits data to node “E,” it will indicate a source route in the data
                  request. As usual, ZigBee specifies the exact over-the-air form of a source routed data
                  request. A bit in the NWK frame control field indicates the packet is source-routed.
                  The term “relay” merely refers to the intermediate nodes between the gateway and the
                  destination node (see Figure A.2). They are in the same order as recorded with the route
                  record command, and the index just indicates the “next-hop.”

                  The API is less clear. It is assumed that if a gateway is sending to a device and it already
                  has a source route from a NWK route record command, then it will use the source route.
                  Some vendors may offer the option at the gateway to use source routing or not, or to
                  detect whether it has a source route to the desired destination node.

                  Note that there can be multiple gateways. It’s perfectly reasonable to have four or five
                  gateways in a network, and for nodes to use the nearest one for communicating to the
                  outside world. This decision really lies with the application. Many-to-one and source
                  routing are only available in stack profile 0x02 (ZigBee Pro).


                  A.4             Multicast
                  Multicasting is a form of broadcasting. Like broadcasting, multicasting allows a single
                  node to transmit packets to many nodes using a single APSDE-DATA.request. Unlike

                  www.n ewn es p res s .c o m




APP A-H8597.indd 394                                                                                                7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 731 of 763 PageID #:
                                       2513



                                                                       ZigBee 2007 and ZigBee Pro          395




                                Figure A.3: Multicast Groups Can Be Disconnected Shapes

                  broadcasting, multicasting is not limited to a circular radius. Multicasting can be
                  any shape.
                  Multicast accomplishes this by not decrementing the radius as long as a repeating node is
                  part of the multicast group.
                  Another field, called the non-member radius, helps with disconnected multicast groups.
                  This field indicates how far the broadcast will travel beyond nodes that are in the group.
                  The group can then be disjointed (not connected), as shown in Figure A.3, while still
                  working with the multicast.
                  The apsNonmemberRadius field was originally called multicast fuzz, but clearer heads
                  with less of a sense of humor renamed the field.
                  The nodes in black with a gray background are in the multicast group, while
                  the other nodes are not. Only nodes in the group repeat the broadcast, so if the
                  apsNonmemberRadius is set to 0 or 1, a multicast initiated in the set of nodes in
                  the shape at the left would not reach the nodes in the shape at the right. But, if the
                  apsNonmemberRadius was set to 2 or more, the multicast could span the disconnected
                  group and would be received and repeated by nodes in both disconnected shapes.
                  Essentially, consider a multicast to be a more efficient broadcast. Also, the multicast, like
                  a groupcast, only goes to those application endpoints that are members of the group.
                  These groups are the same groups shared by the APS layer, so commands such as
                  the APSME-ADD-GROUP.request work with these groups (see Chapter 4, “ZigBee
                  Applications”). The over-the-air ZigBee Cluster Library group commands (see Chapter 6,
                  “The ZigBee Cluster Library”) also work with multicast groups. Multicasting is only
                  available in stack profile 0x02 (ZigBee Pro).

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APP A-H8597.indd 395                                                                                              7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 732 of 763 PageID #:
                                       2514


                  396        Appendix A

                  A.5       Frequency Agility
                  Frequency Agility refers to the ability of ZigBee to change physical channels after the
                  network has started. Don’t think of it as frequency hopping, such as what Bluetooth™
                  does, where the channel constantly changes. In 802.15.4, the need to change frequencies
                  (channels) due to interference is rare. The O-QPSK mechanism just doesn’t run into the
                  same interference problems as other radio technologies, and the retry mechanisms built
                  into ZigBee resolve most other interference issues.
                  Instead, ZigBee Frequency Agility concentrates on the rare channel change. The channel
                  change might be needed due to regulations. For example, some hospitals do not
                  permit interferers on the same frequency as their WiFi™ networks, so if a new WiFi
                  network were installed, the existing ZigBee network might need to be set to a
                  different, non-overlapping channel. It’s possible that one channel is particularly
                  noisy. Perhaps a channel is suddenly experiencing significant RF noise from new
                  machinery, forcing significant numbers of retries, and slowing the response time of the
                  ZigBee nodes.
                  It’s interesting to note that the ZigBee Alliance could not cause enough interference to
                  actually force a channel change with WiFi and microwave interferers. Multiple WiFi
                  networks were set going, downloading movies, and using up as much bandwidth as
                  possible over the same RF frequencies as ZigBee. Microwave ovens were turned on near
                  the ZigBee nodes, and ZigBee just didn’t fail. Sure, there were a few more retries, but
                  understand that it can be difficult to generate enough RF noise to stop ZigBee. There is
                  a ZigBee whitepaper on this topic.
                  The basics of Frequency Agility are this:
                       ●   The routers keep track of failure counts.
                       ●   If the failure count exceeds a threshold (25% of messages fail, when the message
                           count is 20 or greater), then the router scans its set of channels and reports the
                           interference on the channels to the channel master (sometimes called network
                           manager).
                       ●   The routers will only do this a maximum of four times per hour, so as not to flood
                           the network with reports.
                       ●   If the channel master decides to change channel (due to enough reports or
                           another reason, such as the user desiring a channel change), it issues a
                           Mgmt_NWK_Update_req to indicate the channel change.

                  www.n ewn es p res s .c o m




APP A-H8597.indd 396                                                                                            7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 733 of 763 PageID #:
                                       2515



                                                                        ZigBee 2007 and ZigBee Pro         397

                       ●   Sleepy end devices, if they lose track of their parents, will automatically scan the
                           channels if they can’t find a parent on the current channel, and will look for them
                           on the other channels in their apsChannelMask. This is done because it’s possible
                           the sleepy ZEDs will miss a channel-change command.
                       ●   Wakeful nodes (routers and RxOnIdle ⫽ TRUE end-devices) that don’t receive
                           the Mgmt_NWK_Update_req will look for the network on one of the other
                           channels, if they reach their error threshold and can’t communicate with
                           the channel master after a certain period of time. In doing so they make the
                           assumption that interference is too high to communicate on the current channel.
                  The Mgmt_NWK_Update_req can also set the apsChannelMask over-the-air, the set
                  of channels to be used when changing channels automatically. The command below is
                  instructing the network to change to channel 14.
                  Seq    Channel      NWK Dest     Packet Type
                  ------------------------------------------------------
                  45     11           0xfffd       ZDP:MgmtNwkUpdateReq

                  Frame 45 (Length = 34 bytes)
                  IEEE 802.15.4
                  ZigBee NWK
                    Frame Control: 0x0048
                    Destination Address: 0xfffd
                    Source Address: 0x0000
                    Radius = 10
                    Sequence Number = 8
                  ZigBee APS
                    Frame Control: 0x08
                    Destination Endpoint: 0x00
                    Cluster Identifier: MgmtNwkUpdateReq (0x0038)
                    Profile Identifier: ZDP (0x0000)
                    Source Endpoint: 0x00
                    Counter: 0x4b
                  ZigBee ZDO
                    Transaction Seq Number: 0x06
                    Mgmt Network Update Request
                      Channel Mask: 0x00004000 (channel 14)
                      Reserved: 0x00
                      Scan Duration: Channel Change Request (0xfe)
                      Network Update Id: 0x01

                  The channel change can happen fairly quickly if all goes well. The nodes receive the
                  command, and after they are done rebroadcasting it (about 500 to 800 ms), they may
                  switch channels. This can propagate across a large network (perhaps 2,000 nodes) on the

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APP A-H8597.indd 397                                                                                              7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 734 of 763 PageID #:
                                       2516


                  398       Appendix A

                  order of about 10 seconds or so. But if things don’t go well (if a router misses the three
                  broadcast retries due to interference, perhaps), then it can take some time for those nodes
                  to switch channels.
                  It is completely up to the policy of the channel master (aka network manager) to decide
                  when to switch channels. The usual case is when a network administrator decides
                  to change channels based on reports. Only those networks that will be completely
                  unattended by a human should be considered for automatic channel change.
                  Frequency Agility is available both in ZigBee 2007 (stack profile 0x01) and ZigBee Pro
                  (stack profile 0x02).

                  A.6       Fragmentation
                  The 802.15.4 PHY is 127 octets (bytes) in length. After protocol and security overhead is
                  taken into account, the application payload ranges between 72 to 100 bytes.
                  Sometimes applications want to send more data than this as a single unit. Perhaps the
                  application has collected a set of sensor or logged data, and wants to communicate it all
                  at once. Perhaps even a new code image is being sent over-the-air.
                  The application could split up the data itself, taking into account that the data may arrive
                  out of order, and require reassembling on the other end. Or the application can let ZigBee
                  do it, using an optional feature called Fragmentation (see Figure A.4).
                  ZigBee fragmentation takes care of all the details, making sure the packets are
                  reassembled in correct order and checking that the fragmented packet was received in
                  its entirety, complete with end-to-end retries and acknowledgment. The application has
                  control over the following fragmentation parameters:
                       ●   blockSize
                       ●   apsInterframeDelay
                       ●   apscMaxWindowSize

                                             Node A                                   Node B

                                       1     2     3      4                     1     2     3     4

                                       A packet too large to   is split into    and reassembled in
                                         send in one data       pieces …       order on the receiving
                                            request …                                   end.

                           Figure A.4: Fragmented Packets Are Split into Pieces and Reassembled

                  www.n ewn es p res s .c o m




APP A-H8597.indd 398                                                                                             7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 735 of 763 PageID #:
                                       2517



                                                                        ZigBee 2007 and ZigBee Pro             399

                  The packet is split up into a set of fragments (called blocks). The size of each fragmented
                  block may be up to the maximum size available to APSDE-DATA.request(), which
                  depends on the current security parameters and transmission options. If no security is used,
                  the block size can be up to 98 bytes, which results in a full 127-byte PHY packet. In the
                  Freescale solution, a call to ApsmeGetMaxAsduLength() will return this maximum length.
                  The apsInterframeDelay determines how much time passes between blocks within a
                  window. The apscMaxWindowSize defines how many blocks are sent before an end-
                  to-end acknowledgment is expected.
                  But here is a word of warning! I can’t tell you how many times this has caught me:
                  thinking that the ZigBee stack was malfunctioning, only to find it was user error. Make
                  sure the window size is the same on both the sending and receiving nodes! Yes, it’s listed
                  as a constant, but if you compile the constant as window size 1 on one set of nodes,
                  and window size 3 on another set of nodes, the resulting ACK chaos results in a failed,
                  fragmented transmission every time. I wish ZigBee had sent the window size over-
                  the-air along with the first packet, as it does for block size … (Sigh). There is room in the
                  fragmentation header for window size … Perhaps in some future version.
                  Note that the window size is irrelevant for the nodes between (routers). Only the
                  nodes at either end need to agree on this parameter. In the fragmented data request
                  shown in Figure A.5, the window size has been set to 3 (that is, 3 blocks in a window


                        Sending                     Sending             Receiving                Receiving
                       Application                   APS                  APS                    Application


                               APSDE-DATA.request
                                                              Block 0
                                                              Block 1
                                      Interframe
                                                              Block 2               Window
                                      Delay
                                                              FragACK

                                                              Block 3
                                                              Block 4
                                                                                    Window
                                                              FragACK
                                                                               APSDE-DATA.indication
                                APSDE-DATA.confirm



                                           Figure A.5: A Fragmented Transmission

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APP A-H8597.indd 399                                                                                                 7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 736 of 763 PageID #:
                                       2518


                  400      Appendix A

                  before an ACK is expected). The FragACK indicates to the sender which blocks in the
                  window were received. The sender will resend any missed blocks. The interframe delay
                  determines the time between blocks. Unless this application “owns” the network set
                  this value to 100 ms or so, so that the network has time to process packets while a large,
                  fragmented packet is being sent.

                  The APSDE-DATA.confirm is not returned until the sending application has received
                  acknowledgment that all blocks were delivered to the receiving application, unless the
                  transmission failed because of too many retries. The APSDE-DATA.indication on the
                  receiving end will only be sent up to the application after the entire set of blocks has
                  been received.

                  Note that fragmentation is only available in unicast. Due to the automatic retry and
                  acknowledgment mechanism, fragmented packets cannot be broadcast, groupcast, or
                  multicast.

                  Fragmentation is available both in ZigBee 2007 (stack profile 0x01) and ZigBee Pro
                  (stack profile 0x02).


                  A.7      Symmetric Routes and Link Status
                  In ZigBee 2006 and ZigBee 2007, all routes are unidirectional. That is, if node “A”
                  discovers a route to node “B,” and node “B” wants to reply, it requires two route
                  discoveries: “A” to “B,” and “B” to “A.”

                  Not so with ZigBee Pro. ZigBee Pro automatically sets up routes in both directions,
                  assuming the nodes will communicate bidirectionally. A single route request causes
                  a route entry to be entered both forward and backward.

                  As part of this process, ZigBee Pro keeps track of route symmetry by using link
                  status commands. Every 15 seconds (plus some jitter time, defined by the NIB field
                  nwkLinkStatusPeriod) a router will send out a radius 1 broadcast to indicate link status.
                  All the neighboring routers keep track of these messages to determine which routers can
                  hear them and which routers they can hear.

                  What does this mean to your application? ZigBee Pro networks consume more bandwidth
                  for the network protocol, leaving less for your application. However, they do prevent that
                  “asymmetric link” problem where one node can shout really loudly, but can’t hear
                  its neighbors.

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APP A-H8597.indd 400                                                                                           7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 737 of 763 PageID #:
                                       2519



                                                                          ZigBee 2007 and ZigBee Pro        401

                                                B1                                B1

                                    C                       A         C                       A

                                                B2                                B2


                                        In ZigBee2007, routes              In ZigBee Pro, routes
                                         may be asymmetrical              are always symmetrical


                                     Figure A.6: Routes are Symmetrical in ZigBee Pro

                  Link Status commands and symmetrical links are available in ZigBee Pro (stack profile
                  0x02) only (see Figure A.6).


                  A.8      Link Keys, SKKE, and High Security
                  One very interesting feature added to ZigBee Pro is High Security.
                  The ZigBee Standard Security model is very secure, using AES 128-bit encryption and
                  authentication, but it has a very important rule: All nodes on the network trust each other.
                  With ZigBee High Security, the model still uses AES 128-bit encryption and
                  authentication, but the rule is very different: Only the applications that are specifically
                  designed to talk together trust each other.
                  As an analogy, think of your house versus a hotel. In your house, you trust everyone.
                  You don’t expect family members or friends to steal the best china. Now think of a hotel.
                  Although many people are in the same building, only some of them trust each other. You
                  may trust the front desk clerk to provide you with a new room key, and to take your credit
                  card. You may trust others that are staying in the same hotel to come into your room, perhaps
                  other members of your family, but the trust certainly doesn’t extend to everyone in the hotel.
                  The way in which ZigBee accomplishes the higher-trust model involves a number of
                  mechanisms. One of them involves significantly more interaction with the Trust Center.
                  In the Standard Security model, the trust center is used to allow or refuse a node on the
                  network, with only the MAC address for information. In the High Security model, the
                  node must establish an authentication sequence.
                  In Standard Security, the network can (optionally) be set up so the network key is
                  given to the application in the clear from the node’s parent. Not so with High Security.
                  Transactions are always secured.

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APP A-H8597.indd 401                                                                                               7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 738 of 763 PageID #:
                                       2520


                  402      Appendix A

                                                TC                              TC




                                       A                  B            A                  B

                                       Trust Center used to             Now, only the two
                                        establish a link key         applications know the key


                        Figure A.7: Link Keys Establish Private Information Between Applications


                  When a High Security application wishes to speak with another application, it establishes
                  a Link Key with that other application. The link key is used so that no other nodes on the
                  network can listen in to that conversation. In the Smart Energy profile, multiple customers
                  (with sensitive customer data) are on the same ZigBee network. The public utility
                  companies want to be very sure customer A won’t be able to read customer B’s data.

                  This link key is negotiated using ephemeral data. The Trust Center is used as part of this
                  process, using a special (essential link) key that only a given node and the Trust Center
                  know. At the completion of the process, the two nodes now share a private key (the link
                  key) that only they know, as shown in Figure A.7.

                  The only trusted node in the entire network is the Trust Center. All other nodes are treated
                  with suspicion. It’s no longer enough merely to have the network key.
                  So what does the application need to do to be able to use this high level of security? Very
                  little, in fact. Two bits in the TxOptions field of the APSDE-DATA.request determine
                  what type of security is applied:

                  TxOptions
                  0x01 = Security enabled transmission
                  0x02 = Use NWK key




                                             NWK               APS               APS     NWK
                            MAC     NWK                 APS
                                             AUX               AUX   Payload     AUX     AUX     FCS
                            HDR     HDR                 HDR
                                             HDR               HDR               MIC     MIC


                                  Figure A.8: With Link Keys, the Frame Is Secured Twice

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APP A-H8597.indd 402                                                                                             7/26/2008 3:11:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 739 of 763 PageID #:
                                       2521



                                                                            ZigBee 2007 and ZigBee Pro           403

                                                       NWK                             NWK
                                     MAC      NWK                 APS
                                                       AUX                Payload      AUX     FCS
                                     HDR      HDR                 HDR
                                                       HDR                             MIC


                                 Figure A.9: Without Link Keys, the Frame Is Secured Once

                  If both options are false, only the NWK key is used, just as in Standard Security. If bit 0
                  (value 0x01) is set, it means that a link key needs to be established for the two nodes (if it
                  hasn’t been established already). If Bit 1 (value 0x02) is set, then the network key will be
                  used instead of a link key for the APS key.

                  If either bit is set, then the APS frame will be secured in addition to the network frame.
                  Yes, that does mean the packet is secured twice: the APS data is secured with the link
                  key, then the NWK payload is secured with the NWK key. The over-the-air frame will
                  have an APS AUX header and MIC, in addition to the NWK AUX header and MIC, as
                  seen in Figure A.8.

                  The only use I’ve found for security with the network frame is if the application is out of
                  memory and can’t establish a link key. If the data is just not sensitive, and can be known
                  by all nodes on the network, don’t bother to secure APS at all.

                  If only the network key is used (as it is in Standard Security, or with both security options
                  off), then only the NWK payload is secured (see Figure A.9).
                  Remember, that the entire frame is always authenticated, that is, no modified, false, or
                  repeated data will be accepted by the receiving ZigBee nodes.


                           ZigBee 2007 includes fragmentation and frequency agility.
                           ZigBee Pro includes multicast, source routing, symmetric routes, and High Security.
                           Use ZigBee 2007 for a smaller image.
                           Use ZigBee Pro for more features.




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APP A-H8597.indd 403                                                                                                   7/26/2008 3:11:26 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 740 of 763 PageID #:
                                       2522




                                                                                        APPENDIX B

                                                          ZigBee Quick Reference


                  This chapter is a quick reference for the ZigBee architecture and commands. For a more
                  detailed explanation, see the main body of this book. This quick reference focuses on
                  primitives available to the application, not the entire ZigBee specification.


                  B.1      The ZigBee Architecture
                  You’ve seen the architecture diagram shown in Figure B.1 many times. It’s repeated here
                  for convenience.
                  The next sections provide a quick reference to the portions of ZigBee an application
                  interacts with directly: the APS and ZDO/ZDP layers.


                  B.2 APS Commands
                  The Application Support Sub-layer (APS) provides the application interface to the
                  network data services and various application services. See Chapter 4, “ZigBee
                  Applications,” for more details.
                  Table B.1 lists the commands and primitives supported by ZigBee 2007 and ZigBee Pro.
                  The primitives, parameters, or options in the description in italics are for ZigBee Pro only.


                  B.3 ZDP Commands
                  The ZigBee Device Profile (ZDP) is an application on endpoint 0 supporting over-
                  the-air commands to get and set a variety of information regarding ZigBee nodes and
                  applications. See Chapter 5, “ZigBee, ZDO, and ZDP,” for details.

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APP B-H8597.indd 405                                                                                              7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 741 of 763 PageID #:
                                       2523


                  406       Appendix B


                                                        Application Framework
                                                                                                  ZigBee Device
                                                                                                  Object (ZDO)




                                                                                           ZPUI
                                                 Application             Application
                                                 Object 240               Object 1
                                                                                                     [On Endpoint 0]
                                                [On Endpoint 240]        [On Endpoint 1]

                                                  APSDE-SAP               APSDE-SAP                APSDE-SAP




                                                                                                                   APSME-SAP
                                    APSSE-SAP




                                                              Application Support (APS) Sub-Layer
                        Security
                        Service                   NLDE-SAP

                        Provider
                                    NLSE-SAP




                                                                                                                   NLME-SAP
                                                                     Network (NWK) Layer

                                                  MCPS-SAP                                          MLME-SAP



                                                               Medium Access Layer (MAC) Layer

                                                    PD-SAP                                          PLME-SAP



                                                                     Physical (PHY) Layer


                                                          Figure B.1: The ZigBee Architecture


                  I have purposefully left out the discovery cache commands. There is discussion within
                  the ZigBee Alliance of deprecating this set of commands altogether, as they are not used
                  in the industry.
                  The Mode field describes whether or not the request should be unicast, and whether it is
                  optional or mandatory on the server or client side. U  unicast only, B  broadcast only,
                  E  either unicast or broadcast, M  mandatory, O  optional. For example, a ZDP
                  command that should be unicast, is only mandatory on the server side, but optional on the
                  client side would be the UMO. The mode field does not apply to responses.
                  If a response is warranted, it is always returned unicast to the node requesting the
                  information.
                  All commands shown in Table B.2 operate in the same way on ZigBee 2007 or Pro.



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APP B-H8597.indd 406                                                                                                           7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 742 of 763 PageID #:
                                       2524



                                                                           ZigBee Quick Reference            407

                                                Table B.1: APS Primitives
                   Primitive               Parameters        Description
                   APSDE-DATA.request      DstAddrMode,      Send data from one node to one or more others.
                                           DstAddress,
                                                             DstAddrMode 
                                           DstEndpoint,
                                                             0  use binding table
                                           ProfileID,
                                                             1  groupcast, multicast(pro)
                                           ClusterID,
                                                             2  direct 16, broadcast (0xfffc  ZR,
                                           SrcEndpoint,
                                                             0xfffd  RxOnIdle, 0xffff  all)
                                           asduLength,
                                                             3  direct 64 (MAC address)
                                           asdu,
                                           TxOptions,        TxOptions 
                                           RadiusCounter     1  Security enabled at APS
                                                             2  Use NWK key for APS key
                                                             4  APS end-to-end ACK
                                                             8  Fragmented (ACK implied)
                   APSDE-DATA.confirm      DstAddrMode,      Results of a data request.
                                           DstAddress,
                                                             The confirm is not sent until a route is discovered
                                           DstEndpoint,
                                                             and the packet is out of the radio to the
                                           SrcEndpoint,
                                                             next hop. The confirm indicates end-to-end
                                           Status,
                                                             acknowledgment if APS ACK is enabled.
                                           TxTime
                                                             Status  SUCCESS,
                                                             NO_SHORT_ADDRESS,
                                                             NO_BOUND_DEVICE,
                                                             SECURITY_FAIL, NO_ACK, ASDU_TOO_LONG
                   APSDE-DATA.indication   DstAddrMode,      Data has been received from another node.
                                           DstAddress,
                                                             DstAddrMode 
                                           DstEndpoint,
                                                             1  groupcast or multicast (pro)
                                           SrcAddrMode,
                                                             2  unicast or broadcast
                                           SrcAddress,
                                           SrcEndpoint,      Status indicates if security or fragmentation
                                           ProfileID,        failed.
                                           ClusterID,
                                           asduLength,       SecurityStatus indicates which key was used to
                                           asdu,             secure the asdu.
                                           Status,
                                           SecurityStatus,
                                           LinkQuality,
                                           RxTime


                                                                                                       (continued)




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APP B-H8597.indd 407                                                                                                 7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 743 of 763 PageID #:
                                       2525


                  408              Appendix B

                                                        Table B.1: continued
                       Primitive                Parameters        Description
                       APSME-BIND.request       SrcAddr,          Binds a local endpoint to a remote node/endpoint
                                                SrcEndpoint,      or group.
                                                ClusterID,
                                                                  DstAddrMode 
                                                DstAddrMode,
                                                                  1  groupcast, multicast(pro)
                                                DstAddr,
                                                                  3  direct 64 (MAC address)
                                                DstEndpoint
                                                                  Confirm Status  SUCCESS,
                                                                  ILLEGAL_REQUEST,
                                                                  TABLE_FULL or
                                                                  NOT_SUPPORTED
                       APSME-UNBIND.request SrcAddr,              Clears a local binding table entry.
                                            SrcEndpoint,
                                                                  DstAddrMode 
                                            ClusterID,
                                                                  1  groupcast, multicast(pro)
                                            DstAddrMode,
                                                                  3  direct 64 (MAC address)
                                            DstAddr,
                                            DstEndpoint           Confirm Status  SUCCESS,
                                                                  ILLEGAL_REQUEST,
                                                                  INVALID_BINDING or NOT_SUPPORTED
                       APSME-GET.request        AIB_Attribute     Get a local APS Information Base attribute.
                                                                  Confirm Status  SUCCESS,
                                                                  INVALID_PARAMETER,
                                                                  UNSUPPORTED_ATTRIBUTE
                       APSME-SET.request        AIB_Attribute,    Set a local APS Information Base attribute.
                                                AIB_AttrLength,
                                                                  Confirm Status  SUCCESS,
                                                AIB_AttrValue
                                                                  INVALID_PARAMETER,
                                                                  UNSUPPORTED_ATTRIBUTE
                       APSME-ADD-               GroupAddress,     Adds a local endpoint to a group.
                       GROUP.request            Endpoint
                                                                  Confirm Status  SUCCESS,
                                                                  INVALID_PARAMETER,
                                                                  TABLE_FULL
                       APSME-REMOVE-            GroupAddress,     Removes a local endpoint from a group.
                       GROUP.request            Endpoint
                                                                  Confirm Status  SUCCESS,
                                                                  INVALID_PARAMETER,
                                                                  INVALID_GROUP
                       APSME-REMOVE-            Endpoint          Removes a local endpoint from all groups.
                       ALL-GROUPS.request
                                                                  Confirm Status  SUCCESS,
                                                                  INVALID_PARAMETER



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APP B-H8597.indd 408                                                                                                 7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 744 of 763 PageID #:
                                       2526



                                                                       ZigBee Quick Reference            409

                                         Table B.2: ZDP Commands and Responses
                       Primitive          Mode    Parameters           Description
                       NWK_addr_req       BMO     IEEEAddress,         From an IEEEAddress, find the 16-
                                                  RequestType,         bit NwkAddr.
                                                  StartIndex
                                                                       RequestType 
                                                                       0  the device only
                                                                       1  the device and its children
                       NWK_addr_rsp               Status,              Results of a NWK_Addr_req.
                                                  IEEEAddress,         Status  SUCCESS,
                                                  NwkAddress,          INV_REQUESTTYPE
                                                  [NumDevices],        NumDevices and StartIndex only
                                                  [StartIndex]         present if RequestType 1.
                       IEEE_addr_req      UMO     NwkAddress,          From a NwkAddress, find the
                                                  RequestType,         IEEEAddress.
                                                  StartIndex
                                                                       RequestType 
                                                                       0  the device only
                                                                       1  the device and its children
                       IEEE_addr_rsp              Status,              Results of an IEEE_Addr_req.
                                                  IEEEAddress,         Status  SUCCESS,
                                                  NwkAddress,          INV_REQUESTYPE
                                                  [NumDevices],        NumDevices and StartIndex only
                                                  [StartIndex]         present if RequestType 1.
                       Node_Desc_req      UMO     NwkAddrOfInterest    Request a node descriptor.
                       Node_Desc_rsp              Status,              Status  SUCCESS (cannot fail)
                                                  NwkAddrOfInterest,
                                                  NodeDescriptor
                       Power_Desc_req     UMO     NwkAddrOfInterest    Request a power descriptor.
                       Power_Desc_rsp             Status,              Status  SUCCESS (cannot fail)
                                                  NwkAddrOfInterest,
                                                  PowerDescriptor
                       Simple_Desc_req    UMO     Status,              Request a simple descriptor from a
                                                  NwkAddrOfInterest,   remote node and endpoint.
                                                  Endpoint
                       Simple_Desc_rsp            Status,              Status  SUCCESS,
                                                  NwkAddrOfInterest,   INVALID_EP, NOT_ACTIVE
                                                  Length,
                                                  SimpleDescriptor
                       Active_EP_req      UMO     NwkAddrOfInterest    Request a list of active endpoints
                                                                       from a remote node.
                                                                                                  (continued)


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APP B-H8597.indd 409                                                                                            7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 745 of 763 PageID #:
                                       2527


                  410              Appendix B

                                                       Table B.2: continued
                       Primitive                Mode   Parameters              Description
                       Active_EP_rsp                   Status,                 Lists all active endpoints.
                                                       NwkAddrOfInterest,
                                                                               Status  SUCCESS (cannot fail)
                                                       ActiveEPCount,
                                                       ActiveEPList
                       Match-Desc_req           EMO    NwkAddrOfInterest,      Look for remote endpoints that
                                                       ProfileID,              match the profile and cluster list.
                                                       NumInClusters,
                                                       InClusterList,
                                                       NumOutClusters,
                                                       OutClusterList
                       Match-Desc_rsp                  Status,                 Lists each matching endpoint.
                                                       NwkAddrOfInterest,
                                                                               Status  SUCCESS (cannot fail).
                                                       NumMatchingEPs,
                                                       MatchEPList
                       Complex_Desc_req         UOO    NwkAddrOfInterest       Request a complex descriptor.
                       Complex_Desc_rsp                Status,                 Status  SUCCESS,
                                                       NwkAddrOfInterest,      NOT_SUPPORTED
                                                       Length,
                                                       ComplexDescriptor
                       User_Desc_req            UOO    NwkAddrOfInterest       Request a user descriptor.
                       User_Desc_rsp                   Status,                 Status  SUCCESS,
                                                       NwkAddrOfInterest,      NOT_SUPPORTED
                                                       Length,UserDescriptor
                       Device_annce             BMM    NwkAddress,             Indicate to the network that a
                                                       IEEEAddress,            node has changed NwkAddr or
                                                       Capability              capability information.
                                                                               No response to Device_annce
                       User_Desc_set            UOO    NwkAddrOfInterest,      Set the contents of a remote user
                                                       Length,                 descriptor.
                                                       UserDescriptor
                       User_Desc_rsp                   Status,                 Status  SUCCESS,
                                                       NwkAddrOfInterest       NOT_SUPPORTED
                       System_Server_           BMO    ServerMask              Find one of the system server
                       Discovery_req                                           nodes.
                                                                               ServerMask  0x01  primary
                                                                               trust center
                                                                               0x40  network manager




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APP B-H8597.indd 410                                                                                                 7/26/2008 3:14:12 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 746 of 763 PageID #:
                                       2528



                                                                           ZigBee Quick Reference              411

                                                    Table B.2: continued
                       Primitive             Mode   Parameters             Description
                       System_Server_               Status,                Mask indicates which server was
                       Discovery_rsp                ServerMask             found. Multiple responses may be
                                                                           returned, depending on request.
                       Extended_Simple_      UOO    NwkAddrOfInterest,     Request a large simple descriptor
                       Desc_req                     Endpoint,              from a remote node and endpoint.
                                                    StartIndex
                       Extended_Simple_             Status,                Status  SUCCESS,
                       Desc_rsp                     NwkAddrOfInterest,     INVALID_EP, OT_SUPPORTED
                                                    Endpoint,
                                                    InClusterCount,        ClusterList starts at StartIndex.
                                                    OutClusterCount,
                                                    StartIndex
                                                    ClusterList
                       Extended_Active_EP_   UOO    NwkAddrOfInterest,     Request a large list of active
                       req                          StartIndex             endpoints from a remote node.
                       Extended_Active_             Status,                Status  SUCCESS,
                       EP_rsp                       NwkAddrOfInterest,     INVALID_EP,
                                                    ActiveEPCount,         NOT_SUPPORTED
                                                    StartIndex,            ActiveEPList starts at
                                                    ActiveEPList           StartIndex.
                       End_Device_Bind_req   UMO    SrcNwkAddr,            Binds the node(s) with matching
                                                    SrcIEEEAddr,           output clusters to the other node.
                                                    SrcEndpoint,           Two nodes must issue this request
                                                    ProfileID,             to be successful.
                                                    NumInClusters,
                                                                           NwkAddress and IEEEAddress are
                                                    InClusterList,
                                                                           the addresses of the requesting
                                                    NumOutClusters,
                                                                           node.
                                                    OutClusterList
                       End_Device_Bind_rsp          Status                 SUCCESS, INVALID_EP,
                                                                           TIMEOUT, NO_MATCH
                       Bind_req              UOO    SrcIEEEAddr,           Add an entry in a remote binding
                                                    SrcEndpoint,           table. See APS-BIND.request.
                                                    ClusterID,
                                                    DstAddrMode,
                                                    DstAddress,
                                                    DstEndpoint
                       Bind_rsp                     Status                 SUCCESS, NOT_SUPPORTED,
                                                                           INVALID_EP, TABLE_FULL,
                                                                           NOT_AUTHORIZED
                                                                                                      (continued)

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APP B-H8597.indd 411                                                                                                 7/26/2008 3:14:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 747 of 763 PageID #:
                                       2529


                  412              Appendix B

                                                       Table B.2: continued
                       Primitive                Mode   Parameters             Description
                       Unbind_req               UOO    SrcIEEEAddr,           Remove an entry in a remote
                                                       SrcEndpoint,           binding table. See APS-UNBIND.
                                                       ClusterID,             request.
                                                       DstAddrMode,
                                                       DstAddress,
                                                       DstEndpoint

                       Unbind_rsp                      Status                 SUCCESS, NOT_SUPPORTED,
                                                                              INVALID_EP, NO_ENTRY,
                                                                              NOT_AUTHORIZED
                       Mgmt_NWK_Disc_req UOO           ScanChannels,          Request a remote device scan for
                                                       ScanDuration,          networks on the list of channels.
                                                       StartIndex
                       Mgmt_NWK_Disc_rsp               Status,                SUCCESS, NOT_SUPPORTED
                                                       NetworkCount,
                                                                              NetworkList 
                                                       StartIndex,
                                                                              ExtendedPanID,
                                                       ListCount,
                                                                              LogicalChannel (11–26),
                                                       NetworkList
                                                                              StackProfile(4 bits: 0x1 or 0x2)
                                                                              ZigBeeVersion(4 bits: 02),
                                                                              BeaconOrder(4 bits: 0xf),
                                                                              SuperframeOrder(4 bits: 0xf),
                                                                              PermitJoining(0 or 1)
                       Mgmt_Lqi_req             UOO    StartIndex             Request the neighbor table from a
                                                                              remote node.
                       Mgmt_Lqi_rsp                    Status,                SUCCESS, NOT_SUPPORTED
                                                       TotalEntries,
                                                       StartIndex,
                                                       ListCount,
                                                       NeighborTableList
                       Mgmt_Rtg_req             UOO    StartIndex             Request the routing table from a
                                                                              remote node.
                       Mgmt_Rtg_rsp                    Status,                SUCCESS, NOT_SUPPORTED
                                                       TotalEntries,
                                                       StartIndex,
                                                       ListCount,
                                                       RoutingTableList
                       Mgmt_Bind_req            UOO    StartIndex             Request the binding table from a
                                                                              remote node.




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APP B-H8597.indd 412                                                                                              7/26/2008 3:14:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 748 of 763 PageID #:
                                       2530



                                                                             ZigBee Quick Reference          413

                                                     Table B.2: continued
                       Primitive              Mode   Parameters              Description
                       Mgmt_Bind_rsp                 Status,                 SUCCESS, NOT_SUPPORTED
                                                     TotalEntries,
                                                     StartIndex,
                                                     ListCount
                                                     Binding
                                                     TableList
                       Mgmt_Leave_req         UOO    IEEEAddress,            Request that a remote device and/
                                                     ControlField            or its children leave the network.
                                                                             ControlField 
                                                                             0x80  rejoin after leaving
                                                                             0x40  remove children
                       Mgmt_Leave_rsp                Status                  SUCCESS, NOT_SUPPORTED,
                                                                             NOT_AUTHORIZED
                       Mgmt_Direct_Join_req UOO      IEEEAddress,            Adds an entry to a remote node’s
                                                     Capability              neighbor table to allow direct join.
                       Mgmt_Direct_Join_rsp          Status                  SUCCESS, NOT_SUPPORTED,
                                                                             NOT_AUTHORIZED
                       Mgmt_Permit_           EMO    PermitDuration,         Enable or disable joining in a
                       Joining_req                   TC_Significance         remote node or the entire network.
                       Mgmt_Permit_                  Status                  SUCCESS,
                       Joining_rsp                                           INVALID_REQUEST,
                                                                             NOT_AUTHORIZED
                       Mgmt_NWK_Update_ EOO          ScanChannels,           Used for frequency agility.
                       req                           ScanDuration,
                                                                             ScanDuration 
                                                     [ScanCount],
                                                                             0x00 – 0x05  energy scan
                                                     [nwkUpdateID],
                                                                             0xfe  change channel
                                                     [nwkManagerAddr]
                                                                             0xff  update AIB with new
                                                                             apsChannelMask and
                                                                             nwkManagerAddr
                       Mgmt_NWK_Update_              Status,                 Results of a
                       notify                        ScannedChannels,        Mgmt_NWK_Update_req
                                                     TotalTransmissions,
                                                     TransmissionFailures,
                                                     ListCount,
                                                     EnergyValues




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APP B-H8597.indd 413                                                                                                7/26/2008 3:14:13 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 749 of 763 PageID #:
                                       2531




                                                                                      APPENDIX C

                       ZigBee Cluster Library Quick Reference


                  This chapter is a Quick Reference for the ZigBee Cluster Library. For a more detailed
                  explanation, see Chapter 6, “The ZigBee Cluster Library.” This Quick Reference does not
                  list profile-specific clusters.


                  C.1     ZCL Foundation
                  This section describes ZigBee Cluster Library commands that are cross-cluster. All
                  commands operate in the same way on ZigBee 2007 or ZigBee Pro. [Brackets] denote
                  optional fields. M/O denotes mandatory or optional support, if ZCL is supported
                  (Table C.1).


                  C.2      ZCL General Clusters
                  This section describes the ZigBee Cluster Library General (all-purpose) clusters in quick
                  reference format. I’ve listed only those clusters used in multiple application profiles.
                  All commands operate in the same way on ZigBee 2007 or ZigBee Pro. See Table C.2.




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APP C-H8597.indd 415                                                                                          7/26/2008 3:17:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 750 of 763 PageID #:
                                       2532


                  416           Appendix C

                                          Table C.1: ZigBee Cluster Library Foundation Comma
                       Command Name             M/O      Parameters        Description
                       Read attributes          O        AttrId,           Read one or more attributes.
                                                         [AttrId…]
                       Read attributes          M        AttrRecord,       Return value of one or more attributes.
                       response                          [AttrRecord…]     AttrRecord  AttrId, Status, DataType,
                                                                           Data
                       Write attributes         O        AttrRecord,       Write one or more attributes.
                                                         [AttrRecord…]     AttrRecord  AttrId, DataType, Data
                       Write attributes         O        AttrRecord,       Write one or more attributes as a set.
                       undivided                         [AttrRecord…]     AttrRecord  AttrId, DataType, Data
                       Write attributes         M        StatusRecord,     Return success status of write
                       response                          [StatusRecord…]   attributes. StatusRecord  Status,
                                                                           AttrId
                       Write attributes no      M        AttrRecord,       Write one or more attributes, no
                       response                          [AttrRecord…]     response. AttrRecord  AttrId,
                                                                           DataType, Data
                       Configure reporting      O        CfgRecord,        Configure attributes for
                                                         [CfgRecord…]      reporting.CfgRecord  Direction,
                                                                           [DirSpecifcFields] Direction(0) 
                                                                           DataType, MinReportInterval,
                                                                           MaxReportInterval, ChangeVal
                                                                           Direction(1)  TimeOut
                       Configure                M        CfgRspRecord,     Status of configure attributes.
                       reporting response                [CfgRspRecord…]   CfgRspRecord  Status, Direction,
                                                                           AttrId
                       Read reporting           O        RdReport,         Read current reporting configuration.
                       configuration                     [RdReport…]       RdReport  Direction, AttrId
                       Read reporting           M        RdReportRsp,      Return current reporting configuration.
                       configuration                     [RdReportRsp…]    RdReportRsp  Status, Direction,
                       response                                            AttrId, [DirSpecifcFields]
                                                                           Direction(0)  DataType,
                                                                           MinReportInterval, MaxReportInterval,
                                                                           ChangeVal Direction(1)  TimeOut
                       Report attributes        O        AttrId,           Attribute report, depends on
                                                         DataType, Data    configuration.
                       Default response         M        CmdID, Status     Unsupported command response.




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APP C-H8597.indd 416                                                                                                 7/26/2008 3:17:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 751 of 763 PageID #:
                                       2533



                                                                   ZigBee Cluster Library Quick Reference                 417

                                                            Table C.1: continued
                       Command Name           M/O          Parameters              Description
                       Discover attributes    O            StartAttrID,            Determine supported attributes on
                                                           MaxAttrIDs              remote node.
                       Discover attributes    M            DiscoveryDone,          Results of discover attributes command.
                       response                            AttrInfo,               AttrInfo  AttrId, DataType
                                                           [AttrInfo…]


                                         Table C.2: ZigBee Cluster Library General Clusters
                       Cluster Name           Attributes                  Commands                  Description
                       Basic                  ZCL Version,                FactoryReset              Attributes for
                                              App Version,                                          determining basic
                                              Stack Version,                                        information about a
                                                                                                    device, setting user
                                              HW Version,
                                                                                                    device information
                                              MfgName,                                              such as location, and
                                              ModelID,                                              enabling a device.
                                              DateCode,
                                              PowerSource
                       Power Configuration    MainsVoltage,               —                         Attributes for
                                              MainsFrequency,                                       determining more
                                              MainsAlarmMask,                                       detailed information
                                              MainsMinThreshold,                                    about a device’s power
                                              MainsMaxThreshold,                                    source(s), and for
                                              MainsTripPoint,                                       configuring under/over
                                              BatteryVoltage,                                       voltage alarms.
                                              BatteryMfg,
                                              BatterySize,
                                              BatteryAHrRating,
                                              BatteryQuantity,
                                              BatteryRatedVoltage,
                                              BatteryAlarmMask,
                                              BatteryMinThreshold
                       Identify               IdentifyTime                Identify, IdentifyQuery   Attributes and
                                                                                                    commands for
                                                                                                    putting a device into
                                                                                                    Identification Mode
                                                                                                    (e.g., flashing a light).

                                                                                                                    (continued)



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APP C-H8597.indd 417                                                                                                              7/26/2008 3:17:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 752 of 763 PageID #:
                                       2534


                  418           Appendix C

                                                          Table C.2: continued
                       Cluster Name          Attributes            Commands                Description
                       Groups                NameSupport           AddGroup,               Attributes and
                                                                   ViewGroup,              commands for group
                                                                   GetGroupMembership,     configuration and
                                                                   RemoveGroup,            manipulation.
                                                                   RemoveAllGroups,
                                                                   AddGroupIfIdentifying
                       Scenes                SceneCount,           AddScene,               Attributes and
                                             CurrentScene,         ViewScene,              commands for scene
                                             CurrentGroup,         RemoveScene,            configuration and
                                             SceneValid,           RemoveAllScenes,        manipulation.
                                             NameSupport           StoreScene,
                                             LastConfiguredBy      RecallScene,
                                                                   GetSceneMembership
                       On/Off                OnOff                 Off,                    Attributes and
                                                                   On,                     commands for
                                                                   Toggle                  switching devices
                                                                                           between “On” and
                                                                                           “Off” states.
                       Level Control         CurrentLevel,         MoveToLevel,            Attributes and
                                             RemainingTime,        Move,                   commands for
                                             TransitionTime,       Step,                   controlling devices that
                                             OnLevel               Stop,                   can be set to a level
                                                                   MoveToLevelOnOff,       between fully “On” and
                                                                   MoveOnOff,              fully “Off.”
                                                                   StepOnOff,
                                                                   StopOnOff




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APP C-H8597.indd 418                                                                                                  7/26/2008 3:17:25 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 753 of 763 PageID #:
                                       2535




                                                                                                        Index


                   A                                                 sets, 252–253
                                                                   Authentication, 11, 39
                   Acknowledgments (ACK), APS, 195–196
                                                                     joining network, 287–288
                   Active_EP_req, 223, 224
                                                                     packets, 200–206
                   Active scan, 280
                                                                   Automatic meter reading (AMR), 354
                   Addressing, 149, 169–181, 391
                      attributes, 180–181
                                                                   B
                      clusters, 176–179
                      commands, 179–180                            Backing up, discovery information, 225–226
                      endpoints, 170–176                           Bandwidth, determination
                   Address map, APS, 199–200                          communication patterns, 381–383
                   Advanced Encryption Standard (AES), 11             interferers, 377–379
                      128-bit security, 200–206                       network density, 380–381
                   AF_DataRequest(), 116–117                          protocol overhead, 379–380
                   AF_RegisterEndPoint(), 80                       Basic Cluster, 253–254
                   AMI profile, 264–266                            Battery calculator, 236
                   Application, checklist for, 59–63               BeeAppDataConfirm(), 118
                   Application Framework (AF), 194–195             BeeAppDataIndication(), 80, 82–83
                   Application Mode, 82                            BeeAppInit() function, 78–79
                   Application Profiles, 9, 18, 21–22, 263, 264    BeeAppUpdateDevice() function, 256
                      Home Automation. See Home Automation         BeeKit
                      PHHC, 22                                        application building from, 96–106
                      Telecommunications Applications (TA), 22           creating, compiling and downloading projects,
                   Application Support Sublayer (APS), 193–195               101–106
                      address map, 199–200                               installing software and hardware, 98–101
                      and Application Framework (AF), 194–195         features, 86
                      binding, 196–198                                opening screen of, 88
                      end-to-end acknowledgments (ACKs), 195–196      terms used in, 86–87
                      groups, 198–199                              BeeStack, 76–86
                   APS. See Application Support Sublayer (APS)        BeeAppInit() function in, 78–79
                   APSDE-DATA.request, 76–78, 126                     in C language, 78
                   Architecture, ZigBee network, 42–44                events in, 83–85
                   ASL_HandleKeys(), 124                              timers in, 80
                   Asynchronous protocol, 235                      Binding
                   Attributes, 180–181, 244                           APS, 196–198
                      IDs, 251                                           commands, 198
                      pull methods for, 247                           ZDP, 226–229
                      push methods for, 246–247                          End_Device_Bind_req, 228



                                                                                w w w.new nespress.com




Index-H8597.indd 419                                                                                                     7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 754 of 763 PageID #:
                                       2536


                   420        Index

                   Bind_req, 232                                       Commercial commissioning, 344–347
                   Bluetooth™, 47–48                                   Commissioning
                      and ZigBee, 3                                       cluster. See Commissioning Cluster
                   Broadcasts                                             custom, 347–350
                      device announce. See Device announce                overview, 332–336
                      packet routing, 303, 304–307                        simple, 340–344
                      use, 163–169                                     Commissioning Cluster, 336–340
                   Broadcast Transaction Table (BTT), 163                 commands, 340
                   BTT. See Broadcast Transaction Table (BTT)             Concentrator Parameters attribute, 339
                   Butterfly Model, 333                                   End Device Parameters attribute, 337, 339
                                                                          Join Parameters attributes, 337, 339
                   C                                                      Startup Attribute Set (SAS), 337, 338
                                                                       Compiler
                   Caching, discovery information, 225–226
                                                                          CodeWarrior, 89–90
                   Callback functions, in BeeStack, 80–83
                                                                             tricks and trips, 90–91
                      AF_RegisterEndPoint(), 80
                                                                          defined, 89
                      BeeAppDataIndication(), 80, 82
                                                                       Compiling, 56
                   C API, 125–127
                                                                       Configuring attribute, for reporting, 248–250
                   Carrier sense multiple access collision avoidance
                                                                       Cost effectiveness, 7–9
                             (CSMA-CA), 5, 276
                                                                       C programming language, 78
                   CCM, 276–277
                                                                       Cross-cluster command, 244–245
                   Certification, by ZigBee Alliance, 18
                                                                       CSMACA. See Carrier Sense Multiple Access
                   Channels, 135–140
                                                                                 Collision Avoidance (CSMACA)
                   Checklist, for ZigBee, 59–63
                                                                       Custom commissioning, 347–350
                      application building, 61–62
                                                                       Custom gateways, 383–387
                      deployment, 62–63
                                                                          ZTC, 384–387
                      hardware selection, 60
                                                                       Cypress CYWUSB6934, 47
                      manufacturing, 62
                      protocol selection, 59–60
                                                                       D
                      stack selection, 61
                   Client devices, 210                                 Daintree Sensor Network Analyzer (SNA), 93–95
                   Clusters, 176–179                                   Data
                   Code base, in BeeKit, 87                              concentrator, 363–367
                   CodeWarrior                                               Island Controller, 367–377
                      introduction, 89–90                                confirm, 117-118, 112
                      tricks and tips, 90–91                             indication, 112, 118–119
                   Commands, 178–180, 244                                rate environment, 13–14
                      for APS group management, 199                      requests. See Data requests
                      for Basic cluster (foundation), 254              Data requests, 28, 112, 115–125
                      for binding, 198                                   mechanism, 113
                      for commissioning cluster, 340                   Debugger, 90–91
                      for cross-cluster (foundation), 245              Debugging, 56, 91–93
                      for gateway, 358–359                               Daintree SNA for, 93–95
                      for Groups cluster, 260                          Deployment, 62–63
                      for Identify cluster, 258                        Descriptors, ZDP, 216–219
                      for Test Tool, 361                                 Node_Desc_req, 216
                      ZDP, 225–226                                     Development environment, 96–109


                   www.n ewn es p res s .c o m




Index-H8597.indd 420                                                                                                   7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 755 of 763 PageID #:
                                       2537



                                                                                                          Index        421

                      compiler, 88–89                                   Frame Checksum (FCS), 5
                         CodeWarrior, 90–91                             Frames, 31
                      debugging                                         Freescale
                         Daintree SNA, 93–95                               API, 133–134
                      hardware, 66–71                                      BeeKit. See BeeKit
                         NSK, 71–73                                        BeeStack. See BeeStack
                      stack, 73–76                                         CodeWarrior IDE, 89–91
                         BeeKit, 86–88                                     HCS08GT60 microcontroller, 237
                         BeeStack, 76–86                                   MC13193, 237
                   Device_annce. See Device announce                       MC13203, 7
                   Device announce, ZDP, 219–222                           NSK. See Network Starter Kit (NSK)
                   Device discovery, ZDP, 211–213                          SRB boards. See Sensor Remote Boards (SRB)
                      descriptors, 216–219                              Freescale ZigBee Home Automation application, 25
                      device announce, 219–222                          Frequency agility, 49, 140, 229, 396–398
                      IEEE_addr_req, 213–216
                      NWK_addr_req, 213–216                             G
                   Digi International XBee, 7                           Gateways
                   Direct Sequence Spread Spectrum (DSSS), 5              bandwidth, 377–383
                   Discover attributes, 245                               commands, 358–359
                   Discovery_ store_req, 225–226                          data concentration, 363–367
                   Dongle, USB, 131–132                                   ZSGI, 357–358
                                                                             using, 359–363
                   E                                                    Glossary of terms, 38–41
                                                                        Golden Units, 18, 68, 76, 127
                   Ember, API, 129–131
                                                                        Groupcasts, 113
                   Encryption, 8, 11, 40, 131. See also Advanced
                                                                        Group management, APS, 198–199
                            Encryption Standard (AES); Authentication
                                                                          commands, 199
                     packets, 200–206
                                                                        Groups, 159–163
                   End devices, 234, 235
                   Endpoints, 170–176                                   H
                     discovering and matching, 222–225
                        Active_EP_req for, 223, 224                     Hardware
                        Extended_Active_EP_req, 224                       development, 66–71
                        Extended_Simple_Desc_req for, 224                 NSK, 71–73
                        Match_Desc_req, 224–225                           selection, checklist for, 60
                        Simple_Desc_ req for, 223                         sniffers, 94–95
                     user interface (UI), example, 172                  Heile, Bob, on ZigBee origin, 3–4
                   Energy scan, 280                                     “Hellow World” program, 25–34
                   Events, in BeeStack, 83–85                           Home Automation, 22–25, 26, 34–38, 263
                   Extended_Active_EP_req, 224                            OnOffLight, 28, 32–33
                   Extended PAN ID (EPID), 145–149                        OnOffSwitch, 28, 32–33
                   Extended_Simple_Desc_req, 224                          OnOffToggle, 28
                                                                        Hop
                                                                          multi-hop, 5, 31, 40, 49, 66, 117, 275, 304, 319
                   F
                                                                          next hop, 286, 302, 309, 312, 313, 363
                   FCS. See Frame Checksum (FCS)                          per-hop, 46, 49, 114, 195, 308, 323
                   Fragmentation, 398–400                                 single-hop, 275


                                                                                     w w w.new nespress.com




Index-H8597.indd 421                                                                                                         7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 756 of 763 PageID #:
                                       2538


                   422        Index

                   I                                               Mgmt_NWK_Disc_req, 229–230
                                                                   Mgmt_permit_joining_req, 232
                   Identify Mode, 258
                                                                   MiWi, 49
                   Identify Query, 259
                                                                   Modules, 57–59
                   IEEE 802., 11, 14
                                                                   Morse Code, 106–109
                   IEEE_addr_req, ZDP, 213–216
                                                                   Multicasting, 394–395
                   IEEE 802.15.4 specification. See 802.15.4
                                                                   Multi-hop, 5, 31, 40, 49, 66, 117, 275, 304, 319
                             specification
                                                                   Myer, Albert James, 239
                   Integration Associates, API, 131–133
                                                                   MyTimerCallBack(), 80
                   Inter-PAN communication, 264
                   Invensys, 17
                   iPod, controlling, with PC interface, 383–387   N
                                                                   National Institute of Standards and Technology
                   K
                                                                            (NIST), 11
                   KBD_Init(), 80                                  Network address (NwkAddr), 154–157
                   Keyboard callback, 81–82                        Network Control Board (NCB), 73, 95, 96–97,
                                                                            98–99, 102, 104–105, 108–109, 138–139
                   L                                                 LCD screen, 35
                                                                     NWK_addr_req, 216
                   Link keys, 401–403
                                                                   Network discovery, ZDP, 229–230
                   Link quality indicator (LQI), 119
                                                                   Network layer, and ZDO, 209
                   Link status, 400–401
                                                                   Networks
                   Low data rate environment, 13–14
                                                                     addressing in, 297–302
                   6LoWPAN, 50
                                                                     forming, 278–282
                   Low power consumption, 9–11
                                                                     joining, 282–292
                                                                     packet routing. See Packet routing
                   M
                                                                     rejoining, 293–297
                   MAC                                             Network Starter Kit (NSK), 71–73
                     addresses, 157–159                            Next Higher Layer Entity (NHLE), 40
                     frame, 31                                     Next hop, 286, 302, 309, 312, 313, 363
                     layer, 43, 44, 49, 275–277                    Node_Desc_req, 216
                   MAC Common Part Service SAP (MCPS-SAP), 43      Node types, 149–153
                   Management services, ZDP                        NSK. See Network Starter Kit
                     network discovery, 229–230                    NVM (non-volatile memory), 296
                     table management services, 230–232            NWK_addr_req, 213–216
                   Manufacturing, 62                               NWK frame, 31
                   Match_Desc_req, 224–225
                   MCU radio, 52–54
                                                                   O
                   Membership, of ZigBee Alliance, 18–20
                     classes of, 19                                Offset-Quadrature Phase-Shift Keying (O-QPSK), 5
                   Memory, for application in platform, 54         OnOff command, 250–251
                   Mesh, 40                                        OnOffLight, Home Automation, 28, 32–33, 96–106
                     networking, 5–6                               OnOffSwitch, Home Automation, 28, 32–33
                     routing, 303, 307–318                         OnOffSwitch_SetLightState(), 124
                   MeshNetics, 78                                  OnOffToggle, Home Automation, 28
                   Mgmt_Direct_join_req, 232                       Organizational Unique Identifier (OUI), 40, 147,
                   Mgmt_Lqi_req, 230                                       157–158, 297–298


                   www.n ewn es p res s .c o m




Index-H8597.indd 422                                                                                                  7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 757 of 763 PageID #:
                                       2539



                                                                                                         Index      423

                   Original equipment manufacturers (OEM), in             source, 303, 304, 309, 328, 365
                            ZigBee Alliance, 17                           tree routing, 302, 303, 328, 366
                   OUI. See Organizational Unique Identifier (OUI)        ZR. See ZigBee Routers
                   Over-the-air frames., 318–327
                                                                      S
                   P
                                                                      San Juan Software, 9
                   Packets, 30–31                                     SAP. See Service Access Point (SAP)
                      authentication, 200–206                         Security section, 200–206
                      encryption, 200–206                             Sensor Network Analyzer (SNA), 93–95
                      latency, 114                                    Sensor Remote Boards (SRB), 25, 34–35, 35,
                      routing                                                   72–73, 360
                          broadcasting, 303, 304–307                  Sequence number, 41, 323, 327
                          Mesh routing, 303, 307–318                  Serial Gateway Interface, 357–358
                   Panasonic PAN802154, 7                                commands for, 358
                   Peer-to-peer multi-hop mesh networking, 275           use, 359–361
                   Per-hop, 46, 49, 114, 195, 308, 323                Server device, 210
                   Personal Area Network (PAN), 135                   Service Access Point (SAP), 41, 43, 76
                      identifiers (IDs), 140–145, 280–282                handler, 363
                   Personal Home and Health Care (PHHC), 22           Service discovery, ZDP
                   Philips Lighting, 17                                  backing up, discovery information, 225–226
                   Platform                                              caching, discovery information, 225–226
                      certification, 52                                  endpoints, discovering and matching, 222–225
                      memory for application in, 54                   Silicon vendors, in ZigBee Alliance, 17. See also
                   PopNet™, 49                                                  Vendors
                   POSIX standard, 125                                Simple commissioning, 340–344
                   Power consumption, 9–11, 55                        Simple_Desc_ req, 223
                   Profile Identifier (0x0104), 31                    SimpliciTI™, 49
                   Profiles, 181–182. See also Application Profile    Sleeping devices, 210
                      device identifiers, 191–192                     Slogan, for ZigBee, 2
                      manufacturer-specific profiles (MSP), 183–190   Sniffers, 94–95
                      public, 182–183                                 Software protocols
                      simple descriptor, 192–193                         6LoWPAN, 50
                   Properties, BeeKit, 87                                802.15.4 MAC, 49
                   Proprietary radios, 48                                MiWi, 49
                   Protocol selection, 59–60                             PopNet™, 49
                                                                         SimpliciTI™, 49
                   R
                                                                         Synkro, 49
                   802.15.4 radios, 47                                   TinyOS, 50
                     vendors, 50–52                                   Solution, BeeKit, 86
                   Read attributes, 244                               Source routing, 303, 304, 309, 328, 365,
                   ReceiveZtcMessage(), 387                                     392–394
                   Reference designs, for 802.15.4 boards, 56–57      802.15.4 specification, 5, 15, 274–277
                   Retries, 114                                          MAC (medium access) layer, 275–277
                   Route discoveries, 114                                network protocols on, 275
                   Routing                                               PHY (physical) layer, 275, 277
                     Mesh, 303, 307–318                               SRB boards, 238


                                                                                    w w w.new nespress.com




Index-H8597.indd 423                                                                                                      7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 758 of 763 PageID #:
                                       2540


                   424        Index

                   Stack                                              V
                      BeeKit. See BeeKit
                                                                      Vendors, of 802.15.4 radios, 50–52
                      BeeStack. See BeeStack
                                                                        evaluation, 51–52
                      profile, 327–329
                      selection, 61
                   Stand-alone radio, 52–54                           W
                   Stochastic Addressing, 391                         Wibree, 48
                   Sturek, Don, 334                                   WiFi™, 47
                   Switch, 25                                         WiFi Alliance, 14
                   Symmetric routes, 400–401                          Wired network, vs. wireless technology, 46
                   Synkro, 49                                         “wireless control,”, 2
                   System_Server_Discovery_req, 225, 226              Wireless technology, 47–48
                                                                        vs. wired technology, 46
                   T                                                  Wireless USB, 47
                                                                      Write attributes, 244
                   Technologies, decision making
                      software protocols, 49–50
                                                                      Z
                      wired vs. wireless, 46
                      wireless, 47–48                                 ZC. See ZigBee Coordinators (ZC)
                   Telecommunications Applications (TA), 22           ZCL. See ZigBee Cluster Library (ZCL)
                   Telecommunications Profile, 263                    ZCL_InterpretFrame(), 256
                   Template, in BeeKit, 87                            ZCL_ReadAttribute() command, 254
                   TestTool, 360                                      ZCL_ReadAttrReq(), 255
                      setting up, 360–361                             ZDO. See ZigBee Device Object (ZDO)
                   Texas Instruments, 127–128                         ZDP. See ZigBee Device Profile (ZDP)
                   Thermostat, 9                                      ZED. See ZigBee End-Devices (ZED)
                   TiltDetectorEndPoint.c, 269–270                    Zensys, 48
                   Timers, in BeeStack, 80                            ZigBee
                   TinyOS, 50                                            checklist
                   TMR_StartIntervalTimer(), 80                              application development, 61–62
                   Tool vendors, in ZigBee Alliance, 17                      deployment, 62–63
                   Tracking devices, by ZDO, 209                             hardware selection, 60
                   Transceivers, 14                                          manufacturing, 62
                   Tree routing, 302, 303, 328, 366                          protocol selection, 59–60
                   Two-node network, building, 96–106                        stack selection, 61
                      creating, compiling and downloading projects,      cost effective, 7–9
                             101–106                                     CSMA-CA in, 5
                      installing software and hardware,                  low data rate environment, 13–14
                             98–101                                      low power consumption, 9–11
                                                                         markets, 20–25
                                                                         modules, 57–59
                   U
                                                                         origin of, 3–4
                   Ultra Wideband (UWB), 47                              reliablity, 4–6
                   Unicasts, 113                                         security, 9–11
                   USB, 70, 72, 89, 96, 98–99, 359–360, 367              slogan for, 2
                      dongle, 131–132                                    solution, decision making, 50–57
                      wireless, 47                                    ZigBee Alliance, 12, 14–17


                   www.n ewn es p res s .c o m




Index-H8597.indd 424                                                                                               7/28/2008 6:01:43 PM
   Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 759 of 763 PageID #:
                                       2541



                                                                                                       Index       425

                      certification by, 18                               device discovery, 211–213
                      conferences by, 16–17                                  descriptors, 216–219
                      ecosystem, 17–18                                       device announce, 219–222
                      membership of, 18–20                                   IEEE_addr_req, 213–216
                         classes, 19                                         NWK_addr_req, 213–216
                   ZigBee Alliance, all-battery powered network in,      management services
                             235                                             network discovery, 229–230
                   ZigBee Certified Platforms (ZCP), 18                      table management services, 230–232
                   ZigBee Cluster Library (ZCL), 31, 83, 239–243         service discovery
                      foundation, 243–251                                    backing up, discovery information, 225–226
                      general clusters, 251–258                              caching, discovery information, 225–226
                         Groups cluster, 259–262                             endpoints, discovering and matching,
                         Identify cluster, 258–259, 261–262                     222–225
                      public profile, 262–267                            services, 210–211
                      using, 267–271                                  ZigBee End-Devices (ZED), 26
                   ZigBee Coordinators (ZC), 26, 28, 35, 278–280         in joining network, 282–292
                      duties of, 279                                     in rejoining network, 293–297
                   ZigBee Developers Conference, 16–17                ZigBee Routers (ZR), 282–286, 288, 290–292
                   ZigBee Device Object (ZDO), 209, 334–335           ZigBee Router (ZR), 34, 41, 119, 150–151
                      starting and stopping nodes with, 233–234          OnOffSwitch, 28, 32–33
                      startup fields, 335                             ZigBee Test Client (ZTC), 359–360, 363, 384–387
                   ZigBee Device Profile (ZDP), 210, 334              ZR. See ZigBee Routers (ZR)
                      binding, 226–229                                ZTC. See ZigBee Test Client (ZTC)
                      commissioning command, 335–336                  Z-Wave, 48




                                                                                   w w w.new nespress.com




Index-H8597.indd 425                                                                                                      7/28/2008 6:01:43 PM
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 760 of 763 PageID #:
                                    2542




                  Exhibit 3
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 761 of 763 PageID #:
                                    2543



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   TRIDINETWORKS LTD.,
                                                        No. 1:19-01062-CFC-CJB
                                 Plaintiff,

   v.
   NXP-USA, INC. and NXP B.V.,

                                 Defendants.


   TRIDINETWORKS LTD.,
                                                        No. 1:19-01063-CFC-CJB
                                 Plaintiff,

   v.
   SIGNIFY NORTH AMERICA
   CORPORATION and SIGNIFY
   NETHERLANDS B.V.,

                                 Defendants.


   TRIDINETWORKS LTD.,
                                                        No. 1:19-01064-CFC-CJB
                                 Plaintiff,
                                                        Declaration of Anthony G. Rowe
   v.
   STMICROELECTRONICS, INC., and
   STMICROELECTRONICS
   INTERNATIONAL N.V., AND DOE-1
   d/b/a “STMICROELECTRONICS,”


                                 Defendants.


         I, ANTHONY G. ROWE, declare the following under penalty of perjury:

         1.      I submit this declaration to comment briefly on certain new matter presented in

  Dr. Caloyannides’ reply declaration in this case.
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 762 of 763 PageID #:
                                    2544



         2.       As I said in Par. 45 of my prior declaration: “In my view, the advance

  represented by the ’276 patent, in networking industrial and/or home automation devices, lies in

  building in the capability to download data to the device before it is initialized, to configure

  devices to the designated design, while in an unpowered state, state, prior to their initialization,

  so that when deployed and later initialized they automatically bring themselves up on the

  network, in their intended position and role.” Rowe Decl. ¶ 45.

         3.       Dr. Caloyannides’ Reply recycles many of the same references as his opening

  declaration, without responding to my criticisms of those references. In addition, however, he

  adds a new one, the Philips PN531 chip. He puts forth the following, seeking to align the PN531

  with the “Configuration Adapter” of the ’276 patent claims:




         4.       This contention is considerably off base. To function in the manner I described in

  par. 45 of my declaration, the device in question must have the on-board capability to persist the

                                                   -2-
Case 1:19-cv-01062-CFC-CJB Document 72-2 Filed 03/12/21 Page 763 of 763 PageID #:
                                    2545



  data it stores while unpowered, so that when “later initialized” it can use that data to

  “automatically” bring itself up on the network. Dr. Caloyannides’ diagram shows, within the

  PN531, ROM and RAM. The ROM is a Read-Only Memory and cannot be written to. The RAM

  is Random Access Memory, which is a volatile memory that loses its data when power is

  removed. The PN531 is a data pipe that lacks persistent internal storage and needs a host

  controller and power to operate. It falls considerably short of what is required to function as a

  configuration adapter in the claimed invention.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on January 28, 2021.



                                                 ANTHONY G. ROWE




                                                  -3-
